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 8                                UNITED STATES DISTRICT COURT
 9                               NORTHERN DISTRICT OF CALIFORNIA
10                                   SAN FRANCISCO DIVISION
11    IN RE CHRYSLER-DODGE-JEEP
      ECODIESEL® MARKETING, SALES
12    PRACTICES, AND PRODUCTS                            MDL 2777 EMC
      LIABILITY LITIGATION
13                                                       SECOND AMENDED
                                                         CONSOLIDATED CONSUMER
14   This Document Relates to:                           CLASS ACTION COMPLAINT

15   ALL ACTIONS                                         JURY TRIAL DEMANDED
                                                         The Honorable Edward M. Chen
16

17    DORU BALI, et al., on behalf of themselves and
      all others similarly situated,
18

19                 Plaintiffs,
20   v.
21   FIAT CHRYSLER AUTOMOBILES N.V., FCA
     US LLC, SERGIO MARCHIONNE, VM MOTORI
22   S.p.A., VM NORTH AMERICA, INC., ROBERT
     BOSCH GmbH, and ROBERT BOSCH LLC,
23
                   Defendants.
24

25

26

27

28
                                                            SECOND AMENDED CONSOLIDATED CONSUMER
     1528982.7                                                             CLASS ACTION COMPLAINT
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 1               Plaintiffs bring this action on behalf of themselves and all others similarly situated,
 2   against (1) the Defendants collectively referred to as “Fiat Chrysler”: FCA US LLC (“FCA”), Fiat
 3   Chrysler Automobiles N.V. (“Fiat”), and Sergio Marchionne (“Marchionne”); (2) the Defendants
 4   collectively referred to as “VM Motori”: VM Motori S.p.A. (“VM Italy”) and VM North
 5   America, Inc. (“VM America”); and (3) the Defendants collectively referred to as “Bosch”:
 6   Robert Bosch GmbH (“Bosch GmbH”), and Robert Bosch, LLC (“Bosch LLC”). Plaintiffs allege
 7   the following based upon information and belief, the investigation of counsel, and personal
 8   knowledge as to the factual allegations pertaining to themselves.
 9                                                INTRODUCTION

10               1.     This nationwide class action arises out of an international race to the bottom. Fiat

11   Chrysler, a rival of automaker Volkswagen struggling to compete on the world stage, sought to

12   grab a piece of the U.S. “clean” diesel market with 2014-2016 EcoDiesel® trucks marketed under

13   the Jeep Grand Cherokee and Ram 1500 model names (the “Class Vehicles”). But like

14   Volkswagen, Fiat Chrysler fought dirty. That is, like Volkswagen did with its “clean diesels,”

15   Fiat Chrysler concealed from regulators and consumers alike that the EcoDiesel® trucks were far

16   from “Eco.”

17               2.     As the Environmental Protection Agency (“EPA”) has since discovered, Fiat

18   Chrysler, by and through FCA, concealed emission treatment software features in the Class

19   Vehicle engine’s diesel controls on applications for EPA Certificates of Conformity (“COCs”)

20   and California Air Resources Board (“CARB”) Executive Orders (“EOs”). This hidden software,

21   designed and implemented by Bosch GmbH and Bosch LLC, allowed the Class Vehicles to

22   “pass” emission testing and obtain COCs and EOs so that Fiat Chrysler could import and sell the

23   Class Vehicles in the U.S. and California, respectively. Once on America’s roads, however, the

24   emission controls are de-activated or severely restricted such that the Class Vehicles spew much

25   higher amounts of polluting nitrogen oxides (“NOx”) than permitted by law.

26               3.     On January 12, 2017, the EPA issued a Notice of Violation (“NOV”) against Fiat

27   and FCA for failing “to disclose [eight] Auxiliary Emission Control Devices (AECDs)” in the

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 1   2014-2016 FCA Ram 1500s and Jeep Grand Cherokees.1 In the NOV, the EPA explained that,
 2   despite having the opportunity to do so, Fiat and FCA failed to refute that the “principal effect of
 3   one or more of these AECDs was to bypass, defeat, or render inoperative one or more elements of
 4   design installed to comply with emissions standards under the [Clean Air Act.]”
 5               4.   The same day, CARB publicly announced that it, too, had notified Fiat and FCA
 6   of its violations after detecting the AECDs in their 2014, 2015, and 2016 Jeep Grand Cherokee
 7   and Ram 1500 EcoDiesel® vehicles. CARB also said Fiat and FCA failed to disclose the
 8   devices, which can significantly increase NOx emissions when activated. “Once again,” observed
 9   CARB Chair Mary D. Nichols, “a major automaker made the business decision to skirt the rules
10   and got caught.”2
11               5.   The U.S. has since sued FCA, Fiat, VM Italy, and VM America for violating the
12   Clean Air Act (“CAA”) and applicable regulations, seeking injunctive relief and civil penalties.3
13   As the U.S. has found, “one or more of these undisclosed software features, alone or in
14   combination with one or more of the others, bypass, defeat and/or render inoperative the [Class]
15   Vehicles’ emission control system, causing the vehicles to emit substantially higher levels of
16   NOx during certain normal real world driving conditions than during federal emission tests.”4
17               6.   American consumers were caught in the middle of Fiat Chrysler’s scheme.
18   Consumers have been wary of diesel engines as a relic of the past: noisy and spewing thick, toxic
19   smoke. This was an understandable concern. A byproduct of diesel combustion is NOx, a
20   pollutant linked with serious health dangers and climate change. Seeking to expand the diesel
21   market in the U.S., large automakers in the late 2000’s sought to reimagine diesel for regulators
22   and consumers alike. For its part, Fiat Chrysler touted its “EcoDiesel” technology as the best of
23   both worlds: a “green” alternative to gasoline with reduced emissions coupled with diesel’s
24
     1
25     EPA’s January 12, 2017 Notice of Violation to Fiat Chrysler Automobiles,
     https://www.epa.gov/sites/production/files/2017-01/documents/fca-caa-nov-2017-01-12.pdf.
     2
26     EPA News Release, EPA Notifies Fiat Chrysler of Clean Air Act Violations (Jan. 12, 2017),
     https://www.epa.gov/newsreleases/epa-notifies-fiat-chrysler-clean-air-act-violations.
     3
27     United States v. Fiat US LLC, et al., No. 2:17-cv-11633-JCO-EAS (E.D. Mich. filed May 23,
     2017) (Dkt. No. 1). The action has since been transferred to this Court for coordination with this
28   MDL.
     4
       Id. at ¶ 2.
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 1   benefits of greater torque, power, and fuel efficiency. Fiat Chrysler extracted a premium for these
 2   “EcoDiesel” trucks, selling them for thousands of dollars more than the cost of otherwise-
 3   comparable gasoline trucks.
 4               7.   Contrary to its public representations, and concealed from consumers and
 5   regulators alike, Fiat Chrysler secretly programmed its EcoDiesel® vehicles with hidden software
 6   features that significantly reduced the effectiveness of the NOx reduction technology during real-
 7   world driving conditions. As a result, the Class Vehicles emitted harmful pollutants at levels that
 8   were illegally high and far in excess of what a reasonable consumer would expect from an “Eco”
 9   vehicle. Plaintiffs’ on-road testing has confirmed that the Class Vehicles produced NOx
10   emissions at an average of 222 mg/mile in city driving (four times the Federal Test Procedure
11   (“FTP”) standard of 50 mg/mile) and 353 mg/mile in highway driving (five times higher than the
12   U.S. highway standard of 70 mg/mile). In many instances, NOx values were in excess of 1,600
13   mg/mile—more than 20 times governmental standards.
14               8.   Compounding this problem is the interplay between performance and emissions in
15   diesel engines. Fiat Chrysler could not achieve the fuel economy and performance that it
16   promises for the Class Vehicles without cheating on emissions—a fact that it concealed from
17   consumers around the country.
18               9.   Fiat Chrysler did not act alone. At the heart of the diesel scandal is Bosch. Bosch
19   GmbH and Bosch LLC, along with CEO Volkmar Denner (“Denner”), were active and knowing
20   participants in the scheme. Bosch designed, created, and tested the electronic diesel control
21   (“EDC”) units that allowed Fiat Chrysler to “pass” emission tests for its COC and EO
22   applications. Bosch went so far as to boast that the “2014 Jeep Grand Cherokee features a Bosch
23   emission system compliant with the most stringent emission regulations in the world. From fuel
24   tank to tailpipe, Bosch is pleased to equip this vehicle with top technologies to give consumers a
25   great driving experience requiring fewer stops at the pump.”5 Bosch has since, however,
26
     5
      Bosch Announces Clean Diesel Technology On 2014 Jeep Grand Cherokee, PRNewswire (Jan.
27   24, 2013), http://www.prnewswire.com/news-releases/bosch-announces-clean-dieseltechnology-
     on-2014-jeep-grand-cherokee-188243051.html; http://us.bosch-press.com/tbwebdb/bosch-
28   usa/en-US/PressText.cfm?CFID=61223175&CFTOKEN=a16399a1447f6b98-4B6F7D4B-A8E6-
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 1   acknowledged its role in the creation of defeat devices in certain Fiat Chrysler diesel vehicles sold
 2   in the European Union (“EU”). VM Italy and VM America also knowingly participated in the
 3   scheme by designing, manufacturing, and calibrating the “EcoDiesel” engines in the Class
 4   Vehicles.
 5               10.   On behalf of themselves, the Nationwide Class, and the respective State Classes,
 6   Plaintiffs hereby bring this action for violations of the federal Racketeer Influenced and Corrupt
 7   Organizations Act (18 U.S.C. § 1961, et seq. (“RICO”)); the federal Magnuson-Moss Warranty
 8   Act (15 U.S.C. § 2301, et seq. (“MMWA”)); common law fraud; and the consumer laws of all 50
 9   states and the District of Columbia.
10               11.   Plaintiffs bring this action individually and on behalf of all other current and
11   former owners or lessees of the Class Vehicles as defined herein. Plaintiffs seek a buyback
12   program for the Class Vehicles, monetary damages (including treble damages under RICO),
13   pollution mitigation, business reforms, and injunctive and other equitable relief for Defendants’
14   misconduct related to the design, manufacture, marketing, sale, and lease of the Class Vehicles, as
15   alleged in this Complaint. Plaintiffs and Class members are also entitled to a significant award of
16   punitive or exemplary damages, given that Defendants deliberately deceived Plaintiffs and Class
17   members, disregarded their rights to make free and informed consumer choices, damaged them
18   economically, and used them as unwitting puppets in a scheme that impaired the public health.
19                                                   PARTIES

20   I.          DEFENDANTS

21               A.    Fiat Chrysler Defendants

22               12.   Defendant FCA US LLC (“FCA”) is a Delaware limited liability company.

23   Defendant Fiat Chrysler Automobiles N.V. (“Fiat” or, together with FCA, “Fiat Chrysler”)

24   is FCA’s corporate parent. Fiat’s predecessor, Fiat S.p.A., began its acquisition of FCA’s

25   predecessor, Chrysler Group LLC, in 2009 and completed it in January 2014, at which time

26   Chrysler Group LLC became a wholly-owned indirect subsidiary of Fiat and was renamed FCA

27   US LLC. FCA’s principal place of business and headquarters is located at 1000 Chrysler Drive,

28   Auburn Hills, Michigan 48326.

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 1               13.   FCA is a motor vehicle manufacturer and a licensed distributor of new, previously
 2   untitled motor vehicles. FCA (like its predecessor, Chrysler) is one of the “Big Three” American
 3   automakers (with Ford and General Motors). FCA engages in commerce by distributing and
 4   selling new and unused passenger cars and motor vehicles under the Chrysler, Dodge, Jeep, Ram,
 5   and Fiat brands. Other major divisions of FCA include Mopar, its automotive parts and
 6   accessories division, and SRT, its performance automobile division.
 7               14.   FCA has designed, manufactured, imported, distributed, offered for sale, sold, and
 8   leased two models of vehicle for which the EcoDiesel® option is available—the Ram 1500 and
 9   the Jeep Grand Cherokee—with the knowledge and intent to market, sell, and lease them in all 50
10   states, including in California. Moreover, FCA and its agents designed, manufactured, marketed,
11   distributed, warranted, sold and leased the Class Vehicles in California and throughout the United
12   States. Dealers act as FCA’s agents in selling automobiles under the Fiat Chrysler name and
13   disseminating vehicle information provided by Fiat Chrysler to customers.
14               15.   Fiat, the corporate parent of FCA, is a Dutch corporation headquartered in London,
15   United Kingdom. Fiat owns numerous European automotive brands in addition to FCA’s
16   American brands, including Maserati, Alfa Romeo, Fiat Automobiles, Fiat Professional, Lancia,
17   and Abarth. As of 2015, Fiat Chrysler is the seventh largest automaker in the world by unit
18   production.
19               16.   Subject to a reasonable opportunity for further investigation or discovery,
20   Plaintiffs allege that Fiat employees oversaw or were responsible for approving elements of
21   design and/or strategies related to emission compliance for the Class Vehicles. Fiat also imported
22   into the United States, sold, offered for sale, introduced into commerce, or delivered the Class
23   Vehicles, with the intent to market or sell them in all fifty states, including in California.
24               17.   Fiat Chrysler developed and disseminated the owners’ manuals, warranty booklets,
25   product brochures, advertisements, and other promotional materials relating to the Class Vehicles,
26   with the intent that such documents should be purposely distributed throughout all fifty states,
27   including in California. Fiat Chrysler is engaged in interstate commerce, selling vehicles through
28   its network in every state of the United States.

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 1               18.   Defendant Sergio Marchionne (“Marchionne”) is the CEO and Chairman of
 2   FCA, the CEO of Fiat, and the Chairman and/or CEO of several other Fiat subsidiaries, including
 3   FCA Italy S.p.A., the Italian subsidiary of Fiat headquartered in Turin, Italy. Since 2004, Mr.
 4   Marchionne has been the CEO of Fiat S.p.A., the predecessor of Fiat, and thus, oversaw Fiat’s
 5   acquisition of both VM Motori and Chrysler Group LLC, the transformation to the current
 6   corporate structure, and the creation of FCA. Mr. Marchionne has made numerous public
 7   statements on behalf of Fiat Chrysler concerning the Class Vehicles, their EcoDiesel® engines,
 8   and their emissions and performance characteristics. In addition to managing and controlling
 9   FCA, Mr. Marchionne has a home in the United States, regularly transacts business in the United
10   States, and regularly promotes Fiat Chrysler in the United States.
11               B.    VM Motori Defendants
12               19.   Fiat also owns several auto parts manufacturers, including Defendant VM Motori
13   S.p.A. (“VM Italy”), an Italian corporation headquartered in Cento, Italy, which designs and
14   manufactures diesel engines for automobiles, including the Class Vehicles. Fiat partially
15   acquired VM Italy in early 2011 by purchasing a 50% stake, and took full ownership by acquiring
16   the remaining 50% from General Motors in October 2013.
17               20.   Defendant VM North America, Inc. (“VM America” or, together with VM
18   Italy, “VM Motori”) is or was a Delaware corporation and wholly-owned subsidiary of Fiat.
19   VM America existed, at all relevant times, to support VM Italy customers and activities in North
20   America. VM America’s principal place of business is located at 1000 Chrysler Drive, Auburn
21   Hills, Michigan 48326. Both VM Italy and VM America conduct business at that address and
22   report to management at both VM Italy and VM America, including while working on the Class
23   Vehicles.
24               21.   VM Italy transacts business in the United States. VM Italy employees have been
25   physically present in Auburn Hills, Michigan, while working on engine calibration and air
26   emissions issues related to the Class Vehicles. Some VM America employees working in Auburn
27   Hills are also employees of VM Italy. VM Italy employees in Italy communicated regularly
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 1   about the Class Vehicles with the VM America and VM Italy employees located in Auburn Hills.
 2   VM Italy also communicated frequently with FCA about the Class Vehicles.
 3               22.   VM Motori designed, manufactured, calibrated, and delivered the EcoDiesel®
 4   engine system for inclusion in the Class Vehicles, knowing and intending that the Class Vehicles,
 5   along with their engine system, would be marketed, distributed, warranted, sold and leased
 6   throughout all 50 states, including in California.
 7               C.    Bosch Defendants
 8               23.   Defendant Robert Bosch GmbH (“Bosch GmbH”)—a German multinational
 9   engineering and electronics company headquartered in Gerlingen, Germany—is the parent
10   company of Defendant Robert Bosch LLC (“Bosch LLC” or, with Bosch GmbH, “Bosch”), a
11   Delaware limited liability company with its principal place of business located at 38000 Hills
12   Tech Drive, Farmington Hills, Michigan 48331.
13               24.   Both Bosch GmbH and Bosch LLC operate under the umbrella of the Bosch
14   Group, which encompasses some 340 subsidiaries and companies. Volkmar Denner (“Denner”)
15   is the Chairman and CEO of Bosch GmbH and leader of The Bosch Group. Denner has been
16   Chairman and CEO of Bosch since July 2012, after decades of working in Bosch’s Engine ECU
17   Development division, managing the development and sale of automotive engine computers, such
18   as the EDC units that were installed in the Class Vehicles.
19               25.   The Bosch Group is divided into four business sectors: Mobility Solutions
20   (formerly Automotive Technology), Industrial Technology, Consumer Goods, and Energy and
21   Building Technology. Bosch’s sectors and divisions are grouped not by location, but by function.
22   In other words, Mobility Solutions includes knowledgeable individuals at both Bosch GmbH and
23   Bosch LLC. Regardless of whether an individual works for Bosch in Germany or the United
24   States, the employee holds him or herself out as working for Bosch. This collective identity is
25   captured by Bosch’s mission statement: “We are Bosch,” a unifying principle that links each
26   entity and person within the Bosch Group.
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 1               26.   Mobility Solutions is the largest Bosch Group business sector. In 2014, the first
 2   full year of Class Vehicle sales, it generated sales of €33.3 billion, amounting to 68% of total
 3   group sales.
 4               27.   The Bosch Group is one of the leading automotive suppliers globally. In 2015,
 5   Mobility Solutions generated sales of $9.5 billion in North America alone.
 6               28.   Bosch embeds sales and engineering personnel at customer offices and facilities
 7   throughout the world, including automakers like Fiat Chrysler, to work directly on the design,
 8   sale, calibration, and configuration of the parts it supplies.
 9               29.   Bosch operates 70 locations in the United States, with over 31,000 employees.
10   One of these locations is the Bosch LLC Research and Technology Center North America in Palo
11   Alto, California. One of Bosch’s research focuses there is application-specific integrated circuit
12   (ASIC) design and MEMS (microelectromechanical-system) technology. These technologies are
13   used in a variety of automotive applications. Bosch LLC also operates Research and Technology
14   Centers in Pittsburgh, Pennsylvania, and Cambridge, Massachusetts.
15               30.   Bosch developed, tested, configured, manufactured, and supplied the EDC Unit
16   17, which is the EDC system used in the Class Vehicles, knowing and intending that the Class
17   Vehicles, along with the device, would be marketed, distributed, warranted, sold and leased
18   throughout all 50 states, including in California. As set forth in detail herein, at all relevant times,
19   Bosch, VM Motori, and Fiat Chrysler worked collaboratively to program the EDC Unit 17 in the
20   Class Vehicles.
21               31.   From at least 2005 to 2015, Bosch and its employees were knowing and active
22   participants in the creation, development, marketing, and sale of engine and emission control
23   software designed to evade emission requirements in vehicles sold in the United States. These
24   vehicles include the Ram 1500 EcoDiesel® and Jeep Grand Cherokee EcoDiesel®, as well as
25   diesels made by other automakers such as Volkswagen, Audi, and Porsche.
26               32.   Bosch participated not just in the development of these devices, but also in the
27   scheme to prevent U.S. regulators from uncovering their true functionality. Moreover, Bosch’s
28   participation was not limited to engineering these devices. In fact, Bosch marketed “clean diesel”

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 1   technology in the United States. Bosch was therefore a knowing and active participant in the
 2   scheme or common course of conduct with Fiat Chrysler and VM Motori and others to defraud
 3   regulators and consumers in the United States.
 4   II.         PLAINTIFFS
 5               33.   For ease of reference, the following chart identifies the representative Plaintiffs
 6   and the state(s) in which they reside and purchased their Class Vehicles:
                                             State of          State of    Model
 7         Class Representative                                                           Make/Model
                                            Residence         Purchase     Year
 8   Alley, Anthony                             TX              MS          2015            Ram 1500
 9   Bali, Doru                                 MI              KY          2014      Jeep Grand Cherokee
10   Bernstein, Leslie                          CA              CA          2016            Ram 1500
11   Bihorean, Marius                           GA              NC          2015            Ram 1500

12   Boykin, James                              FL              VA          2015            Ram 1500

13   Brinkman, Elmer and Barbara                SD               SD         2016            Ram 1500
     Broom, Jamie                               LA              TX          2015            Ram 1500
14
     Burwell, Adam                              OR               ID         2016            Ram 1500
15
     Calhoun, Karl                              WA               ID         2016            Ram 1500
16
     Carillo, Giuseppe                          NY               CT         2016            Ram 1500
17
     Carter, Aaron                               IL              IL         2015      Jeep Grand Cherokee
18
     Chatom Motor Company, Inc.                 AL              AL          2015            Ram 1500
19   Chavez, Jose                               CA              CA          2016            Ram 1500
20   Claflin, Josh                              WI              MN          2015            Ram 1500
21   DeBerry, James                             FL              GA          2016            Ram 1500
22   Devault, Edward                            ME              ME          2014      Jeep Grand Cherokee

23   Edwards, Anthony                           TN              TN          2015            Ram 1500

24   Fasching, Mathue                            ID             OR          2016            Ram 1500

25   Feist, Tommy                               CO              CO          2016            Ram 1500
     Feldman, Victor                            AL              TX          2015            Ram 1500
26
     Fragoso, Miguel                            NC              NC          2016      Jeep Grand Cherokee
27
     Giauque, Gregory                           CA              AZ          2015      Jeep Grand Cherokee
28

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 1                                    State of       State of    Model
           Class Representative                                                 Make/Model
                                     Residence      Purchase     Year
 2
     Gillespie, Tom                    GA             GA          2014            Ram 1500
 3
     GN Systems, Inc.                   FL             FL         2014            Ram 1500
 4
     GN Systems, Inc.                   FL             FL         2014            Ram 1500
 5
     GN Systems, Inc.                   FL             FL         2015            Ram 1500
 6
     GN Systems, Inc.                   FL             FL         2016            Ram 1500
 7   GN Systems, Inc.                   FL             FL         2016            Ram 1500
 8   Greenberg, Benjamin               MA             MA          2015      Jeep Grand Cherokee
 9   Griggs, Jeffrey                    TN            GA          2014            Ram 1500
10   Gunderson, Jake                   NM             NM          2015            Ram 1500

11   Heidlebaugh, Kyle and Jessica      PA            MD          2014      Jeep Grand Cherokee

12   Hiner, Brian                      VA             VA          2014      Jeep Grand Cherokee
     Hissey, Charles                    TX            TX          2015      Jeep Grand Cherokee
13
     Holland, Lee                      OK             OK          2015            Ram 1500
14
     Holm, Ronald                      MT             MT          2015            Ram 1500
15
     Hood, Connie                       NE            NE          2014      Jeep Grand Cherokee
16   Johnson, Matthew and Amanda
                                     AK/WA            AK          2015      Jeep Grand Cherokee
17   Kobussen
     Johnson, Michael                  GA              SC         2014            Ram 1500
18
     Korrell, Donald II                MD              PA         2014      Jeep Grand Cherokee
19
     Lindholm, Richard                  NE            NE          2015            Ram 1500
20
     Loescher, Andrew                  WA             ND          2015            Ram 1500
21   Mattingly, Christopher            NV             NV          2016            Ram 1500
22   McGann, Thomas Jr.                NY             NY          2016            Ram 1500
23   Melin, Ernest Jr.                  SC             SC         2016            Ram 1500
24   Milner, George                    NY             NY          2014            Ram 1500
25   Montgomery, Ryan                   CO            CO          2014            Ram 1500

26   Muckenfuss, Bryan                  SC             SC         2015            Ram 1500

27   Norton, Michael                    NJ             NJ         2014      Jeep Grand Cherokee
     Petersen, Kirk                     IA             IA         2015            Ram 1500
28

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 1                                          State of          State of    Model
           Class Representative                                                          Make/Model
                                           Residence         Purchase     Year
 2
     Phillips, Melvin                          MO              AR          2015            Ram 1500
 3
     Price, Samuel                             LA              NC          2014            Ram 1500
 4
     Radziewicz, John                          LA              LA          2014      Jeep Grand Cherokee
 5
     Reichert, Bobby                           FL               FL         2016            Ram 1500
 6
     Richards, Mark                             IN              IN         2016            Ram 1500
 7   Roberts, Jon                              OH              OH          2014            Ram 1500
 8   Ruiz, Kelly                               WY              WY          2014      Jeep Grand Cherokee
 9   Sandifer, Jesse                           WA              WA          2016            Ram 1500
10   Silio, Miguel                             FL               FL         2015      Jeep Grand Cherokee

11   Singh, Satyanam                           CA              CA          2016            Ram 1500

12   Stephens, Nelson John                     GA              AL          2014            Ram 1500
     Tonnesen, Wayne                           NJ               WI         2016            Ram 1500
13
     Turner, William, III                      GA              GA          2014      Jeep Grand Cherokee
14
     WEB Farms, Inc.                           NM              TX          2014            Ram 1500
15
     Webb, John                                CO              CO          2016            Ram 1500
16
     Webster, Stonewall, III                   NC              NC          2016            Ram 1500
17
     Wilson, John                              UT              UT          2016            Ram 1500
18

19               34.   Plaintiff Anthony Alley (for the purpose of this paragraph, “Plaintiff”), a citizen

20   of Texas, residing in Livingston, Texas, bought a 2015 Ram 1500 EcoDiesel® (for the purpose of

21   this paragraph, the “Class Vehicle”) on or about December 17, 2015 at Howard Wilson Chrysler

22   Jeep Dodge, an authorized FCA dealer in Flowood, Mississippi. Plaintiff decided to buy the

23   Class Vehicle based in part on FCA’s representations that it was an “EcoDiesel” vehicle (i.e.,

24   reduced emissions and fuel efficient). Plaintiff recalls visiting the Ram website, on which the

25   Class Vehicles were represented as environmentally friendly, having low emissions and good fuel

26   economy. Plaintiff also recalls seeing television commercials about the Class Vehicles. When

27   Plaintiff went to Howard Wilson Chrysler Jeep Dodge to purchase the Class Vehicle, the sales

28   associate touted the Class Vehicle’s EcoDiesel® attributes, including its fuel economy and

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 1   performance. These representations, along with the advertised fuel economy, were among the
 2   primary reasons Plaintiff chose the Class Vehicle. At the time of purchase, Plaintiff did not know
 3   that the Class Vehicle could perform as advertised only by emitting NOx at levels that are greater
 4   than advertised and above legal limits. Nor was Plaintiff aware that his Class Vehicle was
 5   equipped with undisclosed and unauthorized emission control devices designed to cheat emission
 6   tests and to deceive consumers and regulators. Plaintiff would not have purchased the Class
 7   Vehicle, or would have paid less for it, had he known that it did not comply with emission
 8   standards; that its emission treatment system was designed to de-activate during real-world
 9   driving conditions; and that it could not achieve the advertised towing power, performance,
10   and/or fuel economy without cheating emission tests. Plaintiff has suffered a concrete injury as a
11   direct and proximate result of Defendants’ misconduct, and would not have purchased the Class
12   Vehicle, or would have paid less for it, had Defendants not concealed the unauthorized emission
13   control devices.
14               35.   Plaintiff Doru Bali (for the purpose of this paragraph, “Plaintiff”), a citizen of
15   Michigan, residing in Canton, Michigan, bought a 2014 Jeep Grand Cherokee EcoDiesel® (for
16   the purpose of this paragraph, the “Class Vehicle”) on or about June 20, 2015 at Cross Chrysler
17   Jeep FIAT, an authorized FCA dealer in Louisville, Kentucky. Plaintiff decided to buy the Class
18   Vehicle based in part on FCA’s representations that it was an “EcoDiesel” vehicle (i.e., reduced
19   emissions and fuel efficient). When Plaintiff went to Cross Chrysler Jeep FIAT to purchase the
20   Class Vehicle, the sales associate there touted the Class Vehicle’s EcoDiesel® attributes and
21   informed Plaintiff that the Diesel Exhaust Fluid (“DEF”) additive changed exhaust fumes into
22   “steamed water.” These representations, along with the advertised fuel economy and low
23   emissions were among the primary reasons Plaintiff chose the Class Vehicle. At the time of
24   purchase, Plaintiff did not know that the Class Vehicle could perform as advertised only by
25   emitting NOx at levels that are greater than advertised and above legal limits. Nor was Plaintiff
26   aware that his Class Vehicle was equipped with undisclosed and unauthorized emission control
27   devices designed to cheat emission tests and to deceive consumers and regulators. Plaintiff would
28   not have purchased the Class Vehicle, or would have paid less for it, had he known that it did not

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 1   comply with emission standards; that its emission treatment system was designed to de-activate
 2   during real-world driving conditions; and that it could not achieve the advertised towing power,
 3   performance, and/or fuel economy without cheating emission tests. Plaintiff has suffered a
 4   concrete injury as a direct and proximate result of Defendants’ misconduct, and would not have
 5   purchased the Class Vehicle, or would have paid less for it, had Defendants not concealed the
 6   unauthorized emission control devices.
 7               36.   Plaintiff Leslie Bernstein (formerly Leslie Ghrist) (for the purpose of this
 8   paragraph, “Plaintiff”), a citizen of California, residing in Simi Valley, California, leased a 2016
 9   Ram 1500 EcoDiesel® (for the purpose of this paragraph, the “Class Vehicle”) in or about
10   October 2015 at Shaver Chrysler Dodge Jeep Ram & Fiat, an authorized FCA dealer in Thousand
11   Oaks, California. Plaintiff decided to lease the Class Vehicle based in part on FCA’s
12   representations that it was an “EcoDiesel” vehicle (i.e., reduced emissions and fuel efficient).
13   When Plaintiff went to Shaver Chrysler Dodge Jeep Ram & Fiat to lease the Class Vehicle, the
14   sales associate touted the Class Vehicle’s EcoDiesel® attributes, including its fuel economy,
15   power, low emissions, and environmental friendliness. After leasing the vehicle, Plaintiff
16   conducted online research to confirm the representations made to her by the sales associate at
17   Shaver Chrysler Dodge Jeep Ram & Fiat were in fact accurate. Plaintiff intended on returning her
18   Class Vehicle within the three-day grace period offered by Shaver Chrysler Dodge Jeep Ram &
19   Fiat if the representations made by the sales associate did not match the representations on the
20   Ram website. Plaintiff saw representations on Ram’s website in which the Class Vehicles were
21   represented to have good fuel economy while having low emissions. These representations, along
22   with the advertised fuel economy, were among the primary reasons Plaintiff chose the Class
23   Vehicle. At the time of lease, Plaintiff did not know that the Class Vehicle could perform as
24   advertised only by emitting NOx at levels that are greater than advertised and above legal limits.
25   Nor was Plaintiff aware that her Class Vehicle was equipped with undisclosed and unauthorized
26   emission control devices designed to cheat emission tests and to deceive consumers and
27   regulators. Plaintiff would not have leased the Class Vehicle, or would have paid less for it, had
28   she known that it did not comply with emission standards; that its emission treatment system was

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 1   designed to de-activate during real-world driving conditions; and that it could not achieve the
 2   advertised towing power, performance, and/or fuel economy without cheating emission tests.
 3   Plaintiff has suffered a concrete injury as a direct and proximate result of Defendants’
 4   misconduct, and would not have leased the Class Vehicle, or would have paid less for it, had
 5   Defendants not concealed the unauthorized emission control devices.
 6               37.   Plaintiff Marius Bihorean (for the purpose of this paragraph, “Plaintiff”), a
 7   citizen of Georgia, residing in Lawrenceville, Georgia, bought a 2015 Ram 1500 EcoDiesel® (for
 8   the purpose of this paragraph, the “Class Vehicle”) on or about September 12, 2015 at Skyland
 9   Automotive Group, an authorized FCA dealer in Asheville, North Carolina. Plaintiff decided to
10   buy the Class Vehicle based in part on FCA’s representations that it was an “EcoDiesel” vehicle
11   (i.e., reduced emissions and fuel efficient). When Plaintiff went to Skyland Automotive Group to
12   purchase the Class Vehicle, the sales associate touted the Class Vehicle’s EcoDiesel® attributes,
13   including its fuel economy, clean operation, towing power, and performance. These
14   representations, along with the advertised fuel economy, towing power, and performance, were
15   among the primary reasons Plaintiff chose the Class Vehicle. At the time of purchase, Plaintiff
16   did not know that the Class Vehicle could perform as advertised only by emitting NOx at levels
17   that are greater than advertised and above legal limits. Nor was Plaintiff aware that his Class
18   Vehicle was equipped with undisclosed and unauthorized emission control devices designed to
19   cheat emission tests and to deceive consumers and regulators. Plaintiff would not have purchased
20   the Class Vehicle, or would have paid less for it, had he known that it did not comply with
21   emission standards; that its emission treatment system was designed to de-activate during real-
22   world driving conditions; and that it could not achieve the advertised towing power, performance,
23   and/or fuel economy without cheating emission tests. Plaintiff has suffered a concrete injury as a
24   direct and proximate result of Defendants’ misconduct, and would not have purchased the Class
25   Vehicle, or would have paid less for it, had Defendants not concealed the unauthorized emission
26   control devices.
27               38.   Plaintiff James Boykin (for the purpose of this paragraph, “Plaintiff”), a citizen of
28   Florida, residing in Oviedo, Florida, bought a 2015 Ram 1500 EcoDiesel® (for the purpose of

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 1   this paragraph, the “Class Vehicle”) on or about August 9, 2015, at Koons Tysons Chrysler
 2   Dodge Jeep and Ram, an authorized FCA dealer in Vienna, Virginia. Plaintiff decided to buy the
 3   Class Vehicle based in part on FCA’s representations that it was an “EcoDiesel” vehicle (i.e.,
 4   reduced emissions and fuel efficient). Plaintiff saw television commercials that focused primarily
 5   on the Class Vehicles’ design. When Plaintiff went to Koons Tysons Chrysler Dodge Jeep and
 6   Ram to purchase the Class Vehicle, the sales associate touted the Class Vehicle’s EcoDiesel®
 7   attributes, including its fuel economy and low emissions. These representations, along with the
 8   advertised fuel economy, towing power, performance, and resale value were among the primary
 9   reasons Plaintiff chose the Class Vehicle. At the time of purchase, Plaintiff did not know that the
10   Class Vehicle could perform as advertised only by emitting NOx at levels that are greater than
11   advertised and above legal limits. Nor was Plaintiff aware that his Class Vehicle was equipped
12   with undisclosed and unauthorized emission control devices designed to cheat emission tests and
13   to deceive consumers and regulators. Plaintiff would not have purchased the Class Vehicle, or
14   would have paid less for it, had he known that it did not comply with emission standards; that its
15   emission treatment system was designed to de-activate during real-world driving conditions; and
16   that it could not achieve the advertised towing power, performance, and/or fuel economy without
17   cheating emission tests. Plaintiff has suffered a concrete injury as a direct and proximate result of
18   Defendants’ misconduct, and would not have purchased the Class Vehicle, or would have paid
19   less for it, had Defendants not concealed the unauthorized emission control devices.
20               39.   Plaintiffs Elmer and Barbara Brinkman (for the purpose of this paragraph,
21   “Plaintiffs”), citizens of South Dakota, residing in Watertown, South Dakota, bought a 2016 Ram
22   1500 EcoDiesel® (for the purpose of this paragraph, the “Class Vehicle”) on or about September
23   9, 2016 at Watertown Ford Chrysler, an authorized FCA dealer in Watertown, South Dakota.
24   Plaintiffs decided to buy the Class Vehicle based in part on FCA’s representations that it was an
25   “EcoDiesel” vehicle (i.e., reduced emissions and fuel efficient). Plaintiff Elmer Brinkman saw
26   representations on Ram’s website in which the Class Vehicles were represented to be
27   environmentally friendly, low emissions, have good fuel economy, and towing power. When
28   Plaintiffs went to Watertown Ford Chrysler to purchase the Class Vehicle, Plaintiffs recall being

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 1   given a brochure for the Class Vehicle that touted the EcoDiesel®’s low emissions, fuel
 2   economy, and towing capabilities. Plaintiff Elmer Brinkman also recalls being told by the
 3   salesperson, Mr. Mark Brooks, that the Class Vehicle did not have the same emission compliance
 4   issues as the Volkswagen diesel vehicles. These representations, along with the advertised fuel
 5   economy and towing power, were among the primary reasons Plaintiffs chose the Class Vehicle.
 6   At the time of purchase, Plaintiffs did not know that the Class Vehicle could perform as
 7   advertised only by emitting NOx at levels that are greater than advertised and above legal limits.
 8   Nor were Plaintiffs aware that their Class Vehicle was equipped with undisclosed and
 9   unauthorized emission control devices designed to cheat emission tests and to deceive consumers
10   and regulators. Plaintiffs would not have purchased the Class Vehicle, or would have paid less
11   for it, had they known that it did not comply with emission standards; that its emission treatment
12   system was designed to de-activate during real-world driving conditions; and that it could not
13   achieve the advertised towing power, performance, and/or fuel economy without cheating
14   emission tests. Plaintiffs have suffered a concrete injury as a direct and proximate result of
15   Defendants’ misconduct, and would not have purchased the Class Vehicle, or would have paid
16   less for it, had Defendants not concealed the unauthorized emission control devices.
17               40.   Plaintiff Jamie Broom (for the purpose of this paragraph, “Plaintiff”), a citizen of
18   Louisiana, residing in Thibodaux, Louisiana, bought a 2015 Ram 1500 EcoDiesel® (for the
19   purpose of this paragraph, the “Class Vehicle”) on or about June 1, 2015 at Nyle Maxwell
20   Chrysler Dodge Jeep, an authorized FCA dealer in Taylor, Texas. Plaintiff decided to buy the
21   Class Vehicle based in part on FCA’s representations that it was an “EcoDiesel” vehicle (i.e.,
22   reduced emissions and fuel efficient). Plaintiff saw representations on Ram’s website, in a Ram
23   promotional brochure, and in television commercials in which the Class Vehicles were
24   represented as having good fuel economy, towing capacity, and power all while being
25   environmentally friendly with low emissions. When Plaintiff went to Southland Dodge Chrysler
26   Jeep in Houma, Louisiana to find out more information about the Class Vehicle, and Nyle
27   Maxwell Chrysler Dodge Jeep to purchase the Class Vehicle, the sales associates at both
28   authorized FCA dealers touted the Class Vehicle’s EcoDiesel® attributes, including its low

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 1   emissions, fuel economy, towing power, and performance. These representations, along with the
 2   advertised fuel economy were among the primary reasons Plaintiff chose the Class Vehicle. At
 3   the time of purchase, Plaintiff did not know that the Class Vehicle could perform as advertised
 4   only by emitting NOx at levels that are greater than advertised and above legal limits. Nor was
 5   Plaintiff aware that his Class Vehicle was equipped with undisclosed and unauthorized emission
 6   control devices designed to cheat emission tests and to deceive consumers and regulators.
 7   Plaintiff would not have purchased the Class Vehicle, or would have paid less for it, had he
 8   known that it did not comply with emission standards; that its emission treatment system was
 9   designed to de-activate during real-world driving conditions; and that it could not achieve the
10   advertised towing power, performance, and/or fuel economy without cheating emission tests.
11   Plaintiff has suffered a concrete injury as a direct and proximate result of Defendants’
12   misconduct, and would not have purchased the Class Vehicle, or would have paid less for it, had
13   Defendants not concealed the unauthorized emission control devices.
14               41.   Plaintiff Adam Burwell (for the purpose of this paragraph, “Plaintiff”), a citizen
15   of Oregon, residing in Klamath Falls, Oregon, bought a 2016 Ram 1500 EcoDiesel® (for the
16   purpose of this paragraph, the “Class Vehicle”) on or about August 31, 2016 at Dave Smith
17   Motors, an authorized FCA dealer in Kellogg, Idaho. Plaintiff decided to buy the Class Vehicle
18   based in part on FCA’s representations that it was an “EcoDiesel” vehicle (i.e., reduced emissions
19   and fuel efficient). Plaintiff saw representations on Ram’s website in which the Class Vehicles
20   were represented to be environmentally friendly, have low emissions, have good fuel economy,
21   and high performance. When Plaintiff went to Dave Smith Motors to purchase the Class Vehicle,
22   the sales associate touted the Class Vehicle’s EcoDiesel® attributes, including its fuel efficiency,
23   low emissions, and performance. These representations, along with the advertised fuel economy,
24   were among the primary reasons Plaintiff chose the Class Vehicle. At the time of purchase,
25   Plaintiff did not know that the Class Vehicle could perform as advertised only by emitting NOx at
26   levels that are greater than advertised and above legal limits. Nor was Plaintiff aware that his
27   Class Vehicle was equipped with undisclosed and unauthorized emission control devices
28   designed to cheat emission tests and to deceive consumers and regulators. Plaintiff would not

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 1   have purchased the Class Vehicle, or would have paid less for it, had he known that it did not
 2   comply with emission standards; that its emission treatment system was designed to de-activate
 3   during real-world driving conditions; and that it could not achieve the advertised towing power,
 4   performance, and/or fuel economy without cheating emission tests. Plaintiff has suffered a
 5   concrete injury as a direct and proximate result of Defendants’ misconduct, and would not have
 6   purchased the Class Vehicle, or would have paid less for it, had Defendants not concealed the
 7   unauthorized emission control devices.
 8               42.   Plaintiff Karl Calhoun (for the purpose of this paragraph, “Plaintiff”), a citizen of
 9   Washington, residing in Moses Lake, Washington, bought a 2016 Ram 1500 EcoDiesel® (for the
10   purpose of this paragraph, the “Class Vehicle”) on or about January 16, 2016 at Dave Smith
11   Motors, an authorized FCA dealer in Kellogg, Idaho. Plaintiff decided to buy the Class Vehicle
12   based in part on FCA’s representations that it was an “EcoDiesel” vehicle (i.e., reduced emissions
13   and fuel efficient). Plaintiff saw a representation on the Ram website stating that the Class
14   Vehicles were highly fuel efficient with good torque, and had excellent towing capability.
15   Plaintiff also reviewed information that discussed the reduced emissions of the EcoDiesel®
16   engines. Additionally, Plaintiff saw television advertisements stating the trucks would achieve 29
17   MPG highway, with high torque and great towing capacity. When Plaintiff went to Dave Smith
18   Motors to purchase the Class Vehicle, he discussed towing capacity, torque, horsepower, and
19   mileage figures with a sales associate before making the purchase. These representations, along
20   with the advertised fuel economy and low emissions were among the primary reasons Plaintiff
21   chose the Class Vehicle. At the time of purchase, Plaintiff did not know that the Class Vehicle
22   could perform as advertised only by emitting NOx at levels that are greater than advertised and
23   above legal limits. Nor was Plaintiff aware that his Class Vehicle was equipped with undisclosed
24   and unauthorized emission control devices designed to cheat emission tests and to deceive
25   consumers and regulators. Plaintiff would not have purchased the Class Vehicle, or would have
26   paid less for it, had he known that it did not comply with emission standards; that its emission
27   treatment system was designed to de-activate during real-world driving conditions; and that it
28   could not achieve the advertised towing power, performance, and/or fuel economy without

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 1   cheating emission tests. Plaintiff has suffered a concrete injury as a direct and proximate result of
 2   Defendants’ misconduct, and would not have purchased the Class Vehicle, or would have paid
 3   less for it, had Defendants not concealed the unauthorized emission control devices.
 4               43.   Plaintiff Giuseppe Carillo (for the purpose of this paragraph, “Plaintiff”), a citizen
 5   of New York, residing in Amawalk, New York, bought a 2016 Ram 1500 EcoDiesel® (for the
 6   purpose of this paragraph, the “Class Vehicle”) on or about August 23, 2016 at Danbury Chrysler
 7   Dodge Jeep Ram, an authorized FCA dealer in Danbury, Connecticut. Plaintiff decided to buy
 8   the Class Vehicle based in part on FCA’s representations that it was an “EcoDiesel” vehicle (i.e.,
 9   reduced emissions and fuel efficient). Plaintiff spoke with the sales representative at Danbury
10   Chrysler Dodge Jeep Ram about mileage, EcoDiesel, and towing capacity. These representations,
11   along with the advertised fuel economy, towing power, and/or performance were among the
12   primary reasons Plaintiff chose the Class Vehicle. At the time of purchase, Plaintiff did not know
13   that the Class Vehicle could perform as advertised only by emitting NOx at levels that are greater
14   than advertised and above legal limits. Nor was Plaintiff aware that his Class Vehicle was
15   equipped with undisclosed and unauthorized emission control devices designed to cheat emission
16   tests and to deceive consumers and regulators. Plaintiff would not have purchased the Class
17   Vehicle, or would have paid less for it, had he known that it did not comply with emission
18   standards; that its emission treatment system was designed to de-activate during real-world
19   driving conditions; and that it could not achieve the advertised towing power, performance,
20   and/or fuel economy without cheating emission tests. Plaintiff has suffered a concrete injury as a
21   direct and proximate result of Defendants’ misconduct, and would not have purchased the Class
22   Vehicle, or would have paid less for it, had Defendants not concealed the unauthorized emission
23   control devices.
24               44.   Plaintiff Aaron Carter (for the purpose of this paragraph, “Plaintiff”), a citizen of
25   Illinois, residing in Swansea, Illinois, bought a 2015 Jeep Grand Cherokee EcoDiesel® (for the
26   purpose of this paragraph, the “Class Vehicle”) on or about October 17, 2015 at Oliver C. Joseph
27   Chrysler Dodge Jeep, an authorized FCA dealer in Belleville, Illinois. Plaintiff decided to buy
28   the Class Vehicle based in part on FCA’s representations that it was an “EcoDiesel” vehicle (i.e.,

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 1   reduced emissions and fuel efficient). Plaintiff saw representations on Jeep’s website in which
 2   the Class Vehicles were represented as having good fuel efficiency and towing power. Plaintiff
 3   also saw representations in a Jeep brochure that touted the Class Vehicle’s EcoDiesel® attributes,
 4   including its fuel efficiency, performance, environmental friendliness, and low emissions.
 5   Plaintiff also recalls the Jeep brochure representing the Class Vehicle to have clean-diesel
 6   technology that satisfied the emissions requirements in all 50 states. These representations, along
 7   with the advertised fuel economy, towing power, and performance were among the primary
 8   reasons Plaintiff chose the Class Vehicle. At the time of purchase, Plaintiff did not know that the
 9   Class Vehicle could perform as advertised only by emitting NOx at levels that are greater than
10   advertised and above legal limits. Nor was Plaintiff aware that his Class Vehicle was equipped
11   with undisclosed and unauthorized emission control devices designed to cheat emission tests and
12   to deceive consumers and regulators. Plaintiff would not have purchased the Class Vehicle, or
13   would have paid less for it, had he known that it did not comply with emission standards; that its
14   emission treatment system was designed to de-activate during real-world driving conditions; and
15   that it could not achieve the advertised towing power, performance, and/or fuel economy without
16   cheating emission tests. Plaintiff has suffered a concrete injury as a direct and proximate result of
17   Defendants’ misconduct, and would not have purchased the Class Vehicle, or would have paid
18   less for it, had Defendants not concealed the unauthorized emission control devices.
19               45.   Plaintiff Chatom Motor Company, Inc. (for the purpose of this paragraph,
20   “Plaintiff”), a domestic corporation organized under the laws of Alabama, with its principal place
21   of business in Chatom, Alabama, and a citizen of Alabama, bought a 2015 Ram 1500 EcoDiesel®
22   (for the purpose of this paragraph, the “Class Vehicle”) on or about February 1, 2017 for the
23   purpose of reselling the Class Vehicle. Plaintiff decided to buy and market the Class Vehicle
24   based in part on FCA’s representations that it was an “EcoDiesel” vehicle (i.e., reduced emissions
25   and fuel efficient). Plaintiff had previously seen representations on Ram’s website, and on third-
26   party sites linked on the Ram website, in which the Class Vehicles were represented to be
27   “clean,” to have “the best fuel economy of any full-size pickup,” and to produce “reduce[d] CO2
28   emissions.” Plaintiff purchased the Class Vehicles on an auction website commonly used in its

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 1   industry based on the value added by the EcoDiesel label. These representations, along with the
 2   advertised fuel economy, towing power, and/or performance were among the primary reasons
 3   Plaintiff chose the Class Vehicle to purchase and offer for resale. At the time of purchase,
 4   Plaintiff did not know that the Class Vehicle could not perform as advertised and in fact emitted
 5   NOx at levels that are greater than advertised and above legal limits. Nor was Plaintiff aware that
 6   its Class Vehicle was equipped with undisclosed and unauthorized emission control devices
 7   designed to cheat emission tests and to deceive consumers and regulators. Plaintiff would not
 8   have purchased and marketed for resale the Class Vehicle, or would have paid less for it, had it
 9   known that the Class Vehicle did not comply with emission standards; that its emission treatment
10   system was designed to de-activate during real-world driving conditions; or that it could not
11   achieve the advertised towing power, performance, and/or fuel economy without cheating
12   emission tests. Plaintiff also would not have invested additional resources to increase the value of
13   the Class Vehicle for resale had it known that the Class Vehicle did not comply with emission
14   standards; that its emission treatment system was designed to de-activate during real-world
15   driving conditions; or that it could not achieve the advertised towing power, performance, and/or
16   fuel economy without cheating emission tests. Plaintiff has suffered a concrete injury as a direct
17   and proximate result of Defendants’ misconduct, and would not have purchased the Class
18   Vehicle, or would have paid less for it, had Defendants not concealed the unauthorized emission
19   control devices.
20               46.   Plaintiff Jose Chavez (for the purpose of this paragraph, “Plaintiff”), a citizen of
21   California, residing in Antioch, California, purchased a 2016 Ram 1500 EcoDiesel® (for the
22   purpose of this paragraph, the “Class Vehicle”) on or about August 26, 2016 at Hilltop Chrysler
23   Jeep Dodge, an authorized FCA dealer in Richmond, California. Plaintiff decided to purchase the
24   Class Vehicle based in part on FCA’s representations that it was an “EcoDiesel” vehicle (i.e.,
25   reduced emissions and fuel efficient). These representations, along with the advertised fuel
26   economy and performance, were among the primary reasons Plaintiff chose the Class Vehicle. At
27   the time of purchase, Plaintiff did not know that the Class Vehicle could perform as advertised
28   only by emitting NOx at levels that are greater than advertised and above legal limits. Nor was

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 1   Plaintiff aware that his Class Vehicle was equipped with undisclosed and unauthorized emission
 2   control devices designed to cheat emission tests and to deceive consumers and regulators.
 3   Plaintiff would not have purchased the Class Vehicle, or would have paid less for it, had he
 4   known that it did not comply with emission standards; that its emission treatment system was
 5   designed to de-activate during real-world driving conditions; and that it could not achieve the
 6   advertised towing power, performance, and/or fuel economy without cheating emission tests.
 7   Plaintiff has suffered a concrete injury as a direct and proximate result of Defendants’
 8   misconduct, and would not have purchased the Class Vehicle, or would have paid less for it, had
 9   Defendants not concealed the unauthorized emission control devices.
10               47.   Plaintiff Josh Claflin (for the purpose of this paragraph, “Plaintiff”), a citizen of
11   Wisconsin, residing in Ellsworth, Wisconsin, leased a 2015 Ram 1500 EcoDiesel® (for the
12   purpose of this paragraph, the “Class Vehicle”) on or about April 17, 2015 at Fury Motors in St.
13   Paul, Minnesota. Plaintiff decided to lease the Class Vehicle based in part on FCA’s
14   representations that it was an “EcoDiesel” vehicle (i.e., reduced emissions and fuel efficient).
15   Plaintiff learned about the EcoDiesel® engine at a recreational vehicle (“RV”) show, where he
16   discussed the relative fuel efficiency of diesel engines compared to gas engines with a
17   salesperson. The salesperson also explained that the new EcoDiesel would comply with new laws
18   imposing stricter requirements for diesel emissions. Plaintiff then used the Ram website to
19   virtually “build” and price a truck with the options he wanted, including the EcoDiesel® engine.
20   He recalls the website touting a fuel economy figure of 24-28 MPG. When Plaintiff went to Fury
21   Motors to lease the Class Vehicle, the sales associate there represented that the Class Vehicle was
22   environmentally friendly while still getting torque and horsepower figures comparable to those of
23   a gas-powered V8 engine. The sales associate told Plaintiff that he had learned these facts from
24   Fiat Chrysler training. Plaintiff was given brochures for the Class Vehicle that discussed the
25   engine’s longevity and reliability, and also reviewed the Monroney sticker prior to leasing the
26   truck. These representations, along with the advertised fuel economy and low emissions were
27   among the primary reasons Plaintiff chose the Class Vehicle. At the time of lease, Plaintiff did
28   not know that the Class Vehicle could perform as advertised only by emitting NOx at levels that

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 1   are greater than advertised and above legal limits. Nor was Plaintiff aware that his Class Vehicle
 2   was equipped with undisclosed and unauthorized emission control devices designed to cheat
 3   emission tests and to deceive consumers and regulators. Plaintiff would not have leased the Class
 4   Vehicle, or would have paid less for it, had he known that it did not comply with emission
 5   standards; that its emission treatment system was designed to de-activate during real-world
 6   driving conditions; and that it could not achieve the advertised towing power, performance,
 7   and/or fuel economy without cheating emission tests. Plaintiff has suffered a concrete injury as a
 8   direct and proximate result of Defendants’ misconduct, and would not have purchased the Class
 9   Vehicle, or would have paid less for it, had Defendants not concealed the unauthorized emission
10   control devices.
11               48.   Plaintiff James DeBerry (for the purpose of this paragraph, “Plaintiff”), a citizen
12   of Florida, residing in Navarre, Florida, purchased a 2016 Ram 1500 EcoDiesel® (for the purpose
13   of this paragraph, the “Class Vehicle”) on or about April 30, 2016 at Five Star Chrysler, Jeep,
14   Dodge, Ram, Warner Robins, an authorized FCA dealer in Warner Robins, Georgia. Plaintiff
15   decided to purchase the Class Vehicle based in part on FCA’s representations that it was an
16   “EcoDiesel” vehicle (i.e., reduced emissions and fuel efficient). Plaintiff saw several TV
17   commercials for the EcoDiesel® Ram and online information from the Ram website where the
18   Class Vehicles were represented to be environmentally friendly with good fuel economy. When
19   Plaintiff went to Five Star Chrysler, Jeep, Dodge, Ram, Warner Robins to test drive and purchase
20   the Class Vehicle, the sales associate showed Plaintiff the window sticker and discussed the
21   specifications of the Class Vehicle, including its fuel mileage, range, horsepower and towing
22   figures. These representations, along with the advertised fuel economy and performance, were
23   among the primary reasons Plaintiff chose the Class Vehicle. At the time of purchase, Plaintiff
24   did not know that the Class Vehicle could perform as advertised only by emitting NOx at levels
25   that are greater than advertised and above legal limits. Nor was Plaintiff aware that his Class
26   Vehicle was equipped with undisclosed and unauthorized emission control devices designed to
27   cheat emission tests and to deceive consumers and regulators. Plaintiff would not have purchased
28   the Class Vehicle, or would have paid less for it, had he known that it did not comply with

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 1   emission standards; that its emission treatment system was designed to de-activate during real-
 2   world driving conditions; and that it could not achieve the advertised towing power, performance,
 3   and/or fuel economy without cheating emission tests. Plaintiff has suffered a concrete injury as a
 4   direct and proximate result of Defendants’ misconduct, and would not have purchased the Class
 5   Vehicle, or would have paid less for it, had Defendants not concealed the unauthorized emission
 6   control devices.
 7               49.   Plaintiff Edward Devault (for the purpose of this paragraph, “Plaintiff”), a citizen
 8   of Maine, residing in Concord Township, Maine, purchased a 2014 Jeep Grand Cherokee
 9   EcoDiesel® (for the purpose of this paragraph, the “Class Vehicle”) on or about July 18, 2014 at
10   Central Maine Chrysler Dodge Jeep Ram Fiat, an authorized FCA dealer in Waterville, Maine.
11   Plaintiff decided to purchase the Class Vehicle based in part on FCA’s representations that it was
12   an “EcoDiesel” vehicle (i.e., reduced emissions and fuel efficient). When Plaintiff went to
13   Central Maine Chrysler Dodge Jeep Ram Fiat to purchase the Class Vehicle, Plaintiff saw the
14   window sticker in which the Class Vehicles were represented to have good fuel economy.
15   Plaintiff also spoke to a salesperson at Central Maine Chrysler Dodge Jeep Ram Fiat, who made
16   representations about the Class Vehicle’s good fuel economy. These representations, along with
17   the advertised fuel economy and performance, were among the primary reasons Plaintiff chose
18   the Class Vehicle. At the time of purchase, Plaintiff did not know that the Class Vehicle could
19   perform as advertised only by emitting NOx at levels that are greater than advertised and above
20   legal limits. Nor was Plaintiff aware that his Class Vehicle was equipped with undisclosed and
21   unauthorized emission control devices designed to cheat emission tests and to deceive consumers
22   and regulators. Plaintiff would not have purchased the Class Vehicle, or would have paid less for
23   it, had he known that it did not comply with emission standards; that its emission treatment
24   system was designed to de-activate during real-world driving conditions; and that it could not
25   achieve the advertised towing power, performance, and/or fuel economy without cheating
26   emission tests. Plaintiff has suffered a concrete injury as a direct and proximate result of
27   Defendants’ misconduct, and would not have purchased the Class Vehicle, or would have paid
28   less for it, had Defendants not concealed the unauthorized emission control devices.

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 1               50.   Plaintiff Anthony Edwards, (for the purpose of this paragraph, “Plaintiff”), a
 2   citizen of Tennessee, residing in Cleveland, Tennessee, bought a 2015 Ram EcoDiesel® (for the
 3   purpose of this paragraph, the “Class Vehicle”) in or about November 10, 2016 at Collierville
 4   Chrysler Dodge Jeep Ram, an authorized FCA dealer in Collierville, Tennessee. Plaintiff decided
 5   to buy the Class Vehicle based in part on FCA’s representations that it was an “EcoDiesel”
 6   vehicle (i.e., reduced emissions and fuel efficient). Plaintiff saw representations on the
 7   Collierville Chrysler Dodge Jeep Ram website in which the Class Vehicles were represented to be
 8   environmentally friendly with low emissions and good fuel economy, and was so impressed with
 9   the descriptions of the Class Vehicle and its attributes on the Collierville Chrysler Dodge Jeep
10   Ram website that he purchased it online without physically inspecting or test driving the Class
11   Vehicle. When Plaintiff went to the Collierville Chrysler Dodge Jeep Ram dealership to collect
12   the Class Vehicle, no salesperson made any statement to counter Plaintiff’s expectations
13   regarding the Class Vehicle’s fuel economy and clean operation based on the descriptions and
14   reviews found on Collierville Chrysler Dodge Jeep Ram website. These representations, along
15   with the advertised fuel economy, towing power, and/or performance, were among the primary
16   reasons Plaintiff chose the Class Vehicle. At the time of purchase, Plaintiff did not know that the
17   Class Vehicle could perform as advertised only by emitting NOx at levels that are greater than
18   advertised and above legal limits. Nor was Plaintiff aware that his Class Vehicle was equipped
19   with undisclosed and unauthorized emission control devices designed to cheat emission tests and
20   to deceive consumers and regulators. Plaintiff would not have purchased the Class Vehicle, or
21   would have paid less for it, had he known that it did not comply with emission standards; that its
22   emission treatment system was designed to de-activate during real-world driving conditions; and
23   that it could not achieve the advertised towing power, performance, and/or fuel economy without
24   cheating emission tests. Plaintiff has suffered a concrete injury as a direct and proximate result of
25   Defendants’ misconduct, and would not have purchased the Class Vehicle, or would have paid
26   less for it, had Defendants not concealed the unauthorized emission control devices.
27               51.   Plaintiff Mathue Fasching (for the purpose of this paragraph, “Plaintiff”), a
28   citizen of Idaho, residing in Lowman, Idaho, bought a 2016 Ram 1500 EcoDiesel® (for the

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 1   purpose of this paragraph, the “Class Vehicle”) on or about July 12, 2016 at Lithia Chrysler Jeep
 2   Dodge of Grants Pass, an authorized FCA dealer in Grants Pass, Oregon. Plaintiff decided to buy
 3   the Class Vehicle based in part on FCA’s representations that it was an “EcoDiesel” vehicle (i.e.,
 4   reduced emissions and fuel efficient). These representations, along with the advertised fuel
 5   economy and low emissions were among the primary reasons Plaintiff chose the Class Vehicle.
 6   At the time of purchase, Plaintiff did not know that the Class Vehicle could perform as advertised
 7   only by emitting NOx at levels that are greater than advertised and above legal limits. Nor was
 8   Plaintiff aware that his Class Vehicle was equipped with undisclosed and unauthorized emission
 9   control devices designed to cheat emission tests and to deceive consumers and regulators.
10   Plaintiff would not have purchased the Class Vehicle, or would have paid less for it, had he
11   known that it did not comply with emission standards; that its emission treatment system was
12   designed to de-activate during real-world driving conditions; and that it could not achieve the
13   advertised towing power, performance, and/or fuel economy without cheating emission tests.
14   Plaintiff has suffered a concrete injury as a direct and proximate result of Defendants’
15   misconduct, and would not have purchased the Class Vehicle, or would have paid less for it, had
16   Defendants not concealed the unauthorized emission control devices.
17               52.   Plaintiff Tommy Feist (for the purpose of this paragraph, “Plaintiff”), a citizen of
18   Colorado, residing in Woodland Park, Colorado leased a 2016 Ram 1500 EcoDiesel® (for the
19   purpose of this paragraph, the “Class Vehicle”) on or about July 16, 2016 at Colorado Springs
20   Dodge, an authorized FCA dealer in Colorado Springs, Colorado. Plaintiff decided to lease the
21   Class Vehicle based in part on FCA’s representations that it was an “EcoDiesel” vehicle (i.e.,
22   reduced emissions and fuel efficient). Plaintiff saw television commercials and representations
23   on the Ram website in which the Class Vehicles were represented to be fuel efficient and safe for
24   the environment. When Plaintiff went to Colorado Springs Dodge to lease the Class Vehicle, the
25   sales associate discussed the information on the window sticker with Plaintiff and Plaintiff was
26   also provided a brochure for the Class Vehicle that touted the EcoDiesel’s fuel economy and
27   clean operation. These representations, along with the advertised fuel economy and performance,
28   were among the primary reasons Plaintiff chose the Class Vehicle. At the time of lease, Plaintiff

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 1   did not know that the Class Vehicle could perform as advertised only by emitting NOx at levels
 2   that are greater than advertised and above legal limits. Nor was Plaintiff aware that his Class
 3   Vehicle was equipped with undisclosed and unauthorized emission control devices designed to
 4   cheat emission tests and to deceive consumers and regulators. Plaintiff would not have leased the
 5   Class Vehicle, or would have paid less for it, had he known that it did not comply with emission
 6   standards; that its emission treatment system was designed to de-activate during real-world
 7   driving conditions; and that it could not achieve the advertised towing power, performance,
 8   and/or fuel economy without cheating emission tests. Plaintiff has suffered a concrete injury as a
 9   direct and proximate result of Defendants’ misconduct, and would not have leased the Class
10   Vehicle, or would have paid less for it, had Defendants not concealed the unauthorized emission
11   control devices.
12               53.   Plaintiff Victor Feldman (for the purpose of this paragraph, “Plaintiff”), a citizen
13   of Alabama, residing in Huntsville, Alabama purchased a 2015 Ram 1500 EcoDiesel® (for the
14   purpose of this paragraph, the “Class Vehicle”) on or about November 18, 2016 at Dodge
15   Country, an authorized FCA dealer in Killeen, Texas. Plaintiff decided to purchase the Class
16   Vehicle based in part on FCA’s representations that it was an “EcoDiesel” vehicle (i.e., reduced
17   emissions and fuel efficient). These representations, along with the advertised fuel economy and
18   performance, were among the primary reasons Plaintiff chose the Class Vehicle. At the time of
19   purchase, Plaintiff did not know that the Class Vehicle could perform as advertised only by
20   emitting NOx at levels that are greater than advertised and above legal limits. Nor was Plaintiff
21   aware that his Class Vehicle was equipped with undisclosed and unauthorized emission control
22   devices designed to cheat emission tests and to deceive consumers and regulators. Plaintiff would
23   not have purchased the Class Vehicle, or would have paid less for it, had he known that it did not
24   comply with emission standards; that its emission treatment system was designed to de-activate
25   during real-world driving conditions; and that it could not achieve the advertised towing power,
26   performance, and/or fuel economy without cheating emission tests. Plaintiff has suffered a
27   concrete injury as a direct and proximate result of Defendants’ misconduct, and would not have
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 1   purchased the Class Vehicle, or would have paid less for it, had Defendants not concealed the
 2   unauthorized emission control devices.
 3               54.   Plaintiff Miguel Fragoso (for the purpose of this paragraph, “Plaintiff”), a citizen
 4   of North Carolina, residing in Cary, North Carolina, leased a 2016 Jeep Grand Cherokee
 5   EcoDiesel® (for the purpose of this paragraph, the “Class Vehicle”) on or about August 9, 2016
 6   at Leith Jeep, an authorized FCA dealer in Cary, North Carolina. Plaintiff decided to lease the
 7   Class Vehicle based in part on FCA’s representations that it was an “EcoDiesel” vehicle (i.e.,
 8   reduced emissions and fuel efficient). Plaintiff saw representations on Jeep’s website, television
 9   commercials, and posters in the dealership in which the Class Vehicles were represented to be
10   fuel efficient with low emissions. Plaintiff also read reviews of the Class Vehicle in Car and
11   Driver magazine, Autoweek magazine, cars.com, and Edmunds.com, in which the Class Vehicles
12   were represented to be fuel efficient with low emissions. When Plaintiff went to Leith Jeep to
13   lease the Class Vehicle, the sales representative told him the Class Vehicle provided very high
14   efficiency and great mileage. The sales representative also told Plaintiff that the Class Vehicle
15   would have a positive impact on the environment while maintaining powerful towing capacity.
16   The finance manager at Leith Jeep told Plaintiff the Class Vehicle was a “clean vehicle” that was
17   good for the environment without any performance degradation. These representations, along
18   with the advertised fuel economy and performance, were among the primary reasons Plaintiff
19   chose the Class Vehicle. At the time of lease, Plaintiff did not know that the Class Vehicle could
20   perform as advertised only by emitting NOx at levels that are greater than advertised and above
21   legal limits. Nor was Plaintiff aware that his Class Vehicle was equipped with undisclosed and
22   unauthorized emission control devices designed to cheat emission tests and to deceive consumers
23   and regulators. Plaintiff would not have leased the Class Vehicle, or would have paid less for it,
24   had he known that it did not comply with emission standards; that its emission treatment system
25   was designed to de-activate during real-world driving conditions; and that it could not achieve the
26   advertised towing power, performance, and/or fuel economy without cheating emission tests.
27   Plaintiff has suffered a concrete injury as a direct and proximate result of Defendants’
28

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 1   misconduct, and would not have purchased the Class Vehicle, or would have paid less for it, had
 2   Defendants not concealed the unauthorized emission control devices.
 3               55.   Plaintiff Gregory Giauque (for the purpose of this paragraph, “Plaintiff”), a
 4   citizen of California, residing in San Luis Obispo County, California, purchased a 2015 Jeep
 5   Grand Cherokee EcoDiesel® (for the purpose of this paragraph, the “Class Vehicle”) on or about
 6   July 29, 2016 at Airpark Dodge, an authorized FCA dealer in Scottsdale, Arizona. Plaintiff
 7   decided to purchase the Class Vehicle based in part on FCA’s representations that it was an
 8   “EcoDiesel” vehicle (i.e., reduced emissions and fuel efficient). Plaintiff saw representations on
 9   Jeep’s website, print advertisements, third-party websites (Cars.com, autotrader.com, US News &
10   World Report, MotorTrend, Greencarreports.com, and Edmunds) and various billboards in which
11   the Class Vehicles were represented to be clean, environmentally friendly, have low emissions,
12   and/or have good fuel economy. When Plaintiff went to Airpark Dodge to purchase the Class
13   Vehicle, the sales associate commented on the Class Vehicle’s EcoDiesel® attributes, including
14   its fuel economy, towing power, and performance. These representations, along with the
15   advertised fuel economy and performance, were among the primary reasons Plaintiff chose the
16   Class Vehicle. At the time of purchase, Plaintiff did not know that the Class Vehicle could
17   perform as advertised only by emitting NOx at levels that are greater than advertised and above
18   legal limits. Nor was Plaintiff aware that his Class Vehicle was equipped with undisclosed and
19   unauthorized emission control devices designed to cheat emission tests and to deceive consumers
20   and regulators. Plaintiff would not have purchased the Class Vehicle, or would have paid less for
21   it, had he known that it did not comply with emission standards; that its emission treatment
22   system was designed to de-activate during real-world driving conditions; and that it could not
23   achieve the advertised towing power, performance, and/or fuel economy without cheating
24   emission tests. Plaintiff has suffered a concrete injury as a direct and proximate result of
25   Defendants’ misconduct, and would not have purchased the Class Vehicle, or would have paid
26   less for it, had Defendants not concealed the unauthorized emission control devices.
27               56.   Plaintiff Tom Gillespie (for the purpose of this paragraph, “Plaintiff”), a citizen of
28   Georgia, residing in Ray City, Georgia, purchased a 2014 Ram 1500 EcoDiesel® (for the purpose

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 1   of this paragraph, the “Class Vehicle”) on March 28, 2014 at Carl Gregory Chrysler Jeep and
 2   Dodge, an authorized FCA dealer in Brunswick, Georgia. Plaintiff decided to buy the Class
 3   Vehicle based in part on FCA’s representations that it was an “EcoDiesel” vehicle (i.e., reduced
 4   emissions and fuel efficient). Plaintiff saw representations on Ram’s website and in television
 5   commercials in which the Class Vehicles were represented to be environmentally friendly, with
 6   low emissions, phenomenal torque, and great gas mileage. When Plaintiff went to Carl Gregory
 7   Chrysler Jeep and Dodge to purchase the Class Vehicle, the sales associate touted the Class
 8   Vehicle’s EcoDiesel® attributes, including its fuel economy, towing power, and performance.
 9   Carl Gregory Chrysler Jeep and Dodge also provided Plaintiff with a brochure for the Class
10   Vehicle that touted the EcoDiesel®’s fuel economy and clean operation. These representations,
11   along with the advertised fuel economy and performance, were among the primary reasons
12   Plaintiff chose the Class Vehicle. At the time of purchase, Plaintiff did not know that the Class
13   Vehicle could perform as advertised only by emitting NOx at levels that are greater than
14   advertised and above legal limits. Nor was Plaintiff aware that his Class Vehicle was equipped
15   with undisclosed and unauthorized emission control devices designed to cheat emission tests and
16   to deceive consumers and regulators. Plaintiff would not have purchased the Class Vehicle, or
17   would have paid less for it, had he known that it did not comply with emission standards; that its
18   emission treatment system was designed to de-activate during real-world driving conditions; and
19   that it could not achieve the advertised towing power, performance, and/or fuel economy without
20   cheating emission tests. Plaintiff has suffered a concrete injury as a direct and proximate result of
21   Defendants’ misconduct, and would not have purchased the Class Vehicle, or would have paid
22   less for it, had Defendants not concealed the unauthorized emission control devices.
23               57.   Plaintiff GN Systems, Inc., a Florida corporation (for the purpose of this
24   paragraph, “Plaintiff”), a citizen of Florida with its principal place of business in Wellington,
25   Florida, bought five Ram 1500 EcoDiesel® vehicles as follows (for the purpose of this paragraph,
26   the “Class Vehicles”): (1) 2016 Ram 1500 EcoDiesel® on or about September 10, 2016 at Rob
27   Lambdin’s University Dodge Ram, an authorized FCA dealer in Davie, Florida; (2) 2016 Ram
28   1500 EcoDiesel® on or about July 24, 2016 at University Dodge, an authorized FCA dealer in

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 1   Davie, Florida; (3) 2015 Ram 1500 EcoDiesel® on or about February 29, 2016 at University
 2   Dodge, an authorized FCA dealer in Davie, Florida; (4) 2014 Ram 1500 EcoDiesel® on or about
 3   May 1, 2014 at University Dodge, an authorized FCA dealer in Davie, Florida; and (5) 2014 Ram
 4   1500 EcoDiesel® on or about June 9, 2014 at University Dodge, an authorized FCA dealer in
 5   Davie, Florida. Plaintiff decided to buy the Class Vehicles based in part on FCA’s
 6   representations that they were “EcoDiesel” vehicles (i.e., reduced emissions and fuel efficient).
 7   Plaintiff GN Systems Inc. saw representations on Ram’s website and on television in which the
 8   Class Vehicles were represented to be environmentally friendly, to have low emissions, and to
 9   have good fuel economy. When Plaintiff went to the University Dodge dealership to purchase the
10   Class Vehicle, the sales associate touted the Class Vehicle’s EcoDiesel® attributes, including its
11   fuel economy, towing power, and clean operation performance. These representations, along
12   with the advertised fuel economy, towing power, and performance, were among the primary
13   reasons Plaintiff chose the Class Vehicles. At the time of purchase, Plaintiff did not know that
14   the Class Vehicles could perform as advertised only by emitting NOx at levels that are greater
15   than advertised and above legal limits. Nor was Plaintiff aware that its Class Vehicles were
16   equipped with undisclosed and unauthorized emission control devices designed to cheat emission
17   tests and to deceive consumers and regulators. Plaintiff would not have purchased the Class
18   Vehicles, or would have paid less for them, had it known that they did not comply with emission
19   standards; that their emission treatment systems were designed to de-activate during real-world
20   driving conditions; and that they could not achieve the advertised towing power, performance,
21   and/or fuel economy without cheating emission tests. Plaintiff has suffered a concrete injury as a
22   direct and proximate result of Defendants’ misconduct, and would not have purchased the Class
23   Vehicles, or would have paid less for them, had Defendants not concealed the unauthorized
24   emission control devices.
25               58.   Plaintiff Benjamin Greenberg (for the purpose of this paragraph, “Plaintiff”), a
26   citizen of Massachusetts, residing in Maynard, Massachusetts, leased a 2015 Jeep Grand
27   Cherokee EcoDiesel® (for the purpose of this paragraph, the “Class Vehicle”) on or about March
28   22, 2015 at Kelly Jeep Chrysler, an authorized FCA dealer in Lynnfield, Massachusetts. Plaintiff

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 1   decided to lease the Class Vehicle based in part on FCA’s representations that it was an
 2   “EcoDiesel” vehicle (i.e., reduced emissions and fuel efficient). Plaintiff saw online information
 3   from the Jeep website, the car dealership website, the sticker of the car, print advertising at the
 4   dealership, and media advertising on television in which the Class Vehicles were represented to
 5   be powerful, reliable, rugged, environmentally friendly (low emissions) and have great gas
 6   mileage. When Plaintiff went to Kelly Jeep Chrysler to test drive and lease the Class Vehicle, the
 7   sales associate touted the Class Vehicle’s EcoDiesel® attributes, including its fuel economy,
 8   towing power, and performance. Plaintiff was also provided a brochure for the Class Vehicle that
 9   touted the EcoDiesel®’s fuel economy and clean operation. These representations, along with the
10   advertised fuel economy and performance, were among the primary reasons Plaintiff chose the
11   Class Vehicle. At the time of lease, Plaintiff did not know that the Class Vehicle could perform
12   as advertised only by emitting NOx at levels that are greater than advertised and above legal
13   limits. Nor was Plaintiff aware that his Class Vehicle was equipped with undisclosed and
14   unauthorized emission control devices designed to cheat emission tests and to deceive consumers
15   and regulators. Plaintiff would not have leased the Class Vehicle, or would have paid less for it,
16   had he known that it did not comply with emission standards; that its emission treatment system
17   was designed to de-activate during real-world driving conditions; and that it could not achieve the
18   advertised towing power, performance, and/or fuel economy without cheating emission tests.
19   Plaintiff has suffered a concrete injury as a direct and proximate result of Defendants’
20   misconduct, and would not have purchased the Class Vehicle, or would have paid less for it, had
21   Defendants not concealed the unauthorized emission control devices.
22               59.   Plaintiff Jeffrey Griggs (for the purpose of this paragraph, “Plaintiff”), a citizen of
23   Tennessee, residing in Georgetown, Tennessee, bought a 2014 Ram 1500 EcoDiesel® (for the
24   purpose of this paragraph, the “Class Vehicle”) on or about September 13, 2014 at Mountain
25   View Chrysler Dodge Jeep Ram, an authorized FCA dealer in Ringgold, Georgia. Plaintiff
26   decided to buy the Class Vehicle based in part on FCA’s representations that it was an
27   “EcoDiesel” vehicle (i.e., reduced emissions and fuel efficient). Plaintiff saw representations on
28   the Ram website and other online sources in which the Class Vehicles were represented to be

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 1   environmentally friendly, reliable, have great torque, and have good fuel economy. When
 2   Plaintiff went to Mountain View Chrysler Dodge Jeep Ram to purchase the Class Vehicle, the
 3   sales associate touted the Class Vehicle’s EcoDiesel® attributes, including its fuel economy,
 4   towing power, reliability, and performance, all without the typical diesel smell. These
 5   representations, along with the advertised fuel economy, towing power, and/or performance were
 6   among the primary reasons Plaintiff chose the Class Vehicle. At the time of purchase, Plaintiff
 7   did not know that the Class Vehicle could perform as advertised only by emitting NOx at levels
 8   that are greater than advertised and above legal limits. Nor was Plaintiff aware that his Class
 9   Vehicle was equipped with undisclosed and unauthorized emission control devices designed to
10   cheat emission tests and to deceive consumers and regulators. Plaintiff would not have purchased
11   the Class Vehicle, or would have paid less for it, had he known that it did not comply with
12   emission standards; that its emission treatment system was designed to de-activate during real-
13   world driving conditions; and that it could not achieve the advertised towing power, performance,
14   and/or fuel economy without cheating emission tests. Plaintiff has suffered a concrete injury as a
15   direct and proximate result of Defendants’ misconduct, and would not have purchased the Class
16   Vehicle, or would have paid less for it, had Defendants not concealed the unauthorized emission
17   control devices.
18               60.   Plaintiff Jake Gunderson (for the purpose of this paragraph, “Plaintiff”), a citizen
19   of New Mexico residing in Los Alamos, New Mexico, bought a 2015 Ram 1500 EcoDiesel® (for
20   the purpose of this paragraph, the “Class Vehicle”) on or about March 7, 2015 at Lithia Chrysler
21   Dodge Jeep Ram Fiat of Santa Fe, an authorized FCA dealer in Santa Fe, New Mexico. Plaintiff
22   decided to buy the Class Vehicle based in part on FCA’s representations that it was an
23   “EcoDiesel” vehicle (i.e., reduced emissions and fuel efficient). Plaintiff saw an online
24   advertisement for the Class Vehicle through social media, then researched the vehicle on the Ram
25   website in which the Class Vehicles were represented as having good fuel economy while also
26   meeting low emissions requirements. Plaintiff was also informed through the Ram website of the
27   Class Vehicle’s towing capacity and power. When Plaintiff went to Lithia Chrysler Dodge Jeep
28   Ram Fiat of Santa Fe to purchase the Class Vehicle, he spoke at length with the sales associate

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 1   about the Class Vehicle’s features, including its towing capability. Plaintiff was concerned about
 2   the Class Vehicle’s usage of DEF and the sales associate assured Plaintiff of the Class Vehicle’s
 3   ability to meet emissions standards and use very little DEF while still being able to achieve good
 4   fuel economy in all driving conditions. The sales associate also assured Plaintiff of the Class
 5   Vehicle’s performance as it aged and the dealership’s commitment to servicing the vehicle. These
 6   representations, along with the advertised fuel economy, towing power, performance, and comfort
 7   were among the primary reasons Plaintiff chose the Class Vehicle. At the time of purchase,
 8   Plaintiff did not know that the Class Vehicle could perform as advertised only by emitting NOx at
 9   levels that are greater than advertised and above legal limits. Nor was Plaintiff aware that his
10   Class Vehicle was equipped with undisclosed and unauthorized emission control devices
11   designed to cheat emission tests and to deceive consumers and regulators. Plaintiff would not
12   have purchased the Class Vehicle, or would have paid less for it, had he known that it did not
13   comply with emission standards; that its emission treatment system was designed to de-activate
14   during real-world driving conditions; and that it could not achieve the advertised towing power,
15   performance, and/or fuel economy without cheating emission tests. Plaintiff has suffered a
16   concrete injury as a direct and proximate result of Defendants’ misconduct, and would not have
17   purchased the Class Vehicle, or would have paid less for it, had Defendants not concealed the
18   unauthorized emission control devices.
19               61.   Plaintiffs Kyle and Jessica Heidlebaugh (for the purpose of this paragraph,
20   “Plaintiffs”), citizens of Pennsylvania, residing in Spring Grove, Pennsylvania, purchased a 2014
21   Jeep Grand Cherokee EcoDiesel® (for the purpose of this paragraph, the “Class Vehicle”) on or
22   about May 3, 2014 at Don White’s Chrysler Dodge Jeep Ram, an authorized FCA dealer in
23   Cockeysville, Maryland. Plaintiffs decided to purchase the Class Vehicle based in part on FCA’s
24   representations that it was an “EcoDiesel” vehicle (i.e., reduced emissions and fuel efficient).
25   Plaintiffs previously owned a Jeep, and while at the dealership they asked a sales person for
26   information about the EcoDiesel. The sales person provided Plaintiffs with a brochure about the
27   EcoDiesel. Plaintiffs also saw a poster about the Class Vehicles in the showroom. Prior to
28   purchasing the Class Vehicle, Plaintiffs viewed information on Jeep’s website in which the Class

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 1   Vehicles were represented as environmentally friendly with low emissions and good fuel
 2   economy. When Plaintiffs went to Don White’s Chrysler Dodge Jeep Ram to purchase the Class
 3   Vehicle, the sales person touted the Class Vehicle’s EcoDiesel® attributes, including its fuel
 4   economy, towing power, and performance. These representations, along with the advertised fuel
 5   economy and performance, were among the primary reasons Plaintiffs chose the Class Vehicle.
 6   At the time of purchase, Plaintiffs did not know that the Class Vehicle could perform as
 7   advertised only by emitting NOx at levels that are greater than advertised and above legal limits.
 8   Nor were Plaintiffs aware that their Class Vehicle was equipped with undisclosed and
 9   unauthorized emission control devices designed to cheat emission tests and to deceive consumers
10   and regulators. Plaintiffs would not have purchased the Class Vehicle, or would have paid less
11   for it, had they known that it did not comply with emission standards; that its emission treatment
12   system was designed to de-activate during real-world driving conditions; and that it could not
13   achieve the advertised towing power, performance, and/or fuel economy without cheating
14   emission tests. Plaintiffs have suffered a concrete injury as a direct and proximate result of
15   Defendants’ misconduct, and would not have purchased the Class Vehicle, or would have paid
16   less for it, had Defendants not concealed the unauthorized emission control devices.
17               62.   Plaintiff Brian Hiner (for the purpose of this paragraph, “Plaintiff”) a citizen of
18   Virginia, residing in Covington, Virginia, bought a 2014 Jeep Grand Cherokee EcoDiesel® (for
19   the purpose of this paragraph, the “Class Vehicle”) in or about March 25, 2014 at Alleghany
20   Chrysler Dodge Jeep Ram, an authorized FCA dealer in Covington, Virginia. Plaintiff decided to
21   buy the Class Vehicle based in part on FCA’s representations that it was an “EcoDiesel” vehicle
22   (i.e., reduced emissions and fuel efficient). Plaintiff saw representations on the Jeep website in
23   which the Class Vehicles were represented to be fuel efficient and environmentally friendly.
24   Plaintiff also saw a brochure for his Class Vehicle in which it was represented to have reduced
25   emissions and “display reverence for the environment.” When Plaintiff went to Alleghany
26   Chrysler Dodge Jeep Ram to purchase the Class Vehicle the salesperson compared the gasoline
27   model to the EcoDiesel model, and touted the Class Vehicle’s EcoDiesel® attributes, including
28   its fuel efficiency. These representations, along with the advertised fuel economy and low

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 1   emissions were among the primary reasons Plaintiff chose the Class Vehicle. At the time of
 2   purchase, Plaintiff did not know that the Class Vehicle could perform as advertised only by
 3   emitting NOx at levels that are greater than advertised and above legal limits. Nor was Plaintiff
 4   aware that his Class Vehicle was equipped with undisclosed and unauthorized emission control
 5   devices designed to cheat emission tests and to deceive consumers and regulators. Plaintiff would
 6   not have purchased the Class Vehicle, or would have paid less for it, had he known that it did not
 7   comply with emission standards; that its emission treatment system was designed to de-activate
 8   during real-world driving conditions; and that it could not achieve the advertised towing power,
 9   performance, and/or fuel economy without cheating emission tests. Plaintiff has suffered a
10   concrete injury as a direct and proximate result of Defendants’ misconduct, and would not have
11   purchased the Class Vehicle, or would have paid less for it, had Defendants not concealed the
12   unauthorized emission control devices.
13               63.   Plaintiff Charles Patrick Hissey (for the purpose of this paragraph, “Plaintiff”), a
14   citizen of Texas, residing in Montgomery, Texas, bought a 2015 Jeep Grand Cherokee
15   EcoDiesel® (for the purpose of this paragraph, the “Class Vehicle”) on or about May 30, 2015 at
16   DeMontrond Chrysler Dodge Jeep Ram, an authorized FCA dealer in Conroe, Texas. Plaintiff
17   decided to buy the Class Vehicle based in part on FCA’s representations that it was an
18   “EcoDiesel” vehicle (i.e., reduced emissions and fuel efficient). Plaintiff thoroughly researched
19   the Class Vehicle—specifically the engine—prior to purchasing it, and spoke with several
20   individuals at DeMontrond Chrysler Dodge Jeep Ram, Northwest Chrysler Jeep Dodge Ram, and
21   AutoNation Chrysler Dodge Jeep Ram in Spring, Texas. When Plaintiff went to DeMontrond
22   Chrysler Dodge Jeep Ram, the sales associate touted the fuel efficiency and low emissions of the
23   Class Vehicle. These representations, along with the advertised fuel economy, towing power,
24   and/or performance were among the primary reasons Plaintiff chose the Class Vehicle. At the
25   time of purchase, Plaintiff did not know that the Class Vehicle could perform as advertised only
26   by emitting NOx at levels that are greater than advertised and above legal limits. Nor was
27   Plaintiff aware that his Class Vehicle was equipped with undisclosed and unauthorized emission
28   control devices designed to cheat emission tests and to deceive consumers and regulators.

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 1   Plaintiff would not have purchased the Class Vehicle, or would have paid less for it, had he
 2   known that it did not comply with emission standards; that its emission treatment system was
 3   designed to de-activate during real-world driving conditions; and that it could not achieve the
 4   advertised towing power, performance, and/or fuel economy without cheating emission tests.
 5   Plaintiff has suffered a concrete injury as a direct and proximate result of Defendants’
 6   misconduct, and would not have purchased the Class Vehicle, or would have paid less for it, had
 7   Defendants not concealed the unauthorized emission control devices.
 8               64.   Plaintiff Lee Holland (for the purpose of this paragraph, “Plaintiff”), a citizen of
 9   Oklahoma, residing in Lexington, Oklahoma, bought a 2015 Ram 1500 EcoDiesel® (for the
10   purpose of this paragraph, the “Class Vehicle”) on or about September 10, 2015 at David Stanley
11   Chrysler Jeep Dodge Ram, an authorized FCA dealer in Midwest City, Oklahoma. Plaintiff
12   decided to buy the Class Vehicle based in part on FCA’s representations that it was an
13   “EcoDiesel” vehicle (i.e., reduced emissions and fuel efficient). Plaintiff saw a representation on
14   Ram’s website and commercials on television in which the Class Vehicles were represented to be
15   environmentally friendly with low emissions and good fuel economy. When Plaintiff went to
16   David Stanley Chrysler Jeep Dodge Ram in Midwest City, Oklahoma to purchase the Class
17   Vehicle, the sales associate touted the Class Vehicle’s EcoDiesel® attributes, including its fuel
18   economy and performance. These representations, along with the advertised fuel economy,
19   towing power, and performance were among the primary reasons Plaintiff chose the Class
20   Vehicle. At the time of purchase, Plaintiff did not know that the Class Vehicle could perform as
21   advertised only by emitting NOx at levels that are greater than advertised and above legal limits.
22   Nor was Plaintiff aware that his Class Vehicle was equipped with undisclosed and unauthorized
23   emission control devices designed to cheat emission tests and to deceive consumers and
24   regulators. Plaintiff would not have purchased the Class Vehicle, or would have paid less for it,
25   had he known that it did not comply with emission standards; that its emission treatment system
26   was designed to de-activate during real-world driving conditions; and that it could not achieve the
27   advertised towing power, performance, and/or fuel economy without cheating emission tests.
28   Plaintiff has suffered a concrete injury as a direct and proximate result of Defendants’

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 1   misconduct, and would not have purchased the Class Vehicle, or would have paid less for it, had
 2   Defendants not concealed the unauthorized emission control devices.
 3               65.   Plaintiff Ronald Holm (for the purpose of this paragraph, “Plaintiff”), a citizen of
 4   Montana, residing in Butte, Montana, bought a 2015 Ram 1500 EcoDiesel® (for the purpose of
 5   this paragraph, the “Class Vehicle”) in or about January 26, 2016 at Butte’s Mile High Chrysler
 6   Jeep Dodge Ram, an authorized FCA dealer in Butte, Montana. Plaintiff decided to buy the Class
 7   Vehicle based in part on FCA’s representations that it was an “EcoDiesel” vehicle (i.e., reduced
 8   emissions and fuel efficient). When Plaintiff went to Mile High Motors to purchase the Class
 9   Vehicle, the salesperson touted the Class Vehicle’s attributes, including its fuel economy, towing
10   power, and performance. These representations, along with the advertised fuel economy and low
11   emissions were among the primary reasons Plaintiff chose the Class Vehicle. At the time of
12   purchase, Plaintiff did not know that the Class Vehicle could perform as advertised only by
13   emitting NOx at levels that are greater than advertised and above legal limits. Nor was Plaintiff
14   aware that his Class Vehicle was equipped with undisclosed and unauthorized emission control
15   devices designed to cheat emission tests and to deceive consumers and regulators. Plaintiff would
16   not have purchased the Class Vehicle, or would have paid less for it, had he known that it did not
17   comply with emission standards; that its emission treatment system was designed to de-activate
18   during real-world driving conditions; and that it could not achieve the advertised towing power,
19   performance, and/or fuel economy without cheating emission tests. Plaintiff has suffered a
20   concrete injury as a direct and proximate result of Defendants’ misconduct, and would not have
21   purchased the Class Vehicle, or would have paid less for it, had Defendants not concealed the
22   unauthorized emission control devices.
23               66.   Plaintiff Connie Hood (for the purpose of this paragraph, “Plaintiff”), a citizen of
24   Nebraska, residing in Hallam, Nebraska, purchased a 2014 Jeep Grand Cherokee EcoDiesel® (for
25   the purpose of this paragraph, the “Class Vehicle”) on or about June 18, 2014 at Sid Dillon Auto
26   Group in Crete, Nebraska. Plaintiff decided to purchase the Class Vehicle based in part on FCA’s
27   representations that it was an “EcoDiesel” vehicle (i.e., reduced emissions and fuel efficient).
28   Plaintiff first learned about the Class Vehicle through a television commercial she saw in late

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 1   2013 or early 2014. Plaintiff began to research the Class Vehicle online and viewed the Jeep
 2   website while conducting her research. Plaintiff also reviewed a brochure on the Jeep EcoDiesel
 3   at the Sid Dillon Auto Group in the spring of 2014. From the Jeep television commercial,
 4   brochure, and website, Plaintiff was led to believe the Jeep EcoDiesel was an environmentally
 5   friendly vehicle. When Plaintiff went to the Sid Dillon Auto Group to purchase the Class
 6   Vehicle, the salesperson made representations as to the Class Vehicle’s attributes, including its
 7   fuel economy and compliance with emission standards. These representations, along with the
 8   advertised fuel economy and low emissions were among the primary reasons Plaintiff chose the
 9   Class Vehicle. At the time of purchase, Plaintiff did not know that the Class Vehicle could
10   perform as advertised only by emitting NOx at levels that are greater than advertised and above
11   legal limits. Nor was Plaintiff aware that her Class Vehicle was equipped with undisclosed and
12   unauthorized emission control devices designed to cheat emission tests and to deceive consumers
13   and regulators. Plaintiff would not have purchased the Class Vehicle, or would have paid less for
14   it, had she known that it did not comply with emission standards; that its emission treatment
15   system was designed to de-activate during real-world driving conditions; and that it could not
16   achieve the advertised towing power, performance, and/or fuel economy without cheating
17   emission tests. Plaintiff has suffered a concrete injury as a direct and proximate result of
18   Defendants’ misconduct, and would not have purchased the Class Vehicle, or would have paid
19   less for it, had Defendants not concealed the unauthorized emission control devices.
20               67.   Plaintiffs Matthew Johnson and Amanda Kobussen (for the purpose of this
21   paragraph, “Plaintiffs”), citizens of Alaska, currently residing in University Place, Washington,
22   bought a 2015 Jeep Grand Cherokee EcoDiesel® (for the purpose of this paragraph, the “Class
23   Vehicle”) on or about March 12, 2016 at Lithia Chrysler Dodge Jeep Ram FIAT of Anchorage,
24   Alaska, an authorized FCA dealer in Anchorage, Alaska. Plaintiffs decided to buy the Class
25   Vehicle based in part on FCA’s representations that it was an “EcoDiesel” vehicle (i.e., reduced
26   emissions and fuel efficient). Plaintiffs saw a representation on Jeep’s webpage and print
27   material inside the dealership in which the Class Vehicles were represented to be environmentally
28   friendly and having good fuel economy while maintaining advertised towing power. When

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 1   Plaintiff went to Lithia Chrysler Dodge Jeep Ram FIAT of Anchorage, Alaska to purchase the
 2   Class Vehicle, the sales associate touted the Class Vehicle’s EcoDiesel® attributes, including its
 3   fuel economy, towing power, performance, and that it did not have the attributes of a typical
 4   diesel (smelly, loud, emissions of black smoke). These representations, along with the advertised
 5   fuel economy and low emissions were among the primary reasons Plaintiffs chose the Class
 6   Vehicle. At the time of purchase, Plaintiffs did not know that the Class Vehicle could perform as
 7   advertised only by emitting NOx at levels that are greater than advertised and above legal limits.
 8   Nor were Plaintiffs aware that their Class Vehicle was equipped with undisclosed and
 9   unauthorized emission control devices designed to cheat emission tests and to deceive consumers
10   and regulators. Plaintiffs would not have purchased the Class Vehicle, or would have paid less
11   for it, had they known that it did not comply with emission standards; that its emission treatment
12   system was designed to de-activate during real-world driving conditions; and that it could not
13   achieve the advertised towing power, performance, and/or fuel economy without cheating
14   emission tests. Plaintiffs have suffered a concrete injury as a direct and proximate result of
15   Defendants’ misconduct, and would not have purchased the Class Vehicle, or would have paid
16   less for it, had Defendants not concealed the unauthorized emission control devices.
17               68.   Plaintiff Michael R. Johnson (for the purpose of this paragraph, “Plaintiff”), a
18   citizen of Georgia, residing in Mableton, Georgia, bought a 2014 Ram 1500 EcoDiesel® (for the
19   purpose of this paragraph, the “Class Vehicle”) on or about August 1, 2015 at Big O Dodge, an
20   authorized FCA dealer in Greenville, South Carolina. Plaintiff decided to buy the Class Vehicle
21   based in part on FCA’s representations that it was an “EcoDiesel” vehicle (i.e., reduced emissions
22   and fuel efficient). Plaintiff went to Atlanta West Dodge Jeep Ram to test drive the Class
23   Vehicle. The sales associate there touted the Class Vehicle’s EcoDiesel® attributes, telling him
24   that the truck had good gas mileage. Plaintiff later exchanged emails with a sales associate at Big
25   O Dodge. Plaintiff asked if the truck would emit black smoke because it was a diesel. The sales
26   associate wrote back that although the truck was a diesel, it did not emit black smoke like diesels
27   historically did and was also good for the environment. The sales associate explained that the
28   truck was environmentally friendly and emitted little to no emissions because the truck used DEF,

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 1   which breaks down certain chemicals to minimize pollutants. The sales associate also discussed
 2   the truck’s towing capability with Plaintiff and explained that the truck had better torque than
 3   other trucks on the lot. These representations, along with the advertised fuel economy and low
 4   emissions were among the primary reasons Plaintiff chose the Class Vehicle. At the time of
 5   purchase, Plaintiff did not know that the Class Vehicle could perform as advertised only by
 6   emitting NOx at levels that are greater than advertised and above legal limits. Nor was Plaintiff
 7   aware that his Class Vehicle was equipped with undisclosed and unauthorized emission control
 8   devices designed to cheat emission tests and to deceive consumers and regulators. Plaintiff would
 9   not have purchased the Class Vehicle, or would have paid less for it, had he known that it did not
10   comply with emission standards; that its emission treatment system was designed to de-activate
11   during real-world driving conditions; and that it could not achieve the advertised towing power,
12   performance, and/or fuel economy without cheating emission tests. Plaintiff has suffered a
13   concrete injury as a direct and proximate result of Defendants’ misconduct, and would not have
14   purchased the Class Vehicle, or would have paid less for it, had Defendants not concealed the
15   unauthorized emission control devices.
16               69.   Plaintiff Donald Korrell II (for the purpose of this paragraph, “Plaintiff”), a
17   citizen of Maryland residing in Hagerstown, MD, bought a 2014 Jeep Grand Cherokee
18   EcoDiesel® (for the purpose of this paragraph, the “Class Vehicle”) on or about May 20, 2014 at
19   Apple Chrysler Dodge Jeep Ram, an authorized FCA dealer in Hanover, PA. Plaintiff decided to
20   buy and market the Class Vehicle based in part on FCA’s representations that it was an
21   “EcoDiesel” vehicle (i.e., reduced emissions and fuel efficient). Plaintiff saw representations on
22   Jeep’s website in which the Class Vehicles were represented to have good fuel economy. In
23   addition, Plaintiff visited several dealerships that sold the EcoDiesel vehicles prior to purchasing
24   the Class Vehicle. At one of the dealerships, he was provided a brochure for the Class Vehicle
25   that touted the EcoDiesel’s fuel economy and “clean operation.” These representations, along
26   with the other representations about fuel economy and low emissions, were among the primary
27   reasons Plaintiffs chose the Class Vehicle. At the time of purchase, Plaintiff did not know that
28   the Class Vehicle could not perform as advertised and in fact emitted NOx at levels that are

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 1   greater than advertised and above legal limits. Nor was Plaintiff aware that its Class Vehicle was
 2   equipped with undisclosed and unauthorized emission control devices designed to cheat emission
 3   tests and to deceive consumers and regulators. Plaintiff would not have purchased and marketed
 4   for resale the Class Vehicle, or would have paid less for it, had it known that the Class Vehicle
 5   did not comply with emission standards; that its emission treatment system was designed to de-
 6   activate during real-world driving conditions; or that it could not achieve the advertised towing
 7   power, performance, and/or fuel economy without cheating emission tests. Plaintiff also would
 8   not have invested additional resources to increase the value of the Class Vehicle for resale had it
 9   known that the Class Vehicle did not comply with emission standards; that its emission treatment
10   system was designed to de-activate during real-world driving conditions; or that it could not
11   achieve the advertised towing power, performance, and/or fuel economy without cheating
12   emission tests. Plaintiff has suffered a concrete injury as a direct and proximate result of
13   Defendants’ misconduct, and would not have purchased the Class Vehicle, or would have paid
14   less for it, had Defendants not concealed the unauthorized emission control devices.
15               70.   Plaintiff Richard Lindholm (for the purpose of this paragraph, “Plaintiff”) a
16   citizen of Nebraska, residing in Papillion, Nebraska purchased a 2015 Ram 1500 EcoDiesel® (for
17   the purpose of this paragraph, the “Class Vehicle”) on or about February 25, 2017 at Pro Chrysler
18   Dodge Jeep Ram, an authorized FCA dealer in Plattsmouth, Nebraska. Plaintiff decided to buy
19   the Class Vehicle based in part on FCA's representations that it was an “EcoDiesel” vehicle (i.e.,
20   reduced emissions and fuel efficient). Plaintiff visited the Ram website and saw a brochures in
21   which the Class Vehicles were represented to have good fuel economy, towing capacity, and
22   power all while being environmentally friendly with low emissions. When Plaintiff went to Pro
23   Chrysler Jeep Dodge Ram to purchase the Class Vehicle, the sales associate touted the Class
24   Vehicle’s EcoDiesel® attributes, including its low emissions, fuel economy, towing power, and
25   performance. These representations, along with the advertised fuel economy and low emissions
26   were among the primary reasons Plaintiff chose the Class Vehicle. At the time of purchase,
27   Plaintiff did not know that the Class Vehicle could perform as advertised only by emitting NOx at
28   levels that are greater than advertised and above legal limits. Nor was Plaintiff aware that his

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 1   Class Vehicle was equipped with undisclosed and unauthorized emission control devices
 2   designed to cheat emission tests and to deceive consumers and regulators. Plaintiff would not
 3   have purchased the Class Vehicle, or would have paid less for it, had he known that it did not
 4   comply with emission standards; that its emission treatment system was designed to de-activate
 5   during real-world driving conditions; and that it could not achieve the advertised towing power,
 6   performance, and/or fuel economy without cheating emission tests. Plaintiff has suffered a
 7   concrete injury as a direct and proximate result of Defendants’ misconduct, and would not have
 8   purchased the Class Vehicle, or would have paid less for it, had Defendants not concealed the
 9   unauthorized emission control devices.
10               71.   Plaintiff Andrew Loescher (for the purpose of this paragraph, “Plaintiff”), a
11   citizen of Washington, residing in Vancouver, Washington, purchased a 2015 Ram 1500
12   EcoDiesel® (for the purpose of this paragraph, the “Class Vehicle”) on or about December 27,
13   2016 at Marketplace Motors in Devils Lake, North Dakota. Plaintiff decided to purchase the
14   Class Vehicle based in part on FCA’s representations that it was an “EcoDiesel” vehicle (i.e.,
15   reduced emissions and fuel efficient). These representations, along with the advertised fuel
16   economy and performance, were among the primary reasons Plaintiff chose the Class Vehicle. At
17   the time of purchase, Plaintiff did not know that the Class Vehicle could perform as advertised
18   only by emitting NOx at levels that are greater than advertised and above legal limits. Nor was
19   Plaintiff aware that his Class Vehicle was equipped with undisclosed and unauthorized emission
20   control devices designed to cheat emission tests and to deceive consumers and regulators.
21   Plaintiff would not have purchased the Class Vehicle, or would have paid less for it, had he
22   known that it did not comply with emission standards; that its emission treatment system was
23   designed to de-activate during real-world driving conditions; and that it could not achieve the
24   advertised towing power, performance, and/or fuel economy without cheating emission tests.
25   Plaintiff has suffered a concrete injury as a direct and proximate result of Defendants’
26   misconduct, and would not have purchased the Class Vehicle, or would have paid less for it, had
27   Defendants not concealed the unauthorized emission control devices.
28

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 1               72.   Plaintiff Christopher Mattingly (for the purpose of this paragraph, “Plaintiff”), a
 2   citizen of Nevada, residing in Las Vegas, Nevada, bought a 2016 Ram 1500 EcoDiesel® (for the
 3   purpose of this paragraph, the “Class Vehicle”) on or about November 7, 2016 at Chapman Las
 4   Vegas Dodge Chrysler Jeep Ram, an authorized FCA dealer in Las Vegas, Nevada. Plaintiff
 5   decided to buy the Class Vehicle based in part on FCA’s representations that it was an
 6   “EcoDiesel” vehicle (i.e., reduced emissions and fuel efficient). Plaintiff saw representations on
 7   Ram’s website in which the Class Vehicles were represented to have good fuel economy and
 8   towing power. Plaintiff also saw representations about his Class Vehicle on television. When
 9   Plaintiff went to Chapman Las Vegas Dodge Chrysler Jeep Ram to purchase the Class Vehicle,
10   the sales representative touted the Class Vehicle’s EcoDiesel® attributes when comparing it to
11   the 2016 Ram 1500 Hemi. The sales representative told Plaintiff that the EcoDiesel® had almost
12   as much power as the Hemi, but that it was a “cleaner” vehicle because of its low emissions. The
13   sales representative also told Plaintiff that the Class Vehicle had better fuel economy than the
14   Hemi. These representations, along with the advertised fuel economy, towing power, and
15   performance were among the primary reasons Plaintiff chose the Class Vehicle. At the time of
16   purchase, Plaintiff did not know that the Class Vehicle could perform as advertised only by
17   emitting NOx at levels that are greater than advertised and above legal limits. Nor was Plaintiff
18   aware that his Class Vehicle was equipped with undisclosed and unauthorized emission control
19   devices designed to cheat emission tests and to deceive consumers and regulators. Plaintiff would
20   not have purchased the Class Vehicle, or would have paid less for it, had he known that it did not
21   comply with emission standards; that its emission treatment system was designed to de-activate
22   during real-world driving conditions; and that it could not achieve the advertised towing power,
23   performance, and/or fuel economy without cheating emission tests. Plaintiff has suffered a
24   concrete injury as a direct and proximate result of Defendants’ misconduct, and would not have
25   purchased the Class Vehicle, or would have paid less for it, had Defendants not concealed the
26   unauthorized emission control devices.
27               73.   Plaintiff Thomas McGann, Jr. (for the purpose of this paragraph, “Plaintiff”), a
28   citizen of New York, residing in North Tonawanda, New York, bought a 2016 Ram 1500

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 1   EcoDiesel® (for the purpose of this paragraph, the “Class Vehicle”) on or about September 24,
 2   2016 at Lessord Dodge, an authorized FCA dealer in Sodus, New York. Plaintiff decided to buy
 3   the Class Vehicle based in part on FCA’s representations that it was an “EcoDiesel” vehicle (i.e.,
 4   reduced emissions and fuel efficient). Plaintiff visited the Ram website, on which the Class
 5   Vehicle was represented to be fuel efficient and high performing. When Plaintiff went to Lessord
 6   Dodge to purchase the Class Vehicle, he discussed the “great” fuel economy and towing
 7   capability of the EcoDiesel® with a salesman at the dealership. Plaintiff and the sales associate
 8   also talked about the basics of the emissions system, including the use of DEF. These
 9   representations, along with the advertised fuel economy, towing power, and performance were
10   among the primary reasons Plaintiff chose the Class Vehicle. At the time of purchase, Plaintiff
11   did not know that the Class Vehicle could perform as advertised only by emitting NOx at levels
12   that are greater than advertised and above legal limits. Nor was Plaintiff aware that his Class
13   Vehicle was equipped with undisclosed and unauthorized emission control devices designed to
14   cheat emission tests and to deceive consumers and regulators. Plaintiff would not have purchased
15   the Class Vehicle, or would have paid less for it, had he known that it did not comply with
16   emission standards; that its emission treatment system was designed to de-activate during real-
17   world driving conditions; and that it could not achieve the advertised towing power, performance,
18   and/or fuel economy without cheating emission tests. Plaintiff has suffered a concrete injury as a
19   direct and proximate result of Defendants’ misconduct, and would not have purchased the Class
20   Vehicle, or would have paid less for it, had Defendants not concealed the unauthorized emission
21   control devices.
22               74.   Plaintiff Ernest Melin, Jr. (for the purpose of this paragraph, “Plaintiff”), a
23   citizen of South Carolina, residing in Mount Pleasant, South Carolina, bought a 2016 Ram 1500
24   EcoDiesel® (for the purpose of this paragraph, the “Class Vehicle”) on or about February 3, 2016
25   at Rick Hendrick Dodge Chrysler Jeep, an authorized FCA dealer in Charleston, South Carolina.
26   Plaintiff decided to buy the Class Vehicle based in part on FCA’s representations that it was an
27   “EcoDiesel” vehicle (i.e., reduced emissions and fuel efficient). Plaintiff recalls viewing a
28   television commercial on or about January 2016 touting the performance, fuel economy and

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 1   environmental friendliness of the one half ton Ram 1500 with a diesel engine. Upon visiting Rick
 2   Hendrick Jeep Chrysler Dodge Ram and inquiring about the 3.0-liter EcoDiesel® engine, a sales
 3   associate said it was Italian made and had been in service for “10 or so years” and was purchased
 4   by Chrysler to put into the Ram 1500 pickup and a Jeep Cherokee. Furthermore, the sales
 5   associate confirmed the towing capacity Plaintiff had seen in the advertisement, and stated that
 6   this diesel engine was “proven in Europe,” had good fuel economy and was “environmentally
 7   friendly” with “low emissions.” These representations, along with the advertised fuel economy,
 8   towing power, and/or performance were among the primary reasons Plaintiff chose the Class
 9   Vehicle. At the time of purchase, Plaintiff did not know that the Class Vehicle could perform as
10   advertised only by emitting NOx at levels that are greater than advertised and above legal limits.
11   Nor was Plaintiff aware that his Class Vehicle was equipped with undisclosed and unauthorized
12   emission control devices designed to cheat emission tests and to deceive consumers and
13   regulators. Plaintiff would not have purchased the Class Vehicle, or would have paid less for it,
14   had he known that it did not comply with emission standards; that its emission treatment system
15   was designed to de-activate during real-world driving conditions; and that it could not achieve the
16   advertised towing power, performance, and/or fuel economy without cheating emission tests.
17   Plaintiff has suffered a concrete injury as a direct and proximate result of Defendants’
18   misconduct, and would not have purchased the Class Vehicle, or would have paid less for it, had
19   Defendants not concealed the unauthorized emission control devices.
20               75.   Plaintiff George Milner (for the purpose of this paragraph, “Plaintiff”), a citizen
21   of New York, residing in Mechanicville, New York, purchased a 2014 Ram 1500 EcoDiesel®
22   (for the purpose of this paragraph, the “Class Vehicle”) on or about October 6, 2014 at Zappone
23   Chrysler Jeep Dodge Ram, an authorized FCA dealer in Clifton Park, New York. Plaintiff
24   decided to purchase the Class Vehicle based in part on FCA’s representations that it was an
25   “EcoDiesel” vehicle (i.e., reduced emissions and fuel efficient). In 2014 Plaintiff purchased a
26   travel trailer that his mid-size Nissan Pioneer truck was not capable of pulling. After looking at
27   the Ford, Chevrolet, and Ram websites, Plaintiff decided that the Ram 1500 EcoDiesel® was the
28   best choice based on the information presented on the website, because: (1) it had the torque and

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 1   towing capacity to easily handle the trailer that Plaintiff had purchased; (2) it claimed an
 2   impressive 27 mpg, a fuel efficiency better than most sedans; (3) it touted a suspension design
 3   that would provide more ride comfort than the leafspring systems in use on other trucks; and (4) it
 4   was powered by an EcoDiesel®. When Plaintiff went to the Zappone Chrysler Jeep Dodge Ram
 5   dealership in Clifton Park to purchase the Class Vehicle, the sales person stated that Plaintiff was
 6   making a great choice by buying a truck equipped with an EcoDiesel®, telling him that the Class
 7   Vehicle would get high mileage and easily pull Plaintiff’s trailer. During price negotiations for
 8   the Class Vehicle, the sales person stressed that there was a high demand for these vehicles
 9   because they were powered by a quiet, smooth running, clean-burning, highly efficient engine.
10   These representations, along with the advertised fuel economy and performance, were among the
11   primary reasons Plaintiff chose the Class Vehicle. At the time of purchase, Plaintiff did not know
12   that the Class Vehicle could perform as advertised only by emitting NOx at levels that are greater
13   than advertised and above legal limits. Nor was Plaintiff aware that his Class Vehicle was
14   equipped with undisclosed and unauthorized emission control devices designed to cheat emission
15   tests and to deceive consumers and regulators. Plaintiff would not have purchased the Class
16   Vehicle, or would have paid less for it, had he known that it did not comply with emission
17   standards; that its emission treatment system was designed to de-activate during real-world
18   driving conditions; and that it could not achieve the advertised towing power, performance,
19   and/or fuel economy without cheating emission tests. Plaintiff has suffered a concrete injury as a
20   direct and proximate result of Defendants’ misconduct, and would not have purchased the Class
21   Vehicle, or would have paid less for it, had Defendants not concealed the unauthorized emission
22   control devices.
23               76.   Plaintiff Ryan Montgomery (for the purpose of this paragraph, “Plaintiff”), a
24   citizen of Colorado, residing in Durango, Colorado, purchased a 2014 Ram 1500 EcoDiesel® (for
25   the purpose of this paragraph, the “Class Vehicle”) on or about August 22, 2014 at Morehart
26   Murphy Regional Auto Center, an authorized FCA dealer in Durango, Colorado. Plaintiff
27   decided to buy the Class Vehicle based in part on FCA’s representations that it was an
28   “EcoDiesel” vehicle (i.e., reduced emissions and fuel efficient). Plaintiff saw television

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 1   commercials for the EcoDiesel in which the Class Vehicles were represented to be fuel efficient
 2   and eco-friendly. Plaintiff also researched the Class Vehicle by visiting the Ram website. The
 3   Ram website represented the Class Vehicles to be a fuel efficient and eco-friendly. When Plaintiff
 4   went to Morehart Murphy Regional Auto Center to purchase the Class Vehicle, the salesperson
 5   confirmed Plaintiff’s understanding that the Vehicle would be fuel efficient and eco-friendly.
 6   These representations, along with the advertised fuel economy and low emissions were among the
 7   primary reasons Plaintiff chose the Class Vehicle. At the time of purchase, Plaintiff did not know
 8   that the Class Vehicle could perform as advertised only by emitting NOx at levels that are greater
 9   than advertised and above legal limits. Nor was Plaintiff aware that his Class Vehicle was
10   equipped with undisclosed and unauthorized emission control devices designed to cheat emission
11   tests and to deceive consumers and regulators. Plaintiff would not have purchased the Class
12   Vehicle, or would have paid less for it, had he known that it did not comply with emission
13   standards; that its emission treatment system was designed to de-activate during real-world
14   driving conditions; and that it could not achieve the advertised towing power, performance,
15   and/or fuel economy without cheating emission tests. Plaintiff has suffered a concrete injury as a
16   direct and proximate result of Defendants’ misconduct, and would not have purchased the Class
17   Vehicle, or would have paid less for it, had Defendants not concealed the unauthorized emission
18   control devices.
19               77.   Plaintiff Bryan Thomas Muckenfuss (for the purpose of this paragraph,
20   “Plaintiff”), a citizen of South Carolina, residing in Ravenel, South Carolina, bought a 2015 Ram
21   1500 EcoDiesel® (for the purpose of this paragraph, the “Class Vehicle”) on or about November
22   5, 2015 at Rick Hendrick Dodge Chrysler Jeep Ram, an authorized FCA dealer in Charleston,
23   South Carolina. Plaintiff decided to buy the Class Vehicle based in part on FCA’s representations
24   that it was an “EcoDiesel” vehicle (i.e., reduced emissions and fuel efficient). Plaintiff conducted
25   online research on the fuel economy and torque of the EcoDiesel engine prior to purchasing his
26   Class Vehicle. Upon visiting Rick Hendrick Jeep Chrysler Dodge Ram, he discussed the overall
27   efficiency of the Class vehicle with the sales associate, and recalls seeing a Ram brochure at the
28   dealership that mentioned the EcoDiesel® engine. These representations, along with the

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 1   advertised fuel economy, towing power, and/or performance were among the primary reasons
 2   Plaintiff chose the Class Vehicle. At the time of purchase, Plaintiff did not know that the Class
 3   Vehicle could perform as advertised only by emitting NOx at levels that are greater than
 4   advertised and above legal limits. Nor was Plaintiff aware that his Class Vehicle was equipped
 5   with undisclosed and unauthorized emission control devices designed to cheat emission tests and
 6   to deceive consumers and regulators. Plaintiff would not have purchased the Class Vehicle, or
 7   would have paid less for it, had he known that it did not comply with emission standards; that its
 8   emission treatment system was designed to de-activate during real-world driving conditions; and
 9   that it could not achieve the advertised towing power, performance, and/or fuel economy without
10   cheating emission tests. Plaintiff has suffered a concrete injury as a direct and proximate result of
11   Defendants’ misconduct, and would not have purchased the Class Vehicle, or would have paid
12   less for it, had Defendants not concealed the unauthorized emission control devices.
13               78.   Plaintiff Michael K. Norton (for the purpose of this paragraph, “Plaintiff”), a
14   citizen of New Jersey, residing in Riverdale, New Jersey, bought a 2014 Jeep Grand Cherokee
15   EcoDiesel® (for the purpose of this paragraph, the “Class Vehicle”) on or about July 30, 2014 at
16   Precision Jeep, an authorized FCA dealer in Butler, New Jersey. Plaintiff decided to buy the Class
17   Vehicle based in part on FCA’s representations that it was an “EcoDiesel” vehicle (i.e., reduced
18   emissions and fuel efficient). Plaintiff saw representations on Jeep’s website and reviewed
19   window stickers for the EcoDiesel Jeep, noting that it was represented to be friendly for the
20   environment, had good gas mileage, and offered good towing performance. When Plaintiff went
21   to Precision Jeep to purchase the Class Vehicle, he also reviewed brochures and discussed with a
22   sales associate the advertised best-in-class fuel economy, range, torque, towing, and the “new,
23   clean, 3.0 EcoDiesel.” These representations, along with the advertised fuel economy and low
24   emissions were among the primary reasons Plaintiff chose the Class Vehicle. At the time of
25   purchase, Plaintiff did not know that the Class Vehicle could perform as advertised only by
26   emitting NOx at levels that are greater than advertised and above legal limits. Nor was Plaintiff
27   aware that his Class Vehicle was equipped with undisclosed and unauthorized emission control
28   devices designed to cheat emission tests and to deceive consumers and regulators. Plaintiff would

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 1   not have purchased the Class Vehicle, or would have paid less for it, had he known that it did not
 2   comply with emission standards; that its emission treatment system was designed to de-activate
 3   during real-world driving conditions; and that it could not achieve the advertised towing power,
 4   performance, and/or fuel economy without cheating emission tests. Plaintiff sold the Class
 5   Vehicle in or about May 2017, after the defeat device allegations became public, to Precision
 6   Chrysler Jeep Dodge Ram in Butler, New Jersey. Plaintiff has suffered a concrete injury as a
 7   direct and proximate result of Defendants’ misconduct, and would not have purchased the Class
 8   Vehicle, or would have paid less for it, and/or would have been able to sell it for more, had
 9   Defendants not concealed the unauthorized emission control devices.
10               79.   Plaintiff Kirk Petersen (for the purpose of this paragraph, “Plaintiff”), a citizen of
11   Iowa, residing in Muscatine, Iowa, bought a 2015 Ram 1500 EcoDiesel® (for the purpose of this
12   paragraph, the “Class Vehicle”) on or about August 28, 2015 at Deery Brothers Chrysler Dodge
13   Jeep Ram, an authorized FCA dealer in Iowa City, Iowa. Plaintiff decided to buy the Class
14   Vehicle based in part on FCA’s representations that it was an “EcoDiesel” vehicle (i.e., reduced
15   emissions and fuel efficient). Plaintiff saw television commercials and online advertisements in
16   which the Class Vehicles were represented to be fuel efficient and emissions compliant. When
17   plaintiff went to Deery Brothers Chrysler Dodge Jeep Ram to purchase the Class Vehicle, the
18   salesperson and vehicle brochure confirmed Plaintiff’s understanding of the Class Vehicle’s
19   features and fuel efficiency. These representations, advertised fuel economy, towing power, and
20   performance, were among the primary reasons Plaintiff chose the Class Vehicle. At the time of
21   purchase, Plaintiff did not know that the Class Vehicle could perform as advertised only by
22   emitting NOx at levels that are greater than advertised and above legal limits. Nor was Plaintiff
23   aware that his Class Vehicle was equipped with undisclosed and unauthorized emission control
24   devices designed to cheat emission tests and to deceive consumers and regulators. Plaintiff would
25   not have purchased the Class Vehicle, or would have paid less for it, had he known that it did not
26   comply with emission standards; that its emission treatment system was designed to de-activate
27   during real-world driving conditions; and that it could not achieve the advertised towing power,
28   performance, and/or fuel economy without cheating emission tests. Plaintiff has suffered a

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 1   concrete injury as a direct and proximate result of Defendants’ misconduct, and would not have
 2   purchased the Class Vehicle, or would have paid less for it, had Defendants not concealed the
 3   unauthorized emission control devices.
 4               80.   Plaintiff Melvin Phillips (for the purpose of this paragraph, “Plaintiff”), a citizen
 5   of Missouri, residing in Aurora, Missouri, bought a 2015 Ram 1500 EcoDiesel® (for the purpose
 6   of this paragraph, the “Class Vehicle”) on or about October 23, 2015, at Ramsey Motor
 7   Company, an authorized FCA dealer in Harrison, Arkansas. Plaintiff decided to buy the Class
 8   Vehicle based in part on FCA’s representations that it was an “EcoDiesel” vehicle (i.e., reduced
 9   emissions and fuel efficient). Plaintiff conducted extensive internet research, including viewing
10   Ram advertisements and user blogs prior to purchasing the Class Vehicle. He also saw television
11   commercials and other advertisements in which the Class Vehicles were represented to be
12   environmentally friendly, with low emissions and good gas mileage. When Plaintiff went to
13   Ramsey Motor Company to purchase the Class Vehicle, the salesperson represented the Class
14   Vehicle as “eco-friendly” and as having great towing power. These representations, along with
15   the advertised fuel economy, towing power, and performance were among the primary reasons
16   Plaintiff chose the Class Vehicle. At the time of purchase, Plaintiff did not know that the Class
17   Vehicle could perform as advertised only by emitting NOx at levels that are greater than
18   advertised and above legal limits. Nor was Plaintiff aware that his Class Vehicle was equipped
19   with undisclosed and unauthorized emission control devices designed to cheat emission tests and
20   to deceive consumers and regulators. Plaintiff would not have purchased the Class Vehicle, or
21   would have paid less for it, had he known that it did not comply with emission standards; that its
22   emission treatment system was designed to de-activate during real-world driving conditions; and
23   that it could not achieve the advertised towing power, performance, and/or fuel economy without
24   cheating emission tests. Plaintiff has suffered a concrete injury as a direct and proximate result of
25   Defendants’ misconduct, and would not have purchased the Class Vehicle, or would have paid
26   less for it, had Defendants not concealed the unauthorized emission control devices.
27               81.   Plaintiff Samuel Price (for the purpose of this paragraph, “Plaintiff”), a citizen of
28   Louisiana, residing in Fort Polk City, Louisiana purchased a 2014 Ram 1500 EcoDiesel® (for the

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 1   purpose of this paragraph, the “Class Vehicle”) on or about July 30, 2014 at Crown Dodge, an
 2   authorized FCA dealer in Fayetteville, North Carolina. Prior to purchasing the Class Vehicle,
 3   Plaintiff researched the Class Vehicle by reviewing online and print materials, and speaking with
 4   a salesperson at the dealership. Plaintiff decided to purchase the Class Vehicle based on his
 5   research and the representations from the dealership, which led Plaintiff to believe that the Class
 6   Vehicle had good towing capacity, high gas mileage, and had lower emissions than the black
 7   smoke of early diesel models. These representations, along with the advertised fuel economy and
 8   performance, were among the primary reasons Plaintiff chose the Class Vehicle. At the time of
 9   purchase, Plaintiff did not know that the Class Vehicle could perform as advertised only by
10   emitting NOx at levels that are greater than advertised and above legal limits. Nor was Plaintiff
11   aware that his Class Vehicle was equipped with undisclosed and unauthorized emission control
12   devices designed to cheat emission tests and to deceive consumers and regulators. Plaintiff would
13   not have purchased the Class Vehicle, or would have paid less for it, had he known that it did not
14   comply with emission standards; that its emission treatment system was designed to de-activate
15   during real-world driving conditions; and that it could not achieve the advertised towing power,
16   performance, and/or fuel economy without cheating emission tests. Plaintiff has suffered a
17   concrete injury as a direct and proximate result of Defendants’ misconduct, and would not have
18   purchased the Class Vehicle, or would have paid less for it, had Defendants not concealed the
19   unauthorized emission control devices.
20               82.   Plaintiff John James Radziewicz (for the purpose of this paragraph, “Plaintiff”), a
21   citizen of Louisiana, residing in New Orleans, Louisiana, bought a 2014 Jeep Grand Cherokee
22   EcoDiesel® (for the purpose of this paragraph, the “Class Vehicle”) on or about June 24, 2015 at
23   Banner Chevrolet, an authorized FCA dealer in New Orleans, Louisiana. Plaintiff decided to buy
24   the Class Vehicle based in part on FCA’s representations that it was an “EcoDiesel” vehicle (i.e.,
25   reduced emissions and fuel efficient). Plaintiff watched “The Fast Lane” Truck Review videos on
26   YouTube, conducted extensive Internet research on the fuel economy of the EcoDiesel engine,
27   and visited the Jeep website and various general discussion forums online prior to purchasing his
28   Class Vehicle. Plaintiff specifically recalls seeing a very persuasive, interactive webpage on the

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 1   Jeep website that showed a circle with a roughly 750-mile radius that one could move around the
 2   country in order to see how far he could travel in a straight line on one tank of gas. Plaintiff was
 3   also influenced by other advertisements available on the Jeep website, particularly those dealing
 4   with fuel efficiency. These representations, along with the advertised fuel economy, towing
 5   power, and/or performance were among the primary reasons Plaintiff chose the Class Vehicle. At
 6   the time of purchase, Plaintiff did not know that the Class Vehicle could perform as advertised
 7   only by emitting NOx at levels that are greater than advertised and above legal limits. Nor was
 8   Plaintiff aware that his Class Vehicle was equipped with undisclosed and unauthorized emission
 9   control devices designed to cheat emission tests and to deceive consumers and regulators.
10   Plaintiff would not have purchased the Class Vehicle, or would have paid less for it, had he
11   known that it did not comply with emission standards; that its emission treatment system was
12   designed to de-activate during real-world driving conditions; and that it could not achieve the
13   advertised towing power, performance, and/or fuel economy without cheating emission tests.
14   Plaintiff has suffered a concrete injury as a direct and proximate result of Defendants’
15   misconduct, and would not have purchased the Class Vehicle, or would have paid less for it, had
16   Defendants not concealed the unauthorized emission control devices.
17               83.   Plaintiff Bobby Gene Reichert (for the purpose of this paragraph, “Plaintiff”), a
18   citizen of Florida, residing in Boca Raton, Florida, bought a 2016 Ram 1500 EcoDiesel® (for the
19   purpose of this paragraph, the “Class Vehicle”) on or about December 12, 2015 at Arrigo Dodge
20   Chrysler Jeep Sawgrass, an authorized FCA dealer in Tamarac, Florida. Plaintiff decided to buy
21   the Class Vehicle based in part on FCA’s representations that it was an “EcoDiesel” vehicle (i.e.,
22   reduced emissions and fuel efficient). Plaintiff saw television commercials, read a print
23   advertisement in a diesel truck magazine, and reviewed Ram’s website in which the Class Vehicle
24   was represented to have low emissions, good fuel economy, and a proven engine with great
25   towing capacity. When Plaintiff went to Arrigo Dodge Chrysler Jeep Sawgrass to purchase the
26   Class Vehicle, the sales associate and sales manager touted the Class Vehicle’s EcoDiesel®
27   attributes, including its low emissions, fuel economy, and towing capacity, and Plaintiff reviewed
28   the brochure for the Class Vehicle that touted those same attributes. These representations, along

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 1   with the advertised towing power, were among the primary reasons Plaintiff chose the Class
 2   Vehicle. At the time of purchase, Plaintiff did not know that the Class Vehicle could perform as
 3   advertised only by emitting NOx at levels that are greater than advertised and above legal limits.
 4   Nor was Plaintiff aware that his Class Vehicle was equipped with undisclosed and unauthorized
 5   emission control devices designed to cheat emission tests and to deceive consumers and
 6   regulators. Plaintiff would not have purchased the Class Vehicle, or would have paid less for it,
 7   had he known that it did not comply with emission standards; that its emission treatment system
 8   was designed to de-activate during real-world driving conditions; and that it could not achieve the
 9   advertised towing power, performance, and/or fuel economy without cheating emission tests.
10   Plaintiff has suffered a concrete injury as a direct and proximate result of Defendants’
11   misconduct, and would not have purchased the Class Vehicle, or would have paid less for it, had
12   Defendants not concealed the unauthorized emission control devices.
13               84.   Plaintiff Mark Richards (for the purpose of this paragraph, “Plaintiff”), a citizen
14   of Indiana, residing in Franklin, Indiana, bought a 2016 Ram 1500 EcoDiesel® (for the purpose
15   of this paragraph, the “Class Vehicle”) on or about March 5, 2016 at Champion Chrysler Jeep
16   Dodge Ram, an authorized FCA dealer in Indianapolis, Indiana. Plaintiff decided to buy the
17   Class Vehicle based in part on FCA’s representations that it was an “EcoDiesel” vehicle (i.e.,
18   reduced emissions and fuel efficient). Plaintiff saw representations on Ram’s website in which
19   the Class Vehicles were represented to have good fuel economy and dependable diesel engines.
20   When Plaintiff went to Champion Chrysler Jeep Dodge Ram to purchase the Class Vehicle, the
21   sales associate touted the Class Vehicle’s EcoDiesel® attributes, including its low emissions and
22   fuel economy. These representations, along with the advertised fuel economy, were among the
23   primary reasons Plaintiff chose the Class Vehicle. At the time of purchase, Plaintiff did not know
24   that the Class Vehicle could perform as advertised only by emitting NOx at levels that are greater
25   than advertised and above legal limits. Nor was Plaintiff aware that his Class Vehicle was
26   equipped with undisclosed and unauthorized emission control devices designed to cheat emission
27   tests and to deceive consumers and regulators. Plaintiff would not have purchased the Class
28   Vehicle, or would have paid less for it, had he known that it did not comply with emission

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 1   standards; that its emission treatment system was designed to de-activate during real-world
 2   driving conditions; and that it could not achieve the advertised towing power, performance,
 3   and/or fuel economy without cheating emission tests. Plaintiff has suffered a concrete injury as a
 4   direct and proximate result of Defendants’ misconduct, and would not have purchased the Class
 5   Vehicle, or would have paid less for it, had Defendants not concealed the unauthorized emission
 6   control devices.
 7               85.   Plaintiff Jon Roberts (for the purpose of this paragraph, “Plaintiff”) a citizen of
 8   Ohio, residing in Amherst, Ohio, bought a 2014 Ram 1500 EcoDiesel® (for the purpose of this
 9   paragraph, the “Class Vehicle”) in or about June 2014 at Sliman’s Sales & Services, an
10   authorized FCA dealer in Amherst, Ohio. Plaintiff decided to buy the Class Vehicle based in part
11   on FCA’s representations that it was an “EcoDiesel” vehicle (i.e., reduced emissions and fuel
12   efficient). Plaintiff saw television commercials and other advertisements in which the Class
13   Vehicles were represented to have good fuel economy. When Plaintiff went to Sliman’s Sales &
14   Services to purchase the Class Vehicle, the salesperson confirmed Plaintiff’s understanding of the
15   Class Vehicle’s fuel economy. These representations regarding fuel economy, along with the
16   represented low emissions, were among the primary reasons Plaintiff chose the Class Vehicle. At
17   the time of purchase, Plaintiff did not know that the Class Vehicle could perform as advertised
18   only by emitting NOx at levels that are greater than advertised and above legal limits. Nor was
19   Plaintiff aware that his Class Vehicle was equipped with undisclosed and unauthorized emission
20   control devices designed to cheat emission tests and to deceive consumers and regulators.
21   Plaintiff would not have purchased the Class Vehicle, or would have paid less for it, had he
22   known that it did not comply with emission standards; that its emission treatment system was
23   designed to de-activate during real-world driving conditions; and that it could not achieve the
24   advertised towing power, performance, and/or fuel economy without cheating emission tests.
25   Plaintiff has suffered a concrete injury as a direct and proximate result of Defendants’
26   misconduct, and would not have purchased the Class Vehicle, or would have paid less for it, had
27   Defendants not concealed the unauthorized emission control devices.
28

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 1               86.   Plaintiff Kelly Ruiz (for the purpose of this paragraph, “Plaintiff”), a citizen of
 2   Wyoming residing in Cheyenne, Wyoming, bought a 2014 Jeep Grand Cherokee EcoDiesel® (for
 3   the purpose of this paragraph, the “Class Vehicle”) on or about April 19, 2014 at Cowboy Dodge
 4   in Cheyenne, Wyoming. Plaintiff decided to buy the Class Vehicle based in part on FCA’s
 5   representations that it was an “EcoDiesel” vehicle (i.e., reduced emissions and fuel efficient).
 6   When Plaintiff went to Cowboy Dodge to purchase the Class Vehicle, the sales associate touted
 7   the Class Vehicle’s EcoDiesel® attributes. When Plaintiff went to Cowboy Dodge to purchase a
 8   vehicle, she expressed concern about gas mileage. The sales associate then suggested the Plaintiff
 9   consider the EcoDiesel® because of its fuel economy, touting the Class Vehicle’s EcoDiesel®
10   attributes. After Plaintiff noted the higher price of the diesel over the gas model, the sales
11   associate assured her the diesel would run more efficiently and more economically and would
12   thus pay for itself, in addition to being cleaner for the environment. These representations, along
13   with the advertised fuel economy and performance were among the primary reasons Plaintiff
14   chose the Class Vehicle. At the time of purchase, Plaintiff did not know that the Class Vehicle
15   could perform as advertised only by emitting NOx at levels that are greater than advertised and
16   above legal limits. Nor was Plaintiff aware that his Class Vehicle was equipped with undisclosed
17   and unauthorized emission control devices designed to cheat emission tests and to deceive
18   consumers and regulators. Plaintiff would not have purchased the Class Vehicle, or would have
19   paid less for it, had he known that it did not comply with emission standards; that its emission
20   treatment system was designed to de-activate during real-world driving conditions; and that it
21   could not achieve the advertised towing power, performance, and/or fuel economy without
22   cheating emission tests. Plaintiff has suffered a concrete injury as a direct and proximate result of
23   Defendants’ misconduct, and would not have purchased the Class Vehicle, or would have paid
24   less for it, had Defendants not concealed the unauthorized emission control devices.
25               87.   Plaintiff Jesse Sandifer (for the purpose of this paragraph, “Plaintiff”), a citizen of
26   Washington, residing in Olalla, Washington, purchased a 2016 Ram 1500 EcoDiesel® (for the
27   purpose of this paragraph, the “Class Vehicle”) on or about September 24, 2016 at West Hills
28   Chrysler Jeep Dodge, an authorized FCA dealer in Bremerton, Washington. Plaintiff decided to

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 1   purchase the Class Vehicle based in part on FCA’s representations that it was an “EcoDiesel”
 2   vehicle (i.e., reduced emissions and fuel efficient). Prior to purchasing the Class Vehicle,
 3   Plaintiff read an article published in a magazine explaining why Chrysler Dodge opted to use the
 4   EcoDiesel® that is currently used in the Ram 1500 EcoDiesel® instead of a Cummins® diesel
 5   motor. The article stated that Chrysler Dodge was looking for a diesel engine that was
 6   ecofriendly and was able to obtain 28 mpg or better. Plaintiff does not recall the title of the
 7   article or the publication in which the article was published. After reading the article, Plaintiff
 8   went to West Hills Chrysler Jeep Dodge, in Bremerton, Washington, to test drive the Class
 9   Vehicle. Prior to purchasing the Class Vehicle, Plaintiff also researched and read other articles
10   pertaining to Class Vehicle published on the web. These representations, along with the
11   advertised fuel economy and performance, were among the primary reasons Plaintiff chose the
12   Class Vehicle. At the time of purchase, Plaintiff did not know that the Class Vehicle could
13   perform as advertised only by emitting NOx at levels that are greater than advertised and above
14   legal limits. Nor was Plaintiff aware that his Class Vehicle was equipped with undisclosed and
15   unauthorized emission control devices designed to cheat emission tests and to deceive consumers
16   and regulators. Plaintiff would not have purchased the Class Vehicle, or would have paid less for
17   it, had he known that it did not comply with emission standards; that its emission treatment
18   system was designed to de-activate during real-world driving conditions; and that it could not
19   achieve the advertised towing power, performance, and/or fuel economy without cheating
20   emission tests. Plaintiff has suffered a concrete injury as a direct and proximate result of
21   Defendants’ misconduct, and would not have purchased the Class Vehicle, or would have paid
22   less for it, had Defendants not concealed the unauthorized emission control devices.
23               88.   Plaintiff Miguel Silio (for the purpose of this paragraph, “Plaintiff”), a citizen of
24   Florida, residing in Auburndale, Florida, purchased a 2015 Jeep Grand Cherokee EcoDiesel® (for
25   the purpose of this paragraph, the “Class Vehicle”) on or about June 11, 2015 at Arrigo Dodge
26   Chrysler, an authorized FCA dealer in West Palm Beach, Florida. Plaintiff decided to purchase
27   the Class Vehicle based in part on FCA’s representations that it was an “EcoDiesel” vehicle (i.e.,
28   reduced emissions and fuel efficient). These representations, along with the advertised fuel

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 1   economy and performance, were among the primary reasons Plaintiff chose the Class Vehicle. At
 2   the time of purchase, Plaintiff did not know that the Class Vehicle could perform as advertised
 3   only by emitting NOx at levels that are greater than advertised and above legal limits. Nor was
 4   Plaintiff aware that his Class Vehicle was equipped with undisclosed and unauthorized emission
 5   control devices designed to cheat emission tests and to deceive consumers and regulators.
 6   Plaintiff would not have purchased the Class Vehicle, or would have paid less for it, had he
 7   known that it did not comply with emission standards; that its emission treatment system was
 8   designed to de-activate during real-world driving conditions; and that it could not achieve the
 9   advertised towing power, performance, and/or fuel economy without cheating emission tests.
10   Plaintiff has suffered a concrete injury as a direct and proximate result of Defendants’
11   misconduct, and would not have purchased the Class Vehicle, or would have paid less for it, had
12   Defendants not concealed the unauthorized emission control devices.
13               89.   Plaintiff Satyanam Singh (for the purpose of this paragraph, “Plaintiff”), a citizen
14   of California, residing in Sacramento, California, bought a 2016 Ram 1500 EcoDiesel® (for the
15   purpose of this paragraph, the “Class Vehicle”) on or about May 1, 2016 at Roseville Automall in
16   Roseville, California. Plaintiff decided to buy the Class Vehicle based in part on FCA’s
17   representations that it was an “EcoDiesel” vehicle (i.e., reduced emissions and fuel efficient).
18   Plaintiff saw commercials in which the Class Vehicles were represented as to have good fuel
19   economy and to be durable. Plaintiff also saw a representation on the Ram website in which the
20   Class Vehicles were represented to be environmentally friendly, have low emissions, to have
21   good fuel economy, and to be reliable. When Plaintiff went to the Roseville Automall to
22   purchase the Class Vehicle, the sales associate touted the Class Vehicle’s EcoDiesel® attributes,
23   including its environmental friendliness, fuel economy, towing power, and performance. These
24   representations were among the primary reasons Plaintiff chose the Class Vehicle. At the time of
25   purchase, Plaintiff did not know that the Class Vehicle could perform as advertised only by
26   emitting NOx at levels that are greater than advertised and above legal limits. Nor was Plaintiff
27   aware that his Class Vehicle was equipped with undisclosed and unauthorized emission control
28   devices designed to cheat emission tests and to deceive consumers and regulators. Plaintiff would

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 1   not have purchased the Class Vehicle, or would have paid less for it, had he known that it did not
 2   comply with emission standards; that its emission treatment system was designed to de-activate
 3   during real-world driving conditions; and that it could not achieve the advertised towing power,
 4   performance, and/or fuel economy without cheating emission tests. Plaintiff has suffered a
 5   concrete injury as a direct and proximate result of Defendants’ misconduct, and would not have
 6   purchased the Class Vehicle, or would have paid less for it, had Defendants not concealed the
 7   unauthorized emission control devices.
 8               90.   Plaintiff Nelson John Stephens (for the purpose of this paragraph, “Plaintiff”), a
 9   citizen of Georgia, residing in Fortson, Georgia bought a 2014 Ram 1500 EcoDiesel® (for the
10   purpose of this paragraph, the “Class Vehicle”) on or about June 21, 2014, at Opelika Chrysler,
11   Dodge, Jeep, an authorized FCA dealer in Opelika, Alabama. Plaintiff decided to buy the Class
12   Vehicle based in part on FCA’s representations that it was an “EcoDiesel” vehicle (i.e., reduced
13   emissions and fuel efficient). Plaintiff saw representations on Jeep’s website and print
14   advertisements that indicated the Class Vehicles were emissions compliant and had superior fuel
15   economy to gasoline vehicles. When Plaintiff went to Opelika Chrysler, Dodge, Jeep, the sales
16   manager explained that the Class Vehicles were cleaner than gas engines. Plaintiff was also told
17   that the Class Vehicles had good fuel economy. These representations were among the primary
18   reasons Plaintiff chose the Class Vehicle. At the time of purchase, Plaintiff did not know that the
19   Class Vehicle could perform as advertised only by emitting NOx at levels that are greater than
20   advertised and above legal limits. Nor was Plaintiff aware that his Class Vehicle was equipped
21   with undisclosed and unauthorized emission control devices designed to cheat emission tests and
22   to deceive consumers and regulators. Plaintiff would not have purchased the Class Vehicle, or
23   would have paid less for it, had he known that it did not comply with emission standards; that its
24   emission treatment system was designed to de-activate during real-world driving conditions; and
25   that it could not achieve the advertised towing power, performance, and/or fuel economy without
26   cheating emission tests. Plaintiff has suffered a concrete injury as a direct and proximate result of
27   Defendants’ misconduct, and would not have purchased the Class Vehicle, or would have paid
28   less for it, had Defendants not concealed the unauthorized emission control devices.

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 1               91.   Plaintiff Wayne Tonnesen (for the purpose of this paragraph, “Plaintiff”), a
 2   citizen of New Jersey, residing in Tuckerton, New Jersey, purchased a 2016 Ram 1500
 3   EcoDiesel® (for the purpose of this paragraph, the “Class Vehicle”) on or about November 29,
 4   2016 at Johnson Motors, an authorized FCA dealer in Columbia, Wisconsin. Plaintiff decided to
 5   purchase the Class Vehicle based in part on FCA’s representations that it was an “EcoDiesel”
 6   vehicle (i.e., reduced emissions and fuel efficient). Plaintiff read about the Ram 1500
 7   EcoDiesel® on the Ram website as well as in several automotive review sites in which the Class
 8   Vehicles were represented as environmentally friendly with great gas mileage. When Plaintiff
 9   went to Johnson Motors in Wisconsin to purchase the Class Vehicle, the sales person touted the
10   Class Vehicle’s EcoDiesel® attributes, including its fuel economy, towing power, and
11   performance, and the window sticker for the Class Vehicle that represented the EcoDiesel’s fuel
12   economy. These representations, along with the advertised fuel economy and performance, were
13   among the primary reasons Plaintiff chose the Class Vehicle. At the time of purchase, Plaintiff
14   did not know that the Class Vehicle could perform as advertised only by emitting NOx at levels
15   that are greater than advertised and above legal limits. Nor was Plaintiff aware that his Class
16   Vehicle was equipped with undisclosed and unauthorized emission control devices designed to
17   cheat emission tests and to deceive consumers and regulators. Plaintiff would not have purchased
18   the Class Vehicle, or would have paid less for it, had he known that it did not comply with
19   emission standards; that its emission treatment system was designed to de-activate during real-
20   world driving conditions; and that it could not achieve the advertised towing power, performance,
21   and/or fuel economy without cheating emission tests. Plaintiff has suffered a concrete injury as a
22   direct and proximate result of Defendants’ misconduct, and would not have purchased the Class
23   Vehicle, or would have paid less for it, had Defendants not concealed the unauthorized emission
24   control devices.
25               92.   Plaintiff William “Bill” Turner, III (for the purpose of this paragraph,
26   “Plaintiff”), a citizen of Georgia, residing in Columbus, Georgia, leased a 2014 Jeep Grand
27   Cherokee EcoDiesel® (for the purpose of this paragraph, the “Class Vehicle”) on or about July
28   22, 2014, at Newnan Peachtree Chrysler, an authorized FCA dealer in Newnan, Georgia. Plaintiff

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 1   decided to lease the Class Vehicle based in part on FCA’s representations that it was an
 2   “EcoDiesel” vehicle (i.e., reduced emissions and fuel efficient). Plaintiff saw information on an
 3   online blog in which the Class Vehicles were represented to be environmentally friendly, have
 4   low emissions, and have good fuel economy. These attributes were confirmed by the sales
 5   associate when Plaintiff went to lease the Class Vehicle at Newnan Peachtree Chrysler. These
 6   representations, along with the low emissions and environmental friendliness, were among the
 7   primary reasons Plaintiff chose the Class Vehicle. These representations, along with the
 8   advertised fuel economy, environmental cleanliness and the longevity of a diesel, were among the
 9   primary reasons Plaintiff chose the Class Vehicle. At the time of lease, Plaintiff did not know
10   that the Class Vehicle could perform as advertised only by emitting NOx at levels that are greater
11   than advertised and above legal limits. Nor was Plaintiff aware that his Class Vehicle was
12   equipped with undisclosed and unauthorized emission control devices designed to cheat emission
13   tests and to deceive consumers and regulators. Plaintiff would not have leased the Class Vehicle,
14   or would have paid less for it, had he known that it did not comply with emission standards; that
15   its emission treatment system was designed to de-activate during real-world driving conditions;
16   and that it could not achieve the advertised towing power, performance, and/or fuel economy
17   without cheating emission tests. Plaintiff has suffered a concrete injury as a direct and proximate
18   result of Defendants’ misconduct, and would not have leased the Class Vehicle, or would have
19   paid less for it, had Defendants not concealed the unauthorized emission control devices.
20               93.   Plaintiff WEB Farms, Inc. (for the purpose of this paragraph, “Plaintiff”) is a
21   citizen of New Mexico, with its principal place of business in Melrose, New Mexico. WEB
22   Farms, Inc. is owned by Wendell Bostwick, a citizen of Texas, residing in Lubbock, Texas.
23   Plaintiff bought a 2014 Ram 1500 EcoDiesel® (for the purpose of this paragraph, the “Class
24   Vehicle”) on or about October 6, 2014 at Texas Dodge, an authorized FCA dealer in Amarillo,
25   Texas. Plaintiff decided to buy the Class Vehicle based in part on FCA’s representations that it
26   was an “EcoDiesel” vehicle (i.e., reduced emissions and fuel efficient). Plaintiff saw television
27   commercials in which the Class Vehicles were represented as the best towing pickup with a
28   10,000-pound payload, which was sufficient power for what Plaintiff needed. Plaintiff later

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 1   visited Bender Chrysler Dodge Jeep Ram in Clovis, NM to pick up a brochure for more
 2   information. This brochure represented the Class Vehicle as achieving approximately 27 MPG.
 3   Mr. Bostwick also saw information on the Ram website that represented the Class Vehicle as
 4   achieving approximately 27 MPG, being good for towing, and providing reasonable torque.
 5   These representations, along with the advertised fuel economy and low emissions were among the
 6   primary reasons Plaintiff chose the Class Vehicle. At the time of purchase, Plaintiff did not know
 7   that the Class Vehicle could perform as advertised only by emitting NOx at levels that are greater
 8   than advertised and above legal limits. Nor was Plaintiff aware that his Class Vehicle was
 9   equipped with undisclosed and unauthorized emission control devices designed to cheat emission
10   tests and to deceive consumers and regulators. Plaintiff would not have purchased the Class
11   Vehicle, or would have paid less for it, had he known that it did not comply with emission
12   standards; that its emission treatment system was designed to de-activate during real-world
13   driving conditions; and that it could not achieve the advertised towing power, performance,
14   and/or fuel economy without cheating emission tests. Plaintiff has suffered a concrete injury as a
15   direct and proximate result of Defendants’ misconduct, and would not have purchased the Class
16   Vehicle, or would have paid less for it, had Defendants not concealed the unauthorized emission
17   control devices
18               94.   Plaintiff John Webb (for the purpose of this paragraph, “Plaintiff”), a citizen of
19   Colorado, residing in Denver, Colorado, leased a 2016 Ram 1500 EcoDiesel® (for the purpose of
20   this paragraph, the “Class Vehicle”) on or about May 26, 2016, at AutoNation Chrysler, Dodge,
21   Jeep, Ram Southwest, an authorized FCA dealer in Littleton, Colorado. Plaintiff decided to lease
22   the Class Vehicle based in part on FCA’s representations that it was an “EcoDiesel” vehicle (i.e.,
23   reduced emissions and fuel efficient). Plaintiff saw representations on Ram’s website in which
24   the Class Vehicles were represented to be environmentally friendly, have low emissions, and have
25   good fuel economy. When Plaintiff went to AutoNation Chrysler Dodge Jeep Ram to lease the
26   Class Vehicle, the sales associate touted the Class Vehicle’s EcoDiesel® attributes, including its
27   fuel economy and low emissions. These representations, along with the advertised fuel economy,
28   environmental cleanliness and the longevity of a diesel, were among the primary reasons Plaintiff

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 1   chose the Class Vehicle. At the time of lease, Plaintiff did not know that the Class Vehicle could
 2   perform as advertised only by emitting NOx at levels that are greater than advertised and above
 3   legal limits. Nor was Plaintiff aware that his Class Vehicle was equipped with undisclosed and
 4   unauthorized emission control devices designed to cheat emission tests and to deceive consumers
 5   and regulators. Plaintiff would not have leased the Class Vehicle, or would have paid less for it,
 6   had he known that it did not comply with emission standards; that its emission treatment system
 7   was designed to de-activate during real-world driving conditions; and that it could not achieve the
 8   advertised towing power, performance, and/or fuel economy without cheating emission tests.
 9   Plaintiff has suffered a concrete injury as a direct and proximate result of Defendants’
10   misconduct, and would not have leased the Class Vehicle, or would have paid less for it, had
11   Defendants not concealed the unauthorized emission control devices.
12               95.   Plaintiff Stonewall J. Webster III (for the purpose of this paragraph, “Plaintiff”),
13   a citizen of North Carolina, residing in Mayodan, North Carolina, bought a 2016 Ram 1500
14   EcoDiesel® (for the purpose of this paragraph, the “Class Vehicle”) on or about January 4, 2017
15   at Victory Dodge, an authorized FCA dealer in Shallotte, North Carolina. Plaintiff decided to buy
16   the Class Vehicle based in part on FCA’s representations that it was an “EcoDiesel” vehicle (i.e.,
17   reduced emissions and fuel efficient). Plaintiff saw a representation on the Ram’s website
18   regarding the fuel economy of the EcoDiesel® engine before he purchased the Class Vehicle.
19   When Plaintiff went to Victory Dodge to purchase the Class Vehicle, the sales associate touted
20   the Class Vehicle’s EcoDiesel® attributes, telling him the truck would get MPG in the high
21   twenties and was equipped with the new “eco-friendly” turbocharged V6 diesel engine. These
22   representations, along with the advertised fuel economy and low emissions were among the
23   primary reasons Plaintiff chose the Class Vehicle. At the time of purchase, Plaintiff did not know
24   that the Class Vehicle could perform as advertised only by emitting NOx at levels that are greater
25   than advertised and above legal limits. Nor was Plaintiff aware that his Class Vehicle was
26   equipped with undisclosed and unauthorized emission control devices designed to cheat emission
27   tests and to deceive consumers and regulators. Plaintiff would not have purchased the Class
28   Vehicle, or would have paid less for it, had he known that it did not comply with emission

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 1   standards; that its emission treatment system was designed to de-activate during real-world
 2   driving conditions; and that it could not achieve the advertised towing power, performance,
 3   and/or fuel economy without cheating emission tests. Plaintiff has suffered a concrete injury as a
 4   direct and proximate result of Defendants’ misconduct, and would not have purchased the Class
 5   Vehicle, or would have paid less for it, had Defendants not concealed the unauthorized emission
 6   control devices.
 7               96.   Plaintiff John Casey Wilson (for the purpose of this paragraph, “Plaintiff”), a
 8   citizen of Utah, residing in Sandy, Utah, bought a 2016 Ram 1500 EcoDiesel® (for the purpose
 9   of this paragraph, the “Class Vehicle”) on or about November 13, 2015 at Ken Garff West Valley
10   Dodge Chrysler Jeep Ram, an authorized FCA dealer in West Valley, Utah. Plaintiff decided to
11   buy the Class Vehicle based in part on FCA’s representations that it was an “EcoDiesel” vehicle
12   (i.e., reduced emissions and fuel efficient). Prior to purchasing the Class Vehicle, Plaintiff visited
13   the Ram website, and related consumer review websites, in which the Class Vehicles were
14   represented to be environmentally friendly with low emissions and good fuel economy. When
15   Plaintiff went to Ken Garff West Valley Dodge Chrysler Jeep Ram to purchase the Class Vehicle,
16   the sales associates touted the Class Vehicle’s EcoDiesel® attributes, including its fuel economy,
17   towing power, and performance. These representations, along with the advertised fuel economy,
18   towing power, and/or performance were among the primary reasons Plaintiff chose the Class
19   Vehicle. At the time of purchase, Plaintiff did not know that the Class Vehicle could perform as
20   advertised only by emitting NOx at levels that are greater than advertised and above legal limits.
21   Nor was Plaintiff aware that his Class Vehicle was equipped with undisclosed and unauthorized
22   emission control devices designed to cheat emission tests and to deceive consumers and
23   regulators. Plaintiff would not have purchased the Class Vehicle, or would have paid less for it,
24   had he known that it did not comply with emission standards; that its emission treatment system
25   was designed to de-activate during real-world driving conditions; and that it could not achieve the
26   advertised towing power, performance, and/or fuel economy without cheating emission tests.
27   Plaintiff has suffered a concrete injury as a direct and proximate result of Defendants’
28

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 1   misconduct, and would not have purchased the Class Vehicle, or would have paid less for it, had
 2   Defendants not concealed the unauthorized emission control devices.
 3                                        JURISDICTION AND VENUE

 4               97.    This Complaint is filed as an original action in this District and as the

 5   Consolidated Consumer Class Action Complaint in the MDL No. 2777 proceedings, pursuant to

 6   Pretrial Order No. 3 therein.

 7               98.    This Court has original subject-matter jurisdiction over this action under 28 U.S.C.

 8   § 1331 (federal question) and 18 U.S.C. § 1964 (RICO). The Court also has original subject-

 9   matter jurisdiction over this action under 28 U.S.C. § 1332(d), because this is a proposed class

10   action, the amount in controversy exceeds $5,000,000, and there is the required diversity of

11   citizenship pursuant to 28 U.S.C. § 1332(d)(2). In addition, the Court has supplemental

12   jurisdiction over Plaintiffs’ state law claims under 28 U.S.C. § 1367.

13               99.    This Court has personal jurisdiction over Defendants under California Code of

14   Civil Procedure section 410.10, as well as 18 U.S.C. § 1965(b) and (d). The Court also possesses

15   pendent personal jurisdiction over Defendants.

16               100.   Venue is proper in this district under 28 U.S.C. § 1391(b) because a substantial

17   part of the events or omissions giving rise to Plaintiffs’ claims occurred in this District.

18   Defendants have marketed, advertised, sold, and leased the Class Vehicles, and otherwise

19   conducted extensive business, within this District. In addition, or in the alternative, venue is

20   proper under 28 U.S.C. § 1407(a), which authorizes the Judicial Panel on Multidistrict Litigation

21   to transfer consolidated multidistrict litigation “to any district.”

22                                      INTRADISTRICT ASSIGNMENT

23               101.   This action is properly assigned to the San Francisco Division of this District

24   pursuant to Civ. L.R. 3-2 because a substantial part of the events or omissions giving rise to

25   Plaintiffs’ claims arose in the counties served by the San Francisco Division. Several named

26   Plaintiffs and proposed Class representatives, and many more Class members, purchased and

27   maintain their Class Vehicles in the counties served by this Division. Moreover, FCA conducts

28   substantial business in the counties served by this Division, has marketed, advertised, sold and

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 1   leased the Class Vehicles in those counties, and has caused harm to Class members residing in
 2   those counties. Furthermore, this Complaint is filed as an original action in this District and as
 3   the Consolidated Consumer Class Action Complaint in the MDL No. 2777 proceedings, which
 4   have been consolidated before Judge Edward M. Chen, presiding in the San Francisco Division of
 5   this District.
 6                       FACTUAL ALLEGATIONS COMMON TO ALL CLAIMS

 7   I.          FIAT CHRYSLER SEEKS TO CAPITALIZE ON THE GROWING U.S. “CLEAN”
                 DIESEL MARKET
 8

 9               102.   As part of a strategy to expand its North American presence, in 2009, Fiat began

10   its acquisition of one of the “Big 3” U.S. automakers, Chrysler. In November of that year, CEO

11   Marchionne unveiled an ambitious five-year plan to, among other things, roll out “more diesel

12   variants” under the Jeep brand and to give Ram’s “Light duty (1500)” pickup truck a

13   “refresh/facelift.”6

14               103.   By 2014, Fiat had become Fiat Chrysler Automobiles, Chrysler had become FCA,

15   and VM Motori, a long time supplier, was now part of the Fiat Chrysler sprawling family of

16   affiliated companies. In May of that year, Marchionne announced another five-year plan at

17   FCA’s headquarters in Auburn Hills, Michigan, to increase Fiat Chrysler’s competitiveness

18   against global auto giants, such as Toyota, Volkswagen, and General Motors, by increasing

19   annual sales to 7 million vehicles by 2018, up from 4.4 million in 2013.7 Integral to the strategy

20   was the expansion of the “Jeep portfolio” and updates to the “bread-and-butter Ram 1500,”

21   including “diesel engines.”8

22               104.   During this same time frame, emission standards in the United States were

23   ratcheting up. In contrast to other global automakers, like Toyota and Ford, which were focusing

24   on developing hybrid and electric cars, Chrysler—now FCA and under the control of Fiat—took
     6
25     Todd Lassa, Fiatapolooza! Chrysler’s Five-Year Plan, MotorTrend (Nov. 6, 2009),
     http://www.motortrend.com/news/chrysler-five-year-plan/.
     7
26     Jerry Hirsch and David Undercoffler, Fiat Chrysler Unveils Aggressive Five-Year Plan, Los
     Angeles Times (May 6, 2014), http://www.latimes.com/business/la-fi-chrysler-revamp-
27   20140507-story.html.
     8
       Christian Seabaugh, Ram and Ferrari’s Place in Fiat Chrysler’s Five-Year Plan, MotorTrend
28   (May 6, 2014), http://www.motortrend.com/news/ram-and-ferraris-place-in-fiat-chryslers-five-
     year-plan/.
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 1   another path: “[r]eflecting its ties with Europe-based Fiat, Chrysler appears to be taking yet
 2   another route that focuses less on electrification and more heavily on light-duty diesels and
 3   compressed natural gas.”9
 4               105.   Indeed, as early as July 2010, Chrysler commissioned and presented research to
 5   “[i]dentify the trade-offs that consumers make relative to powertrain technologies”—including
 6   diesel—and “[i]dentify possible conquest opportunities associated with offering a RAM light-
 7   duty Diesel engine.” FCA-MDL-001184465-524. Among other things, the study
 8   “recommend[ed] . . . [c]apitalizing on improved fuel economy to increase interest in a Light Duty
 9   Diesel engine among L[ight] D[uty] owners.” Id.
10               106.   In December 2010, Chrysler requested a meeting with Bosch and Fiat to discuss
11   “Chrysler’s main motivation” of “captur[ing] the developing N[orth] A[merican] diesel market.”
12   RBL-MDL2777-PE-300169862-64. Bosch’s notes of the meeting indicate that the projected
13   “profitability status” for SUVs (and other vehicle segments) was “medium to high (+$300 to
14   +$800 margin per diesel vehicle).” Id. An additional meeting was planned for December 8, 2010
15   with “Chrysler, VM, [and] Bosch” to “discuss further,” and a “Chrysler NA diesel decision
16   meeting with Marchionne” was “scheduled for” December 11, 2010. Id.
17               107.   In 2012, Marchionne was quoted as saying, “with 2016 ‘just around the corner’
18   and 2025 not far away given the auto industry’s long product-development lead times, ‘there are
19   big choices to be made[.]’”10 Marchionne explained that “Chrysler, which is starting to share
20   platforms and powertrains with Fiat, wants to leverage the European auto maker’s strengths in
21   diesels and CNG-powered vehicles.”11 As one commentator put it at the time, “[f]uel-efficient
22   towing remains a strong point of diesels, and Marchionne says he still is optimistic about the
23   potential of light-duty diesels in the U.S. despite significant emissions challenges.”12
24

25
     9
26     Drew Winter, Chrysler Eyes Different Path to Meeting New CAFE Standards, WardsAuto (Aug.
     29, 2012), http://wardsauto.com/technology/chrysler-eyes-different-path-meeting-new-cafe-
27   standards.
     10
        Id.
     11
28      Id. (emphasis added).
     12
        Id.
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 1               108.   This is further reflected in a March 2013 Chrysler research document entitled
 2   “Alternative Powertrain” in which the company sought to better understand the “needs, wants,
 3   expectations and functional requirements relative to . . . alternative powertrain technologies such
 4   as hybrids, electric, diesel, and compressed natural gas.” FCA-MDL-001239766-774. The
 5   research concluded that “consumers want their next vehicle to do everything their current vehicle
 6   does, with better fuel economy and no sacrifice in usability,” and further noted that “[l]arge
 7   segments (Pickups) with a need to tow and haul show most interest in Alternative
 8   fuels/technology for internal combustion engines.” Id. at 9.
 9               109.   FCA ultimately decided to push into this market beyond its existing heavy-duty
10   diesel trucks (which use engines from a different supplier, Cummins) and, in 2014, it introduced
11   both the light-duty Ram 1500 “EcoDiesel®” and the Jeep Grand Cherokee “EcoDiesel®.” These
12   are the Class Vehicles at issue here.
13               110.   Fiat Chrysler was not alone. Seeing an opportunity for growth in the U.S. market,
14   other major automakers rushed to develop and market “clean diesel” engines. Volkswagen,
15   Mercedes-Benz, General Motors, and other manufacturers also began selling diesel cars and
16   trucks as a more efficient (and thus environmentally-friendly) alternative to gasoline vehicles
17   with no loss of power or performance: the advertised difference was that new emission control
18   technology could make small diesel engines (long regarded by American consumers as fuel
19   efficient but foul-smelling polluters) powerful and clean in addition to fuel-efficient. The
20   marketing worked, and millions of diesel vehicles were sold and leased in the United States
21   between 2007 and 2016.
22               111.   The green bubble for diesel vehicles first popped on September 18, 2015, when the
23   EPA issued a Notice of Violation of the CAA to Volkswagen and Audi for installing illegal
24   “defeat devices” in 2009–2015 2.0-liter diesel vehicles. A defeat device, as defined by the EPA,
25   is any apparatus or technology that unduly reduces the effectiveness of emission control systems
26   under normal driving conditions. The EPA found that the Volkswagen/Audi defeat device
27   allowed the vehicles to pass emission testing while polluting far in excess of emission standards,
28   revealing the new “clean diesel” technology to be illusory. CARB also announced that it had

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 1   initiated an enforcement investigation of Volkswagen pertaining to the vehicles at issue in the
 2   Notice of Violation. On September 22, 2015, Volkswagen admitted that 11 million diesel cars
 3   worldwide were installed with the same defeat device software.13 Volkswagen wasn’t alone—
 4   soon after, government agencies began to reveal that other automakers sold dozens of models
 5   exceeding allowable emission levels under applicable standards. Nevertheless, the Defendants in
 6   this action continued with business as usual, concealing from regulators and consumers their
 7   Class Vehicles’ emissions-related behavior and performance.
 8   II.         DEFENDANTS’ DIRTY “ECODIESEL®” SCHEME
 9               112.   Federal and state emission standards are in place to protect Americans from
10   pollution and certain chemicals known to cause disease in humans. Automobile manufacturers
11   must abide by applicable laws and adhere to EPA rules and regulations (and those of CARB in
12   California and 14 other states that have adopted California’s standards). The CAA requires
13   vehicle manufacturers to certify to the EPA that the vehicles sold in the United States meet
14   applicable federal emission standards to control air pollution. Every vehicle sold in the United
15   States must be covered by an EPA-issued COC, and every vehicle sold in the State of California
16   must be covered by a CARB-issued EO.
17               113.   There is a very good reason that these laws and regulations exist and apply to
18   vehicles with diesel engines: in 2012, the World Health Organization declared diesel vehicle
19   emissions to be carcinogenic and about as dangerous as asbestos.
20               114.   Diesel engines pose a unique challenge because they have an inherent trade-off
21   between power, fuel efficiency, and emissions: the greater the power and fuel efficiency, the
22   dirtier and more harmful the emissions. Instead of using a spark plug to combust highly refined
23   fuel with short hydrocarbon chains, as gasoline engines do, diesel engines compress a mist of
24   liquid fuel and air to very high temperatures and pressures, which causes the fuel/air mixture to
25   combust. This causes a more powerful compression of the pistons, which can produce greater
26   engine torque (that is, more power). Diesel engines are able to do this both because they operate
27
     13
       See Nathan Bomey, Volkswagen Emission Scandal Widens: 11 Million Cars Affected, USA
28   Today (Sept. 22, 2015), http://www.usatoday.com/story/money/cars/2015/09/22/volkswagen-
     emissions-scandal/72605874/.
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 1   at a higher compression ratio than gasoline engines and because diesel fuel contains more energy
 2   than gasoline.
 3               115.   But this greater energy and fuel efficiency comes at a cost: diesel produces dirtier
 4   and more dangerous emissions. Diesel combustion produces NOx, a variety of nitrogen and
 5   oxygen chemical compounds that only form at high temperatures. NOx pollution contributes to
 6   nitrogen dioxide, particulate matter in the air, and reacts with sunlight in the atmosphere to form
 7   ozone. Exposure to these pollutants has been linked with serious health dangers, including
 8   asthma attacks and other respiratory illnesses serious enough to send people to the hospital.
 9   Ozone and particulate matter exposure have been associated with premature death due to
10   respiratory-related or cardiovascular-related effects. Children, the elderly, and people respiratory
11   illnesses are at acute risk of health effects from these pollutants.
12               116.   Given the risks, minimizing NOx is paramount. But removing these pollutants
13   from untreated exhaust is difficult, and diesel automakers have reacted by trying to remove NOx
14   from the exhaust using catalysts. Modern turbodiesel engines use ceramic diesel filters to trap
15   particulates before they are emitted. Many also use a technology called “selective catalytic
16   reduction” (“SCR”) to reduce NOx emissions. SCR systems inject a measured amount of urea
17   solution into the exhaust stream, which breaks oxides of nitrogen down into to less noxious
18   substances before they are emitted. SCR-equipped vehicles must carry an onboard tank of fluid
19   for this purpose, and injection of the fluid is controlled by the same engine control module that
20   manages the fuel-air mixture and other aspects of engine operation.
21               117.   FCA’s response to this challenge was the EcoDiesel® engine. Emission
22   reductions start in the cylinder with advanced fuel injection strategies. After the byproducts of
23   combustion leave the engine, the EcoDiesel® technology treats these emissions using a diesel
24   oxidation catalyst, diesel particulate filter, and SCR.
25               118.   The Class Vehicles use engine management computers to monitor sensors
26   throughout the vehicle and operate nearly all of the vehicle’s systems according to sophisticated
27   programming that can sense and vary factors like steering, combustion, and emissions
28   performance for different driving situations. To manage engine and emission controls, the Class

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 1   Vehicles use a Bosch EDC system. Bosch GmbH and Bosch LLC designed, tested, customized,
 2   manufactured, and sold these EDC systems, including software code, to Fiat Chrysler (along with
 3   other automakers including Volkswagen, Mercedes, and General Motors) for use in the Class
 4   Vehicles.
 5               119.   The system used in the Class Vehicles is Bosch’s EDC Unit 17 (also called
 6   “EDC17”). A February 28, 2006 Bosch press release introduced the “New Bosch EDC17 engine
 7   management system” as the “brain of diesel injection” which “controls every parameter that is
 8   important for effective, low-emission combustion.” The EDC17 offered “[e]ffective control of
 9   combustion” and a “[c]oncept tailored for all vehicle classes and markets.” In the press release,
10   Bosch touted the EDC17 as follows:
11               EDC17: Ready for future demands
                 Because the computing power and functional scope of the new EDC17 can be
12               adapted to match particular requirements, it can be used very flexibly in any
                 vehicle segment on all the world’s markets. In addition to controlling the precise
13               timing and quantity of injection, exhaust gas recirculation, and manifold pressure
                 regulation, it also offers a large number of options such as the control of
14               particulate filters or systems for reducing nitrogen oxides. The Bosch EDC17
                 determines the injection parameters for each cylinder, making specific adaptations
15               if necessary. This improves the precision of injection throughout the vehicle’s
                 entire service life. The system therefore makes an important contribution to
16               observing future exhaust gas emission limits.14
17               120.   Bosch’s EDC Unit 17 controls emissions by periodically reading sensor values,
18   evaluating a control function, and controlling actuators based on the control signal.15 Sensor
19   readings include crankshaft position, air pressure, air temperature, air mass, fuel temperature, oil
20   temperature, coolant temperature, vehicle speed, exhaust oxygen content, as well as driver inputs
21   such as accelerator pedal position, brake pedal position, cruise control setting, and selected gear.
22   Based on sensor input, EDC17 controls and influences the fuel combustion process including, in
23   particular, fuel injection timing, which affects engine power, fuel consumption, and the
24   composition of the exhaust gas.16
25
     14
        See Bosch press release, The brain of diesel injection: New Bosch EDC17 engine management
26   system (Feb. 28, 2006), http://www.bosch-
     resse.de/presseforum/details.htm?txtID=2603&locale=en.
     15
27      Moritz Contag, Guo Li, Andre Pawlowski, Felix Domke, Kirill Levchenko, Thorsten Holz, and
     Stefan Savage, How They Did It: An Analysis of Emission Defeat Devices in Modern Automobiles
28   (2017), https://cseweb.ucsd.edu/~klevchen/diesel-sp17.pdf.
     16
        Id.
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 1               121.   In 2010 or 2011, VM Motori announced a new diesel engine: a V6, 3.0-liter
 2   displacement engine intended for inclusion in SUVs, trucks, and large sedans. This engine had
 3   been under development for use in a General Motors automobile for the European market.17
 4   However, Fiat acquired 50% of VM Italy in 2011, and began working with VM Motori to
 5   develop the engine for use in FCA vehicles to be sold in the United States.
 6               122.   As Ram Trucks’ Chief Engineer said at the time, “We were fortunate at this point
 7   in time that our partners at Fiat owned half of VM Motori, who makes this diesel engine. . . .We
 8   combined resources and developed them together.”18
 9               123.   According to its website, VM Motori is deeply involved in the development and
10   testing of all aspects of the engine: “We take care of the engines and their applications, working
11   together with the Customers to the least detail to ensure a perfect matching between the engine
12   and the machine, supporting our partners from A to Z, from engine- to-machine coupling up to
13   the production.”19
14               124.   In fact, VM Motori boasts of its involvement in: “Calibration development to meet
15   specific vehicle/end user requirements, Exhaust after-treatment system development, [and]
16   Environmental trips (hot/cold climate, high altitude, etc.).”20 VM Motori also notes that its
17   facilities include: “Rolling dyno for vehicle emission measurement [and] 17 engine test benches
18   for emission/performance development.”21
19               125.   The engine originally was developed for use in Europe, where standards for
20   emission of oxides of nitrogen from diesel vehicles are less stringent than in the United
21   States. Rather than make the engine compliant with U.S. emissions standards, FCA opted to
22   cheat on the emission test.
23               126.   In January 2013, Bosch LLC announced that its “clean diesel” technology,
24   including the EDC Unit 17, would be featured in the new 2014 Jeep Grand Cherokee 3.0-Liter
25
     17
26      Chad Westfall, An Inside Look At The Ram 1500 3.0L EcoDiesel, Engine Labs (Jan. 11, 2015),
     http://www.enginelabs.com/engine-tech/an-inside-look-at-the-ram-1500-3-0l-ecodiesel/.
     18
27      Id.
     19
        Research and Development, VM Motori, http://www.vmmotori.com/r-s/vm-motori/r-s-2.htm.
     20
28      Id.
     21
        Id.
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 1   EcoDiesel®.22 As part of that announcement, Bosch LLC stated: “The 2014 Jeep Grand
 2   Cherokee features a Bosch emission system compliant with the most stringent emission
 3   regulations in the world. From fuel tank to tailpipe, Bosch is pleased to equip this vehicle with
 4   top technologies to give consumers a great driving experience requiring fewer stops at the
 5   pump.”23 Bosch LLC also announced that the “clean diesel” system for the Jeep Grand Cherokee
 6   would be assembled at Bosch’s facility in Kentwood, Michigan.
 7               127.   In reality, Fiat Chrysler—working with VM Italy and VM America on the design
 8   of the EcoDiesel®’s engines and Bosch GmbH and Bosch LLC on the design of the EDC Unit
 9   17—was either unable or unwilling to devise a solution within the constraints of the law. And so,
10   like their rivals at Volkswagen, they devised one outside of it. Instead of cutting their losses on
11   “EcoDiesel,” delaying the production of the Class Vehicles, or coming clean, Fiat Chrysler
12   worked closely with VM Italy and VM America and Bosch GmbH and Bosch LLC to customize
13   the EDC Unit 17 to allow Class Vehicles to simulate “passing” the EPA and CARB testing.
14   Unlike during testing, the software disables or restricts certain of the emission controls during
15   real-world driving conditions. When the emission controls are de-activated on the road, the Class
16   Vehicles emit up to 20 times the legal limits of NOx.
17               128.   These software controls designed and implemented by Bosch GmbH and Bosch
18   LLC were concealed from regulators on COC and EO applications for the Class Vehicles, thus
19   deceiving the EPA and CARB into approving the Class Vehicles for sale throughout the United
20   States and California. Of course, consumers, who have no way of discerning that the emission
21   control technology de-activated during real-world driving conditions, were likewise deceived.
22               129.   Specifically, Bosch GmbH and Bosch LLC worked hand-in-glove with Fiat
23   Chrysler and VM Motori to develop and implement a specific set of software algorithms for
24   implementation in the Class Vehicles, which enabled FCA to adjust fuel levels, exhaust gas
25   recirculation, air pressure levels, and even urea injection rates.24
26
     22
        Bosch Announces Clean Diesel Technology On 2014 Jeep Grand Cherokee, supra note 5.
     23
27      Id.
     24
        See generally Engine management, Bosch Auto Parts, http://de.bosch-
28   automotive.com/en/parts_and_accessories/motor_and_sytems/diesel/engine_management_2/engi
     ne_control_unit_1/ (describing capabilities of Bosch EDC units).
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 1               130.   A study recently published by researchers at the University of California, San
 2   Diego, and Ruhr-Universität Bochum in Germany revealed technical documents showing that
 3   Bosch code was used in a so-called defeat device for a Fiat vehicle. The study described the
 4   software as setting one mode for when a vehicle is being tested for emissions, but then allowing
 5   tailpipe pollution to spike in real-world driving conditions.25 The study described Bosch’s role in
 6   building the electronic control unit (“ECU”) hardware and developing the software running on the
 7   ECU and found there was “no evidence that automobile manufacturers write any of the code
 8   running on the ECU.”26 To the contrary: “All code we analyzed in this work was documented in
 9   documents copyrighted by Bosch and identified automakers as the intended customers.”27 The
10   study concluded: “We find strong evidence that both defeat devices were created by Bosch and
11   then enabled by Volkswagen and Fiat for their respective vehicles.”
12               131.   For context, when carmakers test their vehicles against EPA emission standards,
13   they place their cars on dynamometers (essentially large treadmills or “rollers”) and then perform
14   a series of specific maneuvers prescribed by federal regulations to simulate driving and test
15   emissions in a controlled environment. Bosch’s EDC Unit 17 gave Fiat Chrysler the ability to
16   detect test scenarios by monitoring vehicle speed, acceleration, engine operation, air pressure, and
17   even the position of the steering wheel. For example, given that the steering wheel cannot be
18   turned on a dynamometer, Bosch programmed a sensor which detected whether or not the
19   steering wheel turned. When the EDC Unit 17’s detection algorithm detected an emission test
20   was complete, the EDC Unit 17 could de-activate or reduce the emission control systems’
21   performance, causing the Class Vehicle to spew illegal amounts of NOx emissions when out on
22   the road.
23               132.   This workaround was illegal. The CAA expressly prohibits defeat devices,
24   defined as any auxiliary emission control device “that reduces the effectiveness of the emission
25
     25
26      See Ryan Been, Study of VW’s Cheating on Diesels Examines Role of Bosch Code, Bloomberg
     Technology (June 9, 2017), https://www.bloomberg.com/news/articles/2017-06-09/study-of-vw-
27   s-cheating-on-diesels-examines-role-of-bosch-code.
     26
        Moritz Contag, et al., How They Did It: An Analysis of Emission Defeat Devices in Modern
28   Automobiles, supra note 15.
     27
        Id.
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 1   control system under conditions which may reasonably be expected to be encountered in normal
 2   vehicle operation and use.” 40 C.F.R. § 86.1803-01; see also id. § 86.1809-10 (“No new light-
 3   duty vehicle, light-duty truck, medium-duty passenger vehicle, or complete heavy-duty vehicle
 4   shall be equipped with a defeat device.”). Moreover, the CAA prohibits the sale of components
 5   used as defeat devices, “where the person knows or should know that such part or component is
 6   being offered for sale or installed for such use or put to such use.” 42 U.S.C. § 7522(a)(3).
 7   Finally, in order to obtain a COC, automakers must submit an application, which lists all auxiliary
 8   emission control devices installed in the vehicle, a justification for each, and an explanation of
 9   why the control device is not a defeat device.
10               133.   As the EPA has now alleged against Fiat, FCA, VM Italy, and VM America,
11   Defendants did not disclose, and affirmatively concealed, the presence of performance-altering
12   software code developed with Bosch GmbH and Bosch LLC from government regulators. In
13   other words, FCA lied to the government, its customers, its dealers, and the public at large.
14               134.   Because FCA lied on the COC and EO applications, these COCs and EOs were
15   fraudulently obtained. And because the Class Vehicles did not conform “in all material respects”
16   to the specifications provided in the COC and EO applications, the Class Vehicles were never
17   covered by a valid COC or EO, and thus were never legal for sale—nor were they EPA and/or
18   CARB compliant, as represented. With the complicity of Bosch and VM Motori, Fiat Chrysler
19   hid these facts from the EPA, CARB, and other regulators, from FCA dealers and consumers, and
20   FCA continued to sell and lease the Class Vehicles to the driving public, despite their illegality.
21               135.   Fiat Chrysler’s illegal workaround was enabled by a close partnership with Bosch,
22   which enjoyed a sizable portion of its annual revenue from manufacturing parts used in the Class
23   Vehicles and other “clean” diesel vehicles.28 Bosch GmbH and Bosch LLC were aware that Fiat
24   Chrysler used its emission control technology as a concealed auxiliary (or defeat) device and, in
25

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     28
        Approximately 50,000 of Bosch’s 375,000 employees worked in the diesel technology
27   operations branch of Bosch. See Bosch probes whether its staff helped VW’s emissions rigging,
     Automotive News (Jan. 27, 2016),
28   http://www.autonews.com/article/20160127/COPY01/301279955/bosch-probes-whether-its-staff-
     helped-vws-emissions-rigging.
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 1   fact, worked together with Fiat Chrysler and VM Motori to develop and implement software
 2   algorithms specifically tailored to allow the Class Vehicles to evade detection.
 3               136.   Bosch GmbH and Bosch LLC worked closely with Fiat Chrysler and VM Motori
 4   to create specifications and software code for each Class Vehicle model. Indeed, customizing a
 5   road-ready ECU is an intensive three- to five-year endeavor involving a full-time Bosch presence
 6   at an automaker’s facility. VM Italy and VM America likewise worked closely with Bosch
 7   GmbH, Bosch LLC, and Fiat Chrysler in designing, installing, and calibrating the engines for the
 8   Class Vehicles.
 9               137.   All Bosch EDCs, including the EDC17, run on complex, highly proprietary engine
10   management software over which Bosch exerts near-total control. In fact, the software is
11   typically locked to prevent customers, like Fiat Chrysler, from making significant changes on
12   their own. Accordingly, both the design and implementation are interactive processes, requiring
13   Bosch’s close collaboration with the automaker from beginning to end.
14               138.   Bosch GmbH and Bosch LLC’s security measures further confirm that its
15   customers cannot make significant changes to Bosch software without their involvement. Bosch
16   boasts that its security modules protect vehicle systems against unauthorized access in every
17   operating phase, meaning that no alteration could have been made without either a breach of that
18   security—and no such claims have been advanced—or Bosch’s knowing participation.29
19               139.   Unsurprisingly, then, at least one car company engineer has confirmed that Bosch
20   maintains absolute control over its software as part of its regular business practices:30
21               I’ve had many arguments with Bosch, and they certainly own the dataset software
                 and let their customers tune the curves. Before each dataset is released it goes
22               back to Bosch for its own validation.
23               Bosch is involved in all the development we ever do. They insist on being present
                 at all our physical tests and they log all their own data, so someone somewhere at
24               Bosch will have known what was going on.
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     29
        Reliable Protection for ECUs, ESCRYPT (May 12, 2016), https://www.escrypt.com/en/news-
27   events/protection-for-ecus.
     30
        Michael Taylor, EPA Investigating Bosch over VW Diesel Cheater Software, Car and Driver
28   (Nov. 23, 2015), http://blog.caranddriver.com/epa-investigating-bosch-over-vw-diesel-cheater-
     software/.
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 1               All software routines have to go through the software verification of Bosch, and
                 they have hundreds of milestones of verification, that’s the structure ….
 2
                 The car company is never entitled by Bosch to do something on their own.
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 4               140.   Defendants’ work on the EDC17 reflected a highly unusual degree of coordination

 5   among them. As they did with Volkswagen, the units required the work of numerous Bosch

 6   coders for a period of more than ten years.31 Although Bosch publicly introduced the EDC17 in

 7   2006, it had started to develop the engine management system years before.32

 8               141.   Bosch was concerned about getting caught in the scheme to enable diesel

 9   emissions cheating. As reported in the German newspaper, Bild am Sonntag, and a French

10   publication, a Volkswagen internal inquiry found that in 2007, Bosch warned Volkswagen by

11   letter that using the emission-altering software in production vehicles would constitute an

12   “offense.”33 Yet, Bosch concealed the software, and its emission control functions, in various

13   “clean” diesel vehicles, including the Class Vehicles, from U.S. regulators and consumers.

14               142.   Bosch LLC worked closely with Bosch GmbH and diesel automakers both in the

15   United States and in Germany, to ensure that the “clean” diesels, like the Class Vehicles, passed

16   emission testing. Bosch LLC employees frequently communicated with regulators in the United

17   States and actively worked to ensure that diesel vehicles were approved for sale in the United

18   States. For example, we now know that employees of Bosch LLC and Bosch GmbH provided

19   specific information to regulators in the United States about how Volkswagen’s vehicles

20   functioned and unambiguously stated that the vehicles met emission standards. Bosch LLC

21   regularly communicated to its colleagues and clients in Germany about ways to deflect and

22   diffuse questions from regulators in the United States about those vehicles. On information and

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     31
24      Again, approximately 50,000 of Bosch’s 375,000 employees worked in the diesel technology
     operations branch of Bosch. See Bosch Probes Whether Its Staff Helped VW’s Emissions
25   Rigging, supra note 28.
     32
        See The brain of diesel injection: New Bosch EDC17 engine management system, supra note
26   14.
     33
        Bosch warned VW about illegal software use in diesel cars, report says, Automotive News
27   (Sept. 27, 2015), http://www.autonews.com/article/20150927/COPY01/309279989/bosch-
     warned-vw-about-illegal-software-use-in-diesel-cars-report-says; see also VW Scandal: Company
28   Warned over Test Cheating Years Ago, BBC (Sept. 27, 2015),
     http://www.bbc.com/news/business-34373637.
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 1   belief, Bosch LLC also assisted in concealing the true nature of the emission control technology
 2   from regulators in the United States with respect to the Class Vehicles at issue here.
 3               143.   Bosch not only kept the dirty secret safe, it went a step further and actively lobbied
 4   lawmakers to push “clean diesel” in the United States. As early as 2004, Bosch announced a push
 5   to convince U.S. automakers that its diesel technology could meet tougher 2007 emission
 6   standards in the United States.34 Bosch engaged in a multi-year, multi-million dollar effort
 7   involving key players from Bosch in both Germany and the United States. In its efforts to
 8   promote “clean diesel” technology in the United States, Bosch GmbH acted on behalf of its
 9   global group of affiliated companies, including Bosch LLC.
10               144.   Bosch’s promotion of diesel technology specifically targeted the United States.
11   For example, Bosch put on “Diesel Days in California”35 and “SAE World Congress in
12   Detroit.”36 In 2008, Bosch LLC co-sponsored the “Future Motion Made in Germany-Second
13   Symposium on Modern Drive Technologies” at the German Embassy in Washington, D.C., with
14   the aim of providing a venue for “stakeholders to gain insight into the latest technology trends,
15   and to engage in a vital dialogue with industry leaders and policymakers.”37
16               145.   Bosch LLC hosted multi-day conferences open to regulators and legislators and
17   held private meetings with regulators, in which it proclaimed extensive knowledge of the “clean”
18   diesel technology, including the calibrations necessary for the vehicles to comply with emission
19   regulations.
20               146.   In April 2009, for example, Bosch organized and hosted a two-day “California
21   Diesel Days” event in Sacramento, California. Bosch invited a roster of lawmakers, journalists,
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     34
24      Edmund Chew, Bosch boosts US diesel lobbying, Automotive News (Mar. 8, 2004),
     http://www.autonews.com/article/20040308/SUB/403080876/bosch-boosts-us-diesel-lobbying.
     35
25      Bosch drives clean diesel in California, Bosch, http://www.bosch.us/content/language1/
     html/734_4066.htm?section=28799C0E86C147799E02226E942307F2.
     36
26      See, e.g., Bosch Brings Innovation, Green Technology to SAE 2009 World Congress, Bosch,
     http://www.bosch.us/content/language1/html/734_7432.htm?section=CDAF31A468D9483198E
27   D8577060384B3.
     37
        Bosch: Clean Diesel is Key Part of Future Technology Mix, Bosch, http://us.bosch-press.com/
28   tbwebdb/bosch-usa/en-US/PressText.cfm?CFID=59743263&CFTOKEN=b0c61c28412924c-
     BCBB064E-FD22-FC33-50650318A8803D2B&nh=00&Search=0&id=364.
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 1   executives, regulators, and non-governmental organizations38 with the aim of changing
 2   perceptions of diesel from “dirty” to “clean.” The event featured “clean diesel” vehicles as
 3   ambassadors of “clean diesel” technology. The stated goals were to “build support for light-duty
 4   diesel as a viable solution for achieving California’s petroleum and emission reduction
 5   objectives.”
 6               147.   Bosch also joined in events promoting the Class Vehicles. At one such event
 7   hosted by Ram, Jeep and Bosch in Traverse City, Michigan, Bosch made a number of statements
 8   regarding the 3.0-liter EcoDiesel V6’s performance. It stated that the “Bosch emissions control
 9   system helps ensure that virtually no particulates and minimal oxides of nitrogen (NOx) exit the
10   tailpipe” and that a Jeep Grand Cherokee or Ram 1500 diesel’s engine provides a fuel economy
11   that is “30% better than a comparable gasoline engine.”39
12               148.   In 2009, Bosch also became a founding member of the U.S. Coalition for
13   Advanced Diesel Cars.40 One of this advocacy group’s purposes included “promoting the energy
14   efficiency and environmental benefits of advanced clean diesel technology for passenger vehicles
15   in the U.S. marketplace.”41 This group lobbies Congress, U.S. regulators, and CARB in
16   connection with rules affecting “clean diesel” technology.42
17   III.        FCA’S MISLEADING MARKETING
18               A.     Fiat Chrysler Identifies and Combats the “Dirty Diesel” Stigma.
19               149.   As described above, Fiat Chrysler, VM Motori, and Bosch began investigating
20   strategies to develop and market diesel vehicles in the North American market in at least July
21   2010. FCA-MDL-001184465. As early as February 2012, Chrysler had already commissioned
22
     38
        Bosch drives clean diesel in California, supra note 35; see also California Diesel Days, The
23   U.S. Coalition for Advanced Diesel Cars, http://www.californiadieseldays.com/.
     39
        Dale Jewett, EcoDiesel: An Essential Tool for Every Outdoorsman, Objects in the Mirror…
24   (blog operated by FCA Digital Media) (May 22, 2015),
     https://blog.fcanorthamerica.com/2015/05/22/ecodiesel-an-essential-tool-for-every-outdoorsman/.
     40
25      Chrissie Thompson, New Coalition Aims To Promote Diesel Cars, Automotive News (Feb. 2,
     2009), http://www.autonews.com/article/20090202/OEM06/302029728/new-coalition-aims-to-
26   promote-diesel-cars.
     41
        About the Coalition, The U.S. Coalition for Advanced Diesel Cars (May 22, 2015),
27   http://cleandieseldelivers.com/about/.
     42
        Id.; see also, e.g., Letter to Mary T. Nichols & the California Air Resources Board concerning a
28   statement made about diesel technology (Jan. 8, 2016), http://cleandieseldelivers.com/
     media/Mary-Nichols-Letter-01082016.pdf.
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 1   and presented research to understand how to market the diesel vehicles to consumers. FCA-
 2   MDL-001182796-821.
 3               150.   This research confirmed that the Defendants had a significant obstacle to
 4   overcome: consumers associated diesel engines with old technology and, more importantly, with
 5   “negative images of smog and dirt.” Id.
 6               151.   This “dirty diesel” stigma was considerable. During Fiat Chrysler’s 2012 focus
 7   group addressing “diesel perceptions,” one consumer noted “[I] can’t stand diesel”; another felt
 8   “[diesel] has an image problem”; another explained that “when somebody says diesel, I just think
 9   of that black smoke”; to another, diesel evoked image of “smoke, exhaust”; another associated
10   diesel with “old images of a truck letting off all of these emissions”; and, summing it up, one
11   focus group participant noted “you just think dirty when you think diesel.” FCA-MDL-
12   001422127.
13               152.   Unsurprisingly, then, Fiat Chrysler worked hard to rebut the dirty diesel stigma in
14   communications directly with consumers and in training materials for dealers (to help the dealers
15   persuade consumers to purchase the Class Vehicles). In a Jeep EcoDiesel “Product Brief,” for
16   example, Fiat Chrysler noted “[b]uyers can be resistant to consider a diesel purchase due to
17   several perceptions that are no longer true” including that “diesels are filthy . . . [and] too loud
18   and smelly.” FCA-MDL-000517246-53. The brief combats these perceptions by stating that
19   “diesel engines are surprisingly responsible in view of ecological concerns.” Id. It also includes
20   a “key messages” for prospective consumers including: “Diesel engines offer clean operation
21   with typically 25% less emissions than a gasoline engine.” Id. It also notes that the “3.0L
22   EcoDiesel V6 uses Selective Catalyst Reduction (SCR) with DEF to help minimize exhaust
23   emissions” and uses “NOx modules and sensors . . . to help control tailpipe emissions.” Id.
24               153.   Similarly, a Ram 1500 “Targeted In-Dealership Training” guide notes that the two
25   “most common misconceptions about diesel engines” are that “Diesels are noisy” and “Diesels
26   are dirty.” FCA-MDL-000517194-203. As to the latter, the guide instructs dealers that the
27   “Diesel Exhaust Fluid (DEF) and Selective Catalyst Reduction lower the exhaust emissions of
28   diesel engines.” Id. It later explains that DEF “reduce[s] nitrous oxides coming out of the

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 1   tailpipe” and “helps to create non-harmful emissions.” Id. (emphasis in original). The guide
 2   then states that “[o]ur EcoDiesel runs extremely clean for a truck powerplant.” Id.
 3               154.   In a “news” document, again presumably targeting Ram and Jeep dealers, Fiat
 4   Chrysler explained that “[w]hen pitching the EcoDiesel, it may help you to keep in mind a few
 5   advantages to driving a diesel engine.” FCA-MDL-000518525. One advantage was that “Diesels
 6   Are Getting Greener.” Id. The document then explained that “[i]n the past, diesels were seen as
 7   polluters – a hindrance to environmentally conscious customers. Today’s diesels, however, run
 8   cleaner than they ever have before. For its part, the ecologically responsible EcoDiesel V6 is the
 9   cleanest light-duty engine available.” Id.
10               B.     The EcoDiesel Name and Badge Communicate Environmental Friendliness
                        and Fuel Efficiency.
11

12               155.   Fiat Chrysler also understood that a key component of overcoming the diesel
13   stigma, and of marketing the Class Vehicles’ purported environmental friendliness and fuel
14   economy, was the naming and labeling of the diesel technology. As noted above, Fiat Chrysler
15   conducted research in February 2012 to address this very issue. FCA-MDL-001182796-821.
16   That research concluded that the “[b]est names [for Fiat Chrysler’s diesel engine] highlight
17   ‘green’ theme.” Id. It further concluded that “[f]uel efficiency and environmental friendliness
18   are important; names connected with these will be most well-received.” Id. (emphasis added).
19   An excerpt from the research presentation is shown below.
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                 156.   The highest-ranked name, in terms of both appeal and preference, was “Eco-
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     Diesel.” The research explained that “‘Eco’ encompasses green, efficient, and economic . . . and
14
     is strongly associated with being environmentally friendly.” Similarly, the research concluded
15
     that the EcoDiesel “[n]ame [i]mplies a variety of positive meanings – green, efficient, economic,
16
     etc.” Unsurprisingly, the “imagery” most associated with the name “EcoDiesel” was
17
     “Environmentally-Friendly” and “Fuel Efficient.” Id.
18
                 157.   Although other potential names (e.g., “Clean Diesel” and “Enviro Diesel”) had
19
     slightly higher associations with environmental friendliness, “EcoDiesel” communicated the
20
     combination of “green” credentials and fuel economy the best. Fiat Chrysler had found its
21
     winner.
22
                 158.   Fiat Chrysler adopted and trademarked the “EcoDiesel” name and used it in
23
     virtually every advertisement for the Class Vehicles. It also branded every single Class Vehicle
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     with an EcoDiesel badge. The two versions of the badge, used on Jeep Grand Cherokees and
25
     Ram 1500s, respectively, are shown below:
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10               159.   This badging was extremely important to Fiat Chrysler. Jim Morrison, then the

11   head of Jeep Brand Product marketing, gave a presentation some 20-30 times in which he

12   explained that “consumers are immediately receptive to the EcoDiesel badging/logo” and

13   “suggest that ‘Eco-diesel badging can initially change the impression of diesel vehicles.” FCA-

14   MDL-001166458-533; Morrison Dep. Tr. 131:5-6. As the notes below the slide confirm,

15   “[c]onsumers further believe that the word ‘Eco- Diesel’ can change the perception of a diesel

16   engine to something denoting ecologically conscious and economical to own and operate.” Id.

17   (emphasis added). The full slide with notes is shown below:

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22               160.   Mr. Morrison also confirmed the meaning and importance of the EcoDiesel name
23   and badge in a sworn declaration he submitted in connection with a trademark dispute. There, he
24   declared that “Chrysler decided to combine the terms ‘Eco,’ ‘Diesel,’ and ‘3.0L’ . . . to refer to
25   the engine because the engine is an economical, fuel-efficient, more environmentally friendly 3.0
26   liter diesel engine.” Unitek Solvent Services, Inc. v. Chrysler Group, LLC, No. 1:12-cv-00794,
27   Dkt. 86-35 at ¶ 8 (June 4, 2013). He further explained that “Chrysler [also] based its decision to
28   use the descriptive terms ‘eco’ and ‘ecodiesel’ on the fact that numerous third parties in a variety
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 1   of industries use the term ‘eco’ to describe ecologically or environmentally friendly products or
 2   services that have been developed to reduce carbon emission, energy consumption, or otherwise
 3   preserver the environment.” Id. at ¶ 10.
 4               161.   Many additional documents confirm that Fiat Chrysler intended the name
 5   “EcoDiesel” and the EcoDiesel badge to convey both environmental friendliness and fuel
 6   economy. A September 2013 press release, for example, included a heading entitled “Putting the
 7   ‘Eco’ in EcoDiesel” under which it claimed that “[t]he new EcoDiesel V6 achieves 50-state
 8   emissions compliance for both tier II and BIN 5.” FCA-MDL-000519022-24 (emphasis in
 9   original). In other words, the “Eco” in EcoDiesel means not just environmental friendliness,
10   generally, but also emissions compliance, specifically.
11               162.   A later Ram press release entitled “Ram has ‘turned up the ECO’ on fullsize truck
12   MPGs . . . to 29” further demonstrates that the “Eco” in EcoDiesel also refers to fuel economy.
13   FCA-MDL-001344885-86; FCA-MDL-001401873.
14               163.   Again, the EcoDiesel badge was placed prominently on every single Class
15   Vehicle, and the word “EcoDiesel” was used in virtually every consumer-facing communication.
16   That word and badge represented to consumers that the Class Vehicles were environmentally
17   friendly and fuel efficient. Both representations, it turns out, were based on a lie: the Class
18   Vehicles were not, in fact, environmentally friendly, and could achieve their fuel economy only
19   through concealed emissions apparatuses that caused the vehicles to pollute excessively in real-
20   world driving conditions.
21               C.     FCA Misrepresents the Class Vehicles to Consumers in a Consistent and
                        Pervasive Marketing Campaign.
22

23               164.   Fiat Chrysler’s misleading representations about the Class Vehicles—including
24   their purported “green” credentials, superior fuel economy, and other performance
25   characteristics—were not limited to EcoDiesel badge. Indeed, FCA engaged in a full court press
26   to market the Class Vehicles, and to communicate to consumers the purported benefits of the
27   EcoDiesel engine. These communication efforts included, among other things: (1) press releases
28   aimed at generating positive news articles about the EcoDiesel attributes; (2) comprehensive

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 1   dealer training materials that taught dealers how to sell the Class Vehicles with false and
 2   misleading misrepresentations; (3) vehicle brochures disseminated at dealerships and elsewhere;
 3   (4) information and interactive features on FCA’s websites and blogs; and (5) print and television
 4   marketing.
 5                      1.     Press Releases and Media Communications
 6               165.   As early as 2013, FCA began issuing press releases that were sent directly to
 7   consumers and were also intended to generate consumer-facing articles and reviews about the
 8   EcoDiesel engine. There are many such examples. A representative sampling includes:
 9                      a.     A January 2013 press release announcing a “new, clean, 3.0-liter EcoDiesel
                               V-6 engine” in the Jeep Grand Cherokee. The release touts the “30 mpg
10                             highway with driving range of more than 730 miles,” and the “class-
                               leading 240 horsepower and massive 420lb.-ft of torque.” Notably, it also
11                             states that the “Selective Catalytic Reduction (SCR) help[s] the new
                               engine” be “clean” and “50-state legal.” FCA-MDL-001134988-90.
12
                        b.     An October 2013 press release notifying the media that the “[n]ew 2014
13                             Jeep Grand Cherokee EcoDiesel wins ‘Green’ category” of the 2014
                               Active Lifestyle Vehicle Awards. The release claims the Jeep EcoDiesel
14                             includes “clean-diesel technology” and delivers “best-in-class fuel
                               economy and driving range.” FCA-MDL-000519206-07.
15
                        c.     A February 2014 press release proclaiming that the “2014 Ram 1500
16                             EcoDiesel sets new fuel-economy benchmark of 28 MPG.” The release
                               repeatedly touts the EcoDiesel’s fuel economy and claims that its SCR and
17                             EGR systems—both of which were compromised by the AECDs described
                               herein—“contribute to 50-state compliance with Tier2/Bin 5 emissions
18                             regulations.” FCA-MDL-001142520-21.
19                      d.     A November 2014 press release announcing that the “Ram 1500 EcoDiesel
                               [was] named 2015 Green Truck of the Year by Green Car Journal.” The
20                             release states that the “Ram 1500 delivers an outstanding combination of
                               best-in-class fuel efficiency, unsurpassed torque and a surplus of towing
21                             capacity.” It also quotes the editor of Green Car Journal who noted that
                               “[t]he Ram 1500 EcoDiesel exemplifies what a ‘green’ truck should be.”
22                             FCA-MDL-000519290-01.
23                      e.     A January 2015 press release announcing that the “Jeep Grand Cherokee
                               EcoDiesel [was] named 2015 Green SUV of the Year by Green Car
24                             Journal.” The release again boasts the EcoDiesel’s “best-in-class” fuel
                               economy, “untouched” range, “class-leading” horsepower, “massive”
25                             torque, and its “clean-diesel technology.” FCA-MDL-001377187-88.
26                      f.     A November 2016 press release boasting “best-in-class fuel economy and
                               longest range with exclusive EcoDiesel – 29 mpg and 754 miles with Ram
27                             1500.” FCA-MDL-001185732-34.
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 1               166.   Notably, Marchionne himself was asked to approve, and did approve, a draft press
 2   release from February 2013 announcing that “Ram [was the] first to build light-duty diesel
 3   pickup.” The release promoted an “outstanding combination of best-in-class fuel efficiency, best-
 4   in-class torque and impressive capability.” It also stated that the “EcoDiesel . . . emissions are 60
 5   percent less than those produced by diesel powertrains 25 years ago.” FCA-MDL-001367858-59.
 6               167.   In some instances, these press releases were sent directly to consumers in “hand
 7   raiser” communications, as evidenced by a 2014 email to a prospective customer. That email
 8   “thanks [the prospective customer] for asking about the 2014 Ram 1500 EcoDiesel,”—which it
 9   says is “capable, efficient, and easy on the environment”—and links to a Ram “press release for
10   more information.” FCA-MDL-001180641.
11               168.   Even when not sent directly to consumers, all the press releases—and the
12   consistent representations about environmental friendliness, fuel economy, and performance
13   contained in them—were intended to, and did in fact, result in significant buzz and media
14   attention for the EcoDiesel vehicles, to which Plaintiffs and the Class Members were exposed.
15   The representations that resulted were false (because the vehicles contained concealed
16   components that compromised the emissions control systems in real-world driving conditions)
17   and deceptive (because the vehicles could not perform as represented without the concealed
18   emission control components).
19                      2.     Dealer Training Materials
20               169.   As noted above, FCA disseminated to its dealers comprehensive training materials
21   to help them communicate the EcoDiesel attributes to consumers, and ultimately, to sell more
22   Class Vehicles. Those materials consistently emphasized the (supposed) environmental
23   friendliness, fuel efficiency, and power of the EcoDiesel engine, among other attributes.
24               170.   Ram, for example, held a “targeted in-dealership training” through its dealer-
25   focused “Chrysler Academy” and disseminated an accompanying “participant reference guide.”
26   The document explains that the training is “focuse[d] on features of Ram 1500 and will help you
27   sell down your 2014 model year vehicles while it also helps you prepare for the 2015s.” This
28   training document includes an entire section on EcoDiesel, and as discussed above, it addresses

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 1   the “common misconception” that “[d]iesels are dirty” and instructs that “Diesel Exhaust Fluid
 2   (DEF) and Selective Catalyst Reduction lower the exhaust emissions of diesel engines.” Then,
 3   answering the question “How clean is the 3.0L EcoDiesel V6?” the guide explains that “[o]ur
 4   EcoDiesel runs extremely clean.” It also states that the engine “[c]omplies with all diesel-related
 5   emissions standards,” and notes that selling points of the diesel include its “Fuel efficiency,”
 6   “Power (Torque),” and “Quality, Reliability and Durability (QRD).” Finally, the guide includes
 7   an “in the media section” highlighting positive reviews and articles. FCA-MDL-000517194-245.
 8               171.   Jeep held a similar Chrysler Academy event for dealers and also disseminated an
 9   accompanying “product reference guide” with eight pages devoted exclusively to the EcoDiesel
10   engine. FCA-MDL-000518573-620. As with the Ram guide, the Jeep guide addresses the dirty
11   diesel stigma, and offers selling points to rebut it. The guide explains that the EcoDiesel engine
12   exhibits “confident power, surprisingly clean operation” and claims that “it is going to convert a
13   host of new customers to the impressive benefits of pulse-quickening acceleration and efficient
14   and ecological clean diesel operation.” It highlights the “clean operation and effective emissions
15   control,” specifically noting that the SCR and EGR systems combine to mitigate NOx and
16   produce “clean diesel operation.” Finally, as shown below, it includes a “Key messages” section
17   emphasizing the importance of fuel efficiency, “clean operation,” and “torque”:
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 1               172.   These themes are echoed almost verbatim in another, 13-page Chrysler Academy
 2   “Product Brief” focused exclusively on the EcoDiesel engine. FCA-MDL-001183753-65. As
 3   shown below, that product brief includes almost identical “key messages for your prospects,” and
 4   notes that the engine is “surprisingly responsible in view of ecological concerns.”
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 1               173.   Yet another Chrysler Academy “Web Launch” training session explains that its
 2   purpose was “to help participants” better understand the vehicles and, critically, to “[u]nderstand
 3   elements for effective presentations to shoppers.” It includes similar language about fuel
 4   economy, power, and environmental friendliness. It also explains that “for buyers who respect
 5   the environment, they should know this is a very clean diesel . . . very green without question.”
 6   FCA-MDL-001183766-901.
 7               174.   These are but a few examples that highlight the comprehensive training that FCA
 8   provided for its dealers. The objective of these trainings was to arm the dealers with selling
 9   points that they could relay to consumers—and they did just that. For the Class Vehicles, the
10   consistent selling point was the no-compromise combination of fuel efficiency, environmental
11   friendliness, and power. This selling point was false (because the vehicles contained concealed
12   components that compromised the emissions control systems in real-world driving conditions)
13   and deceptive (because the vehicles could not perform as represented without the concealed
14   emission control components).
15                      3.     Vehicle Brochures
16               175.   FCA also communicated directly with consumers through its vehicle brochures,
17   available both online and at the dealerships. These brochures are chock full of representations
18   about the EcoDiesel engine’s fuel economy, environmental friendliness, and power.
19               176.   The brochure for the 2014 Jeep Grand Cherokee, for example, devotes an entire
20   page to the EcoDiesel engine. That page depicts the EcoDiesel badge and also an image of the
21   engine with a green leaf on top. It states that the engine achieves “best-in class: 30 MPG fuel
22   economy[,] 730-mile driving range[,] 420 lb-ft of torque[, and] 7400-lb maximum towing.” It
23   further claims that “its reduced CO2 emissions display reverence for the environment” and even
24   goes so far as to state that “[p]roudly, the EcoDiesel meets and even exceeds the low emissions
25   requirements in all 50 states.” Excerpts from the two-page brochure spread are shown below:
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27               177.   The 2015 brochure makes similar claims. It again features the EcoDiesel badge

28   and environmental imagery. And it again boasts “best-in-class . . . 30 hwy mpg fuel economy”

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 1   and “a driving range of 730 highway miles.” It also states that the vehicles are “clean” and 50-
 2   state compliant, and even opens with this environmentally-focused introduction: “Love the planet
 3   along with great fuel economy? Then the Jeep Brand’s Diesel engine will ring true. It lets you
 4   adhere to your principles and get extra points for embracing innovative technology.”
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 1               178.   The 2016 brochure also features the EcoDiesel badge, and touts best-in-class fuel
 2   economy, range, horsepower, and torque. And it too states that “[t]he EcoDiesel exceeds the low-
 3   emissions requirements in all 50-states”:
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22               179.   The Ram 1500 brochures make similar claims. Like the Jeep Brochures, the 2014
23   Ram 1500 brochure devotes an entire page to the EcoDiesel engine, depicts the EcoDiesel badge,
24   and repeatedly touts the truck’s “best-in-class” fuel economy and “impressive” range. It also
25   boasts that the truck is “clean by nature” with “minimal CO2 levels” and a “[t]op-notch DEF
26   system.”
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 1               180.   The 2015 brochure also advertises “top-tier mpg ratings,” “superb driving range
 2   and best-in-class 28 mpg highway,” and claims the truck is “clean by nature” with “minimal CO2
 3   levels” and a “zero-hassle DEF system.”
 4               181.   The 2016 brochure again boasts “best-in-class 29 mpg highway fuel economy,”
 5   “up to 754-mile range,” “240 horsepower,” “420 lb-ft of torque,” “minimal CO2 levels” and a
 6   “zero-hassle DEF system.”
 7               182.   The brochures are tied together by common themes and sometimes identical
 8   language. The key representations made throughout were that the Class Vehicles delivered a no-
 9   compromise combination of fuel efficiency, environmental friendliness, and performance. Those
10   representations were false (because the vehicles contained concealed components that
11   compromised the emissions control systems in real-world driving conditions) and deceptive
12   (because the vehicles could not perform as represented without the concealed emission control
13   components).
14                      4.     FCA Websites
15               183.   FCA hosted a number of blogs and websites that promoted the EcoDiesel
16   technology, including the official Ram and Jeep websites, which many named Plaintiffs and Class
17   Members visited before making their purchase/lease decisions. Both company sites reiterated
18   FCA’s consistent messaging for the Class Vehicles—i.e., that they were clean, fuel efficient, and
19   high performing.
20               184.   A February 9, 2014, capture of the Jeep website, for example, includes a diesel tab,
21   under which it displays the EcoDiesel badge and tells viewers to “[f]orget everything you thought
22   you knew about diesel. The all-new jeep EcoDiesel engine offers innovative technology that is
23   efficient, increases range, and improves power – all while leaving little trace of being there.”43
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        Available at:
28   http://web.archive.org/web/20140209113901/http://m.jeep.com/en/jeep_capabilities/eco-diesel-
     calculator/#introduction (last visited April 19, 2018).
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12               185.   The Jeep website also includes separate pages featuring its supposed “Best-in-

13   Class maximum towing capacity,” “incredible 730-mile highway driving range,” and “superior

14   fuel economy.” As to fuel economy, the website also includes (and has included since at least

15   2014) a “savings calculator” that allows consumers to enter their miles driven per day and then

16   calculates their annual fuel savings using “Clean Diesel.”44

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28    Available at: https://m.jeep.com/en/jeep_capabilities/eco-diesel-calculator/#savings (last visited
     April 19, 2018).
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27               186.   Ram’s website made similar representations, touting the fuel economy,

28   horsepower, torque, and towing capacity of the EcoDiesel engine, and claiming that it was

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 1   “[e]quipped with a diesel oxidation catalyst, diesel particulate filter and selective catalyst
 2   reduction so it is emissions-compliant in all 50-states.”45
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16               187.   Like Jeep, Ram also included a fuel savings calculator, as well as graphics

17   comparing the best-in-class fuel economy to the competition:46

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        Available at:
25   http://web.archive.org/web/20160316042712/http://www.ramtrucks.com/en/ram_1500/capability/
     #link-3 (March 2016 web archive);
26   http://web.archive.org/web/20150215044120/http://www.ramtrucks.com:80/en/ram_1500/capabil
     ity#link-3 (Feb. 2015 web archive);
27   http://web.archive.org/web/20140214053830/http://www.ramtrucks.com:80/en/ram_1500/capabil
     ity/#link-3 (Feb. 2014 web archive) (all visited last on April 19, 2018).
     46
28      FCA-MDL-001184455-62; EcoDiesel – Ram 1500 HFE, Ram Trucks (FCA), available at
     https://www.ramtrucks.com/en/ecodiesel/ (last accessed July 19, 2017).
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25               188.   FCA made many similar representations throughout the many websites it operated,

26   including but not limited to the following:

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 1                      a.     The EcoDiesel engine is designed for those “who want to drive an efficient,
                               environmentally friendly truck without sacrificing capability or
 2                             performance.”47
 3                      b.     The Ram 1500 EcoDiesel is “the NAFTA market’s first and only light-duty
                               pickup powered by clean diesel technology.”48
 4
                        c.     “Thanks to advanced emissions-control technology . . . [EcoDiesel’s]
 5                             exhaust is ultra-clean, making this engine available in all 50 states.”
 6                      d.     “Equipped with a diesel oxidation catalyst, diesel particulate filter and
                               selective catalyst reduction, the EcoDiesel® V6 engine will be emissions-
 7                             compliant in all 50 states.”49
 8                      e.     “Chrysler Group engineers adapted the engine—manufactured by Fiat-
                               owned V.M. Motori—to meet the NAFTA region’s stringent emissions and
 9                             on-board diagnostic regulations. The new EcoDiesel® V-6 is Tier 2/Bin 5
                               compliant.”50
10
                        f.     The emissions on the EcoDiesel® engine data sheet meet Tier2 Bin5
11                             requirements.51
12                      g.     “[T]he Bosch emissions control system helps ensure that virtually no
                               particulates and minimal oxides of nitrogen (NOx) exit the tailpipe.”52
13

14               189.   Many named Plaintiffs and Class Members visited FCA’s websites to learn about

15   the Class Vehicles. On those websites, as in all the other ways FCA communicated to consumers,

16   FCA’s message was clear and consistent: the EcoDiesel engine delivers a no-compromise

17   package of fuel economy, range, performance, and environmental-friendliness. Those

18   representations were false (because the vehicles contained concealed components that

19   compromised the emissions control systems in real-world driving conditions) and deceptive

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     47
21      The 2014 Ram 1500 with EcoDiesel Engine, Available Soon at a Dealer Near You, Ram Zone
     (Ram trucks blog operated by FCA US LLC) (July 16, 2013),
22   https://blog.ramtrucks.com/features/the-2014-ram-1500-with-ecodiesel-engine-available-soon-at-
     a-dealer-near-you/.
     48
23      Chrysler Group’s 3.0-liter EcoDiesel V-6, 500e Battery-Electric Drive System Among Ward’s
     10 Best Engines for 2014, Chrysler Group LLC (FCA) (Dec. 12, 2013), http://www.fcanorth
24   america.com/News/ChryslerDocuments/ChryslerGroupLLC_Sustain2013Dec12.pdf (emphasis
     added).
     49
25      The 2014 Ram 1500 with EcoDiesel Engine, Available Soon at a Dealer Near You, supra note
     47.
     50
26      Chrysler Group’s 3.0-liter EcoDiesel V-6, 500e Battery-Electric Drive System Among Ward’s
     10 Best Engines for 2014, supra note 48.
     51
27      L630 Specification Sheet, VM Motori S.p.A., available at
     http://www.vmmotori.com/images/data_sheet/L630_DOHC-NEW.pdf (last accessed July 19,
28   2017).
     52
        EcoDiesel: An Essential Tool for Every Outdoorsman, supra note 39.
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 1   (because the vehicles could not perform as represented without the concealed emission control
 2   components).
 3                      5.     Print Media and Television
 4               190.   FCA reiterated its consistent representations—particularly the fuel economy
 5   representations—through print media and television commercials.
 6               191.   The print ad campaign was robust. One FCA-produced document identifies over
 7   250 Ram print ad buys in several dozen publications from June 2014 to October 2016. FCA-
 8   MDL-000519349. Another document shows expenditures of almost $300,000 to place Jeep
 9   EcoDiesel print ads in a variety of magazines in June through August 2013. FCA-MDL-
10   001360559. Yet another document identifies additional ad buys for 14 newspapers across the
11   country. FCA-MDL-000519351. And Plaintiffs’ own investigation has revealed even more print
12   ad placements in additional publications.
13               192.   Critically, virtually all of the print ads for the Class Vehicles contain the same or
14   similar relevant representations, including: (1) the word “EcoDiesel” and/or the EcoDiesel badge,
15   and (2) fuel economy claims such as specific MPG ratings, “most fuel efficient,” and “best-in-
16   class” fuel economy. Three illustrative examples, one for the Jeep Grand Cherokee Class
17   Vehicles and two for the Ram 1500 Class Vehicles, are shown below:
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25               193.   The television commercial campaign was also extensive, and also conveyed
26   consistent messages. One FCA document shows 17,595 discrete commercial buys between
27   January 2014 and September 2016, including during prominent and widely-viewed programing.
28   FCA-MDL-000519350.
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 1               194.   Some examples of the relevant commercials (a portion of which are not included
 2   in the chart described above) include:
 3                      a.     A commercial entitled “West” that prominently features the EcoDiesel
                               badge, and promotes the Ram 1500 EcoDiesel’s “28 highway MPG” and
 4                             “9,200 lbs towing.” FCA-MDL-000512961.
 5                      b.     A commercial entitled “Roar” that prominently features the EcoDiesel
                               badge, and promotes the Ram 1500 EcoDiesel’s “28 highway MPG” and
 6                             “420 lb-ft torque.” FCA-MDL-000512962.
 7                      c.     A commercial entitled “Runaway” that prominently features the EcoDiesel
                               badge and promotes the Jeep Grand Cherokee EcoDiesel’s “best-in-class
 8                             30 MPG hwy” and “730-mile driving range.” FCA-MDL-000518756. Per
                               the commercial buy document described above, this commercial ran
 9                             approximately 1,000 times in January 2014.
10                      d.     A commercial entitled “Take Every Mile” that features the EcoDiesel
                               badge and promotes the Jeep Grand Cherokee EcoDiesel’s “730-mile
11                             driving range.” FCA-MDL-000518759. Per the commercial buy
                               document described above, this commercial ran approximately 400 times
12                             in two weeks in February 2016.
13                      e.     A commercial entitled “The Truth About Diesel” that “bust[s] some myths
                               about diesel engines,” including that “all SUVs get bad gas mileage, diesel
14                             engines are dirty, and they run sluggish.” All three myths were “totally
                               busted,” and the video specifically boasts the Jeep Grand Cherokee
15                             EcoDiesel’s “30 MPG and a 730-mile driving range.” It also depicts a man
                               “check[ing] the data” on the emissions from the tailpipe and remarking
16                             “Wow, the greenhouse gas emissions are lower than a regular gasoline
                               engine.” FCA-MDL-001418576.
17

18               195.   Like the rest of Fiat Chrysler’s consumer communications, these commercials
19   represented that the Class Vehicles were green (both through explicit representations and
20   depictions of the EcoDiesel name and badge) and fuel efficient. These representations were
21   pervasive and consistent. They were also false (because the vehicles contained concealed
22   components that compromised the emissions control systems in real-world driving conditions)
23   and deceptive (because the vehicles could not perform as represented without the concealed
24   emission control components).
25                                                    ***
26               196.   The Defendants saw the EcoDiesel technology as a huge opportunity to increase
27   their sales and profits. They understood that to realize this goal, they would have to overcome the
28   “dirty diesel” stigma, and convince consumers that the Class Vehicles offered a no-compromise

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 1   package of fuel efficiency, environmental friendliness, and power. Fiat Chrysler’s efforts to
 2   communicate this message to consumers were far reaching and consistent. They were also false
 3   and deceptive.
 4               197.   Defendants had multiple opportunities, and obligations, throughout their marketing
 5   communications to disclose the uniform truth about the Class Vehicles—namely, that all their
 6   emissions, fuel economy, and performance claims were predicated on concealed emissions
 7   control components and software that caused the Class Vehicles to pollute excessively in real-
 8   world driving conditions. This uniform omission and unvarying concealment prevented any and
 9   all consumers from making a purchase based on all material facts.
10               D.     The Defendants Knew These Representations Were False and Misleading.
11               198.   Unfortunately, the EcoDiesel technology did not work as represented. In
12   developing the Class Vehicles, the Defendants came to understand that they could not make the
13   vehicles environmentally friendly or “50-state compliant”—as they represented to consumers
14   through consistent and pervasive communications—and that the vehicles could not achieve the
15   fuel economy and performance that were central to Fiat Chrysler’s marketing efforts without
16   installing components and software that de-activated or reduced the emission control system
17   during real-world driving conditions. The Defendants concealed this fact from the regulators and
18   consumers alike, and cheated Plaintiffs and Class Members of the vehicles they thought they were
19   buying.
20               199.    The Defendants’ scheme focused on at least two of the emissions control systems
21   in the Class Vehicles—both of which Fiat Chrysler pitched to consumers as enablers of the Class
22   Vehicles purported “clean” operation: (1) the Exhaust Gas Recirculation (“EGR”) system and (2)
23   the Selective Catalytic Reduction (“SCR”) system.
24               200.   The EGR system reduces NOx in diesel emissions by lowering the temperature of
25   the exhaust gas exiting the engine. The SCR system takes the NOx leftover from the EGR
26   System and converts it into harmless nitrogen and water. Together, the EGR and SCR systems
27   are vital to mitigating the pollution from the Class Vehicles’ diesel emissions.
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 1               201.   As identified in the EPA’s NOV, the Defendants installed a number of undisclosed
 2   auxiliary emission control devices (“AECDs”) in the Class Vehicles that compromised the EGR
 3   and SCR systems and resulted in substantially increased NOx emissions during real-world driving
 4   conditions. As exemplified herein, the Defendants knew that these AECDs were not allowed, but
 5   that the Class Vehicles could not achieve the fuel economy or performance that the Defendants
 6   marketed without them.
 7                      1.     EGR AECD Strategy: EGR Rate Reduction
 8               202.   Burning diesel fuel creates NOx. The amount of NOx produced by a diesel
 9   vehicle is a function of temperature: the hotter the exhaust gas is when it exits the engine, the
10   more NOx it emits.
11               203.   The EGR system minimizes NOx by lowering the temperature of the engine
12   exhaust through a recirculation process. The higher the rate of exhaust gas recirculation (the
13   EGR rate), the lower the exhaust gas temperature. The lower the exhaust temperature, the lower
14   the NOx. But, critically, the higher the EGR rate in a vehicle, the worse fuel economy it
15   achieves. Defendants employed the EGR AECDs in the Class Vehicles to either reduce the EGR
16   rate or shut it off entirely, thereby artificially and secretly increasing the Class Vehicles’ fuel
17   economy and drivability at the expense of increased NOx.
18               204.   One of the strategies Defendants used to reduce the EGR rate was through what
19   the EPA has named AECD 5, which detects the engine temperature in the Class Vehicles and
20   reduces the EGR rate during the vehicles’ “warm-up phase” (the phase when the engine is heating
21   up after a cold start). The EPA described AECD 5 as “EGR rate reduction based on engine
22   temperature model.” Defendants referred to it as “T_Eng” and various derivatives thereof (e.g.,
23   “t_engine” and “tEng”).
24               205.   VM Motori knew as early as 2010 that T_Eng was an AECD (FCA-MDL-
25   000456083) that, if concealed, would be illegal. In April 2010, a Fiat Chrysler powertrain
26   division employee attempted to assure VM Motori’s Controls and Calibration Director, Sergio
27   Pasini, that T_Eng did not employ “cycle detection” FCA-MDL-000452591. “Cycle detection”
28   refers to any mechanism that allows a vehicle to detect when it is undergoing regulatory

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 1   emissions testing, and modify its emissions accordingly. But Pasini knew better. Just two
 2   months later, he told his VM Motori colleagues, “the [EGR] rate will be managed mainly on
 3   t_engine which is, no matter what FIAT says, a cycle detection.” Id. VM Motori regularly
 4   admitted that the T_Eng function employed “cycle detection” (12/2011 correspondence—FCA-
 5   MDL-000168161); “cycle recognition” (1/2012 correspondence—FCA-MDL-000377513; FCA-
 6   MDL-000377513_T001 (English translation)); and “cycle beating” (02/2013 correspondence—
 7   FCA-MDL-000430441-44; 06/2013—FCA-MDL-000295256). Pasini also understood that this
 8   AECD was not being disclosed to the EPA. FCA-MDL-000377499; FCA-MDL-
 9   000377499_T001-02 (English translation). In a May 2013 email, for example, Pasini told more
10   than a dozen of his VM Motori colleagues that the T_Eng function was not active during
11   emission testing and “has not been declared to regulators.” Id.
12               206.   Fiat Chrysler also knew that T_Eng was an AECD, and critically, all the
13   Defendants understood that it was necessary to achieve the desired fuel economy. In December
14   2011, VM Motori identified T_Eng as a “sort of ‘cycle detection” to increase fuel economy
15   (FCA-MDL-000168161) and said Fiat Chrysler gave them approval to use it (FCA-MDL-
16   000377211). In January 2012, FCA Executive Bob Lee connected T_Eng to FCA’s objective of
17   achieving greater fuel economy in a presentation entitled “Fuel Economy Status Target.” FCA-
18   MDL-000000116. In February 2012, VM Motori directed Bosch to implement T_Eng, and told
19   Bosch that VM Motori would explain to Fiat Chrysler that T_Eng was “what you need if you
20   want 30 mpg.” FCA-MDL-000015652 (emphasis added). Fiat Chrysler later explored ideas to
21   replace T_Eng with a different strategy, but it abandoned that process after VM Motori informed
22   FCA’s Diesel Calibration Manager that the “F[uel] E[conomy] impact [of replacing T_Eng] is
23   probably around 2 mpg highway.” FCA-MDL-000430044 (emphasis added). In an email sent
24   the next day, VM Motori’s Emanuele Palma told colleagues that “Chrysler knows tEng is the
25   only way to get to 30 mpg, so don’t worry about this topic.” Id. (emphasis added).
26               207.   Like VM Motori and Fiat Chrysler, Bosch also knew that T_Eng was an AECD
27   that likely qualified as an “defeat device” under applicable regulations. FCA-MDL-000015652.
28   In February 2012, Bosch warned VM Motori that T_Eng is an emissions “defeat device” and that

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 1   they risked “serious penalties” if regulators found T_Eng to be cycle detection. Id. VM Motori
 2   refused to abandon T_Eng, however, and told Bosch “we are working closely with Chrysler [and]
 3   the feedback we’ve had so far about [using T_Eng] is positive.” Id. The same month, Bosch
 4   sought to limit its liability from VM Motori’s use of T_Eng, and even considered asking VM
 5   Motori to sign a risk release. RBL-MDL2777-PE-300402775-78. Yet, Bosch not only
 6   incorporated T_Eng into the emissions software for the Class Vehicles (FCA-MDL-000351953),
 7   Bosch appears to gone so far as to have advised VM Motori not to disclose T_Eng to regulators,
 8   if it planned to use the function (see, e.g., RBL-MDL2777-PE-300530521-23). Of course, this is
 9   exactly what they did.
10               208.   On December 2, 2015, Morrie Lee of FCA Regulatory Affairs asked FCA Senior
11   Manager Emanuele Palma “[w]hat compelling or driving reason does a[n] [automobile
12   manufacturer] have to reduce EGR operation in the field?” FCA-MDL-000002857. Palma
13   responded simply: “Low EGR → low soot, good drivability, F[uel] E[conomy].” Id. (emphasis
14   added). Two days later, Lee told the EPA that Fiat Chrysler’s failure to document T_Eng as an
15   AECD was “an oversight of understanding.” FCA-MDL-000002011. The documents cited
16   herein show otherwise.
17                      2.     SCR AECD Strategy: Dosing Disablement
18               209.   The SCR system uses DEF—a solution of urea and water—to convert NOx into
19   harmless nitrogen and water after it exits the EGR system and before it is emitted from the
20   tailpipe. The part of the emissions system where this process occurs is called the SCR catalyst.
21   In theory, the SCR system injects or “doses” measured quantities of DEF into the exhaust stream
22   based on a software program that injects the right amount of DEF to neutralize the amount of
23   NOx being emitted by the engine.
24               210.   However, Defendants employed the SCR AECDs to either reduce the DEF dosing
25   amount or shut it down entirely. With the DEF dosing reduced or disabled, the Class Vehicles
26   emit more NOx.
27               211.   Reduced DEF dosing was important to Defendants for at least two reasons. First,
28   the more DEF the Class Vehicles consumed, the more frequently consumers would have to refill

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 1   the DEF tank—an inconvenience that would make the vehicles less marketable. Second, by the
 2   time the first Class Vehicles hit the market, the Defendants realized that the chemicals in the DEF
 3   were breaking down the materials in the SCR catalyst and causing these components to fail
 4   prematurely, which could be mitigated by reducing DEF dosing (at the expense of increased
 5   emissions).
 6               212.   The Defendants relied heavily on an alternative DEF dosing mode called “online
 7   dosing,” which limited the injection of DEF into the SCR catalyst, thereby compromising the
 8   SCR system. The EPA identified this alternative dosing functionality as AECD 7.53 Bosch and
 9   VM Motori first discussed “online dosing” in March 2011. FCA-MDL-000281212-14. Both
10   parties acknowledged that, if used, online dosing would have to be disclosed as an AECD. Id.
11   (“online dosing . . . could also be used outside cert cycle [but] needs to be declared at CARB”).
12   Yet, in November 2012, Bosch implemented a software change to prevent online dosing from
13   activating during EGR diagnostic monitoring (RBL-MDL2777-PE-300068645-48), and in
14   February 2013, Kasser Jaffri of FCA’s On Board Diagnostic group expressed concern to VM
15   Motori that CARB might see online dosing as “cycle beating” (FCA-MDL-000430441). Jaffri
16   concluded that, if applied, online dosing would have to be disclosed as an AECD. FCA-MDL-
17   000478134 (“Chrysler will request an AECD for [online dosing]”). It did not do so.
18               213.   VM Motori then told Fiat Chrysler in March 2013 that it was not going to use the
19   online dosing strategy. FCA-MDL-000433186. They used it anyway. In September 2013, Jaffri
20   reported to FCA Senior Manager Dan Hennessey, head of the On Board Diagnostic group, that
21   online dosing was (1) active in the vehicles; (2) had not been disclosed to CARB or the EPA; and
22   (3) “reduces the conversion efficiency effectiveness,” thereby resulting in increased NOx
23   emissions. FCA-MDL-000740696. Understandably, Jaffri observed that this “continues to be an
24   area of concern.” Id. He also told Hennessy that when online dosing was active, diagnostic
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27      Defendants also employed related strategies to reduce DEF dosing, including tying the dosing
     to SCR adaptation (the process by which the SCR system modifies the dosing rate based on in-
28   use monitoring) (FCA-MDL-000383765), and the load governor (the component that controls the
     flow of DEF into the SCR catalyst) (FCA-MDL-000750062).
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 1   monitoring meant to track the performance of the SCR system “cannot be run”, because, if active,
 2   the diagnostic monitoring would reveal that the SCR system was not functioning. Id.
 3               214.   In September 2014, Fiat Chrysler senior management, including March Shost and
 4   Dan Hennessey, received a presentation from Emanuele Palma entitled “WK/DS MY15 DEF
 5   dosing strategy.” One slide in that presentation labeled “online dosing strategy” noted that Fiat
 6   Chrysler’s competitors were using online dosing and that Fiat Chrysler could too—but, critically,
 7   that the dosing strategy needed “to be agreed with the agencies.” FCA-MDL-000417114-25. No
 8   such agreement was reached, because Fiat Chrysler never disclosed the functionality.
 9               215.   In July 2015, Fiat Chrysler acknowledged that tests conducted on the Model Year
10   2014 Class Vehicles showed that the vehicles were not meeting NOx emissions standards because
11   the SCR catalysts—which Bosch provided for the Class Vehicles (RBL-MDL2777-PE-
12   300160491-504)—were failing (FCA-MDL-000713128). In a presentation given that month
13   entitled “SCR Catalyst Responsibility Share,” Bosch noted in its “investigation history”
14   chronology that it began to investigate the SCR catalyst as the reason FCA development vehicles
15   were experiencing excess NOx emissions in February 2013. RBL-MDL2777-PE-300166279-
16   362. The investigation chronology further identified a “dosing calibration strategy change” to
17   reduce dosing rates. Id. Bosch admitted that VM Motori made the change on Bosch’s
18   recommendation. Id.
19               216.   In sum, the Defendants all knew that the Class Vehicles contained undisclosed
20   apparatuses that reduced or disabled the emissions control systems in real-world driving
21   conditions, and they knew that without those undisclosed apparatuses, the Class Vehicles could
22   not deliver the fuel economy and performance that Fiat Chrysler promised. Defendants concealed
23   this fact from consumers and regulators and, in so doing, cheated Plaintiffs and Class Members of
24   the vehicles they thought they were buying.
25   IV.         “DIESELGATE” SCANDALIZES THE GLOBAL AUTO INDUSTRY.
26               217.   The world was shocked to learn that Volkswagen had manufactured over
27   11 million diesel cars that were on the roads in violation of European emission standards, and
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 1   over 565,000 vehicles operating in the United States in violation of EPA and state emission
 2   standards. But Volkswagen was not the only one.
 3               218.   In the wake of the Volkswagen “defeat device” scandal,54 scientific literature and
 4   reports and testing indicate that many other so-called “clean diesel” vehicles emit far more
 5   pollution on the road than in lab tests. The EPA has since widened its probe of diesel emissions
 6   to include the Class Vehicles at issue here.
 7               219.   In May 2015, a study conducted on behalf of the Dutch Ministry of Infrastructure
 8   and the Environment found that all sixteen (16) diesel vehicles made by different manufacturers,
 9   when tested, emitted significantly more NOx on real-world trips but nevertheless passed
10   laboratory tests. The report concluded that “[i]n most circumstances arising in normal situations
11   on the road, the system scarcely succeeded in any effective reduction of NOx emissions.”55
12               220.   The report further remarked:56
13               It is remarkable that the NOx emission under real-world conditions exceeds the
                 type approval value by [so much]. It demonstrates that the settings of the engine,
14               the EGR [(exhaust gas recirculation)] and the SCR during a real-world test trip are
                 such that they do not result in low NOx emissions in practice. In other words: In
15               most circumstances arising in normal situations on the road, the systems
                 scarcely succeed in any effective reduction of NOx emissions.
16

17   The lack of any “effective reduction of NOx emissions” is devastating to “clean diesel”
18   advertising, including that for the Class Vehicles at issue here.
19               221.   Other organizations are beginning to take notice of the emission deception. The
20   Transportation and Environment (“T&E”) organization, a European group aimed at promoting
21   sustainable transportation, compiled data from “respected testing authorities around Europe.”
22
     54
23      The EPA’s Sept. 18, 2015 Notice of Violation to Volkswagen Group of America, Inc.,
     available at https://www.epa.gov/sites/production/files/2015-10/documents/vw-nov-caa-09-18-
24   15.pdf. As detailed therein, software detects when the vehicle is undergoing official emission
     testing and turns full emission controls on only during the test. But otherwise, while the vehicle
25   is running, the emission controls are suppressed. This results in cars that meet emission standards
     in the laboratory or at the state testing station, but during normal operation they emit NOx at up to
26   40 times the standard allowed under U.S. laws and regulations. Volkswagen has admitted to
     installing a defeat device in its diesel vehicles.
     55
27      Detailed investigations and real-world emission performance of Euro 6 diesel passenger cars,
     TNO (May 18, 2015), http://publications.tno.nl/publication/34616868/a1Ug1a/TNO-2015-
28   R10702.pdf.
     56
        Id. at 6 (emphasis added).
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 1   T&E stated in September 2015 that real-world emission testing showed drastic differences from
 2   laboratory tests, such that models tested emitted more pollutants on the road than in the lab. “For
 3   virtually every new model that comes onto the market the gap between test and real-world
 4   performance leaps,” the report asserts.57
 5               222.   In a summary report, T&E graphically depicted the widespread failure of most
 6   manufacturers to meet emission standards:58
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26      VW’s cheating is just the tip of the iceberg, Transport & Environment (Sept. 21, 2015),
     http://www.transportenvironment.org/publications/vw%E2%80%99s-cheating-just-tip-iceberg.
     58
27      Five facts about diesel the car industry would rather not tell you, Transport & Environment
     (Sept. 2015),
28   http://www.transportenvironment.org/sites/te/files/publications/2015_09_Five_facts_
     about_diesel_FINAL.pdf.
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 1               223.   The T&E report found that the current system for testing cars in a laboratory
 2   produces “meaningless results,”59 because manufacturers like Fiat Chrysler can engineer their
 3   cars to “pass” the laboratory tests but emit many times as much pollution under normal driving
 4   conditions.
 5               224.   Emissions Analytics is a U.K. company formed to “overcome the challenge of
 6   finding accurate fuel consumption and emission figures for road vehicles.” With regard to its
 7   recent on-road emission testing, the company explains:60
 8               [I]n the European market, we have found that real-world emissions of the
                 regulated nitrogen oxides are four times above the official level, determined in the
 9               laboratory. Real-world emissions of carbon dioxide are almost one-third above
                 that suggested by official figures. For car buyers, this means that fuel economy on
10               average is one quarter worse than advertised. This matters, even if no illegal
                 activity is found.
11

12   V.          DEFENDANTS ARE CAUGHT CHEATING.
13               A.     Plaintiffs’ Testing Reveals Cheating.
14               225.   In late 2016, counsel for Plaintiffs tested the 2015 Ram 1500 pickup using a
15   Portable Emissions Measurement System (“PEMS”). Testing revealed that Fiat Chrysler also
16   cheated in that it had concealed the fact that the Ram 1500 spews more than the legal amount of
17   emissions and fails to meet its own “no NOx” out-of-the-tailpipe promise.
18               226.   The applicable standard both at the federal and state level is 50 mg/mile of NOx
19   for “FTP Style” driving: i.e., city driving. Testing was conducted with a PEMS unit to simulate
20   driving conditions under both the FTP certification cycle and the highway certification cycle.
21   The Ram 1500 emits an average of 159 mg/mile of NOx and a maximum of 1,283 mg/mile on flat
22   roads, and 222 mg/mile of NOx with a maximum of 1,859 mg/mile on hills. For highway
23   driving, the average was 232 mg/mile and a maximum of 1,615 mg/mile, compared to the 70
24   mg/mile standard. On hills, the numbers are 353 mg/mile and 3,240 mg/mile. Testing also
25   revealed a device triggered by ambient temperature that significantly derates the performance of
26   the NOx emission reduction system, with ambient threshold temperatures above approximately
27
     59
       Id.
     60
28     Emissions Analytics Press Release, (Sept. 28, 2015), available at http://www.abvwc.com/
     home/emissions-analytics.(last accessed July 19, 2017).
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 1   95ºF and below 40-50ºF. The resulting NOx emissions increase by a factor of 10 when above or
 2   below these threshold temperatures. Testing also revealed the presence of a device that is
 3   triggered when ascending hills, as the emission control system appears to be significantly derated
 4   after a short period of steady driving on hills. As a result, NOx emissions increase after about
 5   500-1000 seconds on hills with grades as low as 1%, where emissions are often 10 times the
 6   highway standard. For grades as little as 0.4%, emissions were found to be as high as 6 times the
 7   highway standard.
 8               227.   The Ram 1500’s emission software is a “Bosch EDC17,” as is the Jeep Grand
 9   Cherokee’s emission software. The same basic emission system is in the Grand Cherokee
10   EcoDiesel® and the engines are identical.
11               228.   In separate testing by counsel for Plaintiffs, a 2014 Ram 1500 equipped with an
12   EcoDiesel® engine and featuring SCR NOx after-treatment technology was tested on a chassis
13   dynamometer as well as on the road. In both scenarios, gaseous exhaust emissions, including
14   oxides of nitrogen (NOx), nitrogen oxide (NO), carbon monoxide (CO), carbon dioxide (CO2),
15   and total hydrocarbons (THC) were measured on a continuous basis using a PEMS from
16   Horiba®.
17               229.   The tests showed significantly increased NOx emissions during on-road testing as
18   opposed to testing on a chassis dynamometer (i.e., in the laboratory). On the road, over an
19   urban/suburban route, the vehicle produced average NOx emissions that exceeded federal
20   certification standards by approximately 15-19 times. When tested on a highway, the average
21   NOx emissions measured 35 times the EPA Tier 2 Bin 5 standard.
22               B.     The EPA Issues A Notice of Violation to Fiat and FCA.
23               230.   On January 12, 2017, the EPA issued a NOV to Fiat and FCA for failing to justify
24   or disclose defeat devices in model year 2014–2016 Ram 1500 EcoDiesel® and 2014–2016 Jeep
25   Grand Cherokee EcoDiesel® vehicles (the Class Vehicles at issue here). CARB also issued a
26   Notice of Violation to Fiat and FCA. Since then, the EPA, by and through the Department of
27   Justice, has sued Fiat, FCA, VM Italy, and VM America for violations of the CAA.
28

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 1               231.   The EPA’s NOV and lawsuit arose in part from emission testing performed by the
 2   EPA at the National Vehicle and Fuel Emissions Laboratory. The EPA performed this testing
 3   “using driving cycles and conditions that may reasonably be expected to be encountered in
 4   normal operation and use, for the purposes of investigating a potential defeat device.”
 5               232.   The EPA identified at least eight AECDs in the Class Vehicles that were concealed
 6   on COC applications:
 7               •      AECD 1 (Full EGR Shut-Off at Highway Speed)
 8               •      AECD 2 (Reduced EGR with Increasing Vehicle Speed)
 9               •      AECD 3 (EGR Shut-off for Exhaust Valve Cleaning)
10               •      AECD 4 (DEF Dosing Disablement during SCR Adaptation)
11               •      AECD 5 (EGR Reduction due to Modeled Engine Temperature)
12               •      AECD 6 (SCR Catalyst Warm-Up Disablement)
13               •      AECD 7 (Alternative SCR Dosing Modes)
14               •      AECD 8 (Use of Load Governor to Delay Ammonia Refill of SCR Catalyst)
15               233.   The EPA testing found that “some of these AECDs appear to cause the vehicle to
16   perform differently when the vehicle is being tested for compliance with the EPA emission
17   standards using the Federal emission test procedure (e.g., FTP, US06) than in normal operation
18   and use.” For example:
19                      a.     AECD 3, when combined with either AECD 7 or AECD 8, disables the
                               EGR system without increasing the effectiveness of SCR system. Under
20                             some normal driving conditions, this disabling reduces the effectiveness of
                               the overall emission control system. The AECD 3 uses a timer to shut off
21                             the EGR, which does not appear to the EPA to meet any exceptions to the
                               regulatory definition of “defeat device.”
22
                        b.     AECD 5 & 6 together reduce the effectiveness of the NOx emission control
23                             system, using a timer to discontinue warming of the SCR after-treatment
                               system, which reduces its effectiveness.
24
                        c.     AECD 4, particularly when combined with AECD 8, increases emissions
25                             of tailpipe NOx during normal vehicle operation and use. The operation of
                               AECD 1, AECD 2, and/or AECD 5 increase the frequency of occurrence of
26                             AECD 4.
27                      d.     AECDs 7 & 8 work together to reduce NOx emissions during variable-
                               grade and high-load conditions.
28

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 1               234.   The EPA further found that Fiat and FCA did not disclose or justify these control
 2   devices in their COC applications, as required by EPA regulations, and that Fiat and FCA were
 3   therefore in violation of the CAA each time they sold, offered for sale, introduced in commerce,
 4   or imported one of the approximately 103,828 Class Vehicles. The EPA is now seeking
 5   injunctive relief and penalties.
 6               C.     Bosch Software Documentation Further Verifies the Violations
 7               235.   Researchers have obtained Bosch software documentation describing the
 8   functions, modules, structure, variables and calibration parameters believed to be installed in
 9   Class Vehicles. The documentation is over 10,000 pages long and contains hundreds of functions
10   and thousands of variables developed by Bosch that describe the operation of the engine. These
11   parameters and functions correlate with many of the violations alleged by the EPA and CARB.
12   Critically, these functions, designed and implemented by Bosch, have elements that have no
13   legitimate purpose in normal use. At the same time, these same elements, when enabled, allow
14   the functions to reduce the effectiveness of emission controls in real world driving conditions, but
15   not during an emission test cycle.
16                      1.     AECDs 1 and 2: Reducing or Disabling EGR at Highway Speeds
17               236.   The function named “AirCtl_RatDesValCalc” described in the Bosch
18   documentation as “Exhaust gas recirculation control - EGR ratio setpoint calculation” is used to
19   calculate the desired EGR rate. The software documentation contains figures with flow diagrams
20   describing the inputs, outputs, and calculation performed by this software function. Bosch has
21   included vehicle speed as an input used by the EGR control function to modify the EGR rate
22   (and, thus, NOx emission). Vehicle speed is notable because there is no legitimate reason for the
23   EGR rate to depend directly on vehicle speed.
24               237.   By allowing EGR rate to depend directly on vehicle speed, Bosch provided a
25   means by which Fiat and FCA could reduce the effectiveness of the emission control system
26   under conditions which may reasonably be expected to be encountered in normal vehicle
27   operation and use. This function may be, and is likely to have been, used to implement the
28   undisclosed AECDs 1 and 2 identified in the EPA NOV to Fiat and FCA.

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 1                      2.     AECD 3: EGR Shut-Off for Exhaust Valve Cleaning
 2               238.   AECD 3 identified in the EPA NOV has also been identified in Bosch’s software

 3   documentation in the function named “AirCtl_Mon” described in the Bosch documentation as

 4   “Exhaust gas recirculation control – Monitoring and shut-off.” Bosch described this AECD as

 5   ostensibly providing a cleaning mechanism for the engine exhaust valves when the Class Vehicle

 6   is in overrun (i.e., the engine is turning without combustion, such as when the vehicle is going

 7   downhill). To accomplish this cleaning, the function created by Bosch closes the EGR valve

 8   (turning off EGR), so a “huge gush of clean air” can remove deposits. However, Bosch also

 9   programmed a software switch (named “AirCtl_swtOvrRunOff_C”) that allowed Fiat and FCA to

10   enable exhaust valve cleaning in normal (non-overrun) operation, effectively disabling EGR.

11               239.   Together with an activation delay added by Bosch—controlled by

12   AirCtl_tiEngRunDrvCycMin_C, which is described as “Calibration time after which exhaust

13   valve cleaning routine can start”—the AirCrl_Mon function can be readily used as a defeat

14   device. To do so, Bosch would calibrate the ECU to enable valve cleaning in outside of overrun

15   (AirCtl_swtOvrRunOff_C = TRUE), but only after the duration of a typical emission test cycle

16   (AirCtl_tiEngRunDrvCycMin_C = 1800 seconds). This would disable EGR after an emission test

17   cycle, resulting in increased NOx emission. This function may be, and is likely to have been,

18   used to implement undisclosed AECD 3 identified in in the EPA and CARB NOVs.

19                      3.     AECD 7: Alternative SCR Dosing Modes
20               240.   Bosch included a timer in another function, without a legitimate purpose. The

21   Bosch function named “SCRFFC_Main,” described in documentation as “Calculation of the NH3

22   precontrol quantity” has an input variable timer entitled “CoEng_tiNormal,” which holds the

23   time duration since the engine was started. This variable can be used to reduce SCR efficiency,

24   and, therefore, increase NOx emission, after a certain time has elapsed. In particular, this timer

25   may be set to the duration of a typical emission test cycle. There is no legitimate reason for SCR

26   control to depend directly on the time duration since engine start. By making SCR control

27   depend directly on time duration since engine start, however, Bosch has provided a means by

28   which Fiat and FCA could reduce the effectiveness of the emission control system in real world

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 1   driving conditions. This function may be, and is likely to have been, used to implement
 2   undisclosed AECD 7 identified in the EPA and CARB NOVs.
 3               D.     West Virginia University Testing of the Class Vehicles
 4               241.   Beginning in 2015, researchers at the West Virginia University Center for
 5   Alternative Fuels, Engines, and Emissions—the same researchers instrumental in uncovering
 6   Volkswagen’s fraud—tested 5 model year 2014 and 2015 vehicles produced by FCA. The test
 7   vehicles comprised the Class Vehicles at issue here: Jeep Grand Cherokees and Ram 1500 diesel
 8   vehicles, all equipped with the 3.0L EcoDiesel® engine, and featuring SCR NOx after-treatment
 9   technology.61
10               242.   All test vehicles were evaluated on a vehicle chassis dynamometer representing the
11   test conditions for regulatory compliance. Each vehicle was also tested over-the-road using a
12   PEMS device during a variety of driving conditions including urban/suburban and highway
13   driving.
14               243.   One of the Jeep Grand Cherokees and one of the Ram 1500 vehicles was tested
15   prior to, as well as after, a mandatory vehicle recall in April 2016 – the “R69 recall” – which
16   included a software “reflash” by FCA that concerned the vehicles’ emission control systems.
17               244.   Results indicated that both Jeep Grand Cherokee and Ram 1500 in MY 2014
18   exhibited significantly increased NOx emissions during on-road operation as compared to the
19   results observed through testing on the chassis dynamometer. For MY 2015, Jeep vehicles
20   produced from 4 to 8 times more NOx emissions during urban/rural on-road operation than the
21   certification standard, while Ram 1500 vehicles emitted approximately 25 times the NOx
22   permitted by EPA Tier2-Bin5 standard for highway driving conditions.
23               245.   The researchers noted that for the vehicles tested post-recall using the
24   dynamometer, NOx emissions were similar or slightly lower than that observed for vehicles tested
25   pre-recall. But on-road emissions were still very different from emissions observed through
26
     61
       Marc C. Besch, Sri Hari Chalagalla, and Dan Carder, On-Road & Chassis Dynamometer
27   Testing of Light-Duty Diesel Passenger Cars, Center for Alternative Fuels, Engines, and
     Emissions, West Virginia University, available at http://www.cafee.wvu.edu/files/d/c586c1dd-
28   b361-410d-a88d-d34e8834eda6/testing-of-light-duty-diesel-passenger-cars.pdf (last accessed July
     19, 2017). . .
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 1   chassis dynamometer testing, even though they were slightly improved from the levels observed
 2   during pre-recall testing.
 3               E.     European Investigation and Testing
 4               246.   Fiat Chrysler and Bosch have both found themselves in trouble with German
 5   regulators in the wake of the Volkswagen scandal.
 6               247.   German prosecutors have launched an investigation into Bosch, reportedly raiding
 7   Bosch’s offices in Stuttgart.62 In April 2016, Bosch GmbH representatives met with Germany’s
 8   Federal Motor Transport Authority (“KBA”) on at least two occasions. In an April 14, 2016
 9   meeting, Bosch admitted there were a number of anomalies in the calibration of its engine control
10   units provided to Fiat Chrysler for diesel vehicles sold in Europe. Bosch confirmed that it had
11   delivered the control units for the vehicles as well as the associated software and that Bosch
12   employees had integrated the emission-related applications into the software. Bosch admitted
13   that the software reduced the EGR rate and the regeneration of NSC (NOx storage catalyst) after
14   an elapsed period of driving time or number of cycles. Specifically, 22 minutes after the start of
15   the engine (the estimated duration of emission testing), the software reduced the EGR rate to
16   nearly zero and de-activated NSC regeneration. Another trigger for de-activation of the NSC
17   regeneration occurred after the vehicle had been driven a distance of 100 kilometers. Bosch
18   confirmed that the NOx emissions for the vehicles exceeded the legal limits by a factor of 4-5.
19   The KBA’s takeaway from its meetings with Bosch was there is a defeat device in the vehicles
20   and Bosch shared responsibility for the defeat device with Fiat Chrysler. Media reports have
21   confirmed the same.63
22

23
     62
24       See Edward Taylor, Stuttgart prosecutor targets Bosch in Daimler diesel investigation,
     Reuters (May 26, 2017), http://www.reuters.com/article/us-daimler-emissions-bosch-
25   idUSKBN18M172.
     63
        Media reports similarly said that Bosch had confirmed to German regulators that certain Fiat
26   vehicles were cheating on emission testing. See, e.g., Sueddeutsche Zeitung, Apr. 22, 2016, “Fiat
     Is Next to be Accused”; Test of Fiat diesel model shows irregular emissions: Bild am Sonntag,
27   Reuters (Apr. 24, 2016), http://www.reuters.com/article/us-fiat-emissions-germany-
     idUSKCN0XL0MT; David Tracy, Here’s How Fiat Might also be Cheating on Emissions Tests:
28   Report, Jalopnik (Apr. 25, 2016), http://jalopnik.com/heres-how-fiat-might-also-be-cheating-on-
     emissions-test-1772948181.
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 1               248.   After the meeting with Bosch, the KBA performed testing on the Fiat diesel
 2   vehicles and confirmed that the emission controls were disabled after 22 minutes of driving time,
 3   causing the vehicles to emit more than 10 times the legal limit of NOx. The KBA concluded that
 4   the vehicles were designed to cheat on emission tests, which normally run for about 20 minutes.64
 5   As a result, the KBA’s transport minister announced: “We will need to carry out further tests on
 6   Fiat models.”65 In August 2016, the German government formally concluded that Fiat vehicles
 7   sold in the EU had used defeat devices.
 8               249.   More recently, 17-page long-form article published by the German weekly
 9   investigative news magazine Der Spiegel, on April 20, 2018, details the central role Bosch played
10   in the “diesel scandal.” The article reports that prosecutors in Germany are investigating Bosch
11   for providing and programming illegal software for use in Fiat vehicles, among many others.66
12               F.     Joint University of California, San Diego and German Study of the Fiat 500X
13               250.   The testing of European regulators has been confirmed by independent testing
14   conducted here in the United States. A recent peer-reviewed study by researchers at the
15   University of California, San Diego and Ruhr-Universität Bochum in Germany analyzed
16   firmware in the EDC Unit 17 of the Fiat 500X and found a defeat device affecting the logic
17   governing NOx storage catalyst regeneration.67 Unlike the Volkswagen defeat device, the
18   researchers found that the mechanism in the Fiat 500X relied on timing, reducing the frequency
19   of NSC approximately 26 minutes and 40 seconds after the engine was started. (By reducing the
20   frequency of NOx storage catalyst regeneration, a manufacturer can improve fuel economy and
21   increase the service life of the diesel particulate filter, at the cost of increased NOx emissions.)
22               251.   According to the study, the conditions used to determine when to regenerate the
23   NSC were duplicated, and each set of conditions could start a regeneration cycle. The researchers
24
     64
25      Test of Fiat diesel model shows irregular emissions: Bild am Sonntag, supra note 61.
     65
        Here’s How Fiat Might also be Cheating on Emissions Tests: Report, supra note 61.
     66
26      Frank Dohmen, et al., A Sinister Alliance: The automobile supplier Bosch is on its way to
     taking center stage in the Diesel scandal, Der Spiegel, Issue 17 (April 20, 2018),
27   https://magazin.spiegel.de/SP/2018/17/156941296/index.html?utm_source=spon&utm_campaign
     =vorab (paywall, German language).
     67
28      Moritz Contag, et al., How They Did It: An Analysis of Emission Defeat Devices in Modern
     Automobiles, supra note 15.
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 1   obtained Bosch copy-righted documentation for a Fiat vehicle, which described two sets of
 2   conditions using the terms “during homologation cycle” and “during real driving.” The term
 3   “homologation” is commonly used in Europe to describe the process of testing an automobile for
 4   regulatory conformance. Bosch’s authorship of the document and use of the terms
 5   “homologation [testing]” and “real driving” to describe the regeneration conditions demonstrate
 6   that it not only created the mechanism for Fiat Chrysler but was also aware of the mechanism’s
 7   intended purpose of circumventing emission testing.
 8               252.   Together, these facts reveal that Defendants have fraudulently concealed the
 9   functions of its emission control technology from regulators and consumers alike. Further, they
10   demonstrate that Fiat Chrysler’s claims about its EcoDiesel® Class Vehicles as “clean diesel”
11   with “ultralow emissions” and “no NOx” emitted through the tailpipe is false or misleading.
12   VI.         THE DAMAGE CAUSED BY DEFENDANTS’ DIRTY DIESEL SCHEME
13               253.   Class members paid a significant premium for the EcoDiesel features that FCA
14   falsely advertised. Indeed, consumers paid between $3,120 and $5,000 more for the EcoDiesel
15   option than for the comparable gasoline vehicles.68 In return, FCA promised power, performance,
16   fuel economy, and environmental friendliness (and vehicles that were legal to drive). FCA could
17   not deliver on that promise. Plaintiffs and Class members suffered significant harm as a result.
18               254.   FCA may not be able to bring the Class Vehicles into compliance with emissions
19   standards. If that is the case, those vehicles will have to be removed from the road.
20               255.   But even if FCA can bring the Class Vehicles into compliance with emission
21   standards, it will not be able to do so without substantially degrading their performance
22   characteristics, including their horsepower and/or fuel efficiency and/or maintenance
23   requirements. Consequently, Class members will not possess the vehicles they thought they
24   purchased and will not have received the benefit of the bargain. This will also result in a
25

26
     68
        John Lamm, 2014 Jeep Grand Cherokee EcoDiesel® V-6, First Drive Review, Car and Driver
27   (February 2013), http://www.caranddriver.com/reviews/2014-jeep-grand-cherokee-ecodiesel-v-6-
     first-drive-review; Andrew Wendler, 2015 Ram 1500 EcoDiesel® 4x4, Instrumented Test, Car
28   and Driver (August 2015), http://www.caranddriver.com/reviews/2015-ram-1500-4x4-ecodiesel-
     4x4-test-review.
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 1   diminution in value of every Class Vehicle, and it will cause owners and lessees of Class Vehicles
 2   to pay more for the use of their Class Vehicles.
 3               256.   Assuming, for the sake of argument, that the Class Vehicles could be brought into
 4   compliance with emission standards without any material degradation to performance or
 5   maintenance characteristics—and if that were the case, it begs the question as to why FCA
 6   cheated in the first place—Class members would still have been deprived of the benefit of the
 7   bargain for all the years they owned and/or leased the Class Vehicles that could not and did not
 8   deliver all of the characteristics for which Class members paid a premium, and were not
 9   compliant with U.S. law.
10               257.   In sum, had regulators or the public known the true facts, Plaintiffs and the Class
11   would not have purchased or leased the Class Vehicles (in fact, they could not have legally been
12   sold), or would have paid substantially less for them.
13                                       CLASS ACTION ALLEGATIONS

14   I.          CLASS DEFINITIONS

15               258.   Pursuant to the provisions of Rules 23(a), (b)(2), and (b)(3) of the Federal Rules of

16   Civil Procedure, Plaintiffs bring this action on behalf of themselves and Nationwide Class and

17   Statewide Classes (collectively, “the Class”), defined as:

18               Nationwide Class:

19               All persons or entities in the United States (including its territories and the District
                 of Columbia) that purchased or leased a Class Vehicle. Class Vehicles include all
20               FCA EcoDiesel® vehicles equipped with SCR to control NOx emissions,
                 including but not limited to the Model Year 2014-2016 Ram 1500 and the Model
21               Year 2014-2016 Jeep Grand Cherokee.

22               259.   The phrase, “persons or entities,” as used in this Complaint and the Nationwide

23   and State Class definitions, includes, but is not limited to, independent (non-FCA franchise)

24   automobile dealers in the United States (including its territories and the District of Columbia)

25   with one or more previously-owned Class Vehicles in their inventory on or after January 12,

26   2017.

27               260.   In addition to the Nationwide Class, and pursuant to Federal Rules of Civil

28   Procedure Rule 23(c)(5), Plaintiffs seek to represent the following State Classes or subclasses as

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 1   well as any subclasses or issue classes as Plaintiffs may propose and/or the Court may designate
 2   at the time of class certification:
 3               Alabama State Class:
 4               All persons or entities that purchased or leased a Class Vehicle within Alabama or
                 that purchased or leased a Class Vehicle and reside in Alabama.
 5
                 Alaska State Class:
 6
                 All persons or entities that purchased or leased a Class Vehicle within Alaska or
 7               that purchased or leased a Class Vehicle and reside in Alaska.
 8               Arizona State Class:
 9               All persons or entities that purchased or leased a Class Vehicle within Arizona or
                 that purchased or leased a Class Vehicle and reside in Arizona.
10
                 Arkansas State Class:
11
                 All persons or entities that purchased or leased a Class Vehicle within Arkansas or
12               that purchased or leased a Class Vehicle and reside in Arkansas.
13               California State Class:
14               All persons or entities that purchased or leased a Class Vehicle within California
                 or that purchased or leased a Class Vehicle and reside in California.
15
                 Colorado State Class:
16
                 All persons or entities that purchased or leased a Class Vehicle within Colorado or
17               that purchased or leased a Class Vehicle and reside in Colorado.
18               Connecticut State Class:
19               All persons or entities that purchased or leased a Class Vehicle within Connecticut
                 or that purchased or leased a Class Vehicle and reside in Connecticut.
20
                 Delaware State Class:
21
                 All persons or entities that purchased or leased a Class Vehicle within Delaware or
22               that purchased or leased a Class Vehicle and reside in Delaware.
23               District of Columbia Class:
24               All persons or entities that purchased or leased a Class Vehicle within the District
                 of Columbia or that purchased or leased a Class Vehicle and reside in the District
25               of Columbia.
26               Florida State Class:
27               All persons or entities that purchased or leased a Class Vehicle within Florida or
                 that purchased or leased a Class Vehicle and reside in Florida.
28

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 1               Georgia State Class:
 2               All persons or entities that purchased or leased a Class Vehicle within Georgia or
                 that purchased or leased a Class Vehicle and reside in Georgia.
 3
                 Hawaii State Class:
 4
                 All persons or entities that purchased or leased a Class Vehicle within Hawaii or
 5               that purchased or leased a Class Vehicle and reside in Hawaii.
 6               Idaho State Class:
 7               All persons or entities that purchased or leased a Class Vehicle within Idaho or
                 that purchased or leased a Class Vehicle and reside in Idaho.
 8
                 Illinois State Class:
 9
                 All persons or entities that purchased or leased a Class Vehicle within Illinois or
10               that purchased or leased a Class Vehicle and reside in Illinois.
11               Indiana State Class:
12               All persons or entities that purchased or leased a Class Vehicle within Indiana or
                 that purchased or leased a Class Vehicle and reside in Indiana.
13
                 Iowa State Class:
14
                 All persons or entities that purchased or leased a Class Vehicle within Iowa or that
15               purchased or leased a Class Vehicle and reside in Iowa.
16               Kansas State Class:
17               All persons or entities that purchased or leased a Class Vehicle within Kansas or
                 that purchased or leased a Class Vehicle and reside in Kansas.
18
                 Louisiana State Class:
19
                 All persons or entities that purchased or leased a Class Vehicle within Louisiana or
20               that purchased or leased a Class Vehicle and reside in Louisiana.
21               Maine State Class:
22               All persons or entities that purchased or leased a Class Vehicle within Maine or
                 that purchased or leased a Class Vehicle and reside in Maine.
23
                 Maryland State Class:
24
                 All persons or entities that purchased or leased a Class Vehicle within Maryland or
25               that purchased or leased a Class Vehicle and reside in Maryland.
26               Massachusetts State Class:
27               All persons or entities that purchased or leased a Class Vehicle within
                 Massachusetts or that purchased or leased a Class Vehicle and reside in
28               Massachusetts.

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 1               Michigan State Class:
 2               All persons or entities that purchased or leased a Class Vehicle within Michigan or
                 that purchased or leased a Class Vehicle and reside in Michigan.
 3
                 Minnesota State Class:
 4
                 All persons or entities that purchased or leased a Class Vehicle within Minnesota
 5               or that purchased or leased a Class Vehicle and reside in Minnesota.
 6               Mississippi State Class:
 7               All persons or entities that purchased or leased a Class Vehicle within Mississippi
                 or that purchased or leased a Class Vehicle and reside in Mississippi.
 8
                 Missouri State Class:
 9
                 All persons or entities that purchased or leased a Class Vehicle within Missouri or
10               that purchased or leased a Class Vehicle and reside in Missouri.
11               Montana State Class:
12               All persons or entities that purchased or leased a Class Vehicle within Montana or
                 that purchased or leased a Class Vehicle and reside in Montana.
13
                 Nebraska State Class:
14
                 All persons or entities that purchased or leased a Class Vehicle within Nebraska or
15               that purchased or leased a Class Vehicle and reside in Nebraska.
16               Nevada State Class:
17               All persons or entities that purchased or leased a Class Vehicle within Nevada or
                 that purchased or leased a Class Vehicle and reside in Nevada.
18
                 New Hampshire State Class:
19
                 All persons or entities that purchased or leased a Class Vehicle within New
20               Hampshire or that purchased or leased a Class Vehicle and reside in within New
                 Hampshire.
21
                 New Jersey State Class:
22
                 All persons or entities that purchased or leased a Class Vehicle within New Jersey
23               or that purchased or leased a Class Vehicle and reside in New Jersey.
24               New Mexico State Class:
25               All persons or entities that purchased or leased a Class Vehicle within New
                 Mexico or that purchased or leased a Class Vehicle and reside in New Mexico.
26
                 New York State Class:
27
                 All persons or entities that purchased or leased a Class Vehicle within New York
28               or that purchased or leased a Class Vehicle and reside in New York.

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 1               North Carolina State Class:
 2               All persons or entities that purchased or leased a Class Vehicle within North
                 Carolina or that purchased or leased a Class Vehicle and reside in North Carolina.
 3
                 North Dakota State Class:
 4
                 All persons or entities that purchased or leased a Class Vehicle within North
 5               Dakota or that purchased or leased a Class Vehicle and reside in North Dakota.
 6               Ohio State Class:
 7               All persons or entities that purchased or leased a Class Vehicle within Ohio or that
                 purchased or leased a Class Vehicle and reside in Ohio.
 8
                 Oklahoma State Class:
 9
                 All persons or entities that purchased or leased a Class Vehicle within Oklahoma
10               or that purchased or leased a Class Vehicle and reside in Oklahoma.
11               Oregon State Class:
12               All persons or entities that purchased or leased a Class Vehicle within Oregon or
                 that purchased or leased a Class Vehicle and reside in Oregon.
13
                 Pennsylvania State Class:
14
                 All persons or entities that purchased or leased a Class Vehicle within
15               Pennsylvania or that purchased or leased a Class Vehicle and reside in
                 Pennsylvania.
16
                 Rhode Island State Class:
17
                 All persons or entities that purchased or leased a Class Vehicle within Rhode
18               Island or that purchased or leased a Class Vehicle and reside in Rhode Island.
19               South Carolina State Class:
20               All persons or entities that purchased or leased a Class Vehicle within South
                 Carolina or that purchased or leased a Class Vehicle and reside in South Carolina.
21
                 South Dakota State Class:
22
                 All persons or entities that purchased or leased a Class Vehicle within South
23               Dakota or that purchased or leased a Class Vehicle and reside in South Dakota.
24               Tennessee State Class:
25               All persons or entities that purchased or leased a Class Vehicle within Tennessee
                 or that purchased or leased a Class Vehicle and reside in Tennessee.
26
                 Texas State Class:
27
                 All persons or entities that purchased or leased a Class Vehicle within Texas or
28               that purchased or leased a Class Vehicle and reside in Texas.

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 1               U.S. Territory Class:
 2               All persons or entities that purchased or leased a Class Vehicle within a U.S.
                 Territory or that purchased or leased a Class Vehicle and reside in U.S. Territory.
 3
                 Utah State Class:
 4
                 All persons or entities that purchased or leased a Class Vehicle within Utah or that
 5               purchased or leased a Class Vehicle and reside in Utah.
 6               Vermont State Class:
 7               All persons or entities that purchased or leased a Class Vehicle within Vermont or
                 that purchased or leased a Class Vehicle and reside in Vermont.
 8
                 Virginia State Class:
 9
                 All persons or entities that purchased or leased a Class Vehicle within Virginia or
10               that purchased or leased a Class Vehicle and reside in Virginia.
11               Washington State Class:
12               All persons or entities that purchased or leased a Class Vehicle within Washington
                 or that purchased or leased a Class Vehicle and reside in Washington.
13
                 West Virginia State Class:
14
                 All persons or entities that purchased or leased a Class Vehicle within West
15               Virginia or that purchased or leased a Class Vehicle and reside in West Virginia.
16               Wisconsin State Class:
17               All persons or entities that purchased or leased a Class Vehicle within Wisconsin
                 or that purchased or leased a Class Vehicle and reside in Wisconsin.
18
                 Wyoming State Class:
19
                 All persons or entities that purchased or leased a Class Vehicle within Wyoming or
20               that purchased or leased a Class Vehicle and reside in Wyoming.
21
                 261.   Excluded from the Class are individuals who have personal injury claims resulting
22
     from the conduct alleged herein. Also excluded from the Class are Defendants and their
23
     subsidiaries and affiliates; all persons who make a timely election to be excluded from the Class;
24
     governmental entities; and the Judge to whom this case is assigned and his immediate family.
25
     Plaintiffs reserve the right to revise the Class definitions based upon information learned through
26
     discovery.
27

28

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 1               262.   Certification of Plaintiffs’ claims for classwide treatment is appropriate because
 2   Plaintiffs can prove the elements of their claims regarding liability and entitlement to damages on
 3   a classwide basis using the same evidence as would be used to prove those elements in individual
 4   actions alleging the same claim.
 5               263.   This action has been brought and may be properly maintained on behalf of the
 6   Nationwide Class and/or State Class proposed herein under Federal Rule of Civil Procedure 23.
 7               264.   Plaintiffs reserve the right to modify the definition of the Nationwide and/or any
 8   State Class prior to class certification.
 9   II.         CLASS CERTIFICATION REQUIREMENTS: FEDERAL RULE OF CIVIL
                 PROCEDURE 23
10

11               265.   Numerosity: Rule 23(a)(1). The members of the Class are so numerous and
12   geographically dispersed that individual joinder of all Class members is impracticable. Plaintiffs
13   are informed and believe, based on available information on the volume of sales and registrations
14   of Class Vehicles, that there are no fewer than 100,000 members of the Class. The precise number
15   of Class members may be ascertained from Defendants’ records and vehicle registration records.
16   Class members may be notified of the pendency of this action by recognized, Court-approved
17   notice dissemination methods, which may include U.S. mail, electronic mail, Internet postings,
18   social media, and published notice.
19               266.   Commonality and Predominance: Rules 23(a)(2) and 23(b)(3). This action
20   involves significant common questions of law and fact, which predominate over any questions
21   affecting individual Class members, including, but not limited to:
22                      a.     Whether Defendants engaged in the conduct alleged herein;
23                      b.     Whether Defendants designed, advertised, marketed, distributed, leased,
                               sold, or otherwise placed Class Vehicles into the stream of commerce in
24                             the United States;
25                      c.     Whether Defendants knew or should have known that the Class Vehicles
                               emitted NOx at levels above those reasonably assumed by consumers and,
26                             if so, how long Defendants have known or should have known;
27                      d.     Whether the true nature of the Class Vehicles’ performance, emissions
                               levels, fuel economy, and emissions software constitute material facts that
28

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 1                     reasonable consumers would have considered in deciding whether to
                       purchase and/or lease a Class Vehicle;
 2
                 e.    Whether Defendants’ EcoDiesel® engine system in the Class Vehicles can
 3                     be made to comply with emission standards without substantially
                       degrading the performance and/or efficiency of the Class Vehicles;
 4
                 f.    Whether Plaintiffs and the other Class members overpaid for their Class
 5                     Vehicles as a result of Defendants’ deception;
 6               g.    Whether Defendants made material misrepresentations regarding the Class
                       Vehicles;
 7
                 h.    Whether Defendants had a duty to disclose the true nature of the Class
 8                     Vehicles to Plaintiffs and Class members;
 9               i.    Whether Defendants omitted, concealed, and/or failed to disclose material
                       facts about the Class Vehicles;
10
                 j.    Whether Defendants’ concealment of the true nature of the Class Vehicles
11                     would have induced a reasonable consumer to act to his or her detriment by
                       purchasing and/or leasing the Class Vehicles;
12
                 k.    Whether Bosch designed and manufactured the emissions software present
13                     in the Class Vehicles;
14               l.    Whether Bosch supplied the emissions software to FCA with the
                       knowledge that FCA would use it in production of the Class Vehicles;
15
                 m.    Whether Bosch acted in concert with FCA;
16
                 n.    Whether VM Motori designed, manufactured, calibrated, and delivered the
17                     EcoDiesel® engine system for inclusion in the Class Vehicles, knowing,
                       they would be used to evade emission laws and deceive the consuming
18                     public;
19               o.    Whether Defendant FCA designed, manufactured, marketed, and
                       distributed Class Vehicles with the alleged emissions software;
20
                 p.    Whether Defendants’ conduct violates RICO, consumer protection statutes,
21                     false advertising laws, warranty laws, and other laws as asserted herein;
22               q.    Whether Plaintiffs and the other Class members are entitled to equitable
                       relief, including, but not limited to, restitution or injunctive relief;
23
                 r.    Whether Plaintiffs and the other Class members are entitled to damages
24                     and other monetary relief and, if so, in what amount; and
25               s.    Whether Defendants continue to unlawfully conceal and misrepresent
                       whether additional vehicles, besides those reported in the press to date, are
26                     in fact Class Vehicles.
27

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 1               267.   Typicality: Rule 23(a)(3). Plaintiffs’ claims are typical of the claims of the Class
 2   members whom they seek to represent under Federal Rule of Civil Procedure 23(a)(3), because
 3   Plaintiffs and each Class member purchased a Class Vehicle and were similarly injured through
 4   Defendants’ wrongful conduct as described above. Plaintiffs and the other Class members
 5   suffered damages as a direct proximate result of the same wrongful practices by Defendants.
 6   Plaintiffs’ claims arise from the same practices and courses of conduct that give rise to the claims
 7   of the other Class members. Plaintiffs’ claims are based upon the same legal theories as the
 8   claims of the other Class members.
 9               268.   Adequacy: Rule 23(a)(4). Plaintiffs will fairly and adequately represent and
10   protect the interests of the Class members as required by Federal Rule of Civil Procedure
11   23(a)(4). Plaintiffs have retained counsel competent and experienced in complex class action
12   litigation, including vehicle defect litigation and other consumer protection litigation. Plaintiffs
13   intend to prosecute this action vigorously. Neither Plaintiffs nor their counsel have interests that
14   conflict with the interests of the other Class members. Therefore, the interests of the Class
15   members will be fairly and adequately protected.
16               269.   Declaratory and Injunctive Relief: Rule 23(b)(2). Defendants have acted or
17   refused to act on grounds generally applicable to Plaintiffs and the other members of the Class,
18   thereby making appropriate final injunctive relief and declaratory relief, as described below, with
19   respect to the Class as a whole.
20               270.   Superiority: Rule 23(b)(3). A class action is superior to any other available means
21   for the fair and efficient adjudication of this controversy, and no unusual difficulties are likely to
22   be encountered in the management of this class action. The damages or other financial detriment
23   suffered by Plaintiffs and the other Class members are relatively small compared to the burden
24   and expense that would be required to individually litigate their claims against Defendants, so it
25   would be impracticable for members of the Class to individually seek redress for Defendants’
26   wrongful conduct.
27               271.   Even if Class members could afford individual litigation, the court system could
28   not. Individualized litigation creates a potential for inconsistent or contradictory judgments, and

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 1   increases the delay and expense to all parties and the court system. By contrast, the class action
 2   device presents far fewer management difficulties and provides the benefits of single
 3   adjudication, economies of scale, and comprehensive supervision by a single court.
 4                      ANY APPLICABLE STATUTES OF LIMITATION ARE TOLLED

 5   I.          DISCOVERY RULE

 6               272.    The tolling doctrine was made for cases of concealment like this one. Plaintiffs

 7   and Class members did not discover, and could not have discovered through the exercise of

 8   reasonable diligence, that Defendants had conspired to install software that would evade emission

 9   regulations, and that Defendants were concealing and misrepresenting the true emission levels of

10   the Class Vehicles to regulators and the driving public.

11               273.    Defendants’ fraud was elaborate and well concealed. Indeed, the EPA and CARB

12   uncovered the software manipulation only through a sophisticated and costly investigation

13   involving highly technical equipment.

14               274.    Plaintiffs and Class members had no realistic ability to discover the presence of the

15   defeat devices, or to otherwise learn of the fraud, until it was discovered by the EPA and CARB

16   and revealed to the public through their respective Notices of Violation.

17               275.    Any statutes of limitation otherwise-applicable to any claims asserted herein have

18   thus been tolled by the discovery rule.

19   II.         FRAUDULENT CONCEALMENT

20               276.    All applicable statutes of limitation have also been tolled by Defendants’ knowing,

21   active and ongoing fraudulent concealment of the facts alleged herein.

22               277.    Defendants have known of the emission control software installed in the Class

23   Vehicles since at least 2014, when Defendants began installing them. Since then Defendants

24   have intentionally concealed from, or failed to notify, regulators, Plaintiffs, Class members, and

25   the driving public of the undisclosed auxiliary (or defeat) devices and the true level of emissions

26   and performance of the Class Vehicles.

27               278.    Despite knowing about the emission control software and unlawful emissions

28   during real-world driving conditions, Defendants did not acknowledge the problem, and in fact

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 1   actively concealed it, until after the EPA and CARB issued their Notices of Violation. Even to
 2   present day, Defendants have denied any wrongdoing.
 3               279.   Any otherwise-applicable statutes of limitation have therefore been tolled by
 4   Defendants’ exclusive knowledge and concealment of the facts alleged herein.
 5   III.        ESTOPPEL
 6               280.   Defendants were, and are, under a continuous duty to disclose to Plaintiffs and
 7   Class members the true character, quality, and nature of the Class Vehicles, including their
 8   emission systems and their compliance with applicable federal and state law, particularly given
 9   their misleading advertising statements. Instead, Defendants actively concealed the true
10   character, quality, and nature of the Class Vehicles and knowingly made misrepresentations about
11   the quality, reliability, characteristics, and performance of the Class Vehicles.
12               281.   Plaintiffs and Class members reasonably relied upon Defendants’ active
13   concealment of these facts that rendered their statements misleading.
14               282.   Based on the foregoing, Defendants are estopped from relying on any statutes of
15   limitation in defense of this action.
16                                           CLAIMS FOR RELIEF

17   I.          CLAIMS ASSERTED ON BEHALF OF THE NATIONWIDE CLASS

18                             NATIONWIDE COUNT I
          RACKETEER INFLUENCED AND CORRUPT ORGANIZATIONS ACT (“RICO”)
19                         Violation of 18 U.S.C. § 1962(c)-(d)

20               283.   Plaintiffs incorporate by reference each preceding paragraph as though fully set

21   forth herein.

22               284.   Plaintiffs bring this action on behalf of the Nationwide Class against Defendants

23   Fiat, FCA, Marchionne, VM Italy, VM America, Bosch GmbH, and Bosch LLC (inclusively, for

24   purpose of this Count, Defendants are referred to as “RICO Defendants”).

25               285.   Fiat conducts its business—legitimate and illegitimate—through various affiliates

26   and subsidiaries, like FCA, VM Italy, and VM America, each of which is a separate legal entity.

27   The Bosch Group also conducts its business, both legitimate and illegitimate, through hundreds of

28

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 1   companies, subsidiaries, and affiliates, including Bosch GmbH and Bosch LLC.69 At all relevant
 2   times, each of the RICO Defendants has been a “person” under 18 U.S.C. § 1961(3) because each
 3   was capable of holding “a legal or beneficial interest in property.”
 4               286.   Section 1962(c) makes it “unlawful for any person employed by or associated with
 5   any enterprise engaged in, or the activities of which affect, interstate or foreign commerce, to
 6   conduct or participate, directly or indirectly, in the conduct of such enterprise’s affairs through a
 7   pattern of racketeering activity.” 18 U.S.C. § 1962(c).
 8               287.   Section 1962(d) makes it unlawful for “any person to conspire to violate” Section
 9   1962(c), among other provisions. See 18 U.S.C. § 1962(d).
10               288.   As part of a strategy to expand its North American presence, in 2009, Fiat began
11   its acquisition of one of the “Big 3” U.S. automakers, Chrysler. In November of that year, CEO
12   Marchionne unveiled an ambitious 5-year plan to, among other things, roll out “more diesel
13   variants” of Jeep and to give Ram “Light duty (1500)” a “refresh/facelift.”70
14               289.   By 2014, Fiat had become Fiat Chrysler Automobiles, Chrysler had become FCA,
15   and VM Motori, a longtime supplier, was now part of the Fiat Chrysler sprawling family of
16   affiliated companies. In May of that year, Marchionne announced another five-year plan at
17   Auburn Hills, Michigan headquarters to increase Fiat Chrysler’s competitiveness against global
18   auto behemoths, such as Toyota, Volkswagen, and General Motors, by increasing annual sales to
19   7 million vehicles by 2018, up from 4.4 million in 2013.71 Integral to the strategy was the
20   expansion of the “Jeep portfolio” and updates to the “bread-and-butter Ram 1500,” including
21   “diesel engines.”72
22               290.   During this same time frame, emission standards in the United States were
23   ratcheting up. In contrast to other global automakers, like Toyota and Ford, which were focusing
24   on developing hybrid and electric cars, Chrysler—now FCA and under the control of Fiat—took
25
     69
26      See generally https://www.bosch.com/bosch-group/ (last accessed on July 19, 2017).
     70
        See Todd Lassa, Fiatapolooza! Chrysler’s Five-Year Plan, supra note 6.
     71
27      See Jerry Hirsch and David Undercoffler, Fiat Chrysler Unveils Aggressive Five-Year Plan,
     supra note 7.
     72
28      See Christian Seabaugh, Ram and Ferrari’s Place in Fiat Chrysler’s Five-Year Plan, supra
     note 8.
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 1   another path: “[r]eflecting its ties with Europe-based Fiat, Chrysler appears to be taking yet
 2   another route that focuses less on electrification and more heavily on light-duty diesels and
 3   compressed natural gas.”73 In 2012, Marchionne observed, “with 2016 ‘just around the corner’
 4   and 2025 not far away given the auto industry’s long product-development lead times, ‘there are
 5   big choices to be made[.]’”74 Marchionne explained that “Chrysler, which is starting to share
 6   platforms and powertrains with Fiat, wants to leverage the European auto maker’s strengths in
 7   diesels and CNG-powered vehicles.”75 As one commenter put it at the time, “[f]uel-efficient
 8   towing remains a strong point of diesels, and Marchionne says he still is optimistic about the
 9   potential of light-duty diesels in the U.S. despite significant emissions challenges.”76
10               291.   As it turned out, however, Fiat Chrysler was either unable or unwilling to devise a
11   solution within the constraints of the law. And so, like Volkswagen, they devised one outside of
12   it. Instead of cutting their losses, holding up the Class Vehicle roll outs, or coming clean, they
13   conspired with VM Italy and VM America and Bosch GmbH and Bosch LLC to install
14   customized emission treatment software (EDCs) in the EcoDiesel®’s engine diesel controls so
15   that the Class Vehicles could “pass” the EPA and CARB testing. The software disabled or
16   restricted certain of the emission controls during real-world driving conditions, however, causing
17   the Class Vehicles to spew up to 25 times the legal limits of NOx. These software controls were
18   concealed from regulators on COC and EO applications for the Class Vehicles by FCA, thus
19   deceiving the EPA and CARB into approving the Class Vehicles for sale throughout the United
20   States and California.
21               292.   To accomplish their scheme or common course of conduct, Fiat, FCA,
22   Marchionne, VM Italy, VM America, Bosch GmbH, Bosch LLC, and Denner, along with others,
23   had to work together to conceal the truth. Each Defendant was employed by or associated with,
24   and conducted or participated in the affairs of, one or several RICO enterprises (defined below
25   and referred to collectively as the “EcoDiesel® RICO Enterprise”). The purpose of the
26
     73
          See Drew Winter, Chrysler Eyes Different Path to Meeting New CAFE Standards, supra note
27   9.
     74
        Id.
     75
28      Id.
     76
        Id.
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 1   EcoDiesel® RICO Enterprise was to deceive regulators into believing that the Class Vehicles
 2   were eligible for coverage by a COC and/or EO and compliant with emission standards. The
 3   motivation was simple: to increase Defendants’ revenues and profits and minimize their losses
 4   from the design, manufacture, distribution and sale of the Class Vehicles and their component
 5   parts. As a direct and proximate result of their fraudulent scheme and common course of
 6   conduct, the RICO Defendants were able to extract over a billion dollars from consumers. As
 7   explained below, their years-long misconduct violated Sections 1962(c) and (d).
 8               A.     Description of the EcoDiesel® RICO Enterprise
 9               293.   In an effort to expand its market share in the United States and beyond, Fiat, a
10   publicly-traded Italian-controlled, Dutch-registered company headquartered in London, bought
11   then-Chrysler (now FCA), a separate Delaware company, headquartered in Michigan. Fiat uses
12   FCA to design, market, manufacture and sell the Class Vehicles and other vehicles under the
13   Chrysler, Dodge, Jeep, Ram, and Fiat brands throughout the United States. FCA also submitted
14   the COC and EO applications for the Class Vehicles. Fiat used VM Italy and VM America to
15   design and manufacture the EcoDiesel® engines for the Class Vehicles, which were calibrated in
16   Michigan with Bosch’s hidden software. Fiat, FCA, VM Italy, and VM America maintained tight
17   control over the design, manufacture, calibration, and testing of the Class Vehicles. Bosch also
18   participated, either directly or indirectly, in the conduct of the enterprise’s affairs by developing,
19   writing the software code customized for the Class Vehicles, and concealing the hidden software
20   installed in the Class Vehicles in order to allow them to “pass” testing but then disable or restrict
21   certain emission controls during real-world driving conditions.
22               294.   At all relevant times, the RICO Defendants, along with other individuals and
23   entities, including unknown third parties involved in the design, calibration, manufacture, testing,
24   marketing, and sale of the Class Vehicles or the emission controls therein, operated an
25   association-in-fact enterprise, which was formed for the purpose of fraudulently obtaining COCs
26   from the EPA (and EOs from CARB) in order to sell the Class Vehicles throughout the United
27   States (and California), and through which enterprise they conducted a pattern of racketeering
28   activity under 18 U.S.C. § 1961(4). The enterprise is called the “EcoDiesel® RICO Enterprise.”

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 1               295.   At all relevant times, the EcoDiesel® RICO Enterprise constituted a single
 2   “enterprise” or multiple enterprises within the meaning of 18 U.S.C. § 1961(4), as legal entities,
 3   as well as individuals and legal entities associated-in-fact for the common purpose of engaging in
 4   RICO Defendants’ unlawful profit-making scheme.
 5               296.   The association-in-fact EcoDiesel® RICO Enterprise consisted of at least the
 6   following entities and individuals, and likely others:
 7                      1.     The Fiat Chrysler Defendants
 8               297.   Fiat Chrysler is the seventh-largest automaker in the world based on total annual
 9   vehicle sales and is an international automotive group. Fiat is listed on the New York Stock
10   Exchange under the symbol “FCAU” and on the Mercato Telematico Azionario under the symbol
11   “FCA.”77 FCA is not publicly traded and thus has no SEC reporting obligations, but it does have
12   reporting obligations, protections and responsibilities unique to the State of Delaware. FCA is a
13   distinct legal entity, controlled and owned (indirectly) by Defendant Fiat. Marchionne is the CEO
14   and Chairman of Fiat Chrysler and oversees the board of directors for FCA. Along with other
15   members of Fiat Chrysler’s leadership, Marchionne played a pivotal role in the scheme, common
16   course of conduct, and conspiracy. Marchionne set an aggressive plan for Fiat Chrysler to
17   increase the sales and market share of FCA, relying, in part, on incorporating its diesel experience
18   from the European to the U.S. market. FCA’s day-to-day operations are managed by employees
19   of both Fiat and FCA. Fiat’s Group Executive Committee are based in FCA’s Michigan
20   headquarters. Fiat and FCA worked closely with VM Italy and VM America to develop and
21   calibrate the EcoDiesel® engines for the Class Vehicles and to gather information for submission
22   to regulators in the COC and EO applications by FCA. Each of these Defendants knew or
23   recklessly disregarded that the Class Vehicles were unable to (and did not) comply with U.S.
24   emission standards and yet concealed this information from regulators.
25               298.   Working with other members of the EcoDiesel® RICO Enterprise, Fiat and FCA,
26   with Marchionne at the helm, conspired to install and conceal emission control software in the
27
     77
        See About Us – FCA US LLC, available at
28   http://www.fcanorthamerica.com/company/AboutUs/Pages/AboutUs.aspx (last accessed on July
     17, 2017).
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 1   EcoDiesel® engines to illegally circumvent stringent U.S. emission standards. Employing this
 2   technology, Fiat Chrysler fraudulently obtained COCs and EOs for the Class Vehicles even
 3   though they emit unlawful levels of toxic pollutants into the atmosphere during normal operating
 4   conditions. Further, they concealed this information from regulators once questions were raised.
 5                      2.     The VM Motori Defendants
 6               299.   As explained above, Fiat bought 50% of VM Italy in 2011 and the remaining 50%
 7   stake from General Motors in 2013. Fiat Chrysler used VM Italy and VM America to design,
 8   calibrate, and manufacture the EcoDiesel® engine to be used in the Class Vehicles. Fiat and
 9   FCA worked with, and oversaw, VM Italy and VM America in the development and calibration
10   of the engines at Michigan headquarters. Employees from VM Italy and VM America worked
11   jointly on the manufacturing and/or assembling the engines for the Class Vehicles in the United
12   States. And VM Italy and VM America performed engine calibrations, including calibrations
13   involving the concealed emission control technology for the Class Vehicles. For example, VM
14   Motori’s Calibration Leader for the Class Vehicles was based in Michigan and reported to
15   management at both VM Italy and VM America. Finally, VM Italy and VM America provided
16   information to FCA for inclusion in the COC and EO applications. VM Italy and VM America
17   knew or recklessly disregarded that the EcoDiesel® engines in the Class Vehicles were unable to
18   comply with U.S. emission standards and yet concealed this information from regulators.
19                      3.     The Bosch Defendants
20               300.   As explained above, the Bosch Defendants supplied the emission control
21   technology at issue—EDC Unit 17s—which were installed in the Class Vehicles. Bosch GmbH
22   is a multinational engineering and electronics company headquartered in Germany, which has
23   hundreds of subsidiaries and companies, including in the United States. It wholly owns Bosch
24   LLC, a Delaware limited liability company headquartered in Farmington Hills, Michigan.
25   Bosch’s sectors and divisions are grouped by subject matter, not location. Mobility Solutions is
26   the Bosch sector at issue, particularly its Diesel Services division, and it encompasses employees
27   of both Bosch GmbH and Bosch LLC. These individuals were responsible for the design,
28   manufacture, development, customization, and supply of the EDC units for the Class Vehicles.

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 1               301.   Denner has been Chairman and CEO of Bosch since July 2012, after decades of
 2   working in Bosch’s Engine ECU Development division, managing the development and sale of
 3   automotive engine computers, such as the EDC units that were installed in the Class Vehicles.
 4   Denner fostered Bosch’s relationship with key corporate partners, such as Fiat, which brought in
 5   millions of dollars in annual revenue for Bosch.
 6               302.   Bosch worked with Fiat and FCA to develop and implement a specific and unique
 7   set of software algorithms to surreptitiously evade emission regulations by deactivating certain
 8   controls under real-world driving conditions. Bosch was well aware that the EDC Unit 17 would
 9   be used for this purpose. Bosch was also critical to the concealment of these software functions
10   in communications with regulators.
11               B.     The EcoDiesel® RICO Enterprise Sought to Increase Defendants’ Profits and
                        Revenues.
12

13               303.   The EcoDiesel® RICO Enterprise began as early as 2009, when Fiat began to
14   acquire FCA and later VM Motori. On information and belief, Fiat Chrysler and Bosch entered
15   into an agreement to develop and install EDC Unit 17’s into over a hundred thousand Class
16   Vehicles sold in the United States. It was not until September 2015 that the scheme began to
17   unravel, when U.S. regulators uncovered Volkswagen’s defeat devices provided by Bosch and
18   questions were raised as to whether other diesel automakers were cheating, too.
19               304.   At all relevant times, the EcoDiesel® RICO Enterprise: (a) had an existence
20   separate and distinct from each RICO Defendant; (b) was separate and distinct from the pattern of
21   racketeering in which the RICO Defendants engaged; and (c) was an ongoing and continuing
22   organization consisting of legal entities, including Fiat and FCA, their network of dealerships,
23   Marchionne, VM Italy, VM America, Bosch GmbH, Bosch LLC, Denner, and other entities and
24   individuals associated for the common purpose of designing, calibrating, manufacturing,
25   distributing, testing, marketing, and selling the Class Vehicles to consumers in the Nationwide
26   Class through fraudulent COCs and EOs, false emissions tests, false or misleading sales tactics
27   and materials, and deriving profits and revenues from those activities. Each member of the
28   EcoDiesel® RICO Enterprise shared in the bounty generated by the enterprise, i.e., by sharing the

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 1   benefit derived from increased sales revenue generated by the scheme to defraud Class members
 2   nationwide.78
 3               305.   The EcoDiesel® RICO Enterprise functioned by selling vehicles and component
 4   parts to the consuming public. Many of these products are legitimate, including vehicles that do
 5   not contain concealed AECDs. However, the RICO Defendants and their co-conspirators,
 6   through their illegal Enterprise, engaged in a pattern of racketeering activity, which involves a
 7   fraudulent scheme to increase revenue for Defendants and the other entities and individuals
 8   associated-in-fact with the Enterprise’s activities through the illegal scheme to sell the Class
 9   Vehicles.
10               306.   The EcoDiesel® RICO Enterprise engaged in, and its activities affected, interstate
11   and foreign commerce, because it involved commercial activities across state boundaries, such as
12   the marketing, promotion, advertisement and sale or lease of the Class Vehicles throughout the
13   country, and the receipt of monies from the sale of the same.
14               307.   Within the EcoDiesel® RICO Enterprise, there was a common communication
15   network by which co-conspirators shared information on a regular basis. The enterprise used this
16   common communication network for the purpose of manufacturing, marketing, testing, and
17   selling the Class Vehicles to the general public nationwide.
18               308.   Each participant in the EcoDiesel® RICO Enterprise had a systematic linkage to
19   each other through corporate ties, contractual relationships, financial ties, and continuing
20   coordination of activities. Through the EcoDiesel® RICO Enterprise, the RICO Defendants
21   functioned as a continuing unit with the purpose of furthering the illegal scheme and their
22   common purposes of increasing their revenues and market share, and minimizing losses.
23               309.   The RICO Defendants participated in the operation and management of the
24   EcoDiesel® Enterprise by directing its affairs, as described herein. While the RICO Defendants
25   participated in, and are members of, the enterprise, they have a separate existence from the
26
     78
27     Fiat and FCA sold more Class Vehicles, and was able to charge consumers a premium price, by
     advertising the Class Vehicles as “clean,” “environmentally friendly,” and “fuel efficient.” As a
28   result, VM Motori sold more “EcoDiesel®” engines and Bosch sold more EDC Units to equip the
     Class Vehicles.
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 1   enterprise, including distinct legal statuses, different offices and roles, bank accounts, officers,
 2   directors, employees, individual personhood, reporting requirements, and financial statements.
 3               310.   Fiat, FCA, and Marchionne exerted substantial control over the EcoDiesel® RICO
 4   Enterprise, and participated in the affairs of the Enterprise, by:
 5                      A.     installing emission control software that deactivates or restricts one or
 6                             more of the controls during real-world driving conditions;
 7                      B.     concealing these software functions from regulators;
 8                      C.     failing to correct or disable the hidden software when warned;
 9                      D.     manufacturing, distributing, and selling the Class Vehicles that emitted
10                             greater pollution than allowable under the applicable regulations;
11                      E.     misrepresenting and omitting (or causing such misrepresentations and
12                             omissions to be made) vehicle specifications on COC and EO applications;
13                      F.     introducing the Class Vehicles into the stream of U.S. commerce without a
14                             valid EPA COC and/or CARB EO;
15                      G.     concealing the existence of the emission controls and the unlawfully high
16                             emissions from regulators and the public;
17                      H.     persisting in the manufacturing, distribution, and sale of the Class Vehicles
18                             even after questions were raised about the emission testing and
19                             discrepancies concerning the same;
20                      I.     misleading government regulators as to the nature of the emission control
21                             technology and the defects in the Class Vehicles;
22                      J.     misleading the driving public as to the nature of the emission control
23                             technology and the defects in the Class Vehicles;
24                      K.     designing and distributing marketing materials that misrepresented and/or
25                             concealed the defect in the vehicles;
26                      L.     otherwise misrepresenting or concealing the defective nature of the Class
27                             Vehicles from the public and regulators;
28                      M.     illegally selling and/or distributing the Class Vehicles;

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 1                      N.     collecting revenues and profits from the sale of such products; and/or
 2                      O.     ensuring that the other RICO Defendants and unnamed co-conspirators
 3                             complied with the scheme or common course of conduct.
 4               311.   VM Italy and VM America also participated in, operated and/or directed the
 5   EcoDiesel RICO Enterprise by developing an engine that emits high levels of toxic pollutants,
 6   calibrating the emission controls to deactivate or diminish during real-world driving conditions,
 7   and providing false or misleading information for purposes of supplying it to regulators on COC
 8   and/or EO applications.
 9               312.   Bosch GmbH, Bosch LLC, and Denner also participated in, operated and/or
10   directed the EcoDiesel® RICO Enterprise. On information and belief, Denner formed a
11   partnership with Fiat to provide engine management and emission control technology for the
12   Class Vehicles. Bosch GmbH and Bosch LLC participated in the fraudulent scheme by
13   manufacturing, installing, testing, modifying, and supplying the EDC Unit 17 for the Class
14   Vehicles. Bosch GmbH and Bosch LLC exercised tight control over the coding and other aspects
15   of the software and closely collaborated with Fiat, FCA, VM Italy, and VM America to develop,
16   customize, and calibrate the software for the Class Vehicles. Additionally, Bosch GmbH and
17   Bosch LLC continuously cooperated with the other RICO Defendants to ensure that the EDC
18   Unit 17 was fully integrated into the Class Vehicles. Bosch GmbH and Bosch LLC also
19   participated in the affairs of the Enterprise by concealing the software functions from U.S.
20   regulators and actively lobbying regulators on behalf of “clean diesel.” Bosch collected millions
21   of dollars in revenues and profits from the hidden software installed in the Class Vehicles.
22               313.   Without the RICO Defendants’ willing participation, including Bosch GmbH and
23   Bosch LLC’s active involvement in developing and supplying the critical emission control
24   software for the Class Vehicles, the Enterprise’s scheme and common course of conduct would
25   have been unsuccessful.
26               314.   The RICO Defendants directed and controlled the ongoing organization necessary
27   to implement the scheme at meetings and through communications of which Plaintiffs cannot
28   fully know at present, because such information lies in the Defendants’ and others’ hands.

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 1   Similarly, because the defendants often refer to themselves as a group (i.e., “Bosch” rather than
 2   “Bosch GmbH” and “Bosch LLC”), Plaintiffs cannot fully know the full extent of each individual
 3   corporate entity’s involvement in the wrongdoing prior to having access to discovery.
 4               C.     Mail And Wire Fraud
 5               315.   To carry out, or attempt to carry out the scheme to defraud, the RICO Defendants,
 6   each of whom is a person associated-in-fact with the EcoDiesel® RICO Enterprise, did
 7   knowingly conduct or participate, directly or indirectly, in the conduct of the affairs of the
 8   Enterprise through a pattern of racketeering activity within the meaning of 18 U.S.C. §§ 1961(1),
 9   1961(5) and 1962(c), and which employed the use of the mail and wire facilities, in violation of
10   18 U.S.C. § 1341 (mail fraud) and § 1343 (wire fraud).
11               316.   Specifically, as alleged herein, the RICO Defendants have committed and/or
12   conspired to commit at least two predicate acts of racketeering activity (i.e., violations of 18
13   U.S.C. §§ 1341 and 1343), within the past ten years. The multiple acts of racketeering activity
14   that the RICO Defendants committed were related to each other, posed a threat of continued
15   racketeering activity, and therefore constitute a “pattern of racketeering activity.” The
16   racketeering activity was made possible by the RICO Defendants’ regular use of the facilities,
17   services, distribution channels, and employees of the EcoDiesel® RICO Enterprise. The RICO
18   Defendants participated in the scheme to defraud by using mail, telephone and the Internet to
19   transmit mailings and wires in interstate or foreign commerce.
20               317.   The RICO Defendants used, directed the use of, and/or caused to be used,
21   thousands of interstate mail and wire communications in service of their scheme through virtually
22   uniform misrepresentations, concealments and material omissions.
23               318.   In devising and executing the illegal scheme, the RICO Defendants devised and
24   knowingly carried out a material scheme and/or artifice to defraud Plaintiffs and the Nationwide
25   Class or to obtain money from Plaintiffs and the Nationwide Class by means of materially false or
26   fraudulent pretenses, representations, promises, or omissions of material facts. For the purpose of
27   executing the illegal scheme, the RICO Defendants committed these racketeering acts, which
28

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 1   number in the thousands, intentionally and knowingly with the specific intent to advance the
 2   illegal scheme.
 3               319.   The RICO Defendants’ predicate acts of racketeering (18 U.S.C. § 1961(1))
 4   include, but are not limited to:
 5                      A.     Mail Fraud: The RICO Defendants violated 18 U.S.C. § 1341 by sending
 6                             or receiving, or by causing to be sent and/or received, materials via U.S.
 7                             mail or commercial interstate carriers for the purpose of executing the
 8                             unlawful scheme to design, manufacture, market, and sell the Class
 9                             Vehicles by means of false pretenses, misrepresentations, promises, and
10                             omissions.
11                      B.     Wire Fraud: The RICO Defendants violated 18 U.S.C. § 1343 by
12                             transmitting and/or receiving, or by causing to be transmitted and/or
13                             received, materials by wire for the purpose of executing the unlawful
14                             scheme to defraud and obtain money on false pretenses,
15                             misrepresentations, promises, and omissions.
16               320.   The RICO Defendants’ uses of the mails and wires include, but are not limited to,
17   the transmission, delivery, or shipment of the following by the RICO Defendants or third parties
18   that were foreseeably caused to be sent as a result of Defendants’ illegal scheme:
19                      A.     the Class Vehicles themselves;
20                      B.     component parts for the EcoDiesel® engines;
21                      C.     component parts for the Bosch emission control hardware and software;
22                      D.     false or misleading emission test results;
23                      E.     applications for EPA COCs and CARB EOs that concealed AECDs;
24                      F.     fraudulently-obtained EPA COCs and CARB EOs;
25                      G.     vehicle registrations and plates as a result of the fraudulently-obtained EPA
26                             COCs and CARB EOs;
27                      H.     documents and communications that facilitated “passing” emission tests;
28

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 1                      I.     false or misleading communications intended to prevent regulators and the
 2                             public from discovering the true nature of the emission controls and/or
 3                             AECDs;
 4                      J.     sales and marketing materials, including advertising, websites, packaging,
 5                             brochures, and labeling, concealing the true nature of the Class Vehicles;
 6                      K.     documents intended to facilitate the manufacture and sale of the Class
 7                             Vehicles, including bills of lading, invoices, shipping records, reports and
 8                             correspondence;
 9                      L.     documents to process and receive payment for the Class Vehicles by
10                             unsuspecting Class members, including invoices and receipts;
11                      M.     payments to VM Italy and VM America;
12                      N.     payments to Bosch GmbH and Bosch LLC;
13                      O.     millions of dollars in compensation to Marchionne and Denner;
14                      P.     deposits of proceeds; and/or
15                      Q.     other documents and things, including electronic communications.
16               321.   The RICO Defendants (or their agents), for the purpose of executing the illegal
17   scheme, sent and/or received (or caused to be sent and/or received) by mail or by private or
18   interstate carrier, shipments of the Class Vehicles and related documents by mail or a private
19   carrier affecting interstate commerce, including the items described above and alleged below:
20               From                    To                   Date                    Description
21   FCA                         Bosch LLC            January 2013        Documents related to agreement
                                                                          to purchase Bosch EDC Unit 17
22                                                                        for 2014 Jeep Grand Cherokee.
23   VM Motori                   FCA                  January 2013        Documents related to
                                                                          EcoDiesel® engine for 2014
24                                                                        Jeep Grand Cherokee.
25   FCA, Michigan               FCA Dealerships      July 2013            Marketing Documents for 2014
                                                                           Ram 1500 Class Vehicles.
26
     EPA                         FCA                  September 2013      COC and related documents for
27                                                                        2014 Jeep Grand Cherokee.
28

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 1               From                    To                   Date                   Description
 2   EPA                         FCA                  September 2014     COC and related documents for
                                                                         2015 Jeep Grand Cherokee.
 3
     FCA Warren Truck            Arrigo Dodge         November 2015      Shipment of 2016 Ram 1500
 4   Assembly                    dealership,                             Class Vehicles.
                                 Sunrise, Florida
 5

 6               322.   The RICO Defendants (or their agents), for the purpose of executing the illegal

 7   scheme, transmitted (or caused to be transmitted) in interstate commerce by means of wire

 8   communications, certain writings, signs, signals and sounds, including those items described

 9   above and alleged below:

10               From                    To                   Date                   Description
11   Bosch LLC                  PR Newswire,          January 2013       Press release that Bosch’s “clean
                                New York (and                            diesel” technology will be
12                              media network                            featured in 2014 Jeep Grand
                                around United                            Cherokee.
13                              States)
     FCA, Michigan              Driving Public        July 2013          Ram Zone Blog: The 2014 Ram
14                              Throughout All 50                        1500 with EcoDiesel Engine,
                                States                                   Available Soon at a Dealer Near
15                                                                       You.
16   Bosch LLC                  FCA                   October 2013       Software and calibration
                                                                         documentation for emission
17                                                                       control technology.
18   FCA, Michigan              EPA, Michigan         January 2014       Certification Summery
                                and CARB,                                Information Report with
19                              California                               emission test results for 2014
                                                                         Jeep Grand Cherokee and 2014
20                                                                       Ram 1500.
21   FCA, Michigan              EPA, Michigan         January 2015       Certification Summery
                                and CARB,                                Information Report with
22                              California                               emission test results for 2015
                                                                         Jeep Grand Cherokee and 2015
23                                                                       Ram 1500.
24   FCA, Michigan              EPA, Washington,      February 2,        Email correspondence re: FCA
                                DC                    2016               lulling press release concerning
25                                                                       compliance of diesel vehicles
                                                                         with applicable emission
26                                                                       regulations.
27

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 1               From                    To                    Date                   Description
 2   EPA, Washington            FCA, Michigan          November 30,       Email correspondence re:
     DC                                                2016               conference call between EPA
 3                                                                        officials and Defendant
                                                                          Marchionne.
 4

 5               323.   The RICO Defendants also used the internet and other electronic facilities to carry

 6   out the scheme and conceal their ongoing fraudulent activities. Specifically, FCA, under the

 7   direction and control of Fiat and Marchionne, made misrepresentations about the Class Vehicles

 8   on their websites, YouTube, and through ads online, all of which were intended to mislead

 9   regulators and the public about the emission standards and other performance metrics.

10               324.   The RICO Defendants also communicated by U.S. mail, by interstate facsimile,

11   and by interstate electronic mail with various other affiliates, regional offices, divisions,

12   dealerships and other third-party entities in furtherance of the scheme.

13               325.   The mail and wire transmissions described herein were made in furtherance of

14   Defendants’ scheme and common course of conduct to deceive regulators and consumers and lure

15   consumers into purchasing the Class Vehicles, which Defendants knew or recklessly disregarded

16   as emitting illegal amounts of pollution, despite their advertising campaign that the Class

17   Vehicles were “clean” diesel cars.

18               326.   Many of the precise dates of the fraudulent uses of the U.S. mail and interstate

19   wire facilities have been deliberately hidden, and cannot be alleged without access to Defendants’

20   books and records. However, Plaintiffs have described the types of, and in some instances,

21   occasions on which the predicate acts of mail and/or wire fraud occurred. These include

22   thousands of communications to perpetuate and maintain the scheme, including the things and

23   documents described in the preceding paragraphs.

24               327.   The RICO Defendants have not undertaken the practices described herein in

25   isolation, but as part of a common scheme and conspiracy. In violation of 18 U.S.C. § 1962(d),

26   the RICO Defendants conspired to violate 18 U.S.C. § 1962(c), as described herein. Various

27   other persons, firms and corporations, including third-party entities and individuals not named as

28   defendants in this Complaint, have participated as co-conspirators with the RICO Defendants in

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 1   these offenses and have performed acts in furtherance of the conspiracy to increase or maintain
 2   revenues, increase market share, and/or minimize losses for the Defendants and their unnamed
 3   co-conspirators throughout the illegal scheme and common course of conduct.
 4               328.   To achieve their common goals, the RICO Defendants hid from the general public
 5   the excessive and unlawful emissions of the Class Vehicles and obfuscated the true nature and
 6   level of the emissions even after regulators raised concerns. The RICO Defendants suppressed
 7   and/or ignored warnings from third parties, whistleblowers, and governmental entities about the
 8   discrepancies in emissions testing and the concealed auxiliary (or defeat) devices present in the
 9   Class Vehicles.
10               329.   With knowledge and intent, the RICO Defendants and each member of the
11   conspiracy, with knowledge and intent, have agreed to the overall objectives of the conspiracy,
12   and have participated in the common course of conduct, to commit acts of fraud and indecency in
13   designing, manufacturing, distributing, marketing, testing, and/or selling the Class Vehicles (and
14   the emission control technology contained therein).
15               330.   Indeed, for the conspiracy to succeed, each of the RICO Defendants and their co-
16   conspirators had to agree to implement and use the similar devices and fraudulent tactics.
17   Specifically, the RICO Defendants committed to secrecy about the concealed AECDs in the Class
18   Vehicles.
19               331.   The RICO Defendants knew and intended that government regulators would rely
20   on their material omissions made about the Class Vehicles to approve them for importation,
21   marketing, and sale in the United States and each state. The RICO Defendants knew and
22   intended that consumers would purchase the Class Vehicles and incur costs as a result. Plaintiffs’
23   reliance on this ongoing concealment is demonstrated by the fact that they purchased illegal and
24   defective vehicles that never should have been introduced into the U.S. stream of commerce. In
25   addition, the EPA, CARB, and other regulators relied on the misrepresentations and material
26   concealment and omissions made or caused to be made by the RICO Defendants; otherwise, FCA
27   could not have obtained valid COCs and EOs to sell the Class Vehicles.
28

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 1               332.   As described herein, the RICO Defendants engaged in a pattern of related and
 2   continuous predicate acts for years. The predicate acts constituted a variety of unlawful activities,
 3   each conducted with the common purpose of obtaining significant monies and revenues from
 4   Plaintiffs and Class members based on their misrepresentations and omissions, while providing
 5   Class Vehicles that were worth significantly less than the purchase price paid. The predicate acts
 6   also had the same or similar results, participants, victims, and methods of commission. The
 7   predicate acts were related and not isolated events.
 8               333.   The predicate acts had the purpose of generating significant revenue and profits for
 9   the RICO Defendants at the expense of Plaintiffs and Class members. The predicate acts were
10   committed or caused to be committed by the RICO Defendants through their participation in the
11   EcoDiesel® RICO Enterprise and in furtherance of its fraudulent scheme, and were interrelated in
12   that they involved obtaining Plaintiffs’ and Class members’ funds and avoiding the expenses
13   associated with remediating the Class Vehicles.
14               334.   During the design, manufacture, testing, marketing and sale of the Class Vehicles,
15   the RICO Defendants shared among themselves technical, marketing, and financial information
16   that revealed the existence of the AECDs contained therein. Nevertheless, the RICO Defendants
17   chose and agreed to disseminate information that deliberately misrepresented the Class Vehicles
18   as legal, “clean,” “environmentally friendly,” and “fuel efficient” in their concerted efforts to
19   market and sell them to consumers.
20               335.   By reason of, and as a result of the conduct of the RICO Defendants, and in
21   particular, their pattern of racketeering activity, Plaintiffs and Class members have been injured in
22   their business and/or property in multiple ways, including but not limited to:
23                      A.     Purchase or lease of illegal, defective Class Vehicles;
24                      B.     Overpayment at the time of purchase or lease for Class Vehicles
25                             purportedly having “EcoDiesel” properties and benefits, and meeting
26                             applicable federal and state emissions standards, that did not have these
27                             properties or meet these standards;
28                      C.     The value of the Class Vehicles has diminished;

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 1                      D.     Other, ongoing out-of-pocket and loss-of-use expenses;
 2                      E.     Payment for alternative transportation; and
 3                      F.     Loss of employment due to lack of transportation.
 4               336.   The RICO Defendants’ violations of 18 U.S.C. § 1962(c) and (d) have directly and
 5   proximately caused economic damage to Plaintiffs’ and Class members’ business and property,
 6   and Plaintiffs and Class members are entitled to bring this action for three times their actual
 7   damages, as well as injunctive/equitable relief, costs, and reasonable attorneys’ fees pursuant to
 8   18 U.S.C. § 1964(c).
 9                                          NATIONWIDE COUNT II
                                                   FRAUD
10                                              (Common Law)
11               337.   Plaintiffs incorporate by reference all preceding allegations as though fully set
12   forth herein.
13               A.     Affirmative Misrepresentation
14               338.   Plaintiffs assert this affirmative misrepresentation theory of fraud on behalf of
15   themselves and the Nationwide Class or, in the alternative, on behalf of the State Classes, against
16   the Fiat Chrysler and VM Motori Defendants.
17               339.   Fiat Chrysler branded each Class Vehicle with the EcoDiesel badge. Through the
18   badge, Fiat Chrysler communicated to each Class Member that the Class Vehicles were, among
19   other things, environmentally friendly.
20               340.   This was a material fact, as Fiat Chrysler’s own research and communications
21   demonstrate. Fiat Chrysler’s representations were false because the Class Vehicles contain
22   undisclosed emission cheating components that cause them to pollute excessively in real-world
23   driving conditions.
24               341.   Fiat Chrysler and VM Motori knew the representations were false and intended
25   Plaintiffs and Class Members to rely on them.
26               342.   Each named Plaintiff decided to buy a Class Vehicle based in part on the
27   representations communicated through the EcoDiesel badge. See, e.g., ¶¶ 34-96. Because each
28   Class Vehicle included the badge and each Class Member was exposed to it, a “plausible . . .

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 1   inference of reliance” can be made for the entire Class. Dkt. 290 at 103 (citing Tobacco II Cases,
 2   207 P.3d 20, 40 (Cal. 2009)).
 3               B.     Fraudulent Concealment: Fuel Economy and Performance Representations
 4               343.   Plaintiffs assert this fraudulent concealment theory on behalf of themselves and the
 5   Nationwide Class or, in the alternative, on behalf of the State Classes, against all Defendants.
 6               344.   Again, Fiat Chrysler branded each Class Vehicle with the EcoDiesel badge, which
 7   communicated not only that the Class Vehicles were environmentally friendly, but also that they
 8   were fuel efficient.
 9               345.   The fuel economy and performance representations were also the centerpiece of
10   Fiat Chrysler’s marketing efforts and featured prominently in virtually every advertisement and
11   consumer communication. As detailed above , through dealership training materials leading to
12   representations at the point of sale, vehicle brochures, the manufacturer websites, print
13   advertisements, television advertisements, and other avenues, Fiat Chrysler pervasively and
14   consistently represented that the Class Vehicles had best in class fuel economy and touted their
15   specific MPG and range, as well as their supposedly superior torque and performance. See, e.g.,
16   ¶¶ 149-216.
17               346.   Defendants concealed and suppressed the fact that the Class Vehicles could
18   achieve their fuel efficiency and power only through undisclosed cheating components that cause
19   them to pollute excessively. This was a material fact about which the Defendants had knowledge,
20   and that they concealed from Plaintiffs and Class Members to mislead them.
21               347.   Plaintiffs and Class Members did not know this fact and could not have discovered
22   it through reasonably diligent investigation.
23               348.   Defendants had a duty to disclose that the emission treatment technology in the
24   Class Vehicles is de-activated or reduced under real-world driving conditions because (1) the
25   Defendants had exclusive knowledge of the material, suppressed facts; (2) the Defendants took
26   affirmative actions to conceal the material facts, including by not identifying them for the EPA
27   and CARB; and (3) Fiat Chrysler made partial representations about the environmental
28   friendliness, fuel economy, and performance of the Class Vehicles that were misleading without

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 1   disclosure of the fact that the Class Vehicles contained hidden emission cheating components that
 2   caused the Class Vehicles to pollute excessively in real-world driving conditions.
 3               349.   Each named Plaintiff decided to buy a Class Vehicle based in part on the fuel
 4   economy and power representations made through the EcoDiesel badge and other consumer
 5   communications to consumers. See, e.g., ¶¶ 34-96. Because each Class Vehicle included the
 6   badge and each Class Member was exposed to it, and because the fuel economy and performance
 7   representations were consistent and pervasive, a “plausible . . . inference of reliance” can be made
 8   for the entire Class. Dkt. 290 at 103 (citing Tobacco II Cases, 207 P.3d 20, 40 (Cal. 2009)).
 9               C.     Fraudulent Concealment: Installing and Concealing the Defeat Devices
10               350.   Plaintiffs assert this fraudulent concealment theory on behalf of themselves and the
11   Nationwide Class or, in the alternative, on behalf of the State Classes, against all Defendants.
12               351.   Each Defendant committed fraud by installing and calibrating emission control
13   devices in the Class Vehicles, which were unlawfully concealed from regulators and consumers
14   alike. In uniform advertising and materials provided with each Class Vehicle, the Fiat Chrysler
15   Defendants concealed from Plaintiffs and the Nationwide Class that the emission treatment
16   technology de-activated under real-world driving conditions. See, e.g., ¶¶ 149-216.
17               352.   The Fiat Chrysler Defendants intentionally concealed, suppressed, and failed to
18   disclose the facts that the Class Vehicles had defective emission controls and/or emitted
19   unlawfully high levels of pollutants such as NOx. These Defendants, along with VM Motori and
20   the Bosch Defendants, knew or should have known the true facts, due to their involvement in the
21   design, installment, and calibration of the emission treatment technology in the Class Vehicles.
22   And yet, at no time did any of these Defendants reveal the truth to Plaintiffs or the Class. To the
23   contrary, each Defendant concealed the truth, intending for Plaintiffs and the Class to rely—
24   which they did.
25               353.   A reasonable consumer would not have expected that the emission treatment
26   technology in the Class Vehicles de-activated under real-world driving conditions or that the
27   Class Vehicle would spew unmitigated NOx during city or highway driving. Plaintiffs and the
28   members of the Class did not know of the facts which were concealed from them by Defendants.

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 1   Moreover, as consumers, Plaintiffs and the members of the Class did not, and could not, unravel
 2   the deception on their own.
 3               354.   Defendants had a duty to disclose that the emission treatment technology is de-
 4   activated under real-world driving conditions and that the Class Vehicles spewed unmitigated
 5   NOx during real-world conditions. Defendants had such a duty because the true facts were
 6   known and/or accessible only to them and because they knew these facts were not known to or
 7   reasonably discoverable by Plaintiffs or the members of the Class.
 8               355.   Fiat Chrysler and VM Motori also had a duty to disclose the true nature of the
 9   emission controls in light of their statements about the qualities of the EcoDiesel® engines and
10   the Class Vehicles’ emissions levels, which were misleading, deceptive, and incomplete without
11   the disclosure of the fact that the emission treatment technology is de-activated under real-world
12   driving conditions and that the Class Vehicles spewed unmitigated NOx during real-world
13   conditions. Fiat Chrysler held out the Class Vehicles as reduced emission diesel vehicles, when
14   in fact, they were unlawfully high emission vehicles. Having volunteered to provide information
15   to Plaintiffs and the members of the Class, Fiat Chrysler and VM Motori had the duty to disclose
16   the whole truth. On information and belief, Fiat Chrysler has still not made full and adequate
17   disclosures and continues to defraud Plaintiffs and the members of the Class by concealing
18   material information regarding the emissions qualities of the Class Vehicles.
19                                                     * * *
20               356.   But for Defendants’ fraud, Plaintiffs and the members of the Class would not have
21   purchased the Class Vehicles, or would have paid less for them. Plaintiffs and the members of
22   the Class have sustained damage because purchased vehicles that were not as represented and
23   because they own Class Vehicles that should never have been placed in the stream of commerce
24   and are diminished in value as a result of Defendants’ fraud. Accordingly, Defendants are liable
25   to Plaintiffs and the members of the Class for damages in an amount to be proven at trial.
26               357.   Defendants’ acts were done wantonly, maliciously, oppressively, deliberately, with
27   intent to defraud; in reckless disregard of the rights of Plaintiffs and the Class; and to enrich
28   themselves. Their misconduct warrants an assessment of punitive damages in an amount

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 1   sufficient to deter such conduct in the future, which amount shall be determined according to
 2   proof at trial.
 3                                     NATIONWIDE COUNT III
                                IMPLIED AND WRITTEN WARRANTY
 4                        Magnuson - Moss Warranty Act (15 U.S.C. §§ 2301, et seq.)
 5               358.   Plaintiffs incorporate by reference all preceding allegations as though fully set
 6   forth herein.
 7               359.   Plaintiffs bring this action on behalf of themselves and the Nationwide Class
 8   against FCA US LLC.
 9               360.   This Court has jurisdiction to decide claims brought under 15 U.S.C. § 2301 by
10   virtue of 28 U.S.C. § 1332 (a)-(d).
11               361.   Plaintiffs and members of the Class are “consumers” within the meaning of
12   15 U.S.C. § 2301(3).
13               362.   FCA is a “supplier” and “warrantor” within the meaning of 15 U.S.C. § 2301(4)
14   and (5), respectively.
15               363.   The Class Vehicles are “consumer products” within the meaning of 15 U.S.C.
16   § 2301(1).
17               364.   15 U.S.C. § 2310(d)(1) provides a cause of action for any consumer who is
18   damaged by the failure of a warrantor to comply with a written or implied warranty.
19               365.   The amount in controversy of Plaintiffs’ individual claims meets or exceeds
20   $25.00 in value. In addition, the amount in controversy meets or exceeds $50,000 in value
21   (exclusive of interest and costs) on the basis of all claims to be determined in this lawsuit.
22               366.   FCA provided Plaintiffs and each member of the Class with “written warranties”
23   and “implied warranties,” as identified above, which are covered under 15 U.S.C. § 2301(6) and
24   (7), respectively.
25               367.   The terms of these warranties became part of the basis of the bargain when
26   Plaintiffs and each member of the Class purchased their Class Vehicles.
27               368.   FCA breached these written and implied warranties as described in detail above.
28   Without limitation, the Class Vehicles share a common design defect in that they emit more

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 1   pollutants than: (a) is allowable under the applicable regulations, and (b) was revealed to
 2   regulators, consumers, and the driving public.
 3               369.   Plaintiffs and each member of the Class have had sufficient direct dealings with
 4   either FCA or its agents (including dealerships) to establish privity of contract between FCA, on
 5   the one hand, and Plaintiffs and each member of the Class, on the other hand. Nonetheless,
 6   privity is not required here because Plaintiffs and each member of the Class are intended third-
 7   party beneficiaries of contracts between FCA and its dealers, and specifically, of FCA’s implied
 8   warranties. The dealers were not intended to be the ultimate consumers of the Class Vehicles and
 9   have no rights under the warranty agreements provided with the Class Vehicles; the warranty
10   agreements were designed for and intended to benefit consumers only.
11               370.   Affording FCA a reasonable opportunity to cure its breach of written warranties
12   would be unnecessary and futile. At the time of sale or lease of each Class Vehicle, FCA knew,
13   or should have known, of its misrepresentations and/or material omissions concerning the Class
14   Vehicles’ inability to perform as warranted, but nonetheless failed to rectify the situation and/or
15   disclose the design defect. Under the circumstances, the remedies available under any informal
16   settlement procedure would be inadequate and any requirement that Plaintiffs or members of the
17   Class resort to an informal dispute resolution procedure and/or afford FCA a reasonable
18   opportunity to cure its breach of warranties is excused and thereby deemed satisfied.
19               371.   In addition, given the conduct described herein, any attempts by FCA, in its
20   capacity as a warrantor, to limit the implied warranties in a manner that would exclude coverage
21   of the defect is unconscionable and any such effort to disclaim, or otherwise limit, liability for the
22   defect is null and void.
23               372.   As a direct and proximate result of FCA’s breach of the written and implied
24   warranties, Plaintiffs and each member of the Class have suffered damages.
25               373.   Plaintiffs, individually and on behalf of the Class, seek all damages permitted by
26   law, including compensation for the monetary difference between the Class Vehicles as warranted
27   and as sold; compensation for the reduction in resale value; the cost of purchasing, leasing, or
28

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 1   renting replacement vehicles, along with all other incidental and consequential damages, statutory
 2   attorney fees, and all other relief allowed by law.
 3               374.   The warranty laws of each state, which are incorporated into this Count, are set
 4   forth below.
 5                      1.     Alabama
 6                                   BREACH OF EXPRESS WARRANTY
                                      (Ala. Code §§ 7-2-313 and 7-2A-210)
 7

 8               375.   Plaintiffs reallege and incorporate by reference all preceding allegations as though
 9   fully set forth herein.
10               376.   Plaintiffs Chatom Motor Company, Inc., Victor Feldman, and Nelson John
11   Stephens (for the purpose of this section, “Plaintiffs”) bring this action on behalf of themselves
12   and the Alabama State Class against Fiat and FCA.
13               377.   Fiat and FCA are and were at all relevant times “merchants” with respect to motor
14   vehicles under Ala. Code §§ 7-2-104(1) and 7-2A-103(3), and “sellers” of motor vehicles under
15   § 7-2-103(1)(d).
16               378.   With respect to leases, Fiat and FCA are and were all relevant times “lessors” of
17   motor vehicles under Ala. Code. § 7-2A-103(1)(p).
18               379.   The Class Vehicles are and were at all relevant times “goods” within the meaning
19   of Ala. Code §§ 7-2-105(1) and 7-2A-103(1)(h).
20               380.   Federal law requires manufacturers of light-duty vehicles to provide two federal
21   emission control warranties: a “Performance Warranty” and a “Design and Defect Warranty.”
22   The Performance Warranty applies to repairs that are required during the first two years or 24,000
23   miles, whichever occurs first, when a vehicle fails an emissions test. Under this warranty, certain
24   major emission control components are covered for the first eight years or 80,000 miles,
25   whichever comes first. These major emission control components subject to the longer warranty
26   include the catalytic converters, the electronic engine control unit (ECU), and the onboard
27   emissions diagnostic device or computer. The Design and Defect Warranty covers repair of
28   emission control or emission related parts which fail to function or function improperly due to a

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 1   defect in materials or workmanship. This warranty provides protection for two years or 24,000
 2   miles, whichever comes first, or, for the major emission control components, for eight years or
 3   80,000 miles, whichever comes first.
 4               381.    Fiat and FCA provided these warranties to Plaintiffs and the Alabama State Class.
 5   These warranties formed the basis of the bargain that was reached when Plaintiffs and the
 6   Alabama State Class purchased or leased their Class Vehicles.
 7               382.    However, Fiat and FCA knew or should have known that the warranties were false
 8   and/or misleading. Fiat and FCA were aware that the emissions systems in the Class Vehicles
 9   sold and leased to Plaintiffs and the Alabama State Class were designed to deactivate under real-
10   world driving conditions, and to emit oxides of nitrogen within legal limits only when undergoing
11   emissions testing, and therefore, knew that the emission systems contained defects.
12               383.    Plaintiffs and the Alabama State Class reasonably relied on Fiat’s and FCA’s
13   express warranties concerning emissions when purchasing or leasing the Class Vehicles.
14   However, the Class Vehicles did not perform as warranted. Unbeknownst to Plaintiffs and the
15   Alabama State Class, the Class Vehicles were designed to pollute at higher than legal limits
16   during normal driving, and could not achieve advertised performance and efficiency metrics
17   without this cheating design. This design and the devices that effectuate it are defects. Fiat and
18   FCA therefore breached their express warranty by providing a product containing defects that
19   were never disclosed to Plaintiffs and the Alabama State Class.
20               384.    Any opportunity to cure the express breach is unnecessary and futile.
21               385.    As a direct and proximate result of Fiat’s and FCA’s breach of express warranties,
22   Plaintiffs and the Alabama State Class suffered significant damages, and seek damages in an
23   amount to be determined at trial.
24                      BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY
                                   (Ala. Code §§ 7-2-314 and 7-2A-212)
25

26               386.    Plaintiffs reallege and incorporate by reference all allegations of the preceding
27   paragraphs as though fully set forth herein.
28

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 1               387.   Plaintiffs Chatom Motor Company, Inc., Victor Feldman, and Nelson John
 2   Stephens (for the purpose of this section, “Plaintiffs”) bring this action on behalf of themselves
 3   and the Alabama State Class against Fiat and FCA.
 4               388.   Fiat and FCA were at all relevant times “merchants” with respect to motor vehicles
 5   under Ala. Code §§ 7-2-104(1) and 7-2A-103(3), and “sellers” of motor vehicles under § 7-2-
 6   103(1)(d).
 7               389.   With respect to leases, Fiat and FCA are and were at all relevant times “lessors” of
 8   motor vehicles under Ala. Code. § 7-2A-103(1)(p).
 9               390.   The Class Vehicles are and were at all relevant times “goods” within the meaning
10   of Ala. Code §§ 7-2-105(1) and 7-2A-103(1)(h).
11               391.   A warranty that the Class Vehicles were in merchantable condition and fit for the
12   ordinary purpose for which vehicles are used is implied by law pursuant to Ala. Code §§ 7-2-314
13   and 7-2A-212.
14               392.   Fiat and FCA sold and/or leased Class Vehicles that were not in merchantable
15   condition and/or fit for their ordinary purpose in violation of the implied warranty. The Class
16   Vehicles were not in merchantable condition because their design violated state and federal laws.
17   The Class Vehicles were not fit for their ordinary purpose as they were built to evade state and
18   federal emission standards.
19               393.   Fiat’s and FCA’s breaches of the implied warranty of merchantability caused
20   damage to Plaintiffs and the Alabama State Class. The amount of damages due will be proven at
21   trial.
22                      2.     Alaska
23                                  BREACH OF EXPRESS WARRANTY
                                 (Alaska Stat. Ann. §§ 45.02.313 and 45.12.210)
24

25               394.   Plaintiffs reallege and incorporate by reference all preceding allegations as though
26   fully set forth herein.
27

28

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 1               395.   Plaintiffs Matthew Johnson and Amanda Kobussen (for purposes of this section,
 2   “Plaintiffs”) bring this action on behalf of themselves and the Alaska State Class against Fiat and
 3   FCA.
 4               396.   Fiat and FCA are and were at all relevant times “merchants” with respect to motor
 5   vehicles under Alaska Stat. Ann. §§ 45.02.104(a) and 45.12.103(c)(11), and “sellers” of motor
 6   vehicles under § 45.02.103(a)(4).
 7               397.   With respect to leases, Fiat and FCA are and were all relevant times “lessors” of
 8   motor vehicles under Alaska Stat. Ann. § 45.12.103(a)(16).
 9               398.   The Class Vehicles are and were at all relevant times “goods” within the meaning
10   of Alaska Stat. Ann. §§ 45.02.105(a) and 45.12.103(a)(8)).
11               399.   Federal law requires manufacturers of light-duty vehicles to provide two federal
12   emission control warranties: a “Performance Warranty” and a “Design and Defect Warranty.”
13   The Performance Warranty applies to repairs that are required during the first two years or 24,000
14   miles, whichever occurs first, when a vehicle fails an emissions test. Under this warranty, certain
15   major emission control components are covered for the first eight years or 80,000 miles,
16   whichever comes first. These major emission control components subject to the longer warranty
17   include the catalytic converters, the electronic engine control unit (ECU), and the onboard
18   emissions diagnostic device or computer. The Design and Defect Warranty covers repair of
19   emission control or emission related parts which fail to function or function improperly due to a
20   defect in materials or workmanship. This warranty provides protection for two years or 24,000
21   miles, whichever comes first, or, for the major emission control components, for eight years or
22   80,000 miles, whichever comes first.
23               400.   Fiat and FCA provided these warranties to Plaintiffs and the Alaska State Class.
24   These warranties formed the basis of the bargain that was reached when Plaintiffs and the Alaska
25   State Class members purchased or leased their Class Vehicles.
26               401.   However, Fiat and FCA knew or should have known that the warranties were false
27   and/or misleading. Fiat and FCA were aware that the emissions systems in the Class Vehicles
28   sold and leased to Plaintiffs and the Alaska State Class were designed to deactivate under real-

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 1   world driving conditions, and to emit oxides of nitrogen within legal limits only when undergoing
 2   emissions testing, and therefore, knew that the emission systems contained defects.
 3               402.   Plaintiffs and the Alaska State Class reasonably relied on Fiat’s and FCA’s express
 4   warranties concerning emissions when purchasing or leasing the Class Vehicles. However, the
 5   Class Vehicles did not perform as warranted. Unbeknownst to Plaintiffs and the Alaska State
 6   Class, the Class Vehicles were designed to pollute at higher than legal limits during normal
 7   driving, and could not achieve advertised performance and efficiency metrics without this
 8   cheating design. This design and the devices that effectuate it are defects. Fiat and FCA
 9   therefore breached their express warranty by providing a product containing defects that were
10   never disclosed to Plaintiffs and the Alaska State Class.
11               403.   Any opportunity to cure the express breach is unnecessary and futile.
12               404.   As a direct and proximate result of Fiat’s and FCA’s breach of express warranties,
13   Plaintiffs and the Alaska State Class suffered significant damages, and seek damages in an
14   amount to be determined at trial.
15                 BREACH OF THE IMPLIED WARRANTY OF MERCHANTABILITY
                            (Alaska Stat. Ann. §§ 45.02.314 and 45.12.212)
16

17               405.   Plaintiffs reallege and incorporate by reference all allegations of the preceding
18   paragraphs as though fully set forth herein.
19               406.   Plaintiffs Matthew Johnson and Amanda Kobussen (for purposes of this section,
20   “Plaintiffs”) bring this action on behalf of themselves and the Alaska State Class against Fiat and
21   FCA.
22               407.   Fiat and FCA were at all relevant times “merchants” with respect to motor vehicles
23   under Alaska Stat. Ann. §§ 45.02.104(a) and 45.12.103(c)(11), and “sellers” of motor vehicles
24   under § 45.02.103(a)(4).
25               408.   With respect to leases, Fiat and FCA are and were at all relevant times “lessors” of
26   motor vehicles under Alaska Stat. Ann. § 45.12.103(a)(16).
27               409.   The Class Vehicles are and were at all relevant times “goods” within the meaning
28   of Alaska Stat. Ann. §§ 45.02.105(a) and 45.12.103(a)(8).

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 1               410.   A warranty that the Class Vehicles were in merchantable condition and fit for the
 2   ordinary purpose for which vehicles are used is implied by law pursuant to Alaska Stat.
 3   §§ 45.02.314 and 45.12.212.
 4               411.   Fiat and FCA sold and/or leased Class Vehicles that were not in merchantable
 5   condition and/or fit for their ordinary purpose in violation of the implied warranty. The Class
 6   Vehicles were not in merchantable condition because their design violated state and federal laws.
 7   The Class Vehicles were not fit for their ordinary purpose as they were built to evade state and
 8   federal emission standards.
 9               412.   Fiat’s and FCA’s breaches of the implied warranty of merchantability caused
10   damage to Plaintiffs and the Alaska State Class. The amount of damages due will be proven at
11   trial.
12                      3.     Arizona
13                                  BREACH OF EXPRESS WARRANTY
                                   (Ariz. Rev. Stat. §§ 47-2313 and 47-2A210)
14

15               413.   Plaintiffs reallege and incorporate by reference all preceding allegations as though
16   fully set forth herein.
17               414.   Plaintiff Gregory Giauque (for the purpose of this section, “Plaintiff”) bring this
18   action on behalf of himself and the Arizona State Class against Fiat and FCA.
19               415.   Fiat and FCA are and were at all relevant times “merchants” with respect to motor
20   vehicles under Ariz. Rev. Stat. §§ 47-2104(A) and 47-2a103(c), and “sellers” of motor vehicles
21   under § 47-2103(A)(4).
22               416.   With respect to leases, Fiat and FCA are and were all relevant times “lessors” of
23   motor vehicles under Ariz. Rev. Stat. § 47-2a103(A)(16).
24               417.   The Class Vehicles are and were at all relevant times “goods” within the meaning
25   of Ariz. Rev. Stat. §§ 47-2105(A) and 47-2a103(A)(8).
26               418.   Federal law requires manufacturers of light-duty vehicles to provide two federal
27   emission control warranties: a “Performance Warranty” and a “Design and Defect Warranty.”
28   The Performance Warranty applies to repairs that are required during the first two years or 24,000

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 1   miles, whichever occurs first, when a vehicle fails an emissions test. Under this warranty, certain
 2   major emission control components are covered for the first eight years or 80,000 miles,
 3   whichever comes first. These major emission control components subject to the longer warranty
 4   include the catalytic converters, the electronic engine control unit (ECU), and the onboard
 5   emissions diagnostic device or computer. The Design and Defect Warranty covers repair of
 6   emission control or emission related parts which fail to function or function improperly due to a
 7   defect in materials or workmanship. This warranty provides protection for two years or 24,000
 8   miles, whichever comes first, or, for the major emission control components, for eight years or
 9   80,000 miles, whichever comes first.
10               419.   Fiat and FCA provided these warranties to Plaintiff and the Arizona State Class.
11   These warranties formed the basis of the bargain that was reached when Plaintiff and the Arizona
12   State Class purchased or leased their Class Vehicles.
13               420.   However, Fiat and FCA knew or should have known that the warranties were false
14   and/or misleading. Fiat and FCA were aware that the emissions systems in the Class Vehicles
15   sold and leased to Plaintiff and the Arizona State Class were designed to deactivate under real-
16   world driving conditions, and to emit oxides of nitrogen within legal limits only when undergoing
17   emissions testing, and therefore, knew that the emission systems contained defects.
18               421.   Plaintiff and the Arizona State Class reasonably relied on Fiat’s and FCA’s
19   express warranties concerning emissions when purchasing or leasing the Class Vehicles.
20   However, the Class Vehicles did not perform as warranted. Unbeknownst to Plaintiff and the
21   Arizona State Class, the Class Vehicles were designed to pollute at higher than legal limits during
22   normal driving, and could not achieve advertised performance and efficiency metrics without this
23   cheating design. This design and the devices that effectuate it are defects. Fiat and FCA
24   therefore breached their express warranty by providing a product containing defects that were
25   never disclosed to Plaintiff and the Arizona State Class.
26               422.   Any opportunity to cure the express breach is unnecessary and futile.
27

28

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 1               423.    As a direct and proximate result of Fiat’s and FCA’s breach of express warranties,
 2   Plaintiff and the Arizona State Class suffered significant damages, and seek damages in an
 3   amount to be determined at trial.
 4                      BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY
                                (Ariz. Rev. Stat. §§ 47-2314 and 47-2A212)
 5

 6               424.    Plaintiffs reallege and incorporate by reference all allegations of the preceding
 7   paragraphs as though fully set forth herein.
 8               425.    Plaintiff Gregory Giauque (for the purpose of this section, “Plaintiff”) bring this
 9   action on behalf of himself and the Arizona State Class against Fiat and FCA.
10               426.    Fiat and FCA were at all relevant times “merchants” with respect to motor vehicles
11   under Ariz. Rev. Stat. §§ 47-2104(A) and 47-2a103(c), and “sellers” of motor vehicles under
12   § 47-2103(A)(4).
13               427.    With respect to leases, Fiat and FCA are and were at all relevant times “lessors” of
14   motor vehicles under Ariz. Rev. Stat. § 47-2a103(A)(16).
15               428.    The Class Vehicles are and were at all relevant times “goods” within the meaning
16   of Ariz. Rev. Stat. §§ 47-2105(A) and 47-2a103(A)(8).
17               429.    A warranty that the Class Vehicles were in merchantable condition and fit for the
18   ordinary purpose for which vehicles are used is implied by law pursuant to Ariz. Rev. Stat. §§ 47-
19   2314 and 47-2a212.
20               430.    Fiat and FCA sold and/or leased Class Vehicles that were not in merchantable
21   condition and/or fit for their ordinary purpose in violation of the implied warranty. The Class
22   Vehicles were not in merchantable condition because their design violated state and federal laws.
23   The Class Vehicles were not fit for their ordinary purpose as they were built to evade state and
24   federal emission standards.
25               431.    Fiat’s and FCA’s breaches of the implied warranty of merchantability caused
26   damage to the Plaintiff and the Arizona State Class. The amount of damages due will be proven
27   at trial.
28

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 1                      4.     Arkansas
 2                                   BREACH OF EXPRESS WARRANTY
                                    (Ark. Code Ann. §§ 4-2-313 and 4-2A-210)
 3

 4               432.   Plaintiffs reallege and incorporate by reference all preceding allegations as though

 5   fully set forth herein.

 6               433.   Plaintiff Melvin Phillips (for the purpose of this section, “Plaintiff”) brings this

 7   action on behalf of himself and the Arkansas State Class against Fiat and FCA.

 8               434.   Fiat and FCA are and were at all relevant times “merchants” with respect to motor

 9   vehicles under Ark. Code Ann. §§ 4-2-104(1) and 4-2A-103(3), and “seller[s]” of motor vehicles

10   under § 4-2-103(1)(d).

11               435.   With respect to leases, Fiat and FCA are and were all relevant times “lessors” of

12   motor vehicles under Ark. Code Ann. § 4-2A-103(1)(p).

13               436.   The Class Vehicles are and were at all relevant times “goods” within the meaning

14   of Ark. Code Ann. §§ 4-2-105(1) and 4-2A-103(1)(h).

15               437.   Federal law requires manufacturers of light-duty vehicles to provide two federal

16   emission control warranties: a “Performance Warranty” and a “Design and Defect Warranty.”

17   The Performance Warranty applies to repairs that are required during the first two years or 24,000

18   miles, whichever occurs first, when a vehicle fails an emissions test. Under this warranty, certain

19   major emission control components are covered for the first eight years or 80,000 miles,

20   whichever comes first. These major emission control components subject to the longer warranty

21   include the catalytic converters, the electronic engine control unit (ECU), and the onboard

22   emissions diagnostic device or computer. The Design and Defect Warranty covers repair of

23   emission control or emission related parts which fail to function or function improperly due to a

24   defect in materials or workmanship. This warranty provides protection for two years or 24,000

25   miles, whichever comes first, or, for the major emission control components, for eight years or

26   80,000 miles, whichever comes first.

27

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 1               438.    Fiat and FCA provided these warranties to Plaintiff and the Arkansas State Class.
 2   These warranties formed the basis of the bargain that was reached when Plaintiff and the
 3   Arkansas State Class purchased or leased their Class Vehicles.
 4               439.    However, Fiat and FCA knew or should have known that the warranties were false
 5   and/or misleading. Fiat and FCA were aware that the emissions systems in the Class Vehicles
 6   sold and leased to Plaintiff and the Arkansas State Class were designed to deactivate under real-
 7   world driving conditions, and to emit oxides of nitrogen within legal limits only when undergoing
 8   emissions testing, and therefore, knew that the emission systems contained defects.
 9               440.    Plaintiff and the Arkansas State Class reasonably relied on Fiat’s and FCA’s
10   express warranties concerning emissions when purchasing or leasing the Class Vehicles.
11   However, the Class Vehicles did not perform as warranted. Unbeknownst to Plaintiff and the
12   Arkansas State Class, the Class Vehicles were designed to pollute at higher than legal limits
13   during normal driving, and could not achieve advertised performance and efficiency metrics
14   without this cheating design. This design and the devices that effectuate it are defects. Fiat and
15   FCA therefore breached their express warranty by providing a product containing defects that
16   were never disclosed to Plaintiff and the Arkansas State Class.
17               441.    Any opportunity to cure the express breach is unnecessary and futile.
18               442.    As a direct and proximate result of Fiat’s and FCA’s breach of express warranties,
19   Plaintiff and the Arkansas State Class suffered significant damages, and seek damages in an
20   amount to be determined at trial.
21                      BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY
                                (Ark. Code Ann. §§ 4-2-314 and 4-2A-212)
22

23               443.    Plaintiffs reallege and incorporate by reference all allegations of the preceding
24   paragraphs as though fully set forth herein.
25               444.    Plaintiff Melvin Phillips (for the purpose of this section, “Plaintiff”) brings this
26   action on behalf of himself and the Arkansas State Class against Fiat and FCA.
27

28

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 1               445.   Fiat and FCA were at all relevant times “merchants” with respect to motor vehicles
 2   under Ark. Code Ann. §§ 4-2-104(1) and 4-2A-103(3), and “seller[s]” of motor vehicles under
 3   § 4-2-103(1)(d).
 4               446.   With respect to leases, Fiat and FCA are and were at all relevant times “lessors” of
 5   motor vehicles under Ark. Code Ann. § 4-2A-103(1)(p).
 6               447.   The Class Vehicles are and were at all relevant times “goods” within the meaning
 7   of Ark. Code Ann. §§ 4-2-105(1) and 4-2A-103(1)(h).
 8               448.   A warranty that the Class Vehicles were in merchantable condition and fit for the
 9   ordinary purpose for which vehicles are used is implied by law pursuant to Ark. Code Ann. §§ 4-
10   2-314 and 4-2A-212.
11               449.   Fiat and FCA sold and/or leased Class Vehicles that were not in merchantable
12   condition and/or fit for their ordinary purpose in violation of the implied warranty. The Class
13   Vehicles were not in merchantable condition because their design violated state and federal laws.
14   The Class Vehicles were not fit for their ordinary purpose as they were built to evade state and
15   federal emission standards.
16               450.   Fiat’s and FCA’s breaches of the implied warranty of merchantability caused
17   damage to Plaintiff and the Arkansas State Class. The amount of damages due will be proven at
18   trial.
19                      5.     California
20                                   BREACH OF EXPRESS WARRANTY
                                      (Cal. Com. Code §§ 2313 and 10210)
21

22               451.   Plaintiffs reallege and incorporate by reference all preceding allegations as though
23   fully set forth herein.
24               452.   Plaintiffs Jose Chavez, Leslie Bernstein, Gregory Giauque, and Satyanam Singh
25   (for the purpose of this section, “Plaintiffs”) bring this action on behalf of themselves and the
26   California State Class against Fiat and FCA.
27

28

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 1               453.   Fiat and FCA are and were at all relevant times “merchants” with respect to motor
 2   vehicles under Cal. Com. Code §§ 2104(1) and 10103(c), and “sellers” of motor vehicles under
 3   § 2103(1)(d).
 4               454.   With respect to leases, Fiat and FCA are and were all relevant times “lessors” of
 5   motor vehicles under Cal. Com. Code § 10103(a)(16).
 6               455.   The Class Vehicles are and were at all relevant times “goods” within the meaning
 7   of Cal. Com. Code §§ 2105(1) and 10103(a)(8)).
 8               456.   Federal law requires manufacturers of light-duty vehicles to provide two federal
 9   emission control warranties: a “Performance Warranty” and a “Design and Defect Warranty.”
10   The Performance Warranty applies to repairs that are required during the first two years or 24,000
11   miles, whichever occurs first, when a vehicle fails an emissions test. Under this warranty, certain
12   major emission control components are covered for the first eight years or 80,000 miles,
13   whichever comes first. These major emission control components subject to the longer warranty
14   include the catalytic converters, the electronic engine control unit (ECU), and the onboard
15   emissions diagnostic device or computer. The Design and Defect Warranty covers repair of
16   emission control or emission related parts which fail to function or function improperly due to a
17   defect in materials or workmanship. This warranty provides protection for two years or 24,000
18   miles, whichever comes first, or, for the major emission control components, for eight years or
19   80,000 miles, whichever comes first.
20               457.   Fiat and FCA provided these warranties to Plaintiffs and the California State Class.
21   These warranties formed the basis of the bargain that was reached when Plaintiffs and the
22   California State Class purchased or leased their Class Vehicles.
23               458.   However, Fiat and FCA knew or should have known that the warranties were false
24   and/or misleading. Fiat and FCA were aware that the emissions systems in the Class Vehicles
25   sold and leased to Plaintiffs and the California State Class were designed to deactivate under real-
26   world driving conditions, and to emit oxides of nitrogen within legal limits only when undergoing
27   emissions testing, and therefore, knew that the emission systems contained defects.
28

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 1               459.    Plaintiffs and the California State Class reasonably relied on Fiat’s and FCA’s
 2   express warranties concerning emissions when purchasing or leasing the Class Vehicles.
 3   However, the Class Vehicles did not perform as warranted. Unbeknownst to Plaintiffs and the
 4   California State Class, the Class Vehicles were designed to pollute at higher than legal limits
 5   during normal driving, and could not achieve advertised performance and efficiency metrics
 6   without this cheating design. This design and the devices that effectuate it are defects. Fiat and
 7   FCA therefore breached their express warranty by providing a product containing defects that
 8   were never disclosed to Plaintiffs and the California State Class.
 9               460.    Any opportunity to cure the express breach is unnecessary and futile.
10               461.    As a direct and proximate result of Fiat’s and FCA’s breach of express warranties,
11   Plaintiffs and the California State Class suffered significant damages, and seek damages in an
12   amount to be determined at trial.
13                      BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY
                                   (Cal. Com. Code §§ 2314 and 10212)
14

15               462.    Plaintiffs reallege and incorporate by reference all allegations of the preceding
16   paragraphs as though fully set forth herein.
17               463.    Plaintiffs Jose Chavez, Leslie Bernstein, Gregory Giauque, and Satyanam Singh
18   (for the purpose of this section, “Plaintiffs”) bring this action on behalf of themselves and the
19   California State Class against Fiat and FCA.
20               464.    Fiat and FCA were at all relevant times “merchants” with respect to motor vehicles
21   under Cal. Com. Code §§ 2104(1) and 10103(c), and “sellers” of motor vehicles under
22   § 2103(1)(d).
23               465.    With respect to leases, Fiat and FCA are and were at all relevant times “lessors” of
24   motor vehicles under Cal. Com. Code § 10103(a)(16).
25               466.    The Class Vehicles are and were at all relevant times “goods” within the meaning
26   of Cal. Com. Code §§ 2105(1) and 10103(a)(8).
27

28

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 1               467.   A warranty that the Class Vehicles were in merchantable condition and fit for the
 2   ordinary purpose for which vehicles are used is implied by law pursuant to Cal. Com. Code
 3   §§ 2314 and 10212.
 4               468.   Fiat and FCA sold and/or leased Class Vehicles that were not in merchantable
 5   condition and/or fit for their ordinary purpose in violation of the implied warranty. The Class
 6   Vehicles were not in merchantable condition because their design violated state and federal laws.
 7   The Class Vehicles were not fit for their ordinary purpose as they were built to evade state and
 8   federal emission standards.
 9               469.   Fiat’s and FCA’s breaches of the implied warranty of merchantability caused
10   damage to the Plaintiffs and the California State Class. The amount of damages due will be
11   proven at trial.
12               VIOLATIONS OF SONG-BEVERLY CONSUMER WARRANTY ACT FOR
                              BREACH OF EXPRESS WARRANTIES
13                             (Cal. Civ. Code §§ 1791.2 & 1793.2(d))
14               470.   Plaintiffs reallege and incorporate by reference all preceding allegations as though
15   fully set forth herein.
16               471.   Plaintiffs Jose Chavez, Leslie Bernstein, Gregory Giauque, and Satyanam Singh
17   (for the purpose of this section, “Plaintiffs”) bring this action on behalf of themselves and the
18   California State Class against Fiat and FCA.
19               472.   Plaintiffs and the California State Class who purchased or leased the Class
20   Vehicles in California are “buyers” within the meaning of Cal. Civ. Code § 1791(b).
21               473.   The Class Vehicles are “consumer goods” within the meaning of Cal. Civ. Code
22   § 1791(a).
23               474.   Fiat Chrysler is a “manufacturer[s]” of the Class Vehicles within the meaning of
24   Cal. Civ. Code § 1791(j).
25               475.   Plaintiffs and the California State Class bought/leased new motor vehicles
26   manufactured by Fiat Chrysler.
27               476.   Fiat Chrysler made express warranties to Plaintiffs and the California State Class
28   within the meaning of Cal. Civ. Code §§ 1791.2 and 1793.2, as described above.

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 1               477.   Federal law requires manufacturers of light-duty vehicles to provide two federal
 2   emission control warranties: a “Performance Warranty” and a “Design and Defect Warranty.”
 3   The Performance Warranty applies to repairs that are required during the first two years or 24,000
 4   miles, whichever occurs first, when a vehicle fails an emissions test. Under this warranty, certain
 5   major emission control components are covered for the first eight years or 80,000 miles,
 6   whichever comes first. These major emission control components subject to the longer warranty
 7   include the catalytic converters, the electronic engine control unit (ECU), and the onboard
 8   emissions diagnostic device or computer. The Design and Defect Warranty covers repair of
 9   emission control or emission related parts which fail to function or function improperly due to a
10   defect in materials or workmanship. This warranty provides protection for two years or 24,000
11   miles, whichever comes first, or, for the major emission control components, for eight years or
12   80,000 miles, whichever comes first.
13               478.   Fiat and FCA provided these warranties to Plaintiffs and the California State Class.
14   These warranties formed the basis of the bargain that was reached when Plaintiffs and the
15   California State Class purchased or leased their Class Vehicles.
16               479.   However, Fiat and FCA knew or should have known that the warranties were false
17   and/or misleading. Fiat and FCA were aware that the emissions systems in the Class Vehicles
18   sold and leased to Plaintiffs and the California State Class were designed to deactivate under real-
19   world driving conditions, and to emit oxides of nitrogen within legal limits only when undergoing
20   emissions testing, and therefore, knew that the emission systems contained defects.
21               480.   Plaintiffs and the California State Class reasonably relied on Fiat’s and FCA’s
22   express warranties concerning emissions when purchasing or leasing the Class Vehicles.
23   However, the Class Vehicles did not perform as warranted. Unbeknownst to Plaintiffs and the
24   California State Class, the Class Vehicles were designed to pollute at higher than legal limits
25   during normal driving, and could not achieve advertised performance and efficiency metrics
26   without this cheating design. This design and the devices that effectuate it are defects. Fiat and
27   FCA therefore breached their express warranty by providing a product containing defects that
28   were never disclosed to Plaintiffs and the California State Class.

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 1               481.   Any opportunity to cure the express breach is unnecessary and futile.
 2               482.   As a direct and proximate result of Fiat’s and FCA’s breach of express warranties,
 3   Plaintiffs and the California State Class suffered significant damages, and seek damages in an
 4   amount to be determined at trial.
 5               483.   Pursuant to Cal. Civ. Code §§ 1793.2 and 1794, CA Plaintiffs and the other
 6   California State Class members seek an order enjoining Defendants’ unfair and/or deceptive acts
 7   or practices, damages, punitive damages, and any other just and proper relief available under the
 8   Song-Beverly Consumer Warranty Act.
 9               VIOLATIONS OF SONG-BEVERLY CONSUMER WARRANTY ACT FOR
                     BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY
10                              (Cal. Civ. Code §§ 1791.1 and 1792)
11               484.   Plaintiffs reallege and incorporate by reference all preceding allegations as though
12   fully set forth herein.
13               485.   Plaintiffs Jose Chavez, Leslie Bernstein, Gregory Giauque, and Satyanam Singh
14   (for the purpose of this section, “Plaintiffs”) bring this action on behalf of themselves and the
15   California State Class against Fiat and FCA.
16               486.   Plaintiffs and the other California State Class members who purchased or leased
17   the Class Vehicles in California are “buyers” within the meaning of Cal. Civ. Code § 1791(b).
18               487.   The Class Vehicles are “consumer goods” within the meaning of Cal. Civ. Code
19   § 1791(a).
20               488.   Fiat Chrysler is a “manufacturer” of the Class Vehicles within the meaning of Cal.
21   Civ. Code § 1791(j).
22               489.   Fiat Chrysler impliedly warranted to Plaintiffs and the other California State Class
23   members that its Class Vehicles were “merchantable” within the meaning of Cal. Civ. Code
24   §§ 1791.1(a) and 1792, however, the Class Vehicles do not have the quality that a buyer would
25   reasonably expect.
26               490.   Cal. Civ. Code § 1791.1(a) states: “Implied warranty of merchantability” or
27   “implied warranty that goods are merchantable” means that the consumer goods meet each of the
28   following:

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 1                      A.     Pass without objection in the trade under the contract description.
 2                      B.     Are fit for the ordinary purposes for which such goods are used.
 3                      C.     Are adequately contained, packaged, and labeled.
 4                      D.     Conform to the promises or affirmations of fact made on the container or
 5                             label.
 6               491.   The Class Vehicles would not pass without objection in the automotive trade
 7   because of the defects in the Class Vehicles’ “clean” diesel engine system. Because of the defects
 8   in the Class Vehicles’ EcoDiesel® engine systems, they are not in merchantable condition and
 9   thus not fit for ordinary purposes.
10               492.   The Class Vehicles are not adequately labeled because the labeling fails to disclose
11   the defects in the Class Vehicles’ diesel engine system. The Class Vehicles do not conform to the
12   promises and affirmations made by Fiat Chrysler.
13               493.   Fiat Chrysler’s breach of the implied warranty of merchantability caused damage
14   to Plaintiffs and the California State Class members who purchased or leased the defective
15   vehicles. The amount of damages due will be proven at trial.
16               494.   Pursuant to Cal. Civ. Code §§ 1791.1(d) and 1794, Plaintiffs and the California
17   State Class seek an order enjoining Defendants’ unfair and/or deceptive acts or practices,
18   damages, punitive damages, and any other just and proper relief available under the Song-Beverly
19   Consumer Warranty Act.
20                  BREACH OF EXPRESS CALIFORNIA EMISSIONS WARRANTIES
                                 (Cal. Civ. Code § 1793.2, et seq.)
21

22               495.   Plaintiffs reallege and incorporate by reference all preceding allegations as though
23   fully set forth herein.
24               496.   Plaintiffs Jose Chavez, Leslie Bernstein, Gregory Giauque, and Satyanam Singh
25   (for the purpose of this section, “Plaintiffs”) bring this action on behalf of themselves and the
26   California State Class against Fiat and FCA.
27               497.   Each class vehicle is covered by express California Emissions Warranties as a
28   matter of law. See Cal. Health & Safety Code § 43205; Cal. Code Regs. tit. 13, § 2037.

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 1               498.   The express California Emissions Warranties generally provide “that the vehicle or
 2   engine is…[d]esigned, built, and equipped so as to conform with all applicable regulations
 3   adopted by the Air Resources Board.” This provision applies without any time or mileage
 4   limitation.
 5               499.   The California Emissions Warranties also specifically warrant Class members
 6   against any performance failure of the emissions control system for three years or 50,000 miles,
 7   whichever occurs first, and against any defect in any emission-related part for seven years or
 8   70,000 miles, whichever occurs first.
 9               500.   California law imposes express duties “on the manufacturer of consumer goods
10   sold in this state and for which the manufacturer has made an express warranty.” Cal. Civ. Code
11   § 1793.2.
12               501.   Among those duties, “[i]f the manufacturer or its representative in this state is
13   unable to service or repair a new motor vehicle…to conform to the applicable express warranties
14   after a reasonable number of attempts, the manufacturer shall either promptly replace the new
15   motor vehicle or promptly make restitution to the buyer” at the vehicle owner’s option. See Cal.
16   Civ. Code § 1793.2(d)(2).
17               502.   Class members are excused from the requirement to “deliver nonconforming
18   goods to the manufacturer’s service and repair facility within this state” because Fiat Chrysler is
19   refusing to accept them and delivery of the California Vehicles “cannot reasonably be
20   accomplished.” Cal. Civ. Code § 1793.2(c).
21               503.   This complaint is written notice of nonconformity to Defendants and “shall
22   constitute return of the goods.” Id.
23               504.   In addition to all other damages and remedies, Class members are entitled to
24   “recover a civil penalty of up to two times the amount of damages” for the aforementioned
25   violation. See Cal. Civ. Code § 1794(e)(1). Any “third-party dispute resolution process” offered
26   by Defendants does not relieve Defendants from the civil penalty imposed because Defendants
27   are not offering the process to Class members for resolution of these California Emissions
28

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 1   Warranties issues and the process is not “substantially” compliant. See Cal. Civ. Code
 2   § 1794(e)(2); Cal. Civ. Code § 1793.22(d); 16 C.F.R. § 703.2.
 3                      6.     Colorado
 4                                  BREACH OF EXPRESS WARRANTY
                                   (Colo. Rev. Stat. §§ 4-2-313 and 4-2.5-210)
 5

 6               505.   Plaintiffs reallege and incorporate by reference all preceding allegations as though
 7   fully set forth herein.
 8               506.   Plaintiffs Tommy Feist, Ryan Montgomery, and John Webb (for the purpose of
 9   this section, “Plaintiffs”) bring this action on behalf of themselves and the Colorado State Class
10   against Fiat and FCA.
11               507.   Fiat and FCA are and were at all relevant times “merchants” with respect to motor
12   vehicles under Colo. Rev. Stat. §§ 4-2-104(1) and 4-2.5-103(3), and “sellers” of motor vehicles
13   under § 4-2-103(1)(d).
14               508.   With respect to leases, Fiat and FCA are and were all relevant times “lessors” of
15   motor vehicles under Colo. Rev. Stat. § 4-2.5-103(1)(p).
16               509.   The Class Vehicles are and were at all relevant times “goods” within the meaning
17   of Colo. Rev. Stat. §§ 4-2-105(1) and 4-2.5-103(1)(h).
18               510.   Federal law requires manufacturers of light-duty vehicles to provide two federal
19   emission control warranties: a “Performance Warranty” and a “Design and Defect Warranty.”
20   The Performance Warranty applies to repairs that are required during the first two years or 24,000
21   miles, whichever occurs first, when a vehicle fails an emissions test. Under this warranty, certain
22   major emission control components are covered for the first eight years or 80,000 miles,
23   whichever comes first. These major emission control components subject to the longer warranty
24   include the catalytic converters, the electronic engine control unit (ECU), and the onboard
25   emissions diagnostic device or computer. The Design and Defect Warranty covers repair of
26   emission control or emission related parts which fail to function or function improperly due to a
27   defect in materials or workmanship. This warranty provides protection for two years or 24,000
28

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 1   miles, whichever comes first, or, for the major emission control components, for eight years or
 2   80,000 miles, whichever comes first.
 3               511.   Fiat and FCA provided these warranties to Plaintiffs and the Colorado State Class.
 4   These warranties formed the basis of the bargain that was reached when Plaintiffs and the
 5   Colorado State Class purchased or leased their Class Vehicles.
 6               512.   However, Fiat and FCA knew or should have known that the warranties were false
 7   and/or misleading. Fiat and FCA were aware that the emissions systems in the Class Vehicles
 8   sold and leased to Plaintiffs and the Colorado State Class were designed to deactivate under real-
 9   world driving conditions, and to emit oxides of nitrogen within legal limits only when undergoing
10   emissions testing, and therefore, knew that the emission systems contained defects.
11               513.   Plaintiffs and the Colorado State Class reasonably relied on Fiat’s and FCA’s
12   express warranties concerning emissions when purchasing or leasing the Class Vehicles.
13   However, the Class Vehicles did not perform as warranted. Unbeknownst to Plaintiffs and the
14   Colorado State Class, the Class Vehicles were designed to pollute at higher than legal limits
15   during normal driving, and could not achieve advertised performance and efficiency metrics
16   without this cheating design. This design and the devices that effectuate it are defects. Fiat and
17   FCA therefore breached their express warranty by providing a product containing defects that
18   were never disclosed to Plaintiffs and the Colorado State Class.
19               514.   Any opportunity to cure the express breach is unnecessary and futile.
20               515.   As a direct and proximate result of Fiat’s and FCA’s breach of express warranties,
21   Plaintiffs and the Colorado State Class suffered significant damages, and seek damages in an
22   amount to be determined at trial.
23                 BREACH OF THE IMPLIED WARRANTY OF MERCHANTABILITY
                              (Colo. Rev. Stat. §§ 4-2-313 and 4-2.5-212)
24

25               516.   Plaintiffs reallege and incorporate by reference all allegations of the preceding
26   paragraphs as though fully set forth herein.
27

28

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 1               517.   Plaintiff Tommy Feist, Ryan Montgomery, and John Webb (for the purpose of this
 2   section, “Plaintiffs”) bring this action on behalf of themselves and the Colorado State Class
 3   against Fiat and FCA.
 4               518.   Fiat and FCA were at all relevant times “merchants” with respect to motor vehicles
 5   under Colo. Rev. Stat. §§ 4-2-104(1) and 4-2.5-103(3), and “sellers” of motor vehicles under § 4-
 6   2-103(1)(d).
 7               519.   With respect to leases, Fiat and FCA are and were at all relevant times “lessors” of
 8   motor vehicles under Colo. Rev. Stat. § 4-2.5-103(1)(p).
 9               520.   The Class Vehicles are and were at all relevant times “goods” within the meaning
10   of Colo. Rev. Stat. §§ 4-2-105(1) and 4-2.5-103(1)(h).
11               521.   A warranty that the Class Vehicles were in merchantable condition and fit for the
12   ordinary purpose for which vehicles are used is implied by law pursuant to Colo. Rev. Stat. §§ 4-
13   2-313 and 4-2.5-212.
14               522.   Fiat and FCA sold and/or leased Class Vehicles that were not in merchantable
15   condition and/or fit for their ordinary purpose in violation of the implied warranty. The Class
16   Vehicles were not in merchantable condition because their design violated state and federal laws.
17   The Class Vehicles were not fit for their ordinary purpose as they were built to evade state and
18   federal emission standards.
19               523.   Fiat’s and FCA’s breaches of the implied warranty of merchantability caused
20   damage to the Plaintiffs and the Colorado State Class. The amount of damages due will be
21   proven at trial.
22                      7.     Connecticut
23                                   BREACH OF EXPRESS WARRANTY
                                      (Conn. Gen. Stat. Ann. § 42A-2-313)
24

25               524.   Plaintiffs reallege and incorporate by reference all preceding allegations as though
26   fully set forth herein.
27               525.   Plaintiff Giuseppe Carillo (for the purpose of this section, “Plaintiff”) brings this
28   action on behalf of himself and the Connecticut State Class against Fiat and FCA.

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 1               526.   Fiat and FCA are and were at all relevant times “merchants” with respect to motor
 2   vehicles under Conn. Gen. Stat. Ann. § 42a-2-104(1).
 3               527.   Federal law requires manufacturers of light-duty vehicles to provide two federal
 4   emission control warranties: a “Performance Warranty” and a “Design and Defect Warranty.”
 5   The Performance Warranty applies to repairs that are required during the first two years or 24,000
 6   miles, whichever occurs first, when a vehicle fails an emissions test. Under this warranty, certain
 7   major emission control components are covered for the first eight years or 80,000 miles,
 8   whichever comes first. These major emission control components subject to the longer warranty
 9   include the catalytic converters, the electronic engine control unit (ECU), and the onboard
10   emissions diagnostic device or computer. The Design and Defect Warranty covers repair of
11   emission control or emission related parts which fail to function or function improperly due to a
12   defect in materials or workmanship. This warranty provides protection for two years or 24,000
13   miles, whichever comes first, or, for the major emission control components, for eight years or
14   80,000 miles, whichever comes first.
15               528.   Fiat and FCA provided these warranties to Plaintiff and the Connecticut State
16   Class. These warranties formed the basis of the bargain that was reached when Plaintiff and the
17   Connecticut State Class purchased or leased their Class Vehicles.
18               529.   However, Fiat and FCA knew or should have known that the warranties were false
19   and/or misleading. Fiat and FCA were aware that the emissions systems in the Class Vehicles
20   sold and leased to Plaintiff and the Connecticut State Class were designed to deactivate under
21   real-world driving conditions, and to emit oxides of nitrogen within legal limits only when
22   undergoing emissions testing, and therefore, knew that the emission systems contained defects.
23               530.   Plaintiff and the Connecticut State Class reasonably relied on Fiat’s and FCA’s
24   express warranties concerning emissions when purchasing or leasing the Class Vehicles.
25   However, the Class Vehicles did not perform as warranted. Unbeknownst to Plaintiff and the
26   Connecticut State Class, the Class Vehicles were designed to pollute at higher than legal limits
27   during normal driving, and could not achieve advertised performance and efficiency metrics
28   without this cheating design. This design and the devices that effectuate it are defects. Fiat and

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 1   FCA therefore breached their express warranty by providing a product containing defects that
 2   were never disclosed to Plaintiffs and the California State Class.
 3               531.    Any opportunity to cure the express breach is unnecessary and futile.
 4               532.    Due to Fiat and FCA’s breach of warranty as set forth herein, Plaintiff and the
 5   Connecticut State Class assert as an additional and/or alternative remedy, as set forth in Conn.
 6   Gen. Stat. Ann. § 42a-2-711, for a revocation of acceptance of the goods and for a return to
 7   Plaintiff and the Connecticut State Class of the purchase price of all Class Vehicles currently
 8   owned or leased, and for such other incidental and consequential damages as allowed under
 9   Conn. Gen. Stat. Ann. §§ 42a-2-711 and 42a-2-608.
10               533.    As a direct and proximate result of Fiat’s and FCA’s breach of express warranties,
11   Plaintiff and the Connecticut State Class suffered significant damages, and seek damages in an
12   amount to be determined at trial.
13                      BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY
                                   (Conn. Gen. Stat. Ann. § 42A-2-314)
14

15               534.    Plaintiffs reallege and incorporate by reference all allegations of the preceding
16   paragraphs as though fully set forth herein.
17               535.    Plaintiff Giuseppe Carillo (for the purpose of this section, “Plaintiff”) brings this
18   action on behalf of himself and the Connecticut State Class against Fiat and FCA.
19               536.    Fiat and FCA were at all relevant times “merchants” with respect to motor vehicles
20   under Conn. Gen. Stat. Ann. § 42a-2-104(1).
21               537.    A warranty that the Class Vehicles were in merchantable condition and fit for the
22   ordinary purpose for which vehicles are used is implied by law pursuant to Conn. Gen. Stat. Ann.
23   § 42a-2-314.
24               538.    Fiat and FCA sold and/or leased Class Vehicles that were not in merchantable
25   condition and/or fit for their ordinary purpose in violation of the implied warranty. The Class
26   Vehicles were not in merchantable condition because their design violated state and federal laws.
27   The Class Vehicles were not fit for their ordinary purpose as they were built to evade state and
28   federal emission standards.

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 1               539.   Fiat’s and FCA’s breaches of the implied warranty of merchantability caused
 2   damage to the Plaintiff and the Connecticut State Class. The amount of damages due will be
 3   proven at trial.
 4                      8.     Delaware
 5                                   BREACH OF EXPRESS WARRANTY
                                       (6 Del. Code §§ 2-313 and 2A-210)
 6

 7               540.   Plaintiffs reallege and incorporate by reference all preceding allegations as though
 8   fully set forth herein.
 9
                 541.   This Count is brought on behalf of the Delaware State Class against Fiat and FCA.
10
                 542.   Fiat and FCA are and were at all relevant times “merchants” with respect to motor
11
     vehicles under 6 Del. C. §§ 2-104(1) and 2A-103(3), and “sellers” of motor vehicles under § 2-
12
     103(1)(d).
13
                 543.   With respect to leases, Fiat and FCA are and were all relevant times “lessors” of
14
     motor vehicles under 6 Del. C. § 2A-103(1)(p).
15
                 544.   The Class Vehicles are and were at all relevant times “goods” within the meaning
16
     of 6 Del. C. §§ 2-105(1) and 2A-103(1)(h).
17
                 545.   Federal law requires manufacturers of light-duty vehicles to provide two federal
18
     emission control warranties: a “Performance Warranty” and a “Design and Defect Warranty.”
19
     The Performance Warranty applies to repairs that are required during the first two years or 24,000
20
     miles, whichever occurs first, when a vehicle fails an emissions test. Under this warranty, certain
21
     major emission control components are covered for the first eight years or 80,000 miles,
22
     whichever comes first. These major emission control components subject to the longer warranty
23
     include the catalytic converters, the electronic engine control unit (ECU), and the onboard
24
     emissions diagnostic device or computer. The Design and Defect Warranty covers repair of
25
     emission control or emission related parts which fail to function or function improperly due to a
26
     defect in materials or workmanship. This warranty provides protection for two years or 24,000
27

28

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 1   miles, whichever comes first, or, for the major emission control components, for eight years or
 2   80,000 miles, whichever comes first.
 3               546.   Fiat and FCA provided these warranties to the Delaware State Class. These
 4   warranties formed the basis of the bargain that was reached when the Delaware State Class
 5   purchased or leased their Class Vehicles.
 6               547.   However, Fiat and FCA knew or should have known that the warranties were false
 7   and/or misleading. Fiat and FCA were aware that the emissions systems in the Class Vehicles
 8   sold and leased to the Delaware State Class were designed to deactivate under real-world driving
 9   conditions, and to emit oxides of nitrogen within legal limits only when undergoing emissions
10   testing, and therefore, knew that the emission systems contained defects.
11               548.   The Delaware State Class reasonably relied on Fiat’s and FCA’s express
12   warranties concerning emissions when purchasing or leasing the Class Vehicles. However, the
13   Class Vehicles did not perform as warranted. Unbeknownst to the Delaware State Class, the
14   Class Vehicles were designed to pollute at higher than legal limits during normal driving, and
15   could not achieve advertised performance and efficiency metrics without this cheating design.
16   This design and the devices that effectuate it are defects. Fiat and FCA therefore breached their
17   express warranty by providing a product containing defects that were never disclosed to the
18   Delaware State Class.
19               549.   Any opportunity to cure the express breach is unnecessary and futile.
20               550.   As a direct and proximate result of Fiat’s and FCA’s breach of express warranties,
21   the Delaware State Class suffered significant damages, and seek damages in an amount to be
22   determined at trial.
23                 BREACH OF THE IMPLIED WARRANTY OF MERCHANTABILITY
                                (6 Del. Code §§ 2-314 and 2A-212)
24

25               551.   Plaintiffs reallege and incorporate by reference all allegations of the preceding
26   paragraphs as though fully set forth herein.
27               552.   This Count is brought on behalf of the Delaware State Class against Fiat and FCA.
28

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 1               553.   Fiat and FCA were at all relevant times “merchants” with respect to motor vehicles
 2   under 6 Del. C. §§ 2-104(1) and 2A-103(3), and “sellers” of motor vehicles under § 2-103(1)(d).
 3               554.   With respect to leases, Fiat and FCA are and were at all relevant times “lessors” of
 4   motor vehicles under 6 Del. C. § 2A-103(1)(p).
 5               555.   The Class Vehicles are and were at all relevant times “goods” within the meaning
 6   of 6 Del. C. §§ 2-105(1) and 2A-103(1)(h).
 7               556.   A warranty that the Class Vehicles were in merchantable condition and fit for the
 8   ordinary purpose for which vehicles are used is implied by law pursuant to 6 Del. C. §§ 2-314 and
 9   2A-212.
10               557.   Fiat and FCA sold and/or leased Class Vehicles that were not in merchantable
11   condition and/or fit for their ordinary purpose in violation of the implied warranty. The Class
12   Vehicles were not in merchantable condition because their design violated state and federal laws.
13   The Class Vehicles were not fit for their ordinary purpose as they were built to evade state and
14   federal emission standards.
15               558.   Fiat’s and FCA’s breaches of the implied warranty of merchantability caused
16   damage to the Delaware State Class. The amount of damages due will be proven at trial.
17                      9.     District of Columbia
18                                   BREACH OF EXPRESS WARRANTY
                                     (D.C. Code §§ 28:2-313 and 28:2A-210)
19

20               559.   Plaintiffs reallege and incorporate by reference all preceding allegations as though
21   fully set forth herein.
22               560.   This count is brought on behalf of the District of Columbia Class against Fiat and
23   FCA.
24               561.   Fiat and FCA are and were at all relevant times “merchants” with respect to motor
25   vehicles under D.C. Code §§ 28:2-104(1) and 28:2A-103(a)(20), and “sellers” of motor vehicles
26   under § 28:2-103(1)(d).
27               562.   With respect to leases, Fiat and FCA are and were all relevant times “lessors” of
28   motor vehicles under D.C. Code § 28:2A-103(a)(16).

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 1               563.   The Class Vehicles are and were at all relevant times “goods” within the meaning
 2   of D.C. Code §§ 28:2-105(1) and 28:2A-103(a)(8).
 3               564.   Federal law requires manufacturers of light-duty vehicles to provide two federal
 4   emission control warranties: a “Performance Warranty” and a “Design and Defect Warranty.”
 5   The Performance Warranty applies to repairs that are required during the first two years or 24,000
 6   miles, whichever occurs first, when a vehicle fails an emissions test. Under this warranty, certain
 7   major emission control components are covered for the first eight years or 80,000 miles,
 8   whichever comes first. These major emission control components subject to the longer warranty
 9   include the catalytic converters, the electronic engine control unit (ECU), and the onboard
10   emissions diagnostic device or computer. The Design and Defect Warranty covers repair of
11   emission control or emission related parts which fail to function or function improperly due to a
12   defect in materials or workmanship. This warranty provides protection for two years or 24,000
13   miles, whichever comes first, or, for the major emission control components, for eight years or
14   80,000 miles, whichever comes first.
15               565.   Fiat and FCA provided these warranties to the District of Columbia Class. These
16   warranties formed the basis of the bargain that was reached when the District of Columbia Class
17   purchased or leased their Class Vehicles.
18               566.   However, Fiat and FCA knew or should have known that the warranties were false
19   and/or misleading. Fiat and FCA were aware that the emissions systems in the Class Vehicles
20   sold and leased to the District of Columbia Class were designed to deactivate under real-world
21   driving conditions, and to emit oxides of nitrogen within legal limits only when undergoing
22   emissions testing, and therefore, knew that the emission systems contained defects.
23               567.   The District of Columbia Class reasonably relied on Fiat’s and FCA’s express
24   warranties concerning emissions when purchasing or leasing the Class Vehicles. However, the
25   Class Vehicles did not perform as warranted. Unbeknownst to the District of Columbia Class, the
26   Class Vehicles were designed to pollute at higher than legal limits during normal driving, and
27   could not achieve advertised performance and efficiency metrics without this cheating design.
28   This design and the devices that effectuate it are defects. Fiat and FCA therefore breached their

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 1   express warranty by providing a product containing defects that were never disclosed to the
 2   District of Columbia Class.
 3               568.    Any opportunity to cure the express breach is unnecessary and futile.
 4               569.    As a direct and proximate result of Fiat’s and FCA’s breach of express warranties,
 5   the District of Columbia Class suffered significant damages, and seek damages in an amount to
 6   be determined at trial.
 7                      BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY
                                  (D.C. Code §§ 28:2-314 and 28:2A-212)
 8

 9               570.    Plaintiffs reallege and incorporate by reference all allegations of the preceding
10   paragraphs as though fully set forth herein.
11               571.    This count is brought on behalf of the District of Columbia Class against Fiat and
12   FCA.
13               572.    Fiat and FCA were at all relevant times “merchants” with respect to motor vehicles
14   under D.C. Code §§ 28:2-104(1) and 28:2A-103(a)(20), and “sellers” of motor vehicles under
15   § 28:2-103(1)(d).
16               573.    With respect to leases, Fiat and FCA are and were at all relevant times “lessors” of
17   motor vehicles under D.C. Code § 28:2A-103(a)(16).
18               574.    The Class Vehicles are and were at all relevant times “goods” within the meaning
19   of D.C. Code §§ 28:2-105(1) and 28:2A-103(a)(8).
20               575.    A warranty that the Class Vehicles were in merchantable condition and fit for the
21   ordinary purpose for which vehicles are used is implied by law pursuant to D.C. Code §§ 28:2-
22   314 and 28:2A-212.
23               576.    Fiat and FCA sold and/or leased Class Vehicles that were not in merchantable
24   condition and/or fit for their ordinary purpose in violation of the implied warranty. The Class
25   Vehicles were not in merchantable condition because their design violated state and federal laws.
26   The Class Vehicles were not fit for their ordinary purpose as they were built to evade state and
27   federal emission standards.
28

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 1               577.   Fiat’s and FCA’s breaches of the implied warranty of merchantability caused
 2   damage to the District of Columbia Class. The amount of damages due will be proven at trial.
 3                      10.    Florida
 4                                   BREACH OF EXPRESS WARRANTY
                                       (Fla. Stat. §§ 672.313 and 680.21)
 5

 6               578.   Plaintiffs reallege and incorporate by reference all preceding allegations as though
 7   fully set forth herein.
 8               579.   Plaintiffs James Boykin, James DeBerry, GN Systems, Inc., Bobby Reichert, and
 9   Miguel Silio (for the purpose of this section, “Plaintiffs”) bring this action on behalf of
10   themselves and the Florida State Class against Fiat and FCA.
11               580.   Fiat and FCA are and were at all relevant times “merchants” with respect to motor
12   vehicles under Fla. Stat. §§ 672.104(1) and 680.1031(3)(k), and “sellers” of motor vehicles under
13   § 672.103(1)(d).
14               581.   With respect to leases, Fiat and FCA are and were all relevant times “lessors” of
15   motor vehicles under Fla. Stat. § 680.1031(1)(p).
16               582.   The Class Vehicles are and were at all relevant times “goods” within the meaning
17   of Fla. Stat. §§ 672.105(1) and 680.1031(1)(h).
18               583.   Federal law requires manufacturers of light-duty vehicles to provide two federal
19   emission control warranties: a “Performance Warranty” and a “Design and Defect Warranty.”
20   The Performance Warranty applies to repairs that are required during the first two years or 24,000
21   miles, whichever occurs first, when a vehicle fails an emissions test. Under this warranty, certain
22   major emission control components are covered for the first eight years or 80,000 miles,
23   whichever comes first. These major emission control components subject to the longer warranty
24   include the catalytic converters, the electronic engine control unit (ECU), and the onboard
25   emissions diagnostic device or computer. The Design and Defect Warranty covers repair of
26   emission control or emission related parts which fail to function or function improperly due to a
27   defect in materials or workmanship. This warranty provides protection for two years or 24,000
28

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 1   miles, whichever comes first, or, for the major emission control components, for eight years or
 2   80,000 miles, whichever comes first.
 3               584.    Fiat and FCA provided these warranties to Plaintiffs and the Florida State Class.
 4   These warranties formed the basis of the bargain that was reached when Plaintiffs and the Florida
 5   State Class purchased or leased their Class Vehicles.
 6               585.    However, Fiat and FCA knew or should have known that the warranties were false
 7   and/or misleading. Fiat and FCA were aware that the emissions systems in the Class Vehicles
 8   sold and leased to Plaintiffs and the Florida State Class were designed to deactivate under real-
 9   world driving conditions, and to emit oxides of nitrogen within legal limits only when undergoing
10   emissions testing, and therefore, knew that the emission systems contained defects.
11               586.    Plaintiffs and the Florida State Class reasonably relied on Fiat’s and FCA’s
12   express warranties concerning emissions when purchasing or leasing the Class Vehicles.
13   However, the Class Vehicles did not perform as warranted. Unbeknownst to Plaintiffs and the
14   Florida State Class, the Class Vehicles were designed to pollute at higher than legal limits during
15   normal driving, and could not achieve advertised performance and efficiency metrics without this
16   cheating design. This design and the devices that effectuate it are defects. Fiat and FCA
17   therefore breached their express warranty by providing a product containing defects that were
18   never disclosed to Plaintiffs and the Florida State Class.
19               587.    Any opportunity to cure the express breach is unnecessary and futile.
20               588.    As a direct and proximate result of Fiat’s and FCA’s breach of express warranties,
21   Plaintiffs and the Florida State Class suffered significant damages, and seek damages in an
22   amount to be determined at trial.
23                      BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY
                                    (Fla. Stat. §§ 672.314 and 680.212)
24

25               589.    Plaintiffs reallege and incorporate by reference all allegations of the preceding
26   paragraphs as though fully set forth herein.
27

28

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 1               590.   Plaintiffs James Boykin, James DeBerry, GN Systems, Inc., Bobby Reichert, and
 2   Miguel Silio (for the purpose of this section, “Plaintiffs”) bring this action on behalf of
 3   themselves and the Florida State Class against Fiat and FCA.
 4               591.   Fiat and FCA were at all relevant times “merchants” with respect to motor vehicles
 5   under Fla. Stat. §§ 672.104(1) and 680.1031(3)(k), and “sellers” of motor vehicles under
 6   § 672.103(1)(d).
 7               592.   With respect to leases, Fiat and FCA are and were at all relevant times “lessors” of
 8   motor vehicles under Fla. Stat. § 680.1031(1)(p).
 9               593.   The Class Vehicles are and were at all relevant times “goods” within the meaning
10   of Fla. Stat. §§ 672.105(1) and 680.1031(1)(h).
11               594.   A warranty that the Class Vehicles were in merchantable condition and fit for the
12   ordinary purpose for which vehicles are used is implied by law pursuant to Fla. Stat. §§ 672.314
13   and 680.212.
14               595.   Fiat and FCA sold and/or leased Class Vehicles that were not in merchantable
15   condition and/or fit for their ordinary purpose in violation of the implied warranty. The Class
16   Vehicles were not in merchantable condition because their design violated state and federal laws.
17   The Class Vehicles were not fit for their ordinary purpose as they were built to evade state and
18   federal emission standards.
19               596.   Fiat’s and FCA’s breaches of the implied warranty of merchantability caused
20   damage to the Plaintiffs and the Florida State Class. The amount of damages due will be proven
21   at trial.
22                      11.    Georgia
23                                  BREACH OF EXPRESS WARRANTY
                                  (Ga. Code. Ann. §§ 11-2-313 and 11-2A-210)
24

25               597.   Plaintiffs reallege and incorporate by reference all preceding allegations as though
26   fully set forth herein.
27               598.   Plaintiffs Marius Bihorean, James DeBerry, Tom Gillespie, Jeffrey Griggs,
28   Michael Johnson, Nelson John Stephens, and William Turner (for the purpose of this section,

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 1   “Plaintiffs”) bring this action on behalf of themselves and the Georgia State Class against Fiat and
 2   FCA.
 3               599.   Fiat and FCA are and were at all relevant times “merchants” with respect to motor
 4   vehicles under Ga. Code Ann. §§ 11-2-104(1) and 11-2A-103(3), and “sellers” of motor vehicles
 5   under § 11-2-103(1)(d).
 6               600.   With respect to leases, Fiat and FCA are and were all relevant times “lessors” of
 7   motor vehicles under Ga. Code Ann. § 11-2A-103(1)(p).
 8               601.   The Class Vehicles are and were at all relevant times “goods” within the meaning
 9   of Ga. Code Ann. §§ 11-2-105(1) and 11-2A-103(1)(h).
10               602.   Federal law requires manufacturers of light-duty vehicles to provide two federal
11   emission control warranties: a “Performance Warranty” and a “Design and Defect Warranty.”
12   The Performance Warranty applies to repairs that are required during the first two years or 24,000
13   miles, whichever occurs first, when a vehicle fails an emissions test. Under this warranty, certain
14   major emission control components are covered for the first eight years or 80,000 miles,
15   whichever comes first. These major emission control components subject to the longer warranty
16   include the catalytic converters, the electronic engine control unit (ECU), and the onboard
17   emissions diagnostic device or computer. The Design and Defect Warranty covers repair of
18   emission control or emission related parts which fail to function or function improperly due to a
19   defect in materials or workmanship. This warranty provides protection for two years or 24,000
20   miles, whichever comes first, or, for the major emission control components, for eight years or
21   80,000 miles, whichever comes first.
22               603.   Fiat and FCA provided these warranties to Plaintiffs and the Georgia State Class.
23   These warranties formed the basis of the bargain that was reached when Plaintiffs and the
24   Georgia State Class purchased or leased their Class Vehicles.
25               604.   However, Fiat and FCA knew or should have known that the warranties were false
26   and/or misleading. Fiat and FCA were aware that the emissions systems in the Class Vehicles
27   sold and leased to Plaintiffs and the Georgia State Class were designed to deactivate under real-
28

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 1   world driving conditions, and to emit oxides of nitrogen within legal limits only when undergoing
 2   emissions testing, and therefore, knew that the emission systems contained defects.
 3               605.    Plaintiffs and the Georgia State Class reasonably relied on Fiat’s and FCA’s
 4   express warranties concerning emissions when purchasing or leasing the Class Vehicles.
 5   However, the Class Vehicles did not perform as warranted. Unbeknownst to Plaintiffs and the
 6   Georgia State Class, the Class Vehicles were designed to pollute at higher than legal limits during
 7   normal driving, and could not achieve advertised performance and efficiency metrics without this
 8   cheating design. This design and the devices that effectuate it are defects. Fiat and FCA
 9   therefore breached their express warranty by providing a product containing defects that were
10   never disclosed to Plaintiffs and the Georgia State Class.
11               606.    Any opportunity to cure the express breach is unnecessary and futile.
12               607.    As a direct and proximate result of Fiat’s and FCA’s breach of express warranties,
13   Plaintiffs and the Georgia State Class suffered significant damages, and seek damages in an
14   amount to be determined at trial.
15                      BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY
                                (Ga. Code. Ann. §§ 11-2-314 and 11-2A-212)
16

17               608.    Plaintiffs reallege and incorporate by reference all allegations of the preceding
18   paragraphs as though fully set forth herein.
19               609.    Plaintiffs Marius Bihorean, James DeBerry, Tom Gillespie, Jeffrey Griggs,
20   Michael Johnson, Nelson John Stephens, and William Turner (for the purpose of this section,
21   “Plaintiffs”) bring this action on behalf of themselves and the Georgia State Class against Fiat and
22   FCA.
23               610.    Fiat and FCA were at all relevant times “merchants” with respect to motor vehicles
24   under Ga. Code Ann. §§ 11-2-104(1) and 11-2A-103(3), and “sellers” of motor vehicles under
25   § 11-2-103(1)(d).
26               611.    With respect to leases, Fiat and FCA are and were at all relevant times “lessors” of
27   motor vehicles under Ga. Code Ann. § 11-2A-103(1)(p).
28

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 1               612.   The Class Vehicles are and were at all relevant times “goods” within the meaning
 2   of Ga. Code Ann. §§ 11-2-105(1) and 11-2A-103(1)(h).
 3               613.   A warranty that the Class Vehicles were in merchantable condition and fit for the
 4   ordinary purpose for which vehicles are used is implied by law pursuant to Ga. Code Ann. §§ 11-
 5   2-314 and 11-2A-212.
 6               614.   Fiat and FCA sold and/or leased Class Vehicles that were not in merchantable
 7   condition and/or fit for their ordinary purpose in violation of the implied warranty. The Class
 8   Vehicles were not in merchantable condition because their design violated state and federal laws.
 9   The Class Vehicles were not fit for their ordinary purpose as they were built to evade state and
10   federal emission standards.
11               615.   Fiat’s and FCA’s breaches of the implied warranty of merchantability caused
12   damage to the Plaintiffs and the Georgia State Class. The amount of damages due will be proven
13   at trial.
14                      12.    Hawaii
15                                  BREACH OF EXPRESS WARRANTY
                                 (Haw. Rev. Stat. §§ 490:2-313 and 490:2A-210)
16

17               616.   Plaintiffs reallege and incorporate by reference all preceding allegations as though
18   fully set forth herein.
19               617.   This count is brought on behalf of the Hawaii State Class against Fiat and FCA.
20               618.   Fiat and FCA are and were at all relevant times “merchants” with respect to motor
21   vehicles under Haw. Rev. Stat. §§ 490:2-104(1) and 490:2A-103(b), and “sellers” of motor
22   vehicles under § 490:2-103(1)(d).
23               619.   With respect to leases, Fiat and FCA are and were all relevant times “lessors” of
24   motor vehicles under Haw. Rev. Stat. § 490:2A-103(a)(16).
25               620.   The Class Vehicles are and were at all relevant times “goods” within the meaning
26   of Haw. Rev. Stat. §§ 490:2-105(1) and 490:2A-103(a)(8).
27               621.   Federal law requires manufacturers of light-duty vehicles to provide two federal
28   emission control warranties: a “Performance Warranty” and a “Design and Defect Warranty.”

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 1   The Performance Warranty applies to repairs that are required during the first two years or 24,000
 2   miles, whichever occurs first, when a vehicle fails an emissions test. Under this warranty, certain
 3   major emission control components are covered for the first eight years or 80,000 miles,
 4   whichever comes first. These major emission control components subject to the longer warranty
 5   include the catalytic converters, the electronic engine control unit (ECU), and the onboard
 6   emissions diagnostic device or computer. The Design and Defect Warranty covers repair of
 7   emission control or emission related parts which fail to function or function improperly due to a
 8   defect in materials or workmanship. This warranty provides protection for two years or 24,000
 9   miles, whichever comes first, or, for the major emission control components, for eight years or
10   80,000 miles, whichever comes first.
11               622.   Fiat and FCA provided these warranties to the Hawaii State Class. These
12   warranties formed the basis of the bargain that was reached when the Hawaii State Class
13   purchased or leased their Class Vehicles.
14               623.   However, Fiat and FCA knew or should have known that the warranties were false
15   and/or misleading. Fiat and FCA were aware that the emissions systems in the Class Vehicles
16   sold and leased to the Hawaii State Class were designed to deactivate under real-world driving
17   conditions, and to emit oxides of nitrogen within legal limits only when undergoing emissions
18   testing, and therefore, knew that the emission systems contained defects.
19               624.   The Hawaii State Class reasonably relied on Fiat’s and FCA’s express warranties
20   concerning emissions when purchasing or leasing the Class Vehicles. However, the Class
21   Vehicles did not perform as warranted. Unbeknownst to the Hawaii State Class, the Class
22   Vehicles were designed to pollute at higher than legal limits during normal driving, and could not
23   achieve advertised performance and efficiency metrics without this cheating design. This design
24   and the devices that effectuate it are defects. Fiat and FCA therefore breached their express
25   warranty by providing a product containing defects that were never disclosed to the Hawaii State
26   Class.
27               625.   Any opportunity to cure the express breach is unnecessary and futile.
28

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 1               626.   As a direct and proximate result of Fiat’s and FCA’s breach of express warranties,
 2   the Hawaii State Class suffered significant damages, and seek damages in an amount to be
 3   determined at trial.
 4                 BREACH OF THE IMPLIED WARRANTY OF MERCHANTABILITY
                            (Haw. Rev. Stat. §§ 490:2-314 and 490:2A-212)
 5

 6               627.   Plaintiffs reallege and incorporate by reference all allegations of the preceding
 7   paragraphs as though fully set forth herein.
 8               628.   This count is brought on behalf of the Hawaii State Class against Fiat and FCA.
 9               629.   Fiat and FCA were at all relevant times “merchants” with respect to motor vehicles
10   under Haw. Rev. Stat. §§ 490:2-104(1) and 490:2A-103(b), and “sellers” of motor vehicles under
11   § 490:2-103(1)(d).
12               630.   With respect to leases, Fiat and FCA are and were at all relevant times “lessors” of
13   motor vehicles under Haw. Rev. Stat. § 490:2A-103(a)(16).
14               631.   The Class Vehicles are and were at all relevant times “goods” within the meaning
15   of Haw. Rev. Stat. §§ 490:2-105(1) and 490:2A-103(a)(8).
16               632.   A warranty that the Class Vehicles were in merchantable condition and fit for the
17   ordinary purpose for which vehicles are used is implied by law pursuant to Haw. Rev. Stat.
18   §§ 490:2-314 and 490:2A-212.
19               633.   Fiat and FCA sold and/or leased Class Vehicles that were not in merchantable
20   condition and/or fit for their ordinary purpose in violation of the implied warranty. The Class
21   Vehicles were not in merchantable condition because their design violated state and federal laws.
22   The Class Vehicles were not fit for their ordinary purpose as they were built to evade state and
23   federal emission standards.
24               634.   Fiat’s and FCA’s breaches of the implied warranty of merchantability caused
25   damage to the Hawaii State Class. The amount of damages due will be proven at trial.
26

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28

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 1                      13.    Idaho
 2                                   BREACH OF EXPRESS WARRANTY
                                     (Idaho Code §§ 28-2-313 and 28-12-210)
 3

 4               635.   Plaintiffs reallege and incorporate by reference all preceding allegations as though

 5   fully set forth herein.

 6               636.   Plaintiffs Adam Burwell, Karl Calhoun, and Mathue Fasching (for the purpose of

 7   this section, “Plaintiffs”) bring this action on behalf of themselves and the Idaho State Class

 8   against Fiat and FCA.

 9               637.   Fiat and FCA are and were at all relevant times “merchants” with respect to motor

10   vehicles under Idaho Code §§ 28-2-104(1) and 28-12-103(3), and “sellers” of motor vehicles

11   under § 28-2-103(1)(d).

12               638.   With respect to leases, Fiat and FCA are and were all relevant times “lessors” of

13   motor vehicles under Idaho Code § 28-12-103(1)(p).

14               639.   The Class Vehicles are and were at all relevant times “goods” within the meaning

15   of Idaho Code §§ 28-2-105(1) and 28-12-103(1)(h)).

16               640.   Federal law requires manufacturers of light-duty vehicles to provide two federal

17   emission control warranties: a “Performance Warranty” and a “Design and Defect Warranty.”

18   The Performance Warranty applies to repairs that are required during the first two years or 24,000

19   miles, whichever occurs first, when a vehicle fails an emissions test. Under this warranty, certain

20   major emission control components are covered for the first eight years or 80,000 miles,

21   whichever comes first. These major emission control components subject to the longer warranty

22   include the catalytic converters, the electronic engine control unit (ECU), and the onboard

23   emissions diagnostic device or computer. The Design and Defect Warranty covers repair of

24   emission control or emission related parts which fail to function or function improperly due to a

25   defect in materials or workmanship. This warranty provides protection for two years or 24,000

26   miles, whichever comes first, or, for the major emission control components, for eight years or

27   80,000 miles, whichever comes first.

28

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 1               641.    Fiat and FCA provided these warranties to Plaintiffs and the Idaho State Class.
 2   These warranties formed the basis of the bargain that was reached when Plaintiffs and the Idaho
 3   State Class purchased or leased their Class Vehicles.
 4               642.    However, Fiat and FCA knew or should have known that the warranties were false
 5   and/or misleading. Fiat and FCA were aware that the emissions systems in the Class Vehicles
 6   sold and leased to Plaintiffs and the Idaho State Class were designed to deactivate under real-
 7   world driving conditions, and to emit oxides of nitrogen within legal limits only when undergoing
 8   emissions testing, and therefore, knew that the emission systems contained defects.
 9               643.    Plaintiffs and the Idaho State Class reasonably relied on Fiat’s and FCA’s express
10   warranties concerning emissions when purchasing or leasing the Class Vehicles. However, the
11   Class Vehicles did not perform as warranted. Unbeknownst to Plaintiffs and the Idaho State
12   Class, the Class Vehicles were designed to pollute at higher than legal limits during normal
13   driving, and could not achieve advertised performance and efficiency metrics without this
14   cheating design. This design and the devices that effectuate it are defects. Fiat and FCA
15   therefore breached their express warranty by providing a product containing defects that were
16   never disclosed to Plaintiffs and the Idaho State Class.
17               644.    Any opportunity to cure the express breach is unnecessary and futile.
18               645.    As a direct and proximate result of Fiat’s and FCA’s breach of express warranties,
19   Plaintiffs and the Idaho State Class suffered significant damages, and seek damages in an amount
20   to be determined at trial.
21                      BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY
                                 (Idaho Code §§ 28-2-314 and 28-12-212)
22

23               646.    Plaintiffs reallege and incorporate by reference all allegations of the preceding
24   paragraphs as though fully set forth herein.
25               647.    Plaintiffs Adam Burwell, Karl Calhoun, and Mathue Fasching (for the purpose of
26   this section, “Plaintiffs”) bring this action on behalf of themselves and the Idaho State Class
27   against Fiat and FCA.
28

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 1               648.   Fiat and FCA were at all relevant times “merchants” with respect to motor vehicles
 2   Idaho Code §§ 28-2-104(1) and 28-12-103(3), and “sellers” of motor vehicles under § 28-2-
 3   103(1)(d).
 4               649.   With respect to leases, Fiat and FCA are and were at all relevant times “lessors” of
 5   motor vehicles under Idaho Code § 28-12-103(1)(p).
 6               650.   The Class Vehicles are and were at all relevant times “goods” within the meaning
 7   of Idaho Code §§ 28-2-105(1) and 28-12-103(1)(h).
 8               651.   A warranty that the Class Vehicles were in merchantable condition and fit for the
 9   ordinary purpose for which vehicles are used is implied by law pursuant Idaho Code §§ 28-2-314
10   and 28-12-212.
11               652.   Fiat and FCA sold and/or leased Class Vehicles that were not in merchantable
12   condition and/or fit for their ordinary purpose in violation of the implied warranty. The Class
13   Vehicles were not in merchantable condition because their design violated state and federal laws.
14   The Class Vehicles were not fit for their ordinary purpose as they were built to evade state and
15   federal emission standards.
16               653.   Fiat’s and FCA’s breaches of the implied warranty of merchantability caused
17   damage to the Plaintiffs and the Idaho State Class. The amount of damages due will be proven at
18   trial.
19                      14.    Illinois
20                                   BREACH OF EXPRESS WARRANTY
                                  (810 Ill. Comp. Stat. §§ 5/2-313 and 5/2A-210)
21

22               654.   Plaintiffs reallege and incorporate by reference all preceding allegations as though
23   fully set forth herein.
24               655.   Plaintiff Aaron Carter (for the purpose of this section, “Plaintiff”) brings this
25   action on behalf of himself and the Illinois State Class against Fiat and FCA.
26               656.   Fiat and FCA are and were at all relevant times “merchants” with respect to motor
27   vehicles under 810 Ill. Comp. Stat. §§ 5/2-104(1) and 5/2A-103(3), and “sellers” of motor
28   vehicles under § 5/2-103(1)(d).

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 1               657.   With respect to leases, Fiat and FCA are and were all relevant times “lessors” of
 2   motor vehicles under 810 Ill. Comp. Stat. § 5/2A-103(1)(p).
 3               658.   The Class Vehicles are and were at all relevant times “goods” within the meaning
 4   of 810 Ill. Comp. Stat. §§ 5/2-105(1) and 5/2A-103(1)(h).
 5               659.   Federal law requires manufacturers of light-duty vehicles to provide two federal
 6   emission control warranties: a “Performance Warranty” and a “Design and Defect Warranty.”
 7   The Performance Warranty applies to repairs that are required during the first two years or 24,000
 8   miles, whichever occurs first, when a vehicle fails an emissions test. Under this warranty, certain
 9   major emission control components are covered for the first eight years or 80,000 miles,
10   whichever comes first. These major emission control components subject to the longer warranty
11   include the catalytic converters, the electronic engine control unit (ECU), and the onboard
12   emissions diagnostic device or computer. The Design and Defect Warranty covers repair of
13   emission control or emission related parts which fail to function or function improperly due to a
14   defect in materials or workmanship. This warranty provides protection for two years or 24,000
15   miles, whichever comes first, or, for the major emission control components, for eight years or
16   80,000 miles, whichever comes first.
17               660.   Fiat and FCA provided these warranties to Plaintiff and the Illinois State Class.
18   These warranties formed the basis of the bargain that was reached when Plaintiff and the Illinois
19   State Class purchased or leased their Class Vehicles.
20               661.   However, Fiat and FCA knew or should have known that the warranties were false
21   and/or misleading. Fiat and FCA were aware that the emissions systems in the Class Vehicles
22   sold and leased to Plaintiff and the Illinois State Class were designed to deactivate under real-
23   world driving conditions, and to emit oxides of nitrogen within legal limits only when undergoing
24   emissions testing, and therefore, knew that the emission systems contained defects.
25               662.   Plaintiff and the Illinois State Class reasonably relied on Fiat’s and FCA’s express
26   warranties concerning emissions when purchasing or leasing the Class Vehicles. However, the
27   Class Vehicles did not perform as warranted. Unbeknownst to Plaintiff and the Illinois State
28   Class, the Class Vehicles were designed to pollute at higher than legal limits during normal

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 1   driving, and could not achieve advertised performance and efficiency metrics without this
 2   cheating design. This design and the devices that effectuate it are defects. Fiat and FCA
 3   therefore breached their express warranty by providing a product containing defects that were
 4   never disclosed to Plaintiff and the Illinois State Class.
 5               663.    Any opportunity to cure the express breach is unnecessary and futile.
 6               664.    As a direct and proximate result of Fiat’s and FCA’s breach of express warranties,
 7   Plaintiff and the Illinois State Class suffered significant damages, and seek damages in an amount
 8   to be determined at trial.
 9                      BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY
                               (810 Ill. Comp. Stat. §§ 5/2-314 and 5/2A-212)
10

11               665.    Plaintiffs reallege and incorporate by reference all allegations of the preceding
12   paragraphs as though fully set forth herein.
13               666.    Plaintiff Aaron Carter (for the purpose of this section, “Plaintiff”) brings this
14   action on behalf of himself and the Illinois State Class against Fiat and FCA.
15               667.    Fiat and FCA were at all relevant times “merchants” with respect to motor vehicles
16   under 810 Ill. Comp. Stat. §§ 5/2-104(1) and 5/2A-103(3), and “sellers” of motor vehicles under
17   § 5/2-103(1)(d).
18               668.    With respect to leases, Fiat and FCA are and were at all relevant times “lessors” of
19   motor vehicles under 810 Ill. Comp. Stat. § 5/2A-103(1)(p).
20               669.    The Class Vehicles are and were at all relevant times “goods” within the meaning
21   810 Ill. Comp. Stat. §§ 5/2-105(1) and 5/2A-103(1)(h)).
22               670.    A warranty that the Class Vehicles were in merchantable condition and fit for the
23   ordinary purpose for which vehicles are used is implied by law pursuant 810 Ill. Comp. Stat.
24   §§ 28-2-314 and 28-12-212.
25               671.    Fiat and FCA sold and/or leased Class Vehicles that were not in merchantable
26   condition and/or fit for their ordinary purpose in violation of the implied warranty. The Class
27   Vehicles were not in merchantable condition because their design violated state and federal laws.
28

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 1   The Class Vehicles were not fit for their ordinary purpose as they were built to evade state and
 2   federal emission standards.
 3               672.   Fiat’s and FCA’s breaches of the implied warranty of merchantability caused
 4   damage to the Plaintiff and the Illinois State Class. The amount of damages due will be proven at
 5   trial.
 6                      15.    Indiana
 7                                   BREACH OF EXPRESS WARRANTY
                                   (Ind. Code §§ 26-1-2-313 and 26-1-2.1-210)
 8

 9               673.   Plaintiffs reallege and incorporate by reference all preceding allegations as though
10   fully set forth herein.
11               674.   Plaintiff Mark Richards (for the purpose of this section, “Plaintiff”) brings this
12   action on behalf of himself and the Indiana State Class against Fiat and FCA.
13               675.   Fiat and FCA are and were at all relevant times “merchants” with respect to motor
14   vehicles under Ind. Code §§ 26-1-2-104(1) and 26-1-2.1-103(3), and “sellers” of motor vehicles
15   under § 26-1-2-103(1)(d).
16               676.   With respect to leases, Fiat and FCA are and were all relevant times “lessors” of
17   motor vehicles under Ind. Code § 26-1-2.1-103(1)(p).
18               677.   The Class Vehicles are and were at all relevant times “goods” within the meaning
19   of Ind. Code §§ 26-1-2-105(1) and 26-1-2.1-103(1)(h).
20               678.   Federal law requires manufacturers of light-duty vehicles to provide two federal
21   emission control warranties: a “Performance Warranty” and a “Design and Defect Warranty.”
22   The Performance Warranty applies to repairs that are required during the first two years or 24,000
23   miles, whichever occurs first, when a vehicle fails an emissions test. Under this warranty, certain
24   major emission control components are covered for the first eight years or 80,000 miles,
25   whichever comes first. These major emission control components subject to the longer warranty
26   include the catalytic converters, the electronic engine control unit (ECU), and the onboard
27   emissions diagnostic device or computer. The Design and Defect Warranty covers repair of
28   emission control or emission related parts which fail to function or function improperly due to a

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 1   defect in materials or workmanship. This warranty provides protection for two years or 24,000
 2   miles, whichever comes first, or, for the major emission control components, for eight years or
 3   80,000 miles, whichever comes first.
 4               679.    Fiat and FCA provided these warranties to Plaintiff and the Indiana State Class.
 5   These warranties formed the basis of the bargain that was reached when Plaintiff and the Indiana
 6   State Class purchased or leased their Class Vehicles.
 7               680.    However, Fiat and FCA knew or should have known that the warranties were false
 8   and/or misleading. Fiat and FCA were aware that the emissions systems in the Class Vehicles
 9   sold and leased to Plaintiff and the Indiana State Class were designed to deactivate under real-
10   world driving conditions, and to emit oxides of nitrogen within legal limits only when undergoing
11   emissions testing, and therefore, knew that the emission systems contained defects.
12               681.    Plaintiff and the Indiana State Class reasonably relied on Fiat’s and FCA’s express
13   warranties concerning emissions when purchasing or leasing the Class Vehicles. However, the
14   Class Vehicles did not perform as warranted. Unbeknownst to Plaintiff and the Indiana State
15   Class, the Class Vehicles were designed to pollute at higher than legal limits during normal
16   driving, and could not achieve advertised performance and efficiency metrics without this
17   cheating design. This design and the devices that effectuate it are defects. Fiat and FCA
18   therefore breached their express warranty by providing a product containing defects that were
19   never disclosed to Plaintiff and the Indiana State Class.
20               682.    Any opportunity to cure the express breach is unnecessary and futile.
21               683.    As a direct and proximate result of Fiat’s and FCA’s breach of express warranties,
22   Plaintiff and the Indiana State Class suffered significant damages, and seek damages in an amount
23   to be determined at trial.
24                      BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY
                                (Ind. Code §§ 26-1-2-314 and 26-1-2.1-212)
25

26               684.    Plaintiffs reallege and incorporate by reference all allegations of the preceding
27   paragraphs as though fully set forth herein.
28

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 1               685.   Plaintiff Mark Richards (for the purpose of this section, “Plaintiff”) brings this
 2   action on behalf of himself and the Indiana State Class against Fiat and FCA.
 3               686.   Fiat and FCA were at all relevant times “merchants” with respect to motor vehicles
 4   under Ind. Code §§ 26-1-2-104(1) and 26-1-2.1-103(3), and “sellers” of motor vehicles under
 5   § 26-1-2-103(1)(d).
 6               687.   With respect to leases, Fiat and FCA are and were at all relevant times “lessors” of
 7   motor vehicles under Ind. Code § 26-1-2.1-103(1)(p).
 8               688.   The Class Vehicles are and were at all relevant times “goods” within the meaning
 9   of Ind. Code §§ 26-1-2-105(1) and 26-1-2.1-103(1)(h).
10               689.   A warranty that the Class Vehicles were in merchantable condition and fit for the
11   ordinary purpose for which vehicles are used is implied by law pursuant to Ind. Code §§ 26-1-2-
12   314 and 26-1-2.1-212.
13               690.   Fiat and FCA sold and/or leased Class Vehicles that were not in merchantable
14   condition and/or fit for their ordinary purpose in violation of the implied warranty. The Class
15   Vehicles were not in merchantable condition because their design violated state and federal laws.
16   The Class Vehicles were not fit for their ordinary purpose as they were built to evade state and
17   federal emission standards.
18               691.   Fiat’s and FCA’s breaches of the implied warranty of merchantability caused
19   damage to the Plaintiff and the Indiana State Class. The amount of damages due will be proven at
20   trial.
21                      16.    Iowa
22                                    BREACH OF EXPRESS WARRANTY
                                      (Iowa Code §§ 554.2313 and 554.13210)
23

24               692.   Plaintiffs reallege and incorporate by reference all preceding allegations as though
25   fully set forth herein.
26               693.   Plaintiff Kirk Petersen (for the purpose of this section, “Plaintiff”) brings this
27   action on behalf of himself and the Iowa State Class against Fiat and FCA.
28

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 1               694.    Fiat and FCA are and were at all relevant times “merchants” with respect to motor
 2   vehicles under Iowa Code §§ 554.2104(1) and 554.13103(3), and “sellers” of motor vehicles
 3   under § 554.2103(1)(d).
 4               695.    With respect to leases, Fiat and FCA are and were all relevant times “lessors” of
 5   motor vehicles under Iowa Code § 554.13103(1)(p).
 6               696.    The Class Vehicles are and were at all relevant times “goods” within the meaning
 7   of Iowa Code §§ 554.2105(1) and 554.13103(1)(h).
 8               697.    Federal law requires manufacturers of light-duty vehicles to provide two federal
 9   emission control warranties: a “Performance Warranty” and a “Design and Defect Warranty.”
10   The Performance Warranty applies to repairs that are required during the first two years or 24,000
11   miles, whichever occurs first, when a vehicle fails an emissions test. Under this warranty, certain
12   major emission control components are covered for the first eight years or 80,000 miles,
13   whichever comes first. These major emission control components subject to the longer warranty
14   include the catalytic converters, the electronic engine control unit (ECU), and the onboard
15   emissions diagnostic device or computer. The Design and Defect Warranty covers repair of
16   emission control or emission related parts which fail to function or function improperly due to a
17   defect in materials or workmanship. This warranty provides protection for two years or 24,000
18   miles, whichever comes first, or, for the major emission control components, for eight years or
19   80,000 miles, whichever comes first.
20                      BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY
                                 (Iowa Code §§ 554.2314 and 554.13212)
21

22               698.    Plaintiffs reallege and incorporate by reference all allegations of the preceding
23   paragraphs as though fully set forth herein.
24               699.    Plaintiff Kirk Petersen (for the purpose of this section, “Plaintiff”) brings this
25   action on behalf of himself and the Iowa State Class against Fiat and FCA.
26               700.    Fiat and FCA were at all relevant times “merchants” with respect to motor vehicles
27   under Iowa Code §§ 554.2104(1) and 554.13103(3), and “sellers” of motor vehicles under
28   § 554.2103(1)(d).

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 1               701.   With respect to leases, Fiat and FCA are and were at all relevant times “lessors” of
 2   motor vehicles under Iowa Code § 554.13103(1)(p).
 3               702.   The Class Vehicles are and were at all relevant times “goods” within the meaning
 4   of Iowa Code §§ 554.2105(1) and 554.13103(1)(h).
 5               703.   A warranty that the Class Vehicles were in merchantable condition and fit for the
 6   ordinary purpose for which vehicles are used is implied by law pursuant to Iowa Code
 7   §§ 554.2314 and 554.13212.
 8               704.   Fiat and FCA sold and/or leased Class Vehicles that were not in merchantable
 9   condition and/or fit for their ordinary purpose in violation of the implied warranty. The Class
10   Vehicles were not in merchantable condition because their design violated state and federal laws.
11   The Class Vehicles were not fit for their ordinary purpose as they were built to evade state and
12   federal emission standards.
13               705.   Fiat’s and FCA’s breaches of the implied warranty of merchantability caused
14   damage to Plaintiff and the Iowa State Class. The amount of damages due will be proven at trial.
15                      17.    Kansas
16                                  BREACH OF EXPRESS WARRANTY
                                  (Kan. Stat. Ann. §§ 84-2-314 and 84-2A-210)
17

18               706.   Plaintiffs reallege and incorporate by reference all preceding allegations as though
19   fully set forth herein.
20               707.   This count is brought on behalf of the Kansas State Class against Fiat and FCA.
21               708.   Fiat and FCA are and were at all relevant times “merchants” with respect to motor
22   vehicles under Kan. Stat. Ann. §§ 84-2-104(1) and 84-2A-103(3), and “sellers” of motor vehicles
23   under § 84-2-103(1)(d).
24               709.   With respect to leases, Fiat and FCA are and were all relevant times “lessors” of
25   motor vehicles under Kan. Stat. Ann. § 84-2A-103(1)(p).
26               710.   The Class Vehicles are and were at all relevant times “goods” within the meaning
27   of Kan. Stat. Ann. §§ 84-2-105(1) and 84-2A-103(1)(h).
28

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 1               711.   Federal law requires manufacturers of light-duty vehicles to provide two federal
 2   emission control warranties: a “Performance Warranty” and a “Design and Defect Warranty.”
 3   The Performance Warranty applies to repairs that are required during the first two years or 24,000
 4   miles, whichever occurs first, when a vehicle fails an emissions test. Under this warranty, certain
 5   major emission control components are covered for the first eight years or 80,000 miles,
 6   whichever comes first. These major emission control components subject to the longer warranty
 7   include the catalytic converters, the electronic engine control unit (ECU), and the onboard
 8   emissions diagnostic device or computer. The Design and Defect Warranty covers repair of
 9   emission control or emission related parts which fail to function or function improperly due to a
10   defect in materials or workmanship. This warranty provides protection for two years or 24,000
11   miles, whichever comes first, or, for the major emission control components, for eight years or
12   80,000 miles, whichever comes first.
13               712.   Fiat and FCA provided these warranties to the Kansas State Class. These
14   warranties formed the basis of the bargain that was reached when the Kansas State Class
15   purchased or leased their Class Vehicles.
16               713.   However, Fiat and FCA knew or should have known that the warranties were false
17   and/or misleading. Fiat and FCA were aware that the emissions systems in the Class Vehicles
18   sold and leased to the Kansas State Class were designed to deactivate under real-world driving
19   conditions, and to emit oxides of nitrogen within legal limits only when undergoing emissions
20   testing, and therefore, knew that the emission systems contained defects.
21               714.   The Kansas State Class reasonably relied on Fiat’s and FCA’s express warranties
22   concerning emissions when purchasing or leasing the Class Vehicles. However, the Class
23   Vehicles did not perform as warranted. Unbeknownst to the Kansas State Class, the Class
24   Vehicles were designed to pollute at higher than legal limits during normal driving, and could not
25   achieve advertised performance and efficiency metrics without this cheating design. This design
26   and the devices that effectuate it are defects. Fiat and FCA therefore breached their express
27   warranty by providing a product containing defects that were never disclosed to the Kansas State
28   Class.

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 1               715.    Any opportunity to cure the express breach is unnecessary and futile.
 2               716.    As a direct and proximate result of Fiat’s and FCA’s breach of express warranties,
 3   the Kansas State Class suffered significant damages, and seek damages in an amount to be
 4   determined at trial.
 5               717.    Fiat and FCA provided these warranties to the Kansas State Class. These
 6   warranties formed the basis of the bargain that was reached when the Kansas State Class
 7   purchased or leased their Class Vehicles.
 8               718.    However, Fiat and FCA knew or should have known that the warranties were false
 9   and/or misleading. Fiat and FCA were aware that the emissions systems in the Class Vehicles
10   sold and leased to the Kansas State Class were designed to deactivate under real-world driving
11   conditions, and to emit oxides of nitrogen within legal limits only when undergoing emissions
12   testing, and therefore, knew that the emission systems contained defects.
13               719.    The Kansas State Class reasonably relied on Fiat’s and FCA’s express warranties
14   concerning emissions when purchasing or leasing the Class Vehicles. However, the Class
15   Vehicles did not perform as warranted. Unbeknownst to the Kansas State Class, the Class
16   Vehicles were designed to pollute at higher than legal limits during normal driving, and could not
17   achieve advertised performance and efficiency metrics without this cheating design. This design
18   and the devices that effectuate it are defects. Fiat and FCA therefore breached their express
19   warranty by providing a product containing defects that were never disclosed to the Kansas State
20   Class.
21               720.    Any opportunity to cure the express breach is unnecessary and futile.
22               721.    As a direct and proximate result of Fiat’s and FCA’s breach of express warranties,
23   the Kansas State Class suffered significant damages, and seek damages in an amount to be
24   determined at trial.
25                      BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY
                                (Kan. Stat. Ann. §§ 84-2-314 and 84-2A-212)
26

27               722.    Plaintiffs reallege and incorporate by reference all allegations of the preceding
28   paragraphs as though fully set forth herein.

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 1               723.   This count is brought on behalf of the Kansas State Class against Fiat and FCA.
 2               724.   Fiat and FCA were at all relevant times “merchants” with respect to motor vehicles
 3   under Kan. Stat. Ann. §§ 84-2-104(1) and 84-2A-103(3), and “sellers” of motor vehicles under
 4   § 84-2-103(1)(d).
 5               725.   With respect to leases, Fiat and FCA are and were at all relevant times “lessors” of
 6   motor vehicles under Kan. Stat. Ann. § 84-2A-103(1)(p).
 7               726.   The Class Vehicles are and were at all relevant times “goods” within the meaning
 8   of Kan. Stat. Ann. §§ 84-2-105(1) and 84-2A-103(1)(h).
 9               727.   A warranty that the Class Vehicles were in merchantable condition and fit for the
10   ordinary purpose for which vehicles are used is implied by law pursuant to Kan. Stat. Ann. §§ 84-
11   2-314 and 84-2A-212.
12               728.   Fiat and FCA sold and/or leased Class Vehicles that were not in merchantable
13   condition and/or fit for their ordinary purpose in violation of the implied warranty. The Class
14   Vehicles were not in merchantable condition because their design violated state and federal laws.
15   The Class Vehicles were not fit for their ordinary purpose as they were built to evade state and
16   federal emission standards.
17               729.   Fiat’s and FCA’s breaches of the implied warranty of merchantability caused
18   damage to the Kansas State Class. The amount of damages due will be proven at trial.
19                      18.    Kentucky
20                                 BREACH OF EXPRESS WARRANTY
                                (KY. REV. STAT. §§ 335.2-313 and 355.2A-210)
21

22               730.   Plaintiffs reallege and incorporate by reference all preceding allegations as though
23   fully set forth herein.
24               731.   Plaintiff Doru Bali (for the purpose of this section, “Plaintiff”) brings this action
25   on behalf of himself and the Kentucky State Class against Fiat and FCA.
26               732.   Fiat and FCA are and were at all relevant times “merchants” with respect to motor
27   vehicles under Ky. Rev. Stat. §§ 355.2-104(1) and 355.2A-103(3), and “sellers” of motor vehicles
28   under § 355.2-103(1)(d).

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 1               733.   With respect to leases, Fiat and FCA are and were all relevant times “lessors” of
 2   motor vehicles under Ky. Rev. Stat. § 355.2A-103(1)(p).
 3               734.   The Class Vehicles are and were at all relevant times “goods” within the meaning
 4   of Ky. Rev. Stat. §§ 355.2-105(1) and 355.2A-103(1)(h).
 5               735.   Federal law requires manufacturers of light-duty vehicles to provide two federal
 6   emission control warranties: a “Performance Warranty” and a “Design and Defect Warranty.”
 7   The Performance Warranty applies to repairs that are required during the first two years or 24,000
 8   miles, whichever occurs first, when a vehicle fails an emissions test. Under this warranty, certain
 9   major emission control components are covered for the first eight years or 80,000 miles,
10   whichever comes first. These major emission control components subject to the longer warranty
11   include the catalytic converters, the electronic engine control unit (ECU), and the onboard
12   emissions diagnostic device or computer. The Design and Defect Warranty covers repair of
13   emission control or emission related parts which fail to function or function improperly due to a
14   defect in materials or workmanship. This warranty provides protection for two years or 24,000
15   miles, whichever comes first, or, for the major emission control components, for eight years or
16   80,000 miles, whichever comes first.
17               736.   Fiat and FCA provided these warranties to Plaintiff and the Kentucky State Class.
18   These warranties formed the basis of the bargain that was reached when Plaintiff and the
19   Kentucky State Class purchased or leased their Class Vehicles.
20               737.   However, Fiat and FCA knew or should have known that the warranties were false
21   and/or misleading. Fiat and FCA were aware that the emissions systems in the Class Vehicles
22   sold and leased to Plaintiff and the Kentucky State Class were designed to deactivate under real-
23   world driving conditions, and to emit oxides of nitrogen within legal limits only when undergoing
24   emissions testing, and therefore, knew that the emission systems contained defects.
25               738.   Plaintiff and the Kentucky State Class reasonably relied on Fiat’s and FCA’s
26   express warranties concerning emissions when purchasing or leasing the Class Vehicles.
27   However, the Class Vehicles did not perform as warranted. Unbeknownst to Plaintiff and the
28   Kentucky State Class, the Class Vehicles were designed to pollute at higher than legal limits

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 1   during normal driving, and could not achieve advertised performance and efficiency metrics
 2   without this cheating design. This design and the devices that effectuate it are defects. Fiat and
 3   FCA therefore breached their express warranty by providing a product containing defects that
 4   were never disclosed to Plaintiff and the Kentucky State Class.
 5               739.    Any opportunity to cure the express breach is unnecessary and futile.
 6               740.    As a direct and proximate result of Fiat’s and FCA’s breach of express warranties,
 7   Plaintiff and the Kentucky State Class suffered significant damages, and seek damages in an
 8   amount to be determined at trial.
 9                      BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY
                              (KY. REV. STAT. §§ 335.2-314 and 355.2A-212)
10

11               741.    Plaintiffs reallege and incorporate by reference all allegations of the preceding
12   paragraphs as though fully set forth herein.
13               742.    Plaintiff Doru Bali (for the purpose of this section, “Plaintiff”) brings this action
14   on behalf of himself and the Kentucky State Class against Fiat and FCA.
15               743.    Fiat and FCA were at all relevant times “merchants” with respect to motor vehicles
16   under Ky. Rev. Stat. §§ 355.2-104(1) and 355.2A-103(3), and “sellers” of motor vehicles under
17   § 355.2-103(1)(d).
18               744.    With respect to leases, Fiat and FCA are and were at all relevant times “lessors” of
19   motor vehicles under Ky. Rev. Stat. § 355.2A-103(1)(p).
20               745.    The Class Vehicles are and were at all relevant times “goods” within the meaning
21   of Ky. Rev. Stat. §§ 355.2-105(1) and 355.2A-103(1)(h).
22               746.    A warranty that the Class Vehicles were in merchantable condition and fit for the
23   ordinary purpose for which vehicles are used is implied by law pursuant to Ky. Rev. Stat.
24   §§ 335.2-314 and 355.2A-212.
25               747.    Fiat and FCA sold and/or leased Class Vehicles that were not in merchantable
26   condition and/or fit for their ordinary purpose in violation of the implied warranty. The Class
27   Vehicles were not in merchantable condition because their design violated state and federal laws.
28

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 1   The Class Vehicles were not fit for their ordinary purpose as they were built to evade state and
 2   federal emission standards.
 3               748.    Fiat’s and FCA’s breaches of the implied warranty of merchantability caused
 4   damage to the Plaintiff and the Kentucky State Class. The amount of damages due will be proven
 5   at trial.
 6                       19.    Louisiana
 7                      BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY/
                            WARRANTY AGAINST REDHIBITORY DEFECTS
 8                                   (La. Civ. Code Art. 2520, 2524)
 9               749.    Plaintiffs reallege and incorporate by reference all allegations of the preceding
10   paragraphs as though fully set forth herein.
11               750.    Plaintiffs Jamie Broom, Samuel Price, and John Radziewicz (for the purpose of
12   this section, “Plaintiffs”) bring this action on behalf of themselves and the Louisiana State Class
13   against Fiat and FCA.
14               751.    Fiat and FCA were at all relevant times “merchants” with respect to motor
15   vehicles.
16               752.    A warranty that the Class Vehicles were in merchantable condition and fit for the
17   ordinary purpose for which vehicles are used is implied by law in the instant transactions.
18               753.    Fiat and FCA sold and/or leased Class Vehicles that were not in merchantable
19   condition and/or fit for their ordinary purpose in violation of the implied warranty. The Class
20   Vehicles were not in merchantable condition because their design violated state and federal laws.
21   The Class Vehicles were not fit for their ordinary purpose as they were built to evade state and
22   federal emission standards.
23               754.    Fiat’s and FCA’s breaches of the implied warranty of merchantability caused
24   damage to the Plaintiffs and the Louisiana State Class. The amount of damages due will be
25   proven at trial.
26

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28

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 1                      20.    Maine
 2                                 BREACH OF EXPRESS WARRANTY
                                (ME. REV. STAT. TIT. 11 §§ 2-313 and 2-1210)
 3

 4               755.   Plaintiffs reallege and incorporate by reference all preceding allegations as though

 5   fully set forth herein.

 6               756.   Plaintiff Edward Devault (for the purpose of this section, “Plaintiff”) brings this

 7   action on behalf of himself and the Maine State Class against Fiat and FCA.

 8               757.   Fiat and FCA are and were at all relevant times “merchants” with respect to motor

 9   vehicles under Me. Rev. Stat. Ann. Tit. 11 §§ 2-104(1), and 2-1103(3), and is a “seller” of motor

10   vehicles under § 2-103(1)(d).

11               758.   With respect to leases, Fiat and FCA are and were all relevant times “lessors” of

12   motor vehicles under Me. Rev. Stat. Ann. Tit. 11 § 2-1103(1)(p).

13               759.   The Class Vehicles are and were at all relevant times “goods” within the meaning

14   of Me. Rev. Stat. Ann. Tit. 11 §§ 2-105(1), and 2-1103(1)(h).

15               760.   Federal law requires manufacturers of light-duty vehicles to provide two federal

16   emission control warranties: a “Performance Warranty” and a “Design and Defect Warranty.”

17   The Performance Warranty applies to repairs that are required during the first two years or 24,000

18   miles, whichever occurs first, when a vehicle fails an emissions test. Under this warranty, certain

19   major emission control components are covered for the first eight years or 80,000 miles,

20   whichever comes first. These major emission control components subject to the longer warranty

21   include the catalytic converters, the electronic engine control unit (ECU), and the onboard

22   emissions diagnostic device or computer. The Design and Defect Warranty covers repair of

23   emission control or emission related parts which fail to function or function improperly due to a

24   defect in materials or workmanship. This warranty provides protection for two years or 24,000

25   miles, whichever comes first, or, for the major emission control components, for eight years or

26   80,000 miles, whichever comes first.

27

28

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 1               761.    Fiat and FCA provided these warranties to Plaintiff and the Maine State Class.
 2   These warranties formed the basis of the bargain that was reached when Plaintiff and the Maine
 3   State Class purchased or leased their Class Vehicles.
 4               762.    However, Fiat and FCA knew or should have known that the warranties were false
 5   and/or misleading. Fiat and FCA were aware that the emissions systems in the Class Vehicles
 6   sold and leased to Plaintiff and the Maine State Class were designed to deactivate under real-
 7   world driving conditions, and to emit oxides of nitrogen within legal limits only when undergoing
 8   emissions testing, and therefore, knew that the emission systems contained defects.
 9               763.    Plaintiff and the Maine State Class reasonably relied on Fiat’s and FCA’s express
10   warranties concerning emissions when purchasing or leasing the Class Vehicles. However, the
11   Class Vehicles did not perform as warranted. Unbeknownst to Plaintiff and the Maine State
12   Class, the Class Vehicles were designed to pollute at higher than legal limits during normal
13   driving, and could not achieve advertised performance and efficiency metrics without this
14   cheating design. This design and the devices that effectuate it are defects. Fiat and FCA
15   therefore breached their express warranty by providing a product containing defects that were
16   never disclosed to Plaintiff and the Maine State Class.
17               764.    Any opportunity to cure the express breach is unnecessary and futile.
18               765.    As a direct and proximate result of Fiat’s and FCA’s breach of express warranties,
19   Plaintiff and the Maine State Class suffered significant damages, and seek damages in an amount
20   to be determined at trial.
21                      BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY
                              (ME. REV. STAT. TIT. 11 §§ 2-314 and 2-1212)
22

23               766.    Plaintiffs reallege and incorporate by reference all allegations of the preceding
24   paragraphs as though fully set forth herein.
25               767.    Plaintiff Edward Devault (for the purpose of this section, “Plaintiff”) brings this
26   action on behalf of himself and the Maine State Class against Fiat and FCA.
27

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 1               768.   Fiat and FCA were at all relevant times “merchants” with respect to motor vehicles
 2   under Me. Rev. Stat. Ann. Tit. 11 §§ 2-104(1), and 2-1103(3), and is a “seller” of motor vehicles
 3   under § 2-103(1)(d).
 4               769.   With respect to leases, Fiat and FCA are and were at all relevant times “lessors” of
 5   motor vehicles under Me. Rev. Stat. Ann. Tit. 11 § 2-1103(1)(p).
 6               770.   The Class Vehicles are and were at all relevant times “goods” within the meaning
 7   of Me. Rev. Stat. Ann. Tit. 11 §§ 2-105(1), and 2-1103(1)(h).
 8               771.   A warranty that the Class Vehicles were in merchantable condition and fit for the
 9   ordinary purpose for which vehicles are used is implied by law pursuant to Me. Rev. Stat. Ann.
10   Tit. 11 §§ 2-314, and 2-1212.
11               772.   Fiat and FCA sold and/or leased Class Vehicles that were not in merchantable
12   condition and/or fit for their ordinary purpose in violation of the implied warranty. The Class
13   Vehicles were not in merchantable condition because their design violated state and federal laws.
14   The Class Vehicles were not fit for their ordinary purpose as they were built to evade state and
15   federal emission standards.
16               773.   Fiat’s and FCA’s breaches of the implied warranty of merchantability caused
17   damage to Plaintiff and the Maine State Class. The amount of damages due will be proven at
18   trial.
19                      21.    Maryland
20                                   BREACH OF EXPRESS WARRANTY
                                   (Md. Code, Com. Law §§ 2-313 and 2a-210)
21

22               774.   Plaintiffs reallege and incorporate by reference all preceding allegations as though
23   fully set forth herein.
24               775.   Plaintiffs Kyle and Jessica Heidlebaugh and Donald Korrell II (for the purpose of
25   this section, “Plaintiffs”) bring this action on behalf of themselves and the Maryland State Class
26   against Fiat and FCA.
27

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 1               776.   Fiat and FCA are and were at all relevant times “merchants” with respect to motor
 2   vehicles under Md. Code Com. Law § 2-104(1) and “sellers” of motor vehicles under § 2-
 3   103(1)(d).
 4               777.   With respect to leases, Fiat and FCA are and were all relevant times “lessors” of
 5   motor vehicles under Md. Code Com. Law § 2A-103(1)(p).
 6               778.   The Class Vehicles are and were at all relevant times “goods” within the meaning
 7   of Md. Code Com. Law §§ 2-105(1) and 2a-103(1)(h).
 8               779.   Federal law requires manufacturers of light-duty vehicles to provide two federal
 9   emission control warranties: a “Performance Warranty” and a “Design and Defect Warranty.”
10   The Performance Warranty applies to repairs that are required during the first two years or 24,000
11   miles, whichever occurs first, when a vehicle fails an emissions test. Under this warranty, certain
12   major emission control components are covered for the first eight years or 80,000 miles,
13   whichever comes first. These major emission control components subject to the longer warranty
14   include the catalytic converters, the electronic engine control unit (ECU), and the onboard
15   emissions diagnostic device or computer. The Design and Defect Warranty covers repair of
16   emission control or emission related parts which fail to function or function improperly due to a
17   defect in materials or workmanship. This warranty provides protection for two years or 24,000
18   miles, whichever comes first, or, for the major emission control components, for eight years or
19   80,000 miles, whichever comes first.
20               780.   Fiat and FCA provided these warranties to Plaintiffs and the Maryland State Class.
21   These warranties formed the basis of the bargain that was reached when Plaintiffs and the
22   Maryland State Class purchased or leased their Class Vehicles.
23               781.   However, Fiat and FCA knew or should have known that the warranties were false
24   and/or misleading. Fiat and FCA were aware that the emissions systems in the Class Vehicles
25   sold and leased to Plaintiffs and the Maryland State Class were designed to deactivate under real-
26   world driving conditions, and to emit oxides of nitrogen within legal limits only when undergoing
27   emissions testing, and therefore, knew that the emission systems contained defects.
28

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 1               782.    Plaintiffs and the Maryland State Class reasonably relied on Fiat’s and FCA’s
 2   express warranties concerning emissions when purchasing or leasing the Class Vehicles.
 3   However, the Class Vehicles did not perform as warranted. Unbeknownst to Plaintiffs and the
 4   Maryland State Class, the Class Vehicles were designed to pollute at higher than legal limits
 5   during normal driving, and could not achieve advertised performance and efficiency metrics
 6   without this cheating design. This design and the devices that effectuate it are defects. Fiat and
 7   FCA therefore breached their express warranty by providing a product containing defects that
 8   were never disclosed to Plaintiffs and the Maryland State Class.
 9               783.    Any opportunity to cure the express breach is unnecessary and futile.
10               784.    As a direct and proximate result of Fiat’s and FCA’s breach of express warranties,
11   Plaintiffs and the Maryland State Class suffered significant damages, and seek damages in an
12   amount to be determined at trial.
13                      BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY
                                (Md. Code Com. Law §§ 2-314 and 2A-212)
14

15               785.    Plaintiffs reallege and incorporate by reference all allegations of the preceding
16   paragraphs as though fully set forth herein.
17               786.    Plaintiffs Kyle and Jessica Heidlebaugh and Donald Korrell II (for the purpose of
18   this section, “Plaintiffs”) bring this action on behalf of themselves and the Maryland State Class
19   against Fiat and FCA.
20               787.    Fiat and FCA were at all relevant times “merchants” with respect to motor vehicles
21   under Md. Code Com. Law § 2-104(1) and “sellers” of motor vehicles under § 2-103(1)(d).
22               788.    With respect to leases, Fiat and FCA are and were at all relevant times “lessors” of
23   motor vehicles under Md. Code Com. Law § 2A-103(1)(p).
24               789.    The Class Vehicles are and were at all relevant times “goods” within the meaning
25   of Md. Code Com. Law §§ 2-105(1) and 2a-103(1)(h).
26               790.    A warranty that the Class Vehicles were in merchantable condition and fit for the
27   ordinary purpose for which vehicles are used is implied by law pursuant to Md. Code Com. Law
28   §§ 2-314 and 2a-212.

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 1               791.   Fiat and FCA sold and/or leased Class Vehicles that were not in merchantable
 2   condition and/or fit for their ordinary purpose in violation of the implied warranty. The Class
 3   Vehicles were not in merchantable condition because their design violated state and federal laws.
 4   The Class Vehicles were not fit for their ordinary purpose as they were built to evade state and
 5   federal emission standards.
 6               792.   Fiat’s and FCA’s breaches of the implied warranty of merchantability caused
 7   damage to the Plaintiffs and the Maryland State Class. The amount of damages due will be
 8   proven at trial.
 9                      22.    Massachusetts
10                                 BREACH OF EXPRESS WARRANTY
                                (Mass. Gen. Laws Ch. 106 §§ 2-313 and 2A-210)
11

12               793.   Plaintiffs reallege and incorporate by reference all preceding allegations as though
13   fully set forth herein.
14               794.   Plaintiff Benjamin Greenberg (for the purpose of this section, “Plaintiff”) brings
15   this action on behalf of himself and the Massachusetts State Class against Fiat and FCA.
16               795.   Fiat and FCA are and were at all relevant times “merchants” with respect to motor
17   vehicles under Mass Gen. Laws ch. 106 § 2-104(1) and is a “seller” of motor vehicles under § 2-
18   103(1) (d).
19               796.   With respect to leases, Fiat and FCA are and were all relevant times “lessors” of
20   motor vehicles under Mass Gen. Laws ch. 106 § 2A-103(1)(p).
21               797.   The Class Vehicles are and were at all relevant times “goods” within the meaning
22   of Mass. Gen. Laws ch. 106 §§ 2-105(1) and 2A-103(1)(h).
23               798.   Federal law requires manufacturers of light-duty vehicles to provide two federal
24   emission control warranties: a “Performance Warranty” and a “Design and Defect Warranty.”
25   The Performance Warranty applies to repairs that are required during the first two years or 24,000
26   miles, whichever occurs first, when a vehicle fails an emissions test. Under this warranty, certain
27   major emission control components are covered for the first eight years or 80,000 miles,
28   whichever comes first. These major emission control components subject to the longer warranty

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 1   include the catalytic converters, the electronic engine control unit (ECU), and the onboard
 2   emissions diagnostic device or computer. The Design and Defect Warranty covers repair of
 3   emission control or emission related parts which fail to function or function improperly due to a
 4   defect in materials or workmanship. This warranty provides protection for two years or 24,000
 5   miles, whichever comes first, or, for the major emission control components, for eight years or
 6   80,000 miles, whichever comes first.
 7               799.   Fiat and FCA provided these warranties to Plaintiff and the Massachusetts State
 8   Class. These warranties formed the basis of the bargain that was reached when Plaintiff and the
 9   Massachusetts State Class purchased or leased their Class Vehicles.
10               800.   However, Fiat and FCA knew or should have known that the warranties were false
11   and/or misleading. Fiat and FCA were aware that the emissions systems in the Class Vehicles
12   sold and leased to Plaintiff and the Massachusetts State Class were designed to deactivate under
13   real-world driving conditions, and to emit oxides of nitrogen within legal limits only when
14   undergoing emissions testing, and therefore, knew that the emission systems contained defects.
15               801.   Plaintiff and the Massachusetts State Class reasonably relied on Fiat’s and FCA’s
16   express warranties concerning emissions when purchasing or leasing the Class Vehicles.
17   However, the Class Vehicles did not perform as warranted. Unbeknownst to Plaintiff and the
18   Massachusetts State Class, the Class Vehicles were designed to pollute at higher than legal limits
19   during normal driving, and could not achieve advertised performance and efficiency metrics
20   without this cheating design. This design and the devices that effectuate it are defects. Fiat and
21   FCA therefore breached their express warranty by providing a product containing defects that
22   were never disclosed to Plaintiff and the Massachusetts State Class.
23               802.   Any opportunity to cure the express breach is unnecessary and futile.
24               803.   As a direct and proximate result of Fiat’s and FCA’s breach of express warranties,
25   Plaintiff and the Massachusetts State Class suffered significant damages, and seek damages in an
26   amount to be determined at trial.
27

28

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 1                      BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY
                              (Mass. Gen. Laws Ch. 106 §§ 2-314 and 2A-212)
 2

 3               804.    Plaintiffs reallege and incorporate by reference all allegations of the preceding

 4   paragraphs as though fully set forth herein.

 5               805.    Plaintiff Benjamin Greenberg (for the purpose of this section, “Plaintiff”) brings

 6   this action on behalf of himself and the Massachusetts State Class against Fiat and FCA.

 7               806.    Fiat and FCA were at all relevant times “merchants” with respect to motor vehicles

 8   under Mass Gen. Laws ch. 106 § 2-104(1) and is a “seller” of motor vehicles under § 2-103(1)

 9   (d).

10               807.    With respect to leases, Fiat and FCA are and were at all relevant times “lessors” of

11   motor vehicles under Mass Gen. Laws ch. 106 § 2A-103(1)(p).

12               808.    The Class Vehicles are and were at all relevant times “goods” within the meaning

13   of Mass. Gen. Laws ch. 106 §§ 2-105(1) and 2A-103(1)(h).

14               809.    A warranty that the Class Vehicles were in merchantable condition and fit for the

15   ordinary purpose for which vehicles are used is implied by law pursuant to Mass. Gen. Laws ch.

16   106 §§ 2-314 and 2A-212.

17               810.    Fiat and FCA sold and/or leased Class Vehicles that were not in merchantable

18   condition and/or fit for their ordinary purpose in violation of the implied warranty. The Class

19   Vehicles were not in merchantable condition because their design violated state and federal laws.

20   The Class Vehicles were not fit for their ordinary purpose as they were built to evade state and

21   federal emission standards.

22               811.    Fiat’s and FCA’s breaches of the implied warranty of merchantability caused

23   damage to the Plaintiff and the Massachusetts State Class. The amount of damages due will be

24   proven at trial.

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 1                      23.    Michigan
 2                                  BREACH OF EXPRESS WARRANTY
                                 (Mich. Comp. Laws §§ 440.2313 and 440.2860)
 3

 4               812.   Plaintiffs reallege and incorporate by reference all preceding allegations as though

 5   fully set forth herein.

 6               813.   Plaintiff Doru Bali (for the purpose of this section, “Plaintiff”) brings this action

 7   on behalf of himself and the Michigan State Class against Fiat and FCA.

 8               814.   Fiat and FCA are and were at all relevant times “merchants” with respect to motor

 9   vehicles under Mich. Comp. Laws § 440.2104(1) and “sellers” of motor vehicles under

10   § 440.2103(1)(c).

11               815.   With respect to leases, Fiat and FCA are and were all relevant times “lessors” of

12   motor vehicles under Mich. Comp. Laws § 440.2803(1)(p).

13               816.   The Class Vehicles are and were at all relevant times “goods” within the meaning

14   of Mich. Comp. Laws §§ 440.2105(1) and 440.2803(1)(h).

15               817.   Federal law requires manufacturers of light-duty vehicles to provide two federal

16   emission control warranties: a “Performance Warranty” and a “Design and Defect Warranty.”

17   The Performance Warranty applies to repairs that are required during the first two years or 24,000

18   miles, whichever occurs first, when a vehicle fails an emissions test. Under this warranty, certain

19   major emission control components are covered for the first eight years or 80,000 miles,

20   whichever comes first. These major emission control components subject to the longer warranty

21   include the catalytic converters, the electronic engine control unit (ECU), and the onboard

22   emissions diagnostic device or computer. The Design and Defect Warranty covers repair of

23   emission control or emission related parts which fail to function or function improperly due to a

24   defect in materials or workmanship. This warranty provides protection for two years or 24,000

25   miles, whichever comes first, or, for the major emission control components, for eight years or

26   80,000 miles, whichever comes first.

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 1               818.    Fiat and FCA provided these warranties to Plaintiff and the Michigan State Class.
 2   These warranties formed the basis of the bargain that was reached when Plaintiff and the
 3   Michigan State Class purchased or leased their Class Vehicles.
 4               819.    However, Fiat and FCA knew or should have known that the warranties were false
 5   and/or misleading. Fiat and FCA were aware that the emissions systems in the Class Vehicles
 6   sold and leased to Plaintiff and the Michigan State Class were designed to deactivate under real-
 7   world driving conditions, and to emit oxides of nitrogen within legal limits only when undergoing
 8   emissions testing, and therefore, knew that the emission systems contained defects.
 9               820.    Plaintiff and the Michigan State Class reasonably relied on Fiat’s and FCA’s
10   express warranties concerning emissions when purchasing or leasing the Class Vehicles.
11   However, the Class Vehicles did not perform as warranted. Unbeknownst to Plaintiff and the
12   Michigan State Class, the Class Vehicles were designed to pollute at higher than legal limits
13   during normal driving, and could not achieve advertised performance and efficiency metrics
14   without this cheating design. This design and the devices that effectuate it are defects. Fiat and
15   FCA therefore breached their express warranty by providing a product containing defects that
16   were never disclosed to Plaintiff and the Michigan State Class.
17               821.    Any opportunity to cure the express breach is unnecessary and futile.
18               822.    As a direct and proximate result of Fiat’s and FCA’s breach of express warranties,
19   Plaintiff and the Michigan State Class suffered significant damages, and seek damages in an
20   amount to be determined at trial.
21                      BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY
                               (Mich. Comp. Laws §§ 440.2314 and 440.2860)
22

23               823.    Plaintiffs reallege and incorporate by reference all allegations of the preceding
24   paragraphs as though fully set forth herein.
25               824.    Plaintiff Doru Bali (for the purpose of this section, “Plaintiff”) brings this action
26   on behalf of himself and the Michigan State Class against Fiat and FCA.
27               825.    Fiat and FCA were at all relevant times “merchants” with respect to motor vehicles
28   under Mich. Comp. Laws § 440.2104(1) and “sellers” of motor vehicles under § 440.2103(1)(c).

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 1               826.   With respect to leases, Fiat and FCA are and were at all relevant times “lessors” of
 2   motor vehicles under Mich. Comp. Laws § 440.2803(1)(p).
 3               827.   The Class Vehicles are and were at all relevant times “goods” within the meaning
 4   of Mich. Comp. Laws §§ 440.2105(1) and 440.2803(1)(h).
 5               828.   A warranty that the Class Vehicles were in merchantable condition and fit for the
 6   ordinary purpose for which vehicles are used is implied by law pursuant to Mich. Comp. Laws
 7   §§ 440.2314 and 440.2862.
 8               829.   Fiat and FCA sold and/or leased Class Vehicles that were not in merchantable
 9   condition and/or fit for their ordinary purpose in violation of the implied warranty. The Class
10   Vehicles were not in merchantable condition because their design violated state and federal laws.
11   The Class Vehicles were not fit for their ordinary purpose as they were built to evade state and
12   federal emission standards.
13               830.   Fiat’s and FCA’s breaches of the implied warranty of merchantability caused
14   damage to the Plaintiff and the Michigan State Class. The amount of damages due will be proven
15   at trial.
16                      24.     Minnesota
17                                   BREACH OF EXPRESS WARRANTY
                                    (Minn. Stat. §§ 336.2-313 and 336.2A-210)
18

19               831.   Plaintiffs reallege and incorporate by reference all preceding allegations as though
20   fully set forth herein.
21               832.   Plaintiff Josh Claflin (for the purpose of this section, “Plaintiff”) brings this action
22   on behalf of himself and the Minnesota State Class against Fiat and FCA.
23               833.   Fiat and FCA are and were at all relevant times “merchants” with respect to motor
24   vehicles under Minn. Stat. § 336.2-104(1) and “sellers” of motor vehicles under § 336.2-
25   103(1)(d).
26               834.   With respect to leases, Fiat and FCA are and were all relevant times “lessors” of
27   motor vehicles under Minn. Stat. § 336.2A-103(1)(p).
28

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 1               835.   The Class Vehicles are and were at all relevant times “goods” within the meaning
 2   of Minn. Stat. § 336.2-105(1) and 336.2A-103(1)(h).
 3               836.   Federal law requires manufacturers of light-duty vehicles to provide two federal
 4   emission control warranties: a “Performance Warranty” and a “Design and Defect Warranty.”
 5   The Performance Warranty applies to repairs that are required during the first two years or 24,000
 6   miles, whichever occurs first, when a vehicle fails an emissions test. Under this warranty, certain
 7   major emission control components are covered for the first eight years or 80,000 miles,
 8   whichever comes first. These major emission control components subject to the longer warranty
 9   include the catalytic converters, the electronic engine control unit (ECU), and the onboard
10   emissions diagnostic device or computer. The Design and Defect Warranty covers repair of
11   emission control or emission related parts which fail to function or function improperly due to a
12   defect in materials or workmanship. This warranty provides protection for two years or 24,000
13   miles, whichever comes first, or, for the major emission control components, for eight years or
14   80,000 miles, whichever comes first.
15               837.   Fiat and FCA provided these warranties to Plaintiff and the Minnesota State Class.
16   These warranties formed the basis of the bargain that was reached when Plaintiff and the
17   Minnesota State Class purchased or leased their Class Vehicles.
18               838.   However, Fiat and FCA knew or should have known that the warranties were false
19   and/or misleading. Fiat and FCA were aware that the emissions systems in the Class Vehicles
20   sold and leased to Plaintiff and the Minnesota State Class were designed to deactivate under real-
21   world driving conditions, and to emit oxides of nitrogen within legal limits only when undergoing
22   emissions testing, and therefore, knew that the emission systems contained defects.
23               839.   Plaintiff and the Minnesota State Class reasonably relied on Fiat’s and FCA’s
24   express warranties concerning emissions when purchasing or leasing the Class Vehicles.
25   However, the Class Vehicles did not perform as warranted. Unbeknownst to Plaintiff and the
26   Minnesota State Class, the Class Vehicles were designed to pollute at higher than legal limits
27   during normal driving, and could not achieve advertised performance and efficiency metrics
28   without this cheating design. This design and the devices that effectuate it are defects. Fiat and

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 1   FCA therefore breached their express warranty by providing a product containing defects that
 2   were never disclosed to Plaintiff and the Minnesota State Class.
 3               840.    Any opportunity to cure the express breach is unnecessary and futile.
 4               841.    As a direct and proximate result of Fiat’s and FCA’s breach of express warranties,
 5   Plaintiff and the Minnesota State Class suffered significant damages, and seek damages in an
 6   amount to be determined at trial.
 7                      BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY
                                (Minn. Stat. §§ 336.2-314 and 336.2A-212)
 8

 9               842.    Plaintiffs reallege and incorporate by reference all allegations of the preceding
10   paragraphs as though fully set forth herein.
11               843.    Plaintiff Josh Claflin (for the purpose of this section, “Plaintiff”) brings this action
12   on behalf of himself and the Minnesota State Class against Fiat and FCA.
13               844.    Fiat and FCA were at all relevant times “merchants” with respect to motor vehicles
14   under Minn. Stat. § 336.2-104(1) and “sellers” of motor vehicles under § 336.2-103(1)(d).
15               845.    With respect to leases, Fiat and FCA are and were at all relevant times “lessors” of
16   motor vehicles under Minn. Stat. § 336.2A-103(1)(p).
17               846.    The Class Vehicles are and were at all relevant times “goods” within the meaning
18   of Minn. Stat. §§ 336.2-105(1) and 336.2A-103(1)(h).
19               847.    A warranty that the Class Vehicles were in merchantable condition and fit for the
20   ordinary purpose for which vehicles are used is implied by law pursuant to Minn. Stat. §§ 336.2-
21   314 and 336.2A-212.
22               848.    Fiat and FCA sold and/or leased Class Vehicles that were not in merchantable
23   condition and/or fit for their ordinary purpose in violation of the implied warranty. The Class
24   Vehicles were not in merchantable condition because their design violated state and federal laws.
25   The Class Vehicles were not fit for their ordinary purpose as they were built to evade state and
26   federal emission standards.
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 1               849.   Fiat’s and FCA’s breaches of the implied warranty of merchantability caused
 2   damage to the Plaintiff and the Minnesota State Class. The amount of damages due will be
 3   proven at trial.
 4                      25.    Mississippi
 5                                   BREACH OF EXPRESS WARRANTY
                                     (Miss. Code §§ 75-2-313 and 75-2A-210)
 6

 7               850.   Plaintiffs reallege and incorporate by reference all preceding allegations as though
 8   fully set forth herein.
 9               851.   Plaintiff Anthony Alley (for the purpose of this section, “Plaintiff”) brings this
10   action on behalf of himself and the Mississippi State Class against Fiat and FCA.
11               852.   Fiat and FCA are and were at all relevant times “merchants” with respect to motor
12   vehicles under Miss. Code § 75-2-104(1) and “sellers” of motor vehicles under § 75-2-103(1)(d).
13               853.   With respect to leases, Fiat and FCA are and were all relevant times “lessors” of
14   motor vehicles under Miss. Code § 75-2A-103(1)(p).
15               854.   The Class Vehicles are and were at all relevant times “goods” within the meaning
16   of Miss. Code §§ 75-2-105(1) and 75-2A-103(1)(h).
17               855.   Federal law requires manufacturers of light-duty vehicles to provide two federal
18   emission control warranties: a “Performance Warranty” and a “Design and Defect Warranty.”
19   The Performance Warranty applies to repairs that are required during the first two years or 24,000
20   miles, whichever occurs first, when a vehicle fails an emissions test. Under this warranty, certain
21   major emission control components are covered for the first eight years or 80,000 miles,
22   whichever comes first. These major emission control components subject to the longer warranty
23   include the catalytic converters, the electronic engine control unit (ECU), and the onboard
24   emissions diagnostic device or computer. The Design and Defect Warranty covers repair of
25   emission control or emission related parts which fail to function or function improperly due to a
26   defect in materials or workmanship. This warranty provides protection for two years or 24,000
27   miles, whichever comes first, or, for the major emission control components, for eight years or
28   80,000 miles, whichever comes first.

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 1               856.    Fiat and FCA provided these warranties to Plaintiff and the Mississippi State
 2   Class. These warranties formed the basis of the bargain that was reached when Plaintiff and the
 3   Mississippi State Class purchased or leased their Class Vehicles.
 4               857.    However, Fiat and FCA knew or should have known that the warranties were false
 5   and/or misleading. Fiat and FCA were aware that the emissions systems in the Class Vehicles
 6   sold and leased to Plaintiff and the Mississippi State Class were designed to deactivate under real-
 7   world driving conditions, and to emit oxides of nitrogen within legal limits only when undergoing
 8   emissions testing, and therefore, knew that the emission systems contained defects.
 9               858.    Plaintiff and the Mississippi State Class reasonably relied on Fiat’s and FCA’s
10   express warranties concerning emissions when purchasing or leasing the Class Vehicles.
11   However, the Class Vehicles did not perform as warranted. Unbeknownst to Plaintiff and the
12   Mississippi State Class, the Class Vehicles were designed to pollute at higher than legal limits
13   during normal driving, and could not achieve advertised performance and efficiency metrics
14   without this cheating design. This design and the devices that effectuate it are defects. Fiat and
15   FCA therefore breached their express warranty by providing a product containing defects that
16   were never disclosed to Plaintiff and the Mississippi State Class.
17               859.    Any opportunity to cure the express breach is unnecessary and futile.
18               860.    As a direct and proximate result of Fiat’s and FCA’s breach of express warranties,
19   Plaintiff and the Mississippi State Class suffered significant damages, and seek damages in an
20   amount to be determined at trial.
21                      BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY
                                 (Miss. Code §§ 75-2-314 and 75-2A-212)
22

23               861.    Plaintiffs reallege and incorporate by reference all allegations of the preceding
24   paragraphs as though fully set forth herein.
25               862.    Plaintiff Anthony Alley (for the purpose of this section, “Plaintiff”) brings this
26   action on behalf of himself and the Mississippi State Class against Fiat and FCA.
27               863.    Fiat and FCA were at all relevant times “merchants” with respect to motor vehicles
28   under Miss. Code § 75-2-104(1) and “sellers” of motor vehicles under § 75-2-103(1)(d).

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 1               864.   With respect to leases, Fiat and FCA are and were at all relevant times “lessors” of
 2   motor vehicles under Miss. Code § 75-2A-103(1)(p).
 3               865.   The Class Vehicles are and were at all relevant times “goods” within the meaning
 4   of Miss. Code §§ 75-2-105(1) and 75-2A-103(1)(h).
 5               866.   A warranty that the Class Vehicles were in merchantable condition and fit for the
 6   ordinary purpose for which vehicles are used is implied by law pursuant to Miss. Code §§ 75-2-
 7   314 and 75-2A-212.
 8               867.   Fiat and FCA sold and/or leased Class Vehicles that were not in merchantable
 9   condition and/or fit for their ordinary purpose in violation of the implied warranty. The Class
10   Vehicles were not in merchantable condition because their design violated state and federal laws.
11   The Class Vehicles were not fit for their ordinary purpose as they were built to evade state and
12   federal emission standards.
13               868.   Fiat’s and FCA’s breaches of the implied warranty of merchantability caused
14   damage to Plaintiff and the Mississippi State Class. The amount of damages due will be proven
15   at trial.
16                      26.    Missouri
17                                   BREACH OF EXPRESS WARRANTY
                                     (Mo. Stat. §§ 400.2-313 and 400.2A-210)
18

19               869.   Plaintiffs reallege and incorporate by reference all preceding allegations as though
20   fully set forth herein.
21               870.   Plaintiff Melvin Phillips (for the purpose of this section, “Plaintiff”) brings this
22   action on behalf of himself and the Missouri State Class against Fiat and FCA.
23               871.   Fiat and FCA are and were at all relevant times “merchants” with respect to motor
24   vehicles under Mo. Stat. § 400.2-104(1) and “sellers” of motor vehicles under § 400.2-103(1)(d).
25               872.   With respect to leases, Fiat and FCA are and were all relevant times “lessors” of
26   motor vehicles under Mo. Stat. § 400.2A-103(1)(p).
27               873.   The Class Vehicles are and were at all relevant times “goods” within the meaning
28   of Mo. Stat. § 400.2-105(1) and Mo. Stat. § 400.2A-103(1)(h).5.

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 1               874.   Federal law requires manufacturers of light-duty vehicles to provide two federal
 2   emission control warranties: a “Performance Warranty” and a “Design and Defect Warranty.”
 3   The Performance Warranty applies to repairs that are required during the first two years or 24,000
 4   miles, whichever occurs first, when a vehicle fails an emissions test. Under this warranty, certain
 5   major emission control components are covered for the first eight years or 80,000 miles,
 6   whichever comes first. These major emission control components subject to the longer warranty
 7   include the catalytic converters, the electronic engine control unit (ECU), and the onboard
 8   emissions diagnostic device or computer. The Design and Defect Warranty covers repair of
 9   emission control or emission related parts which fail to function or function improperly due to a
10   defect in materials or workmanship. This warranty provides protection for two years or 24,000
11   miles, whichever comes first, or, for the major emission control components, for eight years or
12   80,000 miles, whichever comes first.
13               875.   Fiat and FCA provided these warranties to Plaintiff and the Missouri State Class.
14   These warranties formed the basis of the bargain that was reached when Plaintiff and the Missouri
15   State Class purchased or leased their Class Vehicles.
16               876.   However, Fiat and FCA knew or should have known that the warranties were false
17   and/or misleading. Fiat and FCA were aware that the emissions systems in the Class Vehicles
18   sold and leased to Plaintiff and the Missouri State Class were designed to deactivate under real-
19   world driving conditions, and to emit oxides of nitrogen within legal limits only when undergoing
20   emissions testing, and therefore, knew that the emission systems contained defects.
21               877.   Plaintiff and the Missouri State Class reasonably relied on Fiat’s and FCA’s
22   express warranties concerning emissions when purchasing or leasing the Class Vehicles.
23   However, the Class Vehicles did not perform as warranted. Unbeknownst to Plaintiff and the
24   Missouri State Class, the Class Vehicles were designed to pollute at higher than legal limits
25   during normal driving, and could not achieve advertised performance and efficiency metrics
26   without this cheating design. This design and the devices that effectuate it are defects. Fiat and
27   FCA therefore breached their express warranty by providing a product containing defects that
28   were never disclosed to Plaintiff and the Missouri State Class.

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 1               878.    Any opportunity to cure the express breach is unnecessary and futile.
 2               879.    As a direct and proximate result of Fiat’s and FCA’s breach of express warranties,
 3   Plaintiff and the Missouri State Class suffered significant damages, and seek damages in an
 4   amount to be determined at trial.
 5                      BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY
                                 (Mo. Stat. §§ 400.2-314 and 400.2A-212)
 6

 7               880.    Plaintiffs reallege and incorporate by reference all allegations of the preceding
 8   paragraphs as though fully set forth herein.
 9               881.    Plaintiff Melvin Phillips (for the purpose of this section, “Plaintiff”) brings this
10   action on behalf of himself and the Missouri State Class against Fiat and FCA.
11               882.    Fiat and FCA were at all relevant times “merchants” with respect to motor vehicles
12   under Mo. Stat. § 400.2-104(1) and “sellers” of motor vehicles under § 400.2-103(1)(d).
13               883.    With respect to leases, Fiat and FCA are and were at all relevant times “lessors” of
14   motor vehicles under Mo. Stat. § 400.2A-103(1)(p).
15               884.    The Class Vehicles are and were at all relevant times “goods” within the meaning
16   of Mo. Stat. § 400.2-105(1) and Mo. Stat. § 400.2A-103(1)(h).5.
17               885.    A warranty that the Class Vehicles were in merchantable condition and fit for the
18   ordinary purpose for which vehicles are used is implied by law pursuant to Mo. Stat. § 400.2-314
19   and Mo. Stat. § 400.2A-212.
20               886.    Fiat and FCA sold and/or leased Class Vehicles that were not in merchantable
21   condition and/or fit for their ordinary purpose in violation of the implied warranty. The Class
22   Vehicles were not in merchantable condition because their design violated state and federal laws.
23   The Class Vehicles were not fit for their ordinary purpose as they were built to evade state and
24   federal emission standards.
25               887.    Fiat’s and FCA’s breaches of the implied warranty of merchantability caused
26   damage to Plaintiff and the Missouri State Class. The amount of damages due will be proven at
27   trial.
28

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 1                      27.    Montana
 2                                   BREACH OF EXPRESS WARRANTY
                                    (Mont. Code §§ 30-2-313 and 30-2A-210)
 3

 4               888.   Plaintiffs reallege and incorporate by reference all preceding allegations as though

 5   fully set forth herein.

 6               889.   Plaintiff Ronald Holm (for the purpose of this section, “Plaintiff”) brings this

 7   action on behalf of himself and the Montana State against Fiat and FCA.

 8               890.   Fiat and FCA are and were at all relevant times “merchants” with respect to motor

 9   vehicles under Mont. Code § 30-2-104(1) and “sellers” of motor vehicles under § 30-2-103(1)(d).

10               891.   With respect to leases, Fiat and FCA are and were all relevant times “lessors” of

11   motor vehicles under Mont. Code § 30-2A-103(1)(p).

12               892.   The Class Vehicles are and were at all relevant times “goods” within the meaning

13   of Mont. Code §§ 30-2-105(1) and 30-2A-103(1)(h).5.

14               893.   Federal law requires manufacturers of light-duty vehicles to provide two federal

15   emission control warranties: a “Performance Warranty” and a “Design and Defect Warranty.”

16   The Performance Warranty applies to repairs that are required during the first two years or 24,000

17   miles, whichever occurs first, when a vehicle fails an emissions test. Under this warranty, certain

18   major emission control components are covered for the first eight years or 80,000 miles,

19   whichever comes first. These major emission control components subject to the longer warranty

20   include the catalytic converters, the electronic engine control unit (ECU), and the onboard

21   emissions diagnostic device or computer. The Design and Defect Warranty covers repair of

22   emission control or emission related parts which fail to function or function improperly due to a

23   defect in materials or workmanship. This warranty provides protection for two years or 24,000

24   miles, whichever comes first, or, for the major emission control components, for eight years or

25   80,000 miles, whichever comes first.

26               894.   Fiat and FCA provided these warranties to Plaintiff and the Montana State Class.

27   These warranties formed the basis of the bargain that was reached when Plaintiff and the Montana

28   State Class purchased or leased their Class Vehicles.

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 1               895.    However, Fiat and FCA knew or should have known that the warranties were false
 2   and/or misleading. Fiat and FCA were aware that the emissions systems in the Class Vehicles
 3   sold and leased to Plaintiff and the Montana State Class were designed to deactivate under real-
 4   world driving conditions, and to emit oxides of nitrogen within legal limits only when undergoing
 5   emissions testing, and therefore, knew that the emission systems contained defects.
 6               896.    Plaintiff and the Montana State Class reasonably relied on Fiat’s and FCA’s
 7   express warranties concerning emissions when purchasing or leasing the Class Vehicles.
 8   However, the Class Vehicles did not perform as warranted. Unbeknownst to Plaintiff and the
 9   Montana State Class, the Class Vehicles were designed to pollute at higher than legal limits
10   during normal driving, and could not achieve advertised performance and efficiency metrics
11   without this cheating design. This design and the devices that effectuate it are defects. Fiat and
12   FCA therefore breached their express warranty by providing a product containing defects that
13   were never disclosed to Plaintiff and the Montana State Class.
14               897.    Any opportunity to cure the express breach is unnecessary and futile.
15               898.    As a direct and proximate result of Fiat’s and FCA’s breach of express warranties,
16   Plaintiff and the Montana State Class suffered significant damages, and seek damages in an
17   amount to be determined at trial.
18                      BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY
                                 (Mont. Code §§ 30-2-314 and 30-2A-212)
19

20               899.    Plaintiffs reallege and incorporate by reference all allegations of the preceding
21   paragraphs as though fully set forth herein.
22               900.    Plaintiff Ronald Holm (for the purpose of this section, “Plaintiff”) brings this
23   action on behalf of himself and the Montana State against Fiat and FCA.
24               901.    Fiat and FCA were at all relevant times “merchants” with respect to motor vehicles
25   under Mont. Code § 30-2-104(1) and “sellers” of motor vehicles under § 30-2-103(1)(d).
26               902.    With respect to leases, Fiat and FCA are and were at all relevant times “lessors” of
27   motor vehicles under Mont. Code § 30-2A-103(1)(p).
28

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 1               903.   The Class Vehicles are and were at all relevant times “goods” within the meaning
 2   of Mont. Code §§ 30-2-105(1) and 30-2A-103(1)(h).5.
 3               904.   A warranty that the Class Vehicles were in merchantable condition and fit for the
 4   ordinary purpose for which vehicles are used is implied by law pursuant to Mont. Code §§ 30-2-
 5   314 and 30-2A-212.
 6               905.   Fiat and FCA sold and/or leased Class Vehicles that were not in merchantable
 7   condition and/or fit for their ordinary purpose in violation of the implied warranty. The Class
 8   Vehicles were not in merchantable condition because their design violated state and federal laws.
 9   The Class Vehicles were not fit for their ordinary purpose as they were built to evade state and
10   federal emission standards.
11               906.   Fiat’s and FCA’s breaches of the implied warranty of merchantability caused
12   damage to Plaintiff and the Montana State Class. The amount of damages due will be proven at
13   trial.
14                      28.    Nebraska
15                                   BREACH OF EXPRESS WARRANTY
                                   (Neb. Rev. St. U.C.C. §§ 2-313 and 2A-210)
16

17               907.   Plaintiffs reallege and incorporate by reference all preceding allegations as though
18   fully set forth herein.
19               908.   Plaintiffs Connie Hood and Richard Lindholm (for the purpose of this section,
20   “Plaintiffs”) bring this action on behalf of themselves and the Nebraska State Class against Fiat
21   and FCA.
22               909.   Fiat and FCA are and were at all relevant times “merchants” with respect to motor
23   vehicles under Neb. Rev. St. U.C.C. § 2-104(1) and “sellers” of motor vehicles under § 2-
24   103(1)(d).
25               910.   With respect to leases, Fiat and FCA are and were all relevant times “lessors” of
26   motor vehicles under Neb. Rev. St. U.C.C. § 2A-103(1)(p).
27               911.   The Class Vehicles are and were at all relevant times “goods” within the meaning
28   of Neb. Rev. St. U.C.C. §§ 2-105(1) and 2A-103(1)(h).

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 1               912.   Federal law requires manufacturers of light-duty vehicles to provide two federal
 2   emission control warranties: a “Performance Warranty” and a “Design and Defect Warranty.”
 3   The Performance Warranty applies to repairs that are required during the first two years or 24,000
 4   miles, whichever occurs first, when a vehicle fails an emissions test. Under this warranty, certain
 5   major emission control components are covered for the first eight years or 80,000 miles,
 6   whichever comes first. These major emission control components subject to the longer warranty
 7   include the catalytic converters, the electronic engine control unit (ECU), and the onboard
 8   emissions diagnostic device or computer. The Design and Defect Warranty covers repair of
 9   emission control or emission related parts which fail to function or function improperly due to a
10   defect in materials or workmanship. This warranty provides protection for two years or 24,000
11   miles, whichever comes first, or, for the major emission control components, for eight years or
12   80,000 miles, whichever comes first.
13               913.   Fiat and FCA provided these warranties to Plaintiffs and the Nebraska State Class.
14   These warranties formed the basis of the bargain that was reached when Plaintiffs and the
15   Nebraska State Class purchased or leased their Class Vehicles.
16               914.   However, Fiat and FCA knew or should have known that the warranties were false
17   and/or misleading. Fiat and FCA were aware that the emissions systems in the Class Vehicles
18   sold and leased to Plaintiffs and the Nebraska State Class were designed to deactivate under real-
19   world driving conditions, and to emit oxides of nitrogen within legal limits only when undergoing
20   emissions testing, and therefore, knew that the emission systems contained defects.
21               915.   Plaintiffs and the Nebraska State Class reasonably relied on Fiat’s and FCA’s
22   express warranties concerning emissions when purchasing or leasing the Class Vehicles.
23   However, the Class Vehicles did not perform as warranted. Unbeknownst to Plaintiffs and the
24   Nebraska State Class, the Class Vehicles were designed to pollute at higher than legal limits
25   during normal driving, and could not achieve advertised performance and efficiency metrics
26   without this cheating design. This design and the devices that effectuate it are defects. Fiat and
27   FCA therefore breached their express warranty by providing a product containing defects that
28   were never disclosed to Plaintiffs and the Nebraska State Class.

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 1               916.    Any opportunity to cure the express breach is unnecessary and futile.
 2               917.    As a direct and proximate result of Fiat’s and FCA’s breach of express warranties,
 3   Plaintiffs and the Nebraska State Class suffered significant damages, and seek damages in an
 4   amount to be determined at trial.
 5                      BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY
                                (Neb. Rev. St. U.C.C. §§ 2-314 and 2A-212)
 6

 7               918.    Plaintiffs reallege and incorporate by reference all allegations of the preceding
 8   paragraphs as though fully set forth herein.
 9               919.    Plaintiffs Connie Hood and Richard Lindholm (for the purpose of this section,
10   “Plaintiffs”) bring this action on behalf of themselves and the Nebraska State Class against Fiat
11   and FCA.
12               920.    Fiat and FCA were at all relevant times “merchants” with respect to motor vehicles
13   under Neb. Rev. St. U.C.C. § 2-104(1) and “sellers” of motor vehicles under § 2-103(1)(d).
14               921.    With respect to leases, Fiat and FCA are and were at all relevant times “lessors” of
15   motor vehicles under Neb. Rev. St. U.C.C. § 2A-103(1)(p).
16               922.    The Class Vehicles are and were at all relevant times “goods” within the meaning
17   of Neb. Rev. St. U.C.C. §§ 2-105(1) and 2A-103(1)(h).
18               923.    A warranty that the Class Vehicles were in merchantable condition and fit for the
19   ordinary purpose for which vehicles are used is implied by law pursuant to Neb. Rev. St.
20   U.C.C.§§ 2-314 and 2A-212.
21               924.    Fiat and FCA sold and/or leased Class Vehicles that were not in merchantable
22   condition and/or fit for their ordinary purpose in violation of the implied warranty. The Class
23   Vehicles were not in merchantable condition because their design violated state and federal laws.
24   The Class Vehicles were not fit for their ordinary purpose as they were built to evade state and
25   federal emission standards.
26               925.    Fiat’s and FCA’s breaches of the implied warranty of merchantability caused
27   damage to Plaintiffs and the Nebraska State Class. The amount of damages due will be proven at
28   trial.

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 1                      29.    Nevada
 2                                   BREACH OF EXPRESS WARRANTY
                                   (Nev. Rev. Stat. §§ 104.2313 and 104A.2210)
 3

 4               926.   Plaintiffs reallege and incorporate by reference all preceding allegations as though

 5   fully set forth herein.

 6               927.   Plaintiff Christopher Mattingly (for the purpose of this section, “Plaintiff”) brings

 7   this action on behalf of himself and the Nevada State Class against Fiat and FCA.

 8               928.   Fiat and FCA are and were at all relevant times “merchants” with respect to motor

 9   vehicles under Nev. Rev. Stat. § 104.2104(1) and “sellers” of motor vehicles under

10   § 104.2103(1)(c).

11               929.   With respect to leases, Fiat and FCA are and were all relevant times “lessors” of

12   motor vehicles under Nev. Rev. Stat. § 104A.2103(1)(p).

13               930.   The Class Vehicles are and were at all relevant times “goods” within the meaning

14   of Nev. Rev. Stat. §§ 104.2105(1) and 104A.2103(1)(h).

15               931.   Federal law requires manufacturers of light-duty vehicles to provide two federal

16   emission control warranties: a “Performance Warranty” and a “Design and Defect Warranty.”

17   The Performance Warranty applies to repairs that are required during the first two years or 24,000

18   miles, whichever occurs first, when a vehicle fails an emissions test. Under this warranty, certain

19   major emission control components are covered for the first eight years or 80,000 miles,

20   whichever comes first. These major emission control components subject to the longer warranty

21   include the catalytic converters, the electronic engine control unit (ECU), and the onboard

22   emissions diagnostic device or computer. The Design and Defect Warranty covers repair of

23   emission control or emission related parts which fail to function or function improperly due to a

24   defect in materials or workmanship. This warranty provides protection for two years or 24,000

25   miles, whichever comes first, or, for the major emission control components, for eight years or

26   80,000 miles, whichever comes first.

27

28

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 1               932.    Fiat and FCA provided these warranties to Plaintiff and the Nevada State Class.
 2   These warranties formed the basis of the bargain that was reached when Plaintiff and the Nevada
 3   State Class purchased or leased their Class Vehicles.
 4               933.    However, Fiat and FCA knew or should have known that the warranties were false
 5   and/or misleading. Fiat and FCA were aware that the emissions systems in the Class Vehicles
 6   sold and leased to Plaintiff and the Nevada State Class were designed to deactivate under real-
 7   world driving conditions, and to emit oxides of nitrogen within legal limits only when undergoing
 8   emissions testing, and therefore, knew that the emission systems contained defects.
 9               934.    Plaintiff and the Nevada State Class reasonably relied on Fiat’s and FCA’s express
10   warranties concerning emissions when purchasing or leasing the Class Vehicles. However, the
11   Class Vehicles did not perform as warranted. Unbeknownst to Plaintiff and the Nevada State
12   Class, the Class Vehicles were designed to pollute at higher than legal limits during normal
13   driving, and could not achieve advertised performance and efficiency metrics without this
14   cheating design. This design and the devices that effectuate it are defects. Fiat and FCA
15   therefore breached their express warranty by providing a product containing defects that were
16   never disclosed to Plaintiff and the Nevada State Class.
17               935.    Any opportunity to cure the express breach is unnecessary and futile.
18               936.    As a direct and proximate result of Fiat’s and FCA’s breach of express warranties,
19   Plaintiff and the Nevada State Class suffered significant damages, and seek damages in an
20   amount to be determined at trial.
21                      BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY
                                (Nev. Rev. Stat. §§ 104.2314 and 104A.2212)
22

23               937.    Plaintiffs reallege and incorporate by reference all allegations of the preceding
24   paragraphs as though fully set forth herein.
25               938.    Plaintiff Christopher Mattingly (for the purpose of this section, “Plaintiff”) brings
26   this action on behalf of himself and the Nevada State Class against Fiat and FCA.
27               939.    Fiat and FCA were at all relevant times “merchants” with respect to motor vehicles
28   under Nev. Rev. Stat. § 104.2104(1) and “sellers” of motor vehicles under § 104.2103(1)(c).

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 1               940.   With respect to leases, Fiat and FCA are and were at all relevant times “lessors” of
 2   motor vehicles under Nev. Rev. Stat. § 104A.2103(1)(p).
 3               941.   The Class Vehicles are and were at all relevant times “goods” within the meaning
 4   of Nev. Rev. Stat. §§ 104.2105(1) and 104A.2103(1)(h).
 5               942.   A warranty that the Class Vehicles were in merchantable condition and fit for the
 6   ordinary purpose for which vehicles are used is implied by law pursuant to Nev. Rev. Stat.
 7   §§ 104.2314 and 104A.2212.
 8               943.   Fiat and FCA sold and/or leased Class Vehicles that were not in merchantable
 9   condition and/or fit for their ordinary purpose in violation of the implied warranty. The Class
10   Vehicles were not in merchantable condition because their design violated state and federal laws.
11   The Class Vehicles were not fit for their ordinary purpose as they were built to evade state and
12   federal emission standards.
13               944.   Fiat’s and FCA’s breaches of the implied warranty of merchantability caused
14   damage to the Plaintiff and the Nevada State Class. The amount of damages due will be proven
15   at trial.
16                      30.    New Hampshire
17                                  BREACH OF EXPRESS WARRANTY
                                  (N.H. Rev. Stat. §§ 382-A:2-313 and 2A-210)
18

19               945.   Plaintiffs reallege and incorporate by reference all preceding allegations as though
20   fully set forth herein.
21               946.   This count is brought on behalf of the New Hampshire State Class against Fiat and
22   FCA.
23               947.   Fiat and FCA are and were at all relevant times “merchants” with respect to motor
24   vehicles under N.H. Rev. Stat. § 382-A:2-104(1) and “sellers” of motor vehicles under § 382-
25   A:2-103(1)(d).
26               948.   With respect to leases, Fiat and FCA are and were all relevant times “lessors” of
27   motor vehicles under N.H. Rev. Stat. § 382-A:2A-103(1)(p).
28

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 1               949.   The Class Vehicles are and were at all relevant times “goods” within the meaning
 2   of N.H. Rev. Stat. §§ 382-A:2-105(1) and 382-A:2A-103(1)(h).
 3               950.   Federal law requires manufacturers of light-duty vehicles to provide two federal
 4   emission control warranties: a “Performance Warranty” and a “Design and Defect Warranty.”
 5   The Performance Warranty applies to repairs that are required during the first two years or 24,000
 6   miles, whichever occurs first, when a vehicle fails an emissions test. Under this warranty, certain
 7   major emission control components are covered for the first eight years or 80,000 miles,
 8   whichever comes first. These major emission control components subject to the longer warranty
 9   include the catalytic converters, the electronic engine control unit (ECU), and the onboard
10   emissions diagnostic device or computer. The Design and Defect Warranty covers repair of
11   emission control or emission related parts which fail to function or function improperly due to a
12   defect in materials or workmanship. This warranty provides protection for two years or 24,000
13   miles, whichever comes first, or, for the major emission control components, for eight years or
14   80,000 miles, whichever comes first.
15               951.   Fiat and FCA provided these warranties to the New Hampshire State Class. These
16   warranties formed the basis of the bargain that was reached when the New Hampshire State Class
17   purchased or leased their Class Vehicles.
18               952.   However, Fiat and FCA knew or should have known that the warranties were false
19   and/or misleading. Fiat and FCA were aware that the emissions systems in the Class Vehicles
20   sold and leased to the New Hampshire State Class were designed to deactivate under real-world
21   driving conditions, and to emit oxides of nitrogen within legal limits only when undergoing
22   emissions testing, and therefore, knew that the emission systems contained defects.
23               953.   The New Hampshire State Class reasonably relied on Fiat’s and FCA’s express
24   warranties concerning emissions when purchasing or leasing the Class Vehicles. However, the
25   Class Vehicles did not perform as warranted. Unbeknownst to the New Hampshire State Class,
26   the Class Vehicles were designed to pollute at higher than legal limits during normal driving, and
27   could not achieve advertised performance and efficiency metrics without this cheating design.
28   This design and the devices that effectuate it are defects. Fiat and FCA therefore breached their

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 1   express warranty by providing a product containing defects that were never disclosed to the New
 2   Hampshire State Class.
 3               954.    Any opportunity to cure the express breach is unnecessary and futile.
 4               955.    As a direct and proximate result of Fiat’s and FCA’s breach of express warranties,
 5   the New Hampshire State Class suffered significant damages, and seek damages in an amount to
 6   be determined at trial.
 7                      BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY
                                (N.H. Rev. Stat. §§ 382-A:2-314 and 2A-212)
 8

 9               956.    Plaintiffs reallege and incorporate by reference all allegations of the preceding
10   paragraphs as though fully set forth herein.
11               957.    This count is brought on behalf of the New Hampshire State Class against Fiat and
12   FCA.
13               958.    Fiat and FCA were at all relevant times “merchants” with respect to motor vehicles
14   under N.H. Rev. Stat. § 382-A:2-104(1) and “sellers” of motor vehicles under § 382-A:2-
15   103(1)(d).
16               959.    With respect to leases, Fiat and FCA are and were at all relevant times “lessors” of
17   motor vehicles under N.H. Rev. Stat. § 382-A:2A-103(1)(p).
18               960.    The Class Vehicles are and were at all relevant times “goods” within the meaning
19   of N.H. Rev. Stat. §§ 382-A:2-105(1) and 382-A:2A-103(1)(h).
20               961.    A warranty that the Class Vehicles were in merchantable condition and fit for the
21   ordinary purpose for which vehicles are used is implied by law pursuant to N.H. Rev. Stat.
22   §§ 382-A:2-314 and 382-A:2A-212.
23               962.    Fiat and FCA sold and/or leased Class Vehicles that were not in merchantable
24   condition and/or fit for their ordinary purpose in violation of the implied warranty. The Class
25   Vehicles were not in merchantable condition because their design violated state and federal laws.
26   The Class Vehicles were not fit for their ordinary purpose as they were built to evade state and
27   federal emission standards.
28

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 1               963.   Fiat’s and FCA’s breaches of the implied warranty of merchantability caused
 2   damage to the New Hampshire State Class. The amount of damages due will be proven at trial.
 3                      31.    New Jersey
 4                                   BREACH OF EXPRESS WARRANTY
                                    (N.J. Stat. Ann. § 12A:2-313 and 2A-210)
 5

 6               964.   Plaintiffs reallege and incorporate by reference all preceding allegations as though
 7   fully set forth herein.
 8               965.   Plaintiffs Michael Norton and Wayne Tonnesen (for the purpose of this section,
 9   “Plaintiffs”) bring this action on behalf of themselves and the New Jersey State Class against Fiat
10   and FCA.
11               966.   Fiat and FCA are and were at all relevant times “merchants” with respect to motor
12   vehicles under N.J. Stat. Ann. § 12A:2-104(1) and “sellers” of motor vehicles under 2-103(1)(d).
13               967.   With respect to leases, Fiat and FCA are and were all relevant times “lessors” of
14   motor vehicles under N.J. Stat. Ann. § 12A:2A-103(1)(p).
15               968.   The Class Vehicles are and were at all relevant times “goods” within the meaning
16   of N.J. Stat. Ann. §§ 12A:2-105(1) and 2A-103(1)(h),
17               969.   Federal law requires manufacturers of light-duty vehicles to provide two federal
18   emission control warranties: a “Performance Warranty” and a “Design and Defect Warranty.”
19   The Performance Warranty applies to repairs that are required during the first two years or 24,000
20   miles, whichever occurs first, when a vehicle fails an emissions test. Under this warranty, certain
21   major emission control components are covered for the first eight years or 80,000 miles,
22   whichever comes first. These major emission control components subject to the longer warranty
23   include the catalytic converters, the electronic engine control unit (ECU), and the onboard
24   emissions diagnostic device or computer. The Design and Defect Warranty covers repair of
25   emission control or emission related parts which fail to function or function improperly due to a
26   defect in materials or workmanship. This warranty provides protection for two years or 24,000
27   miles, whichever comes first, or, for the major emission control components, for eight years or
28   80,000 miles, whichever comes first.

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 1               970.    Fiat and FCA provided these warranties to Plaintiffs and the New Jersey State
 2   Class. These warranties formed the basis of the bargain that was reached when Plaintiffs and the
 3   New Jersey State Class purchased or leased their Class Vehicles.
 4               971.    However, Fiat and FCA knew or should have known that the warranties were false
 5   and/or misleading. Fiat and FCA were aware that the emissions systems in the Class Vehicles
 6   sold and leased to Plaintiffs and the New Jersey State Class were designed to deactivate under
 7   real-world driving conditions, and to emit oxides of nitrogen within legal limits only when
 8   undergoing emissions testing, and therefore, knew that the emission systems contained defects.
 9               972.    Plaintiffs and the New Jersey State Class reasonably relied on Fiat’s and FCA’s
10   express warranties concerning emissions when purchasing or leasing the Class Vehicles.
11   However, the Class Vehicles did not perform as warranted. Unbeknownst to Plaintiffs and the
12   New Jersey State Class, the Class Vehicles were designed to pollute at higher than legal limits
13   during normal driving, and could not achieve advertised performance and efficiency metrics
14   without this cheating design. This design and the devices that effectuate it are defects. Fiat and
15   FCA therefore breached their express warranty by providing a product containing defects that
16   were never disclosed to Plaintiffs and the New Jersey State Class.
17               973.    Any opportunity to cure the express breach is unnecessary and futile.
18               974.    As a direct and proximate result of Fiat’s and FCA’s breach of express warranties,
19   Plaintiffs and the New Jersey State Class suffered significant damages, and seek damages in an
20   amount to be determined at trial.
21                      BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY
                                 (N.J. Stat. Ann. § 12A:2-314 and 2A-212)
22

23               975.    Plaintiffs reallege and incorporate by reference all allegations of the preceding
24   paragraphs as though fully set forth herein.
25               976.    Plaintiffs Michael Norton and Wayne Tonnesen (for the purpose of this section,
26   “Plaintiffs”) bring this action on behalf of themselves and the New Jersey State Class against Fiat
27   and FCA.
28

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 1               977.   Fiat and FCA were at all relevant times “merchants” with respect to motor vehicles
 2   under N.J. Stat. Ann. § 12A:2-104(1) and “sellers” of motor vehicles under 2-103(1)(d).
 3               978.   With respect to leases, Fiat and FCA are and were at all relevant times “lessors” of
 4   motor vehicles under N.J. Stat. Ann. § 12A:2A-103(1)(p).
 5               979.   The Class Vehicles are and were at all relevant times “goods” within the meaning
 6   of N.J. Stat. Ann. §§ 12A:2-105(1) and 2A-103(1)(h).
 7               980.   A warranty that the Class Vehicles were in merchantable condition and fit for the
 8   ordinary purpose for which vehicles are used is implied by law pursuant to N.J. Stat. Ann.
 9   §§ 12A:2-314 and 2A-212.
10               981.   Fiat and FCA sold and/or leased Class Vehicles that were not in merchantable
11   condition and/or fit for their ordinary purpose in violation of the implied warranty. The Class
12   Vehicles were not in merchantable condition because their design violated state and federal laws.
13   The Class Vehicles were not fit for their ordinary purpose as they were built to evade state and
14   federal emission standards.
15               982.   Fiat’s and FCA’s breaches of the implied warranty of merchantability caused
16   damage to the Plaintiffs and the New Jersey State Class. The amount of damages due will be
17   proven at trial.
18                      32.    New Mexico
19                                   BREACH OF EXPRESS WARRANTY
                                     (N.M. Stat. §§ 55-2-313 and 55-2A-210)
20

21               983.   Plaintiffs reallege and incorporate by reference all preceding allegations as though
22   fully set forth herein.
23               984.   Plaintiffs Jake Gunderson and WEB Farms, Inc. (for the purpose of this section,
24   “Plaintiffs”) bring this action on behalf of themselves and the New Mexico State Class against
25   Fiat and FCA.
26               985.   Fiat and FCA are and were at all relevant times “merchants” with respect to motor
27   vehicles under N.M. Stat. § 55-2-104(1) and “sellers” of motor vehicles under § 55-2-103(1)(d).
28

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 1               986.   With respect to leases, Fiat and FCA are and were all relevant times “lessors” of
 2   motor vehicles under N.M. Stat. § 55-2A-103(1)(p).
 3               987.   The Class Vehicles are and were at all relevant times “goods” within the meaning
 4   of N.M. Stat. §§ 55-2-105(1) and 55-2A-103(1)(h).
 5               988.   Federal law requires manufacturers of light-duty vehicles to provide two federal
 6   emission control warranties: a “Performance Warranty” and a “Design and Defect Warranty.”
 7   The Performance Warranty applies to repairs that are required during the first two years or 24,000
 8   miles, whichever occurs first, when a vehicle fails an emissions test. Under this warranty, certain
 9   major emission control components are covered for the first eight years or 80,000 miles,
10   whichever comes first. These major emission control components subject to the longer warranty
11   include the catalytic converters, the electronic engine control unit (ECU), and the onboard
12   emissions diagnostic device or computer. The Design and Defect Warranty covers repair of
13   emission control or emission related parts which fail to function or function improperly due to a
14   defect in materials or workmanship. This warranty provides protection for two years or 24,000
15   miles, whichever comes first, or, for the major emission control components, for eight years or
16   80,000 miles, whichever comes first.
17               989.   Fiat and FCA provided these warranties to Plaintiffs and the New Mexico State
18   Class. These warranties formed the basis of the bargain that was reached when Plaintiffs and the
19   New Mexico State Class purchased or leased their Class Vehicles.
20               990.   However, Fiat and FCA knew or should have known that the warranties were false
21   and/or misleading. Fiat and FCA were aware that the emissions systems in the Class Vehicles
22   sold and leased to Plaintiffs and the New Mexico State Class were designed to deactivate under
23   real-world driving conditions, and to emit oxides of nitrogen within legal limits only when
24   undergoing emissions testing, and therefore, knew that the emission systems contained defects.
25               991.   Plaintiffs and the New Mexico State Class reasonably relied on Fiat’s and FCA’s
26   express warranties concerning emissions when purchasing or leasing the Class Vehicles.
27   However, the Class Vehicles did not perform as warranted. Unbeknownst to Plaintiffs and the
28   New Mexico State Class, the Class Vehicles were designed to pollute at higher than legal limits

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 1   during normal driving, and could not achieve advertised performance and efficiency metrics
 2   without this cheating design. This design and the devices that effectuate it are defects. Fiat and
 3   FCA therefore breached their express warranty by providing a product containing defects that
 4   were never disclosed to Plaintiffs and the New Mexico State Class.
 5               992.    Any opportunity to cure the express breach is unnecessary and futile.
 6               993.    As a direct and proximate result of Fiat’s and FCA’s breach of express warranties,
 7   the Plaintiffs and New Mexico State Class suffered significant damages, and seek damages in an
 8   amount to be determined at trial.
 9                      BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY
                                  (N.M. Stat. §§ 55-2-314 and 55-2A-212)
10

11               994.    Plaintiffs reallege and incorporate by reference all allegations of the preceding
12   paragraphs as though fully set forth herein.
13               995.    Plaintiffs Jake Gunderson and WEB Farms, Inc. (for the purpose of this section,
14   “Plaintiffs”) bring this action on behalf of themselves and the New Mexico State Class against
15   Fiat and FCA.
16               996.    Fiat and FCA were at all relevant times “merchants” with respect to motor vehicles
17   under N.M. Stat. § 55-2-104(1) and “sellers” of motor vehicles under § 55-2-103(1)(d).
18               997.    With respect to leases, Fiat and FCA are and were at all relevant times “lessors” of
19   motor vehicles under N.M. Stat. § 55-2A-103(1)(p).
20               998.    The Class Vehicles are and were at all relevant times “goods” within the meaning
21   of N.M. Stat. §§ 55-2-105(1) and 55-2A-103(1)(h).
22               999.    A warranty that the Class Vehicles were in merchantable condition and fit for the
23   ordinary purpose for which vehicles are used is implied by law pursuant to N.M. Stat. §§ 55-2-
24   314 and 55-2A-212.
25               1000. Fiat and FCA sold and/or leased Class Vehicles that were not in merchantable
26   condition and/or fit for their ordinary purpose in violation of the implied warranty. The Class
27   Vehicles were not in merchantable condition because their design violated state and federal laws.
28

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 1   The Class Vehicles were not fit for their ordinary purpose as they were built to evade state and
 2   federal emission standards.
 3               1001. Fiat’s and FCA’s breaches of the implied warranty of merchantability caused
 4   damage to Plaintiffs and the New Mexico State Class. The amount of damages due will be
 5   proven at trial.
 6                      33.     New York
 7                                   BREACH OF EXPRESS WARRANTY
                                     (N.Y. U.C.C. Law §§ 2-313 and 2A-210)
 8

 9               1002. Plaintiffs reallege and incorporate by reference all preceding allegations as though
10   fully set forth herein.
11               1003. Plaintiffs Giuseppe Carillo, Thomas McGann, Jr., and George Milner (for the
12   purpose of this section, “Plaintiffs”) bring this action on behalf of themselves and the New York
13   State Class against Fiat and FCA.
14               1004. Fiat and FCA are and were at all relevant times “merchants” with respect to motor
15   vehicles under N.Y. UCC Law § 2-104(1) and “sellers” of motor vehicles under § 2-103(1)(d).
16               1005. With respect to leases, Fiat and FCA are and were all relevant times “lessors” of
17   motor vehicles under N.Y. UCC Law § 2A-103(1)(p).
18               1006. The Class Vehicles are and were at all relevant times “goods” within the meaning
19   of N.Y. UCC Law §§ 2-105(1) and 2A-103(1)(h).
20               1007. Federal law requires manufacturers of light-duty vehicles to provide two federal
21   emission control warranties: a “Performance Warranty” and a “Design and Defect Warranty.”
22   The Performance Warranty applies to repairs that are required during the first two years or 24,000
23   miles, whichever occurs first, when a vehicle fails an emissions test. Under this warranty, certain
24   major emission control components are covered for the first eight years or 80,000 miles,
25   whichever comes first. These major emission control components subject to the longer warranty
26   include the catalytic converters, the electronic engine control unit (ECU), and the onboard
27   emissions diagnostic device or computer. The Design and Defect Warranty covers repair of
28   emission control or emission related parts which fail to function or function improperly due to a

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 1   defect in materials or workmanship. This warranty provides protection for two years or 24,000
 2   miles, whichever comes first, or, for the major emission control components, for eight years or
 3   80,000 miles, whichever comes first.
 4               1008. Fiat and FCA provided these warranties to Plaintiffs and the New York State
 5   Class. These warranties formed the basis of the bargain that was reached when Plaintiffs and the
 6   New York State Class purchased or leased their Class Vehicles.
 7               1009. However, Fiat and FCA knew or should have known that the warranties were false
 8   and/or misleading. Fiat and FCA were aware that the emissions systems in the Class Vehicles
 9   sold and leased to Plaintiffs and the New York State Class were designed to deactivate under real-
10   world driving conditions, and to emit oxides of nitrogen within legal limits only when undergoing
11   emissions testing, and therefore, knew that the emission systems contained defects.
12               1010. Plaintiffs and the New York State Class reasonably relied on Fiat’s and FCA’s
13   express warranties concerning emissions when purchasing or leasing the Class Vehicles.
14   However, the Class Vehicles did not perform as warranted. Unbeknownst to Plaintiffs and the
15   New York State Class, the Class Vehicles were designed to pollute at higher than legal limits
16   during normal driving, and could not achieve advertised performance and efficiency metrics
17   without this cheating design. This design and the devices that effectuate it are defects. Fiat and
18   FCA therefore breached their express warranty by providing a product containing defects that
19   were never disclosed to Plaintiffs and the New York State Class.
20               1011. Any opportunity to cure the express breach is unnecessary and futile.
21               1012. As a direct and proximate result of Fiat’s and FCA’s breach of express warranties,
22   Plaintiffs and the New York State Class suffered significant damages, and seek damages in an
23   amount to be determined at trial.
24                    BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY
                               (N.Y. U.C.C. Law §§ 2-314 and 2A-212)
25

26               1013. Plaintiffs reallege and incorporate by reference all allegations of the preceding
27   paragraphs as though fully set forth herein.
28

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 1               1014. Plaintiffs Giuseppe Carillo, Thomas McGann, Jr., and George Milner (for the
 2   purpose of this section, “Plaintiffs”) bring this action on behalf of themselves and the New York
 3   State Class against Fiat and FCA.
 4               1015. Fiat and FCA were at all relevant times “merchants” with respect to motor vehicles
 5   under N.Y. UCC Law § 2-104(1) and “sellers” of motor vehicles under § 2-103(1)(d).
 6               1016. With respect to leases, Fiat and FCA are and were at all relevant times “lessors” of
 7   motor vehicles under N.Y. UCC Law § 2A-103(1)(p).
 8               1017. The Class Vehicles are and were at all relevant times “goods” within the meaning
 9   of N.Y. UCC Law §§ 2-105(1) and 2A-103(1)(h).
10               1018. A warranty that the Class Vehicles were in merchantable condition and fit for the
11   ordinary purpose for which vehicles are used is implied by law pursuant to N.Y. UCC Law §§ 2-
12   314 and 2A-212.
13               1019. Fiat and FCA sold and/or leased Class Vehicles that were not in merchantable
14   condition and/or fit for their ordinary purpose in violation of the implied warranty. The Class
15   Vehicles were not in merchantable condition because their design violated state and federal laws.
16   The Class Vehicles were not fit for their ordinary purpose as they were built to evade state and
17   federal emission standards.
18               1020. Fiat’s and FCA’s breaches of the implied warranty of merchantability caused
19   damage to the Plaintiffs and the New York State Class. The amount of damages due will be
20   proven at trial.
21                      34.     North Carolina
22                                   BREACH OF EXPRESS WARRANTY
                                   (N.C. Gen. Stat. §§ 25-2-313 and 252A-210)
23

24               1021. Plaintiffs reallege and incorporate by reference all preceding allegations as though
25   fully set forth herein.
26               1022. Plaintiffs Marius Bihorean, Miguel Fragoso, Samuel Price, and Stonewall Webster
27   (for the purpose of this section, “Plaintiffs”) bring this action on behalf of themselves and the
28   North Carolina State Class against Fiat and FCA.

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 1               1023. Fiat and FCA are and were at all relevant times “merchants” with respect to motor
 2   vehicles under N.C. Gen. Stat. § 25-2-104(1) and “sellers” of motor vehicles under § 25-2-
 3   103(1)(d).
 4               1024. With respect to leases, Fiat and FCA are and were all relevant times “lessors” of
 5   motor vehicles under N.C. Gen. Stat. § 25-2A-103(1)(p).
 6               1025. The Class Vehicles are and were at all relevant times “goods” within the meaning
 7   of N.C. Gen. Stat. § 25-2-105(1) and § 25-2A-103(1)(h).5.
 8               1026. Federal law requires manufacturers of light-duty vehicles to provide two federal
 9   emission control warranties: a “Performance Warranty” and a “Design and Defect Warranty.”
10   The Performance Warranty applies to repairs that are required during the first two years or 24,000
11   miles, whichever occurs first, when a vehicle fails an emissions test. Under this warranty, certain
12   major emission control components are covered for the first eight years or 80,000 miles,
13   whichever comes first. These major emission control components subject to the longer warranty
14   include the catalytic converters, the electronic engine control unit (ECU), and the onboard
15   emissions diagnostic device or computer. The Design and Defect Warranty covers repair of
16   emission control or emission related parts which fail to function or function improperly due to a
17   defect in materials or workmanship. This warranty provides protection for two years or 24,000
18   miles, whichever comes first, or, for the major emission control components, for eight years or
19   80,000 miles, whichever comes first.
20               1027. Fiat and FCA provided these warranties to Plaintiffs and the North Carolina State
21   Class. These warranties formed the basis of the bargain that was reached when Plaintiffs and the
22   North Carolina State Class purchased or leased their Class Vehicles.
23               1028. However, Fiat and FCA knew or should have known that the warranties were false
24   and/or misleading. Fiat and FCA were aware that the emissions systems in the Class Vehicles
25   sold and leased to Plaintiffs and the North Carolina State Class were designed to deactivate under
26   real-world driving conditions, and to emit oxides of nitrogen within legal limits only when
27   undergoing emissions testing, and therefore, knew that the emission systems contained defects.
28

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 1               1029. Plaintiffs and the North Carolina State Class reasonably relied on Fiat’s and FCA’s
 2   express warranties concerning emissions when purchasing or leasing the Class Vehicles.
 3   However, the Class Vehicles did not perform as warranted. Unbeknownst to Plaintiffs and the
 4   North Carolina State Class, the Class Vehicles were designed to pollute at higher than legal limits
 5   during normal driving, and could not achieve advertised performance and efficiency metrics
 6   without this cheating design. This design and the devices that effectuate it are defects. Fiat and
 7   FCA therefore breached their express warranty by providing a product containing defects that
 8   were never disclosed to Plaintiffs and the North Carolina State Class.
 9               1030. Any opportunity to cure the express breach is unnecessary and futile.
10               1031. As a direct and proximate result of Fiat’s and FCA’s breach of express warranties,
11   Plaintiffs and the North Carolina State Class suffered significant damages, and seek damages in
12   an amount to be determined at trial.
13                    BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY
                              (N.C. Gen. Stat. §§ 25-2-314 AND 252A-212)
14

15               1032. Plaintiffs reallege and incorporate by reference all allegations of the preceding
16   paragraphs as though fully set forth herein.
17               1033. Plaintiffs Marius Bihorean, Miguel Fragoso, Samuel Price, and Stonewall Webster
18   III (for the purpose of this section, “Plaintiffs”) bring this action on behalf of themselves and the
19   North Carolina State Class against Fiat and FCA.
20               1034. Fiat and FCA were at all relevant times “merchants” with respect to motor vehicles
21   under N.C. Gen. Stat. § 25-2-104(1) and “sellers” of motor vehicles under § 25-2-103(1)(d).
22               1035. With respect to leases, Fiat and FCA are and were at all relevant times “lessors” of
23   motor vehicles under N.C. Gen. Stat. § 25-2A-103(1)(p).
24               1036. The Class Vehicles are and were at all relevant times “goods” within the meaning
25   of N.C. Gen. Stat. § 25-2-105(1) and § 25-2A-103(1)(h).5.
26               1037. A warranty that the Class Vehicles were in merchantable condition and fit for the
27   ordinary purpose for which vehicles are used is implied by law pursuant to N.C. Gen. Stat. § 25-
28   2-314 and § 25-2A-212.

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 1               1038. Fiat and FCA sold and/or leased Class Vehicles that were not in merchantable
 2   condition and/or fit for their ordinary purpose in violation of the implied warranty. The Class
 3   Vehicles were not in merchantable condition because their design violated state and federal laws.
 4   The Class Vehicles were not fit for their ordinary purpose as they were built to evade state and
 5   federal emission standards.
 6               1039. Fiat’s and FCA’s breaches of the implied warranty of merchantability caused
 7   damage to the Plaintiffs and the North Carolina State Class. The amount of damages due will be
 8   proven at trial.
 9                      35.     North Dakota
10                                   BREACH OF EXPRESS WARRANTY
                                  (N.D. Cent. Code §§ 41-02-30 and 41-02.1-19)
11

12               1040. Plaintiffs reallege and incorporate by reference all preceding allegations as though
13   fully set forth herein.
14               1041. Plaintiff Andrew Loescher (for the purpose of this section, “Plaintiff”) brings this
15   action on behalf of himself and the North Dakota State Class against Fiat and FCA.
16               1042. Fiat and FCA are and were at all relevant times “merchants” with respect to motor
17   vehicles under N.D. Cent. Code § 41-02.04(3) and “sellers” of motor vehicles under § 41-02-
18   03(1)(d).
19               1043. With respect to leases, Fiat and FCA are and were all relevant times “lessors” of
20   motor vehicles under N.D. Cent. Code § 41-02.1-03(1)(p).
21               1044. The Class Vehicles are and were at all relevant times “goods” within the meaning
22   of N.D. Cent. Code §§ 41-02-05(2) and 41-02.1-03(1)(h).5.
23               1045. Federal law requires manufacturers of light-duty vehicles to provide two federal
24   emission control warranties: a “Performance Warranty” and a “Design and Defect Warranty.”
25   The Performance Warranty applies to repairs that are required during the first two years or 24,000
26   miles, whichever occurs first, when a vehicle fails an emissions test. Under this warranty, certain
27   major emission control components are covered for the first eight years or 80,000 miles,
28   whichever comes first. These major emission control components subject to the longer warranty

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 1   include the catalytic converters, the electronic engine control unit (ECU), and the onboard
 2   emissions diagnostic device or computer. The Design and Defect Warranty covers repair of
 3   emission control or emission related parts which fail to function or function improperly due to a
 4   defect in materials or workmanship. This warranty provides protection for two years or 24,000
 5   miles, whichever comes first, or, for the major emission control components, for eight years or
 6   80,000 miles, whichever comes first.
 7               1046. Fiat and FCA provided these warranties to Plaintiff and the North Dakota State
 8   Class. These warranties formed the basis of the bargain that was reached when Plaintiff and the
 9   North Dakota State Class purchased or leased their Class Vehicles.
10               1047. However, Fiat and FCA knew or should have known that the warranties were false
11   and/or misleading. Fiat and FCA were aware that the emissions systems in the Class Vehicles
12   sold and leased to Plaintiff and the North Dakota State Class were designed to deactivate under
13   real-world driving conditions, and to emit oxides of nitrogen within legal limits only when
14   undergoing emissions testing, and therefore, knew that the emission systems contained defects.
15               1048. Plaintiff and the North Dakota State Class reasonably relied on Fiat’s and FCA’s
16   express warranties concerning emissions when purchasing or leasing the Class Vehicles.
17   However, the Class Vehicles did not perform as warranted. Unbeknownst to Plaintiff and the
18   North Dakota State Class, the Class Vehicles were designed to pollute at higher than legal limits
19   during normal driving, and could not achieve advertised performance and efficiency metrics
20   without this cheating design. This design and the devices that effectuate it are defects. Fiat and
21   FCA therefore breached their express warranty by providing a product containing defects that
22   were never disclosed to Plaintiff and the North Dakota State Class.
23               1049. Any opportunity to cure the express breach is unnecessary and futile.
24               1050. As a direct and proximate result of Fiat’s and FCA’s breach of express warranties,
25   Plaintiff and the North Dakota State Class suffered significant damages, and seek damages in an
26   amount to be determined at trial.
27

28

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 1                    BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY
                             (N.D. Cent. Code §§ 41-02-31 and 41-02.1-21)
 2

 3               1051. Plaintiffs reallege and incorporate by reference all allegations of the preceding

 4   paragraphs as though fully set forth herein.

 5               1052. Plaintiff Andrew Loescher (for the purpose of this section, “Plaintiff”) brings this

 6   action on behalf of himself and the North Dakota State Class against Fiat and FCA.

 7               1053. Fiat and FCA were at all relevant times “merchants” with respect to motor vehicles

 8   under N.D. Cent. Code § 41-02.04(3) and “sellers” of motor vehicles under § 41-02-03(1)(d).

 9               1054. With respect to leases, Fiat and FCA are and were at all relevant times “lessors” of

10   motor vehicles under N.D. Cent. Code § 41-02.1-03(1)(p).

11               1055. The Class Vehicles are and were at all relevant times “goods” within the meaning

12   of N.D. Cent. Code §§ 41-02-05(2) and 41-02.1-03(1)(h).5.

13               1056. A warranty that the Class Vehicles were in merchantable condition and fit for the

14   ordinary purpose for which vehicles are used is implied by law pursuant to N.D. Cent. Code

15   §§ 41-02-31 and 41-02.1-21.

16               1057. Fiat and FCA sold and/or leased Class Vehicles that were not in merchantable

17   condition and/or fit for their ordinary purpose in violation of the implied warranty. The Class

18   Vehicles were not in merchantable condition because their design violated state and federal laws.

19   The Class Vehicles were not fit for their ordinary purpose as they were built to evade state and

20   federal emission standards.

21               1058. Fiat’s and FCA’s breaches of the implied warranty of merchantability caused

22   damage to Plaintiff and the North Dakota State Class. The amount of damages due will be

23   proven at trial.

24                      36.     Ohio
25                                  BREACH OF EXPRESS WARRANTY
                               (Ohio Rev. Code § 1302.26, et seq.) (U.C.C. §2-313))
26

27               1059. Plaintiffs reallege and incorporate by reference all preceding allegations as though

28   fully set forth herein.

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 1               1060. Plaintiff Jon Roberts (for the purpose of this section, “Plaintiff”) brings this action
 2   on behalf of himself and the Ohio State Class against Fiat and FCA.
 3               1061. Fiat and FCA are and were at all relevant times “merchants” with respect to motor
 4   vehicles under Ohio Rev. Code §§ 1302.01(5) and 1310.01(A)(20), and “sellers” of motor
 5   vehicles under § 1302.01(4).
 6               1062. With respect to leases, Fiat and FCA are and were all relevant times “lessors” of
 7   motor vehicles under Ohio Rev. Code § 1310.01(A)(20).
 8               1063. The Class Vehicles are and were at all relevant times “goods” within the meaning
 9   of Ohio Rev. Code §§ 1302.01(8) and 1310.01(A)(8).
10               1064. Federal law requires manufacturers of light-duty vehicles to provide two federal
11   emission control warranties: a “Performance Warranty” and a “Design and Defect Warranty.”
12   The Performance Warranty applies to repairs that are required during the first two years or 24,000
13   miles, whichever occurs first, when a vehicle fails an emissions test. Under this warranty, certain
14   major emission control components are covered for the first eight years or 80,000 miles,
15   whichever comes first. These major emission control components subject to the longer warranty
16   include the catalytic converters, the electronic engine control unit (ECU), and the onboard
17   emissions diagnostic device or computer. The Design and Defect Warranty covers repair of
18   emission control or emission related parts which fail to function or function improperly due to a
19   defect in materials or workmanship. This warranty provides protection for two years or 24,000
20   miles, whichever comes first, or, for the major emission control components, for eight years or
21   80,000 miles, whichever comes first.
22               1065. Fiat and FCA provided these warranties to Plaintiff and the Ohio State Class.
23   These warranties formed the basis of the bargain that was reached when Plaintiff and the Ohio
24   State Class purchased or leased their Class Vehicles.
25               1066. However, Fiat and FCA knew or should have known that the warranties were false
26   and/or misleading. Fiat and FCA were aware that the emissions systems in the Class Vehicles
27   sold and leased to Plaintiff and the Ohio State Class were designed to deactivate under real-world
28

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 1   driving conditions, and to emit oxides of nitrogen within legal limits only when undergoing
 2   emissions testing, and therefore, knew that the emission systems contained defects.
 3               1067. Plaintiff and the Ohio State Class reasonably relied on Fiat’s and FCA’s express
 4   warranties concerning emissions when purchasing or leasing the Class Vehicles. However, the
 5   Class Vehicles did not perform as warranted. Unbeknownst to Plaintiff and the Ohio State Class,
 6   the Class Vehicles were designed to pollute at higher than legal limits during normal driving, and
 7   could not achieve advertised performance and efficiency metrics without this cheating design.
 8   This design and the devices that effectuate it are defects. Fiat and FCA therefore breached their
 9   express warranty by providing a product containing defects that were never disclosed to Plaintiff
10   and the Ohio State Class.
11               1068. Any opportunity to cure the express breach is unnecessary and futile.
12               1069. As a direct and proximate result of Fiat’s and FCA’s breach of express warranties,
13   Plaintiff and the Ohio State Class suffered significant damages, and seek damages in an amount
14   to be determined at trial.
15                    BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY
                             (Ohio Rev. Code Ann. §§ 1302.27 and 1310.19)
16

17               1070. Plaintiffs reallege and incorporate by reference all allegations of the preceding
18   paragraphs as though fully set forth herein.
19               1071. Plaintiff Jon Roberts (for the purpose of this section, “Plaintiff”) brings this action
20   on behalf of himself and the Ohio State Class against Fiat and FCA.
21               1072. Fiat and FCA were at all relevant times “merchants” with respect to motor vehicles
22   under Ohio Rev. Code §§ 1302.01(5) and 1310.01(A)(20), and “sellers” of motor vehicles under
23   § 1302.01(4).
24               1073. With respect to leases, Fiat and FCA are and were at all relevant times “lessors” of
25   motor vehicles under Ohio Rev. Code § 1310.01(A)(20).
26               1074. The Class Vehicles are and were at all relevant times “goods” within the meaning
27   of Ohio Rev. Code §§ 1302.01(8) and 1310.01(A)(8).
28

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 1               1075. A warranty that the Class Vehicles were in merchantable condition and fit for the
 2   ordinary purpose for which vehicles are used is implied by law pursuant to Ohio Rev. Code
 3   §§ 1302.27 and 1310.19.
 4               1076. Fiat and FCA sold and/or leased Class Vehicles that were not in merchantable
 5   condition and/or fit for their ordinary purpose in violation of the implied warranty. The Class
 6   Vehicles were not in merchantable condition because their design violated state and federal laws.
 7   The Class Vehicles were not fit for their ordinary purpose as they were built to evade state and
 8   federal emission standards.
 9               1077. Fiat’s and FCA’s breaches of the implied warranty of merchantability caused
10   damage to Plaintiff and the Ohio State Class. The amount of damages due will be proven at trial.
11                      37.     Oklahoma
12                                   BREACH OF EXPRESS WARRANTY
                                    (Okla. Stat. Tit. 12A §§ 2-313 and 2A-210)
13

14               1078. Plaintiffs reallege and incorporate by reference all preceding allegations as though
15   fully set forth herein.
16               1079. Plaintiff Lee Holland (for the purpose of this section, “Plaintiff”) brings this action
17   on behalf of himself and the Oklahoma State Class against Fiat and FCA.
18               1080. Fiat and FCA are and were at all relevant times “merchants” with respect to motor
19   vehicles under Okla. Stat. Tit. 12A §§ 2-104(1) and 2-1103(3), and “sellers” of motor vehicles
20   under § 2A-103(1)(t).
21               1081. With respect to leases, Fiat and FCA are and were all relevant times “lessors” of
22   motor vehicles under Okla. Stat. Tit. 12A § 2A-103(1)(p).
23               1082. The Class Vehicles are and were at all relevant times “goods” within the meaning
24   of Okla. Stat. Tit. 12A §§ 2-105(1) and 2A-103(1)(h).
25               1083. Federal law requires manufacturers of light-duty vehicles to provide two federal
26   emission control warranties: a “Performance Warranty” and a “Design and Defect Warranty.”
27   The Performance Warranty applies to repairs that are required during the first two years or 24,000
28   miles, whichever occurs first, when a vehicle fails an emissions test. Under this warranty, certain

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 1   major emission control components are covered for the first eight years or 80,000 miles,
 2   whichever comes first. These major emission control components subject to the longer warranty
 3   include the catalytic converters, the electronic engine control unit (ECU), and the onboard
 4   emissions diagnostic device or computer. The Design and Defect Warranty covers repair of
 5   emission control or emission related parts which fail to function or function improperly due to a
 6   defect in materials or workmanship. This warranty provides protection for two years or 24,000
 7   miles, whichever comes first, or, for the major emission control components, for eight years or
 8   80,000 miles, whichever comes first.
 9               1084. Fiat and FCA provided these warranties to Plaintiff and the Oklahoma State Class.
10   These warranties formed the basis of the bargain that was reached when Plaintiff and the
11   Oklahoma State Class purchased or leased their Class Vehicles.
12               1085. However, Fiat and FCA knew or should have known that the warranties were false
13   and/or misleading. Fiat and FCA were aware that the emissions systems in the Class Vehicles
14   sold and leased to Plaintiff and the Oklahoma State Class were designed to deactivate under real-
15   world driving conditions, and to emit oxides of nitrogen within legal limits only when undergoing
16   emissions testing, and therefore, knew that the emission systems contained defects.
17               1086. Plaintiff and the Oklahoma State Class reasonably relied on Fiat’s and FCA’s
18   express warranties concerning emissions when purchasing or leasing the Class Vehicles.
19   However, the Class Vehicles did not perform as warranted. Unbeknownst to Plaintiff and the
20   Oklahoma State Class, the Class Vehicles were designed to pollute at higher than legal limits
21   during normal driving, and could not achieve advertised performance and efficiency metrics
22   without this cheating design. This design and the devices that effectuate it are defects. Fiat and
23   FCA therefore breached their express warranty by providing a product containing defects that
24   were never disclosed to Plaintiff and the Oklahoma State Class.
25               1087. Any opportunity to cure the express breach is unnecessary and futile.
26               1088. As a direct and proximate result of Fiat’s and FCA’s breach of express warranties,
27   Plaintiff and the Oklahoma State Class suffered significant damages, and seek damages in an
28   amount to be determined at trial.

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 1                    BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY
                              (Okla. Stat. Tit. 12A §§ 2-314 and 2A-212)
 2

 3               1089. Plaintiffs reallege and incorporate by reference all allegations of the preceding

 4   paragraphs as though fully set forth herein.

 5               1090. Plaintiff Lee Holland (for the purpose of this section, “Plaintiff”) brings this action

 6   on behalf of himself and the Oklahoma State Class against Fiat and FCA.

 7               1091. Fiat and FCA were at all relevant times “merchants” with respect to motor vehicles

 8   under Okla. Stat. Tit. 12A §§ 2-104(1) and 2-1103(3), and “sellers” of motor vehicles under

 9   § 2A-103(1)(t).

10               1092. With respect to leases, Fiat and FCA are and were at all relevant times “lessors” of

11   motor vehicles under Okla. Stat. Tit. 12A § 2A-103(1)(p).

12               1093. The Class Vehicles are and were at all relevant times “goods” within the meaning

13   of Okla. Stat. Tit. 12A §§ 2-105(1) and 2A-103(1)(h).

14               1094. A warranty that the Class Vehicles were in merchantable condition and fit for the

15   ordinary purpose for which vehicles are used is implied by law pursuant to Okla. Stat. Tit. 12A

16   §§ 2-314 and 2A-212.

17               1095. Fiat and FCA sold and/or leased Class Vehicles that were not in merchantable

18   condition and/or fit for their ordinary purpose in violation of the implied warranty. The Class

19   Vehicles were not in merchantable condition because their design violated state and federal laws.

20   The Class Vehicles were not fit for their ordinary purpose as they were built to evade state and

21   federal emission standards.

22               1096. Fiat’s and FCA’s breaches of the implied warranty of merchantability caused

23   damage to Plaintiff and the Oklahoma State Class. The amount of damages due will be proven at

24   trial.

25

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 1                      38.     Oregon
 2                                   BREACH OF EXPRESS WARRANTY
                                    (Or. Rev. Stat. §§ 72.3130 and 72A.2100)
 3

 4               1097. Plaintiffs reallege and incorporate by reference all preceding allegations as though

 5   fully set forth herein.

 6               1098. Plaintiffs Adam Burwell and Mathue Fasching (for the purpose of this section,

 7   “Plaintiffs”) bring this action on behalf of themselves and the Oregon State Class against Fiat and

 8   FCA.

 9               1099. Fiat and FCA are and were at all relevant times “merchants” with respect to motor

10   vehicles under Or. Rev. Stat. §§ 72.1040(1) and 72A.1030(1)(t), and “sellers” of motor vehicles

11   under § 72.1030(1)(d).

12               1100. With respect to leases, Fiat and FCA are and were all relevant times “lessors” of

13   motor vehicles under Or. Rev. Stat. § 72A.1030(1)(p).

14               1101. The Class Vehicles are and were at all relevant times “goods” within the meaning

15   of Or. Rev. Stat. §§ 72.1050(1) and 72A.1030(1)(h).

16               1102. Federal law requires manufacturers of light-duty vehicles to provide two federal

17   emission control warranties: a “Performance Warranty” and a “Design and Defect Warranty.”

18   The Performance Warranty applies to repairs that are required during the first two years or 24,000

19   miles, whichever occurs first, when a vehicle fails an emissions test. Under this warranty, certain

20   major emission control components are covered for the first eight years or 80,000 miles,

21   whichever comes first. These major emission control components subject to the longer warranty

22   include the catalytic converters, the electronic engine control unit (ECU), and the onboard

23   emissions diagnostic device or computer. The Design and Defect Warranty covers repair of

24   emission control or emission related parts which fail to function or function improperly due to a

25   defect in materials or workmanship. This warranty provides protection for two years or 24,000

26   miles, whichever comes first, or, for the major emission control components, for eight years or

27   80,000 miles, whichever comes first.

28

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 1               1103. Fiat and FCA provided these warranties to Plaintiffs and the Oregon State Class.
 2   These warranties formed the basis of the bargain that was reached when Plaintiffs and the Oregon
 3   State Class purchased or leased their Class Vehicles.
 4               1104. However, Fiat and FCA knew or should have known that the warranties were false
 5   and/or misleading. Fiat and FCA were aware that the emissions systems in the Class Vehicles
 6   sold and leased to Plaintiffs and the Oregon State Class were designed to deactivate under real-
 7   world driving conditions, and to emit oxides of nitrogen within legal limits only when undergoing
 8   emissions testing, and therefore, knew that the emission systems contained defects.
 9               1105. Plaintiffs and the Oregon State Class reasonably relied on Fiat’s and FCA’s
10   express warranties concerning emissions when purchasing or leasing the Class Vehicles.
11   However, the Class Vehicles did not perform as warranted. Unbeknownst to Plaintiffs and the
12   Oregon State Class, the Class Vehicles were designed to pollute at higher than legal limits during
13   normal driving, and could not achieve advertised performance and efficiency metrics without this
14   cheating design. This design and the devices that effectuate it are defects. Fiat and FCA
15   therefore breached their express warranty by providing a product containing defects that were
16   never disclosed to Plaintiffs and the Oregon State Class.
17               1106. Any opportunity to cure the express breach is unnecessary and futile.
18               1107. As a direct and proximate result of Fiat’s and FCA’s breach of express warranties,
19   Plaintiffs and the Oregon State Class suffered significant damages, and seek damages in an
20   amount to be determined at trial
21                    BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY
                               (Or. Rev. Stat. § 72.3140 and 72A.2120)
22

23               1108. Plaintiffs reallege and incorporate by reference all allegations of the preceding
24   paragraphs as though fully set forth herein.
25               1109. Plaintiffs Adam Burwell and Mathue Fasching (for the purpose of this section,
26   “Plaintiffs”) bring this action on behalf of themselves and the Oregon State Class against Fiat and
27   FCA.
28

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 1               1110. Fiat and FCA were at all relevant times “merchants” with respect to motor vehicles
 2   under Or. Rev. Stat. §§ 72.1040(1) and 72A.1030(1)(t), and “sellers” of motor vehicles under
 3   § 72.1030(1)(d).
 4               1111. With respect to leases, Fiat and FCA are and were at all relevant times “lessors” of
 5   motor vehicles under Or. Rev. Stat. § 72A.1030(1)(p).
 6               1112. The Class Vehicles are and were at all relevant times “goods” within the meaning
 7   of Or. Rev. Stat. §§ 72.1050(1) and 72A.1030(1)(h).
 8               1113. A warranty that the Class Vehicles were in merchantable condition and fit for the
 9   ordinary purpose for which vehicles are used is implied by law pursuant to Or. Rev. Stat.
10   §§ 72.3140 and 72A-2120.
11               1114. Fiat and FCA sold and/or leased Class Vehicles that were not in merchantable
12   condition and/or fit for their ordinary purpose in violation of the implied warranty. The Class
13   Vehicles were not in merchantable condition because their design violated state and federal laws.
14   The Class Vehicles were not fit for their ordinary purpose as they were built to evade state and
15   federal emission standards.
16               1115. Fiat’s and FCA’s breaches of the implied warranty of merchantability caused
17   damage to the Plaintiffs and the Oregon State Class. The amount of damages due will be proven
18   at trial.
19                      39.     Pennsylvania
20                                   BREACH OF EXPRESS WARRANTY
                                   (13 PA. CONS. STAT. §§ 2313 and 2A210)
21

22               1116. Plaintiffs reallege and incorporate by reference all preceding allegations as though
23   fully set forth herein.
24               1117. Plaintiffs Kyle and Jessica Heidlebaugh and Donald Korrell II (for the purpose of
25   this section, “Plaintiffs”) bring this action on behalf of themselves and the Pennsylvania State
26   Class against Fiat and FCA.
27

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 1               1118. Fiat and FCA are and were at all relevant times “merchants” with respect to motor
 2   vehicles under 13 Pa. Cons. Stat. §§ 2104 and 2A103(a), and “sellers” of motor vehicles under
 3   § 2103(a).
 4               1119. With respect to leases, Fiat and FCA are and were all relevant times “lessors” of
 5   motor vehicles under 13 Pa. Cons. Stat. § 2A103(a).
 6               1120. The Class Vehicles are and were at all relevant times “goods” within the meaning
 7   of 13 Pa. Cons. Stat. §§ 2105(a) and 2A103(a).
 8               1121. Federal law requires manufacturers of light-duty vehicles to provide two federal
 9   emission control warranties: a “Performance Warranty” and a “Design and Defect Warranty.”
10   The Performance Warranty applies to repairs that are required during the first two years or 24,000
11   miles, whichever occurs first, when a vehicle fails an emissions test. Under this warranty, certain
12   major emission control components are covered for the first eight years or 80,000 miles,
13   whichever comes first. These major emission control components subject to the longer warranty
14   include the catalytic converters, the electronic engine control unit (ECU), and the onboard
15   emissions diagnostic device or computer. The Design and Defect Warranty covers repair of
16   emission control or emission related parts which fail to function or function improperly due to a
17   defect in materials or workmanship. This warranty provides protection for two years or 24,000
18   miles, whichever comes first, or, for the major emission control components, for eight years or
19   80,000 miles, whichever comes first.
20               1122. Fiat and FCA provided these warranties to Plaintiffs and the Pennsylvania State
21   Class. These warranties formed the basis of the bargain that was reached when Plaintiffs and the
22   Pennsylvania State Class purchased or leased their Class Vehicles.
23               1123. However, Fiat and FCA knew or should have known that the warranties were false
24   and/or misleading. Fiat and FCA were aware that the emissions systems in the Class Vehicles
25   sold and leased to Plaintiffs and the Pennsylvania State Class were designed to deactivate under
26   real-world driving conditions, and to emit oxides of nitrogen within legal limits only when
27   undergoing emissions testing, and therefore, knew that the emission systems contained defects.
28

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 1               1124. Plaintiffs and the Pennsylvania State Class reasonably relied on Fiat’s and FCA’s
 2   express warranties concerning emissions when purchasing or leasing the Class Vehicles.
 3   However, the Class Vehicles did not perform as warranted. Unbeknownst to Plaintiffs and the
 4   Pennsylvania State Class, the Class Vehicles were designed to pollute at higher than legal limits
 5   during normal driving, and could not achieve advertised performance and efficiency metrics
 6   without this cheating design. This design and the devices that effectuate it are defects. Fiat and
 7   FCA therefore breached their express warranty by providing a product containing defects that
 8   were never disclosed to Plaintiffs and the Pennsylvania State Class.
 9               1125. Any opportunity to cure the express breach is unnecessary and futile.
10               1126. As a direct and proximate result of Fiat’s and FCA’s breach of express warranties,
11   Plaintiffs and the Pennsylvania State Class suffered significant damages, and seek damages in an
12   amount to be determined at trial.
13                    BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY
                                (13 Pa. Cons. Stat. §§ 2314 and 2A212)
14

15               1127. Plaintiffs reallege and incorporate by reference all allegations of the preceding
16   paragraphs as though fully set forth herein.
17               1128. Plaintiffs Kyle and Jessica Heidlebaugh and Donald Korrell II (for the purpose of
18   this section, “Plaintiffs”) bring this action on behalf of themselves and the Pennsylvania State
19   Class against Fiat and FCA.
20               1129. Fiat and FCA were at all relevant times “merchants” with respect to motor vehicles
21   under 13 Pa. Cons. Stat. §§ 2104 and 2A103(a), and “sellers” of motor vehicles under § 2103(a).
22               1130. With respect to leases, Fiat and FCA are and were at all relevant times “lessors” of
23   motor vehicles under 13 Pa. Cons. Stat. § 2A103(a).
24               1131. The Class Vehicles are and were at all relevant times “goods” within the meaning
25   of 13 Pa. Cons. Stat. §§ 2105(a) and 2A103(a).
26               1132. A warranty that the Class Vehicles were in merchantable condition and fit for the
27   ordinary purpose for which vehicles are used is implied by law pursuant to 13 Pa. Cons. Stat.
28   §§ 2314 and 2A212.

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 1               1133. Fiat and FCA sold and/or leased Class Vehicles that were not in merchantable
 2   condition and/or fit for their ordinary purpose in violation of the implied warranty. The Class
 3   Vehicles were not in merchantable condition because their design violated state and federal laws.
 4   The Class Vehicles were not fit for their ordinary purpose as they were built to evade state and
 5   federal emission standards.
 6               1134. Fiat’s and FCA’s breaches of the implied warranty of merchantability caused
 7   damage to the Plaintiffs and the Pennsylvania State Class. The amount of damages due will be
 8   proven at trial.
 9                      40.     Rhode Island
10                                  BREACH OF EXPRESS WARRANTY
                                  (R.I. Gen. Laws §§ 6A-2-313 and 6A-2.1-210)
11

12               1135. Plaintiffs reallege and incorporate by reference all preceding allegations as though
13   fully set forth herein.
14               1136. This count is brought on behalf of the Rhode Island State Class against Fiat and
15   FCA.
16               1137. Fiat and FCA are and were at all relevant times “merchants” with respect to motor
17   vehicles under R.I. Gen. Laws §§ 6A-2-104(1) and 6A-2.1-103(1)(t), and “sellers” of motor
18   vehicles under § 6A-2-103(a)(4).
19               1138. With respect to leases, Fiat and FCA are and were all relevant times “lessors” of
20   motor vehicles under R.I. Gen. Laws § 6A-2.1-103(1)(p).
21               1139. The Class Vehicles are and were at all relevant times “goods” within the meaning
22   of R.I. Gen. Laws §§ 6A-2-105(1) and 6A-2.1-103(1)(h).
23               1140. Federal law requires manufacturers of light-duty vehicles to provide two federal
24   emission control warranties: a “Performance Warranty” and a “Design and Defect Warranty.”
25   The Performance Warranty applies to repairs that are required during the first two years or 24,000
26   miles, whichever occurs first, when a vehicle fails an emissions test. Under this warranty, certain
27   major emission control components are covered for the first eight years or 80,000 miles,
28   whichever comes first. These major emission control components subject to the longer warranty

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 1   include the catalytic converters, the electronic engine control unit (ECU), and the onboard
 2   emissions diagnostic device or computer. The Design and Defect Warranty covers repair of
 3   emission control or emission related parts which fail to function or function improperly due to a
 4   defect in materials or workmanship. This warranty provides protection for two years or 24,000
 5   miles, whichever comes first, or, for the major emission control components, for eight years or
 6   80,000 miles, whichever comes first.
 7               1141. Fiat and FCA provided these warranties to the Rhode Island State Class. These
 8   warranties formed the basis of the bargain that was reached when the Rhode Island State Class
 9   purchased or leased their Class Vehicles.
10               1142. However, Fiat and FCA knew or should have known that the warranties were false
11   and/or misleading. Fiat and FCA were aware that the emissions systems in the Class Vehicles
12   sold and leased to the Rhode Island State Class were designed to deactivate under real-world
13   driving conditions, and to emit oxides of nitrogen within legal limits only when undergoing
14   emissions testing, and therefore, knew that the emission systems contained defects.
15               1143. The Rhode Island State Class reasonably relied on Fiat’s and FCA’s express
16   warranties concerning emissions when purchasing or leasing the Class Vehicles. However, the
17   Class Vehicles did not perform as warranted. Unbeknownst to the Rhode Island State Class, the
18   Class Vehicles were designed to pollute at higher than legal limits during normal driving, and
19   could not achieve advertised performance and efficiency metrics without this cheating design.
20   This design and the devices that effectuate it are defects. Fiat and FCA therefore breached their
21   express warranty by providing a product containing defects that were never disclosed to the
22   Rhode Island State Class.
23               1144. Any opportunity to cure the express breach is unnecessary and futile.
24               1145. As a direct and proximate result of Fiat’s and FCA’s breach of express warranties,
25   the Rhode Island State Class suffered significant damages, and seek damages in an amount to be
26   determined at trial.
27

28

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 1                    BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY
                             (R.I. Gen. Laws §§ 6A-2-314 and 6A-2.1-212)
 2

 3               1146. Plaintiffs reallege and incorporate by reference all allegations of the preceding

 4   paragraphs as though fully set forth herein.

 5               1147. This count is brought on behalf of the Rhode Island State Class against Fiat and

 6   FCA.

 7               1148. Fiat and FCA were at all relevant times “merchants” with respect to motor vehicles

 8   under R.I. Gen. Laws §§ 6A-2-104(1) and 6A-2.1-103(1)(t), and “sellers” of motor vehicles under

 9   § 6A-2-103(a)(4).

10               1149. With respect to leases, Fiat and FCA are and were at all relevant times “lessors” of

11   motor vehicles under R.I. Gen. Laws § 6A-2.1-103(1)(p).

12               1150. The Class Vehicles are and were at all relevant times “goods” within the meaning

13   of R.I. Gen. Laws §§ 6A-2-105(1) and 6A-2.1-103(1)(h).

14               1151. A warranty that the Class Vehicles were in merchantable condition and fit for the

15   ordinary purpose for which vehicles are used is implied by law pursuant to R.I. Gen. Laws §§ 6A-

16   2-314 and 6A-2.1-212.

17               1152. Fiat and FCA sold and/or leased Class Vehicles that were not in merchantable

18   condition and/or fit for their ordinary purpose in violation of the implied warranty. The Class

19   Vehicles were not in merchantable condition because their design violated state and federal laws.

20   The Class Vehicles were not fit for their ordinary purpose as they were built to evade state and

21   federal emission standards.

22               1153. Fiat’s and FCA’s breaches of the implied warranty of merchantability caused

23   damage to the Rhode Island State Class. The amount of damages due will be proven at trial.

24                      41.     South Carolina
25                                   BREACH OF EXPRESS WARRANTY
                                     (S.C. Code §§ 36-2-313 and 36-2A-210)
26

27               1154. Plaintiffs reallege and incorporate by reference all preceding allegations as though

28   fully set forth herein.

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 1               1155. Plaintiffs Michael Johnson, Ernest Melin, and Bryan Muckenfuss (for the purpose
 2   of this section, “Plaintiffs”) bring this action on behalf of themselves and the South Carolina State
 3   Class against Fiat and FCA.
 4               1156. Fiat and FCA are and were at all relevant times “merchants” with respect to motor
 5   vehicles under S.C. Code §§ 36-2-104(1) and 36-2A-103(1)(t), and “sellers” of motor vehicles
 6   under § 36-2-103(1)(d).
 7               1157. With respect to leases, Fiat and FCA are and were all relevant times “lessors” of
 8   motor vehicles under S.C. Code § 36-2A-103(1)(p).
 9               1158. The Class Vehicles are and were at all relevant times “goods” within the meaning
10   of S.C. Code §§ 36-2-105(1) and 36-2A-103(1)(h).
11               1159. Federal law requires manufacturers of light-duty vehicles to provide two federal
12   emission control warranties: a “Performance Warranty” and a “Design and Defect Warranty.”
13   The Performance Warranty applies to repairs that are required during the first two years or 24,000
14   miles, whichever occurs first, when a vehicle fails an emissions test. Under this warranty, certain
15   major emission control components are covered for the first eight years or 80,000 miles,
16   whichever comes first. These major emission control components subject to the longer warranty
17   include the catalytic converters, the electronic engine control unit (ECU), and the onboard
18   emissions diagnostic device or computer. The Design and Defect Warranty covers repair of
19   emission control or emission related parts which fail to function or function improperly due to a
20   defect in materials or workmanship. This warranty provides protection for two years or 24,000
21   miles, whichever comes first, or, for the major emission control components, for eight years or
22   80,000 miles, whichever comes first.
23               1160. Fiat and FCA provided these warranties to Plaintiffs and the South Carolina State
24   Class. These warranties formed the basis of the bargain that was reached when Plaintiffs and the
25   South Carolina State Class purchased or leased their Class Vehicles.
26               1161. However, Fiat and FCA knew or should have known that the warranties were false
27   and/or misleading. Fiat and FCA were aware that the emissions systems in the Class Vehicles
28   sold and leased to Plaintiffs and the South Carolina State Class were designed to deactivate under

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 1   real-world driving conditions, and to emit oxides of nitrogen within legal limits only when
 2   undergoing emissions testing, and therefore, knew that the emission systems contained defects.
 3               1162. Plaintiffs and the South Carolina State Class reasonably relied on Fiat’s and FCA’s
 4   express warranties concerning emissions when purchasing or leasing the Class Vehicles.
 5   However, the Class Vehicles did not perform as warranted. Unbeknownst to Plaintiffs and the
 6   South Carolina State Class, the Class Vehicles were designed to pollute at higher than legal limits
 7   during normal driving, and could not achieve advertised performance and efficiency metrics
 8   without this cheating design. This design and the devices that effectuate it are defects. Fiat and
 9   FCA therefore breached their express warranty by providing a product containing defects that
10   were never disclosed to Plaintiffs and the South Carolina State Class.
11               1163. Any opportunity to cure the express breach is unnecessary and futile.
12               1164. As a direct and proximate result of Fiat’s and FCA’s breach of express warranties,
13   Plaintiffs and the South Carolina State Class suffered significant damages, and seek damages in
14   an amount to be determined at trial.
15                    BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY
                                (S.C. Code §§ 36-2-314 and 36-2A-212)
16

17               1165. Plaintiffs reallege and incorporate by reference all allegations of the preceding
18   paragraphs as though fully set forth herein.
19               1166. Plaintiffs Michael Johnson, Ernest Melin, and Bryan Muckenfuss (for the purpose
20   of this section, “Plaintiffs”) bring this action on behalf of themselves and the South Carolina State
21   Class against Fiat and FCA.
22               1167. Fiat and FCA were at all relevant times “merchants” with respect to motor vehicles
23   under S.C. Code §§ 36-2-104(1) and 36-2A-103(1)(t), and “sellers” of motor vehicles under § 36-
24   2-103(1)(d).
25               1168. With respect to leases, Fiat and FCA are and were at all relevant times “lessors” of
26   motor vehicles under S.C. Code § 36-2A-103(1)(p).
27               1169. The Class Vehicles are and were at all relevant times “goods” within the meaning
28   of S.C. Code §§ 36-2-105(1) and 36-2A-103(1)(h).

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 1               1170. A warranty that the Class Vehicles were in merchantable condition and fit for the
 2   ordinary purpose for which vehicles are used is implied by law pursuant to S.C. Code §§ 36-2-
 3   314 and 36-2A-212.
 4               1171. Fiat and FCA sold and/or leased Class Vehicles that were not in merchantable
 5   condition and/or fit for their ordinary purpose in violation of the implied warranty. The Class
 6   Vehicles were not in merchantable condition because their design violated state and federal laws.
 7   The Class Vehicles were not fit for their ordinary purpose as they were built to evade state and
 8   federal emission standards.
 9               1172. Fiat’s and FCA’s breaches of the implied warranty of merchantability caused
10   damage to the Plaintiffs and the South Carolina State Class. The amount of damages due will be
11   proven at trial.
12                      42.     South Dakota
13                                   BREACH OF EXPRESS WARRANTY
                               (S.D. Codified Laws §§ 57A-2-313 and 57A-2A-210)
14

15               1173. Plaintiffs reallege and incorporate by reference all preceding allegations as though
16   fully set forth herein.
17               1174. Plaintiffs Elmer and Barbara Brinkman (for the purpose of this section,
18   “Plaintiffs”) bring this action on behalf of themselves and the South Dakota State Class against
19   Fiat and FCA.
20               1175. Fiat and FCA are and were at all relevant times “merchants” with respect to motor
21   vehicles under S.D. Codified Laws §§ 57A-104(1) and 57A-2A-103(1)(t), and “sellers” of motor
22   vehicles under § 57A-104(1)(d).
23               1176. With respect to leases, Fiat and FCA are and were all relevant times “lessors” of
24   motor vehicles under S.D. Codified Laws § 57A-2A-103(1)(p).
25               1177. The Class Vehicles are and were at all relevant times “goods” within the meaning
26   of S.D. Codified Laws §§ 57A-2-105(1) and 57A-2A-103(1)(h).
27               1178. Federal law requires manufacturers of light-duty vehicles to provide two federal
28   emission control warranties: a “Performance Warranty” and a “Design and Defect Warranty.”

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 1   The Performance Warranty applies to repairs that are required during the first two years or 24,000
 2   miles, whichever occurs first, when a vehicle fails an emissions test. Under this warranty, certain
 3   major emission control components are covered for the first eight years or 80,000 miles,
 4   whichever comes first. These major emission control components subject to the longer warranty
 5   include the catalytic converters, the electronic engine control unit (ECU), and the onboard
 6   emissions diagnostic device or computer. The Design and Defect Warranty covers repair of
 7   emission control or emission related parts which fail to function or function improperly due to a
 8   defect in materials or workmanship. This warranty provides protection for two years or 24,000
 9   miles, whichever comes first, or, for the major emission control components, for eight years or
10   80,000 miles, whichever comes first.
11               1179. Fiat and FCA provided these warranties to Plaintiffs and the South Dakota State
12   Class. These warranties formed the basis of the bargain that was reached when Plaintiffs and the
13   South Dakota State Class purchased or leased their Class Vehicles.
14               1180. However, Fiat and FCA knew or should have known that the warranties were false
15   and/or misleading. Fiat and FCA were aware that the emissions systems in the Class Vehicles
16   sold and leased to Plaintiffs and the South Dakota State Class were designed to deactivate under
17   real-world driving conditions, and to emit oxides of nitrogen within legal limits only when
18   undergoing emissions testing, and therefore, knew that the emission systems contained defects.
19               1181. Plaintiffs and the South Dakota State Class reasonably relied on Fiat’s and FCA’s
20   express warranties concerning emissions when purchasing or leasing the Class Vehicles.
21   However, the Class Vehicles did not perform as warranted. Unbeknownst to Plaintiffs and the
22   South Dakota State Class, the Class Vehicles were designed to pollute at higher than legal limits
23   during normal driving, and could not achieve advertised performance and efficiency metrics
24   without this cheating design. This design and the devices that effectuate it are defects. Fiat and
25   FCA therefore breached their express warranty by providing a product containing defects that
26   were never disclosed to Plaintiffs and the South Dakota State Class.
27               1182. Any opportunity to cure the express breach is unnecessary and futile.
28

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 1               1183. As a direct and proximate result of Fiat’s and FCA’s breach of express warranties,
 2   Plaintiffs and the South Dakota State Class suffered significant damages, and seek damages in an
 3   amount to be determined at trial.
 4                    BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY
                           (S.D. Codified Laws §§ 57A-2-314 and 57A-2A-212)
 5

 6               1184. Plaintiffs reallege and incorporate by reference all allegations of the preceding
 7   paragraphs as though fully set forth herein.
 8               1185. Plaintiffs Elmer and Barbara Brinkman (for the purpose of this section,
 9   “Plaintiffs”) bring this action on behalf of themselves and the South Dakota State Class against
10   Fiat and FCA.
11               1186. Fiat and FCA were at all relevant times “merchants” with respect to motor vehicles
12   under S.D. Codified Laws §§ 57A-104(1) and 57A-2A-103(1)(t), and “sellers” of motor vehicles
13   under § 57A-104(1)(d).
14               1187. With respect to leases, Fiat and FCA are and were at all relevant times “lessors” of
15   motor vehicles under S.D. Codified Laws § 57A-2A-103(1)(p).
16               1188. The Class Vehicles are and were at all relevant times “goods” within the meaning
17   of S.D. Codified Laws §§ 57A-2-105(1) and 57A-2A-103(1)(h).
18               1189. A warranty that the Class Vehicles were in merchantable condition and fit for the
19   ordinary purpose for which vehicles are used is implied by law pursuant to S.D. Codified Laws
20   §§ 57A-2-314 and 57A-2A-212.
21               1190. Fiat and FCA sold and/or leased Class Vehicles that were not in merchantable
22   condition and/or fit for their ordinary purpose in violation of the implied warranty. The Class
23   Vehicles were not in merchantable condition because their design violated state and federal laws.
24   The Class Vehicles were not fit for their ordinary purpose as they were built to evade state and
25   federal emission standards.
26               1191. Fiat’s and FCA’s breaches of the implied warranty of merchantability caused
27   damage to the Plaintiffs and the South Dakota State Class. The amount of damages due will be
28   proven at trial.

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 1                      43.     Tennessee
 2                                    BREACH OF EXPRESS WARRANTY
                                     (Tenn. Code §§ 47-2-313 and 47-2A-210)
 3

 4               1192. Plaintiffs reallege and incorporate by reference all preceding allegations as though

 5   fully set forth herein.

 6               1193. Plaintiffs Anthony Edwards and Jeffrey Griggs (for the purpose of this section,

 7   “Plaintiffs”) bring this action on behalf of themselves and the Tennessee State Class against Fiat

 8   and FCA.

 9               1194. Fiat and FCA are and were at all relevant times “merchants” with respect to motor

10   vehicles under Tenn. Code §§ 47-2-104(1) and 47-2A-103(1)(t), and “sellers” of motor vehicles

11   under § 47-2-103(1)(d).

12               1195. With respect to leases, Fiat and FCA are and were all relevant times “lessors” of

13   motor vehicles under Tenn. Code § 47-2A-103(1)(p).

14               1196. The Class Vehicles are and were at all relevant times “goods” within the meaning

15   of Tenn. Code §§ 47-2-105(1) and 47-2A-103(1)(h).

16               1197. Federal law requires manufacturers of light-duty vehicles to provide two federal

17   emission control warranties: a “Performance Warranty” and a “Design and Defect Warranty.”

18   The Performance Warranty applies to repairs that are required during the first two years or 24,000

19   miles, whichever occurs first, when a vehicle fails an emissions test. Under this warranty, certain

20   major emission control components are covered for the first eight years or 80,000 miles,

21   whichever comes first. These major emission control components subject to the longer warranty

22   include the catalytic converters, the electronic engine control unit (ECU), and the onboard

23   emissions diagnostic device or computer. The Design and Defect Warranty covers repair of

24   emission control or emission related parts which fail to function or function improperly due to a

25   defect in materials or workmanship. This warranty provides protection for two years or 24,000

26   miles, whichever comes first, or, for the major emission control components, for eight years or

27   80,000 miles, whichever comes first.

28

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 1               1198. Fiat and FCA provided these warranties to Plaintiffs and the Tennessee State
 2   Class. These warranties formed the basis of the bargain that was reached when Plaintiffs and the
 3   Tennessee State Class purchased or leased their Class Vehicles.
 4               1199. However, Fiat and FCA knew or should have known that the warranties were false
 5   and/or misleading. Fiat and FCA were aware that the emissions systems in the Class Vehicles
 6   sold and leased to Plaintiffs and the Tennessee State Class were designed to deactivate under real-
 7   world driving conditions, and to emit oxides of nitrogen within legal limits only when undergoing
 8   emissions testing, and therefore, knew that the emission systems contained defects.
 9               1200. Plaintiffs and the Tennessee State Class reasonably relied on Fiat’s and FCA’s
10   express warranties concerning emissions when purchasing or leasing the Class Vehicles.
11   However, the Class Vehicles did not perform as warranted. Unbeknownst to Plaintiffs and the
12   Tennessee State Class, the Class Vehicles were designed to pollute at higher than legal limits
13   during normal driving, and could not achieve advertised performance and efficiency metrics
14   without this cheating design. This design and the devices that effectuate it are defects. Fiat and
15   FCA therefore breached their express warranty by providing a product containing defects that
16   were never disclosed to Plaintiffs and the Tennessee State Class.
17               1201. Any opportunity to cure the express breach is unnecessary and futile.
18               1202. As a direct and proximate result of Fiat’s and FCA’s breach of express warranties,
19   Plaintiffs and the Tennessee State Class suffered significant damages, and seek damages in an
20   amount to be determined at trial.
21                    BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY
                               (Tenn. Code §§ 47-2-314 and 47-2A-212)
22

23               1203. Plaintiffs reallege and incorporate by reference all allegations of the preceding
24   paragraphs as though fully set forth herein.
25               1204. Plaintiffs Anthony Edwards and Jeffrey Griggs (for the purpose of this section,
26   “Plaintiffs”) bring this action on behalf of themselves and the Tennessee State Class against Fiat
27   and FCA.
28

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 1               1205. Fiat and FCA were at all relevant times “merchants” with respect to motor vehicles
 2   under Tenn. Code §§ 47-2-104(1) and 47-2A-103(1)(t), and “sellers” of motor vehicles under
 3   § 47-2-103(1)(d).
 4               1206. With respect to leases, Fiat and FCA are and were at all relevant times “lessors” of
 5   motor vehicles under Tenn. Code § 47-2A-103(1)(p).
 6               1207. The Class Vehicles are and were at all relevant times “goods” within the meaning
 7   of Tenn. Code §§ 47-2-105(1) and 47-2A-103(1)(h).
 8               1208. A warranty that the Class Vehicles were in merchantable condition and fit for the
 9   ordinary purpose for which vehicles are used is implied by law pursuant to Tenn. Code §§ 47-2-
10   314 and 47-2A-212.
11               1209. Fiat and FCA sold and/or leased Class Vehicles that were not in merchantable
12   condition and/or fit for their ordinary purpose in violation of the implied warranty. The Class
13   Vehicles were not in merchantable condition because their design violated state and federal laws.
14   The Class Vehicles were not fit for their ordinary purpose as they were built to evade state and
15   federal emission standards.
16               1210. Fiat’s and FCA’s breaches of the implied warranty of merchantability caused
17   damage to the Plaintiffs and the Tennessee State Class. The amount of damages due will be
18   proven at trial.
19                      44.     Texas
20                                   BREACH OF EXPRESS WARRANTY
                                  (Tex. Bus. & Com. Code §§ 2.313 and 2A.210)
21

22               1211. Plaintiffs reallege and incorporate by reference all preceding allegations as though
23   fully set forth herein.
24               1212. Plaintiffs Anthony Alley, WEB Farms, Inc., Jamie Broom, Victor Feldman, and
25   Charles Hissey (for the purpose of this section, “Plaintiffs”) bring this action on behalf of
26   themselves and the Texas State Class against Fiat and FCA.
27

28

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 1               1213. Fiat and FCA are and were at all relevant times “merchants” with respect to motor
 2   vehicles under Tex. Bus. & Com. Code § 2.104(1) and 2A.103(a)(20), and “sellers” of motor
 3   vehicles under § 2.103(a)(4).
 4               1214. With respect to leases, Fiat and FCA are and were all relevant times “lessors” of
 5   motor vehicles under Tex. Bus. & Com. Code § 2A.103(a)(16).
 6               1215. The Class Vehicles are and were at all relevant times “goods” within the meaning
 7   of Tex. Bus. & Com. Code §§ 2.105(a) and 2A.103(a)(8).
 8               1216. Federal law requires manufacturers of light-duty vehicles to provide two federal
 9   emission control warranties: a “Performance Warranty” and a “Design and Defect Warranty.”
10   The Performance Warranty applies to repairs that are required during the first two years or 24,000
11   miles, whichever occurs first, when a vehicle fails an emissions test. Under this warranty, certain
12   major emission control components are covered for the first eight years or 80,000 miles,
13   whichever comes first. These major emission control components subject to the longer warranty
14   include the catalytic converters, the electronic engine control unit (ECU), and the onboard
15   emissions diagnostic device or computer. The Design and Defect Warranty covers repair of
16   emission control or emission related parts which fail to function or function improperly due to a
17   defect in materials or workmanship. This warranty provides protection for two years or 24,000
18   miles, whichever comes first, or, for the major emission control components, for eight years or
19   80,000 miles, whichever comes first.
20               1217. Fiat and FCA provided these warranties to Plaintiffs and the Texas State Class.
21   These warranties formed the basis of the bargain that was reached when Plaintiffs and the Texas
22   State Class purchased or leased their Class Vehicles.
23               1218. However, Fiat and FCA knew or should have known that the warranties were false
24   and/or misleading. Fiat and FCA were aware that the emissions systems in the Class Vehicles
25   sold and leased to Plaintiffs and the Texas State Class were designed to deactivate under real-
26   world driving conditions, and to emit oxides of nitrogen within legal limits only when undergoing
27   emissions testing, and therefore, knew that the emission systems contained defects.
28

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 1               1219. Plaintiffs and the Texas State Class reasonably relied on Fiat’s and FCA’s express
 2   warranties concerning emissions when purchasing or leasing the Class Vehicles. However, the
 3   Class Vehicles did not perform as warranted. Unbeknownst to Plaintiffs and the Texas State
 4   Class, the Class Vehicles were designed to pollute at higher than legal limits during normal
 5   driving, and could not achieve advertised performance and efficiency metrics without this
 6   cheating design. This design and the devices that effectuate it are defects. Fiat and FCA
 7   therefore breached their express warranty by providing a product containing defects that were
 8   never disclosed to Plaintiffs and the Texas State Class.
 9               1220. Any opportunity to cure the express breach is unnecessary and futile.
10               1221. As a direct and proximate result of Fiat’s and FCA’s breach of express warranties,
11   Plaintiffs and the Texas State Class suffered significant damages, and seek damages in an amount
12   to be determined at trial.
13                    BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY
                             (Tex. Bus. & Com. Code §§ 2.314 and 2A.212)
14

15               1222. Plaintiffs reallege and incorporate by reference all allegations of the preceding
16   paragraphs as though fully set forth herein.
17               1223. Plaintiffs Anthony Alley, WEB Farms, Inc., Jamie Broom, Victor Feldman, and
18   Charles Hissey (for the purpose of this section, “Plaintiffs”) bring this action on behalf of
19   themselves and the Texas State Class against Fiat and FCA.
20               1224. Fiat and FCA were at all relevant times “merchants” with respect to motor vehicles
21   under Tex. Bus. & Com. Code § 2.104(1) and 2A.103(a)(20), and “sellers” of motor vehicles
22   under § 2.103(a)(4).
23               1225. With respect to leases, Fiat and FCA are and were at all relevant times “lessors” of
24   motor vehicles under Tex. Bus. & Com. Code § 2A.103(a)(16).
25               1226. The Class Vehicles are and were at all relevant times “goods” within the meaning
26   of Tex. Bus. & Com. Code §§ 2.105(a) and 2A.103(a)(8).
27

28

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 1               1227. A warranty that the Class Vehicles were in merchantable condition and fit for the
 2   ordinary purpose for which vehicles are used is implied by law pursuant to Tex. Bus. & Com.
 3   Code §§ 2.314 and 2A.212.
 4               1228. Fiat and FCA sold and/or leased Class Vehicles that were not in merchantable
 5   condition and/or fit for their ordinary purpose in violation of the implied warranty. The Class
 6   Vehicles were not in merchantable condition because their design violated state and federal laws.
 7   The Class Vehicles were not fit for their ordinary purpose as they were built to evade state and
 8   federal emission standards.
 9               1229. Fiat’s and FCA’s breaches of the implied warranty of merchantability caused
10   damage to the Plaintiffs and the Texas State Class. The amount of damages due will be proven at
11   trial.
12                      45.     Utah
13                                   BREACH OF EXPRESS WARRANTY
                                 (Utah Code Ann. §§ 70A-2-313 and 70A-2A-210)
14

15               1230. Plaintiffs reallege and incorporate by reference all preceding allegations as though
16   fully set forth herein.
17               1231. Plaintiff John Wilson (for the purpose of this section, “Plaintiff”) brings this action
18   on behalf of himself and the Utah State Class against Fiat and FCA.
19               1232. Fiat and FCA are and were at all relevant times “merchants” with respect to motor
20   vehicles under Utah Code § 70A-2-104(1) and 70A-2a-103(1)(t), and “sellers” of motor vehicles
21   under § 70A-2-103(1)(d).
22               1233. With respect to leases, Fiat and FCA are and were all relevant times “lessors” of
23   motor vehicles under Utah Code § 70A-2a-103(1)(p).
24               1234. The Class Vehicles are and were at all relevant times “goods” within the meaning
25   of Utah Code §§ 70A-2-105(1) and 70A-2a-103(1)(h).
26               1235. Federal law requires manufacturers of light-duty vehicles to provide two federal
27   emission control warranties: a “Performance Warranty” and a “Design and Defect Warranty.”
28   The Performance Warranty applies to repairs that are required during the first two years or 24,000

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 1   miles, whichever occurs first, when a vehicle fails an emissions test. Under this warranty, certain
 2   major emission control components are covered for the first eight years or 80,000 miles,
 3   whichever comes first. These major emission control components subject to the longer warranty
 4   include the catalytic converters, the electronic engine control unit (ECU), and the onboard
 5   emissions diagnostic device or computer. The Design and Defect Warranty covers repair of
 6   emission control or emission related parts which fail to function or function improperly due to a
 7   defect in materials or workmanship. This warranty provides protection for two years or 24,000
 8   miles, whichever comes first, or, for the major emission control components, for eight years or
 9   80,000 miles, whichever comes first.
10               1236. Fiat and FCA provided these warranties to Plaintiff and the Utah State Class.
11   These warranties formed the basis of the bargain that was reached when Plaintiff and the Utah
12   State Class purchased or leased their Class Vehicles.
13               1237. However, Fiat and FCA knew or should have known that the warranties were false
14   and/or misleading. Fiat and FCA were aware that the emissions systems in the Class Vehicles
15   sold and leased to Plaintiff and the Utah State Class were designed to deactivate under real-world
16   driving conditions, and to emit oxides of nitrogen within legal limits only when undergoing
17   emissions testing, and therefore, knew that the emission systems contained defects.
18               1238. Plaintiff and the Utah State Class reasonably relied on Fiat’s and FCA’s express
19   warranties concerning emissions when purchasing or leasing the Class Vehicles. However, the
20   Class Vehicles did not perform as warranted. Unbeknownst to Plaintiff and the Utah State Class,
21   the Class Vehicles were designed to pollute at higher than legal limits during normal driving, and
22   could not achieve advertised performance and efficiency metrics without this cheating design.
23   This design and the devices that effectuate it are defects. Fiat and FCA therefore breached their
24   express warranty by providing a product containing defects that were never disclosed to Plaintiff
25   and the Utah State Class.
26               1239. Any opportunity to cure the express breach is unnecessary and futile.
27

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 1               1240. As a direct and proximate result of Fiat’s and FCA’s breach of express warranties,
 2   Plaintiff and the Utah State Class suffered significant damages, and seek damages in an amount to
 3   be determined at trial.
 4                    BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY
                            (Utah Code Ann. §§ 70A-2-314 and 70A-2A-212)
 5

 6               1241. Plaintiffs reallege and incorporate by reference all allegations of the preceding
 7   paragraphs as though fully set forth herein.
 8               1242. Plaintiff John Wilson (for the purpose of this section, “Plaintiff”) brings this action
 9   on behalf of himself and the Utah State Class against Fiat and FCA.
10               1243. Fiat and FCA were at all relevant times “merchants” with respect to motor vehicles
11   under Utah Code § 70A-2-104(1) and 70A-2a-103(1)(t), and “sellers” of motor vehicles under
12   § 70A-2-103(1)(d).
13               1244. With respect to leases, Fiat and FCA are and were at all relevant times “lessors” of
14   motor vehicles under Utah Code § 70A-2a-103(1)(p).
15               1245. The Class Vehicles are and were at all relevant times “goods” within the meaning
16   of Utah Code §§ 70A-2-105(1) and 70A-2a-103(1)(h).
17               1246. A warranty that the Class Vehicles were in merchantable condition and fit for the
18   ordinary purpose for which vehicles are used is implied by law pursuant to Utah Code §§ 70A-2-
19   314 and 70A-2a-212.
20               1247. Fiat and FCA sold and/or leased Class Vehicles that were not in merchantable
21   condition and/or fit for their ordinary purpose in violation of the implied warranty. The Class
22   Vehicles were not in merchantable condition because their design violated state and federal laws.
23   The Class Vehicles were not fit for their ordinary purpose as they were built to evade state and
24   federal emission standards.
25               1248. Fiat’s and FCA’s breaches of the implied warranty of merchantability caused
26   damage to Plaintiff and the Utah State Class. The amount of damages due will be proven at trial.
27

28

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 1                      46.     Vermont
 2                                  BREACH OF EXPRESS WARRANTY
                                  (Vt. Stat. Tit. Ann. 9A, §§ 2-313 and 2A-210)
 3

 4               1249. Plaintiffs reallege and incorporate by reference all preceding allegations as though

 5   fully set forth herein.

 6
                 1250. This Count is brought on behalf of the Vermont State Class against Fiat and FCA.
 7
                 1251. Fiat and FCA are and were at all relevant times “merchants” with respect to motor
 8
     vehicles under Vt. Stat. Tit. 9A, § 2-104(1) and 2A-103(1)(t), and “sellers” of motor vehicles
 9
     under § 2-103(1)(d).
10
                 1252. With respect to leases, Fiat and FCA are and were all relevant times “lessors” of
11
     motor vehicles under Vt. Stat. Tit. 9A, § 2A-103(1)(p).
12
                 1253. The Class Vehicles are and were at all relevant times “goods” within the meaning
13
     of Vt. Stat. Tit. 9A, §§ 2-105(1) and 2A-103(1)(h).
14
                 1254. Federal law requires manufacturers of light-duty vehicles to provide two federal
15
     emission control warranties: a “Performance Warranty” and a “Design and Defect Warranty.”
16
     The Performance Warranty applies to repairs that are required during the first two years or 24,000
17
     miles, whichever occurs first, when a vehicle fails an emissions test. Under this warranty, certain
18
     major emission control components are covered for the first eight years or 80,000 miles,
19
     whichever comes first. These major emission control components subject to the longer warranty
20
     include the catalytic converters, the electronic engine control unit (ECU), and the onboard
21
     emissions diagnostic device or computer. The Design and Defect Warranty covers repair of
22
     emission control or emission related parts which fail to function or function improperly due to a
23
     defect in materials or workmanship. This warranty provides protection for two years or 24,000
24
     miles, whichever comes first, or, for the major emission control components, for eight years or
25
     80,000 miles, whichever comes first.
26

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 1               1255. Fiat and FCA provided these warranties to the Vermont State Class. These
 2   warranties formed the basis of the bargain that was reached when the Vermont State Class
 3   purchased or leased their Class Vehicles.
 4               1256. However, Fiat and FCA knew or should have known that the warranties were false
 5   and/or misleading. Fiat and FCA were aware that the emissions systems in the Class Vehicles
 6   sold and leased to the Vermont State Class were designed to deactivate under real-world driving
 7   conditions, and to emit oxides of nitrogen within legal limits only when undergoing emissions
 8   testing, and therefore, knew that the emission systems contained defects.
 9               1257. The Vermont State Class reasonably relied on Fiat’s and FCA’s express warranties
10   concerning emissions when purchasing or leasing the Class Vehicles. However, the Class
11   Vehicles did not perform as warranted. Unbeknownst to the Vermont State Class, the Class
12   Vehicles were designed to pollute at higher than legal limits during normal driving, and could not
13   achieve advertised performance and efficiency metrics without this cheating design. This design
14   and the devices that effectuate it are defects. Fiat and FCA therefore breached their express
15   warranty by providing a product containing defects that were never disclosed to the Vermont
16   State Class.
17               1258. Any opportunity to cure the express breach is unnecessary and futile.
18               1259. As a direct and proximate result of Fiat’s and FCA’s breach of express warranties,
19   the Vermont State Class suffered significant damages, and seek damages in an amount to be
20   determined at trial.
21                    BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY
                             (Vt. Stat. Ann. Tit. 9A, §§ 2-314 and 2A-212)
22

23               1260. Plaintiffs reallege and incorporate by reference all allegations of the preceding
24   paragraphs as though fully set forth herein.
25
                 1261. This Count is brought on behalf of the Delaware State Class against Fiat and FCA.
26

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 1               1262. Fiat and FCA were at all relevant times “merchants” with respect to motor vehicles
 2   under Vt. Stat. Tit. 9A, § 2-104(1) and 2A-103(1)(t), and “sellers” of motor vehicles under § 2-
 3   103(1)(d).
 4               1263. With respect to leases, Fiat and FCA are and were at all relevant times “lessors” of
 5   motor vehicles under Vt. Stat. Tit. 9A, § 2A-103(1)(p).
 6               1264. The Class Vehicles are and were at all relevant times “goods” within the meaning
 7   of Vt. Stat. Tit. 9A, §§ 2-105(1) and 2A-103(1)(h).
 8               1265. A warranty that the Class Vehicles were in merchantable condition and fit for the
 9   ordinary purpose for which vehicles are used is implied by law pursuant to Vt. Stat. Tit. 9A, §§ 2-
10   314 and 2A-212.
11               1266. Fiat and FCA sold and/or leased Class Vehicles that were not in merchantable
12   condition and/or fit for their ordinary purpose in violation of the implied warranty. The Class
13   Vehicles were not in merchantable condition because their design violated state and federal laws.
14   The Class Vehicles were not fit for their ordinary purpose as they were built to evade state and
15   federal emission standards.
16               1267. Fiat’s and FCA’s breaches of the implied warranty of merchantability caused
17   damage to the Vermont State Class. The amount of damages due will be proven at trial.
18                      47.     Virginia
19                                   BREACH OF EXPRESS WARRANTY
                                    (Va. Code Ann. §§ 8.2-313 and 8.2A-210)
20

21               1268. Plaintiffs reallege and incorporate by reference all preceding allegations as though
22   fully set forth herein.
23               1269. Plaintiffs James Boykin and Brian Hiner (for the purpose of this section,
24   “Plaintiffs”) bring this action on behalf of themselves and the Virginia State Class against Fiat
25   and FCA.
26               1270. Fiat and FCA are and were at all relevant times “merchants” with respect to motor
27   vehicles under Va. Code § 8.2-104(1) and 8.2A-103(1)(t), and “sellers” of motor vehicles under
28   § 8.2-103(1)(d).

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 1               1271. With respect to leases, Fiat and FCA are and were all relevant times “lessors” of
 2   motor vehicles under Va. Code § 8.2A-103(1)(p).
 3               1272. The Class Vehicles are and were at all relevant times “goods” within the meaning
 4   of Va. Code §§ 8.2-105(1) and 8.2A-103(1)(h).
 5               1273. Federal law requires manufacturers of light-duty vehicles to provide two federal
 6   emission control warranties: a “Performance Warranty” and a “Design and Defect Warranty.”
 7   The Performance Warranty applies to repairs that are required during the first two years or 24,000
 8   miles, whichever occurs first, when a vehicle fails an emissions test. Under this warranty, certain
 9   major emission control components are covered for the first eight years or 80,000 miles,
10   whichever comes first. These major emission control components subject to the longer warranty
11   include the catalytic converters, the electronic engine control unit (ECU), and the onboard
12   emissions diagnostic device or computer. The Design and Defect Warranty covers repair of
13   emission control or emission related parts which fail to function or function improperly due to a
14   defect in materials or workmanship. This warranty provides protection for two years or 24,000
15   miles, whichever comes first, or, for the major emission control components, for eight years or
16   80,000 miles, whichever comes first.
17               1274. Fiat and FCA provided these warranties to Plaintiffs and the Virginia State Class.
18   These warranties formed the basis of the bargain that was reached when Plaintiffs and the
19   Virginia State Class purchased or leased their Class Vehicles.
20               1275. However, Fiat and FCA knew or should have known that the warranties were false
21   and/or misleading. Fiat and FCA were aware that the emissions systems in the Class Vehicles
22   sold and leased to Plaintiffs and the Virginia State Class were designed to deactivate under real-
23   world driving conditions, and to emit oxides of nitrogen within legal limits only when undergoing
24   emissions testing, and therefore, knew that the emission systems contained defects.
25               1276. Plaintiffs and the Virginia State Class reasonably relied on Fiat’s and FCA’s
26   express warranties concerning emissions when purchasing or leasing the Class Vehicles.
27   However, the Class Vehicles did not perform as warranted. Unbeknownst to Plaintiffs and the
28   Virginia State Class, the Class Vehicles were designed to pollute at higher than legal limits during

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 1   normal driving, and could not achieve advertised performance and efficiency metrics without this
 2   cheating design. This design and the devices that effectuate it are defects. Fiat and FCA
 3   therefore breached their express warranty by providing a product containing defects that were
 4   never disclosed to Plaintiffs and the Virginia State Class.
 5               1277. Any opportunity to cure the express breach is unnecessary and futile.
 6               1278. As a direct and proximate result of Fiat’s and FCA’s breach of express warranties,
 7   Plaintiffs and the Virginia State Class suffered significant damages, and seek damages in an
 8   amount to be determined at trial.
 9                    BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY
                               (Va. Code Ann. §§ 8.2-314 and 8.2A-212)
10

11               1279. Plaintiffs reallege and incorporate by reference all allegations of the preceding
12   paragraphs as though fully set forth herein.
13               1280. Plaintiffs James Boykin and Brian Hiner (for the purpose of this section,
14   “Plaintiffs”) bring this action on behalf of themselves and the Virginia State Class against Fiat
15   and FCA.
16               1281. Fiat and FCA were at all relevant times “merchants” with respect to motor vehicles
17   under Va. Code § 8.2-104(1) and 8.2A-103(1)(t), and “sellers” of motor vehicles under § 8.2-
18   103(1)(d).
19               1282. With respect to leases, Fiat and FCA are and were at all relevant times “lessors” of
20   motor vehicles under Va. Code § 8.2A-103(1)(p).
21               1283. The Class Vehicles are and were at all relevant times “goods” within the meaning
22   of Va. Code §§ 8.2-105(1) and 8.2A-103(1)(h).
23               1284. A warranty that the Class Vehicles were in merchantable condition and fit for the
24   ordinary purpose for which vehicles are used is implied by law pursuant to Va. Code §§ 8.2-314
25   and 8.2A-212.
26               1285. Fiat and FCA sold and/or leased Class Vehicles that were not in merchantable
27   condition and/or fit for their ordinary purpose in violation of the implied warranty. The Class
28   Vehicles were not in merchantable condition because their design violated state and federal laws.

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 1   The Class Vehicles were not fit for their ordinary purpose as they were built to evade state and
 2   federal emission standards.
 3               1286. Fiat’s and FCA’s breaches of the implied warranty of merchantability caused
 4   damage to Plaintiffs and the Virginia State Class. The amount of damages due will be proven at
 5   trial.
 6                      48.     Washington
 7                                 BREACH OF EXPRESS WARRANTY
                                (Wash. Rev. Code §§ 62A.2-313 and 62A.2A-210)
 8

 9               1287. Plaintiffs reallege and incorporate by reference all preceding allegations as though
10   fully set forth herein.
11               1288. Plaintiffs Karl Calhoun, Andrew Loescher, and Jesse Sandifer (for the purpose of
12   this section, “Plaintiffs”) bring this action on behalf of themselves and the Washington State
13   Class against Fiat and FCA.
14               1289. Fiat and FCA are and were at all relevant times “merchants” with respect to motor
15   vehicles under Wash. Rev. Code § 62A.2-104(1) and 62A.2A-103(1)(t), and “sellers” of motor
16   vehicles under § 2.103(a)(4).
17               1290. With respect to leases, Fiat and FCA are and were all relevant times “lessors” of
18   motor vehicles under Wash. Rev. Code § 62A.2A-103(1)(p).
19               1291. The Class Vehicles are and were at all relevant times “goods” within the meaning
20   of Wash. Rev. Code §§ 62A.2-105(1) and 62A.2A-103(1)(h).
21               1292. Federal law requires manufacturers of light-duty vehicles to provide two federal
22   emission control warranties: a “Performance Warranty” and a “Design and Defect Warranty.”
23   The Performance Warranty applies to repairs that are required during the first two years or 24,000
24   miles, whichever occurs first, when a vehicle fails an emissions test. Under this warranty, certain
25   major emission control components are covered for the first eight years or 80,000 miles,
26   whichever comes first. These major emission control components subject to the longer warranty
27   include the catalytic converters, the electronic engine control unit (ECU), and the onboard
28   emissions diagnostic device or computer. The Design and Defect Warranty covers repair of

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 1   emission control or emission related parts which fail to function or function improperly due to a
 2   defect in materials or workmanship. This warranty provides protection for two years or 24,000
 3   miles, whichever comes first, or, for the major emission control components, for eight years or
 4   80,000 miles, whichever comes first.
 5               1293. Fiat and FCA provided these warranties to Plaintiffs and the Washington State
 6   Class. These warranties formed the basis of the bargain that was reached when Plaintiffs and the
 7   Washington State Class purchased or leased their Class Vehicles.
 8               1294. However, Fiat and FCA knew or should have known that the warranties were false
 9   and/or misleading. Fiat and FCA were aware that the emissions systems in the Class Vehicles
10   sold and leased to Plaintiffs and the Washington State Class were designed to deactivate under
11   real-world driving conditions, and to emit oxides of nitrogen within legal limits only when
12   undergoing emissions testing, and therefore, knew that the emission systems contained defects.
13               1295. Plaintiffs and the Washington State Class reasonably relied on Fiat’s and FCA’s
14   express warranties concerning emissions when purchasing or leasing the Class Vehicles.
15   However, the Class Vehicles did not perform as warranted. Unbeknownst to Plaintiffs and the
16   Washington State Class, the Class Vehicles were designed to pollute at higher than legal limits
17   during normal driving, and could not achieve advertised performance and efficiency metrics
18   without this cheating design. This design and the devices that effectuate it are defects. Fiat and
19   FCA therefore breached their express warranty by providing a product containing defects that
20   were never disclosed to Plaintiffs and the Washington State Class.
21               1296. Any opportunity to cure the express breach is unnecessary and futile.
22               1297. As a direct and proximate result of Fiat’s and FCA’s breach of express warranties,
23   Plaintiffs and the Washington State Class suffered significant damages, and seek damages in an
24   amount to be determined at trial.
25                    BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY
                            (Wash. Rev. Code §§ 62A.2-314 and 62A.2A-212)
26

27               1298. Plaintiffs reallege and incorporate by reference all allegations of the preceding
28   paragraphs as though fully set forth herein.

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 1               1299. Plaintiffs Karl Calhoun, Andrew Loescher, and Jesse Sandifer (for the purpose of
 2   this section, “Plaintiffs”) bring this action on behalf of themselves and the Washington State
 3   Class against Fiat and FCA.
 4               1300. Fiat and FCA were at all relevant times “merchants” with respect to motor vehicles
 5   under Wash. Rev. Code § 62A.2-104(1) and 62A.2A-103(1)(t), and “sellers” of motor vehicles
 6   under § 2.103(a)(4).
 7               1301. With respect to leases, Fiat and FCA are and were at all relevant times “lessors” of
 8   motor vehicles under Wash. Rev. Code § 62A.2A-103(1)(p).
 9               1302. The Class Vehicles are and were at all relevant times “goods” within the meaning
10   of Wash. Rev. Code §§ 62A.2-105(1) and 62A.2A-103(1)(h).
11               1303. A warranty that the Class Vehicles were in merchantable condition and fit for the
12   ordinary purpose for which vehicles are used is implied by law pursuant to Wash. Rev. Code
13   §§ 62A.2-314 and 62A.2A-212.
14               1304. Fiat and FCA sold and/or leased Class Vehicles that were not in merchantable
15   condition and/or fit for their ordinary purpose in violation of the implied warranty. The Class
16   Vehicles were not in merchantable condition because their design violated state and federal laws.
17   The Class Vehicles were not fit for their ordinary purpose as they were built to evade state and
18   federal emission standards.
19               1305. Fiat’s and FCA’s breaches of the implied warranty of merchantability caused
20   damage to the Plaintiffs and the Washington State Class. The amount of damages due will be
21   proven at trial.
22                      49.     West Virginia
23                                   BREACH OF EXPRESS WARRANTY
                                    (W. Va. Code §§ 46-2-313 and 46-2A-210)
24

25               1306. Plaintiffs reallege and incorporate by reference all preceding allegations as though
26   fully set forth herein.
27               1307. This count is brought on behalf of the West Virginia State Class against Fiat and
28   FCA.

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 1               1308. Fiat and FCA are and were at all relevant times “merchants” with respect to motor
 2   vehicles under W. Va. Code §§ 46-2-104(1) and 46-2A-103(1)(t), and “sellers” of motor vehicles
 3   under § 46-2-103(1)(d).
 4               1309. With respect to leases, Fiat and FCA are and were all relevant times “lessors” of
 5   motor vehicles under W. Va. Code § 46-2A-103(1)(p).
 6               1310. The Class Vehicles are and were at all relevant times “goods” within the meaning
 7   of W. Va. Code §§ 46-2-105(1) and 46-2A-103(1)(h).
 8               1311. Federal law requires manufacturers of light-duty vehicles to provide two federal
 9   emission control warranties: a “Performance Warranty” and a “Design and Defect Warranty.”
10   The Performance Warranty applies to repairs that are required during the first two years or 24,000
11   miles, whichever occurs first, when a vehicle fails an emissions test. Under this warranty, certain
12   major emission control components are covered for the first eight years or 80,000 miles,
13   whichever comes first. These major emission control components subject to the longer warranty
14   include the catalytic converters, the electronic engine control unit (ECU), and the onboard
15   emissions diagnostic device or computer. The Design and Defect Warranty covers repair of
16   emission control or emission related parts which fail to function or function improperly due to a
17   defect in materials or workmanship. This warranty provides protection for two years or 24,000
18   miles, whichever comes first, or, for the major emission control components, for eight years or
19   80,000 miles, whichever comes first.
20               1312. Fiat and FCA provided these warranties to the West Virginia State Class. These
21   warranties formed the basis of the bargain that was reached when the West Virginia State Class
22   purchased or leased their Class Vehicles.
23               1313. However, Fiat and FCA knew or should have known that the warranties were false
24   and/or misleading. Fiat and FCA were aware that the emissions systems in the Class Vehicles
25   sold and leased to the West Virginia State Class were designed to deactivate under real-world
26   driving conditions, and to emit oxides of nitrogen within legal limits only when undergoing
27   emissions testing, and therefore, knew that the emission systems contained defects.
28

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 1               1314. The West Virginia State Class reasonably relied on Fiat’s and FCA’s express
 2   warranties concerning emissions when purchasing or leasing the Class Vehicles. However, the
 3   Class Vehicles did not perform as warranted. Unbeknownst to the West Virginia State Class, the
 4   Class Vehicles were designed to pollute at higher than legal limits during normal driving, and
 5   could not achieve advertised performance and efficiency metrics without this cheating design.
 6   This design and the devices that effectuate it are defects. Fiat and FCA therefore breached their
 7   express warranty by providing a product containing defects that were never disclosed to the West
 8   Virginia State Class.
 9               1315. Any opportunity to cure the express breach is unnecessary and futile.
10               1316. As a direct and proximate result of Fiat’s and FCA’s breach of express warranties,
11   the West Virginia State Class suffered significant damages, and seek damages in an amount to be
12   determined at trial.
13                    BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY
                              (W. Va. Code §§ 46-2-314 and 46-2A-212)
14

15               1317. Plaintiffs reallege and incorporate by reference all allegations of the preceding
16   paragraphs as though fully set forth herein.
17               1318. This count is brought on behalf of the West Virginia State Class against Fiat and
18   FCA.
19               1319. Fiat and FCA were at all relevant times “merchants” with respect to motor vehicles
20   under W. Va. Code §§ 46-2-104(1) and 46-2A-103(1)(t), and “sellers” of motor vehicles under
21   § 46-2-103(1)(d).
22               1320. With respect to leases, Fiat and FCA are and were at all relevant times “lessors” of
23   motor vehicles under W. Va. Code § 46-2A-103(1)(p).
24               1321. The Class Vehicles are and were at all relevant times “goods” within the meaning
25   of W. Va. Code §§ 46-2-105(1) and 46-2A-103(1)(h).
26               1322. A warranty that the Class Vehicles were in merchantable condition and fit for the
27   ordinary purpose for which vehicles are used is implied by law pursuant to W. Va. Code §§ 46-2-
28   314 and 46-2A-212.

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 1               1323. Fiat and FCA sold and/or leased Class Vehicles that were not in merchantable
 2   condition and/or fit for their ordinary purpose in violation of the implied warranty. The Class
 3   Vehicles were not in merchantable condition because their design violated state and federal laws.
 4   The Class Vehicles were not fit for their ordinary purpose as they were built to evade state and
 5   federal emission standards.
 6               1324. Fiat’s and FCA’s breaches of the implied warranty of merchantability caused
 7   damage to the West Virginia State Class. The amount of damages due will be proven at trial.
 8                      50.     Wisconsin
 9                                   BREACH OF EXPRESS WARRANTY
                                      (Wis. Stat. §§ 402.313 and 411.210)
10

11               1325. Plaintiffs reallege and incorporate by reference all preceding allegations as though
12   fully set forth herein.
13               1326. Plaintiffs Josh Claflin and Wayne Tonnesen (for the purpose of this section,
14   “Plaintiffs”) bring this action on behalf of themselves and the Wisconsin State Class against Fiat
15   and FCA.
16               1327. Fiat and FCA are and were at all relevant times “merchants” with respect to motor
17   vehicles under Wis. Stat. § 402.104(3) and 411.103(1)(t), and “sellers” of motor vehicles under
18   § 402.103(1)(d).
19               1328. With respect to leases, Fiat and FCA are and were all relevant times “lessors” of
20   motor vehicles under Wis. Stat. § 411.103(1)(p).
21               1329. The Class Vehicles are and were at all relevant times “goods” within the meaning
22   of Wis. Stat. §§ 402.105(1)(c) and 411.103(1)(h).
23               1330. Federal law requires manufacturers of light-duty vehicles to provide two federal
24   emission control warranties: a “Performance Warranty” and a “Design and Defect Warranty.”
25   The Performance Warranty applies to repairs that are required during the first two years or 24,000
26   miles, whichever occurs first, when a vehicle fails an emissions test. Under this warranty, certain
27   major emission control components are covered for the first eight years or 80,000 miles,
28   whichever comes first. These major emission control components subject to the longer warranty

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 1   include the catalytic converters, the electronic engine control unit (ECU), and the onboard
 2   emissions diagnostic device or computer. The Design and Defect Warranty covers repair of
 3   emission control or emission related parts which fail to function or function improperly due to a
 4   defect in materials or workmanship. This warranty provides protection for two years or 24,000
 5   miles, whichever comes first, or, for the major emission control components, for eight years or
 6   80,000 miles, whichever comes first.
 7               1331. Fiat and FCA provided these warranties to Plaintiffs and the Wisconsin State
 8   Class. These warranties formed the basis of the bargain that was reached when Plaintiffs and the
 9   Wisconsin State Class purchased or leased their Class Vehicles.
10               1332. However, Fiat and FCA knew or should have known that the warranties were false
11   and/or misleading. Fiat and FCA were aware that the emissions systems in the Class Vehicles
12   sold and leased to Plaintiffs and the Wisconsin State Class were designed to deactivate under real-
13   world driving conditions, and to emit oxides of nitrogen within legal limits only when undergoing
14   emissions testing, and therefore, knew that the emission systems contained defects.
15               1333. Plaintiffs and the Wisconsin State Class reasonably relied on Fiat’s and FCA’s
16   express warranties concerning emissions when purchasing or leasing the Class Vehicles.
17   However, the Class Vehicles did not perform as warranted. Unbeknownst to Plaintiffs and the
18   Wisconsin State Class, the Class Vehicles were designed to pollute at higher than legal limits
19   during normal driving, and could not achieve advertised performance and efficiency metrics
20   without this cheating design. This design and the devices that effectuate it are defects. Fiat and
21   FCA therefore breached their express warranty by providing a product containing defects that
22   were never disclosed to Plaintiffs and the Wisconsin State Class.
23               1334. Any opportunity to cure the express breach is unnecessary and futile.
24               1335. As a direct and proximate result of Fiat’s and FCA’s breach of express warranties,
25   Plaintiffs and the Wisconsin State Class suffered significant damages, and seek damages in an
26   amount to be determined at trial.
27

28

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 1                    BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY
                                 (Wis. Stat. §§ 402.314 and 411.212)
 2

 3               1336. Plaintiffs reallege and incorporate by reference all allegations of the preceding

 4   paragraphs as though fully set forth herein.

 5               1337. Plaintiffs Josh Claflin and Wayne Tonnesen (for the purpose of this section,

 6   “Plaintiffs”) bring this action on behalf of themselves and the Wisconsin State Class against Fiat

 7   and FCA.

 8               1338. Fiat and FCA were at all relevant times “merchants” with respect to motor vehicles

 9   under Wis. Stat. § 402.104(3) and 411.103(1)(t), and “sellers” of motor vehicles under

10   § 402.103(1)(d).

11               1339. With respect to leases, Fiat and FCA are and were at all relevant times “lessors” of

12   motor vehicles under Wis. Stat. § 411.103(1)(p).

13               1340. The Class Vehicles are and were at all relevant times “goods” within the meaning

14   of Wis. Stat. §§ 402.105(1)(c) and 411.103(1)(h).

15               1341. A warranty that the Class Vehicles were in merchantable condition and fit for the

16   ordinary purpose for which vehicles are used is implied by law pursuant to Wis. Stat. §§ 402.314

17   and 411.212.

18               1342. Fiat and FCA sold and/or leased Class Vehicles that were not in merchantable

19   condition and/or fit for their ordinary purpose in violation of the implied warranty. The Class

20   Vehicles were not in merchantable condition because their design violated state and federal laws.

21   The Class Vehicles were not fit for their ordinary purpose as they were built to evade state and

22   federal emission standards.

23               1343. Fiat’s and FCA’s breaches of the implied warranty of merchantability caused

24   damage to the Plaintiffs and the Wisconsin State Class. The amount of damages due will be

25   proven at trial.

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 1                      51.     Wyoming
 2                                    BREACH OF EXPRESS WARRANTY
                                           (Wyo. Stat. § 34.1-2-313)
 3

 4               1344. Plaintiffs reallege and incorporate by reference all preceding allegations as though

 5   fully set forth herein.

 6               1345. Plaintiff Kelly Ruiz (for the purpose of this section, “Plaintiff”) brings this action

 7   on behalf of herself and the Wyoming State Class against Fiat and FCA.

 8               1346. Fiat and FCA are and were at all relevant times “merchants” with respect to motor

 9   vehicles under Wyo. Stat. §§ 34.1-2-104(a) and 34.1-2.A-103(a)(xx), and “sellers” of motor

10   vehicles under § 34.1-2-103(a)(iv).

11               1347. With respect to leases, Fiat and FCA are and were all relevant times “lessors” of

12   motor vehicles under Wyo. Stat. § 34.1-2.A-103(a)(xvi).

13               1348. The Class Vehicles are and were at all relevant times “goods” within the meaning

14   of Wyo. Stat. §§ 34.1-2-105(a) and 34.1-2.A-103(a)(viii).

15               1349. Federal law requires manufacturers of light-duty vehicles to provide two federal

16   emission control warranties: a “Performance Warranty” and a “Design and Defect Warranty.”

17   The Performance Warranty applies to repairs that are required during the first two years or 24,000

18   miles, whichever occurs first, when a vehicle fails an emissions test. Under this warranty, certain

19   major emission control components are covered for the first eight years or 80,000 miles,

20   whichever comes first. These major emission control components subject to the longer warranty

21   include the catalytic converters, the electronic engine control unit (ECU), and the onboard

22   emissions diagnostic device or computer. The Design and Defect Warranty covers repair of

23   emission control or emission related parts which fail to function or function improperly due to a

24   defect in materials or workmanship. This warranty provides protection for two years or 24,000

25   miles, whichever comes first, or, for the major emission control components, for eight years or

26   80,000 miles, whichever comes first.

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 1               1350. Fiat and FCA provided these warranties to Plaintiff and the Wyoming State Class.
 2   These warranties formed the basis of the bargain that was reached when Plaintiff and the
 3   Wyoming State Class purchased or leased their Class Vehicles.
 4               1351. However, Fiat and FCA knew or should have known that the warranties were false
 5   and/or misleading. Fiat and FCA were aware that the emissions systems in the Class Vehicles
 6   sold and leased to Plaintiff and the Wyoming State Class were designed to deactivate under real-
 7   world driving conditions, and to emit oxides of nitrogen within legal limits only when undergoing
 8   emissions testing, and therefore, knew that the emission systems contained defects.
 9               1352. Plaintiff and the Wyoming State Class reasonably relied on Fiat’s and FCA’s
10   express warranties concerning emissions when purchasing or leasing the Class Vehicles.
11   However, the Class Vehicles did not perform as warranted. Unbeknownst to Plaintiff and the
12   Wyoming State Class, the Class Vehicles were designed to pollute at higher than legal limits
13   during normal driving, and could not achieve advertised performance and efficiency metrics
14   without this cheating design. This design and the devices that effectuate it are defects. Fiat and
15   FCA therefore breached their express warranty by providing a product containing defects that
16   were never disclosed to Plaintiff and the Wyoming State Class.
17               1353. Any opportunity to cure the express breach is unnecessary and futile.
18               1354. As a direct and proximate result of Fiat’s and FCA’s breach of express warranties,
19   Plaintiff and the Wyoming State Class suffered significant damages, and seek damages in an
20   amount to be determined at trial.
21                    BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY
                              (Wyo. Stat. §§ 34.1-2-314 and 34.1-2.A-212)
22

23               1355. Plaintiffs reallege and incorporate by reference all allegations of the preceding
24   paragraphs as though fully set forth herein.
25               1356. Plaintiff Kelly Ruiz (for the purpose of this section, “Plaintiff”) brings this action
26   on behalf of herself and the Wyoming State Class against Fiat and FCA.
27

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 1               1357. Fiat and FCA were at all relevant times “merchants” with respect to motor vehicles
 2   under Wyo. Stat. §§ 34.1-2-104(a) and 34.1-2.A-103(a)(xx), and “sellers” of motor vehicles
 3   under § 34.1-2-103(a)(iv).
 4               1358. With respect to leases, Fiat and FCA are and were at all relevant times “lessors” of
 5   motor vehicles under Wyo. Stat. § 34.1-2.A-103(a)(xvi).
 6               1359. The Class Vehicles are and were at all relevant times “goods” within the meaning
 7   of Wyo. Stat. §§ 34.1-2-105(a) and 34.1-2.A-103(a)(viii).
 8               1360. A warranty that the Class Vehicles were in merchantable condition and fit for the
 9   ordinary purpose for which vehicles are used is implied by law pursuant to Wyo. Stat. §§ 34.1-2-
10   314 and 34.1-2.A-212.
11               1361. Fiat and FCA sold and/or leased Class Vehicles that were not in merchantable
12   condition and/or fit for their ordinary purpose in violation of the implied warranty. The Class
13   Vehicles were not in merchantable condition because their design violated state and federal laws.
14   The Class Vehicles were not fit for their ordinary purpose as they were built to evade state and
15   federal emission standards.
16               1362. Fiat’s and FCA’s breaches of the implied warranty of merchantability caused
17   damage to Plaintiff and the Wyoming State Class. The amount of damages due will be proven at
18   trial.
19   II.         STATE CLASS CONSUMER PROTECTION CLAIMS
20
                   VIOLATION OF ALABAMA DECEPTIVE TRADE PRACTICES ACT
21                                 (Ala. Code § 8-19-1, et seq.)
22               1363. Plaintiffs incorporate by reference each preceding paragraph as though fully set
23   forth herein.
24               1364. Plaintiffs Chatom Motor Company, Inc., Victor Feldman, and Nelson John
25   Stephens (for the purpose of this section, “Plaintiffs”) bring this action on behalf of themselves
26   and the Alabama State Class against all Defendants.
27               1365. FCA, Fiat, VM Italy, VM America, Bosch GmbH, Bosch LLC, Sergio
28   Marchionne, Plaintiffs, and the Alabama State Class members are “persons” within the meaning

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 1   of Ala. Code § 8-19-3(5). Plaintiffs and the Alabama State Class members are “consumers”
 2   within the meaning of Ala. Code § 8-19-3(2).
 3               1366. The Class Vehicles are “goods” within the meaning of Ala. Code § 8-19-3(3).
 4               1367. FCA, Fiat, VM Italy, VM America, Bosch GmbH, Bosch LLC, and Sergio
 5   Marchionne are engaged in “trade” or “commerce” within the meaning of Ala. Code § 8-19-3(8).
 6               1368. The Alabama Deceptive Trade Practices Act (“Alabama DTPA”) makes unlawful
 7   several specific acts, including:“(5) Representing that goods or services have sponsorship,
 8   approval, characteristics, ingredients, uses, benefits, or qualities that they do not have,” “(7)
 9   Representing that goods or services are of a particular standard, quality, or grade, or that goods
10   are of a particular style or model, if they are of another,” and “(27) Engaging in any other
11   unconscionable, false, misleading, or deceptive act or practice in the conduct of trade or
12   commerce.” Ala. Code § 8-19-5.
13               1369. In the course of their business, Defendants Fiat Chrysler, VM Motori, Bosch, and
14   Sergio Marchionne, through their agents, employees, and/or subsidiaries, violated the Alabama
15   DTPA.
16               1370. As detailed in the common law fraud allegations: (1) Fiat Chrysler affirmatively
17   misrepresented the environmental friendliness and emissions of the Class Vehicles through the
18   EcoDiesel badge—a material fact that was false because the Defendants developed and installed
19   emission cheating components in the Class Vehicles that caused them to pollute excessively in
20   real-world conditions; (2) Fiat Chrysler touted, through the EcoDiesel badge and uniform and
21   pervasive consumer communications, the Class Vehicles’ fuel efficiency and performance, and
22   the Defendants concealed that the fuel efficiency and performance could be achieved only
23   through emission control devices in the Class Vehicles that caused them to pollute excessively in
24   real-world conditions; and (3) the Defendants developed and installed emission cheating
25   components that caused the Class Vehicles to pollute excessively in real-world conditions, and
26   fraudulently concealed that fact from regulators and Class Members alike. See, e.g., ¶¶ 149-216;
27   337-357. In so doing, and by marketing, offering for sale, and selling the defective Class
28

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 1   Vehicles, Defendants engaged in one or more of the following unfair or deceptive acts or
 2   practices as defined in Ala. Code § 8-19-5:
 3                      A.     Causing likelihood of confusion or of misunderstanding as to the approval
 4                             or certification of the Class Vehicles;
 5                      B.     Representing that the Class Vehicles have approval, characteristics, uses,
 6                             benefits, or qualities that they do not have;
 7                      C.     Representing that the Class Vehicles are of a particular standard, quality
 8                             and grade when they are not; and/or
 9                      D.     Advertising the Class Vehicles with the intent not to sell or lease them as
10                             advertised.
11               1371. Defendants’ scheme and concealment of the true characteristics of the EcoDiesel®
12   emission control system were material to Plaintiffs and the Alabama State Class, as Defendants
13   intended. Had they known the truth, Plaintiffs and the Alabama State Class would not have
14   purchased or leased the Class Vehicles, or—if the Class Vehicles’ true nature had been disclosed
15   and mitigated, and the Vehicles rendered legal to sell—would have paid significantly less for
16   them.
17               1372. Plaintiffs and Alabama State Class members had no way of discerning that
18   Defendants’ representations were false and misleading, or otherwise learning the facts that
19   Defendants had concealed or failed to disclose, because Defendants’ emission control software
20   was extremely sophisticated technology. Plaintiffs and Alabama State Class members did not,
21   and could not, unravel Defendants’ deception on their own.
22               1373. Defendants had an ongoing duty to Plaintiffs and the Alabama State Class to
23   refrain from unfair and deceptive practices under the Alabama DTPA in the course of their
24   business. Specifically, Defendants owed Plaintiffs and Alabama State Class members a duty to
25   disclose all the material facts concerning the EcoDiesel® emission control system because they
26   possessed exclusive knowledge, they intentionally concealed it from Plaintiffs and the Alabama
27   State Class, and/or they made misrepresentations that were rendered misleading because they
28   were contradicted by withheld facts.

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 1               1374. Plaintiffs and Alabama State Class members suffered ascertainable loss and actual
 2   damages as a direct and proximate result of Defendants’ concealment, misrepresentations, and/or
 3   failure to disclose material information.
 4               1375. Defendants’ violations present a continuing risk to Plaintiffs and the Alabama
 5   State Class, as well as to the general public. Defendants’ unlawful acts and practices complained
 6   of herein affect the public interest.
 7               1376. Pursuant to Ala. Code § 8-19-10, Plaintiffs and the Alabama State Class seek an
 8   order enjoining Defendants’ unfair and/or deceptive acts or practices and awarding damages,
 9   treble damages, and any other just and proper relief available under the Alabama DTPA.
10               1377. On June 12, 2017, Plaintiff Stephens sent a notice letter to FCA US LLC
11   complying with Ala. Code § 8-19-10(e). Additionally, all Defendants were provided notice of the
12   issues raised in this count and this Complaint by the governmental investigations, the numerous
13   complaints filed against them, and the many individual notice letters sent by Plaintiffs within a
14   reasonable amount of time after the allegations of Class Vehicle defects became public.
15   Moreover, Plaintiffs sent a second notice letter pursuant to Ala. Code § 8-19-10(e) to all
16   Defendants on July 19, 2017. Because Defendants failed to remedy their unlawful conduct within
17   the requisite time period, Plaintiffs seek all damages and relief to which Plaintiffs and the
18   Alabama State Class are entitled.
19
                             VIOLATION OF THE ALASKA UNFAIR TRADE
20                          PRACTICES AND CONSUMER PROTECTION ACT
                                  (Alaska Stat. Ann. § 45.50.471, et seq.)
21

22               1378. Plaintiffs incorporate by reference each preceding paragraph as though fully set
23   forth herein.
24               1379. Plaintiffs Matthew Johnson and Amanda Kobussen (for purposes of this section,
25   “Plaintiffs”) bring this action on behalf of themselves and the Alaska State Class against all
26   Defendants.
27               1380. The Alaska Unfair Trade Practices and Consumer Protection Act (“Alaska CPA”)
28   declares unfair methods of competition and unfair or deceptive acts or practices in the conduct of

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 1   trade or commerce unlawful, including: “(4) representing that goods or services have sponsorship,
 2   approval, characteristics, ingredients, uses, benefits, or quantities that they do not have or that a
 3   person has a sponsorship, approval, status, affiliation, or connection that the person does not
 4   have;” “(6) representing that goods or services are of a particular standard, quality, or grade, or
 5   that goods are of a particular style or model, if they are of another;” “(8) advertising goods or
 6   services with intent not to sell them as advertised;” or “(12) using or employing deception, fraud,
 7   false pretense, false promise, misrepresentation, or knowingly concealing, suppressing, or
 8   omitting a material fact with intent that others rely upon the concealment, suppression or
 9   omission in connection with the sale or advertisement of goods or services whether or not a
10   person has in fact been misled, deceived or damaged.” Alaska Stat. Ann. § 45.50.471.
11               1381. In the course of their business, Defendants Fiat Chrysler, VM Motori, Bosch, and
12   Sergio Marchionne, through their agents, employees, and/or subsidiaries, violated the Alaska
13   CPA.
14               1382. As detailed in the common law fraud allegations: (1) Fiat Chrysler affirmatively
15   misrepresented the environmental friendliness and emissions of the Class Vehicles through the
16   EcoDiesel badge—a material fact that was false because the Defendants developed and installed
17   emission cheating components in the Class Vehicles that caused them to pollute excessively in
18   real-world conditions; (2) Fiat Chrysler touted, through the EcoDiesel badge and uniform and
19   pervasive consumer communications, the Class Vehicles’ fuel efficiency and performance, and
20   the Defendants concealed that the fuel efficiency and performance could be achieved only
21   through emission control devices in the Class Vehicles that caused them to pollute excessively in
22   real-world conditions; and (3) the Defendants developed and installed emission cheating
23   components that caused the Class Vehicles to pollute excessively in real-world conditions, and
24   fraudulently concealed that fact from regulators and Class Members alike. See, e.g., ¶¶ 149-216;
25   337-357. In so doing, and by marketing, offering for sale, and selling the defective Class
26   Vehicles, Defendants engaged in one or more of the following unfair or deceptive acts or
27   practices as defined in Alaska Stat. Ann. § 45.50.471:
28

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 1                      A.     Causing likelihood of confusion or of misunderstanding as to the approval
 2                             or certification of the Class Vehicles;
 3                      B.     Representing that the Class Vehicles have approval, characteristics, uses,
 4                             or benefits that they do not have;
 5                      C.     Representing that the Class Vehicles are of a particular standard, quality
 6                             and grade when they are not;
 7                      D.     Advertising the Class Vehicles with the intent not to sell or lease them as
 8                             advertised;
 9                      E.     Engaging in other conduct which created a likelihood of confusion or of
10                             misunderstanding; and/or
11                      F.     Using or employing deception, fraud, false pretense, false promise or
12                             misrepresentation, or the concealment, suppression or omission of a
13                             material fact with intent that others rely upon such concealment,
14                             suppression or omission, in connection with the advertisement and
15                             sale/lease of the Class Vehicles, whether or not any person has in fact been
16                             misled, deceived or damaged thereby.
17               1383. Defendants’ scheme and concealment of the true characteristics of the EcoDiesel®
18   emission control system were material to Plaintiffs and the Alaska State Class, as Defendants
19   intended. Had they known the truth, Plaintiffs and the Alaska State Class would not have
20   purchased or leased the Class Vehicles, or—if the Class Vehicles’ true nature had been disclosed
21   and mitigated, and the Vehicles rendered legal to sell—would have paid significantly less for
22   them.
23               1384. Plaintiffs and Alaska State Class members had no way of discerning that
24   Defendants’ representations were false and misleading, or otherwise learning the facts that
25   Defendants had concealed or failed to disclose, because Defendants’ emission control software
26   was extremely sophisticated technology. Plaintiffs and Alaska State Class members did not, and
27   could not, unravel Defendants’ deception on their own.
28

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 1               1385. Defendants had an ongoing duty to Plaintiffs and the Alaska State Class to refrain
 2   from unfair and deceptive practices under the Alaska CPA in the course of their business.
 3   Specifically, Defendants owed Plaintiffs and Alaska State Class members a duty to disclose all
 4   the material facts concerning the EcoDiesel® emission control system because they possessed
 5   exclusive knowledge, they intentionally concealed it from Plaintiffs and the Alaska State Class,
 6   and/or they made misrepresentations that were rendered misleading because they were
 7   contradicted by withheld facts.
 8               1386. Plaintiffs and Alaska State Class members suffered ascertainable loss and actual
 9   damages as a direct and proximate result of Defendants’ concealment, misrepresentations, and/or
10   failure to disclose material information.
11               1387. Defendants’ violations present a continuing risk to Plaintiffs and the Alaska State
12   Class, as well as to the general public. Defendants’ unlawful acts and practices complained of
13   herein affect the public interest.
14               1388. Pursuant to Alaska Stat. Ann. §§ 45.50.531 and 45.50.535, Plaintiffs and the
15   Alaska State Class seek an order enjoining Defendants’ unfair and/or deceptive acts or practices,
16   and awarding damages, punitive damages, treble damages, and any other just and proper relief
17   available under the Alaska CPA.
18               1389. On November 28, 2016, a notice letter was sent to FCA US LLC complying with
19   Alaska Stat. § 45.50.535(b)(1). Additionally, all Defendants were provided notice of the issues
20   raised in this count and this Complaint by the governmental investigations, the numerous
21   complaints filed against them, and the many individual notice letters sent by Plaintiffs within a
22   reasonable amount of time after the allegations of Class Vehicle defects became public. Plaintiffs
23   sent a second notice letter pursuant to Alaska Stat. § 45.50.535(b)(1) to all Defendants on July 19,
24   2017. Because Defendants failed to remedy their unlawful conduct within the requisite time
25   period, Plaintiffs and the Alaska State Class members seek all damages and relief to which they
26   are entitled.
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 1
                              VIOLATIONS OF THE CONSUMER FRAUD ACT
 2                                  (Ariz. Rev. Stat. § 44-1521, et seq.)
 3               1390. Plaintiffs incorporate by reference each preceding paragraph as though fully set

 4   forth herein.

 5               1391. Plaintiff Gregory Giauque, (for the purpose of this section, “Plaintiff”) bring this

 6   action on behalf of themselves and the Arizona State Class against all Defendants.

 7               1392. FCA, Fiat, VM Italy, VM America, Bosch GmbH, Bosch LLC, Sergio

 8   Marchionne, Plaintiff, and the Arizona State Class members are “persons” within the meaning of

 9   Ariz. Rev. Stat. § 44-1521(6).

10               1393. The Class Vehicles are “merchandise” within the meaning of Ariz. Rev. Stat. § 44-

11   1521(5).

12               1394. The Arizona Consumer Fraud Act (“Arizona CFA”) provides that “[t]he act, use or

13   employment by any person of any deception, deceptive act or practice, fraud, …

14   misrepresentation, or concealment, suppression or omission of any material fact with intent that

15   others rely upon such concealment, suppression or omission, in connection with the sale … of any

16   merchandise whether or not any person has in fact been misled, deceived or damaged thereby, is

17   declared to be an unlawful practice.” Ariz. Rev. Stat. § 44-1522(A).

18               1395. In the course of their business, Defendants Fiat Chrysler, VM Motori, Bosch, and

19   Marchionne, through their agents, employees, and/or subsidiaries, violated the Arizona CFA.

20               1396. As detailed in the common law fraud allegations: (1) Fiat Chrysler affirmatively

21   misrepresented the environmental friendliness and emissions of the Class Vehicles through the

22   EcoDiesel badge—a material fact that was false because the Defendants developed and installed

23   emission cheating components in the Class Vehicles that caused them to pollute excessively in

24   real-world conditions; (2) Fiat Chrysler touted, through the EcoDiesel badge and uniform and

25   pervasive consumer communications, the Class Vehicles’ fuel efficiency and performance, and

26   the Defendants concealed that the fuel efficiency and performance could be achieved only

27   through emission control devices in the Class Vehicles that caused them to pollute excessively in

28   real-world conditions; and (3) the Defendants developed and installed emission cheating

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 1   components that caused the Class Vehicles to pollute excessively in real-world conditions, and
 2   fraudulently concealed that fact from regulators and Class Members alike. See, e.g., ¶¶ 149-216;
 3   337-357. In so doing, and by marketing, offering for sale, and selling the defective Class
 4   Vehicles, Defendants engaged in deceptive acts or practices, as outlined in Ariz. Rev. Stat. § 44-
 5   1522(A), including using or employing deception, fraud, false pretense, false promise or
 6   misrepresentation, or the concealment, suppression or omission of a material fact with intent that
 7   others rely upon such concealment, suppression or omission, in connection with the
 8   advertisement and sale/lease of the Class Vehicles.
 9               1397. Defendants’ scheme and concealment of the true characteristics of the EcoDiesel®
10   emission control system were material to Plaintiff and the Arizona State Class, as Defendants
11   intended. Had they known the truth, Plaintiff and the Arizona State Class would not have
12   purchased or leased the Class Vehicles, or—if the Class Vehicles’ true nature had been disclosed
13   and mitigated, and the Vehicles rendered legal to sell—would have paid significantly less for
14   them.
15               1398. Plaintiff and Arizona State Class members had no way of discerning that
16   Defendants’ representations were false and misleading, or otherwise learning the facts that
17   Defendants had concealed or failed to disclose, because Defendants’ emission control software
18   was extremely sophisticated technology. Plaintiff and Arizona State Class members did not, and
19   could not, unravel Defendants’ deception on their own.
20               1399. Defendants had an ongoing duty to Plaintiff and the Arizona State Class to refrain
21   from unfair and deceptive practices under the Arizona CFA in the course of their business.
22   Specifically, Defendants owed Plaintiff and Arizona State Class members a duty to disclose all
23   the material facts concerning the EcoDiesel® emission control system because they possessed
24   exclusive knowledge, they intentionally concealed it from Plaintiff and the Arizona State Class,
25   and/or they made misrepresentations that were rendered misleading because they were
26   contradicted by withheld facts.
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 1               1400. Plaintiff and Arizona State Class members suffered ascertainable loss and actual
 2   damages as a direct and proximate result of Defendants’ concealment, misrepresentations, and/or
 3   failure to disclose material information.
 4               1401. Defendants’ violations present a continuing risk to Plaintiff and the Arizona State
 5   Class, as well as to the general public. Defendants’ unlawful acts and practices complained of
 6   herein affect the public interest.
 7               1402. Plaintiff and the Arizona State Class seek an order enjoining Defendants’ unfair
 8   and/or deceptive acts or practices and awarding damages and any other just and proper relief
 9   available under the Arizona CFA.
10                                     ARKANSAS COUNT I
                       VIOLATIONS OF THE DECEPTIVE TRADE PRACTICE ACT
11                               (Ark. Code Ann. § 4-88-101, et seq.)
12               1403. Plaintiffs incorporate by reference each preceding paragraph as though fully set
13   forth herein.
14               1404. Plaintiff Melvin Phillips (for the purpose of this section, “Plaintiff”) brings this
15   action on behalf of himself and the Arkansas State Class against all Defendants.
16               1405. Fiat, VM Italy, VM America, Bosch GmbH, Bosch LLC, Sergio Marchionne,
17   Plaintiff, and the Arkansas State Class are “persons” within the meaning of Ark. Code Ann. § 4-
18   88-102(5).
19               1406. The Class Vehicles are “goods” within the meaning of Ark. Code Ann. § 4-88-
20   102(4).
21               1407. The Arkansas Deceptive Trade Practice Act (“Arkansas DTPA”) makes unlawful
22   “[d]eceptive and unconscionable trade practices,” which include, but are not limited to, a list of
23   enumerated items, including “[e]ngaging in any other unconscionable, false, or deceptive act or
24   practice in business, commerce, or trade[.]” Ark. Code Ann. § 4-88-107(a)(10). The Arkansas
25   DTPA also prohibits the following when utilized in connection with the sale or advertisement of
26   any goods: “(1) The act, use, or employment by any person of any deception, fraud, or false
27   pretense; or (2) The concealment, suppression, or omission of any material fact with intent that
28   others rely upon the concealment, suppression, or omission.” Ark. Code Ann. § 4-88-108.

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 1               1408. In the course of their business, Defendants Fiat Chrysler, VM Motori, Bosch, and
 2   Sergio Marchionne, through their agents, employees, and/or subsidiaries, violated the Arkansas
 3   DTPA.
 4               1409. As detailed in the common law fraud allegations: (1) Fiat Chrysler affirmatively
 5   misrepresented the environmental friendliness and emissions of the Class Vehicles through the
 6   EcoDiesel badge—a material fact that was false because the Defendants developed and installed
 7   emission cheating components in the Class Vehicles that caused them to pollute excessively in
 8   real-world conditions; (2) Fiat Chrysler touted, through the EcoDiesel badge and uniform and
 9   pervasive consumer communications, the Class Vehicles’ fuel efficiency and performance, and
10   the Defendants concealed that the fuel efficiency and performance could be achieved only
11   through emission control devices in the Class Vehicles that caused them to pollute excessively in
12   real-world conditions; and (3) the Defendants developed and installed emission cheating
13   components that caused the Class Vehicles to pollute excessively in real-world conditions, and
14   fraudulently concealed that fact from regulators and Class Members alike. See, e.g., ¶¶ 149-216;
15   337-357. In so doing, and by marketing, offering for sale, and selling the defective Class
16   Vehicles, Defendants engaged in one or more of the following unfair or deceptive acts or
17   practices as defined in Ark. Code Ann. §§ 4-88-107 -108:
18                      A.     Representing that the Class Vehicles have approval, characteristics, uses,
19                             or benefits that they do not have;
20                      B.     Representing that the Class Vehicles are of a particular standard, quality
21                             and grade when they are not;
22                      C.     Advertising the Class Vehicles with the intent not to sell or lease them as
23                             advertised; and/or
24                      D.     Using or employing deception, fraud, false pretense, false promise or
25                             misrepresentation, or the concealment, suppression or omission of a
26                             material fact with intent that others rely upon such concealment,
27                             suppression or omission, in connection with the advertisement and
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 1                             sale/lease of the Class Vehicles, whether or not any person has in fact been
 2                             misled, deceived or damaged thereby.
 3               1410. Defendants’ scheme and concealment of the true characteristics of the EcoDiesel®
 4   emission control system were material to Plaintiff and the Arkansas State Class, as Defendants
 5   intended. Had they known the truth, Plaintiff and the Arkansas State Class would not have
 6   purchased or leased the Class Vehicles, or—if the Class Vehicles’ true nature had been disclosed
 7   and mitigated, and the Vehicles rendered legal to sell—would have paid significantly less for
 8   them.
 9               1411. Plaintiff and Arkansas State Class members had no way of discerning that
10   Defendants’ representations were false and misleading, or otherwise learning the facts that
11   Defendants had concealed or failed to disclose, because Defendants’ emission control software
12   was extremely sophisticated technology. Plaintiff and Arkansas State Class members did not, and
13   could not, unravel Defendants’ deception on their own.
14               1412. Defendants had an ongoing duty to Plaintiff and the Arkansas State Class to refrain
15   from unfair and deceptive practices under the Arkansas DTPA in the course of their business.
16   Specifically, Defendants owed Plaintiff and the Arkansas State Class members a duty to disclose
17   all the material facts concerning the EcoDiesel® emission control system because they possessed
18   exclusive knowledge, they intentionally concealed it from the Arkansas State Class, and/or they
19   made misrepresentations that were rendered misleading because they were contradicted by
20   withheld facts.
21               1413. Plaintiff and Arkansas State Class members suffered ascertainable loss and actual
22   damages as a direct and proximate result of Defendants’ concealment, misrepresentations, and/or
23   failure to disclose material information.
24               1414. Defendants’ violations present a continuing risk to the Arkansas State Class, as
25   well as to the general public. Defendants’ unlawful acts and practices complained of herein affect
26   the public interest.
27

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 1               1415. Plaintiff and the Arkansas State Class seek an order enjoining Defendants’ unfair
 2   and/or deceptive acts or practices, and awarding damages pursuant to Ark. Code Ann. § 4-88-
 3   13(f), and any other just and proper relief available under the Arkansas DTPA.
 4                     VIOLATIONS OF THE CONSUMER LEGAL REMEDIES ACT
                                   (Cal. Civ. Code § 1750, et seq.)
 5

 6               1416. Plaintiffs incorporate by reference each preceding paragraph as though fully set
 7   forth herein.
 8               1417. Plaintiffs Jose Chavez, Leslie Bernstein, Gregory Giauque, and Satyanam Singh
 9   (for the purpose of this section, “Plaintiffs”) bring this action on behalf of themselves and the
10   California State Class against all Defendants.
11               1418. Fiat, VM Italy, VM America, Bosch GmbH, Bosch LLC, Sergio Marchionne,
12   Plaintiffs, and the California State Class members are “persons” within the meaning of Cal. Civ.
13   Code § 1761(c). Plaintiffs and the California State Class members are “consumers” within the
14   meaning of Cal. Civ. Code § 1761(d).
15               1419. The California Legal Remedies Act (“CLRA”) prohibits “unfair or deceptive acts
16   or practices undertaken by any person in a transaction intended to result or which results in the
17   sale or lease of goods or services to any consumer[.]” Cal. Civ. Code § 1770(a).
18               1420. In the course of their business, Defendants Fiat Chrysler, VM Motori, Bosch, and
19   Marchionne, through their agents, employees, and/or subsidiaries, violated the CLRA.
20               1421. As detailed in the common law fraud allegations: (1) Fiat Chrysler affirmatively
21   misrepresented the environmental friendliness and emissions of the Class Vehicles through the
22   EcoDiesel badge—a material fact that was false because the Defendants developed and installed
23   emission cheating components in the Class Vehicles that caused them to pollute excessively in
24   real-world conditions; (2) Fiat Chrysler touted, through the EcoDiesel badge and uniform and
25   pervasive consumer communications, the Class Vehicles’ fuel efficiency and performance, and
26   the Defendants concealed that the fuel efficiency and performance could be achieved only
27   through emission control devices in the Class Vehicles that caused them to pollute excessively in
28   real-world conditions; and (3) the Defendants developed and installed emission cheating

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 1   components that caused the Class Vehicles to pollute excessively in real-world conditions, and
 2   fraudulently concealed that fact from regulators and Class Members alike. See, e.g., ¶¶ 149-216;
 3   337-357. In so doing, and by Defendants engaged in one or more of the following unfair or
 4   deceptive acts or practices as defined in Cal. Civ. Code § 1770(a):
 5                      A.     Representing that the Class Vehicles have approval, characteristics, uses,
 6                             or benefits that they do not have;
 7                      B.     Representing that the Class Vehicles are of a particular standard, quality
 8                             and grade when they are not; and/or
 9                      C.     Advertising the Class Vehicles with the intent not to sell or lease them as
10                             advertised.
11               1422. Defendants’ scheme and concealment of the true characteristics of the EcoDiesel®
12   emission control system were material to Plaintiffs and the California State Class, as Defendants
13   intended. Had they known the truth, Plaintiffs and the California State Class would not have
14   purchased or leased the Class Vehicles, or—if the Class Vehicles’ true nature had been disclosed
15   and mitigated, and the Vehicles rendered legal to sell—would have paid significantly less for
16   them.
17               1423. Plaintiffs and California State Class members had no way of discerning that
18   Defendants’ representations were false and misleading, or otherwise learning the facts that
19   Defendants had concealed or failed to disclose, because Defendants’ emission control software
20   was extremely sophisticated technology. Plaintiffs and California State Class members did not,
21   and could not, unravel Defendants’ deception on their own.
22               1424. Defendants had an ongoing duty to Plaintiffs and the California State Class to
23   refrain from unfair and deceptive practices under the California CLRA in the course of their
24   business. Specifically, Defendants owed Plaintiffs and California State Class members a duty to
25   disclose all the material facts concerning the EcoDiesel® emission control system because they
26   possessed exclusive knowledge, they intentionally concealed it from Plaintiffs and the California
27   State Class, and/or they made misrepresentations that were rendered misleading because they
28   were contradicted by withheld facts.

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 1               1425. Plaintiffs and California State Class members suffered ascertainable loss and
 2   actual damages as a direct and proximate result of Defendants’ concealment, misrepresentations,
 3   and/or failure to disclose material information.
 4               1426. Defendants’ violations present a continuing risk to Plaintiffs and the California
 5   State Class, as well as to the general public. Defendants’ unlawful acts and practices complained
 6   of herein affect the public interest.
 7               1427. Pursuant to Cal. Civ. Code § 1780(a), Plaintiffs and the California State Class seek
 8   an order enjoining Defendants’ unfair and/or deceptive acts or practices, and awarding damages,
 9   punitive damages, and any other just and proper relief available under the CLRA. Under Cal.
10   Civ. Code § 1780(b), Plaintiff seeks an additional award against Defendants of up to $5,000 for
11   each California State Class member who qualifies as a “senior citizen” or “disabled person” under
12   the CLRA. Defendants knew or should have known that their conduct was directed to one or
13   more California State Class members who are senior citizens or disabled persons. Defendants’
14   conduct caused one or more of these senior citizens or disabled persons to suffer a substantial loss
15   of property set aside for retirement or for personal or family care and maintenance, or assets
16   essential to the health or welfare of the senior citizen or disabled person. One or more California
17   State Class members who are senior citizens or disabled persons are substantially more vulnerable
18   to Defendants’ conduct because of age, poor health or infirmity, impaired understanding,
19   restricted mobility, or disability, and each of them suffered substantial physical, emotional, or
20   economic damage resulting from Defendants’ conduct.
21               1428. On November 28, 2016, Plaintiff Chavez sent a notice letter to FCA US LLC
22   complying with Cal. Civ. Code § 1780(b). On January 17, a second notice letter was sent to FCA
23   US LLC and Fiat Chrysler. Plaintiffs sent yet another notice letter pursuant to Cal. Civ. Code
24   § 1780(b) to all Defendants on July 19, 2017. Additionally, all Defendants were provided notice
25   of the issues raised in this count and this Complaint by the governmental investigations, the
26   numerous complaints filed against them, and the many individual notice letters sent by Plaintiffs
27   within a reasonable amount of time after the allegations of Class Vehicle defects became public.
28

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 1   Because Defendants failed to remedy their unlawful conduct within the requisite time period,
 2   Plaintiff seek all damages and relief to which Plaintiffs and the California State Class are entitled.
 3       UNLAWFUL, UNFAIR, OR FRAUDULENT BUSINESS PRACTICES UNDER THE
                     CALIFORNIA UNFAIR COMPETITION LAW
 4                      (Cal. Bus. & Prof. Code § 17200, et seq.)
 5               1429. Plaintiff incorporates by reference each preceding paragraph as though fully set
 6   forth herein.
 7               1430. Plaintiffs Leslie Bernstein, Jose Chavez, Gregory Giauque, and Satyanam Singh
 8   (for the purpose of this section, “Plaintiffs”) bring this action on behalf of themselves and the
 9   California State Class against all Defendants.
10               1431. California’s Unfair Competition Law (“UCL”), Business and Professions Code
11   § 17200, prohibits any “unlawful, unfair, or fraudulent business act or practices.”
12               1432. As detailed in the common law fraud allegations: (1) Fiat Chrysler affirmatively
13   misrepresented the environmental friendliness and emissions of the Class Vehicles through the
14   EcoDiesel badge—a material fact that was false because the Defendants developed and installed
15   emission cheating components in the Class Vehicles that caused them to pollute excessively in
16   real-world conditions; (2) Fiat Chrysler touted, through the EcoDiesel badge and uniform and
17   pervasive consumer communications, the Class Vehicles’ fuel efficiency and performance, and
18   the Defendants concealed that the fuel efficiency and performance could be achieved only
19   through emission control devices in the Class Vehicles that caused them to pollute excessively in
20   real-world conditions; and (3) the Defendants developed and installed emission cheating
21   components that caused the Class Vehicles to pollute excessively in real-world conditions, and
22   fraudulently concealed that fact from regulators and Class Members alike. See, e.g., ¶¶ 149-216;
23   337-357. In so doing, Fiat, FCA, VM Motori, Bosch GmbH, Bosch LLC, and Marchionne have
24   engaged in at least the following unlawful, fraudulent, and unfair business acts and practices in
25   violation of the UCL:
26                      A.     by knowingly and intentionally concealing from Plaintiffs and the other
27                             California State Class members that the Class Vehicles suffer from a
28                             design defect while obtaining money from Plaintiffs and Class members;

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 1                      B.      by marketing Class Vehicles as possessing functional and defect-free,
 2                              “clean” diesel engine systems; and
 3                      C.      by violating both federal and California laws, including the federal RICO
 4                              statute and California laws governing vehicle emissions and emission
 5                              testing requirements.
 6               1433. Defendants’ cheating scheme and concealment of the true characteristics of the
 7   EcoDiesel emission control system were material to Plaintiffs and the California State Class, and
 8   Defendants misrepresented, concealed, or failed to disclose the truth with the intention that
 9   consumers would rely on the misrepresentations, concealments, and omissions. Had they known
10   the truth, Plaintiffs and the California State Class members who purchased or leased the Class
11   Vehicles would not have purchased or leased them at all or—if the Vehicles’ true nature had been
12   disclosed and mitigated, and the Vehicles rendered legal to sell—would have paid significantly
13   less for them.
14               1434. Plaintiffs and California State Class members suffered ascertainable loss and
15   actual damages as a direct and proximate result of Defendants’ misrepresentations and their
16   concealment of and failure to disclose material information. Pursuant to Cal. Bus. & Prof. Code
17   § 17200, Plaintiffs and the California State Class seek an order enjoining Defendants’ unfair
18   and/or deceptive acts or practices, any such orders or judgments as may be necessary to restore to
19   Plaintiffs and California State Class members any money acquired by unfair competition,
20   including restitution and/or restitutionary disgorgement, as provided in Cal. Bus. & Prof. Code
21   §§ 17203 and 3345, and any other just and proper relief available under the California UCL.
22     FALSE ADVERTISING UNDER THE CALIFORNIA UNFAIR COMPETITION LAW
                        (Cal. Bus. & Prof. Code § 17500, et seq.)
23

24               1435. Plaintiff incorporates by reference all preceding allegations as though fully set
25   forth herein.
26               1436. Plaintiffs Jose Chavez, Leslie Bernstein, Gregory Giauque, and Satyanam Singh
27   (for the purpose of this section, “Plaintiffs”) bring this action on behalf of themselves and the
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 1   California State Class against FCA, Fiat, Marchionne, Bosch LLC, Bosch GmbH, and VM
 2   Motori.
 3               1437. California Bus. & Prof. Code § 17500 states: “It is unlawful for any person, …
 4   corporation …or any employee thereof with intent directly or indirectly to dispose of real or
 5   personal property… or to induce the public to enter into any obligation relating thereto, to make
 6   or disseminate or cause to be made or disseminated … before the public in this state or from this
 7   state before the public in any state, in any newspaper or other publication, or any advertising
 8   device, … or in any other manner or means whatever, including over the Internet, any statement
 9   … which is untrue or misleading, and which is known, or which by the exercise of reasonable
10   care should be known, to be untrue or misleading.”
11               1438. As detailed in the common law fraud allegations: (1) Fiat Chrysler affirmatively
12   misrepresented the environmental friendliness and emissions of the Class Vehicles through the
13   EcoDiesel badge—a material fact that was false because the Defendants developed and installed
14   emission cheating components in the Class Vehicles that caused them to pollute excessively in
15   real-world conditions; (2) Fiat Chrysler touted, through the EcoDiesel badge and uniform and
16   pervasive consumer communications, the Class Vehicles’ fuel efficiency and performance, and
17   the Defendants concealed that the fuel efficiency and performance could be achieved only
18   through emission control devices in the Class Vehicles that caused them to pollute excessively in
19   real-world conditions; and (3) the Defendants developed and installed emission cheating
20   components that caused the Class Vehicles to pollute excessively in real-world conditions, and
21   fraudulently concealed that fact from regulators and Class Members alike. See, e.g., ¶¶ 149-216;
22   337-357.
23               1439. FCA, Fiat, and Marchionne; Bosch LLC and Bosch GmbH; and VM Motori, each
24   made or caused to be made and disseminated throughout California and the United States,
25   through advertising, marketing, and other publications, numerous statements that were untrue or
26   misleading, and which were known, or which by the exercise of reasonable care should have been
27   known to each Defendant, to be untrue and misleading to consumers, including Plaintiff and the
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 1   other California State Class members. Numerous examples of these statements and
 2   advertisements appear throughout this Complaint.
 3               1440. Pursuant to Cal. Bus. & Prof. Code § 17500, Plaintiffs and the California State
 4   Class seek an order enjoining Defendants’ false advertising, any such orders or judgments as may
 5   be necessary to restore to Plaintiffs and the California State Class members any money acquired
 6   by unfair competition, including restitution and/or restitutionary disgorgement, and any other just
 7   and proper relief available under the false advertising provisions of the UCL.
 8                    FAILURE TO RECALL/RETROFIT UNDER CALIFORNIA LAW
 9               1441. Plaintiffs reallege and incorporate by reference all preceding allegations as though
10   fully set forth herein.
11               1442. Plaintiffs Jose Chavez, Leslie Bernstein, Gregory Giauque, and Satyanam Singh
12   (for the purpose of this section, “Plaintiffs”) bring this action on behalf of themselves and the
13   California State Class against Fiat and FCA.
14               1443. Fiat Chrysler manufactured, marketed, distributed, sold, or otherwise placed into
15   the stream of U.S. commerce the Class Vehicles, as set forth above.
16               1444. Defendants knew or reasonably should have known that the Class Vehicles were
17   dangerous when used in a reasonably foreseeable manner, and posed an unreasonable risk.
18               1445. Fiat Chrysler became aware that the Class Vehicles were dangerous when used in
19   a reasonably foreseeable manner, and posed an unreasonable after the Vehicles were sold.
20               1446. Fiat Chrysler failed to recall the Class Vehicles in a timely manner or warn of the
21   dangers posed by Class Vehicles.
22               1447. A reasonable manufacturer in same or similar circumstances would have timely
23   and properly recalled the Class Vehicles.
24               1448. Plaintiffs and the California State Class were harmed by Fiat Chrysler’s failure to
25   recall the Class Vehicles properly and in a timely manner and, as a result, have suffered damages,
26   including their out-of-pocket costs, losses, and inconvenience, and caused by Fiat Chrysler’s
27   ongoing failure to properly recall, retrofit, and fully repair the Class Vehicles.
28

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 1               1449. Even in the event of a recall, Plaintiffs and the California State Class have suffered
 2   and continue to damages for each day that a recall is delayed.
 3               1450. Fiat Chrysler’s failure to timely recall the Class Vehicles was a substantial factor
 4   in causing the harm to Plaintiffs and the California State Class as alleged herein.
 5                VIOLATIONS OF THE COLORADO CONSUMER PROTECTION ACT
                                 (Colo. Rev. Stat. § 6-1-101, et seq.)
 6

 7               1451. Plaintiffs incorporate by reference each preceding paragraph as though fully set
 8   forth herein.
 9               1452. Plaintiffs Tommy Feist, Ryan Montgomery, and John Webb (for the purpose of
10   this section, “Plaintiffs”) bring this action on behalf of themselves and the Colorado State Class
11   against all Defendants.
12               1453. FCA, Fiat, VM Italy, VM America, Bosch GmbH, Bosch LLC, Sergio
13   Marchionne, Plaintiffs, and the Colorado State Class members are “persons” within the meaning
14   of § 6-1-102(6) of the Colorado Consumer Protection Act (“Colorado CPA”), Colo. Rev. Stat.
15   § 6-1-101, et seq. Plaintiffs and the Colorado State Class members are “consumers” within the
16   meaning of Col. Rev. Stat § 6-1-113(1)(a).
17               1454. The Colorado CPA makes unlawful deceptive trade practices in the course of a
18   person’s business. Defendants engaged in deceptive trade practices prohibited by the Colorado
19   CPA, including: (1) knowingly making a false representation as to the characteristics, uses, and
20   benefits of the Class Vehicles that had the capacity or tendency to deceive Colorado State Class
21   members; (2) representing that the Class Vehicles are of a particular standard, quality, and grade
22   even though FCA knew or should have known they are not; (3) advertising the Class Vehicles
23   with the intent not to sell them as advertised; and (4) failing to disclose material information
24   concerning the Class Vehicles that was known to FCA at the time of advertisement or sale with
25   the intent to induce Colorado State Class members to purchase, lease or retain the Class Vehicles.
26               1455. In the course of their business, Defendants Fiat Chrysler, VM Motori, Bosch, and
27   Marchionne, through their agents, employees, and/or subsidiaries, violated the Colorado CPA.
28

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 1               1456. As detailed in the common law fraud allegations: (1) Fiat Chrysler affirmatively
 2   misrepresented the environmental friendliness and emissions of the Class Vehicles through the
 3   EcoDiesel badge—a material fact that was false because the Defendants developed and installed
 4   emission cheating components in the Class Vehicles that caused them to pollute excessively in
 5   real-world conditions; (2) Fiat Chrysler touted, through the EcoDiesel badge and uniform and
 6   pervasive consumer communications, the Class Vehicles’ fuel efficiency and performance, and
 7   the Defendants concealed that the fuel efficiency and performance could be achieved only
 8   through emission control devices in the Class Vehicles that caused them to pollute excessively in
 9   real-world conditions; and (3) the Defendants developed and installed emission cheating
10   components that caused the Class Vehicles to pollute excessively in real-world conditions, and
11   fraudulently concealed that fact from regulators and Class Members alike. See, e.g., ¶¶ 149-216;
12   337-357. In so doing, and by marketing, offering for sale, and selling the defective Class
13   Vehicles, Defendants engaged in one or more of the following unfair or deceptive acts or
14   practices as defined in Colo. Rev. Stat. § 6-1-105:
15                      A.     Representing that the Class Vehicles have approval, characteristics, uses,
16                             or benefits that they do not have;
17                      B.     Representing that the Class Vehicles are of a particular standard, quality
18                             and grade when they are not;
19                      C.     Advertising the Class Vehicles with the intent not to sell or lease them as
20                             advertised; and/or
21                      D.     Failing to disclose material information concerning the Class Vehicles
22                             known to Defendants at the time of advertisement or sale, with the
23                             intention of inducing Plaintiffs and Class members to purchase or lease the
24                             vehicles.
25               1457. Defendants’ scheme and concealment of the true characteristics of the EcoDiesel®
26   emission control system were material to Plaintiffs and the Colorado State Class, as Defendants
27   intended. Had they known the truth, Plaintiffs and the Colorado State Class would not have
28   purchased or leased the Class Vehicles, or—if the Class Vehicles’ true nature had been disclosed

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 1   and mitigated, and the Vehicles rendered legal to sell—would have paid significantly less for
 2   them.
 3               1458. Plaintiffs and Colorado State Class members had no way of discerning that
 4   Defendants’ representations were false and misleading, or otherwise learning the facts that
 5   Defendants had concealed or failed to disclose, because Defendants’ emission control software
 6   was extremely sophisticated technology. Plaintiffs and Colorado State Class members did not,
 7   and could not, unravel Defendants’ deception on their own.
 8               1459. Defendants had an ongoing duty to Plaintiffs and the Colorado State Class to
 9   refrain from unfair and deceptive practices under the Colorado CPA in the course of their
10   business. Specifically, Defendants owed Plaintiffs and Colorado State Class members a duty to
11   disclose all the material facts concerning the EcoDiesel® emission control system because they
12   possessed exclusive knowledge, they intentionally concealed it from Plaintiffs and the Colorado
13   State Class, and/or they made misrepresentations that were rendered misleading because they
14   were contradicted by withheld facts.
15               1460. Plaintiffs and Colorado State Class members suffered ascertainable loss and actual
16   damages as a direct and proximate result of Defendants’ concealment, misrepresentations, and/or
17   failure to disclose material information.
18               1461. Defendants’ violations present a continuing risk to Plaintiffs and the Colorado
19   State Class, as well as to the general public. Defendants’ unlawful acts and practices complained
20   of herein affect the public interest.
21               1462. Pursuant to Colo. Rev. Stat. § 6-1-113, Plaintiffs and the Colorado State Class
22   seek an order enjoining Defendants’ unfair and/or deceptive acts or practices, and awarding
23   damages, treble or punitive damages, and any other just and proper relief available under the
24   Colorado CPA
25               VIOLATION OF CONNECTICUT UNLAWFUL TRADE PRACTICES ACT
                                (Conn. Gen. Stat. § 42-110a, et seq.)
26

27               1463. Plaintiffs incorporate by reference each preceding paragraph as though fully set
28   forth herein.

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 1               1464. Plaintiff Giuseppe Carillo (for the purpose of this section, “Plaintiff”) brings this
 2   action on behalf of himself and the Connecticut State Class against all Defendants.
 3               1465. FCA, Fiat, VM Italy, VM America, Bosch GmbH, Bosch LLC, Sergio
 4   Marchionne, Plaintiff, and the Connecticut State Class members are “persons” within the
 5   meaning of Conn. Gen. Stat. § 42-110a(3) of the Connecticut Unfair Trade Practices Act
 6   (“Connecticut UTPA”). FCA, Fiat, VM Italy, VM America, Bosch GmbH, Bosch LLC, and
 7   Marchionne are engaged in “trade” or “commerce” within the meaning of Conn. Gen. Stat. § 42-
 8   110a(4).
 9               1466. The Connecticut provides: “No person shall engage in unfair methods of
10   competition and unfair or deceptive acts or practices in the conduct of any trade or commerce.”
11   Conn. Gen. Stat. § 42-110b(a).
12               1467. In the course of their business, Defendants Fiat Chrysler, VM Motori, Bosch, and
13   Sergio Marchionne, through their agents, employees, and/or subsidiaries, violated the Connecticut
14   UTPA.
15               1468. As detailed in the common law fraud allegations: (1) Fiat Chrysler affirmatively
16   misrepresented the environmental friendliness and emissions of the Class Vehicles through the
17   EcoDiesel badge—a material fact that was false because the Defendants developed and installed
18   emission cheating components in the Class Vehicles that caused them to pollute excessively in
19   real-world conditions; (2) Fiat Chrysler touted, through the EcoDiesel badge and uniform and
20   pervasive consumer communications, the Class Vehicles’ fuel efficiency and performance, and
21   the Defendants concealed that the fuel efficiency and performance could be achieved only
22   through emission control devices in the Class Vehicles that caused them to pollute excessively in
23   real-world conditions; and (3) the Defendants developed and installed emission cheating
24   components that caused the Class Vehicles to pollute excessively in real-world conditions, and
25   fraudulently concealed that fact from regulators and Class Members alike. See, e.g., ¶¶ 149-216;
26   337-357. In so doing, and by Defendants engaged in one or more of the following unfair or
27   deceptive acts or practices in violation of Conn. Gen. Stat. § 42-110b(a):
28

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 1                      A.     Causing likelihood of confusion or of misunderstanding as to the approval
 2                             or certification of the Class Vehicles;
 3                      B.     Representing that the Class Vehicles have approval, characteristics, uses,
 4                             or benefits that they do not have;
 5                      C.     Representing that the Class Vehicles are of a particular standard, quality
 6                             and grade when they are not;
 7                      D.     Advertising the Class Vehicles with the intent not to sell or lease them as
 8                             advertised;
 9                      E.     Engaging in other conduct which created a likelihood of confusion or of
10                             misunderstanding; and/or
11                      F.     Using or employing deception, fraud, false pretense, false promise or
12                             misrepresentation, or the concealment, suppression or omission of a
13                             material fact with intent that others rely upon such concealment,
14                             suppression or omission, in connection with the advertisement and
15                             sale/lease of the Class Vehicles, whether or not any person has in fact been
16                             misled, deceived or damaged thereby.
17               1469. Defendants’ scheme and concealment of the true characteristics of the EcoDiesel®
18   emission control system were material to Plaintiff and the Connecticut State Class, as Defendants
19   intended. Had they known the truth, Plaintiff and the Connecticut State Class would not have
20   purchased or leased the Class Vehicles, or—if the Class Vehicles’ true nature had been disclosed
21   and mitigated, and the Vehicles rendered legal to sell—would have paid significantly less for
22   them.
23               1470. Plaintiff and Connecticut State Class members had no way of discerning that
24   Defendants’ representations were false and misleading, or otherwise learning the facts that
25   Defendants had concealed or failed to disclose, because Defendants’ emission control software
26   was extremely sophisticated technology. Plaintiff and Connecticut State Class members did not,
27   and could not, unravel Defendants’ deception on their own.
28

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 1               1471. Defendants had an ongoing duty to Plaintiff and the Connecticut State Class to
 2   refrain from unfair and deceptive practices under the Connecticut UTPA in the course of their
 3   business. Specifically, Defendants owed Plaintiff and Connecticut State Class members a duty to
 4   disclose all the material facts concerning the EcoDiesel® emission control system because they
 5   possessed exclusive knowledge, they intentionally concealed it from Plaintiff and the Connecticut
 6   State Class, and/or they made misrepresentations that were rendered misleading because they
 7   were contradicted by withheld facts.
 8               1472. Plaintiff and Connecticut State Class members suffered ascertainable loss and
 9   actual damages as a direct and proximate result of Defendants’ concealment, misrepresentations,
10   and/or failure to disclose material information.
11               1473. Defendants’ violations present a continuing risk to Plaintiff and the Connecticut
12   State Class, as well as to the general public. Defendants’ unlawful acts and practices complained
13   of herein affect the public interest.
14               1474. Pursuant to Conn. Gen. Stat. § 42-110g, Plaintiff and the Connecticut State Class
15   seek an order enjoining Defendants’ unfair and/or deceptive acts or practices, and awarding
16   damages, punitive damages, and any other just and proper relief available under the Connecticut
17   UTPA.
18      VIOLATIONS OF THE DELAWARE CONSUMER FRAUD ACT AND DECEPTIVE
                                  TRADE PRACTICES ACT
19                (6 Del. Code § 2513, et seq., and 6 Del. Code § 2531, et seq.)
20               1475. Plaintiffs incorporate by reference each preceding paragraph as though fully set
21   forth herein.
22               1476. This Count is brought on behalf of the Delaware State Class against all
23   Defendants.
24               1477. FCA Fiat, VM Italy, VM America, Bosch GmbH, Bosch LLC, Sergio
25   Marchionne, and the Delaware State Class members are “persons” within the meaning of 6 Del.
26   Code § 2511(7) and § 2531(5).
27               1478. The Delaware Consumer Fraud Act (“Delaware CFA”) makes unlawful the “act,
28   use or employment by any person of any deception, fraud, false pretense, false promise,

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 1   misrepresentation, or the concealment, suppression, or omission of any material fact with intent
 2   that others rely upon such concealment, suppression or omission, in connection with the sale,
 3   lease or advertisement of any merchandise, whether or not any person has in fact been misled,
 4   deceived or damaged thereby.” 6 Del. Code § 2513(a).
 5               1479. In the course of their business, Defendants Fiat Chrysler, VM Motori, Bosch, and
 6   Marchionne, through their agents, employees, and/or subsidiaries, violated the Delaware CFA.
 7               1480. As detailed in the common law fraud allegations: (1) Fiat Chrysler affirmatively
 8   misrepresented the environmental friendliness and emissions of the Class Vehicles through the
 9   EcoDiesel badge—a material fact that was false because the Defendants developed and installed
10   emission cheating components in the Class Vehicles that caused them to pollute excessively in
11   real-world conditions; (2) Fiat Chrysler touted, through the EcoDiesel badge and uniform and
12   pervasive consumer communications, the Class Vehicles’ fuel efficiency and performance, and
13   the Defendants concealed that the fuel efficiency and performance could be achieved only
14   through emission control devices in the Class Vehicles that caused them to pollute excessively in
15   real-world conditions; and (3) the Defendants developed and installed emission cheating
16   components that caused the Class Vehicles to pollute excessively in real-world conditions, and
17   fraudulently concealed that fact from regulators and Class Members alike. See, e.g., ¶¶ 149-216;
18   337-357. In so doing, and by Defendants engaged in one or more of the following unlawful acts
19   or practices prohibited by 6 Del. Code § 2513(a): using or employing deception, fraud, false
20   pretense, false promise or misrepresentation, or the concealment, suppression or omission of a
21   material fact with intent that others rely upon such concealment, suppression or omission, in
22   connection with the advertisement and sale/lease of the Class Vehicles, whether or not any person
23   has in fact been misled, deceived or damaged thereby.
24               1481. Defendants also engaged in one or more of the following deceptive trade practices
25   enumerated by the Delaware Deceptive Trade Practices Act at 6 Del. Code § 2532:
26                      a.     Causing likelihood of confusion or of misunderstanding as to the approval
                               or certification of the Class Vehicles;
27
                        b.     Representing that the Class Vehicles have approval, characteristics, uses,
28                             or benefits that they do not have;
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 1                      c.     Representing that the Class Vehicles are of a particular standard, quality
                               and grade when they are not;
 2
                        d.     Advertising the Class Vehicles with the intent not to sell or lease them as
 3                             advertised; and/or
 4                      e.     Engaging in other conduct which created a likelihood of confusion or of
                               misunderstanding.
 5
                 1482. Defendants’ scheme and concealment of the true characteristics of the EcoDiesel®
 6
     emission control system were material to the Delaware State Class, as Defendants intended. Had
 7
     they known the truth, the Delaware State Class would not have purchased or leased the Class
 8
     Vehicles, or—if the Class Vehicles’ true nature had been disclosed and mitigated, and the
 9
     Vehicles rendered legal to sell—would have paid significantly less for them.
10
                 1483. Delaware State Class members had no way of discerning that Defendants’
11
     representations were false and misleading, or otherwise learning the facts that Defendants had
12
     concealed or failed to disclose, because Defendants’ emission control software was extremely
13
     sophisticated technology. Delaware State Class members did not, and could not, unravel
14
     Defendants’ deception on their own.
15
                 1484. Defendants had an ongoing duty to the Delaware State Class to refrain from unfair
16
     and deceptive practices under the Delaware CFA in the course of their business. Specifically,
17
     Defendants owed Delaware State Class members a duty to disclose all the material facts
18
     concerning the EcoDiesel® emission control system because they possessed exclusive
19
     knowledge, they intentionally concealed it from the Delaware State Class, and/or they made
20
     misrepresentations that were rendered misleading because they were contradicted by withheld
21
     facts.
22
                 1485. Delaware State Class members suffered ascertainable loss and actual damages as a
23
     direct and proximate result of Defendants’ concealment, misrepresentations, and/or failure to
24
     disclose material information.
25
                 1486. Defendants’ violations present a continuing risk to the Delaware State Class, as
26
     well as to the general public. Defendants’ unlawful acts and practices complained of herein affect
27
     the public interest.
28

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 1               1487. The Delaware State Class seeks an order enjoining Defendants’ unfair and/or
 2   deceptive acts or practices, and awarding damages, punitive or treble damages, and any other just
 3   and proper relief available under the Delaware CFA and DTPA (6 Del. Code §§ 2525 and 2533).
 4   See, e.g., Stephenson v. Capano Dev., Inc., 462 A.2d 1069, 1077 (Del. 1983).
 5                VIOLATION OF THE CONSUMER PROTECTION PROCEDURES ACT
                                   (D.C. Code § 28-3901, et seq.)
 6

 7               1488. Plaintiffs incorporate by reference each preceding paragraph as though fully set
 8   forth herein.
 9               1489. This count is brought on behalf of the District of Columbia Class against all
10   Defendants.
11               1490. FCA, Fiat, VM Italy, VM America, Bosch GmbH, Bosch LLC, Sergio
12   Marchionne, and the District of Columbia Class members are “persons” within the meaning of
13   D.C. Code § 28-3901(a)(1). The District of Columbia Class members are “consumers” within the
14   meaning of D.C. Code § 28-3901(1)(2).
15               1491. FCA, Fiat, VM Italy, VM America, Bosch GmbH, Bosch LLC, and Marchionne
16   are engaged in “trade practices” within the meaning of D.C. Code § 28-3901.
17               1492. The District of Columbia Consumer Protection Procedures Act (“District of
18   Columbia CPPA”) makes unlawful unfair methods of competition and unfair or deceptive acts or
19   practices in the conduct of any trade or commerce. D.C. Code § 28-3901, et seq.
20               1493. In the course of their business, Defendants Fiat Chrysler, VM Motori, Bosch, and
21   Sergio Marchionne, through their agents, employees, and/or subsidiaries, violated the District of
22   Columbia CPPA.
23               1494. As detailed in the common law fraud allegations: (1) Fiat Chrysler affirmatively
24   misrepresented the environmental friendliness and emissions of the Class Vehicles through the
25   EcoDiesel badge—a material fact that was false because the Defendants developed and installed
26   emission cheating components in the Class Vehicles that caused them to pollute excessively in
27   real-world conditions; (2) Fiat Chrysler touted, through the EcoDiesel badge and uniform and
28   pervasive consumer communications, the Class Vehicles’ fuel efficiency and performance, and

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 1   the Defendants concealed that the fuel efficiency and performance could be achieved only
 2   through emission control devices in the Class Vehicles that caused them to pollute excessively in
 3   real-world conditions; and (3) the Defendants developed and installed emission cheating
 4   components that caused the Class Vehicles to pollute excessively in real-world conditions, and
 5   fraudulently concealed that fact from regulators and Class Members alike. See, e.g., ¶¶ 149-216;
 6   337-357. In so doing, and by Defendants engaged in one or more of the following unfair or
 7   deceptive acts or practices as defined in D.C. Code § 28-3901, et seq.:
 8                      A.     Representing that the Class Vehicles have approval, characteristics, uses,
 9                             or benefits that they do not have;
10                      B.     Representing that the Class Vehicles are of a particular standard, quality
11                             and grade when they are not; and/or
12                      C.     Advertising the Class Vehicles with the intent not to sell or lease them as
13                             advertised.
14               1495. Defendants’ scheme and concealment of the true characteristics of the EcoDiesel®
15   emission control system were material to the District of Columbia Class, as Defendants intended.
16   Had they known the truth, the District of Columbia Class would not have purchased or leased the
17   Class Vehicles, or—if the Class Vehicles’ true nature had been disclosed and mitigated, and the
18   Vehicles rendered legal to sell—would have paid significantly less for them.
19               1496. District of Columbia Class members had no way of discerning that Defendants’
20   representations were false and misleading, or otherwise learning the facts that Defendants had
21   concealed or failed to disclose, because Defendants’ emission control software was extremely
22   sophisticated technology. District of Columbia Class members did not, and could not, unravel
23   Defendants’ deception on their own.
24               1497. Defendants had an ongoing duty to the District of Columbia Class to refrain from
25   unfair and deceptive practices under the District of Columbia CPPA in the course of their
26   business. Specifically, Defendants owed District of Columbia Class members a duty to disclose
27   all the material facts concerning the EcoDiesel® emission control system because they possessed
28   exclusive knowledge, they intentionally concealed it from the District of Columbia Class, and/or

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 1   they made misrepresentations that were rendered misleading because they were contradicted by
 2   withheld facts.
 3               1498. District of Columbia Class members suffered ascertainable loss and actual
 4   damages as a direct and proximate result of Defendants’ concealment, misrepresentations, and/or
 5   failure to disclose material information.
 6               1499. Defendants’ violations present a continuing risk to the District of Columbia Class,
 7   as well as to the general public. Defendants’ unlawful acts and practices complained of herein
 8   affect the public interest.
 9               1500. Pursuant to D.C. Code § 28-3901, the District of Columbia Class seek an order
10   enjoining Defendants’ unfair and/or deceptive acts or practices, and awarding damages, treble
11   and/or punitive damages, and any other just and proper relief available under the District of
12   Columbia CPPA.
13                                 VIOLATION OF FLORIDA’S UNFAIR &
                                   DECEPTIVE TRADE PRACTICES ACT
14                                      (Fla. Stat. § 501.201, et seq.)
15               1501. Plaintiffs incorporate by reference each preceding paragraph as though fully set
16   forth herein.
17               1502. Plaintiffs James Boykin, James DeBerry, GN Systems, Inc., Bobby Reichert, and
18   Miguel Silio (for the purpose of this section, “Plaintiffs”) bring this action on behalf of
19   themselves and the Florida State Class against all Defendants.
20               1503. Plaintiffs and the Florida State Class members are “consumers” within the
21   meaning of Fla. Stat. § 501.203(7).
22               1504. FCA, Fiat, VM Italy, VM America, Bosch GmbH, Bosch LLC, and Sergio
23   Marchionne are engaged in “trade” or “commerce” within the meaning of Fla. Stat. § 501.203(8).
24               1505. The Florida Unfair and Deceptive Trade Practices Act (“FUDTPA”) makes
25   unlawful “[u]nfair methods of competition, unconscionable acts or practices, and unfair or
26   deceptive acts or practices in the conduct of any trade or commerce …” Fla. Stat. § 501.204(1).
27               1506. In the course of their business, Defendants Fiat Chrysler, VM Motori, Bosch, and
28   Marchionne, through their agents, employees, and/or subsidiaries, violated the FUDTPA.

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 1               1507. As detailed in the common law fraud allegations: (1) Fiat Chrysler affirmatively
 2   misrepresented the environmental friendliness and emissions of the Class Vehicles through the
 3   EcoDiesel badge—a material fact that was false because the Defendants developed and installed
 4   emission cheating components in the Class Vehicles that caused them to pollute excessively in
 5   real-world conditions; (2) Fiat Chrysler touted, through the EcoDiesel badge and uniform and
 6   pervasive consumer communications, the Class Vehicles’ fuel efficiency and performance, and
 7   the Defendants concealed that the fuel efficiency and performance could be achieved only
 8   through emission control devices in the Class Vehicles that caused them to pollute excessively in
 9   real-world conditions; and (3) the Defendants developed and installed emission cheating
10   components that caused the Class Vehicles to pollute excessively in real-world conditions, and
11   fraudulently concealed that fact from regulators and Class Members alike. See, e.g., ¶¶ 149-216;
12   337-357. In so doing, and by marketing, offering for sale, and selling the defective Class
13   Vehicles, Defendants engaged in one or more of the following unfair or deceptive acts or
14   practices prohibited by Fla. Stat. § 501.204(1):
15                      A.     Causing likelihood of confusion or of misunderstanding as to the approval
16                             or certification of the Class Vehicles;
17                      B.     Representing that the Class Vehicles have approval, characteristics, uses,
18                             or benefits that they do not have;
19                      C.     Representing that the Class Vehicles are of a particular standard, quality
20                             and grade when they are not;
21                      D.     Advertising the Class Vehicles with the intent not to sell or lease them as
22                             advertised;
23                      E.     Engaging in other conduct which created a likelihood of confusion or of
24                             misunderstanding; and/or
25                      F.     Using or employing deception, fraud, false pretense, false promise or
26                             misrepresentation, or the concealment, suppression or omission of a
27                             material fact with intent that others rely upon such concealment,
28                             suppression or omission, in connection with the advertisement and

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 1                              sale/lease of the Class Vehicles, whether or not any person has in fact been
 2                              misled, deceived or damaged thereby.
 3               1508. Defendants’ scheme and concealment of the true characteristics of the EcoDiesel®
 4   emission control system were material to Plaintiffs and the Florida State Class, as Defendants
 5   intended. Had they known the truth, Plaintiffs and the Florida State Class would not have
 6   purchased or leased the Class Vehicles, or—if the Class Vehicles’ true nature had been disclosed
 7   and mitigated, and the Vehicles rendered legal to sell—would have paid significantly less for
 8   them.
 9               1509. Plaintiffs and Florida State Class members had no way of discerning that
10   Defendants’ representations were false and misleading, or otherwise learning the facts that
11   Defendants had concealed or failed to disclose, because Defendants’ emission control software
12   was extremely sophisticated technology. Plaintiffs and Florida State Class members did not, and
13   could not, unravel Defendants’ deception on their own.
14               1510. Defendants had an ongoing duty to Plaintiffs and the Florida State Class to refrain
15   from unfair and deceptive practices under the FUDTPA in the course of their business.
16   Specifically, Defendants owed Plaintiffs and Florida State Class members a duty to disclose all
17   the material facts concerning the EcoDiesel® emission control system because they possessed
18   exclusive knowledge, they intentionally concealed it from Plaintiffs and the Florida State Class,
19   and/or they made misrepresentations that were rendered misleading because they were
20   contradicted by withheld facts.
21               1511. Plaintiffs and Florida State Class members suffered ascertainable loss and actual
22   damages as a direct and proximate result of Defendants’ concealment, misrepresentations, and/or
23   failure to disclose material information.
24               1512. Defendants’ violations present a continuing risk to Plaintiffs and the Florida State
25   Class, as well as to the general public. Defendants’ unlawful acts and practices complained of
26   herein affect the public interest.
27

28

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 1               1513. Pursuant to Fla. Stat. §§ 501.2105(1)-(2), Plaintiffs and the Florida State Class
 2   seek an order enjoining Defendants’ unfair and/or deceptive acts or practices, and awarding
 3   damages and any other just and proper relief available under the FUDTPA.
 4      VIOLATIONS OF GEORGIA’S UNIFORM DECEPTIVE TRADE PRACTICES ACT
                          (Ga. Code Ann. § 10-1-370, et seq.)
 5

 6               1514. Plaintiff incorporates by reference each preceding paragraph as though fully set
 7   forth herein.
 8               1515. Plaintiffs Marius Bihorean, James DeBerry, Tom Gillespie, Jeffrey Griggs,
 9   Michael Johnson, Nelson John Stephens, and William Turner III (for the purpose of this section,
10   “Plaintiffs”) bring this action on behalf of themselves and the Georgia State Class against all
11   Defendants.
12               1516. FCA, Fiat, VM Italy, VM America, Bosch GmbH, Bosch LLC, Sergio
13   Marchionne, Plaintiffs, and the Georgia State Class members are “persons” within the meaning of
14   Georgia Uniform Deceptive Trade Practices Act (“Georgia UDTPA”), Ga. Code. Ann. § 10-1-
15   371(5).
16               1517. The Georgia UDTPA prohibits any “deceptive trade practices,” which include
17   misrepresenting the “standard, quality, or grade” of goods or services, and engaging “in any other
18   conduct which similarly creates a likelihood of confusion or of misunderstanding.” Ga. Code.
19   Ann. § 10-1-372(a).
20               1518. As detailed in the common law fraud allegations: (1) Fiat Chrysler affirmatively
21   misrepresented the environmental friendliness and emissions of the Class Vehicles through the
22   EcoDiesel badge—a material fact that was false because the Defendants developed and installed
23   emission cheating components in the Class Vehicles that caused them to pollute excessively in
24   real-world conditions; (2) Fiat Chrysler touted, through the EcoDiesel badge and uniform and
25   pervasive consumer communications, the Class Vehicles’ fuel efficiency and performance, and
26   the Defendants concealed that the fuel efficiency and performance could be achieved only
27   through emission control devices in the Class Vehicles that caused them to pollute excessively in
28   real-world conditions; and (3) the Defendants developed and installed emission cheating

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 1   components that caused the Class Vehicles to pollute excessively in real-world conditions, and
 2   fraudulently concealed that fact from regulators and Class Members alike. See, e.g., ¶¶ 149-216;
 3   337-357. Defendants’ deceptive conduct violates the Georgia UDPTA in at least the following
 4   ways:
 5                      A.     Causing likelihood of confusion or of misunderstanding as to the approval
 6                             or certification of the Class Vehicles;
 7                      B.     Representing that the Class Vehicles have characteristics, uses, or benefits
 8                             that they do not have;
 9                      C.     Representing that the Class Vehicles are of a particular standard, quality
10                             and grade when they are not;
11                      D.     Advertising the Class Vehicles with the intent not to sell or lease them as
12                             advertised; and
13                      E.     Engaging in other conduct which created a likelihood of confusion or of
14                             misunderstanding.
15               1519. Defendants’ cheating scheme and concealment of the true characteristics of the
16   EcoDiesel emission control system were material to Plaintiffs and the Georgia State Class, and
17   Defendants misrepresented, concealed, or failed to disclose the truth with the intention that
18   consumers would rely on the misrepresentations, concealments, and omissions. Had they known
19   the truth, Plaintiffs and the Georgia State Class members who purchased or leased the Class
20   Vehicles would not have purchased or leased them at all or—if the Vehicles’ true nature had been
21   disclosed and mitigated, and the Vehicles rendered legal to sell—would have paid significantly
22   less for them.
23               1520. Plaintiffs and Georgia State Class members suffered ascertainable loss and actual
24   damages as a direct and proximate result of Defendants’ misrepresentations and their
25   concealment of and failure to disclose material information.
26               1521. Pursuant to Ga. Code. Ann § 10-1-373, Plaintiffs and the Georgia State Class seek
27   an order enjoining Defendants’ unfair and/or deceptive acts or practices and any other just and
28   proper relief available under the Georgia UDTPA.

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 1                  VIOLATIONS OF GEORGIA’S FAIR BUSINESS PRACTICES ACT
                                 (Ga. Code Ann. § 10-1-390, et seq.)
 2

 3               1522. Plaintiffs incorporate by reference each preceding paragraph as though fully set

 4   forth herein.

 5               1523. Plaintiffs Marius Bihorean, James DeBerry, Tom Gillespie, Jeffrey Griggs,

 6   Michael Johnson, Nelson John Stephens, and William Turner (for the purpose of this section,

 7   “Plaintiffs”) bring this action on behalf of themselves and the Georgia State Class against all

 8   Defendants.

 9               1524. The Georgia Fair Business Practices Act (“Georgia FBPA”) declares “[u]nfair or

10   deceptive acts or practices in the conduct of consumer transactions and consumer acts or practices

11   in trade or commerce” to be unlawful. Ga. Code. Ann. § 10-1-393(a).

12               1525. In the course of their business, Defendants Fiat Chrysler, VM Motori, Bosch, and

13   Sergio Marchionne, through their agents, employees, and/or subsidiaries, violated the Georgia

14   FBPA.

15               1526. As detailed in the common law fraud allegations: (1) Fiat Chrysler affirmatively

16   misrepresented the environmental friendliness and emissions of the Class Vehicles through the

17   EcoDiesel badge—a material fact that was false because the Defendants developed and installed

18   emission cheating components in the Class Vehicles that caused them to pollute excessively in

19   real-world conditions; (2) Fiat Chrysler touted, through the EcoDiesel badge and uniform and

20   pervasive consumer communications, the Class Vehicles’ fuel efficiency and performance, and

21   the Defendants concealed that the fuel efficiency and performance could be achieved only

22   through emission control devices in the Class Vehicles that caused them to pollute excessively in

23   real-world conditions; and (3) the Defendants developed and installed emission cheating

24   components that caused the Class Vehicles to pollute excessively in real-world conditions, and

25   fraudulently concealed that fact from regulators and Class Members alike. See, e.g., ¶¶ 149-216;

26   337-357. In so doing, and by marketing, offering for sale, and selling the defective Class

27   Vehicles, Defendants engaged in one or more of the following unfair or deceptive acts or

28   practices as defined in Ga. Code. Ann. § 10-1-393(b):

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 1                      A.     Causing confusion or of misunderstanding as to the approval or
 2                             certification of the Class Vehicles;
 3                      B.     Representing that the Class Vehicles have approval, characteristics, uses,
 4                             or benefits that they do not have;
 5                      C.     Representing that the Class Vehicles are of a particular standard, quality
 6                             and grade when they are not; and/or
 7                      D.     Advertising the Class Vehicles with the intent not to sell or lease them as
 8                             advertised.
 9               1527. Defendants’ scheme and concealment of the true characteristics of the EcoDiesel®
10   emission control system were material to Plaintiffs and the Georgia State Class, as Defendants
11   intended. Had they known the truth, Plaintiffs and the Georgia State Class would not have
12   purchased or leased the Class Vehicles, or—if the Class Vehicles’ true nature had been disclosed
13   and mitigated, and the Vehicles rendered legal to sell—would have paid significantly less for
14   them.
15               1528. Plaintiffs and Georgia State Class members had no way of discerning that
16   Defendants’ representations were false and misleading, or otherwise learning the facts that
17   Defendants had concealed or failed to disclose, because Defendants’ emission control software
18   was extremely sophisticated technology. Plaintiffs and Georgia State Class members did not, and
19   could not, unravel Defendants’ deception on their own.
20               1529. Defendants had an ongoing duty to Plaintiffs and the Georgia State Class to refrain
21   from unfair and deceptive practices under the Georgia FBPA in the course of their business.
22   Specifically, Defendants owed Plaintiffs and Georgia State Class members a duty to disclose all
23   the material facts concerning the EcoDiesel® emission control system because they possessed
24   exclusive knowledge, they intentionally concealed it from Plaintiffs and the Georgia State Class,
25   and/or they made misrepresentations that were rendered misleading because they were
26   contradicted by withheld facts.
27

28

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 1               1530. Plaintiffs and Georgia State Class members suffered ascertainable loss and actual
 2   damages as a direct and proximate result of Defendants’ concealment, misrepresentations, and/or
 3   failure to disclose material information.
 4               1531. Defendants’ violations present a continuing risk to Plaintiffs and the Georgia State
 5   Class, as well as to the general public. Defendants’ unlawful acts and practices complained of
 6   herein affect the public interest.
 7               1532. Pursuant to Ga. Code. Ann. § 10-1-399, Plaintiffs and the Georgia State Class seek
 8   an order enjoining Defendants’ unfair and/or deceptive acts or practices, and awarding any other
 9   just and proper relief available under the Georgia FBPA.
10               1533. On June 12, 2017, Plaintiff Turner sent a notice letter to FCA US LLC complying
11   with Ga. Code. Ann. § 10-1-399(b). Plaintiffs sent a second notice letter pursuant to Ga. Code.
12   Ann. § 10-1-399(b) to all Defendants on July 19, 2017. Additionally, all Defendants were
13   provided notice of the issues raised in this count and this Complaint by the governmental
14   investigations, the numerous complaints filed against them, and the many individual notice letters
15   sent by Plaintiffs within a reasonable amount of time after the allegations of Class Vehicle defects
16   became public. Because Defendants failed to remedy their unlawful conduct within the requisite
17   time period, Plaintiffs seek all damages and relief to which Plaintiff and the Georgia State are
18   entitled.
19                 UNFAIR AND DECEPTIVE ACTS IN VIOLATION OF HAWAII LAW
                                  (Haw. Rev. Stat. § 480, et seq.)
20

21               1534. Plaintiffs incorporate by reference each preceding paragraph as though fully set
22   forth herein.
23               1535. This count is brought on behalf of the Hawaii State Class against all Defendants.
24               1536. FCA, Fiat, VM Italy, VM America, Bosch GmbH, Bosch LLC, Sergio
25   Marchionne, and the Hawaii State Class members are “persons” within the meaning of Haw. Rev.
26   Stat. § 480-1. The Hawaii State Class members are “consumers” within the meaning of Haw.
27   Rev. Stat. § 480-1.
28

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 1               1537. FCA, Fiat, VM Italy, VM America, Bosch GmbH, Bosch LLC, and Marchionne
 2   are engaged in trade or commerce.
 3               1538. The Hawaii Act prohibits “unfair methods of competition and unfair or deceptive
 4   acts or practices in the conduct of any trade or commerce.…” Haw. Rev. Stat. § 480-2(a).
 5               1539. In the course of their business, Defendants Fiat Chrysler, VM Motori, Bosch, and
 6   Sergio Marchionne, through their agents, employees, and/or subsidiaries, violated the Hawaii Act.
 7               1540. As detailed in the common law fraud allegations: (1) Fiat Chrysler affirmatively
 8   misrepresented the environmental friendliness and emissions of the Class Vehicles through the
 9   EcoDiesel badge—a material fact that was false because the Defendants developed and installed
10   emission cheating components in the Class Vehicles that caused them to pollute excessively in
11   real-world conditions; (2) Fiat Chrysler touted, through the EcoDiesel badge and uniform and
12   pervasive consumer communications, the Class Vehicles’ fuel efficiency and performance, and
13   the Defendants concealed that the fuel efficiency and performance could be achieved only
14   through emission control devices in the Class Vehicles that caused them to pollute excessively in
15   real-world conditions; and (3) the Defendants developed and installed emission cheating
16   components that caused the Class Vehicles to pollute excessively in real-world conditions, and
17   fraudulently concealed that fact from regulators and Class Members alike. See, e.g., ¶¶ 149-216;
18   337-357. In so doing, and by marketing, offering for sale, and selling the defective Class
19   Vehicles, Defendants engaged in one or more of the following unfair or deceptive acts or
20   practices in violation of § 480-2(a):
21                      A.     Causing likelihood of confusion or of misunderstanding as to the approval
22                             or certification of the Class Vehicles;
23                      B.     Representing that the Class Vehicles have approval, characteristics, uses,
24                             or benefits that they do not have;
25                      C.     Representing that the Class Vehicles are of a particular standard, quality
26                             and grade when they are not;
27                      D.     Advertising the Class Vehicles with the intent not to sell or lease them as
28                             advertised;

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 1                      E.     Engaging in other conduct which created a likelihood of confusion or of
 2                             misunderstanding; and/or
 3                      F.     Using or employing deception, fraud, false pretense, false promise or
 4                             misrepresentation, or the concealment, suppression or omission of a
 5                             material fact with intent that others rely upon such concealment,
 6                             suppression or omission, in connection with the advertisement and
 7                             sale/lease of the Class Vehicles, whether or not any person has in fact been
 8                             misled, deceived or damaged thereby.
 9               1541. Defendants’ scheme and concealment of the true characteristics of the EcoDiesel®
10   emission control system were material to the Hawaii State Class, as Defendants intended. Had
11   they known the truth, the Hawaii State Class would not have purchased or leased the Class
12   Vehicles, or—if the Class Vehicles’ true nature had been disclosed and mitigated, and the
13   Vehicles rendered legal to sell—would have paid significantly less for them.
14               1542. Hawaii State Class members had no way of discerning that Defendants’
15   representations were false and misleading, or otherwise learning the facts that Defendants had
16   concealed or failed to disclose, because Defendants’ emission control software was extremely
17   sophisticated technology. Hawaii State Class members did not, and could not, unravel
18   Defendants’ deception on their own.
19               1543. Defendants had an ongoing duty to the Hawaii State Class to refrain from unfair
20   and deceptive practices under the Hawaii Act in the course of their business. Specifically,
21   Defendants owed Hawaii State Class members a duty to disclose all the material facts concerning
22   the EcoDiesel® emission control system because they possessed exclusive knowledge, they
23   intentionally concealed it from the Hawaii State Class, and/or they made misrepresentations that
24   were rendered misleading because they were contradicted by withheld facts.
25               1544. Hawaii State Class members suffered ascertainable loss and actual damages as a
26   direct and proximate result of Defendants’ concealment, misrepresentations, and/or failure to
27   disclose material information.
28

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 1               1545. Defendants’ violations present a continuing risk to the Hawaii State Class, as well
 2   as to the general public. Defendants’ unlawful acts and practices complained of herein affect the
 3   public interest.
 4               1546. Pursuant to Haw. Rev. Stat. § 480-13, the Hawaii State Class seek an order
 5   enjoining Defendants’ unfair and/or deceptive acts or practices, and awarding damages, punitive
 6   damages, and any other just and proper relief available under the Hawaii Act.
 7               1547. Under Haw. Rev. Stat. § 480-13.5, the Hawaii State class seek an additional award
 8   against Defendants of up to $10,000 for each Hawaii State Class member who qualifies as a
 9   Hawaiian elder under the Hawaii Act. Defendants knew or should have known that their conduct
10   was directed to one or more Hawaii State Class members who are elders. Defendants’ conduct
11   caused one or more of these elders to suffer a substantial loss of property set aside for retirement
12   or for personal or family care and maintenance, or assets essential to the health or welfare of the
13   elder. One or more Hawaii State Class members who are elders are substantially more vulnerable
14   to Defendants’ conduct because of age, poor health or infirmity, impaired understanding,
15   restricted mobility, or disability, and each of them suffered substantial physical, emotional, or
16   economic damage resulting from Defendants’ conduct.
17                   VIOLATIONS OF THE IDAHO CONSUMER PROTECTION ACT
                                   (Idaho Code § 48-601, et seq.)
18

19               1548. Plaintiffs incorporate by reference each preceding paragraph as though fully set
20   forth herein.
21               1549. Plaintiffs Adam Burwell, Karl Calhoun, and Mathue Fasching (for the purpose of
22   this section, “Plaintiffs”) bring this action on behalf of themselves and the Idaho State Class
23   against all Defendants.
24               1550. FCA, Fiat, VM Italy, VM America, Bosch GmbH, Bosch LLC, Sergio
25   Marchionne, Plaintiffs, and the Idaho State Class members are “persons” within the meaning
26   Idaho Code § 48-602(1).
27               1551. FCA, Fiat, VM Italy, VM America, Bosch GmbH, Bosch LLC, and Marchionne
28   are engaged in “trade” or “commerce” within the meaning of Idaho Code § 48-602(2).

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 1               1552. The Idaho Consumer Credit and Protection Act (“Idaho CPA”) makes unlawful
 2   misleading, false, or deceptive acts.
 3               1553. In the course of their business, Defendants Fiat Chrysler, VM Motori, Bosch, and
 4   Marchionne, through their agents, employees, and/or subsidiaries, violated the Idaho CPA.
 5               1554. As detailed in the common law fraud allegations: (1) Fiat Chrysler affirmatively
 6   misrepresented the environmental friendliness and emissions of the Class Vehicles through the
 7   EcoDiesel badge—a material fact that was false because the Defendants developed and installed
 8   emission cheating components in the Class Vehicles that caused them to pollute excessively in
 9   real-world conditions; (2) Fiat Chrysler touted, through the EcoDiesel badge and uniform and
10   pervasive consumer communications, the Class Vehicles’ fuel efficiency and performance, and
11   the Defendants concealed that the fuel efficiency and performance could be achieved only
12   through emission control devices in the Class Vehicles that caused them to pollute excessively in
13   real-world conditions; and (3) the Defendants developed and installed emission cheating
14   components that caused the Class Vehicles to pollute excessively in real-world conditions, and
15   fraudulently concealed that fact from regulators and Class Members alike. See, e.g., ¶¶ 149-216;
16   337-357. In so doing, and by marketing, offering for sale, and selling the defective Class
17   Vehicles, Defendants engaged in one or more of the following unfair or deceptive acts or
18   practices proscribed by Idaho Code § 48-603:
19                      A.     Causing likelihood of confusion or of misunderstanding as to the approval
20                             or certification of the Class Vehicles;
21                      B.     Representing that the Class Vehicles have approval, characteristics, uses,
22                             or benefits that they do not have;
23                      C.     Representing that the Class Vehicles are of a particular standard, quality
24                             and grade when they are not;
25                      D.     Advertising the Class Vehicles with the intent not to sell or lease them as
26                             advertised; and/or
27                      E.     Engaging in other conduct which created a likelihood of confusion or of
28                             misunderstanding.

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 1               1555. Defendants’ scheme and concealment of the true characteristics of the EcoDiesel®
 2   emission control system were material to Plaintiffs and the Idaho State Class, as Defendants
 3   intended. Had they known the truth, Plaintiffs and the Idaho State Class would not have
 4   purchased or leased the Class Vehicles, or—if the Class Vehicles’ true nature had been disclosed
 5   and mitigated, and the Vehicles rendered legal to sell—would have paid significantly less for
 6   them.
 7               1556. Plaintiffs and Idaho State Class members had no way of discerning that
 8   Defendants’ representations were false and misleading, or otherwise learning the facts that
 9   Defendants had concealed or failed to disclose, because Defendants’ emission control software
10   was extremely sophisticated technology. Plaintiffs and Idaho State Class members did not, and
11   could not, unravel Defendants’ deception on their own.
12               1557. Defendants had an ongoing duty to Plaintiffs and the Idaho State Class to refrain
13   from unfair and deceptive practices under the Idaho CPA in the course of their business.
14   Specifically, Defendants owed Plaintiffs and Idaho State Class members a duty to disclose all the
15   material facts concerning the EcoDiesel® emission control system because they possessed
16   exclusive knowledge, they intentionally concealed it from Plaintiffs and the Idaho State Class,
17   and/or they made misrepresentations that were rendered misleading because they were
18   contradicted by withheld facts.
19               1558. Plaintiffs and Idaho State Class members suffered ascertainable loss and actual
20   damages as a direct and proximate result of Defendants’ concealment, misrepresentations, and/or
21   failure to disclose material information.
22               1559. Defendants’ violations present a continuing risk to Plaintiffs and the Idaho State
23   Class, as well as to the general public. Defendants’ unlawful acts and practices complained of
24   herein affect the public interest.
25               1560. Pursuant Idaho Code § 48-608, Plaintiffs and the Idaho State Class seek an order
26   enjoining Defendants’ unfair and/or deceptive acts or practices, and awarding damages, punitive
27   damages, and any other just and proper relief available under the Idaho CPA.
28

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 1                          VIOLATION OF ILLINOIS CONSUMER FRAUD AND
                                DECEPTIVE BUSINESS PRACTICES ACT
 2                                  (815 ILCS 505/1, et seq. and 510/2)
 3               1561. Plaintiffs incorporate by reference each preceding paragraph as though fully set

 4   forth herein.

 5               1562. Plaintiff Aaron Carter (for the purpose of this section, “Plaintiff”) brings this

 6   action on behalf of himself and the Illinois State Class against all Defendants.

 7               1563. FCA, Fiat, VM Italy, VM America, Bosch GmbH, Bosch LLC, Sergio

 8   Marchionne, Plaintiff, and the Illinois State Class members are “persons” within the meaning 815

 9   ILCS 505/1(c) and 510/1(5). Plaintiff and the Illinois State Class members are “consumers”

10   within the meaning of 815 ILCS 505/1(e).

11               1564. The Illinois Consumer Fraud and Deceptive Practices Act (“Illinois CFA”) makes

12   unlawful “unfair or deceptive acts or practices, including but not limited to the use or

13   employment of any deception, fraud, false pretense, false promise, misrepresentation or the

14   concealment, suppression or omission of any material fact, with intent that others rely upon the

15   concealment, suppression or omission of such material fact … in the conduct of trade or

16   commerce … whether any person has in fact been misled, deceived or damaged thereby.” 815

17   ILCS 505/2. The Illinois CFA further makes unlawful deceptive trade practices undertaken in the

18   course of business. 815 ILCS 510/2.

19               1565. In the course of their business, Defendants Fiat Chrysler, VM Motori, Bosch, and

20   Marchionne, through their agents, employees, and/or subsidiaries, violated the Illinois CFA.

21               1566. As detailed in the common law fraud allegations: (1) Fiat Chrysler affirmatively

22   misrepresented the environmental friendliness and emissions of the Class Vehicles through the

23   EcoDiesel badge—a material fact that was false because the Defendants developed and installed

24   emission cheating components in the Class Vehicles that caused them to pollute excessively in

25   real-world conditions; (2) Fiat Chrysler touted, through the EcoDiesel badge and uniform and

26   pervasive consumer communications, the Class Vehicles’ fuel efficiency and performance, and

27   the Defendants concealed that the fuel efficiency and performance could be achieved only

28   through emission control devices in the Class Vehicles that caused them to pollute excessively in

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 1   real-world conditions; and (3) the Defendants developed and installed emission cheating
 2   components that caused the Class Vehicles to pollute excessively in real-world conditions, and
 3   fraudulently concealed that fact from regulators and Class Members alike. See, e.g., ¶¶ 149-216;
 4   337-357. In so doing, and by marketing, offering for sale, and selling the defective Class
 5   Vehicles, Defendants engaged in one or more of the following unfair or deceptive acts or
 6   practices prohibited by 815 ILCS 505/2 and 510/2:
 7                      A.     Causing likelihood of confusion or of misunderstanding as to the approval
 8                             or certification of the Class Vehicles;
 9                      B.     Representing that the Class Vehicles have approval, characteristics, uses,
10                             or benefits that they do not have;
11                      C.     Representing that the Class Vehicles are of a particular standard, quality
12                             and grade when they are not;
13                      D.     Advertising the Class Vehicles with the intent not to sell or lease them as
14                             advertised;
15                      E.     Engaging in other conduct which created a likelihood of confusion or of
16                             misunderstanding; and/or
17                      F.     Using or employing deception, fraud, false pretense, false promise or
18                             misrepresentation, or the concealment, suppression or omission of a
19                             material fact with intent that others rely upon such concealment,
20                             suppression or omission, in connection with the advertisement and
21                             sale/lease of the Class Vehicles, whether or not any person has in fact been
22                             misled, deceived or damaged thereby.
23               1567. Defendants’ scheme and concealment of the true characteristics of the EcoDiesel®
24   emission control system were material to Plaintiff and the Illinois State Class, as Defendants
25   intended. Had they known the truth, Plaintiff and the Illinois State Class would not have
26   purchased or leased the Class Vehicles, or—if the Class Vehicles’ true nature had been disclosed
27   and mitigated, and the Vehicles rendered legal to sell—would have paid significantly less for
28   them.

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 1               1568. Plaintiff and Illinois State Class members had no way of discerning that
 2   Defendants’ representations were false and misleading, or otherwise learning the facts that
 3   Defendants had concealed or failed to disclose, because Defendants’ emission control software
 4   was extremely sophisticated technology. Plaintiff and Illinois State Class members did not, and
 5   could not, unravel Defendants’ deception on their own.
 6               1569. Defendants had an ongoing duty to Plaintiff and the Illinois State Class to refrain
 7   from unfair and deceptive practices under the Illinois CFA in the course of their business.
 8   Specifically, Defendants owed Plaintiff and Illinois State Class members a duty to disclose all the
 9   material facts concerning the EcoDiesel® emission control system because they possessed
10   exclusive knowledge, they intentionally concealed it from Plaintiff and the Illinois State Class,
11   and/or they made misrepresentations that were rendered misleading because they were
12   contradicted by withheld facts.
13               1570. Plaintiff and Illinois State Class members suffered ascertainable loss and actual
14   damages as a direct and proximate result of Defendants’ concealment, misrepresentations, and/or
15   failure to disclose material information.
16               1571. Defendants’ violations present a continuing risk to Plaintiff and the Illinois State
17   Class, as well as to the general public. Defendants’ unlawful acts and practices complained of
18   herein affect the public interest.
19               1572. Pursuant to 815 ILCS 505/10a(a) and 510/3, Plaintiff and the Illinois State Class
20   seek an order enjoining Defendants’ unfair and/or deceptive acts or practices, and awarding
21   damages, punitive damages, and any other just and proper relief available under the Illinois CFA.
22                VIOLATION OF THE INDIANA DECEPTIVE CONSUMER SALES ACT
                                     (Ind. Code § 24-5-0.5-3)
23

24               1573. Plaintiffs incorporate by reference each preceding paragraph as though fully set
25   forth herein.
26               1574. Plaintiff Mark Richards (for the purpose of this section, “Plaintiff”) brings this
27   action on behalf of himself and the Indiana State Class against all Defendants.
28

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 1               1575. FCA, Fiat, VM Italy, VM America, Bosch GmbH, Bosch LLC, Sergio
 2   Marchionne, Plaintiff, and the Indiana State Class members are “persons” within the meaning of
 3   Ind. Code § 24-5-0.5-2(2) and a “supplier” within the meaning of Ind. Code § 24-5-.05-2(a)(3).
 4               1576. Plaintiff’s and Indiana State Class members’ purchases of the Class Vehicles are
 5   “consumer transactions” within the meaning of Ind. Code § 24-5-.05-2(a)(1).
 6               1577. The Indiana Deceptive Consumer Sales Act (“Indiana DCSA prohibits a person
 7   from engaging in a “deceptive act,” which includes representing: “(1) That such subject of a
 8   consumer transaction has sponsorship, approval, performance, characteristics, accessories, uses,
 9   or benefits that they do not have, or that a person has a sponsorship, approval, status, affiliation,
10   or connection it does not have; (2) That such subject of a consumer transaction is of a particular
11   standard, quality, grade, style or model, if it is not and if the supplier knows or should reasonably
12   know that it is not; … (7) That the supplier has a sponsorship, approval or affiliation in such
13   consumer transaction that the supplier does not have, and which the supplier knows or should
14   reasonably know that the supplier does not have; … (c) Any representations on or within a
15   product or its packaging or in advertising or promotional materials which would constitute a
16   deceptive act shall be the deceptive act both of the supplier who places such a representation
17   thereon or therein, or who authored such materials, and such suppliers who shall state orally or in
18   writing that such representation is true if such other supplier shall know or have reason to know
19   that such representation was false.” Ind. Code § 24-5-0.5-3.
20               1578. In the course of their business, Defendants Fiat Chrysler, VM Motori, Bosch, and
21   Marchionne, through their agents, employees, and/or subsidiaries, violated the Indiana DCSA.
22               1579. As detailed in the common law fraud allegations: (1) Fiat Chrysler affirmatively
23   misrepresented the environmental friendliness and emissions of the Class Vehicles through the
24   EcoDiesel badge—a material fact that was false because the Defendants developed and installed
25   emission cheating components in the Class Vehicles that caused them to pollute excessively in
26   real-world conditions; (2) Fiat Chrysler touted, through the EcoDiesel badge and uniform and
27   pervasive consumer communications, the Class Vehicles’ fuel efficiency and performance, and
28   the Defendants concealed that the fuel efficiency and performance could be achieved only

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 1   through emission control devices in the Class Vehicles that caused them to pollute excessively in
 2   real-world conditions; and (3) the Defendants developed and installed emission cheating
 3   components that caused the Class Vehicles to pollute excessively in real-world conditions, and
 4   fraudulently concealed that fact from regulators and Class Members alike. See, e.g., ¶¶ 149-216;
 5   337-357. In so doing, and by marketing, offering for sale, and selling the defective Class
 6   Vehicles, Defendants engaged in one or more of the following unfair or deceptive acts or
 7   practices as defined in Ind. Code § 24-5-0.5-3:
 8                      A.     Representing that the Class Vehicles have approval, characteristics, uses,
 9                             or benefits that they do not have;
10                      B.     Representing that the Class Vehicles are of a particular standard, quality
11                             and grade when they are not; and/or
12                      C.     Advertising the Class Vehicles with the intent not to sell or lease them as
13                             advertised.
14               1580. Defendants’ scheme and concealment of the true characteristics of the EcoDiesel®
15   emission control system were material to Plaintiff and the Indiana State Class, as Defendants
16   intended. Had they known the truth, Plaintiff and the Indiana State Class would not have
17   purchased or leased the Class Vehicles, or—if the Class Vehicles’ true nature had been disclosed
18   and mitigated, and the Vehicles rendered legal to sell—would have paid significantly less for
19   them.
20               1581. Plaintiff and Indiana State Class members had no way of discerning that
21   Defendants’ representations were false and misleading, or otherwise learning the facts that
22   Defendants had concealed or failed to disclose, because Defendants’ emission control software
23   was extremely sophisticated technology. Plaintiff and Indiana State Class members did not, and
24   could not, unravel Defendants’ deception on their own.
25               1582. Defendants had an ongoing duty to Plaintiff and the Indiana State Class to refrain
26   from unfair and deceptive practices under the Indiana DCSA in the course of their business.
27   Specifically, Defendants owed Plaintiff and Indiana State Class members a duty to disclose all the
28   material facts concerning the EcoDiesel® emission control system because they possessed

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 1   exclusive knowledge, they intentionally concealed it from Plaintiff and the Indiana State Class,
 2   and/or they made misrepresentations that were rendered misleading because they were
 3   contradicted by withheld facts.
 4               1583. Plaintiff and Indiana State Class members suffered ascertainable loss and actual
 5   damages as a direct and proximate result of Defendants’ concealment, misrepresentations, and/or
 6   failure to disclose material information.
 7               1584. Defendants’ violations present a continuing risk to Plaintiff and the Indiana State
 8   Class, as well as to the general public. Defendants’ unlawful acts and practices complained of
 9   herein affect the public interest.
10               1585. Pursuant to Ind. Code § 24-5-0.5-4, Plaintiff and the Indiana State Class seek an
11   order enjoining Defendants’ unfair and/or deceptive acts or practices, and awarding damages,
12   punitive damages, and any other just and proper relief available under the Indiana DCSA.
13               1586. On November 8, 2016, a notice letter was sent to FCA US LLC complying with
14   Ind. Code § 24-5-0.5-5(a). Plaintiffs sent a second notice letter pursuant to Ind. Code § 24-5-0.5-
15   5(a) to all Defendants on July 19, 2017. Additionally, all Defendants were provided notice of the
16   issues raised in this count and this Complaint by the governmental investigations, the numerous
17   complaints filed against them, and the many individual notice letters sent by Plaintiffs within a
18   reasonable amount of time after the allegations of Class Vehicle defects became public. Because
19   Defendants failed to remedy its unlawful conduct within the requisite time period, Plaintiffs seek
20   all damages and relief to which Plaintiff and the Indiana State Class are entitled.
21                          VIOLATIONS OF THE PRIVATE RIGHT OF ACTION
                                    FOR CONSUMER FRAUDS ACT
22                                    (Iowa Code § 714h.1, et seq.)
23               1587. Plaintiffs incorporate by reference each preceding paragraph as though fully set
24   forth herein.
25               1588. Plaintiff Kirk Petersen (for the purpose of this section, “Plaintiff”) brings this
26   action on behalf of himself and the Iowa State Class against all Defendants.
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 1               1589. Plaintiff, FCA, Fiat, VM Italy, VM America, Bosch GmbH, Bosch LLC, Sergio
 2   Marchionne, and Iowa State Class members are “persons” within the meaning Iowa Code
 3   § 714H.2(7).
 4               1590. Plaintiff and the Iowa State Class members are “consumers” within the meaning of
 5   Iowa Code § 714H.2(3).
 6               1591. The Iowa Deceptive Consumer Sales Act (“Iowa DCSA”) prohibits a person from
 7   engaging in a “practice or act the person knows or reasonably should know is an unfair practice,
 8   deception, fraud, false pretense, or false promise, or the misrepresentation, concealment,
 9   suppression, or omission of a material fact, with the intent that others rely upon the unfair
10   practice, deception, fraud, false pretense, false promise, misrepresentation, concealment,
11   suppression, or omission in connection with the advertisement, sale, or lease of consumer
12   merchandise.” Iowa Code § 714H.3.
13               1592. In the course of their business, Defendants Fiat Chrysler, VM Motori, Bosch, and
14   Marchionne, through their agents, employees, and/or subsidiaries, violated the Iowa DCSA.
15               1593. As detailed in the common law fraud allegations: (1) Fiat Chrysler affirmatively
16   misrepresented the environmental friendliness and emissions of the Class Vehicles through the
17   EcoDiesel badge—a material fact that was false because the Defendants developed and installed
18   emission cheating components in the Class Vehicles that caused them to pollute excessively in
19   real-world conditions; (2) Fiat Chrysler touted, through the EcoDiesel badge and uniform and
20   pervasive consumer communications, the Class Vehicles’ fuel efficiency and performance, and
21   the Defendants concealed that the fuel efficiency and performance could be achieved only
22   through emission control devices in the Class Vehicles that caused them to pollute excessively in
23   real-world conditions; and (3) the Defendants developed and installed emission cheating
24   components that caused the Class Vehicles to pollute excessively in real-world conditions, and
25   fraudulently concealed that fact from regulators and Class Members alike. See, e.g., ¶¶ 149-216;
26   337-357. In so doing, and by marketing, offering for sale, and selling the defective Class
27   Vehicles, Defendants violated Iowa Code § 714H.3 by using or employing deception, fraud, false
28   pretense, false promise or misrepresentation, or the concealment, suppression or omission of a

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 1   material fact with intent that others rely upon such concealment, suppression or omission, in
 2   connection with the advertisement and sale/lease of the Class Vehicles, whether or not any person
 3   has in fact been misled, deceived or damaged thereby.
 4               1594. Defendants’ scheme and concealment of the true characteristics of the EcoDiesel®
 5   emission control system were material to Plaintiff and the Iowa State Class, as Defendants
 6   intended. Had they known the truth, Plaintiff and the Iowa State Class would not have purchased
 7   or leased the Class Vehicles, or—if the Class Vehicles’ true nature had been disclosed and
 8   mitigated, and the Vehicles rendered legal to sell—would have paid significantly less for them.
 9               1595. Plaintiff and Iowa State Class members had no way of discerning that Defendants’
10   representations were false and misleading, or otherwise learning the facts that Defendants had
11   concealed or failed to disclose, because Defendants’ emission control software was extremely
12   sophisticated technology. Plaintiff and Iowa State Class members did not, and could not, unravel
13   Defendants’ deception on their own.
14               1596. Defendants had an ongoing duty to Plaintiff and the Iowa State Class to refrain
15   from unfair and deceptive practices under the Iowa DCSA in the course of their business.
16   Specifically, Defendants owed Plaintiff and Iowa State Class members a duty to disclose all the
17   material facts concerning the EcoDiesel® emission control system because they possessed
18   exclusive knowledge, they intentionally concealed it from Plaintiff and the Iowa State Class,
19   and/or they made misrepresentations that were rendered misleading because they were
20   contradicted by withheld facts.
21               1597. Plaintiff and Iowa State Class members suffered ascertainable loss and actual
22   damages as a direct and proximate result of Defendants’ concealment, misrepresentations, and/or
23   failure to disclose material information.
24               1598. Defendants’ violations present a continuing risk to Plaintiff and the Iowa State
25   Class, as well as to the general public. Defendants’ unlawful acts and practices complained of
26   herein affect the public interest.
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 1               1599. On March 26, 2018, Plaintiffs sought approval from the Iowa Attorney General to
 2   file a class action claim under the Iowa DCSA. Plaintiffs received approval from the Office of
 3   the Attorney General in a letter dated April 2, 2018.
 4               1600. Pursuant to Iowa Code § 714H.5, Plaintiff and the Iowa State Class seek an order
 5   enjoining Defendants’ unfair and/or deceptive acts or practices, and awarding damages, treble or
 6   punitive damages, and any other just and proper relief available under the Iowa DCSA.
 7                  VIOLATIONS OF THE KANSAS CONSUMER PROTECTION ACT
                                 (Kan. Stat. Ann. § 50-623, et seq.)
 8

 9               1601. Plaintiffs incorporate by reference each preceding paragraph as though fully set
10   forth herein.
11               1602. This count is brought on behalf of the Kansas State Class against all Defendants.
12               1603. FCA, Fiat, VM Italy, VM America, Bosch GmbH, Bosch LLC, and Sergio
13   Marchionne are “suppliers” within the meaning of Kan. Stat. Ann. § 50-624(l). The Kansas State
14   Class members are “consumers” within the meaning of Kan. Stat. Ann. § 50-624(b).
15               1604. The sale of the Class Vehicles to the Kansas State Class members was a
16   “consumer transaction” within the meaning of Kan. Stat. Ann. § 50-624(c).
17               1605. The Kansas Consumer Credit and Protection Act (“Kansas CPA”) states “[n]o
18   supplier shall engage in any deceptive act or practice in connection with a consumer transaction.”
19   Kan. Stat. Ann. § 50-626(a).
20               1606. In the course of their business, Defendants Fiat Chrysler, VM Motori, Bosch, and
21   Marchionne, through their agents, employees, and/or subsidiaries, violated the Kansas CPA.
22               1607. As detailed in the common law fraud allegations: (1) Fiat Chrysler affirmatively
23   misrepresented the environmental friendliness and emissions of the Class Vehicles through the
24   EcoDiesel badge—a material fact that was false because the Defendants developed and installed
25   emission cheating components in the Class Vehicles that caused them to pollute excessively in
26   real-world conditions; (2) Fiat Chrysler touted, through the EcoDiesel badge and uniform and
27   pervasive consumer communications, the Class Vehicles’ fuel efficiency and performance, and
28   the Defendants concealed that the fuel efficiency and performance could be achieved only

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 1   through emission control devices in the Class Vehicles that caused them to pollute excessively in
 2   real-world conditions; and (3) the Defendants developed and installed emission cheating
 3   components that caused the Class Vehicles to pollute excessively in real-world conditions, and
 4   fraudulently concealed that fact from regulators and Class Members alike. See, e.g., ¶¶ 149-216;
 5   337-357. In so doing, and by marketing, offering for sale, and selling the defective Class
 6   Vehicles, Defendants engaged in one or more of the following unfair or deceptive acts or
 7   practices as defined in Kan. Stat. Ann. § 50-627(a):
 8                      A.     Representing that the Class Vehicles have approval, characteristics, uses,
 9                             or benefits that they do not have;
10                      B.     Representing that the Class Vehicles are of a particular standard, quality
11                             and grade when they are not;
12                      C.     Exaggerating and providing falsehoods regarding the material facts
13                             concerning the Class Vehicles; and/or
14                      D.     Failing to state, willfully concealing, suppressing, and/or omitting material
15                             facts relating to the Class Vehicles.
16               1608. Defendants’ scheme and concealment of the true characteristics of the EcoDiesel®
17   emission control system were material to the Kansas State Class, as Defendants intended. Had
18   they known the truth, the Kansas State Class would not have purchased or leased the Class
19   Vehicles, or—if the Class Vehicles’ true nature had been disclosed and mitigated, and the
20   Vehicles rendered legal to sell—would have paid significantly less for them.
21               1609. Kansas State Class members had no way of discerning that Defendants’
22   representations were false and misleading, or otherwise learning the facts that Defendants had
23   concealed or failed to disclose, because Defendants’ emission control software was extremely
24   sophisticated technology. Kansas State Class members did not, and could not, unravel
25   Defendants’ deception on their own.
26               1610. Defendants had an ongoing duty to the Kansas State Class to refrain from unfair
27   and deceptive practices under the Kansas CPA in the course of their business. Specifically,
28   Defendants owed Kansas State Class members a duty to disclose all the material facts concerning

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 1   the EcoDiesel® emission control system because they possessed exclusive knowledge, they
 2   intentionally concealed it from the Kansas State Class, and/or they made misrepresentations that
 3   were rendered misleading because they were contradicted by withheld facts.
 4               1611. Kansas State Class members suffered ascertainable loss and actual damages as a
 5   direct and proximate result of Defendants’ concealment, misrepresentations, and/or failure to
 6   disclose material information.
 7               1612. Defendants’ violations present a continuing risk to the Kansas State Class, as well
 8   as to the general public. Defendants’ unlawful acts and practices complained of herein affect the
 9   public interest.
10               1613. Pursuant to Kan. Stat. Ann §§ 50-634 and 50-636, the Kansas State Class seek an
11   order enjoining Defendants’ unfair and/or deceptive acts or practices, and awarding damages and
12   any other just and proper relief available under the Kansas CPA.
13                  VIOLATIONS OF THE LOUISIANA UNFAIR TRADE PRACTICES
                              AND CONSUMER PROTECTION LAW
14                                (La. Rev. Stat. § 51:1401, et seq.)
15               1614. Plaintiffs incorporate by reference each preceding paragraph as though fully set
16   forth herein.
17               1615. Plaintiffs Jamie Broom, Samuel Price, and John Radziewicz (for the purpose of
18   this section, “Plaintiffs”) bring this action on behalf of themselves and the Louisiana State Class
19   against all Defendants.
20               1616. FCA, Fiat, VM Italy, VM America, Bosch GmbH, Bosch LLC, Sergio
21   Marchionne, Plaintiffs, and the Louisiana State Class members are “persons” within the meaning
22   of La. Rev. Stat. § 51:1402(8). Plaintiffs and the Louisiana State Class members are “consumers”
23   within the meaning of La. Rev. Stat. § 51:1402(1).
24               1617. FCA, Fiat, VM Italy, VM America, Bosch GmbH, Bosch LLC, and Marchionne
25   are engaged in “trade” or “commerce” within the meaning of La. Rev. Stat. § 51:1402(10).
26               1618. The Louisiana Unfair Trade Practices and Consumer Protection Law (“Louisiana
27   CPL”) makes unlawful “deceptive acts or practices in the conduct of any trade or commerce.”
28   La. Rev. Stat. § 51:1405(A).

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 1               1619. In the course of their business, Defendants Fiat Chrysler, VM Motori, Bosch, and
 2   Marchionne, through their agents, employees, and/or subsidiaries, violated the Louisiana CPL.
 3               1620. As detailed in the common law fraud allegations: (1) Fiat Chrysler affirmatively
 4   misrepresented the environmental friendliness and emissions of the Class Vehicles through the
 5   EcoDiesel badge—a material fact that was false because the Defendants developed and installed
 6   emission cheating components in the Class Vehicles that caused them to pollute excessively in
 7   real-world conditions; (2) Fiat Chrysler touted, through the EcoDiesel badge and uniform and
 8   pervasive consumer communications, the Class Vehicles’ fuel efficiency and performance, and
 9   the Defendants concealed that the fuel efficiency and performance could be achieved only
10   through emission control devices in the Class Vehicles that caused them to pollute excessively in
11   real-world conditions; and (3) the Defendants developed and installed emission cheating
12   components that caused the Class Vehicles to pollute excessively in real-world conditions, and
13   fraudulently concealed that fact from regulators and Class Members alike. See, e.g., ¶¶ 149-216;
14   337-357. In so doing, and by marketing, offering for sale, and selling the defective Class
15   Vehicles, Defendants engaged in one or more of the following unfair or deceptive acts or
16   practices as defined in La. Rev. Stat. § 51:1405(A):
17                      A.     Causing likelihood of confusion or of misunderstanding as to the approval
18                             or certification of the Class Vehicles;
19                      B.     Representing that the Class Vehicles have approval, characteristics, uses,
20                             or benefits that they do not have;
21                      C.     Representing that the Class Vehicles are of a particular standard, quality
22                             and grade when they are not;
23                      D.     Advertising the Class Vehicles with the intent not to sell or lease them as
24                             advertised;
25                      E.     Engaging in other conduct which created a likelihood of confusion or of
26                             misunderstanding; and/or
27                      F.     Using or employing deception, fraud, false pretense, false promise or
28                             misrepresentation, or the concealment, suppression or omission of a

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 1                             material fact with intent that others rely upon such concealment,
 2                             suppression or omission, in connection with the advertisement and
 3                             sale/lease of the Class Vehicles, whether or not any person has in fact been
 4                             misled, deceived or damaged thereby.
 5               1621. Defendants’ scheme and concealment of the true characteristics of the EcoDiesel®
 6   emission control system were material to Plaintiffs and the Louisiana State Class, as Defendants
 7   intended. Had they known the truth, Plaintiffs and the Louisiana State Class would not have
 8   purchased or leased the Class Vehicles, or—if the Class Vehicles’ true nature had been disclosed
 9   and mitigated, and the Vehicles rendered legal to sell—would have paid significantly less for
10   them.
11               1622. Plaintiffs and Louisiana State Class members had no way of discerning that
12   Defendants’ representations were false and misleading, or otherwise learning the facts that
13   Defendants had concealed or failed to disclose, because Defendants’ emission control software
14   was extremely sophisticated technology. Plaintiffs and Louisiana State Class members did not,
15   and could not, unravel Defendants’ deception on their own.
16               1623. Defendants had an ongoing duty to Plaintiffs and the Louisiana State Class to
17   refrain from unfair and deceptive practices under the Louisiana CPL in the course of their
18   business. Specifically, Defendants owed Plaintiffs and Louisiana State Class members a duty to
19   disclose all the material facts concerning the EcoDiesel® emission control system because they
20   possessed exclusive knowledge, they intentionally concealed it from Plaintiffs and the Louisiana
21   State Class, and/or they made misrepresentations that were rendered misleading because they
22   were contradicted by withheld facts.
23               1624. Plaintiffs and Louisiana State Class members suffered ascertainable loss and actual
24   damages as a direct and proximate result of Defendants’ concealment, misrepresentations, and/or
25   failure to disclose material information.
26               1625. Defendants’ violations present a continuing risk to Plaintiffs and the Louisiana
27   State Class, as well as to the general public. Defendants’ unlawful acts and practices complained
28   of herein affect the public interest.

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 1               1626. Pursuant to La. Rev. Stat. § 51:1409, Plaintiffs and the Louisiana State Class seek
 2   an order enjoining Defendants’ unfair and/or deceptive acts or practices, and awarding damages,
 3   punitive damages, and any other just and proper relief available under the Louisiana CPL.
 4                      VIOLATION OF MAINE UNFAIR TRADE PRACTICES ACT
                                (Me. Rev. Stat. Ann. Tit. 5 § 205-a, et seq.)
 5

 6               1627. Plaintiffs incorporate by reference each preceding paragraph as though fully set
 7   forth herein.
 8               1628. Plaintiff Edward Devault (for the purpose of this section, “Plaintiff”) brings this
 9   action on behalf of himself and the Maine State Class against all Defendants.
10               1629. Plaintiff, FCA, Fiat, VM Italy, VM America, Bosch GmbH, Bosch LLC, Sergio
11   Marchionne, and the Maine State Class members are “persons” within the meaning of Me. Rev.
12   Stat. Ann. Tit. 5 § 206(2).
13               1630. FCA, Fiat, VM Italy, VM America, Bosch GmbH, Bosch LLC, and Marchionne
14   are engaged in “trade” or “commerce” within the meaning of Me. Rev. Stat. Ann. Tit. 5 § 206(3.
15               1631. The Maine Unfair Trade Practices Act (“Maine UTPA”) makes unlawful “[u]nfair
16   methods of competition and unfair or deceptive acts or practices in the conduct of any trade or
17   commerce….” Me. Rev. Stat. Ann. Tit. 5 § 207.
18               1632. In the course of their business, Defendants Fiat Chrysler, VM Motori, Bosch, and
19   Marchionne, through their agents, employees, and/or subsidiaries, violated the Maine UTPA.
20               1633. As detailed in the common law fraud allegations: (1) Fiat Chrysler affirmatively
21   misrepresented the environmental friendliness and emissions of the Class Vehicles through the
22   EcoDiesel badge—a material fact that was false because the Defendants developed and installed
23   emission cheating components in the Class Vehicles that caused them to pollute excessively in
24   real-world conditions; (2) Fiat Chrysler touted, through the EcoDiesel badge and uniform and
25   pervasive consumer communications, the Class Vehicles’ fuel efficiency and performance, and
26   the Defendants concealed that the fuel efficiency and performance could be achieved only
27   through emission control devices in the Class Vehicles that caused them to pollute excessively in
28   real-world conditions; and (3) the Defendants developed and installed emission cheating

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 1   components that caused the Class Vehicles to pollute excessively in real-world conditions, and
 2   fraudulently concealed that fact from regulators and Class Members alike. See, e.g., ¶¶ 149-216;
 3   337-357. In so doing, and by marketing, offering for sale, and selling the defective Class
 4   Vehicles, Defendants engaged in one or more of the following unfair or deceptive acts or
 5   practices as defined in Me. Rev. Stat. Ann. Tit. 5 § 207:
 6                      A.     Causing likelihood of confusion or of misunderstanding as to the approval
 7                             or certification of the Class Vehicles;
 8                      B.     Representing that the Class Vehicles have approval, characteristics, uses,
 9                             or benefits that they do not have;
10                      C.     Representing that the Class Vehicles are of a particular standard, quality
11                             and grade when they are not;
12                      D.     Advertising the Class Vehicles with the intent not to sell or lease them as
13                             advertised;
14                      E.     Engaging in other conduct which created a likelihood of confusion or of
15                             misunderstanding; and/or
16                      F.     Using or employing deception, fraud, false pretense, false promise or
17                             misrepresentation, or the concealment, suppression or omission of a
18                             material fact with intent that others rely upon such concealment,
19                             suppression or omission, in connection with the advertisement and
20                             sale/lease of the Class Vehicles, whether or not any person has in fact been
21                             misled, deceived or damaged thereby.
22               1634. Defendants’ scheme and concealment of the true characteristics of the EcoDiesel®
23   emission control system were material to Plaintiff and the Maine State Class, as Defendants
24   intended. Had they known the truth, Plaintiff and the Maine State Class would not have
25   purchased or leased the Class Vehicles, or—if the Class Vehicles’ true nature had been disclosed
26   and mitigated, and the Vehicles rendered legal to sell—would have paid significantly less for
27   them.
28

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 1               1635. Plaintiff and Maine State Class members had no way of discerning that
 2   Defendants’ representations were false and misleading, or otherwise learning the facts that
 3   Defendants had concealed or failed to disclose, because Defendants’ emission control software
 4   was extremely sophisticated technology. Plaintiff and Maine State Class members did not, and
 5   could not, unravel Defendants’ deception on their own.
 6               1636. Defendants had an ongoing duty to Plaintiff and the Maine State Class to refrain
 7   from unfair and deceptive practices under the Maine UTPA in the course of their business.
 8   Specifically, Defendants owed Plaintiff and Maine State Class members a duty to disclose all the
 9   material facts concerning the EcoDiesel® emission control system because they possessed
10   exclusive knowledge, they intentionally concealed it from Plaintiff and the Maine State Class,
11   and/or they made misrepresentations that were rendered misleading because they were
12   contradicted by withheld facts.
13               1637. Plaintiff and Maine State Class members suffered ascertainable loss and actual
14   damages as a direct and proximate result of Defendants’ concealment, misrepresentations, and/or
15   failure to disclose material information.
16               1638. Defendants’ violations present a continuing risk to Plaintiff and the Maine State
17   Class, as well as to the general public. Defendants’ unlawful acts and practices complained of
18   herein affect the public interest.
19               1639. Pursuant to Me. Rev. Stat. Ann. Tit. 5 § 213, Plaintiff and the Maine State Class
20   seek an order enjoining Defendants’ unfair and/or deceptive acts or practices, and awarding
21   damages and any other just and proper relief available under the Maine UTPA.
22               1640. On November 28, 2016, a notice letter was sent to FCA US LLC complying with
23   Me. Rev. Stat. Ann. Tit. 5 § 213(1-A). Plaintiffs sent a second notice letter pursuant to Me. Rev.
24   Stat. Ann. Tit. 5 § 213(1-A) to all Defendants on July 19, 2017. Additionally, all Defendants
25   were provided notice of the issues raised in this count and this Complaint by the governmental
26   investigations, the numerous complaints filed against them, and the many individual notice letters
27   sent by Plaintiffs within a reasonable amount of time after the allegations of Class Vehicle defects
28   became public. Because Defendants failed to remedy their unlawful conduct within the requisite

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 1   time period, Plaintiff and the Maine State Class members seek all damages and relief to which
 2   they are entitled.
 3                VIOLATIONS OF THE MARYLAND CONSUMER PROTECTION ACT
                               (Md. Code Com. Law § 13-101, et seq.)
 4

 5               1641. Plaintiffs incorporate by reference each preceding paragraph as though fully set
 6   forth herein.
 7               1642. Plaintiffs Kyle and Jessica Heidlebaugh (for the purpose of this section,
 8   “Plaintiffs”) bring this action on behalf of themselves and the Maryland State Class against all
 9   Defendants.
10               1643. FCA, Fiat, VM Italy, VM America, Bosch GmbH, Bosch LLC, Sergio
11   Marchionne, Plaintiffs, and the Maryland State Class members are “persons” within the meaning
12   of Md. Code Com. Law § 13-101(h).
13               1644. The Maryland Consumer Protection Act (“Maryland CPA”) provides that a person
14   may not engage in any unfair or deceptive trade practice in the sale of any consumer good. Md.
15   Code Com. Law § 13-303.
16               1645. In the course of their business, Defendants Fiat Chrysler, VM Motori, Bosch, and
17   Marchionne, through their agents, employees, and/or subsidiaries, violated the Maryland CPA.
18               1646. As detailed in the common law fraud allegations: (1) Fiat Chrysler affirmatively
19   misrepresented the environmental friendliness and emissions of the Class Vehicles through the
20   EcoDiesel badge—a material fact that was false because the Defendants developed and installed
21   emission cheating components in the Class Vehicles that caused them to pollute excessively in
22   real-world conditions; (2) Fiat Chrysler touted, through the EcoDiesel badge and uniform and
23   pervasive consumer communications, the Class Vehicles’ fuel efficiency and performance, and
24   the Defendants concealed that the fuel efficiency and performance could be achieved only
25   through emission control devices in the Class Vehicles that caused them to pollute excessively in
26   real-world conditions; and (3) the Defendants developed and installed emission cheating
27   components that caused the Class Vehicles to pollute excessively in real-world conditions, and
28   fraudulently concealed that fact from regulators and Class Members alike. See, e.g., ¶¶ 149-216;

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 1   337-357. In so doing, and by marketing, offering for sale, and selling the defective Class
 2   Vehicles, Defendants engaged in one or more of the following unfair or deceptive acts or
 3   practices as prohibited by Md. Code Com. Law § 13-303:
 4                      A.     Representing that the Class Vehicles have approval, characteristics, uses,
 5                             or benefits that they do not have;
 6                      B.     Representing that the Class Vehicles are of a particular standard, quality
 7                             and grade when they are not;
 8                      C.     Advertising the Class Vehicles with the intent not to sell or lease them as
 9                             advertised; and/or
10                      D.     Using or employing deception, fraud, false pretense, false promise or
11                             misrepresentation, or the concealment, suppression or omission of a
12                             material fact with intent that others rely upon such concealment,
13                             suppression or omission, in connection with the advertisement and
14                             sale/lease of the Class Vehicles, whether or not any person has in fact been
15                             misled, deceived or damaged thereby.
16               1647. Defendants’ scheme and concealment of the true characteristics of the EcoDiesel®
17   emission control system were material to Plaintiffs and the Maryland State Class, as Defendants
18   intended. Had they known the truth, Plaintiffs and the Maryland State Class would not have
19   purchased or leased the Class Vehicles, or—if the Class Vehicles’ true nature had been disclosed
20   and mitigated, and the Vehicles rendered legal to sell—would have paid significantly less for
21   them.
22               1648. Plaintiffs and Maryland State Class members had no way of discerning that
23   Defendants’ representations were false and misleading, or otherwise learning the facts that
24   Defendants had concealed or failed to disclose, because Defendants’ emission control software
25   was extremely sophisticated technology. Plaintiffs and Maryland State Class members did not,
26   and could not, unravel Defendants’ deception on their own.
27               1649. Defendants had an ongoing duty to Plaintiffs and the Maryland State Class to
28   refrain from unfair and deceptive practices under the Maryland CPA in the course of their

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 1   business. Specifically, Defendants owed Plaintiffs and Maryland State Class members a duty to
 2   disclose all the material facts concerning the EcoDiesel® emission control system because they
 3   possessed exclusive knowledge, they intentionally concealed it from Plaintiffs and the Maryland
 4   State Class, and/or they made misrepresentations that were rendered misleading because they
 5   were contradicted by withheld facts.
 6               1650. Plaintiffs and Maryland State Class members suffered ascertainable loss and actual
 7   damages as a direct and proximate result of Defendants’ concealment, misrepresentations, and/or
 8   failure to disclose material information.
 9               1651. Defendants’ violations present a continuing risk to Plaintiffs and the Maryland
10   State Class, as well as to the general public. Defendants’ unlawful acts and practices complained
11   of herein affect the public interest.
12               1652. Pursuant to Md. Code Com. Law § 13-408, Plaintiffs and the Maryland State Class
13   seek an order enjoining Defendants’ unfair and/or deceptive acts or practices, and awarding
14   damages and any other just and proper relief available under the Maryland CPA.
15       DECEPTIVE ACTS OR PRACTICES PROHIBITED BY MASSACHUSETTS LAW
                         (Mass. Gen. Laws Ch. 93a, § 1, et seq.)
16

17               1653. Plaintiffs incorporate by reference each preceding paragraph as though fully set
18   forth herein.
19               1654. Plaintiff Benjamin Greenberg (for the purpose of this section, “Plaintiff”) brings
20   this action on behalf of himself and the Massachusetts State Class against all Defendants.
21               1655. FCA, Fiat, VM Italy, VM America, Bosch GmbH, Bosch LLC, Sergio
22   Marchionne, Plaintiff, and the Massachusetts State Class members are “persons” within the
23   meaning of Mass. Gen. Laws ch. 93A, § 1(a).
24               1656. FCA, Fiat, VM Italy, VM America, Bosch GmbH, Bosch LLC, and Sergio
25   Marchionne are engaged in “trade” or “commerce” within the meaning of Mass. Gen. Laws ch.
26   93A, § 1(b).
27

28

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 1               1657. The Massachusetts consumer protection law (“Massachusetts Act”) prohibits
 2   “unfair or deceptive acts or practices in the conduct of any trade or commerce.” Mass. Gen. Laws
 3   ch. 93A, § 2.
 4               1658. In the course of their business, Defendants Fiat Chrysler, VM Motori, Bosch, and
 5   Marchionne, through their agents, employees, and/or subsidiaries, violated the Massachusetts Act.
 6               1659. As detailed in the common law fraud allegations: (1) Fiat Chrysler affirmatively
 7   misrepresented the environmental friendliness and emissions of the Class Vehicles through the
 8   EcoDiesel badge—a material fact that was false because the Defendants developed and installed
 9   emission cheating components in the Class Vehicles that caused them to pollute excessively in
10   real-world conditions; (2) Fiat Chrysler touted, through the EcoDiesel badge and uniform and
11   pervasive consumer communications, the Class Vehicles’ fuel efficiency and performance, and
12   the Defendants concealed that the fuel efficiency and performance could be achieved only
13   through emission control devices in the Class Vehicles that caused them to pollute excessively in
14   real-world conditions; and (3) the Defendants developed and installed emission cheating
15   components that caused the Class Vehicles to pollute excessively in real-world conditions, and
16   fraudulently concealed that fact from regulators and Class Members alike. See, e.g., ¶¶ 149-216;
17   337-357. In so doing, and by marketing, offering for sale, and selling the defective Class
18   Vehicles, Defendants engaged in one or more of the following unfair or deceptive acts or
19   practices as prohibited by Mass. Gen. Laws ch. 93A, § 2:
20                      A.     Causing likelihood of confusion or of misunderstanding as to the approval
21                             or certification of the Class Vehicles;
22                      B.     Representing that the Class Vehicles have approval, characteristics, uses,
23                             or benefits that they do not have;
24                      C.     Representing that the Class Vehicles are of a particular standard, quality
25                             and grade when they are not;
26                      D.     Advertising the Class Vehicles with the intent not to sell or lease them as
27                             advertised;
28

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 1                      E.     Engaging in other conduct which created a likelihood of confusion or of
 2                             misunderstanding; and/or
 3                      F.     Using or employing deception, fraud, false pretense, false promise or
 4                             misrepresentation, or the concealment, suppression or omission of a
 5                             material fact with intent that others rely upon such concealment,
 6                             suppression or omission, in connection with the advertisement and
 7                             sale/lease of the Class Vehicles, whether or not any person has in fact been
 8                             misled, deceived or damaged thereby.
 9               1660. Defendants’ scheme and concealment of the true characteristics of the EcoDiesel®
10   emission control system were material to Plaintiff and the Massachusetts State Class, as
11   Defendants intended. Had they known the truth, Plaintiff and the Massachusetts State Class
12   would not have purchased or leased the Class Vehicles, or—if the Class Vehicles’ true nature had
13   been disclosed and mitigated, and the Vehicles rendered legal to sell—would have paid
14   significantly less for them.
15               1661. Plaintiff and Massachusetts State Class members had no way of discerning that
16   Defendants’ representations were false and misleading, or otherwise learning the facts that
17   Defendants had concealed or failed to disclose, because Defendants’ emission control software
18   was extremely sophisticated technology. Plaintiff and Massachusetts State Class members did
19   not, and could not, unravel Defendants’ deception on their own.
20               1662. Defendants had an ongoing duty to Plaintiff and the Massachusetts State Class to
21   refrain from unfair and deceptive practices under the Massachusetts Act in the course of their
22   business. Specifically, Defendants owed Plaintiff and Massachusetts State Class members a duty
23   to disclose all the material facts concerning the EcoDiesel® emission control system because they
24   possessed exclusive knowledge, they intentionally concealed it from Plaintiff and the
25   Massachusetts State Class, and/or they made misrepresentations that were rendered misleading
26   because they were contradicted by withheld facts.
27

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 1               1663. Plaintiff and Massachusetts State Class members suffered ascertainable loss and
 2   actual damages as a direct and proximate result of Defendants’ concealment, misrepresentations,
 3   and/or failure to disclose material information.
 4               1664. Defendants’ violations present a continuing risk to Plaintiff and the Massachusetts
 5   State Class, as well as to the general public. Defendants’ unlawful acts and practices complained
 6   of herein affect the public interest.
 7               1665. Plaintiff and the Massachusetts State Class seek an order pursuant to Mass. Gen.
 8   Laws ch. 93A § 9 enjoining Defendants’ unfair and/or deceptive acts or practices, and awarding
 9   damages, punitive damages, and any other just and proper relief available under the
10   Massachusetts Act.
11               1666. On November 28, 2017, a notice letter was sent to FCA US LLC pursuant to Mass.
12   Gen. Laws ch. 93A, § 9(3). Plaintiffs sent a second notice letter pursuant to Mass. Gen. Laws ch.
13   93A, § 9(3) to all Defendants on July 19, 2017. Additionally, all Defendants were provided
14   notice of the issues raised in this count and this Complaint by the governmental investigations,
15   the numerous complaints filed against them, and the many individual notice letters sent by
16   Plaintiffs within a reasonable amount of time after the allegations of Class Vehicle defects
17   became public. Because Defendants failed to remedy their unlawful conduct within the requisite
18   time period, Plaintiffs seek all damages and relief to which Plaintiff and the Massachusetts State
19   Class are entitled.
20                  VIOLATION OF THE MICHIGAN CONSUMER PROTECTION ACT
                                (Mich. Comp. Laws § 445.903, et seq.)
21

22               1667. Plaintiffs incorporate by reference each preceding paragraph as though fully set
23   forth herein.
24               1668. Plaintiff Doru Bali (for the purpose of this section, “Plaintiff”) brings this action
25   on behalf of himself and the Michigan State Class against all Defendants.
26               1669. FCA, Fiat, VM Italy, VM America, Bosch GmbH, Bosch LLC, Sergio
27   Marchionne, Plaintiff, and the Michigan State Class members are “persons” within the meaning
28   of Mich. Comp. Laws § 445.902(1)(d).

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 1               1670. FCA, Fiat, VM Italy, VM America, Bosch GmbH, Bosch LLC, and Sergio
 2   Marchionne are engaged in “trade” or “commerce” within the meaning of Mich. Comp. Laws
 3   § 445.902(1)(g).
 4               1671. The Michigan Consumer Protection Act (“Michigan CPA”) makes unlawful
 5   “[u]nfair, unconscionable, or deceptive methods, acts, or practices in the conduct of trade or
 6   commerce ….” Mich. Comp. Laws § 445.903(1).
 7               1672. In the course of their business, Defendants Fiat Chrysler, VM Motori, Bosch, and
 8   Marchionne, through their agents, employees, and/or subsidiaries, violated the Michigan CPA.
 9               1673. As detailed in the common law fraud allegations: (1) Fiat Chrysler affirmatively
10   misrepresented the environmental friendliness and emissions of the Class Vehicles through the
11   EcoDiesel badge—a material fact that was false because the Defendants developed and installed
12   emission cheating components in the Class Vehicles that caused them to pollute excessively in
13   real-world conditions; (2) Fiat Chrysler touted, through the EcoDiesel badge and uniform and
14   pervasive consumer communications, the Class Vehicles’ fuel efficiency and performance, and
15   the Defendants concealed that the fuel efficiency and performance could be achieved only
16   through emission control devices in the Class Vehicles that caused them to pollute excessively in
17   real-world conditions; and (3) the Defendants developed and installed emission cheating
18   components that caused the Class Vehicles to pollute excessively in real-world conditions, and
19   fraudulently concealed that fact from regulators and Class Members alike. See, e.g., ¶¶ 149-216;
20   337-357. In so doing, and by marketing, offering for sale, and selling the defective Class
21   Vehicles, Defendants engaged in one or more of the following unfair or deceptive acts or
22   practices as defined in Mich. Comp. Laws § 445.903(1):
23                      A.     Causing likelihood of confusion or of misunderstanding as to the approval
24                             or certification of the Class Vehicles;
25                      B.     Representing that the Class Vehicles have approval, characteristics, uses,
26                             or benefits that they do not have;
27                      C.     Representing that the Class Vehicles are of a particular standard, quality
28                             and grade when they are not;

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 1                      D.     Advertising the Class Vehicles with the intent not to sell or lease them as
 2                             advertised; and/or
 3                      E.     Engaging in other conduct which created a likelihood of confusion or of
 4                             misunderstanding.
 5               1674. Defendants’ scheme and concealment of the true characteristics of the EcoDiesel®
 6   emission control system were material to Plaintiff and the Michigan State Class, as Defendants
 7   intended. Had they known the truth, Plaintiff and the Michigan State Class would not have
 8   purchased or leased the Class Vehicles, or—if the Class Vehicles’ true nature had been disclosed
 9   and mitigated, and the Vehicles rendered legal to sell—would have paid significantly less for
10   them.
11               1675. Plaintiff and Michigan State Class members had no way of discerning that
12   Defendants’ representations were false and misleading, or otherwise learning the facts that
13   Defendants had concealed or failed to disclose, because Defendants’ emission control software
14   was extremely sophisticated technology. Plaintiff and Michigan State Class members did not,
15   and could not, unravel Defendants’ deception on their own.
16               1676. Defendants had an ongoing duty to Plaintiff and the Michigan State Class to
17   refrain from unfair and deceptive practices under the Michigan CPA in the course of their
18   business. Specifically, Defendants owed Plaintiff and Michigan State Class members a duty to
19   disclose all the material facts concerning the EcoDiesel® emission control system because they
20   possessed exclusive knowledge, they intentionally concealed it from Plaintiff and the Michigan
21   State Class, and/or they made misrepresentations that were rendered misleading because they
22   were contradicted by withheld facts.
23               1677. Plaintiff and Michigan State Class members suffered ascertainable loss and actual
24   damages as a direct and proximate result of Defendants’ concealment, misrepresentations, and/or
25   failure to disclose material information.
26               1678. Defendants’ violations present a continuing risk to Plaintiff and the Michigan State
27   Class, as well as to the general public. Defendants’ unlawful acts and practices complained of
28   herein affect the public interest.

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 1               1679. Pursuant to Mich. Comp. Laws § 445.911, Plaintiff and the Michigan State Class
 2   seek an order enjoining Defendants’ unfair and/or deceptive acts or practices, and awarding
 3   damages, punitive damages, and any other just and proper relief available under the Michigan
 4   CPA.
 5     VIOLATIONS OF THE MINNESOTA PREVENTION OF CONSUMER FRAUD ACT
                            (Minn. Stat. § 325f.68, et seq.)
 6

 7               1680. Plaintiffs incorporate by reference each preceding paragraph as though fully set
 8   forth herein.
 9               1681. Plaintiff Josh Claflin (for the purpose of this section, “Plaintiff”) brings this action
10   on behalf of himself and the Minnesota State Class against all Defendants.
11               1682. The Class Vehicles constitute “merchandise” within the meaning of Minn. Stat.
12   § 325F.68(2).
13               1683. The Minnesota Prevention of Consumer Fraud Act (“Minnesota CFA”) prohibits
14   “[t]he act, use, or employment by any person of any fraud, false pretense, false promise,
15   misrepresentation, misleading statement or deceptive practice, with the intent that others rely
16   thereon in connection with the sale of any merchandise, whether or not any person has in fact
17   been misled, deceived, or damaged thereby ….” Minn. Stat. § 325F.69(1).
18               1684. In the course of their business, Defendants Fiat Chrysler, VM Motori, Bosch, and
19   Sergio Marchionne, through their agents, employees, and/or subsidiaries, violated the Minnesota
20   CFA.
21               1685. As detailed in the common law fraud allegations: (1) Fiat Chrysler affirmatively
22   misrepresented the environmental friendliness and emissions of the Class Vehicles through the
23   EcoDiesel badge—a material fact that was false because the Defendants developed and installed
24   emission cheating components in the Class Vehicles that caused them to pollute excessively in
25   real-world conditions; (2) Fiat Chrysler touted, through the EcoDiesel badge and uniform and
26   pervasive consumer communications, the Class Vehicles’ fuel efficiency and performance, and
27   the Defendants concealed that the fuel efficiency and performance could be achieved only
28   through emission control devices in the Class Vehicles that caused them to pollute excessively in

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 1   real-world conditions; and (3) the Defendants developed and installed emission cheating
 2   components that caused the Class Vehicles to pollute excessively in real-world conditions, and
 3   fraudulently concealed that fact from regulators and Class Members alike. See, e.g., ¶¶ 149-216;
 4   337-357. In so doing, and by marketing, offering for sale, and selling the defective Class
 5   Vehicles, Defendants engaged in one or more of the following unfair or deceptive acts or
 6   practices as prohibited by Minn. Stat. § 325F.69(1): using or employing deception, fraud, false
 7   pretense, false promise or misrepresentation, or the concealment, suppression or omission of a
 8   material fact with intent that others rely upon such concealment, suppression or omission, in
 9   connection with the advertisement and sale/lease of the Class Vehicles, whether or not any person
10   has in fact been misled, deceived or damaged thereby.
11               1686. Defendants’ scheme and concealment of the true characteristics of the EcoDiesel®
12   emission control system were material to Plaintiff and the Minnesota State Class, as Defendants
13   intended. Had they known the truth, Plaintiff and the Minnesota State Class would not have
14   purchased or leased the Class Vehicles, or—if the Class Vehicles’ true nature had been disclosed
15   and mitigated, and the Vehicles rendered legal to sell—would have paid significantly less for
16   them.
17               1687. Plaintiff and Minnesota State Class members had no way of discerning that
18   Defendants’ representations were false and misleading, or otherwise learning the facts that
19   Defendants had concealed or failed to disclose, because Defendants’ emission control software
20   was extremely sophisticated technology. Plaintiff and Minnesota State Class members did not,
21   and could not, unravel Defendants’ deception on their own.
22               1688. Defendants had an ongoing duty to Plaintiff and the Minnesota State Class to
23   refrain from unfair and deceptive practices under the Minnesota CFA in the course of their
24   business. Specifically, Defendants owed Plaintiff and Minnesota State Class members a duty to
25   disclose all the material facts concerning the EcoDiesel® emission control system because they
26   possessed exclusive knowledge, they intentionally concealed it from Plaintiff and the Minnesota
27   State Class, and/or they made misrepresentations that were rendered misleading because they
28   were contradicted by withheld facts.

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 1               1689. Plaintiff and Minnesota State Class members suffered ascertainable loss and actual
 2   damages as a direct and proximate result of Defendants’ concealment, misrepresentations, and/or
 3   failure to disclose material information.
 4               1690. Defendants’ violations present a continuing risk to Plaintiff and the Minnesota
 5   State Class, as well as to the general public. Defendants’ unlawful acts and practices complained
 6   of herein affect the public interest.
 7               1691. Pursuant to Minn. Stat. §§ 8.31(3a) and 549.20(1)(a), Plaintiff and the Minnesota
 8   State Class seek an order enjoining Defendants’ unfair and/or deceptive acts or practices and any
 9   other just and proper relief available under the Minnesota CFA.
10     VIOLATIONS OF THE MINNESOTA UNIFORM DECEPTIVE TRADE PRACTICES
                                         ACT
11                          (Minn. Stat. § 325d.43, et seq.)
12               1692. Plaintiffs incorporate by reference each preceding paragraph as though fully set
13   forth herein.
14               1693. Plaintiff Josh Claflin (for the purpose of this section, “Plaintiff”) brings this action
15   on behalf of himself and the Minnesota State Class against all Defendants.
16               1694. The Minnesota Deceptive Trade Practices Act (“Minnesota DTPA”) prohibits
17   deceptive trade practices. Minn. Stat. § 325D.44.
18               1695. In the course of their business, Defendants Fiat Chrysler, VM Motori, Bosch, and
19   Sergio Marchionne, through their agents, employees, and/or subsidiaries, violated the Minnesota
20   DTPA.
21               1696. As detailed in the common law fraud allegations: (1) Fiat Chrysler affirmatively
22   misrepresented the environmental friendliness and emissions of the Class Vehicles through the
23   EcoDiesel badge—a material fact that was false because the Defendants developed and installed
24   emission cheating components in the Class Vehicles that caused them to pollute excessively in
25   real-world conditions; (2) Fiat Chrysler touted, through the EcoDiesel badge and uniform and
26   pervasive consumer communications, the Class Vehicles’ fuel efficiency and performance, and
27   the Defendants concealed that the fuel efficiency and performance could be achieved only
28   through emission control devices in the Class Vehicles that caused them to pollute excessively in

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 1   real-world conditions; and (3) the Defendants developed and installed emission cheating
 2   components that caused the Class Vehicles to pollute excessively in real-world conditions, and
 3   fraudulently concealed that fact from regulators and Class Members alike. See, e.g., ¶¶ 149-216;
 4   337-357. In so doing, and by marketing, offering for sale, and selling the defective Class
 5   Vehicles, Defendants engaged in one or more of the following unfair or deceptive acts or
 6   practices as defined in Minn. Stat. § 325D.44:
 7                      A.     Causing likelihood of confusion or of misunderstanding as to the approval
 8                             or certification of the Class Vehicles;
 9                      B.     Representing that the Class Vehicles have approval, characteristics, uses,
10                             or benefits that they do not have;
11                      C.     Representing that the Class Vehicles are of a particular standard, quality
12                             and grade when they are not;
13                      D.     Advertising the Class Vehicles with the intent not to sell or lease them as
14                             advertised; and/or
15                      E.     Engaging in other conduct which created a likelihood of confusion or of
16                             misunderstanding.
17               1697. Defendants’ scheme and concealment of the true characteristics of the EcoDiesel®
18   emission control system were material to Plaintiff and the Minnesota State Class, as Defendants
19   intended. Had they known the truth, Plaintiff and the Minnesota State Class would not have
20   purchased or leased the Class Vehicles, or—if the Class Vehicles’ true nature had been disclosed
21   and mitigated, and the Vehicles rendered legal to sell—would have paid significantly less for
22   them.
23               1698. Plaintiff and Minnesota State Class members had no way of discerning that
24   Defendants’ representations were false and misleading, or otherwise learning the facts that
25   Defendants had concealed or failed to disclose, because Defendants’ emission control software
26   was extremely sophisticated technology. Plaintiff and Minnesota State Class members did not,
27   and could not, unravel Defendants’ deception on their own.
28

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 1               1699. Defendants had an ongoing duty to Plaintiff and the Minnesota State Class to
 2   refrain from unfair and deceptive practices under the Minnesota DTPA in the course of their
 3   business. Specifically, Defendants owed Plaintiff and Minnesota State Class members a duty to
 4   disclose all the material facts concerning the EcoDiesel® emission control system because they
 5   possessed exclusive knowledge, they intentionally concealed it from Plaintiff and the Minnesota
 6   State Class, and/or they made misrepresentations that were rendered misleading because they
 7   were contradicted by withheld facts.
 8               1700. Plaintiff and Minnesota State Class members suffered ascertainable loss and actual
 9   damages as a direct and proximate result of Defendants’ concealment, misrepresentations, and/or
10   failure to disclose material information.
11               1701. Defendants’ violations present a continuing risk to Plaintiff and the Minnesota
12   State Class, as well as to the general public. Defendants’ unlawful acts and practices complained
13   of herein affect the public interest.
14               1702. Pursuant to Minn. Stat. §§ 8.31(3a), 325D.45, and 549.20(1)(a), Plaintiff and the
15   Minnesota State Class seek an order enjoining Defendants’ unfair and/or deceptive acts or
16   practices, and awarding damages, and any other just and proper relief available under the
17   Minnesota DTPA.
18                    VIOLATION OF MISSISSIPPI CONSUMER PROTECTION ACT
                                 (Miss. Code. Ann. § 75-24-1, et seq.)
19

20               1703. Plaintiffs incorporate by reference each preceding paragraph as though fully set
21   forth herein.
22               1704. Plaintiff Anthony Alley (for the purpose of this section, “Plaintiff”) brings this
23   action on behalf of himself and the Mississippi State Class against all Defendants.
24               1705. The Mississippi Consumer Protection Act (“Mississippi CPA”) prohibits “unfair
25   or deceptive trade practices in or affecting commerce.” Miss. Code. Ann. § 75-24-5(1).
26               1706. In the course of their business, Defendants Fiat Chrysler, VM Motori, Bosch, and
27   Sergio Marchionne, through their agents, employees, and/or subsidiaries, violated the Mississippi
28   CPA.

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 1               1707. As detailed in the common law fraud allegations: (1) Fiat Chrysler affirmatively
 2   misrepresented the environmental friendliness and emissions of the Class Vehicles through the
 3   EcoDiesel badge—a material fact that was false because the Defendants developed and installed
 4   emission cheating components in the Class Vehicles that caused them to pollute excessively in
 5   real-world conditions; (2) Fiat Chrysler touted, through the EcoDiesel badge and uniform and
 6   pervasive consumer communications, the Class Vehicles’ fuel efficiency and performance, and
 7   the Defendants concealed that the fuel efficiency and performance could be achieved only
 8   through emission control devices in the Class Vehicles that caused them to pollute excessively in
 9   real-world conditions; and (3) the Defendants developed and installed emission cheating
10   components that caused the Class Vehicles to pollute excessively in real-world conditions, and
11   fraudulently concealed that fact from regulators and Class Members alike. See, e.g., ¶¶ 149-216;
12   337-357. In so doing, and by marketing, offering for sale, and selling the defective Class
13   Vehicles, Defendants engaged in one or more of the following unfair or deceptive acts or
14   practices as defined in Miss. Code. Ann. § 75-24-5(1):
15                      A.     Representing that the Class Vehicles have approval, characteristics, uses,
16                             or benefits that they do not have;
17                      B.     Representing that the Class Vehicles are of a particular standard, quality
18                             and grade when they are not; and/or
19                      C.     Advertising the Class Vehicles with the intent not to sell or lease them as
20                             advertised.
21               1708. Defendants’ scheme and concealment of the true characteristics of the EcoDiesel®
22   emission control system were material to Plaintiff and the Mississippi State Class, as Defendants
23   intended. Had they known the truth, Plaintiff and the Mississippi State Class would not have
24   purchased or leased the Class Vehicles, or—if the Class Vehicles’ true nature had been disclosed
25   and mitigated, and the Vehicles rendered legal to sell—would have paid significantly less for
26   them.
27               1709. Plaintiff and Mississippi State Class members had no way of discerning that
28   Defendants’ representations were false and misleading, or otherwise learning the facts that

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 1   Defendants had concealed or failed to disclose, because Defendants’ emission control software
 2   was extremely sophisticated technology. Plaintiff and Mississippi State Class members did not,
 3   and could not, unravel Defendants’ deception on their own.
 4               1710. Defendants had an ongoing duty to Plaintiff and the Mississippi State Class to
 5   refrain from unfair and deceptive practices under the Mississippi CPA in the course of their
 6   business. Specifically, Defendants owed Plaintiff and Mississippi State Class members a duty to
 7   disclose all the material facts concerning the EcoDiesel® emission control system because they
 8   possessed exclusive knowledge, they intentionally concealed it from Plaintiff and the Mississippi
 9   State Class, and/or they made misrepresentations that were rendered misleading because they
10   were contradicted by withheld facts.
11               1711. Plaintiff and Mississippi State Class members suffered ascertainable loss and
12   actual damages as a direct and proximate result of Defendants’ concealment, misrepresentations,
13   and/or failure to disclose material information.
14               1712. Defendants’ violations present a continuing risk to Plaintiff and the Mississippi
15   State Class, as well as to the general public. Defendants’ unlawful acts and practices complained
16   of herein affect the public interest.
17               1713. Plaintiff has made, and continues to make, a reasonable attempt to resolve their
18   claims under the Mississippi CPA through an informal dispute program approved by the
19   Mississippi Attorney General. Miss. Code. Ann. § 75-24-15(2). Plaintiffs have contacted the
20   Office of the Attorney General and followed the procedures prescribed by the Consumer
21   Protection Division. On March 29, 2018, Plaintiffs sent Defendants a Letter of Complaint by
22   certified mail. Defendants did not respond within ten days. Accordingly, on April 17, 2018,
23   Plaintiffs filed their Complaint with the Mississippi Attorney General. The Office of the Attorney
24   General has three weeks to review the Complaint from the date it was filed, after which time, a
25   mediator will be assigned. If the Attorney General can give formal approval if that mediation
26   fails.
27

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 1               1714. The Mississippi State Class seek an under Miss. Code Ann. § 75-25-9 enjoining
 2   Defendants’ unfair and/or deceptive acts or practices and awarding damages, including restitution
 3   under § 75-24-11, and any other just and proper relief available under the Mississippi CPA.
 4                  VIOLATION OF MISSOURI MERCHANDISING PRACTICES ACT
                                 (Mo. Rev. Stat. § 407.010, et seq.)
 5

 6               1715. Plaintiffs incorporate by reference each preceding paragraph as though fully set
 7   forth herein.
 8               1716. Plaintiff Melvin Phillips (for the purpose of this section, “Plaintiff”) brings this
 9   action on behalf of himself and the Missouri State Class against all Defendants.
10               1717. FCA, Fiat, VM Italy, VM America, Bosch GmbH, Bosch LLC, Sergio
11   Marchionne, Plaintiff, and the Missouri State Class members are “persons” within the meaning of
12   Mo. Rev. Stat. § 407.010(5).
13               1718. FCA, Fiat, VM Italy, VM America, Bosch GmbH, Bosch LLC, and Marchionne
14   are engaged in “trade” or “commerce” within the meaning of Mo. Rev. Stat. § 407.010(7).
15               1719. The Missouri Merchandising Practices Act (“Missouri MPA”) makes unlawful the
16   “act, use or employment by any person of any deception, fraud, false pretense, misrepresentation,
17   unfair practice, or the concealment, suppression, or omission of any material fact in connection
18   with the sale or advertisement of any merchandise. Mo. Rev. Stat. § 407.020.
19               1720. In the course of their business, Defendants Fiat Chrysler, VM Motori, Bosch, and
20   Marchionne, through their agents, employees, and/or subsidiaries, violated the Missouri MPA.
21               1721. As detailed in the common law fraud allegations: (1) Fiat Chrysler affirmatively
22   misrepresented the environmental friendliness and emissions of the Class Vehicles through the
23   EcoDiesel badge—a material fact that was false because the Defendants developed and installed
24   emission cheating components in the Class Vehicles that caused them to pollute excessively in
25   real-world conditions; (2) Fiat Chrysler touted, through the EcoDiesel badge and uniform and
26   pervasive consumer communications, the Class Vehicles’ fuel efficiency and performance, and
27   the Defendants concealed that the fuel efficiency and performance could be achieved only
28   through emission control devices in the Class Vehicles that caused them to pollute excessively in

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 1   real-world conditions; and (3) the Defendants developed and installed emission cheating
 2   components that caused the Class Vehicles to pollute excessively in real-world conditions, and
 3   fraudulently concealed that fact from regulators and Class Members alike. See, e.g., ¶¶ 149-216;
 4   337-357. In so doing, and by marketing, offering for sale, and selling the defective Class
 5   Vehicles, Defendants engaged in the following unfair or deceptive acts or practices prohibited by
 6   Mo. Rev. Stat. § 407.020: using or employing deception, fraud, false pretense, false promise or
 7   misrepresentation, or the concealment, suppression or omission of a material fact with intent that
 8   others rely upon such concealment, suppression or omission, in connection with the
 9   advertisement and sale/lease of the Class Vehicles, whether or not any person has in fact been
10   misled, deceived or damaged thereby.
11               1722. By failing to disclose these defects or facts about the defects described herein
12   known to it or that were available to Defendants upon reasonable inquiry, Defendants deprived
13   consumers of all material facts about the safety and functionality of their vehicles. By failing to
14   release material facts about the defect, Defendants curtailed or reduced the ability of consumers to
15   take notice of material facts about their vehicle, and/or it affirmatively operated to hide or keep
16   those facts from consumers. 15 Mo. Code of State Reg. § 60-9.110.
17               1723. Defendants’ scheme and concealment of the true characteristics of the EcoDiesel®
18   emission control system were material to Plaintiff and the Missouri State Class, as Defendants
19   intended. Had they known the truth, Plaintiff and the Missouri State Class would not have
20   purchased or leased the Class Vehicles, or—if the Class Vehicles’ true nature had been disclosed
21   and mitigated, and the Vehicles rendered legal to sell—would have paid significantly less for
22   them.
23               1724. Plaintiff and Missouri State Class members had no way of discerning that
24   Defendants’ representations were false and misleading, or otherwise learning the facts that
25   Defendants had concealed or failed to disclose, because Defendants’ emission control software
26   was extremely sophisticated technology. Plaintiff and Missouri State Class members did not, and
27   could not, unravel Defendants’ deception on their own.
28

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 1               1725. Defendants had an ongoing duty to Plaintiff and the Missouri State Class to refrain
 2   from unfair and deceptive practices under the Missouri MPA in the course of their business.
 3   Specifically, Defendants owed Plaintiff and Missouri State Class members a duty to disclose all
 4   the material facts concerning the EcoDiesel® emission control system because they possessed
 5   exclusive knowledge, they intentionally concealed it from Plaintiff and the Missouri State Class,
 6   and/or they made misrepresentations that were rendered misleading because they were
 7   contradicted by withheld facts.
 8               1726. Plaintiff and Missouri State Class members suffered ascertainable loss and actual
 9   damages as a direct and proximate result of Defendants’ concealment, misrepresentations, and/or
10   failure to disclose material information.
11               1727. Defendants’ violations present a continuing risk to Plaintiff and the Missouri State
12   Class, as well as to the general public. Defendants’ unlawful acts and practices complained of
13   herein affect the public interest.
14               1728. Pursuant to Mo. Rev. Stat. § 407.025, Plaintiff and the Missouri State Class seek
15   an order enjoining Defendants’ unfair and/or deceptive acts or practices, and awarding damages,
16   punitive damages, and any other just and proper relief available under the Missouri MPA.
17         VIOLATION OF MONTANA UNFAIR TRADE PRACTICES AND CONSUMER
                             PROTECTION ACT OF 1973
18                        (Mont. Code Ann. § 30-14-101, et seq.)
19               1729. Plaintiffs incorporate by reference each preceding paragraph as though fully set
20   forth herein.
21               1730. Plaintiff Ronald Holm (for the purpose of this section, “Plaintiff”) brings this
22   action on behalf of himself and the Montana State against all Defendants.
23               1731. FCA, Fiat, VM Italy, VM America, Bosch GmbH, Bosch LLC, Sergio
24   Marchionne, Plaintiff and the Montana State Class members are “persons” within the meaning of
25   Mont. Code Ann. § 30-14-102(6). Plaintiff and the Montana State Class members are
26   “consumers” within the meaning of Mont. Code Ann. § 30-14-102(1).
27               1732. FCA, Fiat, VM Italy, VM America, Bosch GmbH, Bosch LLC, and Marchionne
28   are engaged in “trade” or “commerce” within the meaning of Mont. Code Ann. § 30-14-102(8).

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 1               1733. The Montana Unfair Trade Practices and Consumer Protection Act (“Montana
 2   CPA”) makes unlawful any “unfair methods of competition and unfair or deceptive acts or
 3   practices in the conduct of any trade or commerce.” Mont. Code Ann. § 30-14-103.
 4               1734. In the course of their business, Defendants Fiat Chrysler, VM Motori, Bosch, and
 5   Marchionne, through their agents, employees, and/or subsidiaries, violated the Montana CPA.
 6               1735. As detailed in the common law fraud allegations: (1) Fiat Chrysler affirmatively
 7   misrepresented the environmental friendliness and emissions of the Class Vehicles through the
 8   EcoDiesel badge—a material fact that was false because the Defendants developed and installed
 9   emission cheating components in the Class Vehicles that caused them to pollute excessively in
10   real-world conditions; (2) Fiat Chrysler touted, through the EcoDiesel badge and uniform and
11   pervasive consumer communications, the Class Vehicles’ fuel efficiency and performance, and
12   the Defendants concealed that the fuel efficiency and performance could be achieved only
13   through emission control devices in the Class Vehicles that caused them to pollute excessively in
14   real-world conditions; and (3) the Defendants developed and installed emission cheating
15   components that caused the Class Vehicles to pollute excessively in real-world conditions, and
16   fraudulently concealed that fact from regulators and Class Members alike. See, e.g., ¶¶ 149-216;
17   337-357. In so doing, and by marketing, offering for sale, and selling the defective Class
18   Vehicles, Defendants engaged in one or more of the following unfair or deceptive acts or
19   practices as prohibited by Mont. Code Ann. § 30-14-103:
20                      A.     Causing likelihood of confusion or of misunderstanding as to the approval
21                             or certification of the Class Vehicles;
22                      B.     Representing that the Class Vehicles have approval, characteristics, uses,
23                             or benefits that they do not have;
24                      C.     Representing that the Class Vehicles are of a particular standard, quality
25                             and grade when they are not;
26                      D.     Advertising the Class Vehicles with the intent not to sell or lease them as
27                             advertised;
28

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 1                      E.     Engaging in other conduct which created a likelihood of confusion or of
 2                             misunderstanding; and/or
 3                      F.     Using or employing deception, fraud, false pretense, false promise or
 4                             misrepresentation, or the concealment, suppression or omission of a
 5                             material fact with intent that others rely upon such concealment,
 6                             suppression or omission, in connection with the advertisement and
 7                             sale/lease of the Class Vehicles, whether or not any person has in fact been
 8                             misled, deceived or damaged thereby.
 9               1736. Defendants’ scheme and concealment of the true characteristics of the EcoDiesel®
10   emission control system were material to Plaintiff and the Montana State Class, as Defendants
11   intended. Had they known the truth, Plaintiff and the Montana State Class would not have
12   purchased or leased the Class Vehicles, or—if the Class Vehicles’ true nature had been disclosed
13   and mitigated, and the Vehicles rendered legal to sell—would have paid significantly less for
14   them.
15               1737. Plaintiff and Montana State Class members had no way of discerning that
16   Defendants’ representations were false and misleading, or otherwise learning the facts that
17   Defendants had concealed or failed to disclose, because Defendants’ emission control software
18   was extremely sophisticated technology. Plaintiff and Montana State Class members did not, and
19   could not, unravel Defendants’ deception on their own.
20               1738. Defendants had an ongoing duty to Plaintiff and the Montana State Class to refrain
21   from unfair and deceptive practices under the Montana CPA in the course of their business.
22   Specifically, Defendants owed Plaintiff and Montana State Class members a duty to disclose all
23   the material facts concerning the EcoDiesel® emission control system because they possessed
24   exclusive knowledge, they intentionally concealed it from Plaintiff and the Montana State Class,
25   and/or they made misrepresentations that were rendered misleading because they were
26   contradicted by withheld facts.
27

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 1               1739. Plaintiff and Montana State Class members suffered ascertainable loss and actual
 2   damages as a direct and proximate result of Defendants’ concealment, misrepresentations, and/or
 3   failure to disclose material information.
 4               1740. Defendants’ violations present a continuing risk to Plaintiff and the Montana State
 5   Class, as well as to the general public. Defendants’ unlawful acts and practices complained of
 6   herein affect the public interest.
 7               1741. Pursuant to Mont. Code Ann. § 30-14-133, Plaintiff and the Montana State Class
 8   seek an order enjoining Defendants’ unfair and/or deceptive acts or practices, and awarding
 9   damages, punitive damages, and any other just and proper relief available under the Montana
10   CPA.
11                 VIOLATION OF THE NEBRASKA CONSUMER PROTECTION ACT
                                 (Neb. Rev. Stat. § 59-1601, et seq.)
12

13               1742. Plaintiffs incorporate by reference each preceding paragraph as though fully set
14   forth herein.
15               1743. Plaintiffs Connie Hood and Richard Lindholm (for the purpose of this section,
16   “Plaintiffs”) bring this action on behalf of themselves and the Nebraska State Class against all
17   Defendants.
18               1744. FCA, Fiat, VM Italy, VM America, Bosch GmbH, Bosch LLC, Sergio
19   Marchionne, Plaintiffs, and the Nebraska State Class members are “persons” within the meaning
20   of Neb. Rev. Stat. § 59-1601(1).
21               1745. FCA, Fiat, VM Italy, VM America, Bosch GmbH, Bosch LLC, and Marchionne
22   are engaged in “trade” or “commerce” within the meaning of Neb. Rev. Stat. § 59-1601(2).
23               1746. The Nebraska Consumer Protection Act (“Nebraska CPA”) makes unlawful
24   “unfair or deceptive acts or practices in the conduct of any trade or commerce.” Neb. Rev. Stat.
25   § 59-1602.
26               1747. In the course of their business, Defendants Fiat Chrysler, VM Motori, Bosch, and
27   Marchionne, through their agents, employees, and/or subsidiaries, violated the Nebraska CPA.
28

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 1               1748.    As detailed in the common law fraud allegations: (1) Fiat Chrysler affirmatively
 2   misrepresented the environmental friendliness and emissions of the Class Vehicles through the
 3   EcoDiesel badge—a material fact that was false because the Defendants developed and installed
 4   emission cheating components in the Class Vehicles that caused them to pollute excessively in
 5   real-world conditions; (2) Fiat Chrysler touted, through the EcoDiesel badge and uniform and
 6   pervasive consumer communications, the Class Vehicles’ fuel efficiency and performance, and
 7   the Defendants concealed that the fuel efficiency and performance could be achieved only
 8   through emission control devices in the Class Vehicles that caused them to pollute excessively in
 9   real-world conditions; and (3) the Defendants developed and installed emission cheating
10   components that caused the Class Vehicles to pollute excessively in real-world conditions, and
11   fraudulently concealed that fact from regulators and Class Members alike. See, e.g., ¶¶ 149-216;
12   337-357. In so doing, and by marketing, offering for sale, and selling the defective Class
13   Vehicles, Defendants engaged in one or more of the following unfair or deceptive acts or
14   practices as prohibited by Neb. Rev. Stat. § 59-1602:
15                       A.     Causing likelihood of confusion or of misunderstanding as to the approval
16                              or certification of the Class Vehicles;
17                       B.     Representing that the Class Vehicles have approval, characteristics, uses,
18                              or benefits that they do not have;
19                       C.     Representing that the Class Vehicles are of a particular standard, quality
20                              and grade when they are not;
21                       D.     Advertising the Class Vehicles with the intent not to sell or lease them as
22                              advertised;
23                       E.     Engaging in other conduct which created a likelihood of confusion or of
24                              misunderstanding; and/or
25                       F.     Using or employing deception, fraud, false pretense, false promise or
26                              misrepresentation, or the concealment, suppression or omission of a
27                              material fact with intent that others rely upon such concealment,
28                              suppression or omission, in connection with the advertisement and

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 1                             sale/lease of the Class Vehicles, whether or not any person has in fact been
 2                             misled, deceived or damaged thereby.
 3               1749. Defendants’ scheme and concealment of the true characteristics of the EcoDiesel®
 4   emission control system were material to Plaintiffs and the Nebraska State Class, as Defendants
 5   intended. Had they known the truth, Plaintiffs and the Nebraska State Class would not have
 6   purchased or leased the Class Vehicles, or—if the Class Vehicles’ true nature had been disclosed
 7   and mitigated, and the Vehicles rendered legal to sell—would have paid significantly less for
 8   them.
 9               1750. Plaintiffs and Nebraska State Class members had no way of discerning that
10   Defendants’ representations were false and misleading, or otherwise learning the facts that
11   Defendants had concealed or failed to disclose, because Defendants’ emission control software
12   was extremely sophisticated technology. Plaintiffs and Nebraska State Class members did not,
13   and could not, unravel Defendants’ deception on their own.
14               1751. Defendants had an ongoing duty to Plaintiffs and the Nebraska State Class to
15   refrain from unfair and deceptive practices under the Nebraska CPA in the course of their
16   business. Specifically, Defendants owed Plaintiffs and Nebraska State Class members a duty to
17   disclose all the material facts concerning the EcoDiesel® emission control system because they
18   possessed exclusive knowledge, they intentionally concealed it from Plaintiffs and the Nebraska
19   State Class, and/or they made misrepresentations that were rendered misleading because they
20   were contradicted by withheld facts.
21               1752. Plaintiffs and Nebraska State Class members suffered ascertainable loss and actual
22   damages as a direct and proximate result of Defendants’ concealment, misrepresentations, and/or
23   failure to disclose material information.
24               1753. Defendants’ violations present a continuing risk to Plaintiffs and the Nebraska
25   State Class, as well as to the general public. Defendants’ unlawful acts and practices complained
26   of herein affect the public interest.
27

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 1               1754. Pursuant to Neb. Rev. Stat. § 59-1609, Plaintiffs and the Nebraska State Class seek
 2   an order enjoining Defendants’ unfair and/or deceptive acts or practices, and awarding damages
 3   and any other just and proper relief available under the Nebraska CPA.
 4               VIOLATION OF THE NEVADA DECEPTIVE TRADE PRACTICES ACT
                                (Nev. Rev. Stat. § 598.0903, et seq.)
 5
                 1755. Plaintiffs incorporate by reference each preceding paragraph as though fully set
 6
     forth herein.
 7
                 1756. Plaintiff Christopher Mattingly (for the purpose of this section, “Plaintiff”) brings
 8
     this action on behalf of himself and the Nevada State Class against all Defendants.
 9
                 1757. The Nevada Deceptive Trade Practices Act (“Nevada DTPA”), Nev. Rev. Stat.
10
     § 598.0903, et seq. prohibits deceptive trade practices.
11
                 1758. In the course of their business, Defendants Fiat Chrysler, VM Motori, Bosch, and
12
     Sergio Marchionne, through their agents, employees, and/or subsidiaries, violated the Nevada
13
     DTPA.
14
                 1759. As detailed in the common law fraud allegations: (1) Fiat Chrysler affirmatively
15
     misrepresented the environmental friendliness and emissions of the Class Vehicles through the
16
     EcoDiesel badge—a material fact that was false because the Defendants developed and installed
17
     emission cheating components in the Class Vehicles that caused them to pollute excessively in
18
     real-world conditions; (2) Fiat Chrysler touted, through the EcoDiesel badge and uniform and
19
     pervasive consumer communications, the Class Vehicles’ fuel efficiency and performance, and
20
     the Defendants concealed that the fuel efficiency and performance could be achieved only
21
     through emission control devices in the Class Vehicles that caused them to pollute excessively in
22
     real-world conditions; and (3) the Defendants developed and installed emission cheating
23
     components that caused the Class Vehicles to pollute excessively in real-world conditions, and
24
     fraudulently concealed that fact from regulators and Class Members alike. See, e.g., ¶¶ 149-216;
25
     337-357. In so doing, and by marketing, offering for sale, and selling the defective Class
26
     Vehicles, Defendants engaged in one or more of the following unfair or deceptive acts or
27
     practices as defined in Nev. Rev. Stat. §§ 598.0915, 598.0923, and 598.0925:
28

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 1                      A.     Representing that the Class Vehicles have approval, characteristics, uses,
 2                             or benefits that they do not have;
 3                      B.     Representing that the Class Vehicles are of a particular standard, quality
 4                             and grade when they are not;
 5                      C.     Advertising the Class Vehicles with the intent not to sell or lease them as
 6                             advertised;
 7                      D.     Violating state and federal statutes and regulations relating to the sale of
 8                             the Class Vehicles; and/or
 9                      E.     Intending to injure competitors and destroy or substantially lessen
10                             competition.
11               1760. Defendants’ scheme and concealment of the true characteristics of the EcoDiesel®
12   emission control system were material to Plaintiff and the Nevada State Class, as Defendants
13   intended. Had they known the truth, Plaintiff and the Nevada State Class would not have
14   purchased or leased the Class Vehicles, or—if the Class Vehicles’ true nature had been disclosed
15   and mitigated, and the Vehicles rendered legal to sell—would have paid significantly less for
16   them.
17               1761. Plaintiff and Nevada State Class members had no way of discerning that
18   Defendants’ representations were false and misleading, or otherwise learning the facts that
19   Defendants had concealed or failed to disclose, because Defendants’ emission control software
20   was extremely sophisticated technology. Plaintiff and Nevada State Class members did not, and
21   could not, unravel Defendants’ deception on their own.
22               1762. Defendants had an ongoing duty to Plaintiff and the Nevada State Class to refrain
23   from unfair and deceptive practices under the Nevada DTPA in the course of their business.
24   Specifically, Defendants owed Plaintiff and Nevada State Class members a duty to disclose all the
25   material facts concerning the EcoDiesel® emission control system because they possessed
26   exclusive knowledge, they intentionally concealed it from Plaintiff and the Nevada State Class,
27   and/or they made misrepresentations that were rendered misleading because they were
28   contradicted by withheld facts.

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 1               1763. Plaintiff and Nevada State Class members suffered ascertainable loss and actual
 2   damages as a direct and proximate result of Defendants’ concealment, misrepresentations, and/or
 3   failure to disclose material information.
 4               1764. Defendants’ violations present a continuing risk to Plaintiff and the Nevada State
 5   Class, as well as to the general public. Defendants’ unlawful acts and practices complained of
 6   herein affect the public interest.
 7               1765. Pursuant to Nev. Rev. Stat. §§ 41.600 and 598.0977, Plaintiff and the Nevada
 8   State Class seek an order enjoining Defendants’ unfair and/or deceptive acts or practices, and
 9   awarding damages and any other just and proper relief available under the Nevada DTPA.
10                         VIOLATION OF N.H. CONSUMER PROTECTION ACT
                                  (N.H. Rev. Stat. Ann. § 358-a:1, et seq.)
11

12               1766. Plaintiffs incorporate by reference each preceding paragraph as though fully set
13   forth herein.
14               1767. This count is brought on behalf of the New Hampshire State Class against all
15   Defendants.
16               1768. FCA, Fiat, VM Italy, VM America, Bosch GmbH, Bosch LLC, Sergio
17   Marchionne, Plaintiff, and the New Hampshire State Class members are “persons” within the
18   meaning of N.H. Rev. Stat. § 358-A:1.
19               1769. FCA, Fiat, VM Italy, VM America, Bosch GmbH, Bosch LLC, and Marchionne
20   are engaged in “trade” or “commerce” within the meaning of N.H. Rev. Stat. § 358-A:1.
21               1770. The New Hampshire Consumer Protection Act (“New Hampshire CPA”) makes
22   unfair or deceptive trade practices unlawful. N.H. Rev. Stat. Ann. § 358-A:2.
23               1771. In the course of their business, Defendants Fiat Chrysler, VM Motori, Bosch, and
24   Marchionne, through their agents, employees, and/or subsidiaries, violated the New Hampshire
25   CPA.
26               1772. As detailed in the common law fraud allegations: (1) Fiat Chrysler affirmatively
27   misrepresented the environmental friendliness and emissions of the Class Vehicles through the
28   EcoDiesel badge—a material fact that was false because the Defendants developed and installed

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 1   emission cheating components in the Class Vehicles that caused them to pollute excessively in
 2   real-world conditions; (2) Fiat Chrysler touted, through the EcoDiesel badge and uniform and
 3   pervasive consumer communications, the Class Vehicles’ fuel efficiency and performance, and
 4   the Defendants concealed that the fuel efficiency and performance could be achieved only
 5   through emission control devices in the Class Vehicles that caused them to pollute excessively in
 6   real-world conditions; and (3) the Defendants developed and installed emission cheating
 7   components that caused the Class Vehicles to pollute excessively in real-world conditions, and
 8   fraudulently concealed that fact from regulators and Class Members alike. See, e.g., ¶¶ 149-216;
 9   337-357. In so doing, and by marketing, offering for sale, and selling the defective Class
10   Vehicles, Defendants engaged in one or more of the following unfair or deceptive acts or
11   practices as defined in N.H. Rev. Stat. § 358-A:2:
12                      A.     Causing likelihood of confusion or of misunderstanding as to the approval
13                             or certification of the Class Vehicles;
14                      B.     Representing that the Class Vehicles have approval, characteristics, uses,
15                             or benefits that they do not have;
16                      C.     Representing that the Class Vehicles are of a particular standard, quality
17                             and grade when they are not; and/or
18                      D.     Advertising the Class Vehicles with the intent not to sell or lease them as
19                             advertised.
20               1773. Defendants’ scheme and concealment of the true characteristics of the EcoDiesel®
21   emission control system were material to the New Hampshire State Class, as Defendants
22   intended. Had they known the truth, the New Hampshire State Class would not have purchased
23   or leased the Class Vehicles, or—if the Class Vehicles’ true nature had been disclosed and
24   mitigated, and the Vehicles rendered legal to sell—would have paid significantly less for them.
25               1774. New Hampshire State Class members had no way of discerning that Defendants’
26   representations were false and misleading, or otherwise learning the facts that Defendants had
27   concealed or failed to disclose, because Defendants’ emission control software was extremely
28

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 1   sophisticated technology. New Hampshire State Class members did not, and could not, unravel
 2   Defendants’ deception on their own.
 3               1775. Defendants had an ongoing duty to the New Hampshire State Class to refrain from
 4   unfair and deceptive practices under the New Hampshire CPA in the course of their business.
 5   Specifically, Defendants owed New Hampshire State Class members a duty to disclose all the
 6   material facts concerning the EcoDiesel® emission control system because they possessed
 7   exclusive knowledge, they intentionally concealed it from the New Hampshire State Class, and/or
 8   they made misrepresentations that were rendered misleading because they were contradicted by
 9   withheld facts.
10               1776. New Hampshire State Class members suffered ascertainable loss and actual
11   damages as a direct and proximate result of Defendants’ concealment, misrepresentations, and/or
12   failure to disclose material information.
13               1777. Defendants’ violations present a continuing risk to the New Hampshire State
14   Class, as well as to the general public. Defendants’ unlawful acts and practices complained of
15   herein affect the public interest.
16               1778. Pursuant to N.H. Rev. Stat. § 358-A:10, the New Hampshire State Class seek an
17   order enjoining Defendants’ unfair and/or deceptive acts or practices, and awarding damages,
18   punitive damages, and any other just and proper relief available under the New Hampshire CPA.
19                   VIOLATIONS OF THE NEW JERSEY CONSUMER FRAUD ACT
                                  (N.J. Stat. Ann. § 56:8-1, et seq.)
20

21               1779. Plaintiffs incorporate by reference each preceding paragraph as though fully set
22   forth herein.
23               1780. Plaintiffs Michael Norton and Wayne Tonnesen (for the purpose of this section,
24   “Plaintiffs”) bring this action on behalf of themselves and the New Jersey State Class against all
25   Defendants.
26               1781. FCA, Fiat, VM Italy, VM America, Bosch GmbH, Bosch LLC, Sergio
27   Marchionne, Plaintiffs, and the New Jersey State Class members are “persons” within the
28   meaning of N.J. Stat. Ann. § 56:8-1(d).

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 1               1782. FCA, Fiat, VM Italy, VM America, Bosch GmbH, Bosch LLC, and Sergio
 2   Marchionne are engaged in “sales” of “merchandise” within the meaning of N.J. Stat. Ann.
 3   § 56:8-1(c), (e).
 4               1783. The New Jersey Consumer Fraud Act (“New Jersey CFA”) makes unlawful “[t]he
 5   act, use or employment by any person of any unconscionable commercial practice, deception,
 6   fraud, false pretense, false promise, misrepresentation, or the knowing concealment, suppression,
 7   or omission of any material fact with the intent that others rely upon such concealment,
 8   suppression or omission, in connection with the sale or advertisement of any merchandise or real
 9   estate, or with the subsequent performance of such person as aforesaid, whether or not any person
10   has in fact been misled, deceived or damaged thereby…” N.J. Stat. Ann. § 56:8-2.
11               1784. In the course of their business, Defendants Fiat Chrysler, VM Motori, Bosch, and
12   Marchionne, through their agents, employees, and/or subsidiaries, violated the New Jersey CFA.
13               1785. As detailed in the common law fraud allegations: (1) Fiat Chrysler affirmatively
14   misrepresented the environmental friendliness and emissions of the Class Vehicles through the
15   EcoDiesel badge—a material fact that was false because the Defendants developed and installed
16   emission cheating components in the Class Vehicles that caused them to pollute excessively in
17   real-world conditions; (2) Fiat Chrysler touted, through the EcoDiesel badge and uniform and
18   pervasive consumer communications, the Class Vehicles’ fuel efficiency and performance, and
19   the Defendants concealed that the fuel efficiency and performance could be achieved only
20   through emission control devices in the Class Vehicles that caused them to pollute excessively in
21   real-world conditions; and (3) the Defendants developed and installed emission cheating
22   components that caused the Class Vehicles to pollute excessively in real-world conditions, and
23   fraudulently concealed that fact from regulators and Class Members alike. See, e.g., ¶¶ 149-216;
24   337-357. In so doing, and by marketing, offering for sale, and selling the defective Class
25   Vehicles, Defendants engaged in the following unfair or deceptive acts or practices as prohibited
26   by N.J. Stat. Ann. § 56:8-2: using or employing deception, fraud, false pretense, false promise or
27   misrepresentation, or the concealment, suppression or omission of a material fact with intent that
28   others rely upon such concealment, suppression or omission, in connection with the

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 1   advertisement and sale/lease of the Class Vehicles, whether or not any person has in fact been
 2   misled, deceived or damaged thereby.
 3               1786. Defendants’ scheme and concealment of the true characteristics of the EcoDiesel®
 4   emission control system were material to Plaintiffs and the New Jersey State Class, as Defendants
 5   intended. Had they known the truth, Plaintiffs and the New Jersey State Class would not have
 6   purchased or leased the Class Vehicles, or—if the Class Vehicles’ true nature had been disclosed
 7   and mitigated, and the Vehicles rendered legal to sell—would have paid significantly less for
 8   them.
 9               1787. Plaintiff and New Jersey State Class members had no way of discerning that
10   Defendants’ representations were false and misleading, or otherwise learning the facts that
11   Defendants had concealed or failed to disclose, because Defendants’ emission control software
12   was extremely sophisticated technology. Plaintiff and New Jersey State Class members did not,
13   and could not, unravel Defendants’ deception on their own.
14               1788. Defendants had an ongoing duty to Plaintiffs and the New Jersey State Class to
15   refrain from unfair and deceptive practices under the New Jersey CFA in the course of their
16   business. Specifically, Defendants owed Plaintiff and New Jersey State Class members a duty to
17   disclose all the material facts concerning the EcoDiesel® emission control system because they
18   possessed exclusive knowledge, they intentionally concealed it from Plaintiffs and the New
19   Jersey State Class, and/or they made misrepresentations that were rendered misleading because
20   they were contradicted by withheld facts.
21               1789. Plaintiff and New Jersey State Class members suffered ascertainable loss and
22   actual damages as a direct and proximate result of Defendants’ concealment, misrepresentations,
23   and/or failure to disclose material information.
24               1790. Defendants’ violations present a continuing risk to Plaintiffs and the New Jersey
25   State Class, as well as to the general public. Defendants’ unlawful acts and practices complained
26   of herein affect the public interest.
27               1791. Pursuant to N.J. Stat. Ann. § 56:8-19, Plaintiffs and the New Jersey State Class
28   seek an order enjoining Defendants’ unfair and/or deceptive acts or practices, and awarding

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 1   damages, punitive damages, and any other just and proper relief available under the New Jersey
 2   CFA.
 3                   VIOLATIONS OF THE NEW MEXICO UNFAIR PRACTICES ACT
                                 (N.M. Stat. Ann. §§ 57-12-1, et seq.)
 4

 5               1792. Plaintiffs incorporate by reference each preceding paragraph as though fully set
 6   forth herein.
 7               1793. Plaintiffs Jake Gunderson and WEB Farms, Inc. (for the purpose of this section,
 8   “Plaintiffs”) bring this action on behalf of themselves and the New Mexico State Class against all
 9   Defendants.
10               1794. FCA, Fiat, VM Italy, VM America, Bosch GmbH, Bosch LLC, Sergio
11   Marchionne, Plaintiffs, and the New Mexico State Class members are “persons” within the
12   meaning of N.M. Stat. Ann. § 57-12-2.
13               1795. FCA, Fiat, VM Italy, VM America, Bosch GmbH, Bosch LLC, and Marchionne
14   are engaged in trade or commerce within the meaning of N.M. Stat. Ann. § 57-12-2.
15               1796. The New Mexico Unfair Trade Practices Act (“New Mexico UTPA”) makes
16   unlawful “a false or misleading oral or written statement, visual description or other
17   representation of any kind knowingly made in connection with the sale, lease, rental or loan of
18   goods or services … by a person in the regular course of the person’s trade or commerce, that
19   may, tends to or does deceive or mislead any person,” including but not limited to “failing to state
20   a material fact if doing so deceives or tends to deceive.” N.M. Stat. Ann. § 57-12-2(D).
21               1797. In the course of their business, Defendants Fiat Chrysler, VM Motori, Bosch, and
22   Marchionne, through their agents, employees, and/or subsidiaries, violated the New Mexico
23   UTPA.
24               1798. As detailed in the common law fraud allegations: (1) Fiat Chrysler affirmatively
25   misrepresented the environmental friendliness and emissions of the Class Vehicles through the
26   EcoDiesel badge—a material fact that was false because the Defendants developed and installed
27   emission cheating components in the Class Vehicles that caused them to pollute excessively in
28   real-world conditions; (2) Fiat Chrysler touted, through the EcoDiesel badge and uniform and

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 1   pervasive consumer communications, the Class Vehicles’ fuel efficiency and performance, and
 2   the Defendants concealed that the fuel efficiency and performance could be achieved only
 3   through emission control devices in the Class Vehicles that caused them to pollute excessively in
 4   real-world conditions; and (3) the Defendants developed and installed emission cheating
 5   components that caused the Class Vehicles to pollute excessively in real-world conditions, and
 6   fraudulently concealed that fact from regulators and Class Members alike. See, e.g., ¶¶ 149-216;
 7   337-357. In so doing, and by marketing, offering for sale, and selling the defective Class
 8   Vehicles, Defendants engaged in one or more of the following unfair or deceptive acts or
 9   practices as prohibited by N.M. Stat. Ann. § 57-12-2(D) and § 57-12-2(E):
10                      A.     Causing likelihood of confusion or of misunderstanding as to the approval
11                             or certification of the Class Vehicles;
12                      B.     Representing that the Class Vehicles have approval, characteristics, uses,
13                             or benefits that they do not have;
14                      C.     Representing that the Class Vehicles are of a particular standard, quality
15                             and grade when they are not;
16                      D.     Using exaggeration as to a material fact and/or failing to state the material
17                             facts concerning the Class Vehicles in a way that tended to deceive; and/or
18                      E.     Acting in a manner that resulted in a gross disparity between the true value
19                             of the Class Vehicles and the price paid.
20               1799. Defendants’ scheme and concealment of the true characteristics of the EcoDiesel®
21   emission control system were material to Plaintiffs and the New Mexico State Class, as
22   Defendants intended. Had they known the truth, Plaintiffs and the New Mexico State Class
23   would not have purchased or leased the Class Vehicles, or—if the Class Vehicles’ true nature had
24   been disclosed and mitigated, and the Vehicles rendered legal to sell—would have paid
25   significantly less for them.
26               1800. Plaintiffs and New Mexico State Class members had no way of discerning that
27   Defendants’ representations were false and misleading, or otherwise learning the facts that
28   Defendants had concealed or failed to disclose, because Defendants’ emission control software

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 1   was extremely sophisticated technology. Plaintiffs and New Mexico State Class members did
 2   not, and could not, unravel Defendants’ deception on their own.
 3               1801. Defendants had an ongoing duty to Plaintiffs and the New Mexico State Class to
 4   refrain from unfair and deceptive practices under the New Mexico UTPA in the course of their
 5   business. Specifically, Defendants owed Plaintiffs and New Mexico State Class members a duty
 6   to disclose all the material facts concerning the EcoDiesel® emission control system because they
 7   possessed exclusive knowledge, they intentionally concealed it from Plaintiffs and the New
 8   Mexico State Class, and/or they made misrepresentations that were rendered misleading because
 9   they were contradicted by withheld facts.
10               1802. Plaintiffs and New Mexico State Class members suffered ascertainable loss and
11   actual damages as a direct and proximate result of Defendants’ concealment, misrepresentations,
12   and/or failure to disclose material information.
13               1803. Defendants’ violations present a continuing risk to Plaintiffs and the New Mexico
14   State Class, as well as to the general public. Defendants’ unlawful acts and practices complained
15   of herein affect the public interest.
16               1804. Pursuant to N.M. Stat. Ann. § 57-12-10, Plaintiffs and the New Mexico State Class
17   seek an order enjoining Defendants’ unfair and/or deceptive acts or practices, and awarding
18   damages, punitive damages, and any other just and proper relief available under the New Mexico
19   UTPA.
20                    VIOLATION OF NEW YORK GENERAL BUSINESS LAW § 349
                                    (N.Y. Gen. Bus. Law § 349)
21

22               1805. Plaintiffs incorporate by reference each preceding paragraph as though fully set
23   forth herein.
24               1806. Plaintiffs Giuseppe Carillo, Thomas McGann, Jr., and George Milner (for the
25   purpose of this section, “Plaintiffs”) bring this action on behalf of themselves and the New York
26   State Class against all Defendants.
27

28

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 1               1807. FCA, Fiat, VM Italy, VM America, Bosch GmbH, Bosch LLC, Sergio
 2   Marchionne, Plaintiffs, and the New York State Class members are “persons” within the meaning
 3   of N.Y. Gen. Bus. Law § 349(h).
 4               1808. The New York Deceptive Acts and Practices Act (“NY DAPA”) makes unlawful
 5   “[d]eceptive acts or practices in the conduct of any business, trade or commerce.” N.Y. Gen. Bus.
 6   Law § 349.
 7               1809. In the course of their business, Defendants Fiat Chrysler, VM Motori, Bosch, and
 8   Sergio Marchionne, through their agents, employees, and/or subsidiaries, violated the New York
 9   DAPA.
10               1810. As detailed in the common law fraud allegations: (1) Fiat Chrysler affirmatively
11   misrepresented the environmental friendliness and emissions of the Class Vehicles through the
12   EcoDiesel badge—a material fact that was false because the Defendants developed and installed
13   emission cheating components in the Class Vehicles that caused them to pollute excessively in
14   real-world conditions; (2) Fiat Chrysler touted, through the EcoDiesel badge and uniform and
15   pervasive consumer communications, the Class Vehicles’ fuel efficiency and performance, and
16   the Defendants concealed that the fuel efficiency and performance could be achieved only
17   through emission control devices in the Class Vehicles that caused them to pollute excessively in
18   real-world conditions; and (3) the Defendants developed and installed emission cheating
19   components that caused the Class Vehicles to pollute excessively in real-world conditions, and
20   fraudulently concealed that fact from regulators and Class Members alike. See, e.g., ¶¶ 149-216;
21   337-357. In so doing, and by marketing, offering for sale, and selling the defective Class
22   Vehicles, Defendants engaged in one or more of the following unfair or deceptive acts or
23   practices as prohibited by N.Y. Gen. Bus. Law § 349:
24                      A.     Causing likelihood of confusion or of misunderstanding as to the approval
25                             or certification of the Class Vehicles;
26                      B.     Representing that the Class Vehicles have approval, characteristics, uses,
27                             or benefits that they do not have;
28

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 1                      C.     Representing that the Class Vehicles are of a particular standard, quality
 2                             and grade when they are not;
 3                      D.     Advertising the Class Vehicles with the intent not to sell or lease them as
 4                             advertised;
 5                      E.     Engaging in other conduct which created a likelihood of confusion or of
 6                             misunderstanding; and/or
 7                      F.     Using or employing deception, fraud, false pretense, false promise or
 8                             misrepresentation, or the concealment, suppression or omission of a
 9                             material fact with intent that others rely upon such concealment,
10                             suppression or omission, in connection with the advertisement and
11                             sale/lease of the Class Vehicles, whether or not any person has in fact been
12                             misled, deceived or damaged thereby.
13               1811. Defendants’ scheme and concealment of the true characteristics of the EcoDiesel®
14   emission control system were material to Plaintiffs and the New York State Class, as Defendants
15   intended. Had they known the truth, Plaintiffs and the New York State Class would not have
16   purchased or leased the Class Vehicles, or—if the Class Vehicles’ true nature had been disclosed
17   and mitigated, and the Vehicles rendered legal to sell—would have paid significantly less for
18   them.
19               1812. Plaintiffs and New York State Class members had no way of discerning that
20   Defendants’ representations were false and misleading, or otherwise learning the facts that
21   Defendants had concealed or failed to disclose, because Defendants’ emission control software
22   was extremely sophisticated technology. Plaintiffs and New York State Class members did not,
23   and could not, unravel Defendants’ deception on their own.
24               1813. Defendants had an ongoing duty to Plaintiffs and the New York State Class to
25   refrain from unfair and deceptive practices under the New York DAPA in the course of their
26   business. Specifically, Defendants owed Plaintiffs and New York State Class members a duty to
27   disclose all the material facts concerning the EcoDiesel® emission control system because they
28   possessed exclusive knowledge, they intentionally concealed it from Plaintiffs and the New York

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 1   State Class, and/or they made misrepresentations that were rendered misleading because they
 2   were contradicted by withheld facts.
 3               1814. Plaintiffs and New York State Class members suffered ascertainable loss and
 4   actual damages as a direct and proximate result of Defendants’ concealment, misrepresentations,
 5   and/or failure to disclose material information.
 6               1815. Defendants’ violations present a continuing risk to Plaintiffs and the New York
 7   State Class, as well as to the general public. Defendants’ unlawful acts and practices complained
 8   of herein affect the public interest.
 9               1816. Plaintiffs and the New York State Class seek an order enjoining Defendants’
10   unfair and/or deceptive acts or practices, and awarding damages, punitive damages, and any other
11   just and proper relief available under the New York DAPA.
12                   VIOLATIONS OF NEW YORK GENERAL BUSINESS LAW § 350
                                    (N.Y. Gen. Bus. Law § 350)
13

14               1817. Plaintiffs incorporate by reference each preceding paragraph as though fully set
15   forth herein.
16               1818. Plaintiffs Giuseppe Carillo, Thomas McGann, Jr., and George Milner (for the
17   purpose of this section, “Plaintiffs”) bring this action on behalf of themselves and the New York
18   State Class against all Defendants.
19               1819. FCA, Fiat, VM Italy, VM America, Bosch GmbH, Bosch LLC, and Sergio
20   Marchionne are engaged in the “conduct of business, trade or commerce,” within the meaning of
21   N.Y. Gen. Bus. Law § 350.
22               1820. The New York False Advertising Act (“NY FAA”) makes unlawful “[f]alse
23   advertising in the conduct of any business, trade or commerce.” N.Y. Gen. Bus. Law § 350. False
24   advertising includes “advertising, including labeling, of a commodity . . . if such advertising is
25   misleading in a material respect,” taking into account “the extent to which the advertising fails to
26   reveal facts material in light of … representations [made] with respect to the commodity ….”
27   N.Y. Gen. Bus. Law § 350-a.
28

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 1               1821. Defendants caused to be made or disseminated through New York and the United
 2   States, through advertising, marketing, and other publications, statements that were untrue or
 3   misleading, and which were known, or which by the exercise of reasonable care should have been
 4   known to Defendants, to be untrue and misleading to consumers, including Plaintiff and the other
 5   New York State Class members.
 6               1822. As detailed in the common law fraud allegations: (1) Fiat Chrysler affirmatively
 7   misrepresented the environmental friendliness and emissions of the Class Vehicles through the
 8   EcoDiesel badge—a material fact that was false because the Defendants developed and installed
 9   emission cheating components in the Class Vehicles that caused them to pollute excessively in
10   real-world conditions; (2) Fiat Chrysler touted, through the EcoDiesel badge and uniform and
11   pervasive consumer communications, the Class Vehicles’ fuel efficiency and performance, and
12   the Defendants concealed that the fuel efficiency and performance could be achieved only
13   through emission control devices in the Class Vehicles that caused them to pollute excessively in
14   real-world conditions; and (3) the Defendants developed and installed emission cheating
15   components that caused the Class Vehicles to pollute excessively in real-world conditions, and
16   fraudulently concealed that fact from regulators and Class Members alike. See, e.g., ¶¶ 149-216;
17   337-357.
18               1823. Defendants violated the NY FAA by: representing that the Class Vehicles had
19   characteristics, uses, benefits, and qualities which they do not have; representing that the Class
20   Vehicles are of a particular standard, quality and grade when they are not; advertising Class
21   Vehicles with the intent not to sell or lease them as advertised; engaging in other conduct creating
22   a likelihood of confusion or of misunderstanding; and employing concealment, suppression, or
23   omission of material facts in connection with the advertisement and sale of the Class Vehicles.
24   Defendants knew or should have known that their conduct violated the NY FAA.
25               1824. Plaintiffs and New York State Class members suffered ascertainable loss and
26   actual damages as a direct and proximate result of Defendants’ misrepresentations, deceptions,
27   and their concealment of and failure to disclose material information.
28

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 1               1825. All of the wrongful conduct alleged herein occurred, and continues to occur, in the
 2   conduct of Defendants’ business. Defendants’ wrongful conduct is part of a pattern or
 3   generalized course of conduct that is still perpetuated and repeated, both in the State of New York
 4   and nationwide.
 5               1826. Pursuant to the NY FAA, Plaintiffs and the New York State Class seek injunctive
 6   relief, as well as monetary relief against Defendants measured as the greater of (a) actual damages
 7   in an amount to be determined at trial, and (b) statutory damages in the amount of $500 each for
 8   New York State Class member. Because Defendants’ conduct was committed willingly and
 9   knowingly, Plaintiffs and the New York State Class are entitled to recover three times actual
10   damages, up to $10,000.
11                          VIOLATIONS OF THE NORTH CAROLINA UNFAIR
                               AND DECEPTIVE TRADE PRACTICES ACT
12                                  (N.C. Gen. Stat. §§ 75-1.1, et seq.)
13               1827. Plaintiffs incorporate by reference each preceding paragraph as though fully set
14   forth herein.
15               1828. Plaintiffs Marius Bihorean, Miguel Fragoso, Samuel Price, and Stonewall Webster
16   (for the purpose of this section, “Plaintiffs”) bring this action on behalf of themselves and the
17   North Carolina State Class against all Defendants.
18               1829. FCA, Fiat, VM Italy, VM America, Bosch GmbH, Bosch LLC, Sergio
19   Marchionne, Plaintiffs, and the North Carolina State Class members are “persons” within the
20   meaning of N.C. Gen. Stat. § 75-1.1, et seq.
21               1830. FCA’s, Fiat’s, VM Italy’s, VM America’s, Bosch GmbH’s, Bosch LLC’s, and
22   Sergio Marchionne’s acts and practices complained of herein were performed in the course of
23   their trade or business and thus occurred in or affected “commerce,” as defined in N.C. Gen. Stat.
24   § 75-1.1(b).
25               1831. The North Carolina Unfair and Deceptive Trade Practices Act (“North Carolina
26   UDTPA”) makes unlawful “[u]nfair methods of competition in or affecting commerce, and unfair
27   or deceptive acts or practices in or affecting commerce[,]” and the North Carolina UDTPA
28

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 1   provides a private right of action for any person injured “by reason of any act or thing done by
 2   any other person, firm or corporation in violation of” the law. N.C. Gen. Stat. § 75-16.
 3               1832. In the course of their business, Defendants Fiat Chrysler, VM Motori, Bosch, and
 4   Marchionne, through their agents, employees, and/or subsidiaries, violated the North Carolina
 5   UDTPA.
 6               1833. As detailed in the common law fraud allegations: (1) Fiat Chrysler affirmatively
 7   misrepresented the environmental friendliness and emissions of the Class Vehicles through the
 8   EcoDiesel badge—a material fact that was false because the Defendants developed and installed
 9   emission cheating components in the Class Vehicles that caused them to pollute excessively in
10   real-world conditions; (2) Fiat Chrysler touted, through the EcoDiesel badge and uniform and
11   pervasive consumer communications, the Class Vehicles’ fuel efficiency and performance, and
12   the Defendants concealed that the fuel efficiency and performance could be achieved only
13   through emission control devices in the Class Vehicles that caused them to pollute excessively in
14   real-world conditions; and (3) the Defendants developed and installed emission cheating
15   components that caused the Class Vehicles to pollute excessively in real-world conditions, and
16   fraudulently concealed that fact from regulators and Class Members alike. See, e.g., ¶¶ 149-216;
17   337-357. In so doing, and by marketing, offering for sale, and selling the defective Class
18   Vehicles, Defendants engaged in one or more of the following unfair or deceptive acts or
19   practices prohibited by the North Carolina UDTPA:
20                      A.     Causing likelihood of confusion or of misunderstanding as to the approval
21                             or certification of the Class Vehicles;
22                      B.     Representing that the Class Vehicles have approval, characteristics, uses,
23                             or benefits that they do not have;
24                      C.     Representing that the Class Vehicles are of a particular standard, quality
25                             and grade when they are not;
26                      D.     Advertising the Class Vehicles with the intent not to sell or lease them as
27                             advertised;
28

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 1                      E.     Engaging in other conduct which created a likelihood of confusion or of
 2                             misunderstanding; and/or
 3                      F.     Using or employing deception, fraud, false pretense, false promise or
 4                             misrepresentation, or the concealment, suppression or omission of a
 5                             material fact with intent that others rely upon such concealment,
 6                             suppression or omission, in connection with the advertisement and
 7                             sale/lease of the Class Vehicles, whether or not any person has in fact been
 8                             misled, deceived or damaged thereby.
 9               1834. Defendants’ scheme and concealment of the true characteristics of the EcoDiesel®
10   emission control system were material to Plaintiffs and the North Carolina State Class, as
11   Defendants intended. Had they known the truth, Plaintiffs and the North Carolina State Class
12   would not have purchased or leased the Class Vehicles, or—if the Class Vehicles’ true nature had
13   been disclosed and mitigated, and the Vehicles rendered legal to sell—would have paid
14   significantly less for them.
15               1835. Plaintiffs and North Carolina State Class members had no way of discerning that
16   Defendants’ representations were false and misleading, or otherwise learning the facts that
17   Defendants had concealed or failed to disclose, because Defendants’ emission control software
18   was extremely sophisticated technology. Plaintiffs and North Carolina State Class members did
19   not, and could not, unravel Defendants’ deception on their own.
20               1836. Defendants had an ongoing duty to Plaintiffs and the North Carolina State Class to
21   refrain from unfair and deceptive practices under the North Carolina UDTPA in the course of
22   their business. Specifically, Defendants owed Plaintiffs and North Carolina State Class members
23   a duty to disclose all the material facts concerning the EcoDiesel® emission control system
24   because they possessed exclusive knowledge, they intentionally concealed it from Plaintiffs and
25   the North Carolina State Class, and/or they made misrepresentations that were rendered
26   misleading because they were contradicted by withheld facts.
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 1               1837. Plaintiffs and North Carolina State Class members suffered ascertainable loss and
 2   actual damages as a direct and proximate result of Defendants’ concealment, misrepresentations,
 3   and/or failure to disclose material information.
 4               1838. Defendants’ violations present a continuing risk to Plaintiffs and the North
 5   Carolina State Class, as well as to the general public. Defendants’ unlawful acts and practices
 6   complained of herein affect the public interest.
 7               1839. Pursuant to N.C. Gen. Stat. § 75-16, Plaintiffs and the North Carolina State Class
 8   seek an order enjoining Defendants’ unfair and/or deceptive acts or practices, and awarding
 9   damages, punitive damages, and any other just and proper relief available under the North
10   Carolina UDTPA.
11                  VIOLATION OF THE NORTH DAKOTA CONSUMER FRAUD ACT
                                   (N.D. Cent. Code § 51-15-02)
12

13               1840. Plaintiffs incorporate by reference each preceding paragraph as though fully set
14   forth herein.
15               1841. Plaintiff Andrew Loescher (for the purpose of this section, “Plaintiff”) brings this
16   action on behalf of himself and the North Dakota State Class against all Defendants.
17               1842. FCA, Fiat, VM Italy, VM America, Bosch GmbH, Bosch LLC, Sergio
18   Marchionne, Plaintiff, and the North Dakota State Class members are “persons” within the
19   meaning of N.D. Cent. Code § 51-15-02(4).
20               1843. FCA, Fiat, VM Italy, VM America, Bosch GmbH, Bosch LLC, and Sergio
21   Marchionne are engaged in the “sale” of “merchandise” within the meaning of N.D. Cent Code
22   §§ 51-15-02(3), (5).
23               1844. The North Dakota Consumer Fraud Act (“North Dakota CFA”) makes unlawful
24   “[t]he act, use, or employment by any person of any deceptive act or practice, fraud, false
25   pretense, false promise, or misrepresentation, with the intent that others rely thereon in
26   connection with the sale or advertisement of any merchandise….” N.D. Cent. Code § 51-15-02.
27

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 1               1845. In the course of their business, Defendants Fiat Chrysler, VM Motori, Bosch, and
 2   Marchionne, through their agents, employees, and/or subsidiaries, violated the North Dakota
 3   CFA.
 4               1846. As detailed in the common law fraud allegations: (1) Fiat Chrysler affirmatively
 5   misrepresented the environmental friendliness and emissions of the Class Vehicles through the
 6   EcoDiesel badge—a material fact that was false because the Defendants developed and installed
 7   emission cheating components in the Class Vehicles that caused them to pollute excessively in
 8   real-world conditions; (2) Fiat Chrysler touted, through the EcoDiesel badge and uniform and
 9   pervasive consumer communications, the Class Vehicles’ fuel efficiency and performance, and
10   the Defendants concealed that the fuel efficiency and performance could be achieved only
11   through emission control devices in the Class Vehicles that caused them to pollute excessively in
12   real-world conditions; and (3) the Defendants developed and installed emission cheating
13   components that caused the Class Vehicles to pollute excessively in real-world conditions, and
14   fraudulently concealed that fact from regulators and Class Members alike. See, e.g., ¶¶ 149-216;
15   337-357. In so doing, and by marketing, offering for sale, and selling the defective Class
16   Vehicles, Defendants engaged in one or more of the following unfair or deceptive acts or
17   practices prohibited by N.D. Cent. Code § 51-15-02: using or employing deception, fraud, false
18   pretense, false promise or misrepresentation, with intent that others rely thereon, in connection
19   with the advertisement and sale/lease of the Class Vehicles, whether or not any person has in fact
20   been misled, deceived or damaged thereby.
21               1847. Defendants’ scheme and concealment of the true characteristics of the EcoDiesel®
22   emission control system were material to Plaintiff and the North Dakota State Class, as
23   Defendants intended. Had they known the truth, Plaintiff and the North Dakota State Class would
24   not have purchased or leased the Class Vehicles, or—if the Class Vehicles’ true nature had been
25   disclosed and mitigated, and the Vehicles rendered legal to sell—would have paid significantly
26   less for them.
27               1848. Plaintiff and North Dakota State Class members had no way of discerning that
28   Defendants’ representations were false and misleading, or otherwise learning the facts that

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 1   Defendants had concealed or failed to disclose, because Defendants’ emission control software
 2   was extremely sophisticated technology. Plaintiff and North Dakota State Class members did not,
 3   and could not, unravel Defendants’ deception on their own.
 4               1849. Defendants had an ongoing duty to Plaintiff and the North Dakota State Class to
 5   refrain from unfair and deceptive practices under the North Dakota CFA in the course of their
 6   business. Specifically, Defendants owed Plaintiff and North Dakota State Class members a duty
 7   to disclose all the material facts concerning the EcoDiesel® emission control system because they
 8   possessed exclusive knowledge, they intentionally concealed it from Plaintiff and the North
 9   Dakota State Class, and/or they made misrepresentations that were rendered misleading because
10   they were contradicted by withheld facts.
11               1850. Plaintiff and North Dakota State Class members suffered ascertainable loss and
12   actual damages as a direct and proximate result of Defendants’ concealment, misrepresentations,
13   and/or failure to disclose material information.
14               1851. Defendants’ violations present a continuing risk to Plaintiff and the North Dakota
15   State Class, as well as to the general public. Defendants’ unlawful acts and practices complained
16   of herein affect the public interest.
17               1852. Pursuant to N.D. Cent. Code Ann. §§ 51-15-07 and 51-15-09, Plaintiff and the
18   North Dakota State Class seek an order enjoining Defendants’ unfair and/or deceptive acts or
19   practices and awarding damages, treble damages, and any other just and proper relief available
20   under the North Dakota CFA.
21                 VIOLATIONS OF THE OHIO CONSUMER SALES PRACTICES ACT
                                (Ohio Rev. Code §§ 1345.01, et seq.)
22

23               1853. Plaintiffs incorporate by reference each preceding paragraph as though fully set
24   forth herein.
25               1854. Plaintiff Jon Roberts (for the purpose of this section, “Plaintiff”) brings this action
26   on behalf of himself and the Ohio State Class against all Defendants.
27               1855. FCA, Fiat, VM Italy, VM America, Bosch GmbH, Bosch LLC, Sergio
28   Marchionne, Plaintiff, and the Ohio State Class members are “persons” within the meaning of

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 1   Ohio Rev. Code § 1345.01(B). Defendants are so “supplier[s]” as defined by Ohio Rev. Code
 2   § 1345.01(C).
 3               1856. Plaintiff and the Ohio State Class members are “consumers” within the meaning of
 4   Ohio Rev. Code § 1345.01(D), and their purchase and leases of the Class Vehicles are “consumer
 5   transactions” within the meaning of Ohio Rev. Code § 1345.01(A)
 6               1857. The Ohio Consumer Sales Practices Act (“Ohio CSPA”) prohibits unfair or
 7   deceptive acts or practices in connection with a consumer transaction. Ohio Rev. Code
 8   § 1345.02.
 9               1858. In the course of their business, Defendants Fiat Chrysler, VM Motori, Bosch, and
10   Marchionne, through their agents, employees, and/or subsidiaries, violated the Ohio CSPA.
11               1859. As detailed in the common law fraud allegations: (1) Fiat Chrysler affirmatively
12   misrepresented the environmental friendliness and emissions of the Class Vehicles through the
13   EcoDiesel badge—a material fact that was false because the Defendants developed and installed
14   emission cheating components in the Class Vehicles that caused them to pollute excessively in
15   real-world conditions; (2) Fiat Chrysler touted, through the EcoDiesel badge and uniform and
16   pervasive consumer communications, the Class Vehicles’ fuel efficiency and performance, and
17   the Defendants concealed that the fuel efficiency and performance could be achieved only
18   through emission control devices in the Class Vehicles that caused them to pollute excessively in
19   real-world conditions; and (3) the Defendants developed and installed emission cheating
20   components that caused the Class Vehicles to pollute excessively in real-world conditions, and
21   fraudulently concealed that fact from regulators and Class Members alike. See, e.g., ¶¶ 149-216;
22   337-357. In so doing, and by marketing, offering for sale, and selling the defective Class
23   Vehicles, Defendants engaged in one or more of the following unfair or deceptive acts or
24   practices as prohibited by Ohio Rev. Code § 1345.02:
25                      A.     Representing that the Class Vehicles have approval, characteristics, uses,
26                             or benefits that they do not have; and/or
27                      B.     Representing that the Class Vehicles are of a particular standard, quality
28                             and grade when they are not.

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 1               1860. Defendants’ scheme and concealment of the true characteristics of the EcoDiesel®
 2   emission control system were material to Plaintiff and the Ohio State Class, as Defendants
 3   intended. Had they known the truth, Plaintiff and the Ohio State Class would not have purchased
 4   or leased the Class Vehicles, or—if the Class Vehicles’ true nature had been disclosed and
 5   mitigated, and the Vehicles rendered legal to sell—would have paid significantly less for them.
 6               1861. Plaintiff and Ohio State Class members had no way of discerning that Defendants’
 7   representations were false and misleading, or otherwise learning the facts that Defendants had
 8   concealed or failed to disclose, because Defendants’ emission control software was extremely
 9   sophisticated technology. Plaintiff and Ohio State Class members did not, and could not, unravel
10   Defendants’ deception on their own.
11               1862. Defendants had an ongoing duty to Plaintiff and the Ohio State Class to refrain
12   from unfair and deceptive practices under the Ohio CSPA in the course of their business.
13   Specifically, Defendants owed Plaintiff and Ohio State Class members a duty to disclose all the
14   material facts concerning the EcoDiesel® emission control system because they possessed
15   exclusive knowledge, they intentionally concealed it from Plaintiff and the Ohio State Class,
16   and/or they made misrepresentations that were rendered misleading because they were
17   contradicted by withheld facts.
18               1863. Plaintiff and Ohio State Class members suffered ascertainable loss and actual
19   damages as a direct and proximate result of Defendants’ concealment, misrepresentations, and/or
20   failure to disclose material information.
21               1864. Defendants’ violations present a continuing risk to Plaintiff and the Ohio State
22   Class, as well as to the general public. Defendants’ unlawful acts and practices complained of
23   herein affect the public interest.
24               1865. Pursuant to Ohio Rev. Code § 1345.09, Plaintiff and the Ohio State Class seek an
25   order enjoining Defendants’ unfair and/or deceptive acts or practices, and awarding damages,
26   punitive damages, and any other just and proper relief available under the Ohio CSPA.
27

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 1                 VIOLATIONS OF THE OHIO DECEPTIVE TRADE PRACTICES ACT
                                 (Ohio Rev. Code § 4165.01, et seq.)
 2

 3               1866. Plaintiffs incorporate by reference each preceding paragraph as though fully set

 4   forth herein.

 5               1867. Plaintiff Jon Roberts (for the purpose of this section, “Plaintiff”) brings this action

 6   on behalf of himself and the Ohio State Class against all Defendants.

 7               1868. FCA, Fiat, VM Italy, VM America, Bosch GmbH, Bosch LLC, Sergio

 8   Marchionne, Plaintiff, and the Ohio State Class members are “persons” within the meaning of

 9   Ohio Rev. Code § 4165.01(D).

10               1869. FCA, Fiat, VM Italy, VM America, Bosch GmbH, Bosch LLC, and Sergio

11   Marchionne are engaged in “the course of [their] business” within the meaning of Ohio Rev.

12   Code § 4165.02(A).

13               1870. The Ohio Deceptive Trade Practices Act (“Ohio DTPA”) makes unlawful

14   deceptive trade practices. Ohio Rev. Code § 4165.02(A).

15               1871. In the course of their business, Defendants Fiat Chrysler, VM Motori, Bosch, and

16   Marchionne, through their agents, employees, and/or subsidiaries, violated the Ohio DTPA.

17               1872. As detailed in the common law fraud allegations: (1) Fiat Chrysler affirmatively

18   misrepresented the environmental friendliness and emissions of the Class Vehicles through the

19   EcoDiesel badge—a material fact that was false because the Defendants developed and installed

20   emission cheating components in the Class Vehicles that caused them to pollute excessively in

21   real-world conditions; (2) Fiat Chrysler touted, through the EcoDiesel badge and uniform and

22   pervasive consumer communications, the Class Vehicles’ fuel efficiency and performance, and

23   the Defendants concealed that the fuel efficiency and performance could be achieved only

24   through emission control devices in the Class Vehicles that caused them to pollute excessively in

25   real-world conditions; and (3) the Defendants developed and installed emission cheating

26   components that caused the Class Vehicles to pollute excessively in real-world conditions, and

27   fraudulently concealed that fact from regulators and Class Members alike. See, e.g., ¶¶ 149-216;

28   337-357. In so doing, and by marketing, offering for sale, and selling the defective Class

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 1   Vehicles, Defendants engaged in one or more of the following unfair or deceptive acts or
 2   practices as defined in Ohio Rev. Code § 4165.02(A):
 3                      A.     Causing likelihood of confusion or of misunderstanding as to the approval
 4                             or certification of the Class Vehicles;
 5                      B.     Representing that the Class Vehicles have approval, characteristics, uses,
 6                             or benefits that they do not have;
 7                      C.     Representing that the Class Vehicles are of a particular standard, quality
 8                             and grade when they are not; and/or
 9                      D.     Advertising the Class Vehicles with the intent not to sell or lease them as
10                             advertised.
11               1873. Defendants’ scheme and concealment of the true characteristics of the EcoDiesel®
12   emission control system were material to Plaintiff and the Ohio State Class, as Defendants
13   intended. Had they known the truth, Plaintiff and the Ohio State Class would not have purchased
14   or leased the Class Vehicles, or—if the Class Vehicles’ true nature had been disclosed and
15   mitigated, and the Vehicles rendered legal to sell—would have paid significantly less for them.
16               1874. Plaintiff and Ohio State Class members had no way of discerning that Defendants’
17   representations were false and misleading, or otherwise learning the facts that Defendants had
18   concealed or failed to disclose, because Defendants’ emission control software was extremely
19   sophisticated technology. Plaintiff and Ohio State Class members did not, and could not, unravel
20   Defendants’ deception on their own.
21               1875. Defendants had an ongoing duty to the Plaintiff and Ohio State Class to refrain
22   from unfair and deceptive practices under the Ohio DTPA in the course of their business.
23   Specifically, Defendants owed Plaintiff and Ohio State Class members a duty to disclose all the
24   material facts concerning the EcoDiesel® emission control system because they possessed
25   exclusive knowledge, they intentionally concealed it from Plaintiff and the Ohio State Class,
26   and/or they made misrepresentations that were rendered misleading because they were
27   contradicted by withheld facts.
28

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 1               1876. Plaintiff and Ohio State Class members suffered ascertainable loss and actual
 2   damages as a direct and proximate result of Defendants’ concealment, misrepresentations, and/or
 3   failure to disclose material information.
 4               1877. Defendants’ violations present a continuing risk to Plaintiff and the Ohio State
 5   Class, as well as to the general public. Defendants’ unlawful acts and practices complained of
 6   herein affect the public interest.
 7               1878. Pursuant to Ohio Rev. Code §§ 2727.02 and 4165.03, Plaintiff and the Ohio State
 8   Class seek an order enjoining Defendants’ unfair and/or deceptive acts or practices, and awarding
 9   damages, punitive damages, and any other just and proper relief available under the Ohio DTPA.
10                    VIOLATION OF OKLAHOMA CONSUMER PROTECTION ACT
                                   (Okla. Stat. Tit. 15 § 751, et seq.)
11

12               1879. Plaintiffs incorporate by reference each preceding paragraph as though fully set
13   forth herein.
14               1880. Plaintiff Lee Holland (for the purpose of this section, “Plaintiff”) brings this action
15   on behalf of himself and the Oklahoma State Class against all Defendants.
16               1881. FCA, Fiat, VM Italy, VM America, Bosch GmbH, Bosch LLC, Sergio
17   Marchionne, Plaintiff, and the Oklahoma State Class members are “persons” within the meaning
18   of Okla. Stat. Tit. 15 § 752.1.
19               1882. At all relevant times, FCA, Fiat, VM Italy, VM America, Bosch GmbH, Bosch
20   LLC, and Sergio Marchionne are and were engaged in “the course of business” within the
21   meaning of Okla. Stat. Tit. 15 § 753.
22               1883. The Oklahoma Consumer Protection Act (“Oklahoma CPA”) prohibits numerous
23   unlawful acts, including misleading representations, false advertisements, and false statements.
24   Okla. Stat. Tit. 15 § 753.
25               1884. In the course of their business, Defendants Fiat Chrysler, VM Motori, Bosch, and
26   Marchionne, through their agents, employees, and/or subsidiaries, violated the Oklahoma CPA.
27               1885. As detailed in the common law fraud allegations: (1) Fiat Chrysler affirmatively
28   misrepresented the environmental friendliness and emissions of the Class Vehicles through the

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 1   EcoDiesel badge—a material fact that was false because the Defendants developed and installed
 2   emission cheating components in the Class Vehicles that caused them to pollute excessively in
 3   real-world conditions; (2) Fiat Chrysler touted, through the EcoDiesel badge and uniform and
 4   pervasive consumer communications, the Class Vehicles’ fuel efficiency and performance, and
 5   the Defendants concealed that the fuel efficiency and performance could be achieved only
 6   through emission control devices in the Class Vehicles that caused them to pollute excessively in
 7   real-world conditions; and (3) the Defendants developed and installed emission cheating
 8   components that caused the Class Vehicles to pollute excessively in real-world conditions, and
 9   fraudulently concealed that fact from regulators and Class Members alike. See, e.g., ¶¶ 149-216;
10   337-357. In so doing, and by marketing, offering for sale, and selling the defective Class
11   Vehicles, Defendants engaged in one or more of the following unfair or deceptive acts or
12   practices as defined in Okla. Stat. Tit. 15 § 753:
13                      A.     Representing that the Class Vehicles have approval, characteristics, uses,
14                             or benefits that they do not have;
15                      B.     Representing that the Class Vehicles are of a particular standard, quality
16                             and grade when they are not; and/or
17                      C.     Advertising the Class Vehicles with the intent not to sell or lease them as
18                             advertised.
19               1886. Defendants’ scheme and concealment of the true characteristics of the EcoDiesel®
20   emission control system were material to Plaintiff and the Oklahoma State Class, as Defendants
21   intended. Had they known the truth, Plaintiff and the Oklahoma State Class would not have
22   purchased or leased the Class Vehicles, or—if the Class Vehicles’ true nature had been disclosed
23   and mitigated, and the Vehicles rendered legal to sell—would have paid significantly less for
24   them.
25               1887. Plaintiff and Oklahoma State Class members had no way of discerning that
26   Defendants’ representations were false and misleading, or otherwise learning the facts that
27   Defendants had concealed or failed to disclose, because Defendants’ emission control software
28

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 1   was extremely sophisticated technology. Plaintiff and Oklahoma State Class members did not,
 2   and could not, unravel Defendants’ deception on their own.
 3               1888. Defendants had an ongoing duty to Plaintiff and the Oklahoma State Class to
 4   refrain from unfair and deceptive practices under the Oklahoma CPA in the course of their
 5   business. Specifically, Defendants owed Plaintiff and Oklahoma State Class members a duty to
 6   disclose all the material facts concerning the EcoDiesel® emission control system because they
 7   possessed exclusive knowledge, they intentionally concealed it from Plaintiff and the Oklahoma
 8   State Class, and/or they made misrepresentations that were rendered misleading because they
 9   were contradicted by withheld facts.
10               1889. Plaintiff and Oklahoma State Class members suffered ascertainable loss and actual
11   damages as a direct and proximate result of Defendants’ concealment, misrepresentations, and/or
12   failure to disclose material information.
13               1890. Defendants’ violations present a continuing risk to Plaintiff and the Oklahoma
14   State Class, as well as to the general public. Defendants’ unlawful acts and practices complained
15   of herein affect the public interest.
16               1891. Pursuant to Okla. Stat. Tit. 15 § 761.1, Plaintiff and the Oklahoma State Class seek
17   an order enjoining Defendants’ unfair and/or deceptive acts or practices, and awarding damages,
18   punitive damages, and any other just and proper relief available under the Oklahoma CPA.
19               VIOLATIONS OF THE OREGON UNLAWFUL TRADE PRACTICES ACT
                                 (Or. Rev. Stat. §§ 646.605, et seq.)
20

21               1892. Plaintiffs incorporate by reference each preceding paragraph as though fully set
22   forth herein.
23               1893. Plaintiffs Adam Burwell and Mathue Fasching (for the purpose of this section,
24   “Plaintiffs”) bring this action on behalf of themselves and the Oregon State Class against all
25   Defendants.
26               1894. FCA, Fiat, VM Italy, VM America, Bosch GmbH, Bosch LLC, Sergio
27   Marchionne, Plaintiffs, and the Oregon State Class members are “persons” within the meaning of
28   Or. Rev. Stat. § 646.605(4).

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 1               1895. FCA, Fiat, VM Italy, VM America, Bosch GmbH, Bosch LLC, and Sergio
 2   Marchionne are engaged in “trade” or “commerce” within the meaning of Or. Rev. Stat.
 3   § 646.605(8).
 4               1896. The Oregon Unfair Trade Practices Act (“Oregon UTPA”) prohibits “unlawful
 5   practice . . . in the course of . . . business.” Or. Rev. Stat. § Ann. 646.608(1).
 6               1897. In the course of their business, Defendants Fiat Chrysler, VM Motori, Bosch, and
 7   Marchionne, through their agents, employees, and/or subsidiaries, violated the Oregon UTPA.
 8               1898. As detailed in the common law fraud allegations: (1) Fiat Chrysler affirmatively
 9   misrepresented the environmental friendliness and emissions of the Class Vehicles through the
10   EcoDiesel badge—a material fact that was false because the Defendants developed and installed
11   emission cheating components in the Class Vehicles that caused them to pollute excessively in
12   real-world conditions; (2) Fiat Chrysler touted, through the EcoDiesel badge and uniform and
13   pervasive consumer communications, the Class Vehicles’ fuel efficiency and performance, and
14   the Defendants concealed that the fuel efficiency and performance could be achieved only
15   through emission control devices in the Class Vehicles that caused them to pollute excessively in
16   real-world conditions; and (3) the Defendants developed and installed emission cheating
17   components that caused the Class Vehicles to pollute excessively in real-world conditions, and
18   fraudulently concealed that fact from regulators and Class Members alike. See, e.g., ¶¶ 149-216;
19   337-357. In so doing, and by marketing, offering for sale, and selling the defective Class
20   Vehicles, Defendants engaged in one or more of the following unlawful practices as defined in
21   Or. Rev. Stat. § 646.608(1):
22                      A.     Causing likelihood of confusion or of misunderstanding as to the approval
23                             or certification of the Class Vehicles;
24                      B.     Representing that the Class Vehicles have approval, characteristics, uses,
25                             or benefits that they do not have;
26                      C.     Representing that the Class Vehicles are of a particular standard, quality
27                             and grade when they are not; and/or
28

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 1                      D.     Advertising the Class Vehicles with the intent not to sell or lease them as
 2                             advertised.
 3               1899. Defendants’ scheme and concealment of the true characteristics of the EcoDiesel®
 4   emission control system were material to Plaintiffs and the Oregon State Class, as Defendants
 5   intended. Had they known the truth, Plaintiffs and the Oregon State Class would not have
 6   purchased or leased the Class Vehicles, or—if the Class Vehicles’ true nature had been disclosed
 7   and mitigated, and the Vehicles rendered legal to sell—would have paid significantly less for
 8   them.
 9               1900. Plaintiffs and the Oregon State Class members had no way of discerning that
10   Defendants’ representations were false and misleading, or otherwise learning the facts that
11   Defendants had concealed or failed to disclose, because Defendants’ emission control software
12   was extremely sophisticated technology. Plaintiffs and the Oregon State Class members did not,
13   and could not, unravel Defendants’ deception on their own.
14               1901. Defendants had an ongoing duty to Plaintiffs and the Oregon State Class to refrain
15   from unfair and deceptive practices under the Oregon UTPA in the course of their business.
16   Specifically, Defendants owed Plaintiffs and the Oregon State Class members a duty to disclose
17   all the material facts concerning the EcoDiesel® emission control system because they possessed
18   exclusive knowledge, they intentionally concealed it from Plaintiffs and the Oregon State Class,
19   and/or they made misrepresentations that were rendered misleading because they were
20   contradicted by withheld facts.
21               1902. Plaintiffs and the Oregon State Class members suffered ascertainable loss and
22   actual damages as a direct and proximate result of Defendants’ concealment, misrepresentations,
23   and/or failure to disclose material information.
24               1903. Defendants’ violations present a continuing risk to Plaintiffs and the Oregon State
25   Class, as well as to the general public. Defendants’ unlawful acts and practices complained of
26   herein affect the public interest.
27

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 1               1904. Pursuant to Or. Rev. Stat. § 646.638, Plaintiffs and the Oregon State Class seek an
 2   order enjoining Defendants’ unfair and/or deceptive acts or practices, and awarding damages,
 3   punitive damages, and any other just and proper relief available under the Oregon UTPA.
 4                VIOLATION OF THE PENNSYLVANIA UNFAIR TRADE PRACTICES
                             AND CONSUMER PROTECTION LAW
 5                               (73 Pa. Stat. Ann. § 201-1, et seq.)
 6               1905. Plaintiffs incorporate by reference each preceding paragraph as though fully set
 7   forth herein.
 8               1906. Plaintiffs Kyle and Jessica Heidlebaugh (for the purpose of this section,
 9   “Plaintiffs”) bring this action on behalf of themselves and the Pennsylvania State Class against all
10   Defendants.
11               1907. FCA, Fiat, VM Italy, VM America, Bosch GmbH, Bosch LLC, Sergio
12   Marchionne, Plaintiffs, and the Pennsylvania State Class members are “persons” within the
13   meaning of 73 Pa. Stat. Ann. § 201-2.(2).
14               1908. FCA, Fiat, VM Italy, VM America, Bosch GmbH, Bosch LLC, and Sergio
15   Marchionne are engaged in “trade” or “commerce” within the meaning of 73 Pa. Stat. Ann.
16   § 201-2(3).
17               1909. The Pennsylvania Unfair Trade Practices Act (“Pennsylvania UTPA”) prohibits
18   “unfair or deceptive acts or practices in the conduct of any trade or commerce ….” 73 Pa. Stat.
19   Ann. § 201 3.
20               1910. In the course of their business, Defendants Fiat Chrysler, VM Motori, Bosch, and
21   Marchionne, through their agents, employees, and/or subsidiaries, violated the Pennsylvania
22   UTPA.
23               1911. As detailed in the common law fraud allegations: (1) Fiat Chrysler affirmatively
24   misrepresented the environmental friendliness and emissions of the Class Vehicles through the
25   EcoDiesel badge—a material fact that was false because the Defendants developed and installed
26   emission cheating components in the Class Vehicles that caused them to pollute excessively in
27   real-world conditions; (2) Fiat Chrysler touted, through the EcoDiesel badge and uniform and
28   pervasive consumer communications, the Class Vehicles’ fuel efficiency and performance, and

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 1   the Defendants concealed that the fuel efficiency and performance could be achieved only
 2   through emission control devices in the Class Vehicles that caused them to pollute excessively in
 3   real-world conditions; and (3) the Defendants developed and installed emission cheating
 4   components that caused the Class Vehicles to pollute excessively in real-world conditions, and
 5   fraudulently concealed that fact from regulators and Class Members alike. See, e.g., ¶¶ 149-216;
 6   337-357. In so doing, and by marketing, offering for sale, and selling the defective Class
 7   Vehicles, Defendants engaged in one or more of the following unfair or deceptive acts or
 8   practices in violation of 73 Pa. Stat. Ann. § 201-3:
 9                      A.     Causing likelihood of confusion or of misunderstanding as to the approval
10                             or certification of the Class Vehicles;
11                      B.     Representing that the Class Vehicles have approval, characteristics, uses,
12                             or benefits that they do not have;
13                      C.     Representing that the Class Vehicles are of a particular standard, quality
14                             and grade when they are not;
15                      D.     Advertising the Class Vehicles with the intent not to sell or lease them as
16                             advertised;
17                      E.     Engaging in other conduct which created a likelihood of confusion or of
18                             misunderstanding; and/or
19                      F.     Using or employing deception, fraud, false pretense, false promise or
20                             misrepresentation, or the concealment, suppression or omission of a
21                             material fact with intent that others rely upon such concealment,
22                             suppression or omission, in connection with the advertisement and
23                             sale/lease of the Class Vehicles, whether or not any person has in fact been
24                             misled, deceived or damaged thereby.
25               1912. Defendants’ scheme and concealment of the true characteristics of the EcoDiesel®
26   emission control system were material to Plaintiffs and the Pennsylvania State Class, as
27   Defendants intended. Had they known the truth, Plaintiffs and the Pennsylvania State Class
28   would not have purchased or leased the Class Vehicles, or—if the Class Vehicles’ true nature had

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 1   been disclosed and mitigated, and the Vehicles rendered legal to sell—would have paid
 2   significantly less for them.
 3               1913. Plaintiffs and Pennsylvania State Class members had no way of discerning that
 4   Defendants’ representations were false and misleading, or otherwise learning the facts that
 5   Defendants had concealed or failed to disclose, because Defendants’ emission control software
 6   was extremely sophisticated technology. Plaintiffs and Pennsylvania State Class members did
 7   not, and could not, unravel Defendants’ deception on their own.
 8               1914. Defendants had an ongoing duty to Plaintiffs and the Pennsylvania State Class to
 9   refrain from unfair and deceptive practices under the Pennsylvania UTPA in the course of their
10   business. Specifically, Defendants owed Plaintiffs and Pennsylvania State Class members a duty
11   to disclose all the material facts concerning the EcoDiesel® emission control system because they
12   possessed exclusive knowledge, they intentionally concealed it from Plaintiffs and the
13   Pennsylvania State Class, and/or they made misrepresentations that were rendered misleading
14   because they were contradicted by withheld facts.
15               1915. Plaintiffs and Pennsylvania State Class members suffered ascertainable loss and
16   actual damages as a direct and proximate result of Defendants’ concealment, misrepresentations,
17   and/or failure to disclose material information.
18               1916. Defendants’ violations present a continuing risk to Plaintiffs and the Pennsylvania
19   State Class, as well as to the general public. Defendants’ unlawful acts and practices complained
20   of herein affect the public interest.
21               1917. Pursuant to 73 Pa. Stat. Ann. § 201-9.2(a), Plaintiffs and the Pennsylvania State
22   Class seek an order enjoining Defendants’ unfair and/or deceptive acts or practices, and awarding
23   damages, punitive and/or treble damages, and any other just and proper relief available under the
24   Pennsylvania UTPA.
25        VIOLATION OF THE RHODE ISLAND DECEPTIVE TRADE PRACTICES ACT
                            (R.I. Gen. Laws § 6-13.1, et seq.)
26

27               1918. Plaintiffs incorporate by reference each preceding paragraph as though fully set
28   forth herein.

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 1               1919. This count is brought on behalf of the Rhode Island State Class against all
 2   Defendants.
 3               1920. FCA, Fiat, VM Italy, VM America, Bosch GmbH, Bosch LLC, Sergio
 4   Marchionne, and the Rhode Island State Class members are “persons” within the meaning of R.I.
 5   Gen. Laws § 6-13.1-1(3).
 6               1921. FCA, Fiat, VM Italy, VM America, Bosch GmbH, Bosch LLC, and Sergio
 7   Marchionne are engaged in “trade” or “commerce” within the meaning of R.I. Gen. Laws § 6-
 8   13.1-1(5).
 9               1922. The Rhode Island Deceptive Trade Practices Act (“Rhode Island DTPA”)
10   prohibits “unfair or deceptive acts or practices in the conduct of any trade or commerce.” R.I.
11   Gen. Laws § 6-13.1-2.
12               1923. In the course of their business, Defendants Fiat Chrysler, VM Motori, Bosch, and
13   Marchionne, through their agents, employees, and/or subsidiaries, violated the Rhode Island
14   DTPA.
15               1924. As detailed in the common law fraud allegations: (1) Fiat Chrysler affirmatively
16   misrepresented the environmental friendliness and emissions of the Class Vehicles through the
17   EcoDiesel badge—a material fact that was false because the Defendants developed and installed
18   emission cheating components in the Class Vehicles that caused them to pollute excessively in
19   real-world conditions; (2) Fiat Chrysler touted, through the EcoDiesel badge and uniform and
20   pervasive consumer communications, the Class Vehicles’ fuel efficiency and performance, and
21   the Defendants concealed that the fuel efficiency and performance could be achieved only
22   through emission control devices in the Class Vehicles that caused them to pollute excessively in
23   real-world conditions; and (3) the Defendants developed and installed emission cheating
24   components that caused the Class Vehicles to pollute excessively in real-world conditions, and
25   fraudulently concealed that fact from regulators and Class Members alike. See, e.g., ¶¶ 149-216;
26   337-357. In so doing, and by marketing, offering for sale, and selling the defective Class
27   Vehicles, Defendants engaged in one or more of the following unfair or deceptive acts or
28   practices as defined in R.I. Gen. Laws § 6-13.1-1(6):

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 1                      A.     Causing likelihood of confusion or of misunderstanding as to the approval
 2                             or certification of the Class Vehicles;
 3                      B.     Representing that the Class Vehicles have approval, characteristics, uses,
 4                             or benefits that they do not have;
 5                      C.     Representing that the Class Vehicles are of a particular standard, quality
 6                             and grade when they are not;
 7                      D.     Advertising the Class Vehicles with the intent not to sell or lease them as
 8                             advertised; and/or
 9                      E.     Engaging in other conduct which created a likelihood of confusion or of
10                             misunderstanding.
11               1925. Defendants’ scheme and concealment of the true characteristics of the EcoDiesel®
12   emission control system were material to the Rhode Island State Class, as Defendants intended.
13   Had they known the truth, the Rhode Island State Class would not have purchased or leased the
14   Class Vehicles, or—if the Class Vehicles’ true nature had been disclosed and mitigated, and the
15   Vehicles rendered legal to sell—would have paid significantly less for them.
16               1926. Rhode Island State Class members had no way of discerning that Defendants’
17   representations were false and misleading, or otherwise learning the facts that Defendants had
18   concealed or failed to disclose, because Defendants’ emission control software was extremely
19   sophisticated technology. Rhode Island State Class members did not, and could not, unravel
20   Defendants’ deception on their own.
21               1927. Defendants had an ongoing duty to the Rhode Island State Class to refrain from
22   unfair and deceptive practices under the Rhode Island DTPA in the course of their business.
23   Specifically, Defendants owed Rhode Island State Class members a duty to disclose all the
24   material facts concerning the EcoDiesel® emission control system because they possessed
25   exclusive knowledge, they intentionally concealed it from the Rhode Island State Class, and/or
26   they made misrepresentations that were rendered misleading because they were contradicted by
27   withheld facts.
28

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 1               1928. Rhode Island State Class members suffered ascertainable loss and actual damages
 2   as a direct and proximate result of Defendants’ concealment, misrepresentations, and/or failure to
 3   disclose material information.
 4               1929. Defendants’ violations present a continuing risk to the Rhode Island State Class, as
 5   well as to the general public. Defendants’ unlawful acts and practices complained of herein affect
 6   the public interest.
 7               1930. Pursuant to R.I. Gen. Laws § 6-13.1-5.2(a), the Rhode Island State Class seek an
 8   order enjoining Defendants’ unfair and/or deceptive acts or practices, and awarding damages,
 9   punitive damages, and any other just and proper relief available under the Rhode Island DTPA.
10                               VIOLATIONS OF THE SOUTH CAROLINA
                                    UNFAIR TRADE PRACTICES ACT
11                                   (S.C. Code Ann. § 39-5-10, et seq.)
12               1931. Plaintiffs incorporate by reference each preceding paragraph as though fully set
13   forth herein.
14               1932. Plaintiffs Michael Johnson, Ernest Melin, and Bryan Muckenfuss (for the purpose
15   of this section, “Plaintiffs”) bring this action on behalf of themselves and the South Carolina State
16   Class against all Defendants.
17               1933. FCA, Fiat, VM Italy, VM America, Bosch GmbH, Bosch LLC, Sergio
18   Marchionne, Plaintiffs, and the South Carolina State Class members are “persons” within the
19   meaning of S.C. Code § 39-5-10(a).
20               1934. FCA, Fiat, VM Italy, VM America, Bosch GmbH, Bosch LLC, and Sergio
21   Marchionne are engaged in “trade” or “commerce” within the meaning of S.C. Code § 39-5-
22   10(b).
23               1935. The South Carolina Unfair Trade Practices Act (“South Carolina UTPA”)
24   prohibits “unfair or deceptive acts or practices in the conduct of any trade or commerce.” S.C.
25   Code § 39-5-20(a).
26               1936. In the course of their business, Defendants Fiat Chrysler, VM Motori, Bosch, and
27   Marchionne, through their agents, employees, and/or subsidiaries, violated the South Carolina
28   UTPA.

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 1               1937. As detailed in the common law fraud allegations: (1) Fiat Chrysler affirmatively
 2   misrepresented the environmental friendliness and emissions of the Class Vehicles through the
 3   EcoDiesel badge—a material fact that was false because the Defendants developed and installed
 4   emission cheating components in the Class Vehicles that caused them to pollute excessively in
 5   real-world conditions; (2) Fiat Chrysler touted, through the EcoDiesel badge and uniform and
 6   pervasive consumer communications, the Class Vehicles’ fuel efficiency and performance, and
 7   the Defendants concealed that the fuel efficiency and performance could be achieved only
 8   through emission control devices in the Class Vehicles that caused them to pollute excessively in
 9   real-world conditions; and (3) the Defendants developed and installed emission cheating
10   components that caused the Class Vehicles to pollute excessively in real-world conditions, and
11   fraudulently concealed that fact from regulators and Class Members alike. See, e.g., ¶¶ 149-216;
12   337-357. In so doing, and by marketing, offering for sale, and selling the defective Class
13   Vehicles, Defendants engaged in one or more of the following unfair or deceptive acts or
14   practices in violation of S.C. Code § 39-5-20(a):
15                      A.     Causing likelihood of confusion or of misunderstanding as to the approval
16                             or certification of the Class Vehicles;
17                      B.     Representing that the Class Vehicles have approval, characteristics, uses,
18                             or benefits that they do not have;
19                      C.     Representing that the Class Vehicles are of a particular standard, quality
20                             and grade when they are not;
21                      D.     Advertising the Class Vehicles with the intent not to sell or lease them as
22                             advertised;
23                      E.     Engaging in other conduct which created a likelihood of confusion or of
24                             misunderstanding; and/or
25                      F.     Using or employing deception, fraud, false pretense, false promise or
26                             misrepresentation, or the concealment, suppression or omission of a
27                             material fact with intent that others rely upon such concealment,
28                             suppression or omission, in connection with the advertisement and

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 1                             sale/lease of the Class Vehicles, whether or not any person has in fact been
 2                             misled, deceived or damaged thereby.
 3               1938. Defendants’ scheme and concealment of the true characteristics of the EcoDiesel®
 4   emission control system were material to Plaintiffs and the South Carolina State Class, as
 5   Defendants intended. Had they known the truth, Plaintiffs and the South Carolina State Class
 6   would not have purchased or leased the Class Vehicles, or—if the Class Vehicles’ true nature had
 7   been disclosed and mitigated, and the Vehicles rendered legal to sell—would have paid
 8   significantly less for them.
 9               1939. Plaintiffs and South Carolina State Class members had no way of discerning that
10   Defendants’ representations were false and misleading, or otherwise learning the facts that
11   Defendants had concealed or failed to disclose, because Defendants’ emission control software
12   was extremely sophisticated technology. Plaintiffs and South Carolina State Class members did
13   not, and could not, unravel Defendants’ deception on their own.
14               1940. Defendants had an ongoing duty to Plaintiffs and the South Carolina State Class to
15   refrain from unfair and deceptive practices under the South Carolina UTPA in the course of their
16   business. Specifically, Defendants owed Plaintiffs and South Carolina State Class members a
17   duty to disclose all the material facts concerning the EcoDiesel® emission control system because
18   they possessed exclusive knowledge, they intentionally concealed it from Plaintiffs and the South
19   Carolina State Class, and/or they made misrepresentations that were rendered misleading because
20   they were contradicted by withheld facts.
21               1941. Plaintiffs and South Carolina State Class members suffered ascertainable loss and
22   actual damages as a direct and proximate result of Defendants’ concealment, misrepresentations,
23   and/or failure to disclose material information.
24               1942. Defendants’ violations present a continuing risk to Plaintiffs and the South
25   Carolina State Class, as well as to the general public. Defendants’ unlawful acts and practices
26   complained of herein affect the public interest.
27               1943. Pursuant to S.C. Code § 39-5-140(a), Plaintiffs and the South Carolina State Class
28   seek an order enjoining Defendants’ unfair and/or deceptive acts or practices, and awarding

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 1   damages, treble and/or punitive damages, and any other just and proper relief available under the
 2   South Carolina UTPA.
 3    VIOLATIONS OF THE SOUTH CAROLINA REGULATION OF MANUFACTURERS,
                       DISTRIBUTORS, AND DEALERS ACT
 4                        (S.C. Code Ann. § 56-15-10, et seq.)
 5               1944. Plaintiffs incorporate by reference each preceding paragraph as though fully set
 6   forth herein.
 7               1945. Plaintiffs Michael Johnson, Ernest Melin, and Bryan Muckenfuss (for the purpose
 8   of this section, “Plaintiffs”) bring this action on behalf of themselves and the South Carolina State
 9   Class against FCA, Fiat, VM Italy, and VM America.
10               1946. FCA, Fiat, VM Italy, and VM America are “manufacturer[s]” as set forth in S.C.
11   Code Ann. § 56-15-10(b), as they were engaged in the business of manufacturing or assembling
12   new and unused motor vehicles. FCA and Fiat are also “distributors” and/or “wholesalers” as set
13   forth in S.C. Code Ann. § 56-15-10(g), (p).
14               1947. The South Carolina Regulation of Manufacturers, Distributors, and Dealers Act
15   (“Manufacturers Act”) prohibits “unfair or deceptive acts or practices” as defined in S.C. Code
16   Ann. § 56-15-40. S.C. Code Ann. § 56-15-30(a). Accordingly, the Manufacturers Act prohibits
17   any manufacturer from engaging in bad faith and unconscionable actions that cause damage to the
18   parties or the public; it also prohibits manufacturers from using false or misleading advertising in
19   connection with their business. S.C. Code Ann. § 56-15-40(1), (3)(d).
20               1948. FCA, Fiat, VM Italy, and VM America committed unfair or deceptive acts or
21   practices that violated the Manufacturers Act.
22               1949. As detailed in the common law fraud allegations: (1) Fiat Chrysler affirmatively
23   misrepresented the environmental friendliness and emissions of the Class Vehicles through the
24   EcoDiesel badge—a material fact that was false because the Defendants developed and installed
25   emission cheating components in the Class Vehicles that caused them to pollute excessively in
26   real-world conditions; (2) Fiat Chrysler touted, through the EcoDiesel badge and uniform and
27   pervasive consumer communications, the Class Vehicles’ fuel efficiency and performance, and
28   the Defendants concealed that the fuel efficiency and performance could be achieved only

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 1   through emission control devices in the Class Vehicles that caused them to pollute excessively in
 2   real-world conditions; and (3) the Defendants developed and installed emission cheating
 3   components that caused the Class Vehicles to pollute excessively in real-world conditions, and
 4   fraudulently concealed that fact from regulators and Class Members alike. See, e.g., ¶¶ 149-216;
 5   337-357.
 6               1950. In so doing, Defendants committed bad faith and unconscionable actions including
 7   but not limited to: misrepresenting, concealing, and/or failing to disclose the true emissions and
 8   performance characteristics of the Class Vehicles, and failing to disclose the Class Vehicles’
 9   defective emissions control systems.
10               1951. Defendants also violated the Manufacturers’ Act by using false and misleading
11   advertisements in connection with the sale and lease of Class Vehicles. As alleged above,
12   Defendants made numerous material statements about the safety, cleanliness, efficiency and
13   reliability of the Class Vehicles that were either false or misleading. Each of these statements—
14   and the failure to disclose the truth—contributed to the deceptive context of Defendants’ unlawful
15   advertising and representations as a whole. Had they known the truth, Plaintiffs and the South
16   Carolina State Class would not have purchased or leased the Class Vehicles, or—if the Class
17   Vehicles’ true nature had been disclosed and mitigated, and the Vehicles rendered legal to sell—
18   would have paid significantly less for them.
19               1952. Pursuant to S.C. Code Ann. § 56-15-110(2), Plaintiff brings this action on behalf
20   of themselves and the South Carolina State Class, as the action is one of common or general
21   interest to many persons and the parties are too numerous to bring them all before the court.
22               1953. Plaintiffs and South Carolina State Class members suffered ascertainable loss and
23   actual damages as a direct and proximate result of Defendants’ concealment, misrepresentations,
24   and/or failure to disclose material information.
25               1954. Plaintiffs and the South Carolina State Class are entitled to double their actual
26   damages, the cost of the suit, attorney’s fees pursuant to S.C. Code Ann. § 56-15-110. Plaintiff
27   also seeks injunctive relief under S.C. Code Ann. § 56-15-110. Plaintiff also seeks treble
28   damages because the Defendants acted maliciously.

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 1                       VIOLATION OF THE SOUTH DAKOTA
             DECEPTIVE TRADE PRACTICES AND CONSUMER PROTECTION LAW
 2                            (S.D. Codified Laws § 37-24-6)
 3               1955. Plaintiffs incorporate by reference each preceding paragraph as though fully set

 4   forth herein.

 5               1956. Plaintiffs Elmer and Barbara Brinkman (for the purpose of this section,

 6   “Plaintiffs”) bring this action on behalf of themselves and the South Dakota State Class against all

 7   Defendants.

 8               1957. FCA, Fiat, VM Italy, VM America, Bosch GmbH, Bosch LLC, Sergio

 9   Marchionne, Plaintiffs, and the South Dakota State Class members are “persons” within the

10   meaning of S.D. Codified Laws § 37-24-1(8).

11               1958. FCA, Fiat, VM Italy, VM America, Bosch GmbH, Bosch LLC, and Sergio

12   Marchionne are engaged in “trade” or “commerce” within the meaning of S.D. Codified Laws

13   § 37-24-1(13).

14               1959. The South Dakota Deceptive Trade Practices and Consumer Protection (“South

15   Dakota CPA”) prohibits “deceptive acts or practices, which are defined to include “[k]nowingly

16   act, use, or employ any deceptive act or practice, fraud, false pretense, false promises, or

17   misrepresentation or to conceal, suppress, or omit any material fact in connection with the sale or

18   advertisement of any merchandise, regardless of whether any person has in fact been misled,

19   deceived, or damaged thereby.” S.D. Codified Laws § 37-24-6(1).

20               1960. In the course of their business, Defendants Fiat Chrysler, VM Motori, Bosch, and

21   Marchionne, through their agents, employees, and/or subsidiaries, violated the South Dakota

22   CPA.

23               1961. As detailed in the common law fraud allegations: (1) Fiat Chrysler affirmatively

24   misrepresented the environmental friendliness and emissions of the Class Vehicles through the

25   EcoDiesel badge—a material fact that was false because the Defendants developed and installed

26   emission cheating components in the Class Vehicles that caused them to pollute excessively in

27   real-world conditions; (2) Fiat Chrysler touted, through the EcoDiesel badge and uniform and

28   pervasive consumer communications, the Class Vehicles’ fuel efficiency and performance, and

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 1   the Defendants concealed that the fuel efficiency and performance could be achieved only
 2   through emission control devices in the Class Vehicles that caused them to pollute excessively in
 3   real-world conditions; and (3) the Defendants developed and installed emission cheating
 4   components that caused the Class Vehicles to pollute excessively in real-world conditions, and
 5   fraudulently concealed that fact from regulators and Class Members alike. See, e.g., ¶¶ 149-216;
 6   337-357. In so doing, and by marketing, offering for sale, and selling the defective Class
 7   Vehicles, Defendants used or employed deception, fraud, false pretense, false promise or
 8   misrepresentation, or the concealment, suppression or omission of a material fact with intent that
 9   others rely upon such concealment, suppression or omission, in connection with the
10   advertisement and sale/lease of the Class Vehicles.
11               1962. Defendants’ scheme and concealment of the true characteristics of the EcoDiesel®
12   emission control system were material to Plaintiffs and the South Dakota State Class, as
13   Defendants intended. Had they known the truth, Plaintiffs and the South Dakota State Class
14   would not have purchased or leased the Class Vehicles, or—if the Class Vehicles’ true nature had
15   been disclosed and mitigated, and the Vehicles rendered legal to sell—would have paid
16   significantly less for them.
17               1963. Plaintiffs and South Dakota State Class members had no way of discerning that
18   Defendants’ representations were false and misleading, or otherwise learning the facts that
19   Defendants had concealed or failed to disclose, because Defendants’ emission control software
20   was extremely sophisticated technology. Plaintiffs and South Dakota State Class members did
21   not, and could not, unravel Defendants’ deception on their own.
22               1964. Defendants had an ongoing duty to Plaintiffs and the South Dakota State Class to
23   refrain from unfair and deceptive practices under the South Dakota CPA in the course of their
24   business. Specifically, Defendants owed Plaintiffs and South Dakota State Class members a duty
25   to disclose all the material facts concerning the EcoDiesel® emission control system because they
26   possessed exclusive knowledge, they intentionally concealed it from Plaintiffs and the South
27   Dakota State Class, and/or they made misrepresentations that were rendered misleading because
28   they were contradicted by withheld facts.

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 1               1965. Plaintiffs and South Dakota State Class members suffered ascertainable loss and
 2   actual damages as a direct and proximate result of Defendants’ concealment, misrepresentations,
 3   and/or failure to disclose material information.
 4               1966. Defendants’ violations present a continuing risk to Plaintiffs and the South Dakota
 5   State Class, as well as to the general public. Defendants’ unlawful acts and practices complained
 6   of herein affect the public interest.
 7               1967. Pursuant to S.D. Codified Laws § 37-24-31, Plaintiffs and the South Dakota State
 8   Class seek an order enjoining Defendants’ unfair and/or deceptive acts or practices, and awarding
 9   damages and any other just and proper relief available under the South Dakota CPA.
10               VIOLATIONS OF TENNESSEE CONSUMER PROTECTION ACT OF 1977
                                (Tenn. Code Ann. § 47-18-101, et seq.)
11

12               1968. Plaintiffs incorporate by reference each preceding paragraph as though fully set
13   forth herein.
14               1969. Plaintiffs Anthony Edwards and Jeffrey Griggs (for the purpose of this section,
15   “Plaintiffs”) bring this action on behalf of themselves and the Tennessee State Class against all
16   Defendants.
17               1970. Plaintiffs and the Tennessee State Class members are “natural persons” and
18   “consumers” within the meaning of Tenn. Code § 47-18-103(2).
19               1971. FCA, Fiat, VM Italy, VM America, Bosch GmbH, Bosch LLC, and Sergio
20   Marchionne are engaged in “trade” or “commerce” or “consumer transactions” within the
21   meaning Tenn. Code § 47-18-103(9).
22               1972. The Tennessee Consumer Protection Act (“Tennessee CPA”) prohibits “unfair or
23   deceptive acts or practices affecting the conduct of any trade or commerce.” Tenn. Code § 47-18-
24   104.
25               1973. In the course of their business, Defendants Fiat Chrysler, VM Motori, Bosch, and
26   Marchionne, through their agents, employees, and/or subsidiaries, violated the Tennessee CPA.
27               1974. As detailed in the common law fraud allegations: (1) Fiat Chrysler affirmatively
28   misrepresented the environmental friendliness and emissions of the Class Vehicles through the

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 1   EcoDiesel badge—a material fact that was false because the Defendants developed and installed
 2   emission cheating components in the Class Vehicles that caused them to pollute excessively in
 3   real-world conditions; (2) Fiat Chrysler touted, through the EcoDiesel badge and uniform and
 4   pervasive consumer communications, the Class Vehicles’ fuel efficiency and performance, and
 5   the Defendants concealed that the fuel efficiency and performance could be achieved only
 6   through emission control devices in the Class Vehicles that caused them to pollute excessively in
 7   real-world conditions; and (3) the Defendants developed and installed emission cheating
 8   components that caused the Class Vehicles to pollute excessively in real-world conditions, and
 9   fraudulently concealed that fact from regulators and Class Members alike. See, e.g., ¶¶ 149-216;
10   337-357. In so doing, and by marketing, offering for sale, and selling the defective Class
11   Vehicles, Defendants engaged in one or more of the following unfair or deceptive acts or
12   practices as defined in Tenn. Code § 47-18-104:
13                      A.     Causing likelihood of confusion or of misunderstanding as to the approval
14                             or certification of the Class Vehicles;
15                      B.     Representing that the Class Vehicles have approval, characteristics, uses,
16                             or benefits that they do not have;
17                      C.     Representing that the Class Vehicles are of a particular standard, quality
18                             and grade when they are not;
19                      D.     Advertising the Class Vehicles with the intent not to sell or lease them as
20                             advertised; and/or
21                      E.     Engaging in other conduct which created a likelihood of confusion or of
22                             misunderstanding.
23               1975. Defendants’ scheme and concealment of the true characteristics of the EcoDiesel®
24   emission control system were material to Plaintiffs and the Tennessee State Class, as Defendants
25   intended. Had they known the truth, Plaintiffs and the Tennessee State Class would not have
26   purchased or leased the Class Vehicles, or—if the Class Vehicles’ true nature had been disclosed
27   and mitigated, and the Vehicles rendered legal to sell—would have paid significantly less for
28   them.

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 1               1976. Plaintiffs and Tennessee State Class members had no way of discerning that
 2   Defendants’ representations were false and misleading, or otherwise learning the facts that
 3   Defendants had concealed or failed to disclose, because Defendants’ emission control software
 4   was extremely sophisticated technology. Plaintiffs and Tennessee State Class members did not,
 5   and could not, unravel Defendants’ deception on their own.
 6               1977. Defendants had an ongoing duty to Plaintiffs and the Tennessee State Class to
 7   refrain from unfair and deceptive practices under the Tennessee CPA in the course of their
 8   business. Specifically, Defendants owed Plaintiffs and Tennessee State Class members a duty to
 9   disclose all the material facts concerning the EcoDiesel® emission control system because they
10   possessed exclusive knowledge, they intentionally concealed it from Plaintiffs and the Tennessee
11   State Class, and/or they made misrepresentations that were rendered misleading because they
12   were contradicted by withheld facts.
13               1978. Plaintiffs and Tennessee State Class members suffered ascertainable loss and
14   actual damages as a direct and proximate result of Defendants’ concealment, misrepresentations,
15   and/or failure to disclose material information.
16               1979. Defendants’ violations present a continuing risk to Plaintiffs and the Tennessee
17   State Class, as well as to the general public. Defendants’ unlawful acts and practices complained
18   of herein affect the public interest.
19               1980. Pursuant to Tenn. Code §§ 47-18-109, 47-18-109, and 47-18-109(a)(3), Plaintiffs
20   and the Tennessee State Class seek an order enjoining Defendants’ unfair and/or deceptive acts or
21   practices, and awarding damages, treble or punitive damages, and any other just and proper relief
22   available under the Tennessee CPA.
23                       VIOLATIONS OF THE DECEPTIVE TRADE PRACTICES
                                ACT – CONSUMER PROTECTION ACT
24                          (Tex. Business & Commercial Code §§ 17.41, et seq.)
25               1981. Plaintiffs incorporate by reference each preceding paragraph as though fully set
26   forth herein.
27

28

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 1               1982. Plaintiffs Anthony Alley, WEB Farms, Inc., Jamie Broom, Victor Feldman, and
 2   Charles Hissey (for the purpose of this section, “Plaintiffs”) bring this action on behalf of
 3   themselves and the Texas State Class against all Defendants.
 4               1983. Plaintiffs and the Texas State Class are individuals, partnerships, or corporations
 5   with assets of less than $25 million (or are controlled by corporations or entities with less than
 6   $25 million in assets), see Tex. Bus. & Com. Code § 17.41, and are therefore “consumers”
 7   pursuant to Tex. Bus. & Com. Code § 17.45(4).
 8               1984. FCA, Fiat, VM Italy, VM America, Bosch GmbH, Bosch LLC, and Sergio
 9   Marchionne are “person[s]” within the meaning of Tex. Bus. & Com. Code § 17.45(3).
10               1985. FCA, Fiat, VM Italy, VM America, Bosch GmbH, Bosch LLC, and Sergio
11   Marchionne are engaged in “trade” or “commerce” or “consumer transactions” within the
12   meaning Tex. Bus. & Com. Code § 17.46(a).
13               1986. The Texas Deceptive Trade Practices – Consumer Protection Act (“Texas DTPA”)
14   prohibits “false, misleading, or deceptive acts or practices in the conduct of any trade or
15   commerce,” Tex. Bus. & Com. Code § 17.46(a), and an “unconscionable action or course of
16   action,” which means “an act or practice which, to a consumer’s detriment, takes advantage of the
17   lack of knowledge, ability, experience, or capacity of the consumer to a grossly unfair degree.”
18   Tex. Bus. & Com. Code §§ 17.45(5) and 17.50(a)(3).
19               1987. In the course of their business, Defendants Fiat Chrysler, VM Motori, Bosch, and
20   Marchionne, through their agents, employees, and/or subsidiaries, violated the Texas DTPA.
21               1988. As detailed in the common law fraud allegations: (1) Fiat Chrysler affirmatively
22   misrepresented the environmental friendliness and emissions of the Class Vehicles through the
23   EcoDiesel badge—a material fact that was false because the Defendants developed and installed
24   emission cheating components in the Class Vehicles that caused them to pollute excessively in
25   real-world conditions; (2) Fiat Chrysler touted, through the EcoDiesel badge and uniform and
26   pervasive consumer communications, the Class Vehicles’ fuel efficiency and performance, and
27   the Defendants concealed that the fuel efficiency and performance could be achieved only
28   through emission control devices in the Class Vehicles that caused them to pollute excessively in

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 1   real-world conditions; and (3) the Defendants developed and installed emission cheating
 2   components that caused the Class Vehicles to pollute excessively in real-world conditions, and
 3   fraudulently concealed that fact from regulators and Class Members alike. See, e.g., ¶¶ 149-216;
 4   337-357. In so doing, and by marketing, offering for sale, and selling the defective Class
 5   Vehicles, Defendants engaged in one or more of the following unfair or deceptive acts or
 6   practices as defined in Tex. Bus. & Com. Code § 17.46(a):
 7                      A.     Causing likelihood of confusion or of misunderstanding as to the approval
 8                             or certification of the Class Vehicles;
 9                      B.     Representing that the Class Vehicles have approval, characteristics, uses,
10                             or benefits that they do not have;
11                      C.     Representing that the Class Vehicles are of a particular standard, quality
12                             and grade when they are not; and/or
13                      D.     Advertising the Class Vehicles with the intent not to sell or lease them as
14                             advertised.
15               1989. Defendants’ scheme and concealment of the true characteristics of the EcoDiesel®
16   emission control system were material to Plaintiffs and the Texas State Class, as Defendants
17   intended. Had they known the truth, Plaintiffs and the Texas State Class would not have
18   purchased or leased the Class Vehicles, or—if the Class Vehicles’ true nature had been disclosed
19   and mitigated, and the Vehicles rendered legal to sell—would have paid significantly less for
20   them.
21               1990. Plaintiffs and Texas State Class members had no way of discerning that
22   Defendants’ representations were false and misleading, or otherwise learning the facts that
23   Defendants had concealed or failed to disclose, because Defendants’ emission control software
24   was extremely sophisticated technology. Plaintiffs and Texas State Class members did not, and
25   could not, unravel Defendants’ deception on their own.
26               1991. Defendants had an ongoing duty to Plaintiffs and the Texas State Class to refrain
27   from unfair and deceptive practices under the Texas DTPA in the course of their business.
28   Specifically, Defendants owed Plaintiffs and Texas State Class members a duty to disclose all the

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 1   material facts concerning the EcoDiesel® emission control system because they possessed
 2   exclusive knowledge, they intentionally concealed it from Plaintiffs and the Texas State Class,
 3   and/or they made misrepresentations that were rendered misleading because they were
 4   contradicted by withheld facts.
 5               1992. Plaintiffs and Texas State Class members suffered ascertainable loss and actual
 6   damages as a direct and proximate result of Defendants’ concealment, misrepresentations, and/or
 7   failure to disclose material information.
 8               1993. Defendants’ violations present a continuing risk to Plaintiffs and the Texas State
 9   Class, as well as to the general public. Defendants’ unlawful acts and practices complained of
10   herein affect the public interest.
11               1994. Pursuant to Tex. Bus. & Com. Code §§ 17.50 and 17.50(b)(1), Plaintiffs and the
12   Texas State Class seek an order enjoining Defendants’ unfair and/or deceptive acts or practices,
13   and awarding damages, punitive damages, and any other just and proper relief available under the
14   Texas DTPA.
15               1995. On November 28, 2017, a notice letter was sent to FCA US LLC complying with
16   Tex. Bus. & Com. Code § 17.505(a). A second notice letter complying with Tex. Bus. & Com.
17   Code § 17.505(a) was sent on July 17, 2017 to Bosch LLC, Bosch GmbH. Plaintiffs sent another
18   notice letter pursuant to Tex. Bus. & Com. Code § 17.505(a) to all Defendants on July 19, 2017.
19   Additionally, all Defendants were provided notice of the issues raised in this count and this
20   Complaint by the governmental investigations, the numerous complaints filed against them, and
21   the many individual notice letters sent by Plaintiffs within a reasonable amount of time after the
22   allegations of Class Vehicle defects became public. Because Defendants failed to remedy their
23   unlawful conduct within the requisite time period, Plaintiffs seek all damages and relief to which
24   Plaintiffs and the Texas State Class are entitled.
25                     VIOLATION OF UTAH CONSUMER SALES PRACTICES ACT
                                  (Utah Code Ann. § 13-11-1, et seq.)
26

27               1996. Plaintiffs incorporate by reference each preceding paragraph as though fully set
28   forth herein.

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 1               1997. Plaintiff John Wilson (for the purpose of this section, “Plaintiff”) brings this action
 2   on behalf of himself and the Utah State Class against Fiat and FCA.
 3               1998. FCA and Fiat are “supplier[s]” within the meaning of Utah Code § 13-11-3(6).
 4               1999. Plaintiff and the Utah State Class members are “persons” under Utah Code § 13-
 5   11-3(5).
 6               2000. The sales and leases of the Class Vehicles to the Plaintiff and Utah State Class
 7   members were “consumer transactions” within the meaning of Utah Code § 13-11-3(2).
 8               2001. The Utah Consumer Sales Practices Act (“Utah CSPA”) makes unlawful any
 9   “deceptive act or practice by a supplier in connection with a consumer transaction.” Utah Code
10   § 13-11-4. “An unconscionable act or practice by a supplier in connection with a consumer
11   transaction” also violates the Utah CSPA. Utah Code § 13-11-5.
12               2002. In connection with a consumer transaction, Fiat and FCA, through their agents,
13   employees, and/or subsidiaries, violated the Utah CSPA.
14               2003. As detailed in the common law fraud allegations: (1) Fiat Chrysler affirmatively
15   misrepresented the environmental friendliness and emissions of the Class Vehicles through the
16   EcoDiesel badge—a material fact that was false because the Defendants developed and installed
17   emission cheating components in the Class Vehicles that caused them to pollute excessively in
18   real-world conditions; (2) Fiat Chrysler touted, through the EcoDiesel badge and uniform and
19   pervasive consumer communications, the Class Vehicles’ fuel efficiency and performance, and
20   the Defendants concealed that the fuel efficiency and performance could be achieved only
21   through emission control devices in the Class Vehicles that caused them to pollute excessively in
22   real-world conditions; and (3) the Defendants developed and installed emission cheating
23   components that caused the Class Vehicles to pollute excessively in real-world conditions, and
24   fraudulently concealed that fact from regulators and Class Members alike. See, e.g., ¶¶ 149-216;
25   337-357. In so doing, Fiat and FCA engaged in one or more of the following unfair or deceptive
26   acts or practices as defined in Utah Code § 13-11-4:
27                      A.      Indicating that the Class Vehicles have approval, characteristics, uses, or
28                              benefits that they do not have;

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 1                      B.      Indicating that the Class Vehicles are of a particular standard, quality and
 2                              grade when they are not; and/or
 3                      C.      Indicating that the Class Vehicles were supplied in accordance with
 4                              Defendants’ prior representations, although they were not as represented.
 5               2004. Plaintiff and Utah State Class members suffered ascertainable loss and actual
 6   damages as a direct and proximate result of Defendants’ concealment, misrepresentations, and/or
 7   failure to disclose material information.
 8               2005. Defendants’ violations present a continuing risk to Plaintiff and the Utah State
 9   Class, as well as to the general public. Defendants’ unlawful acts and practices complained of
10   herein affect the public interest.
11               2006. Plaintiff and the Utah State Class seek an order enjoining Defendants’ unfair
12   and/or deceptive acts or practices, and awarding damages and any other just and proper relief
13   available under the Utah CSPA.
14                        VIOLATION OF UTAH TRUTH IN ADVERTISING LAW
                                  (Utah Code Ann. § 13-11a-1, et seq.)
15

16               2007. Plaintiffs incorporate by reference each preceding paragraph as though fully set
17   forth herein.
18               2008. Plaintiff John Wilson (for the purpose of this section, “Plaintiff”) brings this action
19   on behalf of himself and the Utah State Class against all Defendants.
20               2009. Plaintiff, the Utah State Class, FCA, Fiat, VM Italy, VM America, Bosch GmbH,
21   Bosch LLC, and Sergio Marchionne are “person[s]” within the meaning of Utah Code § 13-11a-
22   1(7).
23               2010. Utah’s Truth In Advertising law makes unlawful any deceptive practice
24   undertaken in the course of a person’s business. Utah Code § 13-11a-3.
25               2011. In the course of their business, FCA, Fiat, VM Italy, VM America, Bosch GmbH,
26   Bosch LLC, and Sergio Marchionne, through their agents, employees, and/or subsidiaries,
27   violated Utah Truth In Advertising Law.
28

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 1               2012. As detailed in the common law fraud allegations: (1) Fiat Chrysler affirmatively
 2   misrepresented the environmental friendliness and emissions of the Class Vehicles through the
 3   EcoDiesel badge—a material fact that was false because the Defendants developed and installed
 4   emission cheating components in the Class Vehicles that caused them to pollute excessively in
 5   real-world conditions; (2) Fiat Chrysler touted, through the EcoDiesel badge and uniform and
 6   pervasive consumer communications, the Class Vehicles’ fuel efficiency and performance, and
 7   the Defendants concealed that the fuel efficiency and performance could be achieved only
 8   through emission control devices in the Class Vehicles that caused them to pollute excessively in
 9   real-world conditions; and (3) the Defendants developed and installed emission cheating
10   components that caused the Class Vehicles to pollute excessively in real-world conditions, and
11   fraudulently concealed that fact from regulators and Class Members alike. See, e.g., ¶¶ 149-216;
12   337-357. In so doing, and by marketing, offering for sale, and selling the defective Class
13   Vehicles, Defendants engaged in one or more of the following unfair or deceptive acts or
14   practices as defined in Utah Code § 13-11a-3:
15                      A.     Causing likelihood of confusion or of misunderstanding as to the approval
16                             or certification of the Class Vehicles;
17                      B.     Representing that the Class Vehicles have approval, characteristics, uses,
18                             or benefits that they do not have;
19                      C.     Representing that the Class Vehicles are of a particular standard, quality
20                             and grade when they are not;
21                      D.     Advertising the Class Vehicles with the intent not to sell or lease them as
22                             advertised; and/or
23                      E.     Engaging in other conduct which created a likelihood of confusion or of
24                             misunderstanding about the true characteristics of the Class Vehicles.
25               2013. Defendants’ scheme and concealment of the true characteristics of the EcoDiesel®
26   emission control system were material to Plaintiff and the Utah State Class, as Defendants
27   intended. Had they known the truth, Plaintiff and the Utah State Class would not have purchased
28

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 1   or leased the Class Vehicles, or—if the Class Vehicles’ true nature had been disclosed and
 2   mitigated, and the Vehicles rendered legal to sell—would have paid significantly less for them.
 3               2014. Plaintiff and Utah State Class members had no way of discerning that Defendants’
 4   representations were false and misleading, or otherwise learning the facts that Defendants had
 5   concealed or failed to disclose, because Defendants’ emission control software was extremely
 6   sophisticated technology. Plaintiff and Utah State Class members did not, and could not, unravel
 7   Defendants’ deception on their own.
 8               2015. Defendants had an ongoing duty to Plaintiff and the Utah State Class to refrain
 9   from unfair and deceptive practices in the course of their business. Specifically, Defendants
10   owed Plaintiff and Utah State Class members a duty to disclose all the material facts concerning
11   the EcoDiesel® emission control system because they possessed exclusive knowledge, they
12   intentionally concealed it from Plaintiff and the Utah State Class, and/or they made
13   misrepresentations that were rendered misleading because they were contradicted by withheld
14   facts.
15               2016. Plaintiff and Utah State Class members suffered ascertainable loss and actual
16   damages as a direct and proximate result of Defendants’ concealment, misrepresentations, and/or
17   failure to disclose material information.
18               2017. Defendants’ violations present a continuing risk to Plaintiff and the Utah State
19   Class, as well as to the general public. Defendants’ unlawful acts and practices complained of
20   herein affect the public interest.
21               2018. Plaintiff and the Utah State Class seek an order enjoining Defendants’ unfair
22   and/or deceptive acts or practices pursuant to Utah Code Ann. § 13-11a-4, and awarding
23   damages, punitive damages, and any other just and proper relief available under the Utah Truth In
24   Advertising law.
25                     VIOLATION OF VERMONT CONSUMER PROTECTION ACT
                                  (Vt. Stat. Ann. Tit. 9, § 2451 et seq.)
26

27               2019. Plaintiffs incorporate by reference each preceding paragraph as though fully set
28   forth herein.

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 1               2020. This Count is brought on behalf of the Vermont State class against all Defendants.
 2               2021. FCA, Fiat, VM Italy, VM America, Bosch GmbH, Bosch LLC, and Sergio
 3   Marchionne are “persons” within the meaning of Vt. Stat. Tit. 9, § 2451a(a). The Vermont State
 4   Class members are “consumers” within the meaning of Vt. Stat. Tit. 9, § 2451a(a).
 5               2022. FCA, Fiat, VM Italy, VM America, Bosch GmbH, Bosch LLC, and Sergio
 6   Marchionne are engaged in “commerce” within the meaning of Vt. Stat. Tit. 9, § 2453(a).
 7               2023. The Vermont Consumer Protection Act (“Vermont CPA”) prohibits “[u]nfair
 8   methods of competition in commerce and unfair or deceptive acts or practices in commerce….”
 9   Vt. Stat. Tit. 9, § 2453(a).
10               2024. In the course of their business, Defendants Fiat Chrysler, VM Motori, Bosch, and
11   Marchionne, through their agents, employees, and/or subsidiaries, violated the Vermont CPA.
12               2025. As detailed in the common law fraud allegations: (1) Fiat Chrysler affirmatively
13   misrepresented the environmental friendliness and emissions of the Class Vehicles through the
14   EcoDiesel badge—a material fact that was false because the Defendants developed and installed
15   emission cheating components in the Class Vehicles that caused them to pollute excessively in
16   real-world conditions; (2) Fiat Chrysler touted, through the EcoDiesel badge and uniform and
17   pervasive consumer communications, the Class Vehicles’ fuel efficiency and performance, and
18   the Defendants concealed that the fuel efficiency and performance could be achieved only
19   through emission control devices in the Class Vehicles that caused them to pollute excessively in
20   real-world conditions; and (3) the Defendants developed and installed emission cheating
21   components that caused the Class Vehicles to pollute excessively in real-world conditions, and
22   fraudulently concealed that fact from regulators and Class Members alike. See, e.g., ¶¶ 149-216;
23   337-357. In so doing, and by marketing, offering for sale, and selling the defective Class
24   Vehicles, Defendants engaged in one or more of the following unfair or deceptive acts or
25   practices in violation of Vt. Stat. Tit. 9, § 2453(a):
26                      A.     Causing likelihood of confusion or of misunderstanding as to the approval
27                             or certification of the Class Vehicles;
28

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 1                      B.     Representing that the Class Vehicles have approval, characteristics, uses,
 2                             or benefits that they do not have;
 3                      C.     Representing that the Class Vehicles are of a particular standard, quality
 4                             and grade when they are not;
 5                      D.     Advertising the Class Vehicles with the intent not to sell or lease them as
 6                             advertised;
 7                      E.     Engaging in other conduct which created a likelihood of confusion or of
 8                             misunderstanding; and/or
 9                      F.     Using or employing deception, fraud, false pretense, false promise or
10                             misrepresentation, or the concealment, suppression or omission of a
11                             material fact with intent that others rely upon such concealment,
12                             suppression or omission, in connection with the advertisement and
13                             sale/lease of the Class Vehicles, whether or not any person has in fact been
14                             misled, deceived or damaged thereby.
15               2026. Defendants’ scheme and concealment of the true characteristics of the EcoDiesel®
16   emission control system were material to the Vermont State Class, as Defendants intended. Had
17   they known the truth, the Vermont State Class would not have purchased or leased the Class
18   Vehicles, or—if the Class Vehicles’ true nature had been disclosed and mitigated, and the
19   Vehicles rendered legal to sell—would have paid significantly less for them.
20               2027. Vermont State Class members had no way of discerning that Defendants’
21   representations were false and misleading, or otherwise learning the facts that Defendants had
22   concealed or failed to disclose, because Defendants’ emission control software was extremely
23   sophisticated technology. Vermont State Class members did not, and could not, unravel
24   Defendants’ deception on their own.
25               2028. Defendants had an ongoing duty to the Vermont State Class to refrain from unfair
26   and deceptive practices under the Vermont CPA in the course of their business. Specifically,
27   Defendants owed Vermont State Class members a duty to disclose all the material facts
28   concerning the EcoDiesel® emission control system because they possessed exclusive

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 1   knowledge, they intentionally concealed it from the Vermont State Class, and/or they made
 2   misrepresentations that were rendered misleading because they were contradicted by withheld
 3   facts.
 4               2029. Vermont State Class members suffered ascertainable loss and actual damages as a
 5   direct and proximate result of Defendants’ concealment, misrepresentations, and/or failure to
 6   disclose material information.
 7               2030. Defendants’ violations present a continuing risk to the Vermont State Class, as
 8   well as to the general public. Defendants’ unlawful acts and practices complained of herein affect
 9   the public interest.
10               2031. Pursuant to Vt. Stat. Tit. 9, § 2461(b), the Vermont State Class seek an order
11   enjoining Defendants’ unfair and/or deceptive acts or practices, and awarding damages,
12   exemplary damages, and any other just and proper relief available under the Vermont CPA.
13                  VIOLATIONS OF THE VIRGINIA CONSUMER PROTECTION ACT
                                 (Va. Code Ann. §§ 59.1-196, et seq.)
14

15               2032. Plaintiffs incorporate by reference each preceding paragraph as though fully set
16   forth herein.
17               2033. Plaintiffs James Boykin and Brian Hiner (for the purpose of this section,
18   “Plaintiffs”) bring this action on behalf of themselves and the Virginia State Class against all
19   Defendants.
20               2034. FCA, Fiat, VM Italy, VM America, Bosch GmbH, Bosch LLC, Sergio
21   Marchionne, Plaintiffs, and the Virginia State Class members are “persons” within the meaning of
22   Va. Code § 59.1-198.
23               2035. FCA, Fiat, VM Italy, VM America, Bosch GmbH, Bosch LLC, and Marchionne
24   are “supplier[s]” within the meaning of Va. Code § 59.1-198.
25               2036. The Virginia Consumer Protection Act (“Virginia CPA”) makes unlawful
26   “fraudulent acts or practices.” Va. Code § 59.1-200(A).
27               2037. In the course of their business, Defendants Fiat Chrysler, VM Motori, Bosch, and
28   Marchionne, through their agents, employees, and/or subsidiaries, violated the Virginia CPA.

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 1               2038. As detailed in the common law fraud allegations: (1) Fiat Chrysler affirmatively
 2   misrepresented the environmental friendliness and emissions of the Class Vehicles through the
 3   EcoDiesel badge—a material fact that was false because the Defendants developed and installed
 4   emission cheating components in the Class Vehicles that caused them to pollute excessively in
 5   real-world conditions; (2) Fiat Chrysler touted, through the EcoDiesel badge and uniform and
 6   pervasive consumer communications, the Class Vehicles’ fuel efficiency and performance, and
 7   the Defendants concealed that the fuel efficiency and performance could be achieved only
 8   through emission control devices in the Class Vehicles that caused them to pollute excessively in
 9   real-world conditions; and (3) the Defendants developed and installed emission cheating
10   components that caused the Class Vehicles to pollute excessively in real-world conditions, and
11   fraudulently concealed that fact from regulators and Class Members alike. See, e.g., ¶¶ 149-216;
12   337-357. In so doing, and by marketing, offering for sale, and selling the defective Class
13   Vehicles, Defendants engaged in one or more of the following unfair or deceptive acts or
14   practices as defined in Va. Code § 59.1-200(A):
15                      A.     Representing that the Class Vehicles have approval, characteristics, uses,
16                             or benefits that they do not have;
17                      B.     Representing that the Class Vehicles are of a particular standard, quality
18                             and grade when they are not; and/or
19                      C.     Advertising the Class Vehicles with the intent not to sell or lease them as
20                             advertised.
21               2039. Defendants’ scheme and concealment of the true characteristics of the EcoDiesel®
22   emission control system were material to Plaintiffs and the Virginia State Class, as Defendants
23   intended. Had they known the truth, Plaintiffs and the Virginia State Class would not have
24   purchased or leased the Class Vehicles, or—if the Class Vehicles’ true nature had been disclosed
25   and mitigated, and the Vehicles rendered legal to sell—would have paid significantly less for
26   them.
27               2040. Plaintiffs and Virginia State Class members had no way of discerning that
28   Defendants’ representations were false and misleading, or otherwise learning the facts that

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 1   Defendants had concealed or failed to disclose, because Defendants’ emission control software
 2   was extremely sophisticated technology. Plaintiffs and Virginia State Class members did not, and
 3   could not, unravel Defendants’ deception on their own.
 4               2041. Defendants had an ongoing duty to Plaintiffs and the Virginia State Class to refrain
 5   from unfair and deceptive practices under the Virginia CPA in the course of their business.
 6   Specifically, Defendants owed Plaintiffs and Virginia State Class members a duty to disclose all
 7   the material facts concerning the EcoDiesel® emission control system because they possessed
 8   exclusive knowledge, they intentionally concealed it from Plaintiffs and the Virginia State Class,
 9   and/or they made misrepresentations that were rendered misleading because they were
10   contradicted by withheld facts.
11               2042. Plaintiffs and Virginia State Class members suffered ascertainable loss and actual
12   damages as a direct and proximate result of Defendants’ concealment, misrepresentations, and/or
13   failure to disclose material information.
14               2043. Defendants’ violations present a continuing risk to Plaintiffs and the Virginia State
15   Class, as well as to the general public. Defendants’ unlawful acts and practices complained of
16   herein affect the public interest.
17               2044. Pursuant to Va. Code § 59.1-204(A)–(B), Plaintiffs and the Virginia State Class
18   seek an order enjoining Defendants’ unfair and/or deceptive acts or practices, and awarding
19   damages, punitive damages, and any other just and proper relief available under the Virginia
20   CPA.
21               VIOLATIONS OF THE WASHINGTON CONSUMER PROTECTION ACT
                             (Wash. Rev. Code Ann. §§ 19.86.010, et seq.)
22

23               2045. Plaintiffs incorporate by reference each preceding paragraph as though fully set
24   forth herein.
25               2046. Plaintiffs Karl Calhoun, Andrew Loescher, and Jesse Sandifer (for the purpose of
26   this section, “Plaintiffs”) bring this action on behalf of themselves and the Washington State
27   Class against all Defendants.
28

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 1               2047. FCA, Fiat, VM Italy, VM America, Bosch GmbH, Bosch LLC, Sergio
 2   Marchionne, Plaintiffs, and the Washington State Class members are “persons” within the
 3   meaning of Wash. Rev. Code § 19.86.010(2).
 4               2048. FCA, Fiat, VM Italy, VM America, Bosch GmbH, Bosch LLC, and Marchionne
 5   are engaged in “trade” or “commerce” within the meaning of Wash. Rev. Code § 19.86.010(1).
 6               2049. The Washington Consumer Protection Act (“Washington CPA”) makes unlawful
 7   “[u]nfair methods of competition and unfair or deceptive acts or practices in the conduct of any
 8   trade or commerce.” Wash. Rev. Code § 19.86.020.
 9               2050. In the course of their business, Defendants Fiat Chrysler, VM Motori, Bosch, and
10   Marchionne, through their agents, employees, and/or subsidiaries, violated the Washington CPA.
11               2051. As detailed in the common law fraud allegations: (1) Fiat Chrysler affirmatively
12   misrepresented the environmental friendliness and emissions of the Class Vehicles through the
13   EcoDiesel badge—a material fact that was false because the Defendants developed and installed
14   emission cheating components in the Class Vehicles that caused them to pollute excessively in
15   real-world conditions; (2) Fiat Chrysler touted, through the EcoDiesel badge and uniform and
16   pervasive consumer communications, the Class Vehicles’ fuel efficiency and performance, and
17   the Defendants concealed that the fuel efficiency and performance could be achieved only
18   through emission control devices in the Class Vehicles that caused them to pollute excessively in
19   real-world conditions; and (3) the Defendants developed and installed emission cheating
20   components that caused the Class Vehicles to pollute excessively in real-world conditions, and
21   fraudulently concealed that fact from regulators and Class Members alike. See, e.g., ¶¶ 149-216;
22   337-357. In so doing, and by marketing, offering for sale, and selling the defective Class
23   Vehicles, Defendants engaged in one or more of the following unfair or deceptive acts or
24   practices in violation of Wash. Rev. Code § 19.86.020:
25                      A.     Causing likelihood of confusion or of misunderstanding as to the approval
26                             or certification of the Class Vehicles;
27                      B.     Representing that the Class Vehicles have approval, characteristics, uses,
28                             or benefits that they do not have;

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 1                      C.     Representing that the Class Vehicles are of a particular standard, quality
 2                             and grade when they are not;
 3                      D.     Advertising the Class Vehicles with the intent not to sell or lease them as
 4                             advertised;
 5                      E.     Engaging in other conduct which created a likelihood of confusion or of
 6                             misunderstanding; and/or
 7                      F.     Using or employing deception, fraud, false pretense, false promise or
 8                             misrepresentation, or the concealment, suppression or omission of a
 9                             material fact with intent that others rely upon such concealment,
10                             suppression or omission, in connection with the advertisement and
11                             sale/lease of the Class Vehicles, whether or not any person has in fact been
12                             misled, deceived or damaged thereby.
13               2052. Defendants’ scheme and concealment of the true characteristics of the EcoDiesel®
14   emission control system were material to Plaintiffs and the Washington State Class, as
15   Defendants intended. Had they known the truth, Plaintiffs and the Washington State Class would
16   not have purchased or leased the Class Vehicles, or—if the Class Vehicles’ true nature had been
17   disclosed and mitigated, and the Vehicles rendered legal to sell—would have paid significantly
18   less for them.
19               2053. Plaintiffs and Washington State Class members had no way of discerning that
20   Defendants’ representations were false and misleading, or otherwise learning the facts that
21   Defendants had concealed or failed to disclose, because Defendants’ emission control software
22   was extremely sophisticated technology. Plaintiffs and Washington State Class members did not,
23   and could not, unravel Defendants’ deception on their own.
24               2054. Defendants had an ongoing duty to Plaintiffs and the Washington State Class to
25   refrain from unfair and deceptive practices under the Washington CPA in the course of their
26   business. Specifically, Defendants owed Plaintiffs and Washington State Class members a duty
27   to disclose all the material facts concerning the EcoDiesel® emission control system because they
28   possessed exclusive knowledge, they intentionally concealed it from Plaintiffs and the

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 1   Washington State Class, and/or they made misrepresentations that were rendered misleading
 2   because they were contradicted by withheld facts.
 3               2055. Plaintiffs and Washington State Class members suffered ascertainable loss and
 4   actual damages as a direct and proximate result of Defendants’ concealment, misrepresentations,
 5   and/or failure to disclose material information.
 6               2056. Defendants’ violations present a continuing risk to Plaintiffs and the Washington
 7   State Class, as well as to the general public. Defendants’ unlawful acts and practices complained
 8   of herein affect the public interest.
 9               2057. Pursuant to Wash. Rev. Code § 19.86.090, Plaintiffs and the Washington State
10   Class seek an order enjoining Defendants’ unfair and/or deceptive acts or practices, and awarding
11   damages, treble damages, and any other just and proper relief available under the Washington
12   CPA.
13                VIOLATIONS OF THE CONSUMER CREDIT AND PROTECTION ACT
                                 (W. Va. Code § 46A-1-101, et seq.)
14

15               2058. Plaintiffs incorporate by reference each preceding paragraph as though fully set
16   forth herein.
17               2059. This count is brought on behalf of the West Virginia State Class against all
18   Defendants.
19               2060. FCA, Fiat, VM Italy, VM America, Bosch GmbH, Bosch LLC, Sergio
20   Marchionne, and the West Virginia State Class members are “persons” within the meaning of W.
21   Va. Code § 46A-1-102(31). The West Virginia State Class members are “consumers” within the
22   meaning of W. Va. Code §§ 46A-6-102(2) and 46A-1-102(12).
23               2061. FCA, Fiat, VM Italy, VM America, Bosch GmbH, Bosch LLC, and Sergio
24   Marchionne are engaged in “trade” or “commerce” within the meaning of W. Va. Code § 46A-6-
25   102(6).
26               2062. The West Virginia Consumer Credit and Protection Act (“West Virginia CCPA”)
27   makes unlawful “[u]nfair methods of competition and unfair or deceptive acts or practices in the
28   conduct of any trade or commerce.” W. Va. Code § 46A-6-104.

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 1               2063. In the course of their business, Defendants Fiat Chrysler, VM Motori, Bosch, and
 2   Sergio Marchionne, through their agents, employees, and/or subsidiaries, violated the West
 3   Virginia CCPA.
 4               2064. As detailed in the common law fraud allegations: (1) Fiat Chrysler affirmatively
 5   misrepresented the environmental friendliness and emissions of the Class Vehicles through the
 6   EcoDiesel badge—a material fact that was false because the Defendants developed and installed
 7   emission cheating components in the Class Vehicles that caused them to pollute excessively in
 8   real-world conditions; (2) Fiat Chrysler touted, through the EcoDiesel badge and uniform and
 9   pervasive consumer communications, the Class Vehicles’ fuel efficiency and performance, and
10   the Defendants concealed that the fuel efficiency and performance could be achieved only
11   through emission control devices in the Class Vehicles that caused them to pollute excessively in
12   real-world conditions; and (3) the Defendants developed and installed emission cheating
13   components that caused the Class Vehicles to pollute excessively in real-world conditions, and
14   fraudulently concealed that fact from regulators and Class Members alike. See, e.g., ¶¶ 149-216;
15   337-357. In so doing, and by marketing, offering for sale, and selling the defective Class
16   Vehicles, Defendants engaged in one or more of the following unfair or deceptive acts or
17   practices as defined in W. Va. Code § 46A-6-102(7):
18                      A.     Causing likelihood of confusion or of misunderstanding as to the approval
19                             or certification of the Class Vehicles;
20                      B.     Representing that the Class Vehicles have approval, characteristics, uses,
21                             or benefits that they do not have;
22                      C.     Representing that the Class Vehicles are of a particular standard, quality
23                             and grade when they are not;
24                      D.     Advertising the Class Vehicles with the intent not to sell or lease them as
25                             advertised;
26                      E.     Engaging in other conduct which created a likelihood of confusion or of
27                             misunderstanding; and/or
28

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 1                      F.     Using or employing deception, fraud, false pretense, false promise or
 2                             misrepresentation, or the concealment, suppression or omission of a
 3                             material fact with intent that others rely upon such concealment,
 4                             suppression or omission, in connection with the advertisement and
 5                             sale/lease of the Class Vehicles, whether or not any person has in fact been
 6                             misled, deceived or damaged thereby.
 7               2065. Defendants’ scheme and concealment of the true characteristics of the EcoDiesel®
 8   emission control system were material to the West Virginia State Class, as Defendants intended.
 9   Had they known the truth, the West Virginia State Class would not have purchased or leased the
10   Class Vehicles, or—if the Class Vehicles’ true nature had been disclosed and mitigated, and the
11   Vehicles rendered legal to sell—would have paid significantly less for them.
12               2066. West Virginia State Class members had no way of discerning that Defendants’
13   representations were false and misleading, or otherwise learning the facts that Defendants had
14   concealed or failed to disclose, because Defendants’ emission control software was extremely
15   sophisticated technology. West Virginia State Class members did not, and could not, unravel
16   Defendants’ deception on their own.
17               2067. Defendants had an ongoing duty to the West Virginia State Class to refrain from
18   unfair and deceptive practices under the West Virginia CCPA in the course of their business.
19   Specifically, Defendants owed West Virginia State Class members a duty to disclose all the
20   material facts concerning the EcoDiesel® emission control system because they possessed
21   exclusive knowledge, they intentionally concealed it from the West Virginia State Class, and/or
22   they made misrepresentations that were rendered misleading because they were contradicted by
23   withheld facts.
24               2068. West Virginia State Class members suffered ascertainable loss and actual damages
25   as a direct and proximate result of Defendants’ concealment, misrepresentations, and/or failure to
26   disclose material information.
27

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 1               2069. Defendants’ violations present a continuing risk to the West Virginia State Class,
 2   as well as to the general public. Defendants’ unlawful acts and practices complained of herein
 3   affect the public interest.
 4               2070. Pursuant to W. Va. Code § 46A-6-106(a), the West Virginia State Class seek an
 5   order enjoining Defendants’ unfair and/or deceptive acts or practices, and awarding damages and
 6   any other just and proper relief available under the West Virginia CCPA.
 7               2071. On November 28, 2017, a notice letter was sent to FCA US LLC complying with
 8   W. Va. Code § 46A-6-106(c). A second notice letter was sent to FCA US LLC and Fiat Chrysler
 9   complying with W. Va. Code § 46A-6-106(c) on January 17, 2017. Additionally, all Defendants
10   were provided notice of the issues raised in this count and this Complaint by the governmental
11   investigations, the numerous complaints filed against them, and the many individual notice letters
12   sent by Plaintiffs within a reasonable amount of time after the allegations of Class Vehicle defects
13   became public. Because Defendants failed to remedy their unlawful conduct within the requisite
14   time period, Plaintiff seek all damages and relief to which the West Virginia State Class are
15   entitled.
16          VIOLATIONS OF THE WISCONSIN DECEPTIVE TRADE PRACTICES ACT
                                  (Wis. Stat. § 100.18)
17

18               2072. Plaintiffs incorporate by reference each preceding paragraph as though fully set
19   forth herein.
20               2073. Plaintiffs Josh Claflin and Wayne Tonnesen (for the purpose of this section,
21   “Plaintiffs”) bring this action on behalf of themselves and the Wisconsin State Class against all
22   Defendants.
23               2074. Plaintiffs and the Wisconsin State Class are members of “the public” and are
24   “persons” within the meaning of Wis. Stat. § 100.18(1).
25               2075. FCA, VM Italy, VM America, Bosch GmbH, Bosch LLC, and Sergio Marchionne
26   are a “person, firm, corporation or association” within the meaning of Wis. Stat. § 100.18(1).
27

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 1               2076. The Wisconsin Deceptive Trade Practices Act (“Wisconsin DTPA”) makes
 2   unlawful any “representation or statement of fact which is untrue, deceptive or misleading.” Wis.
 3   Stat. § 100.18(1).
 4               2077. In the course of their business, Defendants Fiat Chrysler, VM Motori, Bosch, and
 5   Sergio Marchionne, through their agents, employees, and/or subsidiaries, violated the Wisconsin
 6   DTPA.
 7               2078. As detailed in the common law fraud allegations: (1) Fiat Chrysler affirmatively
 8   misrepresented the environmental friendliness and emissions of the Class Vehicles through the
 9   EcoDiesel badge—a material fact that was false because the Defendants developed and installed
10   emission cheating components in the Class Vehicles that caused them to pollute excessively in
11   real-world conditions; (2) Fiat Chrysler touted, through the EcoDiesel badge and uniform and
12   pervasive consumer communications, the Class Vehicles’ fuel efficiency and performance, and
13   the Defendants concealed that the fuel efficiency and performance could be achieved only
14   through emission control devices in the Class Vehicles that caused them to pollute excessively in
15   real-world conditions; and (3) the Defendants developed and installed emission cheating
16   components that caused the Class Vehicles to pollute excessively in real-world conditions, and
17   fraudulently concealed that fact from regulators and Class Members alike. See, e.g., ¶¶ 149-216;
18   337-357. In so doing, and by marketing, offering for sale, and selling the defective Class
19   Vehicles, Defendants engaged in one or more of the following unfair or deceptive acts or
20   practices as defined in Wis. Stat. § 100.18(1):
21                      A.     Representing that the Class Vehicles have approval, characteristics, uses,
22                             or benefits that they do not have;
23                      B.     Representing that the Class Vehicles are of a particular standard, quality
24                             and grade when they are not; and/or
25                      C.     Advertising the Class Vehicles with the intent not to sell or lease them as
26                             advertised.
27               2079. Defendants’ scheme and concealment of the true characteristics of the EcoDiesel®
28   emission control system were material to Plaintiffs and the Wisconsin State Class, as Defendants

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 1   intended. Had they known the truth, Plaintiffs and the Wisconsin State Class would not have
 2   purchased or leased the Class Vehicles, or—if the Class Vehicles’ true nature had been disclosed
 3   and mitigated, and the Vehicles rendered legal to sell—would have paid significantly less for
 4   them.
 5               2080. Plaintiffs and Wisconsin State Class members had no way of discerning that
 6   Defendants’ representations were false and misleading, or otherwise learning the facts that
 7   Defendants had concealed or failed to disclose, because Defendants’ emission control software
 8   was extremely sophisticated technology. Plaintiffs and Wisconsin State Class members did not,
 9   and could not, unravel Defendants’ deception on their own.
10               2081. Defendants had an ongoing duty to Plaintiffs and the Wisconsin State Class to
11   refrain from unfair and deceptive practices under the Wisconsin DTPA in the course of their
12   business. Specifically, Defendants owed Plaintiffs and Wisconsin State Class members a duty to
13   disclose all the material facts concerning the EcoDiesel® emission control system because they
14   possessed exclusive knowledge, they intentionally concealed it from Plaintiffs and the Wisconsin
15   State Class, and/or they made misrepresentations that were rendered misleading because they
16   were contradicted by withheld facts.
17               2082. Plaintiffs and Wisconsin State Class members suffered ascertainable loss and
18   actual damages as a direct and proximate result of Defendants’ concealment, misrepresentations,
19   and/or failure to disclose material information.
20               2083. Defendants’ violations present a continuing risk to Plaintiffs and the Wisconsin
21   State Class, as well as to the general public. Defendants’ unlawful acts and practices complained
22   of herein affect the public interest.
23               2084. Pursuant to Wis. Stat. § 100.18(11)(b)(2), Plaintiffs and the Wisconsin State Class
24   seek an order enjoining Defendants’ unfair and/or deceptive acts or practices, and awarding
25   damages, punitive damages, and any other just and proper relief available under the Wisconsin
26   DTPA.
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 1                  VIOLATION OF THE WYOMING CONSUMER PROTECTION ACT
                                  (Wyo. Stat. §§ 40-12-101, et seq.)
 2

 3               2085. Plaintiffs incorporate by reference each preceding paragraph as though fully set

 4   forth herein.

 5               2086. Plaintiff Kelly Ruiz (for the purpose of this section, “Plaintiff”) brings this action

 6   on behalf of herself and the Wyoming State Class against all Defendants.

 7               2087. FCA, Fiat, VM Italy, VM America, Bosch GmbH, Bosch LLC, Sergio

 8   Marchionne, Plaintiff, and the Wyoming State Class members are “persons” within the meaning

 9   of Wyo. Stat. § 40-12-102(a)(i).

10               2088. The Class Vehicles are “merchandise” pursuant to Wyo. Stat. § 40-12-102(a)(vi).

11               2089. Each sale or lease of a Class Vehicle to a Wyoming State Class member was a

12   “consumer transaction” as defined by Wyo. Stat. § 40-12-102(a)(ii). These consumer transactions

13   occurred “in the course of [Defendants’] business” under Wyo. Stat. § 40-12-105(a).

14               2090. The Wyoming Consumer Protection Act (“Wyoming CPA”) prohibits deceptive

15   trade practices. Wyo. Stat. § 40-12-105(a).

16               2091. In the course of their business, Defendants Fiat Chrysler, VM Motori, Bosch, and

17   Marchionne, through their agents, employees, and/or subsidiaries, violated the Wyoming CPA.

18               2092. As detailed in the common law fraud allegations: (1) Fiat Chrysler affirmatively

19   misrepresented the environmental friendliness and emissions of the Class Vehicles through the

20   EcoDiesel badge—a material fact that was false because the Defendants developed and installed

21   emission cheating components in the Class Vehicles that caused them to pollute excessively in

22   real-world conditions; (2) Fiat Chrysler touted, through the EcoDiesel badge and uniform and

23   pervasive consumer communications, the Class Vehicles’ fuel efficiency and performance, and

24   the Defendants concealed that the fuel efficiency and performance could be achieved only

25   through emission control devices in the Class Vehicles that caused them to pollute excessively in

26   real-world conditions; and (3) the Defendants developed and installed emission cheating

27   components that caused the Class Vehicles to pollute excessively in real-world conditions, and

28   fraudulently concealed that fact from regulators and Class Members alike. See, e.g., ¶¶ 149-216;

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 1   337-357. In so doing, and by marketing, offering for sale, and selling the defective Class
 2   Vehicles, Defendants engaged in one or more of the following unfair or deceptive acts or
 3   practices as defined in Wyo. Stat. §§ 40-12-105(a):
 4                      A.     Representing that the Class Vehicles have approval, characteristics, uses,
 5                             or benefits that they do not have;
 6                      B.     Representing that the Class Vehicles are of a particular standard, quality
 7                             and grade when they are not;
 8                      C.     Advertising the Class Vehicles with the intent not to sell or lease them as
 9                             advertised; and/or
10                      D.     Engaging in other conduct which created a likelihood of confusion or of
11                             misunderstanding.
12               2093. Defendants’ scheme and concealment of the true characteristics of the EcoDiesel®
13   emission control system were material to Plaintiff and the Wyoming State Class, as Defendants
14   intended. Had they known the truth, Plaintiff and the Wyoming State Class would not have
15   purchased or leased the Class Vehicles, or—if the Class Vehicles’ true nature had been disclosed
16   and mitigated, and the Vehicles rendered legal to sell—would have paid significantly less for
17   them.
18               2094. Plaintiff and Wyoming State Class members had no way of discerning that
19   Defendants’ representations were false and misleading, or otherwise learning the facts that
20   Defendants had concealed or failed to disclose, because Defendants’ emission control software
21   was extremely sophisticated technology. Plaintiff and Wyoming State Class members did not,
22   and could not, unravel Defendants’ deception on their own.
23               2095. Defendants had an ongoing duty to Plaintiff and the Wyoming State Class to
24   refrain from unfair and deceptive practices under the Wyoming CPA in the course of their
25   business. Specifically, Defendants owed Plaintiff and Wyoming State Class members a duty to
26   disclose all the material facts concerning the EcoDiesel® emission control system because they
27   possessed exclusive knowledge, they intentionally concealed it from Plaintiff and the Wyoming
28

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 1   State Class, and/or they made misrepresentations that were rendered misleading because they
 2   were contradicted by withheld facts.
 3               2096. Plaintiff and Wyoming State Class members suffered ascertainable loss and actual
 4   damages as a direct and proximate result of Defendants’ concealment, misrepresentations, and/or
 5   failure to disclose material information.
 6               2097. Defendants’ violations present a continuing risk to Plaintiff and the Wyoming
 7   State Class, as well as to the general public. Defendants’ unlawful acts and practices complained
 8   of herein affect the public interest.
 9               2098. Pursuant to Wyo. Stat. §§ 40-12-108(a) and 40-12-108(b), Plaintiff and the
10   Wyoming State Class seek an order enjoining Defendants’ unfair and/or deceptive acts or
11   practices, and awarding damages, punitive damages, and any other just and proper relief available
12   under the Wyoming CPA.
13               2099. On November 28, 2016, a notice letter was sent to FCA US LLC complying with
14   Wyo. Stat. § 40-12-109. Plaintiffs sent a second notice letter pursuant to Wyo. Stat. § 40-12-109
15   to all Defendants on July 19, 2017. Additionally, all Defendants were provided notice of the
16   issues raised in this count and this Complaint by the governmental investigations, the numerous
17   complaints filed against them, and the many individual notice letters sent by Plaintiffs within a
18   reasonable amount of time after the allegations of Class Vehicle defects became public. Because
19   Defendants failed to remedy their unlawful conduct within the requisite time period, Plaintiff seek
20   all damages and relief to which Plaintiff and the Wyoming State Class are entitled.
21   III.        PRAYER FOR RELIEF
22               WHEREFORE, Plaintiffs, individually and on behalf of members of the Nationwide Class
23   and State Classes, respectfully request that the Court grant certification of the proposed
24   Nationwide Class and State Classes, including the designation of Plaintiffs as the named
25   representatives of the Nationwide Class and respective State Classes, the appointment of the
26   undersigned as Class Counsel, and the designation of any appropriate issue classes and/or
27   subclasses, under the applicable provisions of Fed. R. Civ. P. 23, and that the Court enter
28   judgment in their favor and against Defendants, as follows:

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 1               A.   A declaration that any applicable statutes of limitation are tolled due to the
 2   fraudulent concealment alleged in this complaint, and that Defendants are estopped from relying
 3   on any statutes of limitations in defense;
 4               B.   An order enjoining Defendants from continuing the unlawful, deceptive,
 5   fraudulent, and unfair business practices alleged in this Complaint;
 6               C.   Injunctive and equitable relief in the form of a comprehensive program to repair,
 7   modify, and/or buy back all Class Vehicles, and to fully reimburse and make whole all Class
 8   members for all costs and economic losses, and degradation of mileage performance, durability,
 9   and reliability that the Class Vehicles could incur by being brought into compliance with federal
10   and state law;
11               D.   Environmental reparations, mitigation, and remediation to offset the harm caused
12   by the Class Vehicles, based on the mileage driven by all Class Vehicles and/or other appropriate
13   measures of environmental harm;
14               E.   Costs, restitution, compensatory damages for economic loss and out-of-pocket
15   costs, treble damages under Civil RICO, multiple damages under applicable states’ laws, punitive
16   and exemplary damages under applicable law;
17               F.   Rescission of all Class Vehicle purchases or leases, including reimbursement
18   and/or compensation of the full purchase price of all Class Vehicles, including taxes, licenses, and
19   other fees;
20               G.   A determination that Defendants are financially responsible for all Class notice
21   and administration of Class relief;
22               H.   Any and all applicable statutory and civil penalties;
23               I.   An order requiring Defendants to pay both pre- and post-judgment interest on any
24   amounts awarded;
25               J.   An award of costs and attorneys’ fees;
26               K.   Leave to amend this Complaint to conform to the evidence produced in discovery
27   and at trial; and
28               L.   Such other or further relief as the Court may deem appropriate, just, and equitable.

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 1   IV.         DEMAND FOR JURY TRIAL
 2               Pursuant to Federal Rule of Civil Procedure 38(b), Plaintiffs demand a trial by jury of any

 3   and all issues in this action so triable of right.

 4
     DATED this 23rd day of April, 2018.                     Respectfully submitted,
 5
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                                                             By /s/
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